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         21‐1778(L)
UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
             Docket No. 21‐1778(L), 22‐351(CON)
              _______________________________
                      UNITED STATES,

                                              Appellee,

                                ‐against‐

                        MICHAEL AVENATTI,

                                              Defendant‐Appellant.




     ON APPEAL FROM THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF NEW YORK
 ________________________________________________________________

 APPENDIX FOR DEFENDANT‐APPELLANT MICHAEL AVENATTI
                        VOLUME I OF VII
 ________________________________________________________________

                           FEDERAL DEFENDERS OF NEW YORK, INC.
                            APPEALS BUREAU
                           52 Duane Street ‐ 10th Floor
                           New York, New York 10007
                           Tel. No.: (212) 417‐8742

                           Attorney for Defendant‐Appellant
                               MICHAEL AVENATTI
DANIEL HABIB,
 Of Counsel



                                                               A000001
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                                                                                          CLOSED,APPEAL,ECF,PRIOR

                                         U.S. District Court
                             Southern District of New York (Foley Square)
                   CRIMINAL DOCKET FOR CASE #: 1:19-cr-00373-PGG All Defendants


          Case title: USA v. Avenatti                                       Date Filed: 05/22/2019

          Magistrate judge case number: 1:19-mj-02927-UA                    Date Terminated: 07/15/2021


          Assigned to: Judge Paul G. Gardephe
          Appeals court case number: 21-1778 U.S.
          Court of Appeals, 2nd Circ.

          Defendant (1)
          Michael Avenatti                                 represented by Jose Manuel Quinon
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                                                                              TERMINATED: 03/25/2018
                                                                              LEAD ATTORNEY


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                                                                                                    A000004         3/14/2022, 2:25 PM
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                                                                      Designation: Public Defender or
                                                                      Community Defender Appointment

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          Pending Counts                                              Disposition
                                                                      Imprisonment for a total term of 24
                                                                      Months imprisonment on Count One, and
                                                                      30 months imprisonment on each of
                                                                      Counts Two and Three, with all terms to be
                                                                      served concurrently. Supervised release for
                                                                      a term of 1 year supervised release on
          18:875D.F INTERSTATE
                                                                      Count One, and 3 years supervised release
          COMMUNICATIONS - THREATS TO
                                                                      on each of Counts Two and Three, with all
          EXTORT
                                                                      terms to run concurrently. AMENDED ON
          (1s)
                                                                      2/18/2022: IMPRISONMENT: 24 months'
                                                                      imprisonment on Count One, and 30
                                                                      months' imprisonment on each of Counts
                                                                      Two and Three, with all terms to be served
                                                                      concurrently. SUPERVISED RELEASE: 1
                                                                      year supervised release on Count One, and


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                                                                     3 years' supervised release on each of
                                                                     Counts Two and Three, with all terms to
                                                                     run concurrently.
                                                                     Imprisonment for a total term of 24
                                                                     Months imprisonment on Count One, and
                                                                     30 months imprisonment on each of
                                                                     Counts Two and Three, with all terms to be
                                                                     served concurrently. Supervised release for
                                                                     a term of 1 year supervised release on
                                                                     Count One, and 3 years supervised release
          18:1951.F INTERFERENCE WITH                                on each of Counts Two and Three, with all
          COMMERCE BY THREAT OR                                      terms to run concurrently. AMENDED ON
          VIOLENCE (EXTORTION)                                       2/18/2022: IMPRISONMENT: 24 months'
          (2s)                                                       imprisonment on Count One, and 30
                                                                     months' imprisonment on each of Counts
                                                                     Two and Three, with all terms to be served
                                                                     concurrently. SUPERVISED RELEASE: 1
                                                                     year supervised release on Count One, and
                                                                     3 years' supervised release on each of
                                                                     Counts Two and Three, with all terms to
                                                                     run concurrently.
                                                                     Imprisonment for a total term of 24
                                                                     Months imprisonment on Count One, and
                                                                     30 months imprisonment on each of
                                                                     Counts Two and Three, with all terms to be
                                                                     served concurrently. Supervised release for
                                                                     a term of 1 year supervised release on
                                                                     Count One, and 3 years supervised release
          18:1951.F INTERFERENCE WITH                                on each of Counts Two and Three, with all
          COMMERCE BY THREAT OR                                      terms to run concurrently. AMENDED ON
          VIOLENCE (EXTORTION)                                       2/18/2022: IMPRISONMENT: 24 months'
          (3s)                                                       imprisonment on Count One, and 30
                                                                     months' imprisonment on each of Counts
                                                                     Two and Three, with all terms to be served
                                                                     concurrently. SUPERVISED RELEASE: 1
                                                                     year supervised release on Count One, and
                                                                     3 years' supervised release on each of
                                                                     Counts Two and Three, with all terms to
                                                                     run concurrently.

          Highest Offense Level (Opening)
             -------------       - ---
          Felony

          Terminated Counts                                          Disposition
          18:371.F CONSPIRACY TO TRANSMIT
          INTERSTATE COMMUNICATIONS                                  All open counts are dismissed on the
          WITH INTENT TO EXTORT                                      motion of the US
          (1)



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          18:1951.F CONSPIRACY TO COMMIT
                                                                        All open counts are dismissed on the
          EXTORTION
                                                                        motion of the US
          (2)
          18:875D.F TRANSMISSION OF
          INTERSTATE COMMUNICATIONS                                     All open counts are dismissed on the
          WITH INTENT TO EXTORT                                         motion of the US
          (3)
          18:1951.F EXTORTION                                           All open counts are dismissed on the
          (4)                                                           motion of the US

          Highest Offense Level (Terminated)
          Felony

          Complaints                                                    Disposition
          18:875D.F TRANSMISSION OF
          INTERSTATE COMMUNICATIONS
          WITH INTENT TO EXTORT, 18:371.F
          CONSPIRACY TO TRANSMIT
          INTERSTATE COMMUNICATIONS
          WITH INTENT TO EXTORT, 18:1951.F
          CONSPIRACY TO COMMIT
          EXTORTION , 18:1951.F EXTORTION



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                                                                        Peter M. Skinner



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                                                                        Designation: Retained



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                                                                        (See above for address)
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                                                                        ATTORNEY TO BE NOTICED
                                                                        Designation: Retained



          Interested Party
          John Stovall                                 represented by Andrew Zenner Michaelson
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                                                                      ATTORNEY TO BE NOTICED


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                                                                                               A000009         3/14/2022, 2:25 PM
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                                                                        Designation: Retained

                                                                        David Simons
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                                                                        Designation: Retained

                                                                        Peter M. Skinner
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          Interested Party




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          John Slusher                                   represented by Jonathan R. Streeter
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          Date Filed      #   Docket Text
          03/24/2019       1 COMPLAINT as to Michael Avenatti (1). In Violation of 18 U.S.C. 371, 875 (d), 1951
                             and 2 (Signed by Magistrate Judge Stewart D. Aaron) (dif) [1:19-mj-02927-UA]
                             (Entered: 03/26/2019)
          03/25/2019          Arrest of Michael Avenatti. (dif) [1:19-mj-02927-UA] (Entered: 03/26/2019)




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          03/25/2019       3 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Michael Avenatti.
                             Sylvie Jill Levine for Michael Avenatti appointed. (BAIL ONLY). (Signed by
                             Magistrate Judge Katharine H. Parker on 3/25/2019)(dif) [1:19-mj-02927-UA]
                             (Entered: 03/26/2019)
          03/25/2019       4 Minute Entry for proceedings held before Magistrate Judge Katharine H. Parker:
                             Initial Appearance as to Michael Avenatti held on 3/25/2019., Deft Appears with
                             Federal Defender Sylvie Levine (BAIL ONLY) and AUSA Matthew Podolsky and
                             Robert Boone for the government. AGREED CONDITIONS OF RELEASE: $300,000
                             PRB; 2 FRP'S; Travel Limited to SDNY/EDNY and Central District of California (&
                             Points in Between for Travel to Court/Personal Lawyer; Temporary Additional
                             Domestic Travel Upon Consent of AUSA & Approval of PTS; Surrender Travel
                             Documents (& No New Applications) Within 48 Hours; Pretrial Supervision As
                             Directed by PTS; Deft to Be Released on Own Signature; Remaining Conditions to Be
                             Met by 4/5/19; No Contact with Co-Conspirator Named in Complaint Outside
                             Presence of Counsel; ( Preliminary Hearing set for 4/25/2019 at 10:00 AM before
                             Judge Unassigned.) (dif) Modified on 3/26/2019 (dif). [1:19-mj-02927-UA] (Entered:
                             03/26/2019)
          03/25/2019       5 AGREEMENT TO FORFEIT PROPERTY (OTHER THAN REAL PROPERTY) by
                             Michael Avenatti. Personal Recognizance Bond in the amount of $ 300,000 PRB, 2
                             FRP'S; Travel Limited to SDNY/EDNY and Central District of California (& Points in
                             Between for Travel to Court/Personal Lawyer; Temporary Additional Domestic Travel
                             Upon Consent of AUSA and Approval of PTS; Surrender Travel Documents (& No
                             New Applications) Within 48 Hours; Pretrial Supervision As Directed by PTS; Deft to
                             Be Released on Own Signature; Remaining Conditions to Be Met by 4/5/19; No
                             Contact with Co-Conspirator Named in Complaint Outside Presence of Counsel (dif)
                             Modified on 3/26/2019 (dif). [1:19-mj-02927-UA] (Entered: 03/26/2019)
          04/25/2019       6 AFFIRMATION of AUSA Matthew Podolsky in Support by USA as to Michael
                             Avenatti, the government is requesting a 30-day continuance until 5/28/19. (jbo) [1:19-
                             mj-02927-UA] (Entered: 04/26/2019)
          04/25/2019       7 ORDER TO CONTINUE IN THE INTEREST OF JUSTICE as to Michael Avenatti.
                             Time excluded from 4/25/19 until 5/28/19. (Signed by Magistrate Judge Henry B.
                             Pitman on 4/25/19)(jbo) [1:19-mj-02927-UA] (Entered: 04/26/2019)
          05/22/2019       8 INDICTMENT FILED as to Michael Avenatti (1) count(s) 1, 2, 3, 4. (bw) (Entered:
                             05/22/2019)
          05/22/2019          Case Designated ECF as to Michael Avenatti. (bw) (Entered: 05/22/2019)
          05/22/2019       9 NOTICE OF ATTORNEY APPEARANCE Matthew D Podolsky appearing for USA.
                             (Podolsky, Matthew) (Entered: 05/22/2019)
          05/24/2019     10 ORDER as to Michael Avenatti. It is hereby ORDERED that the Defendant will be
                            arraigned on the Indictment (Dkt. No. 8) in this action on Tuesday, May 28, 2019 at
                            3:30 p.m. in Courtroom 705 of the Thurgood Marshall United States Courthouse, 40
                            Foley Square, New York, New York. SO ORDERED. (Signed by Judge Paul G.
                            Gardephe on 5/23/2019)(bw) (Entered: 05/24/2019)
          05/24/2019     11 NOTICE OF ATTORNEY APPEARANCE: Scott Alan Srebnick appearing for
                            Michael Avenatti. Appearance Type: Retained. (Srebnick, Scott) (Entered: 05/24/2019)




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           05/28/2019         Minute Entry for proceedings held before Judge Paul G. Gardephe: Arraignment as to
                              Michael Avenatti (1) Count 1,2,3,4 held on 5/28/2019. Plea entered by Michael
                              Avenatti Not Guilty. Defendant Michael Avenatti present with attorney Scott Alan
                              Srebnick and Jose Quinon. AUSAs Matthew Podolsky and Robert Benjamin
                              Sobelman present. Court reporter Tom Murray present. The defendant enters a plea of
                              not guilty to the indictment. Status conference set for 6/18/19 at 12:00 pm. Speedy
                              trial time is excluded from 5/28/19 until 6/18/19. Bail continued. (jbo) (Entered:
                              05/28/2019)
           05/28/2019    12 ORDER FOR ADMISSION PRO HAC VICE ON ORAL MOTION as to Michael
                            Avenatti. Upon the oral 1notion of, foracln1ission to practice Pro 1-fac Vice in the
                            above captioned action is granted. Applicant has declared that he/she is a member in
                            good standing of the bar(s) of the state(s) of FLORIDA: and that his/her contact
                            information is as follows Jose M. Quinon, Jose M. Quinon, P.A., 2333 Brickell
                            Avenue, Suite A-01, Miami, Florida 33129, Telephone (305) 858-5700; Fax (305)
                            358-7848. Applicant having requested admission Pro Hac Vice to appear for all
                            purposes as counsel for Michael Avenatti in the above entitled action; IT IS HEREBY
                            ORDERED that Applicant is admitted to practice Pro Hac Vice in the above captioned
                            case in the United States District (Court for the Southern District of New York. All
                            attorneys appearing before this Court are subject to the Local Rules of this Court,
                            including the Rules governing discipline of attorneys. Counsel shall immediately
                            forward the Pro Hac Vice fee to the Clerk of Court. (Signed by Judge Paul G.
                            Gardephe on 5/28/2019)(ap) (Entered: 05/28/2019)
           05/29/2019    16 PROTECTIVE ORDER as to Michael Avenatti...regarding procedures to be followed
                            that shall govern the handling of confidential material. (Signed by Judge Paul G.
                            Gardephe on 5/29/19)(jbo) (Entered: 05/31/2019)
           05/30/2019    13 LETTER MOTION addressed to Judge Paul G. Gardephe from the Government dated
                            May 30, 2019 re: Proposed Protective Order . Document filed by USA as to Michael
                            Avenatti. (Attachments: # 1 Text of Proposed Order Proposed Protective Order)
                            (Podolsky, Matthew) (Entered: 05/30/2019)
           05/30/2019    14 NOTICE OF ATTORNEY APPEARANCE Daniel Charles Richenthal appearing for
                            USA. (Richenthal, Daniel) (Entered: 05/30/2019)
           05/31/2019    15 FILING ERROR - DEFICIENT DOCKET ENTRY - MOTION for Jose M Quinon
                            to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC-16995870.
                            Motion and supporting papers to be reviewed by Clerk's Office staff. Document
                            filed by Michael Avenatti. (Quinon, Jose) Modified on 5/31/2019 (wb). (Entered:
                            05/31/2019)
           05/31/2019         >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                              VICE. Notice as to Michael Avenatti to RE-FILE Document No. 15 MOTION for
                              Jose M Quinon to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                              ANYSDC-16995870. Motion and supporting papers to be reviewed by Clerk's
                              Office staff... The filing is deficient for the following reason(s): the PDF attached
                              to the docket entry for the motion is not correct Please label your motion, Motion
                              for Pro Hac Vice missing Proposed Order;. Re-file the motion as a Corrected
                              Motion to Appear Pro Hac Vice - attach the correct signed PDF - select the
                              correct named filer/filers - attach valid Certificates of Good Standing issued
                              within the past 30 days - attach Proposed Order.. (wb) (Entered: 05/31/2019)




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           06/14/2019    17 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Alan Srebnick
                            dated June 14, 2019 re: Permission for Defendant and Co-counsel to Appear at Status
                            Conference by Telephone . Document filed by Michael Avenatti. (Srebnick, Scott)
                            (Entered: 06/14/2019)
           06/17/2019    18 MEMO ENDORSEMENT as to Michael Avenatti (1)granting 17 LETTER MOTION
                            addressed to Judge Paul G. Gardephe from Scott Alan Srebnick dated June 14, 2019
                            re: Permission for Defendant and Co-counsel to Appear at Status Conference by
                            Telephone. ENDORSEMENT: The Application is granted. (Signed by Judge Paul G.
                            Gardephe on 6/14/2019) (ap) (Entered: 06/17/2019)
           06/17/2019    19 FILING ERROR - DEFICIENT DOCKET ENTRY - AMENDED MOTION for
                            Jose M Quinon to Appear Pro Hac Vice . Motion and supporting papers to be
                            reviewed by Clerk's Office staff. Document filed by Michael Avenatti. (Attachments:
                            # 1 Affidavit, # 2 Exhibit Certificate of Good Standing)(Quinon, Jose) Modified on
                            6/18/2019 (bcu). (Entered: 06/17/2019)
           06/18/2019         >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                              VICE. Notice as to Michael Avenatti to RE-FILE Document No. 19 AMENDED
                              MOTION for Jose M Quinon to Appear Pro Hac Vice . Motion and supporting
                              papers to be reviewed by Clerk's Office staff... The filing is deficient for the
                              following reason(s): missing Proposed Order;. Re-file the motion as a Corrected
                              Motion to Appear Pro Hac Vice - attach the correct signed PDF - select the
                              correct named filer/filers - attach valid Certificates of Good Standing issued
                              within the past 30 days - attach Proposed Order.. (bcu) (Entered: 06/18/2019)
           06/18/2019         Minute Entry for proceedings held before Judge Paul G. Gardephe: Status Conference
                              as to Michael Avenatti held on 6/18/2019. Defendant M. Avenatti appearing
                              telephonically along with attorney Jose Quinon. Attorney Scott Srebnick present in
                              court. AUSAs Matthew Podolsky and Daniel Richaenthal present. Court reporter
                              Karen Gorlaski present. Status conference set for 8/23/19 at 12:30 pm. Jury trial set for
                              11/12/19 at 9:30 am. Speedy trial time is excluded from 6/18/19 until 11/12/19. Bail
                              continued. (Status Conference set for 8/23/2019 at 12:30 PM before Judge Paul G.
                              Gardephe. Jury Trial set for 11/12/2019 at 09:30 AM before Judge Paul G. Gardephe.)
                              (lnl) (Entered: 06/18/2019)
           06/19/2019    20 ORDER as to Michael Avenatti. It is hereby ORDERED that the following schedule
                            will apply to Defendant's pretrial motions: 1. Any pretrial motions are due by August
                            19, 2019; 2. The Government's opposition papers are due by September 19, 2019; 3.
                            Defendant's reply papers, if any, are due by October 3, 2019. It is further ORDERED
                            that trial in this action will commence on Tuesday, November 12, 2019 at 9:30 a.m. in
                            Courtroom 705 of the Thurgood Marshall United States Courthouse, 40 Foley Square,
                            New York, New York. Pretrial submissions - motions in limine, proposed voir dire,
                            and requests to charge - are due on Friday, October 11, 2019. The next conference in
                            this action will be held on Friday, August 23, 2019 at 12:30 p.m.; this conference will
                            also take place in Courtroom 705. SO ORDERED. (Signed by Judge Paul G. Gardephe
                            on 6/18/2019)(bw) (Entered: 06/19/2019)
           06/20/2019    21 AMENDED MOTION for Jose M Quinon to Appear Pro Hac Vice . Motion and
                            supporting papers to be reviewed by Clerk's Office staff. Document filed by
                            Michael Avenatti. (Attachments: # 1 Affidavit, # 2 Exhibit, # 3 Text of Proposed
                            Order, # 4 Text of Proposed Order)(Quinon, Jose) (Entered: 06/20/2019)




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           06/20/2019         >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                              No. 21 AMENDED MOTION for Jose M Quinon to Appear Pro Hac Vice .
                              Motion and supporting papers to be reviewed by Clerk's Office staff.. The
                              document has been reviewed and there are no deficiencies. (ma) (Entered:
                              06/20/2019)
           06/24/2019    22 ORDER FOR ADMISSION PRO HAC VICE 21 Motion for Jose M. Quinon to
                            Appear Pro Hac Vice as to Michael Avenatti. The motion of Jose M. Quinon, for
                            admission to practice Pro Hac Vice in the above captioned action is granted. It is
                            hereby ORDERED that Application is admitted to practice Pro Hac Vice in the above
                            captioned case in the US District Court for the Southern District of NY. (Signed by
                            Judge Paul G. Gardephe on 6/21/2019) (jw) (Entered: 06/24/2019)
           06/25/2019    23 TRANSCRIPT of Proceedings as to Michael Avenatti re: Arraignment held on 5/28/19
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Thomas Murray, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            7/16/2019. Redacted Transcript Deadline set for 7/26/2019. Release of Transcript
                            Restriction set for 9/23/2019. (McGuirk, Kelly) (Entered: 06/25/2019)
           06/25/2019    24 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Michael Avenatti. Notice is
                            hereby given that an official transcript of a Arraignment proceeding held on 5/28/19
                            has been filed by the court reporter/transcriber in the above-captioned matter. The
                            parties have seven (7) calendar days to file with the court a Notice of Intent to Request
                            Redaction of this transcript. If no such Notice is filed, the transcript may be made
                            remotely electronically available to the public without redaction after 90 calendar
                            days.... (McGuirk, Kelly) (Entered: 06/25/2019)
           07/16/2019    25 TRANSCRIPT of Proceedings as to Michael Avenatti re: Conference held on 6/18/19
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Karen Gorlaski, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            8/6/2019. Redacted Transcript Deadline set for 8/16/2019. Release of Transcript
                            Restriction set for 10/15/2019. (McGuirk, Kelly) (Entered: 07/16/2019)
           07/16/2019    26 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Michael Avenatti. Notice is
                            hereby given that an official transcript of a Conference proceeding held on 6/18/19 has
                            been filed by the court reporter/transcriber in the above-captioned matter. The parties
                            have seven (7) calendar days to file with the court a Notice of Intent to Request
                            Redaction of this transcript. If no such Notice is filed, the transcript may be made
                            remotely electronically available to the public without redaction after 90 calendar
                            days.... (McGuirk, Kelly) (Entered: 07/16/2019)
           08/09/2019    27 ORDER as to Michael Avenatti: It is hereby ORDERED that the next conference in
                            this action, previously scheduled to take place on August 23, 2019, will now take place
                            on Thursday, August 22, 2019 at 3:15 p.m. in Courtroom 705 of the Thurgood
                            Marshall United States Courthouse, 40 Foley Square, New York, New York. (Status
                            Conference set for 8/22/2019 at 03:15 PM before Judge Paul G. Gardephe) (Signed by
                            Judge Paul G. Gardephe on 8/9/2019) (ap) (Entered: 08/09/2019)




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           08/14/2019    28 MOTION to Dismiss for Vindictive and Selective Prosecution, and for Discovery.
                            Document filed by Michael Avenatti. (Srebnick, Scott) (Entered: 08/14/2019)
           08/14/2019    29 MEMORANDUM in Support by Michael Avenatti re 28 MOTION to Dismiss for
                            Vindictive and Selective Prosecution, and for Discovery.. (Srebnick, Scott) (Entered:
                            08/14/2019)
           08/16/2019    30 DECLARATION of Scott A. Srebnick, Esq. in Support as to Michael Avenatti re: 28
                            MOTION to Dismiss for Vindictive and Selective Prosecution, and for Discovery..
                            (Attachments: # 1 Exhibit A: USAO Press Release, # 2 Exhibit B: Travel Team
                            Contract (2010), # 3 Exhibit C: Travel Team Contract (2016), # 4 Exhibit D: Memo of
                            Actions -- Auerbach to Avenatti, # 5 Exhibit E: Nike Text Messages, # 6 Exhibit F:
                            Auerbach/Franklin Texts, Mar. 2018, # 7 Exhibit G: Auerbach/Franklin Texts, Oct.
                            2018, # 8 Exhibit H: Franklin Email, Jan. 2019, # 9 Exhibit I: Auerbach/Franklin
                            Texts, Feb. 2019, # 10 Exhibit J: Memo, Correspondence with Slusher, Mar. 18, 2019,
                            # 11 Exhibit K: Auerbach/Franklin texts, Feb. 2019, # 12 Exhibit L: Email, Auerbach
                            to Avenatti, Mar. 2019, # 13 Exhibit M: Email, Bowen RICO suit, # 14 Exhibit N:
                            PowerPoint Presentation, Mar. 2019, # 15 Exhibit O: Homes Notes of 3-19-19, # 16
                            Exhibit P: Nike emails, # 17 Exhibit Q: Draft of Settlement Agreement, # 18 Exhibit
                            R: Search Warrant Affidavit in US v. Cohen, # 19 Exhibit S: Emails, Avenatti/USAO-
                            SDNY, # 20 Exhibit T: NYT -- Mounting Costs of Internal Investigations)(Srebnick,
                            Scott) (Entered: 08/16/2019)
           08/16/2019    31 MOTION for Bill of Particulars . Document filed by Michael Avenatti. (Srebnick,
                            Scott) (Entered: 08/16/2019)
           08/16/2019    32 DECLARATION of Scott A. Srebnick, Esq. in Support as to Michael Avenatti re: 31
                            MOTION for Bill of Particulars .. (Srebnick, Scott) (Entered: 08/16/2019)
           08/16/2019    33 MEMORANDUM in Support by Michael Avenatti re 31 MOTION for Bill of
                            Particulars .. (Srebnick, Scott) (Entered: 08/16/2019)
           08/19/2019    34 MOTION to Dismiss for Failure to State an Offense and Because the Extortion
                            Statutes are Vague-as-Applied. Document filed by Michael Avenatti. (Srebnick, Scott)
                            (Entered: 08/19/2019)
           08/19/2019    35 MEMORANDUM in Support by Michael Avenatti re 34 MOTION to Dismiss for
                            Failure to State an Offense and Because the Extortion Statutes are Vague-as-Applied..
                            (Srebnick, Scott) (Entered: 08/19/2019)
           08/19/2019    36 AFFIDAVIT of Scott A. Srebnick, Esq. in Support as to Michael Avenatti re 28
                            MOTION to Dismiss for Vindictive and Selective Prosecution, and for Discovery..
                            (Srebnick, Scott) (Entered: 08/19/2019)
           08/20/2019    37 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Alan Srebnick
                            dated August 20, 2019 re: 27 Order,, Set Hearings, re: Permission for co-counsel Jose
                            M. Quinon to participate by telephone (Srebnick and Avenatti will appear in person).
                            Document filed by Michael Avenatti. (Srebnick, Scott) (Entered: 08/20/2019)
           08/20/2019    38 MEMO ENDORSEMENT as to Michael Avenatti (1) granting 37 LETTER MOTION
                            addressed to Judge Paul G. Gardephe from Scott Alan Srebnick dated August 20, 2019
                            re: 27 Order,, Set Hearings, re: Permission for co-counsel Jose M. Quinon to
                            participate by telephone (Srebnick and Avenatti will appear in person).
                            ENDORSEMENT: The application is granted. (Signed by Judge Paul G. Gardephe on
                            8/20/2019) (ap) (Entered: 08/20/2019)


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           08/21/2019    39 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Alan Srebnick
                            dated August 21, 2019 re: 27 Order,, Set Hearings, re: Permission to Bring I-Phone
                            and I-Pad into Courthouse on 8-22-19 . Document filed by Michael Avenatti.
                            (Srebnick, Scott) (Entered: 08/21/2019)
           08/22/2019         Minute Entry for proceedings held before Judge Paul G. Gardephe: Status Conference
                              as to Michael Avenatti held on 8/22/2019. Defendant M. Avenatti present with
                              attorneys Scott Srebnick and Jose Quinon (appearing telephonically). AUSAs
                              Matthew Podolsky, Robert Sobelman and Daniel Richenthal present. Court reporter
                              Pamela Utter present. (jbo) (Entered: 08/22/2019)
           08/27/2019    40 CONSENT LETTER MOTION addressed to Judge Paul G. Gardephe from Assistant
                            United States Attorney Daniel C. Richenthal dated August 27, 2019 re: Entry of
                            Amended Protective Order . Document filed by USA as to Michael Avenatti.
                            (Attachments: # 1 Text of Proposed Order)(Richenthal, Daniel) (Entered: 08/27/2019)
           08/28/2019    41 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Alan Srebnick
                            dated August 28, 2019 re: Permission to File Requests for Rule 17(c) Subpoenas on or
                            before September 3, 2019 . Document filed by Michael Avenatti. (Srebnick, Scott)
                            (Entered: 08/28/2019)
           08/29/2019    42 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Alan Srebnick
                            and Jose Quinon dated August 29, 2019 re: Request for Two Month Adjournment of
                            Trial Date . Document filed by Michael Avenatti. (Srebnick, Scott) (Entered:
                            08/29/2019)
           08/30/2019    43 MEMO ENDORSEMENT as to Michael Avenatti (1) granting 41 LETTER MOTION
                            addressed to Judge Paul G. Gardephe from Scott Alan Srebnick dated August 28, 2019
                            re: Permission to File Requests for Rule 17(c) Subpoenas on or before September 3,
                            2019. ENDORSEMENT: The Application is granted. SO ORDERED. (Signed by
                            Judge Paul G. Gardephe on 8/30/2019) (lnl) (Entered: 08/30/2019)
           08/30/2019    44 AMENDED PROTECTIVE ORDER as to Michael Avenatti...regarding procedures to
                            be followed that shall govern the handling of confidential material.... (Signed by Judge
                            Paul G. Gardephe on 8/30/2019) (lnl) (Entered: 08/30/2019)
           08/30/2019         ***DELETED DOCUMENT. Deleted document number 45 ORDER TO
                              ANSWER, 28 U.S.C. § 2255, as to Michael Avenatti. The document was
                              incorrectly filed in this case. (lnl) (Entered: 08/30/2019)
           08/30/2019    45 CONSENT LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Alan
                            Srebnick dated August 30, 2019 re: 43 Order on Letter Motion, re: Permission to File
                            Requests for Rule 17(c) on or before September 6, 2019 . Document filed by Michael
                            Avenatti. (Srebnick, Scott) (Entered: 08/30/2019)
           09/03/2019    46 MEMO ENDORSEMENT as to Michael Avenatti (1) granting 45 CONSENT
                            LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Alan Srebnick
                            dated August 30, 2019 re: 43 Order on Letter Motion, re: Permission to File Requests
                            for Rule 17(c) on or before September 6, 2019. ENDORSEMENT: The Application is
                            granted. (Signed by Judge Paul G. Gardephe on 8/30/2019) (ap) (Entered: 09/03/2019)
           09/05/2019    47 TRANSCRIPT of Proceedings as to Michael Avenatti re: Conference held on 8/22/19
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Pamela Utter, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript


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                              Restriction. After that date it may be obtained through PACER. Redaction Request due
                              9/26/2019. Redacted Transcript Deadline set for 10/7/2019. Release of Transcript
                              Restriction set for 12/4/2019. (McGuirk, Kelly) (Entered: 09/05/2019)
           09/05/2019    48 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Michael Avenatti. Notice is
                            hereby given that an official transcript of a Conference proceeding held on 8/22/19 has
                            been filed by the court reporter/transcriber in the above-captioned matter. The parties
                            have seven (7) calendar days to file with the court a Notice of Intent to Request
                            Redaction of this transcript. If no such Notice is filed, the transcript may be made
                            remotely electronically available to the public without redaction after 90 calendar
                            days.... (McGuirk, Kelly) (Entered: 09/05/2019)
           09/05/2019    49 LETTER RESPONSE in Opposition by USA as to Michael Avenatti addressed to
                            Judge Paul G. Gardephe dated September 5, 2019 re: 42 LETTER MOTION addressed
                            to Judge Paul G. Gardephe from Scott Alan Srebnick and Jose Quinon dated August
                            29, 2019 re: Request for Two Month Adjournment of Trial Date .. (Podolsky,
                            Matthew) (Entered: 09/05/2019)
           09/06/2019    50 MOTION For Issuance of Rule 17(c) Subpoena Duces Tecum to Nike, Inc. .
                            Document filed by Michael Avenatti. (Srebnick, Scott) (Entered: 09/06/2019)
           09/06/2019    51 DECLARATION of Scott A. Srebnick, Esq. in Support as to Michael Avenatti re: 50
                            MOTION For Issuance of Rule 17(c) Subpoena Duces Tecum to Nike, Inc. ..
                            (Attachments: # 1 Exhibit 1: Proposed Subpoena Duces Tecum to Nike, Inc., # 2
                            Exhibit 2: Various Text Messages)(Srebnick, Scott) (Entered: 09/06/2019)
           09/06/2019    52 MEMORANDUM in Support by Michael Avenatti re 50 MOTION For Issuance of
                            Rule 17(c) Subpoena Duces Tecum to Nike, Inc. .. (Srebnick, Scott) (Entered:
                            09/06/2019)
           09/06/2019    53 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU -
                            NOTICE of Intent to File a Reply to Govt. Response (Dkt. #49) as to Michael Avenatti
                            re: 42 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Alan
                            Srebnick and Jose Quinon dated August 29, 2019 re: Request for Two Month
                            Adjournment of Trial Date ., 49 Response in Opposition to Motion,. (Srebnick, Scott)
                            Modified on 9/9/2019 (ka). (Entered: 09/06/2019)
           09/09/2019         NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR
                              as to Michael Avenatti: Notice to Attorney Srebnick, Scott to RE-FILE Document
                              53 Notice (Other). Use the event type Letter found under the event list Other
                              Documents. (ka) (Entered: 09/09/2019)
           09/09/2019    54 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott Alan
                            Srebnick and Jose Quinon dated September 6, 2019 re: Intent to File a Reply to
                            Government's Response (Dkt. #49) to Defendant's Request for Adjournment
                            (Srebnick, Scott) (Entered: 09/09/2019)
           09/10/2019    55 LETTER REPLY TO RESPONSE to Motion by Michael Avenatti addressed to Judge
                            Paul G. Gardephe from Scott Alan Srebnick and Jose Quinon dated September 10,
                            2019 re 42 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Alan
                            Srebnick and Jose Quinon dated August 29, 2019 re: Request for Two Month
                            Adjournment of Trial Date .. (Srebnick, Scott) (Entered: 09/10/2019)
           09/12/2019    56 ORDER as to Michael Avenatti. It is hereby ORDERED that any response from the
                            Government to Defendant's motions for the issuance of subpoenas pursuant to Fed. R.


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                              Crim. P. 17(c) is due by September 23, 2019. SO ORDERED. (Signed by Judge Paul
                              G. Gardephe on 9/12/19)(jbo) (Entered: 09/12/2019)
           09/12/2019         Set/Reset Deadlines as to Michael Avenatti: Responses due by 9/23/2019. (jbo)
                              (Entered: 09/12/2019)
           09/19/2019    57 MEMORANDUM in Opposition by USA as to Michael Avenatti re 28 MOTION to
                            Dismiss for Vindictive and Selective Prosecution, and for Discovery., 31 MOTION for
                            Bill of Particulars ., 34 MOTION to Dismiss for Failure to State an Offense and
                            Because the Extortion Statutes are Vague-as-Applied.. (Podolsky, Matthew) (Entered:
                            09/19/2019)
           09/20/2019    58 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Peter M.
                            Skinner dated 9/19/19 re: We represent non-party NIKE, Inc. ("Nike"), the target of the
                            extortion scheme perpetrated by Defendant Michael Avenatti in the above-referenced
                            matter. Nike writes with respect to Defendant's September 6, 2019 Motion for Issuance
                            of Subpoena Duces Tecum, Pursuant to Rule 17(c), to Custodian of Records of NIKE,
                            Inc. (Dkt. 52) (the "Motion"), which attaches a proposed subpoena duces tecum to
                            Nike (Dkt. 51-1) (the "Subpoena") requesting the production of certain documents in
                            advance of trial. (jw) (Entered: 09/20/2019)
           09/20/2019    59 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick and Jose Quinon dated September 20, 2019 re: Response to Nike's Letter of
                            Sept. 19, 2019 Regarding Rule 17(c) Subpoena (Srebnick, Scott) (Entered:
                            09/20/2019)
           09/22/2019    60 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Assistant United States Attorneys Matthew D. Podolsky, Robert B. Sobelman, and
                            Daniel C. Richenthal dated September 22, 2019 re: Joint Schedule for Certain Pretrial
                            and Trial Disclosures Document filed by USA. (Richenthal, Daniel) (Entered:
                            09/22/2019)
           09/23/2019    61 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU -
                            RESPONSE in Opposition by USA as to Michael Avenatti re: 50 MOTION For
                            Issuance of Rule 17(c) Subpoena Duces Tecum to Nike, Inc. .. (Podolsky, Matthew)
                            Modified on 9/24/2019 (ka). (Entered: 09/23/2019)
           09/24/2019         NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR
                              as to Michael Avenatti: Notice to Attorney Podolsky, Matthew to RE-FILE
                              Document 61 Response in Opposition to Motion. Use the event type Letter found
                              under the event list Other Documents. (ka) (Entered: 09/24/2019)
           09/24/2019    62 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            September 23, 2019 re: Opposition to Motion for Subpoena to Nike, Inc. Document
                            filed by USA. (Podolsky, Matthew) (Entered: 09/24/2019)
           09/24/2019    63 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott Alan
                            Srebnick and Jose Quinon dated September 24, 2019 re: Reply to Government's
                            Response re Rule 17(c) Subpoena to Nike -- WITHDRAWAL OF REQUEST
                            (Attachments: # 1 Exhibit 1: Letter of July 1, 2019, # 2 Exhibit 2: Email exchange of
                            Aug. 29, 2019, # 3 Exhibit 3: Email exchange of Sept. 6, 2019)(Srebnick, Scott)
                            (Entered: 09/24/2019)
           10/03/2019    64 REPLY MEMORANDUM OF LAW in Support as to Michael Avenatti re: 28
                            MOTION to Dismiss for Vindictive and Selective Prosecution, and for Discovery., 34


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                              MOTION to Dismiss for Failure to State an Offense and Because the Extortion
                              Statutes are Vague-as-Applied. . (Srebnick, Scott) (Entered: 10/03/2019)
           10/03/2019    65 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU -
                            WAIVER of Speedy Trial by Michael Avenatti. (Srebnick, Scott) Modified on
                            10/4/2019 (ka). (Entered: 10/03/2019)
           10/04/2019         NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR
                              as to Michael Avenatti: Notice to Attorney Srebnick, Scott to RE-FILE Document
                              65 Waiver of Speedy Trial. Use the event type Letter found under the event list
                              Other Documents. (ka) (Entered: 10/04/2019)
           10/04/2019    66 CONSENT LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Scott Srebnick and Jose Quinon dated October 3, 2019 re: Agreement to Exclude Time
                            under the Speedy Trial Act (Srebnick, Scott) (Entered: 10/04/2019)
           10/10/2019    67 ORDER as to Michael Avenatti: It is hereby ORDERED that trial in this action,
                            previously scheduled to begin on November 12, 2019, is adjourned to January 21,
                            2020 at 9:30 a.m. in Courtroom 705 of the Thurgood Marshall United States
                            Courthouse, 40 Foley Square, New York, New York. Pretrial submissions- motions in
                            limine, proposed voir dire, and requests to charge - are now due on December 6, 2019.
                            Any responsive papers are due on December 20, 2019. It is further ORDERED that,
                            upon application of the defendant, by and through his counsel, and with the consent of
                            the Government, the time between November 12, 2019 and January 21, 2020 is
                            excluded under the Speedy Trial Act, Title 18, United States Code, Section 3161(h)
                            (7)(A). The Cami finds that the granting of such a continuance serves the ends of
                            justice and outweighs the best interests of the public and the defendant in a speedy
                            trial, because it will allow the defendant time to prepare and file additional motions,
                            and will afford both parties additional time to prepare for trial. (Motions due by
                            12/6/2019. Responses due by 12/20/2019. Jury Trial set for 1/21/2020 at 09:30 AM in
                            Courtroom 705, 40 Centre Street, New York, NY 10007 before Judge Paul G.
                            Gardephe) (Signed by Judge Paul G. Gardephe on 10/9/2019)(ap) (Entered:
                            10/10/2019)
           10/17/2019    68 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Assistant United States Attorney Robert B. Sobelman dated October 17, 2019 re:
                            Revised Joint Schedule for Certain Pretrial and Trial Disclosures Document filed by
                            USA. (Sobelman, Robert) (Entered: 10/17/2019)
           10/29/2019    69 SEALED DOCUMENT placed in vault. (mhe) (Entered: 10/29/2019)
           11/13/2019    70 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            November 13, 2019 re: S1 Indictment Document filed by USA. (Attachments: # 1 S1
                            Indictment)(Podolsky, Matthew) (Entered: 11/13/2019)
           11/13/2019    71 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott A.
                            Srebnick and Jose M. Quinon dated November 13, 2019 re: Renewal of Pretrial
                            Motions to Dismiss as to Superseding Indictment (Srebnick, Scott) (Entered:
                            11/13/2019)
           11/13/2019    72 (S1) SUPERSEDING INDICTMENT FILED as to Michael Avenatti (1) count(s) 1s,
                            2s, 3s. (jm) (Entered: 11/14/2019)
           11/14/2019    73 ORDER as to Michael Avenatti: Upon the application of the United States of America,
                            by and through Assistant United States Attorney Matthew Podolsky, and with the


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                              consent of Michael Avenatti, by and through his counsel, it is hereby ORDERED that
                              the time between November 14, 2019 and January 21, 2020 is excluded under the
                              Speedy Trial Act, Title 18, United States Code, Section 3161(h)(7)(A). The Court
                              finds that the granting of such a continuance serves the ends of justice and outweighs
                              the best interests of the public and the defendant in a speedy trial, because it will allow
                              the defendant time to prepare and file additional motions, and will afford the
                              Defendant additional time to prepare for trial. Time excluded from 11/14/2019 until
                              1/21/2020. (Signed by Judge Paul G. Gardephe on 11/14/2019) (ap) (Entered:
                              11/14/2019)
           11/15/2019    74 MOTION to Dismiss Count Three of the Superseding Indictment for Failure to State
                            an Offense, and Because 18 U.S.C. 1346 is Vague-as-Applied. Document filed by
                            Michael Avenatti. (Srebnick, Scott) (Entered: 11/15/2019)
           11/15/2019    75 MEMORANDUM in Support by Michael Avenatti re 74 MOTION to Dismiss Count
                            Three of the Superseding Indictment for Failure to State an Offense, and Because 18
                            U.S.C. 1346 is Vague-as-Applied.. (Srebnick, Scott) (Entered: 11/15/2019)
           11/15/2019    76 MOTION for a Written Juror Questionnaire . Document filed by Michael Avenatti.
                            (Attachments: # 1 Exhibit 1: Defendant Avenatti's Proposed Juror Questionnaire)
                            (Srebnick, Scott) (Entered: 11/15/2019)
           11/15/2019    77 DECLARATION of Scott A. Srebnick, Esq. in Support as to Michael Avenatti re: 76
                            MOTION for a Written Juror Questionnaire .. (Attachments: # 1 Exhibit 1:
                            Spreadsheet of NYC media references to Avenatti, # 2 Exhibit 2: Spreadsheet of NYC
                            media references to Avenatti and Nike, # 3 Exhibit 3: Spreadsheet of national media
                            references to Avenatti and Nike)(Srebnick, Scott) (Entered: 11/15/2019)
           11/15/2019    78 MEMORANDUM in Support by Michael Avenatti re 76 MOTION for a Written Juror
                            Questionnaire .. (Srebnick, Scott) (Entered: 11/15/2019)
           11/22/2019    79 MEMORANDUM in Opposition by USA as to Michael Avenatti re 74 MOTION to
                            Dismiss Count Three of the Superseding Indictment for Failure to State an Offense,
                            and Because 18 U.S.C. 1346 is Vague-as-Applied.. (Podolsky, Matthew) (Entered:
                            11/22/2019)
           11/24/2019    80 REPLY MEMORANDUM OF LAW in Support as to Michael Avenatti re: 74
                            MOTION to Dismiss Count Three of the Superseding Indictment for Failure to State
                            an Offense, and Because 18 U.S.C. 1346 is Vague-as-Applied. . (Srebnick, Scott)
                            (Entered: 11/24/2019)
           11/27/2019    81 FIRST MOTION in Limine to Exclude Government's Proposed Expert Testimony and
                            for a Daubert Hearing. Document filed by Michael Avenatti. (Srebnick, Scott)
                            (Entered: 11/27/2019)
           11/27/2019    82 MEMORANDUM in Support by Michael Avenatti re 81 FIRST MOTION in Limine
                            to Exclude Government's Proposed Expert Testimony and for a Daubert Hearing..
                            (Srebnick, Scott) (Entered: 11/27/2019)
           11/27/2019    83 DECLARATION of Scott A. Srebnick, Esq. in Support as to Michael Avenatti re: 81
                            FIRST MOTION in Limine to Exclude Government's Proposed Expert Testimony and
                            for a Daubert Hearing.. (Attachments: # 1 Exhibit 1: Government's Expert Witness
                            Notice of Nov. 22, 2019 (with attachments), # 2 Exhibit 2: Letter of Nov. 24, 2019,
                            from Scott A. Srebnick to Government Counsel, # 3 Exhibit 3: Government
                            Supplemental Expert Witness Notice, Nov. 27, 2019)(Srebnick, Scott) (Entered:


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                              11/27/2019)
           12/04/2019    84 CONSENT LETTER MOTION addressed to Judge Paul G. Gardephe from Scott A.
                            Srebnick and Jose M. Quinon dated December 4, 2019 re: 67 Order,,,,,, Set
                            Deadlines/Hearings,,,,, re: Two (2) business day adjournment of Pretrial Submissions
                            and Responses . Document filed by Michael Avenatti. (Srebnick, Scott) (Entered:
                            12/04/2019)
           12/05/2019    85 MEMO ENDORSED granting 84 LETTER MOTION Two (2) business day
                            adjournment of Pretrial Submissions and Responses as to Michael Avenatti
                            (1)...ENDORSEMENT: The application is granted. SO ORDERED. (Signed by Judge
                            Paul G. Gardephe on 12/5/19) (jbo) (Entered: 12/05/2019)
           12/09/2019    86 ORDER as to Michael Avenatti (Government Responses due by 12/13/2019, Status
                            Conference set for 12/17/2019 at 12:30 PM before Judge Paul G. Gardephe.) The
                            Government is directed to file its response to Defendants November 27, 2019 motion
                            in limine (Dkt. No. 81) by December 13, 2019. It is further ORDERED that a
                            conference will take place on December 17, 2019 at 12:30 p.m. in Courtroom 705 of
                            the Thurgood Marshall United States Courthouse, 40 Foley Square, New York, New
                            York to discuss Defendants motion in limine concerning expert testimony. The
                            Defendant will be arraigned on the (S1) Indictment (Dkt. No. 72) at that time (Signed
                            by Judge Paul G. Gardephe on 12/9/2019)(jw) (Entered: 12/09/2019)
           12/09/2019    87 Proposed Voir Dire Questions by Michael Avenatti. (Srebnick, Scott) (Entered:
                            12/09/2019)
           12/09/2019    88 SECOND MOTION in Limine to Exclude Evidence of Financial Condition.
                            Document filed by Michael Avenatti. (Srebnick, Scott) (Entered: 12/09/2019)
           12/09/2019    89 MEMORANDUM in Support by Michael Avenatti re 88 SECOND MOTION in
                            Limine to Exclude Evidence of Financial Condition.. (Srebnick, Scott) (Entered:
                            12/09/2019)
           12/10/2019    90 PROPOSED EXAMINATION OF JURORS by USA as to Michael Avenatti.
                            (Sobelman, Robert) (Entered: 12/10/2019)
           12/10/2019    91 THIRD MOTION in Limine to Exclude all Evidence of Settlement Communications
                            and Negotiations. Document filed by Michael Avenatti. (Srebnick, Scott) (Entered:
                            12/10/2019)
           12/10/2019    92 MEMORANDUM in Support by Michael Avenatti re 91 THIRD MOTION in Limine
                            to Exclude all Evidence of Settlement Communications and Negotiations.. (Srebnick,
                            Scott) (Entered: 12/10/2019)
           12/10/2019    93 DECLARATION of Scott A. Srebnick, Esq. in Support as to Michael Avenatti re: 91
                            THIRD MOTION in Limine to Exclude all Evidence of Settlement Communications
                            and Negotiations.. (Srebnick, Scott) (Entered: 12/10/2019)
           12/10/2019    94 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU -
                            Proposed Jury Instructions by Michael Avenatti. (Srebnick, Scott) Modified on
                            12/11/2019 (ka). (Entered: 12/10/2019)
           12/11/2019    95 Request To Charge by USA as to Michael Avenatti. (Podolsky, Matthew) (Entered:
                            12/11/2019)




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           12/11/2019    96 MOTION in Limine . Document filed by USA as to Michael Avenatti. (Attachments: #
                            1 Exhibit A (Defendant's Expert Notice))(Richenthal, Daniel) (Entered: 12/11/2019)
           12/11/2019         NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR
                              as to Michael Avenatti: Notice to Attorney Srebnick, Scott to RE-FILE Document
                              94 Proposed Jury Instructions. Use the event type Request to Charge found
                              under the event list Trial Documents. (ka) (Entered: 12/11/2019)
           12/11/2019    97 Request To Charge by Michael Avenatti. (Srebnick, Scott) (Entered: 12/11/2019)
           12/13/2019    98 MEMORANDUM in Opposition by USA as to Michael Avenatti re 81 FIRST
                            MOTION in Limine to Exclude Government's Proposed Expert Testimony and for a
                            Daubert Hearing.. (Attachments: # 1 Exhibit A (Defendant's Expert Notice))
                            (Richenthal, Daniel) (Entered: 12/13/2019)
           12/15/2019    99 REPLY MEMORANDUM OF LAW in Support as to Michael Avenatti re: 81 FIRST
                            MOTION in Limine to Exclude Government's Proposed Expert Testimony and for a
                            Daubert Hearing. . (Attachments: # 1 Exhibit 1: Testimony of Lisa Reid in US v.
                            Skelos, No. 15 Cr 317 (ECF No. 140:84-107))(Srebnick, Scott) (Entered: 12/15/2019)
           12/16/2019   100 NOTICE OF ATTORNEY APPEARANCE: E. Danya Perry appearing for Michael
                            Avenatti. Appearance Type: Retained. (Perry, E. Danya) (Entered: 12/16/2019)
           12/17/2019         Minute Entry for proceedings held before Judge Paul G. Gardephe: Arraignment as to
                              Michael Avenatti (1) Count 1s,2s,3s held on 12/17/2019. Defendant M. Avenatti
                              present with attorneys Scott Srebnick, Jose Quinon (via telephone) and E. Danya
                              Perry. AUSA Matthew D. Podolsky, Robert B. Sobelman and Daniel C. Richanthal.
                              Court reporter Steven Griffing present. Defendant enters a plea of not guilty to the
                              superseding indictment. Final pretrial conference set for 1/17/20 at 2:00 pm. (jbo)
                              (Entered: 12/17/2019)
           12/17/2019         Minute Entry for proceedings held before Judge Paul G. Gardephe: Plea entered by
                              Michael Avenatti (1) Count 1s,2s,3s Not Guilty. (jbo) (Entered: 12/17/2019)
           12/17/2019         Set/Reset Hearings as to Michael Avenatti: Pretrial Conference set for 1/17/2020 at
                              02:00 PM before Judge Paul G. Gardephe. (jbo) (Entered: 12/17/2019)
           12/18/2019   101 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott A.
                            Srebnick dated Dec. 18, 2019 re: Estimated Length of Trial (Srebnick, Scott) (Entered:
                            12/18/2019)
           12/20/2019   102 TRANSCRIPT of Proceedings as to Michael Avenatti re: Conference held on 12/17/19
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Steven Griffing, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            1/10/2020. Redacted Transcript Deadline set for 1/21/2020. Release of Transcript
                            Restriction set for 3/19/2020. (McGuirk, Kelly) (Entered: 12/20/2019)
           12/20/2019   103 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Michael Avenatti. Notice is
                            hereby given that an official transcript of a Conference proceeding held on 12/17/19
                            has been filed by the court reporter/transcriber in the above-captioned matter. The
                            parties have seven (7) calendar days to file with the court a Notice of Intent to Request
                            Redaction of this transcript. If no such Notice is filed, the transcript may be made
                            remotely electronically available to the public without redaction after 90 calendar



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                              days.... (McGuirk, Kelly) (Entered: 12/20/2019)
           12/20/2019   104 SUPPLEMENTAL MOTION in Limine . Document filed by USA as to Michael
                            Avenatti. (Richenthal, Daniel) (Entered: 12/20/2019)
           12/20/2019   105 ORDER as to Michael Avenatti: The parties are hereby ORDERED to file the
                            submissions discussed at the December 17, 2019 conference by the following dates: 1.
                            the parties will confer as to the contents of a juror questionnaire and will submit a
                            suggested questionnaire by December 23, 2019; 2. the Government will file a
                            summary of the expert opinions it expects to offer at trial by December 27, 2019;
                            defense counsel will make its submission concerning expert testimony by January 3,
                            2020; 3. the Government's response to the Defendants motions in limine is due on
                            December 24, 2019; 4. Defendant's submission concerning the relevance of evidence
                            concerning the motivations of Nike's attorneys is due by December 24, 2019; and 5.
                            any additional defense submission concerning the Government's motions in limine is
                            due by December 24, 2019. A final pre-trial conference will take place on January 17,
                            2020 at 2:00 p.m. (Responses due by 12/24/2019. Pretrial Conference set for
                            1/17/2020 at 02:00 PM before Judge Paul G. Gardephe.) (Signed by Judge Paul G.
                            Gardephe on 12/20/2019) (lnl) (Entered: 12/23/2019)
           12/23/2019   106 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Assistant United States Attorney Robert B. Sobelman dated December 23, 2019 re:
                            Joint Proposed Jury Questionnaire Document filed by USA. (Attachments: # 1 Exhibit
                            (Joint Proposed Jury Questionnaire))(Sobelman, Robert) (Entered: 12/23/2019)
           12/24/2019   107 MEMORANDUM in Opposition by Michael Avenatti re 104 SUPPLEMENTAL
                            MOTION in Limine .. (Srebnick, Scott) (Entered: 12/24/2019)
           12/24/2019   108 MEMORANDUM in Opposition by USA as to Michael Avenatti re 88 SECOND
                            MOTION in Limine to Exclude Evidence of Financial Condition., 91 THIRD
                            MOTION in Limine to Exclude all Evidence of Settlement Communications and
                            Negotiations.. (Richenthal, Daniel) (Entered: 12/24/2019)
           12/24/2019   109 MEMORANDUM in Opposition by Michael Avenatti re 96 MOTION in Limine ..
                            (Srebnick, Scott) (Entered: 12/24/2019)
           12/27/2019   110 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Assistant United States Attorneys Matthew D. Podolsky, Daniel C. Richenthal, and
                            Robert B. Sobelman dated December 27, 2019 re: Supplemental Summary of
                            Expected Expert Testimony Document filed by USA. (Richenthal, Daniel) (Entered:
                            12/27/2019)
           12/30/2019   111 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            December 30, 2019 re: Defendant's Requests to Charge Document filed by USA.
                            (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Podolsky, Matthew) (Entered:
                            12/30/2019)
           12/31/2019   112 ORDER as to Michael Avenatti: The Defendant is hereby ORDERED to respond to
                            Nike's December 31, 2019 motion to quash the Defendant's subpoenas for five Nike
                            employees to testify at his upcoming trial by January 6, 2020. (Responses due by
                            1/6/2020) (Signed by Judge Paul G. Gardephe on 12/31/2019) (ap) (Entered:
                            01/02/2020)
           01/02/2020   113 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick, Jose Quinon, Danya Perry dated January 2, 2020 re: Government's


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                              Supplemental Expert Summary (Dkt. No. 110) and Court Order of Dec. 20, 2019 (Dkt.
                              No. 105) (Srebnick, Scott) (Entered: 01/02/2020)
           01/02/2020   114 MOTION to Quash Subpoenas to Testify. Document filed by Nike Inc. as to Michael
                            Avenatti. (Skinner, Peter) (Entered: 01/02/2020)
           01/02/2020   115 MEMORANDUM in Support by Nike Inc. as to Michael Avenatti re 114 MOTION to
                            Quash Subpoenas to Testify.. (Skinner, Peter) (Entered: 01/02/2020)
           01/03/2020   116 REPLY MEMORANDUM OF LAW in Support as to Michael Avenatti re: 88
                            SECOND MOTION in Limine to Exclude Evidence of Financial Condition. .
                            (Attachments: # 1 Exhibit Letter of Sept. 24, 2019 from Govt Counsel)(Srebnick,
                            Scott) (Entered: 01/03/2020)
           01/04/2020   117 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose
                            Quinon, Danya Perry dated January 4, 2020 re: 112 Order, Set Deadlines,, re: Request
                            for 3-day Adjournment, until January 9, 2020, to Respond to Nike's Motion to Quash
                            Subpoenas to Testify . Document filed by Michael Avenatti. (Srebnick, Scott)
                            (Entered: 01/04/2020)
           01/05/2020   118 REPLY MEMORANDUM OF LAW in Support by USA as to Michael Avenatti re: 96
                            MOTION in Limine ., 104 SUPPLEMENTAL MOTION in Limine . . (Richenthal,
                            Daniel) (Entered: 01/05/2020)
           01/06/2020   119 MEMO ENDORSEMENT as to Michael Avenatti (1) granting 117 LETTER
                            MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose Quinon,
                            Danya Perry dated January 4, 2020 re: 112 Order, Set Deadlines,, re: Request for 3-day
                            Adjournment, until January 9, 2020, to Respond to Nike's Motion to Quash Subpoenas
                            to Testify. ENDORSEMENT: The Application is granted. (Signed by Judge Paul G.
                            Gardephe on 1/6/2020) (ap) (Entered: 01/06/2020)
           01/06/2020         Set/Reset Deadlines as to Michael Avenatti: Responses due by 1/9/2020. (ap) (Entered:
                              01/06/2020)
           01/06/2020   120 MEMORANDUM OPINION & ORDER as to Michael Avenatti. For the reasons
                            stated above, Avenatti's motion to dismiss Count One and Count Two on grounds of
                            insufficiency and vagueness (Def. Mot. (Dkt. No. 34)) is denied. (Signed by Judge
                            Paul G. Gardephe on 1/6/2020) (ap) Modified on 1/6/2020 (ap). (Entered: 01/06/2020)
           01/06/2020   121 ORDER as to Michael Avenatti: For the reasons stated above, the applications of
                            Franklin, Defendant, and the Government to seal Defendant's motion for issuance of a
                            Rule 17(c) subpoena, Franklin's objection, the Government's opposition, and
                            associated filings is denied. The parties and Franklin are to file these submissions on
                            the public docket along with the submissions filed in support of sealing by January 8,
                            2020. The discovery materials submitted to the Court including Exhibits 2 and 3 to the
                            Srebnick declaration, and the materials provided to the Court in response to its
                            October 25, 2019 sealed order will remain under seal. See Smith, 985 F. Supp. 2d at
                            520. (Signed by Judge Paul G. Gardephe on 1/6/2020) (ap) (Entered: 01/06/2020)
           01/06/2020   122 ORDER as to Michael Avenatti: For the reasons stated above, Defendant's motion for
                            issuance of a Rule 17(c) subpoena is denied. (Signed by Judge Paul G. Gardephe on
                            1/6/2020) (ap) (Entered: 01/06/2020)
           01/06/2020   123 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott Alan
                            Srebnick dated January 6, 2020 re: Court Order of January 6, 2020 (Dkt. No. 121)
                            (Attachments: # 1 Exhibit 1: Avenatti's Motion for Issuance of Rule 17(c) Subpoena


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                              Duces Tecum to Gary Franklin, Sr., Sept. 6, 2019, # 2 Exhibit 2: Avenatti's
                              Memorandum of Law in Support of Issuance of Rule 17(c) Subpoena Duces Tecum to
                              Gary Franklin, Sr., Sept. 6, 2019, # 3 Exhibit 3: Declaration of Scott A. Srebnick in
                              Support of Motion for Issuance of Rule 17(c) Subpoena Duces Tecum (with Exhibit 1
                              only), Sept. 6, 2019, # 4 Exhibit 4: Letter to Judge Gardephe re Rule 17(c) Subpoena
                              Duces Tecum (Request to Seal), Sept. 6, 2019, # 5 Exhibit 5: Avenatti's Reply Letter in
                              Support of Rule 17(c) Subpoena Duces Tecum, Sept. 25, 2019)(Srebnick, Scott)
                              (Entered: 01/06/2020)
           01/06/2020   124 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            January 6, 2020 re: Public Filing of Documents Relating to Rule 17(c) Litigation
                            Document filed by USA. (Attachments: # 1 Government Opposition, # 2 Government
                            Letter)(Podolsky, Matthew) (Entered: 01/06/2020)
           01/06/2020   125 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU -
                            RESPONSE by USA as to Michael Avenatti re: 113 Letter, filed by Michael Avenatti .
                            (Richenthal, Daniel) Modified on 1/7/2020 (ka). (Entered: 01/06/2020)
           01/07/2020         NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR
                              as to Michael Avenatti: Notice to Attorney Richenthal, Daniel to RE-FILE
                              Document 125 Response. Use the event type Letter found under the event list
                              Other Documents. (ka) (Entered: 01/07/2020)
           01/07/2020   126 MOTION for Howard Milton Srebnick to Appear Pro Hac Vice . Filing fee $ 200.00,
                            receipt number ANYSDC-18440738. Motion and supporting papers to be reviewed
                            by Clerk's Office staff. Document filed by Michael Avenatti. (Attachments: # 1
                            Affidavit Affidavit of Howard M. Srebnick, # 2 Exhibit Certificate of Good Standing
                            (Florida), # 3 Exhibit Certificate of Good Standing (California), # 4 Text of Proposed
                            Order)(Srebnick, Howard) (Entered: 01/07/2020)
           01/07/2020         >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                              No. 126 MOTION for Howard Milton Srebnick to Appear Pro Hac Vice . Filing
                              fee $ 200.00, receipt number ANYSDC-18440738. Motion and supporting papers
                              to be reviewed by Clerk's Office staff.. The document has been reviewed and
                              there are no deficiencies. (wb) (Entered: 01/07/2020)
           01/07/2020   127 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Assistant United States Attorneys Matthew D. Podolsky, Daniel C. Richenthal, and
                            Robert B. Sobelman dated January 6, 2020 re: Response to Defendant's Letter of
                            January 2, 2020 (Dkt. No. 113) Concerning Expert Testimony Document filed by
                            USA. (Richenthal, Daniel) (Entered: 01/07/2020)
           01/07/2020   128 ORDER FOR ADMISSION PRO HAC VICE as to Michael Avenatti (1) on 126
                            Motion for Howard M. Srebnick to Appear Pro Hac Vice. (Signed by Judge Paul G.
                            Gardephe on 1/7/2020) (ap) (Entered: 01/07/2020)
           01/09/2020   129 MEMORANDUM OPINION & ORDER as to Michael Avenatti re: 74 MOTION to
                            Dismiss Count Three of the Superseding Indictment for Failure to State an Offense,
                            and Because 18 U.S.C. 1346 is Vague-as-Applied. For the reasons stated above,
                            Defendant Avenatti's motion to dismiss Count Three on grounds of insufficiency and
                            vagueness (Def. Mot. (Dkt. No. 74)) is denied. (Signed by Judge Paul G. Gardephe on
                            1/8/2020)(ap) (Entered: 01/09/2020)




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           01/09/2020   130 LETTER by Gary Franklin as to Michael Avenatti addressed to Judge Paul G.
                            Gardephe from Whitney O'Byrne dated January 9, 2020 re: Compliance with Order of
                            Jan. 6, 2020 (Dkt. No. 121) Document filed by Gary Franklin. (Attachments: # 1
                            Exhibit 1 - Non-Party Gary Franklins Objection to Defendant Avenattis Motion for
                            Issuance of Subpoena Duces Tecum, Pursuant to Rule 17(c), dated Sept. 23, 2019, # 2
                            Exhibit 2 - Transmittal Letter Requesting Sealing, dated Sept. 23, 2019, # 3 Exhibit 3 -
                            Declaration of Michael J. Proctor in Support of Non-Party Gary Franklins Request to
                            File Under Seal Objection to Defendant Avenattis Motion for Issuance of Rule 17(c)
                            Subpoena Duces Tecum)(O'Byrne, Whitney) (Entered: 01/09/2020)
           01/09/2020   131 MEMORANDUM in Opposition by Michael Avenatti re 114 MOTION to Quash
                            Subpoenas to Testify.. (Srebnick, Scott) (Entered: 01/09/2020)
           01/09/2020   132 ORDER as to Michael Avenatti: The parties are hereby ORDERED to provide a copy
                            of the video recording of U.S. Attorney Geoffrey Berman's press conference,
                            referenced in Defendant's Brief (Dkt. No. 29) at page 8, by 12:00 p.m. on January 10,
                            2020. (Signed by Judge Paul G. Gardephe on 1/9/2020) (ap) (Entered: 01/10/2020)
           01/10/2020   133 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Assistant United States Attorneys Matthew D. Podolsky, Daniel C. Richenthal, and
                            Robert B. Sobelman dated January 10, 2020 re: Video of Press Conference Document
                            filed by USA. (Richenthal, Daniel) (Entered: 01/10/2020)
           01/12/2020   134 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose
                            Quinon, Danya Perry dated January 12, 2020 re: Request to Exclude Late-Produced
                            Discovery or, in the alternative, for an adjournment. Document filed by Michael
                            Avenatti. (Srebnick, Scott) (Entered: 01/12/2020)
           01/13/2020   135 MEMO ENDORSEMENT as to Michael Avenatti on re: 134 LETTER MOTION
                            addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose Quinon, Danya Perry
                            dated January 12, 2020 re: Request to Exclude Late-Produced Discovery or, in the
                            alternative, for an adjournment. ENDORSEMENT: The Government is directed to
                            respond to this letter by 3:00 p.m. today. (Responses due by 1/13/2020) (Signed by
                            Judge Paul G. Gardephe on 1/13/2020) (ap) (Entered: 01/13/2020)
           01/13/2020   136 LETTER RESPONSE in Opposition by USA as to Michael Avenatti addressed to
                            Judge Paul G. Gardephe dated January 13, 2020 re: 134 LETTER MOTION addressed
                            to Judge Paul G. Gardephe from Scott Srebnick, Jose Quinon, Danya Perry dated
                            January 12, 2020 re: Request to Exclude Late-Produced Discovery or, in the
                            alternative, for an adjournment.. (Podolsky, Matthew) (Entered: 01/13/2020)
           01/13/2020   137 REPLY MEMORANDUM OF LAW in Support by Nike Inc. as to Michael Avenatti
                            re: 114 MOTION to Quash Subpoenas to Testify. . (Skinner, Peter) (Entered:
                            01/13/2020)
           01/13/2020   138 MOTION to Quash Subpoenas Duces Tecum. Document filed by Nike Inc. as to
                            Michael Avenatti. (Skinner, Peter) (Entered: 01/13/2020)
           01/13/2020   139 MEMORANDUM in Support by Nike Inc. as to Michael Avenatti re 138 MOTION to
                            Quash Subpoenas Duces Tecum.. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Skinner,
                            Peter) (Entered: 01/13/2020)
           01/13/2020   140 LETTER REPLY TO RESPONSE to Motion by Michael Avenatti addressed to Judge
                            Paul G. Gardephe from Scott Srebnick, Jose Quinon, Danya Perry dated January 13,
                            2020 re 134 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott


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                              Srebnick, Jose Quinon, Danya Perry dated January 12, 2020 re: Request to Exclude
                              Late-Produced Discovery or, in the alternative, for an adjournment.. (Srebnick, Scott)
                              (Entered: 01/13/2020)
           01/13/2020   141 LETTER MOTION addressed to Judge Paul G. Gardephe from Assistant United
                            States Attorneys Matthew D. Podolsky, Daniel C. Richenthal, and Robert B. Sobelman
                            dated January 13, 2020 re: Authorization for Courtroom Connect (Internet Service) .
                            Document filed by USA as to Michael Avenatti. (Richenthal, Daniel) (Entered:
                            01/13/2020)
           01/14/2020   142 ORDER as to Michael Avenatti: It is hereby ORDERED that a telephone conference
                            will take place on January 14, 2020 at 5:00 p.m., to discuss Defendant's request to
                            adjourn the trial and complaints regarding the production of discovery. Once both
                            sides are on the line, counsel should contact Chambers at 212-805-0224. SO
                            ORDERED. (Telephone Conference set for 1/14/2020 at 05:00 PM before Judge Paul
                            G. Gardephe) (Signed by Judge Paul G. Gardephe on 1/14/2019) (lnl) (Entered:
                            01/14/2020)
           01/14/2020   143 ORDER as to Michael Avenatti: With respect to the telephone conference scheduled
                            for January 14, 2020 at 5:00 p.m., the parties will dial (888) 363-4749 and use access
                            code 6212642. The press and public may obtain access to the telephone conference by
                            dialing the same number and using the same access code. (Signed by Judge Paul G.
                            Gardephe on 1/14/2020) (ap) (Entered: 01/14/2020)
           01/14/2020   144 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Assistant United States Attorneys Matthew D. Podolsky, Daniel C. Richenthal, and
                            Robert B. Sobelman dated January 14, 2020 re: Response to NIKE, Inc.'s Motion to
                            Quash Subpoenas to Seven Employees (Dkt. No. 114) Document filed by USA.
                            (Richenthal, Daniel) (Entered: 01/14/2020)
           01/14/2020   145 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Assistant United States Attorneys Matthew D. Podolsky, Daniel C. Richenthal, and
                            Robert B. Sobelman dated January 14, 2020 re: Arrest of Defendant in Central District
                            of California Document filed by USA. (Richenthal, Daniel) (Entered: 01/14/2020)
           01/14/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Telephone
                              Conference as to Michael Avenatti held on 1/14/2020. Telephone conference held.
                              (bw) (Entered: 01/15/2020)
           01/15/2020   146 MEMORANDUM OPINION & ORDER as to Michael Avenatti: For the reasons
                            stated above, Avenattis motion to dismiss the (S1) Indictment or, in the alternative, for
                            discovery on his claims of vindictive or selective prosecution (Def. Mot. (Dkt. No.
                            28)) is denied. SO ORDERED. (Signed by Judge Paul G. Gardephe on 1/14/2020)
                            (lnl) (Entered: 01/15/2020)
           01/15/2020   147 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose
                            Quinon, Danya Perry dated January 15, 2020 re: Telephonic Status Conference (this
                            morning, if possible), and to delay the 10am Submission . Document filed by Michael
                            Avenatti. (Srebnick, Scott) (Entered: 01/15/2020)




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           01/15/2020   148 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Assistant United States Attorney Robert B. Sobelman dated January 15, 2020 re:
                            Office Manager's Testimony and Money Judgments Pending as of March 2019
                            Document filed by USA. (Attachments: # 1 Exhibit 1-5)(Sobelman, Robert) (Entered:
                            01/15/2020)
           01/15/2020   149 ORDER as to Michael Avenatti: The Government is directed to submit a letter
                            forthwith explaining why it was necessary to arrest Michael Avenatti on a bail
                            violation a week before his trial is scheduled to begin. The Government will likewise
                            set forth, from its perspective, what effect the arrest and proceedings in California will
                            have on the trial date. SO ORDERED. (Signed by Judge Paul G. Gardephe on
                            1/15/2020) (lnl) (Entered: 01/15/2020)
           01/15/2020   150 ORDER as to Michael Avenatti (1): It is hereby ORDERED that a telephone
                            conference will take place on January 15, 2020 at 11:00 a.m. The parties will dial
                            (888) 363-4749 and use access code 6212642. The press and public may obtain access
                            to the telephone conference by dialing the same number and using the same access
                            code. SO ORDERED. (Signed by Judge Paul G. Gardephe on 1/15/2020) (lnl)
                            (Entered: 01/15/2020)
           01/15/2020   151 MEMO ENDORSEMENT as to Michael Avenatti on 147 LETTER MOTION
                            addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose Quinon, Danya Perry
                            dated January 15, 2020 re: Telephonic Status Conference (this morning, if possible),
                            and to delay the 10am Submission. ENDORSEMENT: The Court will conduct a
                            telephone conference at 11:00 a.m. to discuss recent developments. The application to
                            delay the 10:00 a.m. filing is granted. SO ORDERED. (Signed by Judge Paul G.
                            Gardephe on 1/15/2020) (lnl) (Entered: 01/15/2020)
           01/15/2020         Set/Reset Hearings as to Michael Avenatti: Telephone Conference set for 1/15/2020 at
                              11:00 AM before Judge Paul G. Gardephe. (lnl) (Entered: 01/15/2020)
           01/15/2020   152 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Assistant United States Attorney Robert B. Sobelman dated January 15, 2020 re:
                            Update Regarding Defendant's Arrest Document filed by USA. (Attachments: # 1
                            Exhibit)(Sobelman, Robert) (Entered: 01/15/2020)
           01/15/2020   153 ORDER as to Michael Avenatti ( Telephone Conference set for 1/15/2020 at 04:00 PM
                            before Judge Paul G. Gardephe) It is hereby ORDERED that a telephone conference
                            will take place on January 15, 2020 at 4:00 p.m. The parties will dial (888) 363-4749
                            and use access code 6212642. The press and public may obtain access to the telephone
                            conference by dialing the same number and using the same access code. (Signed by
                            Judge Paul G. Gardephe on 1/15/20)(jw) (Entered: 01/15/2020)
           01/15/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Telephone
                              Conference as to Michael Avenatti held on 1/15/2020. Telephone conference held.
                              Another telephone conference set for 1/15/2020 at 4:00 pm. (bw) (Entered:
                              01/15/2020)
           01/15/2020         ORAL ORDER as to Michael Avenatti. Telephone Conference set for 1/15/2020 at
                              04:00 PM before Judge Paul G. Gardephe. (bw) (Entered: 01/15/2020)
           01/15/2020   154 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Assistant United States Attorney Robert B. Sobelman dated January 15, 2020 re:
                            Defendant's Custody Status Document filed by USA. (Sobelman, Robert) (Entered:



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                              01/15/2020)
           01/15/2020   155 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Assistant United States Attorneys Matthew D. Podolsky, Daniel C. Richenthal, and
                            Robert B. Sobelman dated January 15, 2020 re: Declaration and Exhibits in Support of
                            Motion for Arrest Warrant or Order to Show Cause in the Central District of California
                            Document filed by USA. (Attachments: # 1 Exhibit (Declaration and Exhibits 1-34), #
                            2 Exhibit (Exhibits 35-45))(Richenthal, Daniel) (Entered: 01/15/2020)
           01/15/2020   156 ORDER as to Michael Avenatti: The Court hereby orders the United States Marshal
                            for the Southern District of New York to transport Michael Avenatti from the Central
                            District of California to the Southern District of New York forthwith, for purposes of
                            trial. SO ORDERED. (Signed by Judge Paul G. Gardephe on 1/15/2020) (lnl)
                            (Entered: 01/16/2020)
           01/15/2020   157 ORDER as to Michael Avenatti: It is hereby ORDERED that the conference
                            previously scheduled for January 17, 2020 at 2:00 p.m. is adjourned until January 21,
                            2020 at 10:00 a.m. in Courtroom 705 of the Thurgood Marshall United States
                            Courthouse, 40 Foley Square, New York, New York. The trial date of January 21, 2020
                            is adjourned sine die. SO ORDERED. (Pretrial Conference set for 1/21/2020 at 10:00
                            AM in Courtroom 705, 40 Centre Street, New York, NY 10007 before Judge Paul G.
                            Gardephe) (Signed by Judge Paul G. Gardephe on 1/15/2020) (lnl) (Entered:
                            01/16/2020)
           01/16/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe:Telephone
                              Conference as to Michael Avenatti held on 1/16/2020 (jw) (Entered: 01/16/2020)
           01/16/2020   158 LETTER MOTION addressed to Judge Paul G. Gardephe from Michael J.
                            Proctor/Whitney R. O'Byrne/Marc S. Harris/Scott A. Srebnick dated January 16, 2020
                            re: Dispute as to Subpoena Duces Tecum . Document filed by Gary Franklin as to
                            Michael Avenatti. (O'Byrne, Whitney) (Entered: 01/16/2020)
           01/16/2020   159 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU -
                            SUPPLEMENTAL REPLY MEMORANDUM OF LAW in Support as to Michael
                            Avenatti re: 81 FIRST MOTION in Limine to Exclude Government's Proposed Expert
                            Testimony and for a Daubert Hearing. . (Srebnick, Scott) Modified on 1/17/2020 (ka).
                            (Entered: 01/16/2020)
           01/17/2020         NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR
                              as to Michael Avenatti: Notice to Attorney Srebnick, Scott to RE-FILE Document
                              159 Reply Memorandum of Law in Support of Motion. Use the event type Letter
                              found under the event list Other Documents. (ka) (Entered: 01/17/2020)
           01/17/2020   160 As per Judge Gardephe's chambers, a CD of a video was placed in the court file. (mhe)
                            (Entered: 01/17/2020)
           01/17/2020   161 SUPPLEMENTAL LETTER by Michael Avenatti addressed to Judge Paul G.
                            Gardephe from Scott Srebnick, Jose Quinon, Danya Perry dated January 16, 2020 re:
                            Supplemental Letter Reply to Exclude Expert Testimony (Srebnick, Scott) (Entered:
                            01/17/2020)
           01/17/2020   162 ORDER as to Michael Avenatti: It is hereby ORDERED that the conference
                            previously scheduled for January 21, 2020 at 2:00 p.m. is adjourned until January 22,
                            2020 at 10:00 a.m. in Courtroom 705 of the Thurgood Marshall United States
                            Courthouse, 40 Foley Square, New York, New York. SO ORDERED. (Pretrial


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                              Conference set for 1/22/2020 at 10:00 AM in Courtroom 705, 40 Centre Street, New
                              York, NY 10007 before Judge Paul G. Gardephe) (Signed by Judge Paul G. Gardephe
                              on 1/17/2020) (lnl) (Entered: 01/17/2020)
           01/17/2020   163 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Alan Srebnick
                            dated January 17, 2020 re: to Quash Subpoena Duces Tecum to George Washington
                            University . Document filed by Michael Avenatti. (Attachments: # 1 Exhibit 1:
                            Subpoena to GW Law School)(Srebnick, Scott) (Entered: 01/17/2020)
           01/17/2020   164 MEMO ENDORSEMENT as to Michael Avenatti (1) denying 163 LETTER
                            MOTION addressed to Judge Paul G. Gardephe from Scott Alan Srebnick dated
                            January 17, 2020 re: to Quash Subpoena Duces Tecum to George Washington
                            University. ENDORSEMENT: The motion to quash is denied. George Washington
                            University presumably issues transcripts every day, so there is nothing "oppressive"
                            about the subpoena. Ethical rules for lawyers are at issue. Denying the motion to quash
                            does not mean that responsive material will necessarily be admitted at trial. SO
                            ORDERED. (Signed by Judge Paul G. Gardephe on 1/17/2020) (lnl) Modified on
                            1/21/2020 (lnl). (Entered: 01/17/2020)
           01/17/2020   165 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            January 17, 2020 re: Court's Draft Jury Questionnairre Document filed by USA.
                            (Richenthal, Daniel) (Entered: 01/17/2020)
           01/17/2020   166 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            January 17, 2020 re: Response to Defendant's Letter of January 16, 2020 (Dkt. No.
                            159, re-filed at Dkt. No. 161) Concerning Expert Testimony Document filed by USA.
                            (Attachments: # 1 Exhibit A (Transcript of Dec. 17, 2019 Conference), # 2 Exhibit B
                            (Transcript of Jan. 15, 2020 Telephonic Conference))(Richenthal, Daniel) (Entered:
                            01/17/2020)
           01/17/2020   167 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            January 17, 2020 re: Clarification Of Information Concerning Certain Debt Evidence
                            Document filed by USA. (Richenthal, Daniel) (Entered: 01/17/2020)
           01/17/2020   168 MOTION to Compel Testimony of Mark Geragos. Document filed by Michael
                            Avenatti. (Srebnick, Scott) (Entered: 01/17/2020)
           01/17/2020   169 MEMORANDUM in Support by Michael Avenatti re 168 MOTION to Compel
                            Testimony of Mark Geragos.. (Srebnick, Scott) (Entered: 01/17/2020)
           01/17/2020   177 MEMO ENDORSEMENT as to Michael Avenatti on re: 161 SUPPLEMENTAL
                            LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick, Jose Quinon, Danya Perry dated January 16, 2020 re: Supplemental Letter
                            Reply to Exclude Expert Testimony. ENDORSEMENT: The government is directed to
                            respond to this letter by 5:00 p.m. on Jan. 20, 2020. (Signed by Judge Paul G.
                            Gardephe on 1/17/2020) (ap) (Entered: 01/21/2020)
           01/18/2020   170 LETTER RESPONSE in Support of Motion by USA as to Michael Avenatti addressed
                            to Judge Paul G. Gardephe dated January 18, 2020 re: 158 LETTER MOTION
                            addressed to Judge Paul G. Gardephe from Michael J. Proctor/Whitney R.
                            O'Byrne/Marc S. Harris/Scott A. Srebnick dated January 16, 2020 re: Dispute as to
                            Subpoena Duces Tecum .. (Sobelman, Robert) (Entered: 01/18/2020)
           01/20/2020   171 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick, Jose Quinon, E. Danya Perry dated January 20, 2020 re: Outstanding


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                              Judgments (Attachments: # 1 Exhibit 1: Jason Frank Law Settlement Agreement)
                              (Srebnick, Scott) (Entered: 01/20/2020)
           01/20/2020   172 MEMORANDUM in Opposition by USA as to Michael Avenatti re 168 MOTION to
                            Compel Testimony of Mark Geragos.. (Richenthal, Daniel) (Entered: 01/20/2020)
           01/20/2020   173 LETTER MOTION addressed to Judge Paul G. Gardephe from Assistant United
                            States Attorneys Matthew D. Podolsky, Daniel C. Richenthal, and Robert B. Sobelman
                            re: Seeking Order Precluding Defendant From (1) Using or Describing Certain
                            Materials or Using Certain Names or Phrases Absent a Sufficient Proffer as to
                            Relevance and Admissibility and (2) Crossing Witnesses' on Prior Political Work,
                            Alleged Political Views, or Campaign Donations, If Any . Document filed by USA as
                            to Michael Avenatti. (Attachments: # 1 Exhibit A (DXs K, X, and Y), # 2 Exhibit B
                            (DX DD Part I), # 3 Exhibit C (DX DD Part II), # 4 Exhibit D (DX L), # 5 Exhibit E
                            (DXs N and O), # 6 Exhibit F (DX II), # 7 Exhibit G (DX P Part I), # 8 Exhibit H (DX
                            P Part II), # 9 Exhibit I (DX R))(Richenthal, Daniel) (Entered: 01/20/2020)
           01/20/2020   174 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick, Jose Quinon, E. Danya Perry dated January 20, 2020 re: Office Manager's
                            Testimony (Srebnick, Scott) (Entered: 01/20/2020)
           01/20/2020   175 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            January 20, 2020 re: Innocence Proffer Agreement Document filed by USA.
                            (Attachments: # 1 Exhibit (Form Innocence Proffer Agreement))(Richenthal, Daniel)
                            (Entered: 01/20/2020)
           01/20/2020   176 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick, Jose Quinon, Danya Perry dated January 20, 2020 re: Mr. Avenatti's Prison
                            Conditions as a Pretrial Detainee (Srebnick, Scott) (Entered: 01/20/2020)
           01/20/2020   178 ORDER as to Michael Avenatti re: 168 SUPPLEMENTAL LETTER by Michael
                            Avenatti addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose Quinon,
                            Danya Perry dated January 16, 2020 re: Supplemental Letter Reply to Exclude Expert
                            Testimony. The Government is hereby ORDERED to respond to Defendant's January
                            17, 2020 motion to compel testimony of Mark Geragos (Dkt. No. 168) by 5:00 p.m. on
                            January 20, 2020. (Responses due by 1/20/2020) (Signed by Judge Paul G. Gardephe
                            on 1/18/2020) (ap) (Entered: 01/21/2020)
           01/20/2020   179 ORDER as to Michael Avenatti: The parties are hereby directed to submit the
                            following items to the Court: 1. Defendant will file the retainer agreement, if any,
                            between Defendant and Gary Franklin, Sr., by 7:00 p.m. on January 20, 2020. 2. The
                            Government will file copies of Mark Geragos's proffer agreements by 7:00 p.m. on
                            January 20, 2020. 3. Defendant will file a reply to Nike's motion to quash (Dkt. No.
                            138) by 5:00 p.m. on January 21, 2020; any filing by the Government as to Nike's
                            motion to quash (Dkt. No. 138) is also due by 5:00 p.m. on January 21, 2020. 4. Mark
                            Geragos will submit a reply to Defendant's motion to compel (Dkt. No. 168) by 5:00
                            p.m. on January 21, 2020. The Government is directed to serve this Order on counsel
                            for Geragos forthwith. (Replies due by 1/21/2020) (Signed by Judge Paul G. Gardephe
                            on 1/20/2020) (ap) (Entered: 01/21/2020)
           01/20/2020   180 ORDER as to Michael Avenatti: Defendant is hereby ORDERED to respond to the
                            Government's January 20, 2020 letter motion (Dkt. No. 173) by January 21, 2020 at
                            5:00 p.m. (Responses due by 1/21/2020) (Signed by Judge Paul G. Gardephe on
                            1/20/2020) (ap) (Entered: 01/21/2020)



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           01/21/2020   181 MEMO ENDORSEMENT as to Michael Avenatti on re: 176 LETTER by Michael
                            Avenatti addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose Quinon,
                            Danya Perry dated January 20, 2020 re: Mr. Avenatti's Prison Conditions as a Pretrial
                            Detainee. ENDORSEMENT: The Government will submit a letter by 2:00 p.m. today
                            explaining why the current conditions of confinement are in place. (Signed by Judge
                            Paul G. Gardephe on 1/21/2020) (ap) (Entered: 01/21/2020)
           01/21/2020   182 ORDER as to Michael Avenatti: Defendant has submitted a letter stating that there is
                            no judgment or court order requiring him "to pay $2,049,000 in spousal and child
                            support as of March 2019." (See Jan. 20, 2020 Def. Ltr. (Dkt. No. 171) at 2) The
                            Government will submit any evidence to the contrary by January 21, 2020 at 12:00
                            p.m. (Signed by Judge Paul G. Gardephe on 1/20/2020) (ap) (Entered: 01/21/2020)
           01/21/2020   183 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            January 21, 2020 re: Support Obligations Document filed by USA. (Attachments: # 1
                            Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Podolsky, Matthew) (Entered: 01/21/2020)
           01/21/2020   184 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            January 21, 2020 re: Defendant's Conditions of Confinement Document filed by USA.
                            (Attachments: # 1 Exhibit Letter dated January 21, 2020 from Warden Licon-Vitale)
                            (Sobelman, Robert) (Entered: 01/21/2020)
           01/21/2020   185 LETTER RESPONSE in Support of Motion by USA as to Michael Avenatti addressed
                            to Judge Paul G. Gardephe dated January 21, 2020 re: 138 MOTION to Quash
                            Subpoenas Duces Tecum.. (Sobelman, Robert) (Entered: 01/21/2020)
           01/21/2020   186 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            January 21, 2020 re: Office Manager's Testimony Document filed by USA. (Sobelman,
                            Robert) (Entered: 01/21/2020)
           01/21/2020   187 MEMORANDUM in Opposition by Michael Avenatti re 138 MOTION to Quash
                            Subpoenas Duces Tecum.. (Srebnick, Scott) (Entered: 01/21/2020)
           01/21/2020   188 LETTER by Mark Geragos as to Michael Avenatti addressed to Judge Paul G.
                            Gardephe from Brendan McGuire and Anjan Sahni dated January 21, 2020 re:
                            defendant's motion to compel Document filed by Mark Geragos. (McGuire, Brendan)
                            (Entered: 01/21/2020)
           01/21/2020   189 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick, Jose Quinon, E. Danya Perry dated January 21, 2020 re: Government's
                            Letter Motoin to Exclude (Dkt. No. 173) (Srebnick, Scott) (Entered: 01/21/2020)
           01/21/2020   190 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick, Jose Quinon, E. Danya Perry dated January 21, 2020 re: Reply to Dkt. No.
                            183 regarding Outstanding Family Support and Jason Frank Law PLC Judgment
                            (Attachments: # 1 Exhibit Stipulation and Order in Avenatti Divorce Case)(Srebnick,
                            Scott) (Entered: 01/21/2020)
           01/21/2020   191 REPLY MEMORANDUM OF LAW in Support by Nike Inc. as to Michael Avenatti
                            re: 138 MOTION to Quash Subpoenas Duces Tecum. . (Skinner, Peter) (Entered:
                            01/21/2020)
           01/22/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Status Conference
                              as to Michael Avenatti held on 1/22/2020. Defendant M. Avenatti present with
                              attorneys Scott Srebnick, Danya Perry, Jose Quinon and Howard Srebnick. AUSAs



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                              Matthew Podolsky, Robert B. Sobelman and Daniel Richenthall present. Special Agent
                              Deleana Penland present. Court reporter Rose Prater present. Jury trial set for
                              1/27/2020 at 10:00 am. Speedy trial time is excluded from 1/22/2020 until 1/27/2020.
                              Detention continued. (Jury Trial set for 1/27/2020 at 10:00 AM before Judge Paul G.
                              Gardephe) (lnl) (Entered: 01/22/2020)
           01/22/2020   192 TRANSCRIPT of Proceedings as to Michael Avenatti re: Conference held on
                            1/14/2020 before Judge Paul G. Gardephe. Court Reporter/Transcriber: Jennifer Thun,
                            (212) 805-0300, Transcript may be viewed at the court public terminal or purchased
                            through the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            2/12/2020. Redacted Transcript Deadline set for 2/24/2020. Release of Transcript
                            Restriction set for 4/21/2020. (McGuirk, Kelly) (Entered: 01/22/2020)
           01/22/2020   193 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Michael Avenatti. Notice is
                            hereby given that an official transcript of a Conference proceeding held on 1/14/2020
                            has been filed by the court reporter/transcriber in the above-captioned matter. The
                            parties have seven (7) calendar days to file with the court a Notice of Intent to Request
                            Redaction of this transcript. If no such Notice is filed, the transcript may be made
                            remotely electronically available to the public without redaction after 90 calendar
                            days.... (McGuirk, Kelly) (Entered: 01/22/2020)
           01/22/2020   194 ORDER as to Michael Avenatti (Defendant Replies due by 1/23/2020., Government
                            Responses due by 1/23/2020, Jury Selection set for 1/27/2020 at 10:00AM before
                            Judge Paul G. Gardephe) the parties will submit amendments to their requests to
                            charge by January 27, 2020 at 5:00 p.m. the Government will submit any additional
                            letter concerning expert opinion testimony by January 27, 2020 at 9:30 a.m. the
                            Government will submit any additional letter concerning the anticipated trial
                            testimony of the office manager and the FBI analyst by January 27, 2020 at 9:30 a.m.
                            Defendant will submit any letter regarding the relevance of post-arrest conduct by
                            January 23, 2020 at 10:00 a.m., and the Government will file any response by January
                            23, 2020 at 5:00 p.m. Jury selection will begin on January 27, 2020 at 10:00 a.m. in
                            Courtroom 110 of the Thurgood Marshall United States Courthouse, 40 Foley Square,
                            New York, New York (Signed by Judge Paul G. Gardephe on 1/22/20)(jw) (Entered:
                            01/22/2020)
           01/22/2020   195 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            January 22, 2020 re: Defendant's Housing Assignment Document filed by USA.
                            (Attachments: # 1 Exhibit Letter dated January 22, 2020 from Warden Licon-Vitale)
                            (Sobelman, Robert) (Entered: 01/22/2020)
           01/23/2020   196 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose
                            Quinon, Danya Perry dated January 23, 2020 re: to Exclude Post Arrest Text Messages
                            and Tweets . Document filed by Michael Avenatti. (Attachments: # 1 Exhibit 1: Text
                            Messages, # 2 Exhibit 2: Arrest Log)(Srebnick, Scott) (Entered: 01/23/2020)
           01/23/2020   197 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose
                            Quinon, Danya Perry dated January 23, 2020 re: to Exclude Post Arrest Text Messages
                            and Tweets . Document filed by Michael Avenatti. (Attachments: # 1 Exhibit 1: Text
                            Messages (redacted), # 2 Exhibit 2: Arrest Log)(Srebnick, Scott) (Entered:
                            01/23/2020)




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           01/23/2020   198 TRANSCRIPT of Proceedings as to Michael Avenatti re: Conference held on
                            1/15/2020 before Judge Paul G. Gardephe. Court Reporter/Transcriber: Sonya Ketter
                            Moore, (212) 805-0300, Transcript may be viewed at the court public terminal or
                            purchased through the Court Reporter/Transcriber before the deadline for Release of
                            Transcript Restriction. After that date it may be obtained through PACER. Redaction
                            Request due 2/13/2020. Redacted Transcript Deadline set for 2/24/2020. Release of
                            Transcript Restriction set for 4/22/2020. (McGuirk, Kelly) (Entered: 01/23/2020)
           01/23/2020   199 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Michael Avenatti. Notice is
                            hereby given that an official transcript of a Conference proceeding held on 1/15/2020
                            has been filed by the court reporter/transcriber in the above-captioned matter. The
                            parties have seven (7) calendar days to file with the court a Notice of Intent to Request
                            Redaction of this transcript. If no such Notice is filed, the transcript may be made
                            remotely electronically available to the public without redaction after 90 calendar
                            days.... (McGuirk, Kelly) (Entered: 01/23/2020)
           01/23/2020   200 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose
                            Quinon, Danya Perry dated January 23, 2020 re: Permission to Bring Electronic
                            Equipment into the Courtroom for Trial. Document filed by Michael Avenatti.
                            (Srebnick, Scott) (Entered: 01/23/2020)
           01/23/2020   201 ORDER as to Michael Avenatti. Nike, Inc. has moved to quash Rule 17(c) subpoenas
                            served on certain Nike employees. See Nike Mot. (Dkt. No. 114); Nike Br. (Dkt. No.
                            115) at 3; Nike Br. (Dkt. No. 137) at 3 n.1) Defendant Avenatti is hereby directed to
                            file the seven subpoenas at issue on the docket forthwith. SO ORDERED. (Signed by
                            Judge Paul G. Gardephe on 1/23/20)(jbo) (Entered: 01/23/2020)
           01/23/2020   202 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick, Jose Quinon, Danya Perry dated January 23, 2020 re: Compliance with
                            Court Order (Dkt. No. 201) (Attachments: # 1 Exhibit 1: Nike Subpoenas)(Srebnick,
                            Scott) (Entered: 01/23/2020)
           01/23/2020   203 MEMO ENDORSED granting 200 LETTER MOTION Permission to Bring Electronic
                            Equipment into the Courtroom for Trial as to Michael Avenatti
                            (1)...ENDORSEMENT: The application is granted. SO ORDERED. (Signed by Judge
                            Paul G. Gardephe on 1/23/20) (jbo) (Entered: 01/23/2020)
           01/23/2020   204 ORDER as to Michael Avenatti. In the event that one or more of the Nike employees
                            moves to quash, that employee will state whether he or she intends to assert his or her
                            Fifth Amendment right against self-incrimination. Such an intent may render a motion
                            to quash effectively moot. SO ORDERED. (Signed by Judge Paul G. Gardephe on
                            1/23/20)(jbo) (Entered: 01/23/2020)
           01/23/2020   205 LETTER RESPONSE in Opposition by USA as to Michael Avenatti addressed to
                            Judge Paul G. Gardephe from Assistant United States Attorneys Matthew D. Podolsky,
                            Daniel C. Richenthal, and Robert B. Sobelman dated January 23, 2020 re: 197
                            LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose
                            Quinon, Danya Perry dated January 23, 2020 re: to Exclude Post Arrest Text Messages
                            and Tweets ., 196 LETTER MOTION addressed to Judge Paul G. Gardephe from
                            Scott Srebnick, Jose Quinon, Danya Perry dated January 23, 2020 re: to Exclude Post
                            Arrest Text Messages and Tweets .. (Attachments: # 1 Exhibit A (GX 107), # 2 Exhibit
                            B (Transcript of Jan. 22, 2020 Conference), # 3 Exhibit C (GX 108A), # 4 Exhibit D
                            (GX 108B), # 5 Exhibit E (GX 108C), # 6 Exhibit F (GX 308), # 7 Exhibit G (GX
                            304), # 8 Exhibit H (GX 108D), # 9 Exhibit I (GX 313), # 10 Exhibit J (GX


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                              106))(Richenthal, Daniel) (Entered: 01/23/2020)
           01/24/2020   206 NOTICE OF ATTORNEY APPEARANCE as to Interested Party, NIKE, Inc.
                            PLEASE TAKE NOTICE that the undersigned attorney, David L. Simons, who is a
                            member in good standing of the bar of this Court, hereby appears as counsel for
                            Interested Party NIKE, Inc. in the above-captioned proceeding. (bw) (Entered:
                            01/24/2020)
           01/24/2020   207 NOTICE OF ATTORNEY APPEARANCE as to Interested Party, NIKE, Inc.
                            PLEASE TAKE NOTICE that the undersigned attorney, Andrew Z. Michaelson, who
                            is a member in good standing of the bar of this Court, hereby appears as counsel for
                            Interested Party NIKE, Inc. in the above-captioned proceeding.(bw) (Entered:
                            01/24/2020)
           01/24/2020   208 ENDORSED LETTER as to Michael Avenatti addressed to Judge Paul G. Gardephe
                            from Scott A. Srebnick dated 1/24/20 re: To request an Order directing the Bureau of
                            Prisons, the Metropolitan Correctional Center-New York, and the US Marshal Service
                            to accept the following clothing for Mr. Michael Avenati, to wear for appearances at
                            his trial commencing on Monday, January 27, 2020 and continuing
                            thereafter...ENDORSEMENT: SO ORDERED. (Signed by Judge Paul G. Gardephe on
                            1/24/20)(jw) (Entered: 01/24/2020)
           01/24/2020   209 MOTION for Michael J. Proctor to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                            number ANYSDC-18595537. Motion and supporting papers to be reviewed by
                            Clerk's Office staff. Document filed by Gary Franklin as to Michael Avenatti.
                            (Attachments: # 1 Affidavit of Michael J. Proctor, # 2 Text of Proposed Order Order
                            for Admission Pro Hac Vice)(Proctor, Michael) (Entered: 01/24/2020)
           01/24/2020   210 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose
                            Quinon, Danya Perry dated January 24, 2020 re: to Exclude Evidence/Argument
                            regarding: 1) GX 119, GX 126, GX 127; 2) Post-arrest Outreach by Coach Franklin's
                            new counsel; 3) Mr. Avenatti's purported promise of "silence;" 4) Post-arrest Texts and
                            Tweets (reply); and 5) the Amount Demanded for the Internal Investigation; and to
                            Admit References to Colin Kaepernick . Document filed by Michael Avenatti.
                            (Attachments: # 1 Exhibit A: Notes of March 15, 2019 Telephone call between BSF
                            and Geragos)(Srebnick, Scott) (Entered: 01/24/2020)
           01/25/2020   213 MEMO ENDORSEMENT as to Michael Avenatti on 210 LETTER MOTION
                            addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose Quinon, Danya Perry
                            dated January 24, 2020 re: to Exclude Evidence/Argument regarding: 1) GX 119, GX
                            126, GX 127; 2) Post-arrest Outreach by Coach Franklin's new counsel; 3) Mr.
                            Avenatti's purported promise of "silence;" 4) Post-arrest Texts and Tweets (reply); and
                            5) the Amount Demanded for the Internal Investigation; and to Admit References to
                            Colin Kaepernick. ENDORSEMENT: The Government is directed to respond to this
                            letter by 5:00 p.m. on January 26, 2020. SO ORDERED. (Signed by Judge Paul G.
                            Gardephe on 1/25/2020) (lnl) (Entered: 01/27/2020)
           01/26/2020   211 LETTER RESPONSE in Opposition by USA as to Michael Avenatti addressed to
                            Judge Paul G. Gardephe from Assistant United States Attorneys Matthew D. Podolsky,
                            Daniel C. Richenthal, and Robert B. Sobelman dated January 26, 2020 re: 210
                            LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose
                            Quinon, Danya Perry dated January 24, 2020 re: to Exclude Evidence/Argument
                            regarding: 1) GX 119, GX 126, GX 127; 2) Post-arrest Outreach by Coach Franklin's
                            new cou. (Richenthal, Daniel) (Entered: 01/26/2020)


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           01/26/2020   215 MEMORANDUM OPINION & ORDER as to Michael Avenatti: Aveantti's motion to
                            compel Geragos to testify at trial (Dkt. No. 168) is denied. Avenatti's motion, in the
                            alternative, for an order compelling the Government to seek an immunity order for
                            Geragos (see id.) is likewise denied. SO ORDERED. (Signed by Judge Paul G.
                            Gardephe on 1/26/2020) (lnl) (Entered: 01/27/2020)
           01/27/2020         >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                              No. 209 MOTION for Michael J. Proctor to Appear Pro Hac Vice . Filing fee $
                              200.00, receipt number ANYSDC-18595537. Motion and supporting papers to be
                              reviewed by Clerk's Office staff.. The document has been reviewed and there are
                              no deficiencies. (wb) (Entered: 01/27/2020)
           01/27/2020   212 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            January 27, 2020 re: Office Manager's Expected Testimony and Forensic Accountant's
                            Expected Testimony Document filed by USA. (Attachments: # 1 Exhibit 1 (GX 129),
                            # 2 Exhibit 2 (GX 111), # 3 Exhibit 3 (GX 102))(Sobelman, Robert) (Entered:
                            01/27/2020)
           01/27/2020   214 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            January 27, 2020 re: Professor Nora Engstrom's Expected Testimony Document filed
                            by USA. (Sobelman, Robert) (Entered: 01/27/2020)
           01/27/2020   216 ORDER FOR ADMISSION PRO HAC VICE Michael Avenatti (1) granting 209
                            Motion for Michael J. Proctor to Appear Pro Hac Vice to appear for all purposes as
                            counsel for Non-Party and Subpoenaed Person GARY S. FRANKLIN. (Signed by
                            Judge Paul G. Gardephe on 1/26/2020) (lnl) (Entered: 01/27/2020)
           01/27/2020   217 LETTER MOTION addressed to Judge Paul G. Gardephe from Peter M. Skinner dated
                            January 27, 2020 re: Rule 502(d) Order . Document filed by Nike Inc. as to Michael
                            Avenatti. (Attachments: # 1 Proposed Order)(Skinner, Peter) (Entered: 01/27/2020)
           01/27/2020   218 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            January 27, 2020 re: Amended Requests to Charge With Respect to Honest Services
                            Wire Fraud Document filed by USA. (Attachments: # 1 Exhibit (Amended Requests to
                            Charge With Respect to Honest Services Wire Fraud))(Richenthal, Daniel) (Entered:
                            01/27/2020)
           01/27/2020   219 Request To Charge by Michael Avenatti. (Srebnick, Scott) (Entered: 01/27/2020)
           01/27/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Voir Dire held on
                              1/27/2020 as to Michael Avenatti. Jury Trial began. Jury trial continued to 1/28/202 at
                              9:30 am. (lnl) (Entered: 01/31/2020)
           01/28/2020   220 LETTER MOTION addressed to Judge Paul G. Gardephe from Michael J. Proctor
                            dated January 28, 2020 re: Permission to bring electronic devices to court during trial .
                            Document filed by Gary Franklin as to Michael Avenatti. (Attachments: # 1
                            [Proposed] Order)(Proctor, Michael) (Entered: 01/28/2020)
           01/28/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Jury Trial as to
                              Michael Avenatti held on 1/28/2020. Jury trial continued to 1/29/2020 at 9:30 am. (lnl)
                              (Entered: 01/31/2020)
           01/29/2020   221 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 1/27/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Steven Greenblum, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through



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                              the Court Reporter/Transcriber before the deadline for Release of Transcript
                              Restriction. After that date it may be obtained through PACER. Redaction Request due
                              2/19/2020. Redacted Transcript Deadline set for 3/2/2020. Release of Transcript
                              Restriction set for 4/28/2020. (McGuirk, Kelly) (Entered: 01/29/2020)
           01/29/2020   222 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Michael Avenatti. Notice is
                            hereby given that an official transcript of a Trial proceeding held on 1/27/2020 has
                            been filed by the court reporter/transcriber in the above-captioned matter. The parties
                            have seven (7) calendar days to file with the court a Notice of Intent to Request
                            Redaction of this transcript. If no such Notice is filed, the transcript may be made
                            remotely electronically available to the public without redaction after 90 calendar
                            days.... (McGuirk, Kelly) (Entered: 01/29/2020)
           01/29/2020   223 LETTER MOTION addressed to Judge Paul G. Gardephe from Assistant United
                            States Attorneys Matthew D. Podolsky, Daniel C. Richenthal, and Robert B. Sobelman
                            dated January 29, 2020 re: Two Requests in Light of Defendant's Opening Statement .
                            Document filed by USA as to Michael Avenatti. (Attachments: # 1 Exhibit A (Jan. 27,
                            2020 Transcript), # 2 Exhibit B (Jan. 29, 2020 Transcript))(Richenthal, Daniel)
                            (Entered: 01/29/2020)
           01/29/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Jury Trial as to
                              Michael Avenatti held on 1/29/2020. Jury trial continued to 1/30/2020 at 9:30 am. (lnl)
                              (Entered: 01/31/2020)
           01/30/2020   224 ORDER as to Michael Avenatti: On January 27, 2020, Nike, Inc. moved for an order
                            pursuant to Federal Rule of Evidence 502(d), stating that testimony by Nike counsel at
                            trial would not constitute a waiver of any privilege or protection that Nike currently
                            enjoys. See Jan. 27, 2020 Nike Ltr. (Dkt. No. 217); Proposed Order (Dkt. No. 217-1))
                            Scott Wilson, outside counsel for Nike, is currently testifying at trial, and other Nike
                            lawyers may be called to testify. Fed. R. Evid. 502(d) provides that "[a] federal court
                            may order that [a] privilege or protection is not waived by disclosure connected with...
                            litigation pending before the court - in which event the disclosure is also not a waiver
                            in any other federal or state proceeding." Fed.R.Evid. 502(d). Testimony by Nike
                            counsel at trial will not constitute a waiver of any privilege or protection that Nike
                            currently enjoys. Given that Wilson will soon be cross-examined, and that it is possible
                            that other Nike counsel may be subject to cross-examination, there is no practical way
                            for Nike to attempt to police its privileges and protections and insure that they are not
                            waived, either intentionally or inadvertently by lawyers who are not authorized to
                            waive Nike's privileges and protections. Accordingly, Fed. R. Evid. 502(d) is
                            applicable, and the relief Nike seeks is appropriate. As stated today in open court, this
                            Order speaks only to testimony by Nike counsel at trial, and does not address any
                            disclosures made by Nike counsel prior to today's date, or the effect of such
                            disclosures. See Fed. R. Evid. 502 advisory committee note (a court "may not enter an
                            order determining the waiver effects of a separate disclosure of the same information
                            in other proceedings, state or federal"), SO ORDERED. (Signed by Judge Paul G.
                            Gardephe on 1/30/2020) (lnl) (Entered: 01/30/2020)
           01/30/2020   225 FILING ERROR - DEFICIENT DOCKET ENTRY - MOTION to Quash
                            Subpoena of Carlton DeBose. Document filed by Nike Inc. as to Michael Avenatti.
                            (Williams, Milton) Modified on 1/31/2020 (ka). (Entered: 01/30/2020)
           01/30/2020   226 MEMORANDUM in Support by Nike Inc. as to Michael Avenatti re 225 MOTION to
                            Quash Subpoena of Carlton DeBose.. (Williams, Milton) (Entered: 01/30/2020)



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           01/30/2020   227 MOTION to Quash Subpoena of John Stovall. Document filed by Nike Inc. as to
                            Michael Avenatti. (Skinner, Peter) (Entered: 01/30/2020)
           01/30/2020   228 MEMORANDUM in Support by Nike Inc. as to Michael Avenatti re 227 MOTION to
                            Quash Subpoena of John Stovall.. (Skinner, Peter) (Entered: 01/30/2020)
           01/30/2020   229 MOTION to Quash Subpoena of Carlton Debose. Document filed by Nike Inc. as to
                            Michael Avenatti. (Williams, Milton) Modified on 1/31/2020 (ka). Modified on
                            1/31/2020 (ka). (Entered: 01/30/2020)
           01/30/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Jury Trial as to
                              Michael Avenatti held on 1/30/2020. Jury trial continued to 1/31/2020 at 9:30 am. (lnl)
                              (Entered: 01/31/2020)
           01/31/2020   230 ORDER granting 158 LETTER MOTION submitted as to Michael Avenatti (1).
                            CONCLUSION: For the reasons stated above, Franklin and Auerbach's motion to
                            quash Defendant's Rule 17(c) subpoena (Dkt. No. 158) is granted. SO ORDERED.
                            (Signed by Judge Paul G. Gardephe on 1/30/2020) (bw) (Entered: 01/31/2020)
           01/31/2020   231 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU -
                            MOTION to Quash of Non-Party Jamal James. Document filed by Nike Inc. as to
                            Michael Avenatti. (Kopp, Glen) Modified on 2/3/2020 (ka). (Entered: 01/31/2020)
           01/31/2020   232 MOTION to Quash of Non-Party Jamal James. Document filed by Nike Inc. as to
                            Michael Avenatti. (Kopp, Glen) (Entered: 01/31/2020)
           01/31/2020   233 MEMORANDUM in Support by Nike Inc. as to Michael Avenatti re 232 MOTION to
                            Quash of Non-Party Jamal James.. (Kopp, Glen) (Entered: 01/31/2020)
           01/31/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Jury Trial as to
                              Michael Avenatti held on 1/31/2020. Jury Trial began. Jury trial continued to 2/3/2020
                              at 9:30 am. (bw) (Entered: 02/04/2020)
           02/02/2020   234 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose
                            Quinon, Danya Perry dated February 2, 2020 re: to Exclude Testimony and Documents
                            about 20 year old Bar Exams and CLE compliance (GX 112, 113, 114) . Document
                            filed by Michael Avenatti. (Srebnick, Scott) (Entered: 02/02/2020)
           02/03/2020   235 TRANSCRIPT of Proceedings as to Michael Avenatti re: Conference held on
                            1/22/2020 before Judge Paul G. Gardephe. Court Reporter/Transcriber: Rose Prater,
                            (212) 805-0300, Transcript may be viewed at the court public terminal or purchased
                            through the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            2/24/2020. Redacted Transcript Deadline set for 3/5/2020. Release of Transcript
                            Restriction set for 5/4/2020. (McGuirk, Kelly) (Entered: 02/03/2020)
           02/03/2020   236 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Michael Avenatti. Notice is
                            hereby given that an official transcript of a Conference proceeding held on 1/22/2020
                            has been filed by the court reporter/transcriber in the above-captioned matter. The
                            parties have seven (7) calendar days to file with the court a Notice of Intent to Request
                            Redaction of this transcript. If no such Notice is filed, the transcript may be made
                            remotely electronically available to the public without redaction after 90 calendar
                            days.... (McGuirk, Kelly) (Entered: 02/03/2020)




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           02/03/2020   237 LETTER MOTION addressed to Judge Paul G. Gardephe from Peter M. Skinner dated
                            February 3, 2020 re: Electronics Order . Document filed by Nike Inc. as to Michael
                            Avenatti. (Attachments: # 1 Text of Proposed Order Electronics Order)(Skinner, Peter)
                            (Entered: 02/03/2020)
           02/03/2020   238 LETTER RESPONSE in Opposition by USA as to Michael Avenatti addressed to
                            Judge Paul G. Gardephe from Assistant United States Attorneys Matthew D. Podolsky,
                            Daniel C. Richenthal, and Robert B. Sobelman dated February 3, 2020 re: 234
                            LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose
                            Quinon, Danya Perry dated February 2, 2020 re: to Exclude Testimony and Documents
                            about 20 year old Bar Exams and CLE compliance (GX 112, 113, 114) .. (Richenthal,
                            Daniel) (Entered: 02/03/2020)
           02/03/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Jury Trial as to
                              Michael Avenatti held on 2/3/2020. Jury Trial held. Jury trial continued to 2/4/2020 at
                              9:30 am. (bw) (Entered: 02/04/2020)
           02/04/2020   239 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            February 4, 2020 re: Federal Rule of Evidence 803(3) Document filed by USA.
                            (Richenthal, Daniel) (Entered: 02/04/2020)
           02/04/2020   240 SUPPLEMENTAL LETTER by Michael Avenatti addressed to Judge Paul G.
                            Gardephe from Scott Srebnick, Jose Quinon, Danya Perry dated February 4, 2020 re:
                            Supplemental Letter re Office Manager Testimony (Srebnick, Scott) (Entered:
                            02/04/2020)
           02/05/2020   241 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick, Jose Quinon, Danya Perry dated February 5, 2020 re: Order Appointing
                            Receiver for Eagan Avenatti in Central District of California (relating to GX 109, 110,
                            111) (Attachments: # 1 Exhibit Order Appointing Receiver for Eagan Avenatti, Feb.
                            13, 2019)(Srebnick, Scott) (Entered: 02/05/2020)
           02/05/2020   242 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick dated February 5, 2020 re: 803(3) email from February 4, 2020 (Srebnick,
                            Scott) (Entered: 02/05/2020)
           02/05/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Jury Trial held on
                              2/5/2020 as to Michael Avenatti. Jury trial continued to 2/6/2020 at 9:30 am. (lnl)
                              Modified on 2/12/2020 (lnl). (Entered: 02/07/2020)
           02/06/2020   243 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose
                            Quinon, Danya Perry dated February 6, 2020 re: Use of Text Messages Because the
                            Government Opened the Door . Document filed by Michael Avenatti. (Srebnick, Scott)
                            (Entered: 02/06/2020)
           02/06/2020   244 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe re:
                            Proposed Summary Chart Document filed by USA. (Attachments: # 1 GX
                            701)(Podolsky, Matthew) (Entered: 02/06/2020)
           02/06/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Jury Trial as to
                              Michael Avenatti held on 2/6/2020. Jury trial continued to 2/7/2020 at 9:30 am. (lnl)
                              (Entered: 02/07/2020)
           02/07/2020   245 LETTER RESPONSE in Support of Motion by USA as to Michael Avenatti addressed
                            to Judge Paul G. Gardephe dated February 7, 2020 re: 232 MOTION to Quash of Non-



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                              Party Jamal James., 229 MOTION to Quash Subpoena of Carlton DeBose..
                              (Sobelman, Robert) (Entered: 02/07/2020)
           02/07/2020   246 LETTER MOTION addressed to Judge Paul G. Gardephe from Jonathan R. Streeter
                            dated February 7, 2020 re: Quash Subpoena issued to John Slusher . Document filed
                            by John Slusher as to Michael Avenatti. (Attachments: # 1 Exhibit A)(Streeter,
                            Jonathan) (Entered: 02/07/2020)
           02/07/2020   247 LETTER MOTION addressed to Judge Paul G. Gardephe from Peter M. Skinner dated
                            February 7, 2020 re: Motion to Quash Subpoena Ad Testificandum . Document filed
                            by Nike Inc. as to Michael Avenatti. (Attachments: # 1 Exhibit A)(Skinner, Peter)
                            (Entered: 02/07/2020)
           02/07/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Jury Trial as to
                              Michael Avenatti held on 2/7/2020. Jury Trial held. Jury trial continued to 2/10/2020 at
                              9:30 am. (jbo) (Entered: 02/12/2020)
           02/08/2020   248 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick, Jose Quinon, Danya Perry dated February 8, 2020 re: Defense Proffers
                            (Srebnick, Scott) (Entered: 02/08/2020)
           02/08/2020   249 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose
                            Quinon, Danya Perry dated February 8, 2020 re: Preclude Cross-Examination of
                            Defendant about Unrelated Conduct or Admission of Extrinsic Evidence . Document
                            filed by Michael Avenatti. (Srebnick, Scott) (Entered: 02/08/2020)
           02/08/2020   250 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU -
                            MOTION to Quash Subpoena. Document filed by Tina Glandian as to Michael
                            Avenatti. (Riopelle, Roland) Modified on 2/10/2020 (ka). (Entered: 02/08/2020)
           02/08/2020   251 LETTER RESPONSE in Support of Motion by USA as to Michael Avenatti addressed
                            to Judge Paul G. Gardephe dated February 8, 2020 re: 250 MOTION to Quash
                            Subpoena., 229 MOTION to Quash Subpoena of Carlton DeBose., 247 LETTER
                            MOTION addressed to Judge Paul G. Gardephe from Peter M. Skinner dated February
                            7, 2020 re: Motion to Quash Subpoena Ad Testificandum ., 246 LETTER MOTION
                            addressed to Judge Paul G. Gardephe from Jonathan R. Streeter dated February 7,
                            2020 re: Quash Subpoena issued to John Slusher .. (Sobelman, Robert) (Entered:
                            02/08/2020)
           02/08/2020   252 LETTER RESPONSE in Opposition by USA as to Michael Avenatti addressed to
                            Judge Paul G. Gardephe from Assistant United States Attorneys Matthew D. Podolsky,
                            Daniel C. Richenthal, and Robert B. Sobelman dated February 8, 2019 re: 249
                            LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick, Jose
                            Quinon, Danya Perry dated February 8, 2020 re: Preclude Cross-Examination of
                            Defendant about Unrelated Conduct or Admission of Extrinsic Evidence ..
                            (Richenthal, Daniel) (Entered: 02/08/2020)




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           02/08/2020   254 ORDER - Defendant has served Rule l 7(c) subpoenas on Carlton DeBose, John
                            Slusher, and Casey Kaplan. (See Jan. 23, 2020 Def. Ltr., Ex. 1 (Dkt. No. 202-1) at 1-2,
                            4; Feb. 7, 2020 Kaplan Ltr., Ex. A (Dkt. No. 247-1)) The witnesses have all moved to
                            quash. (See DeBose Mot. (Dkt. No. 229); DeBose Br. (Dkt. No. 226); Feb. 7, 2020
                            Slusher Ltr. (Dkt. No. 246); Feb. 7, 2020 Kaplan Ltr. (Dkt. No. 247) The motions to
                            quash are granted. The Court will issue a bench ruling on the morning of Monday,
                            February 10, 2020, explaining its reasoning. (Signed by Judge Paul G. Gardephe on
                            2/8/20) (jw) (Entered: 02/10/2020)
           02/10/2020   253 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick, Jose Quinon, Danya Perry dated February 10, 2020 re: Admissibility of
                            Defense Exhibits (Texts and Emails) Under Fed.R.Evid. 1002 (Srebnick, Scott)
                            (Entered: 02/10/2020)
           02/10/2020         NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR
                              as to Michael Avenatti: Notice to Attorney Riopelle, Roland to RE-FILE
                              Document 250 MOTION to Quash Subpoena. Use the event type Letter Motion
                              found under the event list Motions. (ka) (Entered: 02/10/2020)
           02/10/2020   255 LETTER MOTION addressed to Judge Paul G. Gardephe from Maurice H. Sercarz
                            dated February 8, 2020 re: Motion to Quash Subpoena . Document filed by Tina
                            Glandian as to Michael Avenatti. (Sercarz, Maurice) (Entered: 02/10/2020)
           02/10/2020   256 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick, Jose Quinon, Danya Perry dated February 10, 2020 re: Defense Exhibits
                            FFF, GGG (Proffer for the record) (Attachments: # 1 Exhibit 1: DX FFF, # 2 Exhibit 2:
                            DX GGG)(Srebnick, Scott) (Entered: 02/10/2020)
           02/10/2020   257 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            February 10, 2020 re: Proposed Jury Charge Document filed by USA. (Sobelman,
                            Robert) (Entered: 02/10/2020)
           02/10/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Jury Trial as to
                              Michael Avenatti held on 2/10/2020. Jury Trial held. Jury trial continued to 2/11/2020
                              at 9:30 am. (jbo) (Entered: 02/12/2020)
           02/11/2020   258 JURY INSTRUCTIONS as to Michael Avenatti. (jbo) (Entered: 02/11/2020)
           02/11/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Jury Trial as to
                              Michael Avenatti held on 2/11/2020. Jury Trial held. Jury trial continued to 2/12/2020
                              at 9:30 am. (jbo) (Entered: 02/12/2020)
           02/12/2020   259 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick dated February 12, 2020 re: Court's Jury Instructions (Dkt. No. 258)
                            (Srebnick, Scott) (Entered: 02/12/2020)
           02/12/2020   260 SEALED DOCUMENT placed in vault. (mhe) (Entered: 02/12/2020)
           02/12/2020   261 FINAL JURY INSTRUCTIONS as to Michael Avenatti. (jw) (Entered: 02/12/2020)
           02/12/2020   262 Verdict Form as to Michael Avenatti. (jw) (Entered: 02/12/2020)
           02/12/2020   263 JOINT LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe
                            dated February 12, 2020 re: Jury Note Marked As Court Exhibit 2 Document filed by
                            USA. (Sobelman, Robert) (Entered: 02/12/2020)




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           02/12/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Jury Trial as to
                              Michael Avenatti held on 2/12/2020. Jury Trial held. Jury trial continued to 2/13/2020
                              at 9:30 am. (jbo) (Entered: 02/14/2020)
           02/13/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Jury Trial as to
                              Michael Avenatti held on 2/13/2020. Jury Trial held. Jury trial continued to 2/14/2020
                              at 9:30 am. (jbo) (Entered: 02/14/2020)
           02/14/2020   264 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick dated February 14, 2020 re: Jury Note 1.B of February 13, 2020 (Srebnick,
                            Scott) (Entered: 02/14/2020)
           02/14/2020   265 VERDICT as to Michael Avenatti. (jbo) (Entered: 02/14/2020)
           02/14/2020         Minute Entry for proceedings held before Judge Paul G. Gardephe: Jury Trial as to
                              Michael Avenatti held on 2/14/2020. Jury Trial held and concluded. The Jury returned
                              a verdict of guilty as to all counts. Sentence set for 6/17/2020 at 4:00 pm. (jbo)
                              (Entered: 02/14/2020)
           02/14/2020         JURY VERDICT as to Michael Avenatti (1) Guilty on Count 1s,2s,3s. (jbo) (Entered:
                              02/14/2020)
           02/14/2020         Set/Reset Hearings as to Michael Avenatti: Sentencing set for 6/17/2020 at 04:00 PM
                              before Judge Paul G. Gardephe. (jbo) (Entered: 02/14/2020)
           02/14/2020   266 ORDER as to Michael Avenatti. It is hereby ORDERED that any post-trial motions
                            filed by Defendant are due by March 16, 2020. The Government's opposition is due by
                            April 6, 2020. Any reply from Defendant is due by April 13, 2020. It is further
                            ORDERED that the sentencing of the Defendant will take place on June 17, 2020 at
                            4:00 p.m. Any submissions on behalf of the Defendant are due on May 28, 2020, and
                            any submission by the Government is due on June 4, 2020. The Probation Department
                            is directed to prepare a presentence investigation report for the Defendant. SO
                            ORDERED. (Signed by Judge Paul G. Gardephe on 2/14/2020)(bw) (Entered:
                            02/18/2020)
           02/19/2020   267 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            February 19, 2020 re: Summation PowerPoint Presentation Document filed by USA.
                            (Attachments: # 1 PowerPoint Presentation)(Podolsky, Matthew) (Entered:
                            02/19/2020)
           02/20/2020   268 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick dated February 20, 2020 re: Defense Summation PowerPoint Presentations
                            (Attachments: # 1 Exhibit 1: Summation PowerPoint Presentation (Scott Srebnick), #
                            2 Exhibit 2: Summation PowerPoint Presentation (Howard Srebnick))(Srebnick, Scott)
                            (Entered: 02/20/2020)
           02/20/2020   269 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick dated February 20, 2020 re: Def. Exh. AA-3 (not admitted) (filed for
                            appellate record) (Attachments: # 1 Exhibit 1: DX AA-3 (not admitted), # 2 Exhibit 2:
                            DX AA-3 (annotated and highlighted) (not admitted))(Srebnick, Scott) (Entered:
                            02/20/2020)
           03/05/2020   270 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 1/27/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Steven Greenblum, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through



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                              the Court Reporter/Transcriber before the deadline for Release of Transcript
                              Restriction. After that date it may be obtained through PACER. Redaction Request due
                              3/26/2020. Redacted Transcript Deadline set for 4/6/2020. Release of Transcript
                              Restriction set for 6/3/2020. (McGuirk, Kelly) (Entered: 03/05/2020)
           03/05/2020   271 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 1/29/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Steven Greenblum, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            3/26/2020. Redacted Transcript Deadline set for 4/6/2020. Release of Transcript
                            Restriction set for 6/3/2020. (McGuirk, Kelly) (Entered: 03/05/2020)
           03/05/2020   272 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 1/30/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Vincent Bologna, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            3/26/2020. Redacted Transcript Deadline set for 4/6/2020. Release of Transcript
                            Restriction set for 6/3/2020. (McGuirk, Kelly) (Entered: 03/05/2020)
           03/05/2020   273 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 1/31/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Steven Griffing, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            3/26/2020. Redacted Transcript Deadline set for 4/6/2020. Release of Transcript
                            Restriction set for 6/3/2020. (McGuirk, Kelly) (Entered: 03/05/2020)
           03/05/2020   274 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 2/3/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Vincent Bologna, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            3/26/2020. Redacted Transcript Deadline set for 4/6/2020. Release of Transcript
                            Restriction set for 6/3/2020. (McGuirk, Kelly) (Entered: 03/05/2020)
           03/05/2020   275 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 2/4/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Vincent Bologna, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            3/26/2020. Redacted Transcript Deadline set for 4/6/2020. Release of Transcript
                            Restriction set for 6/3/2020. (McGuirk, Kelly) (Entered: 03/05/2020)
           03/05/2020   276 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 2/5/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Karen Gorlaski, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            3/26/2020. Redacted Transcript Deadline set for 4/6/2020. Release of Transcript
                            Restriction set for 6/3/2020. (McGuirk, Kelly) (Entered: 03/05/2020)




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           03/05/2020   277 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 2/6/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Vincent Bologna, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            3/26/2020. Redacted Transcript Deadline set for 4/6/2020. Release of Transcript
                            Restriction set for 6/3/2020. (McGuirk, Kelly) (Entered: 03/05/2020)
           03/05/2020   278 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 2/7/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Vincent Bologna, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            3/26/2020. Redacted Transcript Deadline set for 4/6/2020. Release of Transcript
                            Restriction set for 6/3/2020. (McGuirk, Kelly) (Entered: 03/05/2020)
           03/05/2020   279 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 2/10/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Vincent Bologna, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            3/26/2020. Redacted Transcript Deadline set for 4/6/2020. Release of Transcript
                            Restriction set for 6/3/2020. (McGuirk, Kelly) (Entered: 03/05/2020)
           03/05/2020   280 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 2/11/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Karen Gorlaski, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            3/26/2020. Redacted Transcript Deadline set for 4/6/2020. Release of Transcript
                            Restriction set for 6/3/2020. (McGuirk, Kelly) (Entered: 03/05/2020)
           03/05/2020   281 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 2/12/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Vincent Bologna, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            3/26/2020. Redacted Transcript Deadline set for 4/6/2020. Release of Transcript
                            Restriction set for 6/3/2020. (McGuirk, Kelly) (Entered: 03/05/2020)
           03/05/2020   282 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 2/13/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Vincent Bologna, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            3/26/2020. Redacted Transcript Deadline set for 4/6/2020. Release of Transcript
                            Restriction set for 6/3/2020. (McGuirk, Kelly) (Entered: 03/05/2020)
           03/05/2020   283 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 2/14/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Vincent Bologna, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due


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                              3/26/2020. Redacted Transcript Deadline set for 4/6/2020. Release of Transcript
                              Restriction set for 6/3/2020. (McGuirk, Kelly) (Entered: 03/05/2020)
           03/05/2020   284 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 2/14/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Vincent Bologna, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            3/26/2020. Redacted Transcript Deadline set for 4/6/2020. Release of Transcript
                            Restriction set for 6/3/2020. (McGuirk, Kelly) (Entered: 03/05/2020)
           03/11/2020   285 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick dated
                            March 11, 2020 re: Adjournment of PSR Background Interview . Document filed by
                            Michael Avenatti. (Srebnick, Scott) (Entered: 03/11/2020)
           03/11/2020   286 MEMO ENDORSEMENT as to Michael Avenatti (1) denying 285 LETTER
                            MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick dated March 11,
                            2020 re: Adjournment of PSR Background Interview. ENDORSEMENT: The
                            application is denied. SO ORDERED. (Signed by Judge Paul G. Gardephe on
                            3/11/2020) (lnl) (Entered: 03/12/2020)
           03/13/2020   287 CONSENT LETTER MOTION addressed to Judge Paul G. Gardephe from Scott
                            Srebnick dated March 13, 2020 re: Four (4) Day Enlargement of Time, Until March
                            20, 2020, to File Post-Trial Motions . Document filed by Michael Avenatti. (Srebnick,
                            Scott) (Entered: 03/13/2020)
           03/13/2020   288 MEMO ENDORSEMENT as to Michael Avenatti (1) granting 287 CONSENT
                            LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick dated
                            March 13, 2020 re: Four (4) Day Enlargement of Time, Until March 20, 2020, to File
                            Post-Trial Motions. ENDORSEMENT: The Application is granted. (Signed by Judge
                            Paul G. Gardephe on 3/13/2020) (ap) (Entered: 03/13/2020)
           03/13/2020         Set/Reset Deadlines as to Michael Avenatti: Motions due by 3/20/2020. Responses due
                              by 4/10/2020. Replies due by 4/17/2020. (ap) (Entered: 03/13/2020)
           03/18/2020   289 CONSENT LETTER MOTION addressed to Judge Paul G. Gardephe from Scott
                            Srebnick dated March 18, 2020 re: One (1) Additional Business Day to File Post-trial
                            Motions (until March 23, 2020). Document filed by Michael Avenatti. (Srebnick,
                            Scott) (Entered: 03/18/2020)
           03/19/2020   290 MEMO ENDORSEMENT as to Michael Avenatti (1) granting 289 CONSENT
                            LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick dated
                            March 18, 2020 re: One (1) Additional Business Day to File Post-trial Motions (until
                            March 23, 2020). ENDORSEMENT: The Application is granted. (Signed by Judge
                            Paul G. Gardephe on 3/19/2020) (ap) (Entered: 03/19/2020)
           03/19/2020         Set/Reset Deadlines as to Michael Avenatti: Motions due by 3/23/2020. Responses due
                              by 4/13/2020. Replies due by 4/20/2020. (ap) (Entered: 03/19/2020)
           03/23/2020   291 MOTION for Acquittal pursuant to Rule 29(c)., MOTION for New Trial pursuant to
                            Rule 33. Document filed by Michael Avenatti. (Srebnick, Scott) (Entered: 03/23/2020)
           04/13/2020   292 MEMORANDUM in Opposition by USA as to Michael Avenatti re 291 MOTION for
                            Acquittal pursuant to Rule 29(c). MOTION for New Trial pursuant to Rule 33..
                            (Podolsky, Matthew) (Entered: 04/13/2020)



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           04/20/2020   293 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU -
                            REPLY TO RESPONSE to Motion by Michael Avenatti re 291 MOTION for
                            Acquittal pursuant to Rule 29(c). MOTION for New Trial pursuant to Rule 33..
                            (Srebnick, Scott) Modified on 4/21/2020 (ka). (Entered: 04/20/2020)
           04/21/2020         NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR
                              as to Michael Avenatti: Notice to Attorney Srebnick, Scott to RE-FILE Document
                              293 Reply to Response to Motion. Use the event type Reply Memorandum in
                              support of Motion found under the event list Replies, Opposition and Supporting
                              Documents. (ka) (Entered: 04/21/2020)
           04/21/2020   294 REPLY MEMORANDUM OF LAW in Support as to Michael Avenatti re: 291
                            MOTION for Acquittal pursuant to Rule 29(c). MOTION for New Trial pursuant to
                            Rule 33. . (Srebnick, Scott) (Entered: 04/21/2020)
           05/18/2020   296 CONSENT LETTER MOTION addressed to Judge Paul G. Gardephe from Scott
                            Srebnick and Danya Perry dated May 18, 2020 re: Adjournment of Sentencing Date
                            (seeking adjournment until early-mid August 2020). Document filed by Michael
                            Avenatti. (Srebnick, Scott) (Entered: 05/18/2020)
           05/19/2020   297 MEMO ENDORSED re: 296 LETTER MOTION Adjournment of Sentencing Date
                            (seeking adjournment until early-mid August 2020) as to Michael Avenatti
                            (1)...ENDORSEMENT: Defendant's sentencing is adjourned to August 19, 2020 at
                            4pm. Defendant's sentencing submission is due by July 29, 2020. The Government's
                            sentencing submission is due by August 5, 2020. SO ORDERED. (Signed by Judge
                            Paul G. Gardephe on 5/19/2020) (jbo) (Entered: 05/20/2020)
           05/19/2020         Set/Reset Hearings as to Michael Avenatti: Sentencing set for 8/19/2020 at 04:00 PM
                              before Judge Paul G. Gardephe. (jbo) (Entered: 05/20/2020)
           07/15/2020   298 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott A. Srebnick and
                            E. Danya Perry dated July 15, 2020 re: Adjournment of Sentencing Date . Document
                            filed by Michael Avenatti. (Attachments: # 1 Exhibit Governor Cuomo's Executive
                            Order 205 (June 24, 2020), # 2 Exhibit NY Dept. of Health Travel Advisory (July 13,
                            2020))(Srebnick, Scott) (Entered: 07/15/2020)
           07/18/2020   299 SUPPLEMENTAL LETTER by Michael Avenatti addressed to Judge Paul G.
                            Gardephe from Scott A. Srebnick and E. Danya Perry dated July 18, 2020 re:
                            Adjournment of Sentencing Date (Srebnick, Scott) (Entered: 07/18/2020)
           07/21/2020   300 ORDER as to Michael Avenatti: It is hereby ORDERED that the sentencing of
                            Defendant, currently scheduled for August 19, 2020, will now take place on October 7,
                            2020 at 2:30 p.m. Any submissions on behalf of Defendant are due on September 16,
                            2020, and any submission by the Government is due on September 23, 2020.
                            (Sentencing set for 10/7/2020 at 02:30 PM before Judge Paul G. Gardephe) (Signed by
                            Judge Paul G. Gardephe on 7/21/2020) (ap) (Entered: 07/22/2020)
           08/13/2020   301 TRANSCRIPT of Proceedings as to Michael Avenatti re: Trial held on 1/28/2020
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Steven Greenblum, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            9/3/2020. Redacted Transcript Deadline set for 9/14/2020. Release of Transcript
                            Restriction set for 11/12/2020. (McGuirk, Kelly) (Entered: 08/13/2020)



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           08/13/2020   302 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Michael Avenatti. Notice is
                            hereby given that an official transcript of a Trial proceeding held on 1/28/2020 has
                            been filed by the court reporter/transcriber in the above-captioned matter. The parties
                            have seven (7) calendar days to file with the court a Notice of Intent to Request
                            Redaction of this transcript. If no such Notice is filed, the transcript may be made
                            remotely electronically available to the public without redaction after 90 calendar
                            days.... (McGuirk, Kelly) (Entered: 08/13/2020)
           09/07/2020   303 CONSENT LETTER MOTION addressed to Judge Paul G. Gardephe from Scott
                            Srebnick and Danya Perry dated September 7, 2020 re: Adjournment of Sentencing
                            Date (seeking adjournment until early December 2020). Document filed by Michael
                            Avenatti. (Srebnick, Scott) (Entered: 09/07/2020)
           09/08/2020   304 MEMO ENDORSED re: 303 LETTER MOTION Adjournment of Sentencing Date
                            (seeking adjournment until early December 2020) as to Michael Avenatti
                            (1)...ENDORSEMENT: Defendant's sentencing is adjourned from October 7, 2020 to
                            December 9, 2020 at 12:00p.m. Defendant's sentencing submission is now due
                            November 18, 2020. The Government's sentencing submission is now due November
                            25, 2020. SO ORDERED. (Signed by Judge Paul G. Gardephe on 9/8/2020) (jbo)
                            (Entered: 09/09/2020)
           09/08/2020         Set/Reset Hearings as to Michael Avenatti: Sentencing set for 12/9/2020 at 12:00 PM
                              before Judge Paul G. Gardephe. (jbo) (Entered: 09/09/2020)
           10/30/2020   305 ORDER as to Michael Avenatti. This Order is entered, pursuant to Federal Rule of
                            Criminal Procedure 5(f), to remind the Government of its disclosure obligations under
                            Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, and to summarize the
                            potential consequences of violating those obligations. For purposes of this Order, the
                            "Government" includes all current or former federal, state, and local prosecutors, and
                            other law enforcement officers, who have participated in the instant prosecution of, or
                            in the investigation that led to the instant prosecution of, the defendant. The
                            Government has an affirmative obligation to seek from such sources all information
                            subject to disclosure under this Order. If the Government fails to comply with this
                            Order in addition to orderingproduction of the information the Court may: (1) specify
                            the terms and conditions of such production; (2) grant a continuance; (3) impose
                            evidentiary sanctions; (4) impose sanctions on any responsible lawyer for the
                            Government; (5) dismiss charges before trial or vacate a conviction after trial or a
                            guilty plea; or (6) enter any other order that is just under the circumstances (Signed by
                            Judge Paul G. Gardephe on 10/30/2020)(jw) (Entered: 10/30/2020)
           11/13/2020   306 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick and
                            Danya Perry dated November 13, 2020 re: Adjournment of Sentencing Date for 60
                            Days . Document filed by Michael Avenatti. (Srebnick, Scott) (Entered: 11/13/2020)
           11/13/2020   307 LETTER RESPONSE in Opposition by USA as to Michael Avenatti addressed to
                            Judge Paul G. Gardephe dated November 13, 2020 re: 306 LETTER MOTION
                            addressed to Judge Paul G. Gardephe from Scott Srebnick and Danya Perry dated
                            November 13, 2020 re: Adjournment of Sentencing Date for 60 Days .. (Podolsky,
                            Matthew) (Entered: 11/13/2020)
           11/16/2020   308 ORDER as to Michael Avenatti: It is hereby ORDERED that the sentencing of
                            Defendant Michael Avenatti, currently scheduled for December 9, 2020, will now take
                            place on February 17, 2021 at 12:00 p.m. Any submissions on behalf of Defendant are
                            due on January 27, 2021, and any submission by the Government is due on February


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                              3, 2021. SO ORDERED. (Sentencing set for 2/17/2021 at 12:00 PM before Judge Paul
                              G. Gardephe) (Signed by Judge Paul G. Gardephe on 11/16/2020) (lnl) (Entered:
                              11/16/2020)
           01/07/2021   309 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick and
                            Danya Perry dated January 7, 2021 re: Request for Adjournment of Sentencing for 90
                            Days . Document filed by Michael Avenatti. (Srebnick, Scott) (Entered: 01/07/2021)
           01/08/2021   310 ORDER as to Michael Avenatti: It is hereby ORDERED that the sentencing of
                            Defendant Michael Avenatti, currently scheduled for February 17, 2021, will now take
                            place on May 7, 2021 at 12:00 p.m. Any submissions on behalf of Defendant are due
                            on April 16, 2021, and any submission by the Government is due on April 23, 2021.
                            SO ORDERED. (Sentencing set for 5/7/2021 at 12:00 PM before Judge Paul G.
                            Gardephe) (Signed by Judge Paul G. Gardephe on 1/8/2021) (lnl) (Entered:
                            01/11/2021)
           03/30/2021   311 CONSENT LETTER MOTION addressed to Judge Paul G. Gardephe from Scott
                            Srebnick and Danya Perry dated March 30, 2021 re: Adjournment of Sentencing Date
                            until June 23-30, 2021 . Document filed by Michael Avenatti. (Srebnick, Scott)
                            (Entered: 03/30/2021)
           03/31/2021   312 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick and Danya Perry dated March 31, 2021 re: Correction of Letter Motion for
                            Adjournment of Sentencing Date (Srebnick, Scott) (Entered: 03/31/2021)
           04/01/2021   313 ORDER as to Michael Avenatti. The sentencing of Defendant Michael Avenatti,
                            currently scheduled for May 7, 2021, will now take place on June 30, 2021 at 12:00
                            p.m. Any submissions on behalf of Defendant are due on June 9, 2021, and any
                            submission by the Government is due on June 16, 2021. (Signed by Judge Paul G.
                            Gardephe on 4/1/21)(jw) (Entered: 04/02/2021)
           06/04/2021   314 NOTICE OF ATTORNEY APPEARANCE: Benjamin Adam Silverman appearing for
                            Michael Avenatti. Appearance Type: Retained. (Silverman, Benjamin) (Entered:
                            06/04/2021)
           06/04/2021   315 LETTER MOTION addressed to Judge Paul G. Gardephe from Benjamin Silverman
                            dated June 4, 2021 ., MOTION to Compel . Document filed by Michael Avenatti.
                            (Silverman, Benjamin) (Entered: 06/04/2021)
           06/04/2021   316 MEMO ENDORSEMENT as to Michael Avenatti on re: 315 LETTER MOTION
                            addressed to Judge Paul G. Gardephe from Benjamin Silverman dated June 4, 2021.
                            MOTION to Compel. ENDORSEMENT: The Government will respond to this letter
                            by June 11, 2021. (Responses due by 6/11/2021) (Signed by Judge Paul G. Gardephe
                            on 6/4/2021) (ap) Modified on 6/7/2021 (ap). (Entered: 06/04/2021)
           06/09/2021   317 SENTENCING SUBMISSION by Michael Avenatti. (Attachments: # 1 Exhibit
                            Sentencing Chart, # 2 Exhibit Transcript of Sentencing in US v Days, # 3 Exhibit
                            Transcript of Sentencing in US v Aracena De Jesus)(Srebnick, Scott) (Entered:
                            06/09/2021)
           06/11/2021   318 LETTER RESPONSE in Opposition by USA as to Michael Avenatti addressed to
                            Judge Paul G. Gardephe from Assistant United States Attorneys Matthew D. Podolsky,
                            Daniel C. Richenthal, and Robert B. Sobelman dated June 11, 2021 re: 315 LETTER
                            MOTION addressed to Judge Paul G. Gardephe from Benjamin Silverman dated June
                            4, 2021 . MOTION to Compel .. (Attachments: # 1 Exhibit A (Twitter Screenshot))


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                              (Richenthal, Daniel) (Entered: 06/11/2021)
           06/12/2021   319 LETTER MOTION addressed to Judge Paul G. Gardephe from Benjamin Silverman
                            dated June 12, 2021 re: respectfully requesting leave to respond to the government's
                            June 11 letter . Document filed by Michael Avenatti. (Silverman, Benjamin) (Entered:
                            06/12/2021)
           06/14/2021   320 MEMO ENDORSEMENT as to Michael Avenatti (1) granting 319 LETTER
                            MOTION addressed to Judge Paul G. Gardephe from Benjamin Silverman dated June
                            12, 2021 re: respectfully requesting leave to respond to the government's June 11
                            letter. ENDORSEMENT: The Application is granted. (Signed by Judge Paul G.
                            Gardephe on 6/14/2021) (ap) (Entered: 06/14/2021)
           06/14/2021         Set/Reset Deadlines as to Michael Avenatti: Replies due by 6/17/2021. (ap) (Entered:
                              06/14/2021)
           06/16/2021   321 SENTENCING SUBMISSION by USA as to Michael Avenatti. (Attachments: # 1
                            Exhibit A (Nike Victim Impact Statement), # 2 Exhibit B (Franklin Victim Impact
                            Statement))(Podolsky, Matthew) (Entered: 06/16/2021)
           06/16/2021   322 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe dated
                            June 16, 2021 re: Correction to June 11, 2021 Letter Opposition Document filed by
                            USA. (Podolsky, Matthew) (Entered: 06/16/2021)
           06/17/2021   323 LETTER RESPONSE in Support of Motion by Michael Avenatti addressed to Judge
                            Paul G. Gardephe from Benjamin Silverman dated June 17, 2021 re: 315 LETTER
                            MOTION addressed to Judge Paul G. Gardephe from Benjamin Silverman dated June
                            4, 2021 . MOTION to Compel .. (Silverman, Benjamin) (Entered: 06/17/2021)
           06/21/2021   324 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick and
                            Danya Perry dated June 21, 2021 re: Adjournment of Sentencing Date for 60 Days .
                            Document filed by Michael Avenatti. (Srebnick, Scott) (Entered: 06/21/2021)
           06/22/2021   325 LETTER RESPONSE in Opposition by USA as to Michael Avenatti addressed to
                            Judge Paul G. Gardephe from Assistant United States Attorneys Matthew D. Podolsky,
                            Daniel C. Richenthal, and Robert B. Sobelman dated June 22, 2021 re: 324 LETTER
                            MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick and Danya Perry
                            dated June 21, 2021 re: Adjournment of Sentencing Date for 60 Days .. (Richenthal,
                            Daniel) (Entered: 06/22/2021)
           06/23/2021   326 ORDER as to Michael Avenatti: Defendant's sentencing, currently scheduled for June
                            30, 2021, is adjourned to July 9, 2021 at 1:30 p.m. No further adjournments will be
                            granted. SO ORDERED. (Sentencing set for 7/9/2021 at 01:30 PM before Judge Paul
                            G. Gardephe) (Signed by Judge Paul G. Gardephe on 6/23/2021) (SEE ORDER AS
                            FURTHER SET FORTH) (lnl) (Entered: 06/24/2021)
           06/24/2021   327 LETTER MOTION addressed to Judge Paul G. Gardephe from Assistant United
                            States Attorneys Matthew D. Podolsky, Daniel C. Richenthal, and Robert B. Sobelman
                            dated June 24, 2021 re: Movement of Sentencing from July 9, 2021 to July 8, 2021 .
                            Document filed by USA as to Michael Avenatti. (Richenthal, Daniel) (Entered:
                            06/24/2021)
           06/25/2021   328 MEMO ENDORSEMENT as to Michael Avenatti on 327 LETTER MOTION
                            addressed to Judge Paul G. Gardephe from Assistant United States Attorneys Matthew
                            D. Podolsky, Daniel C. Richenthal, and Robert B. Sobelman dated June 24, 2021 re:
                            Movement of Sentencing from July 9, 2021 to July 8, 2021. ENDORSEMENT: The


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                              sentencing for Defendant Michael Avenatti, currently scheduled for July 9, 2021, will
                              now take place on July 8, 2021 at 1:00 p.m. SO ORDERED. (Sentencing set for
                              7/8/2021 at 01:00 PM before Judge Paul G. Gardephe) (Signed by Judge Paul G.
                              Gardephe on 6/25/2021) (lnl) (Entered: 06/25/2021)
           06/25/2021   329 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Assistant United States Attorney Robert B. Sobelman dated June 25, 2021 re: NIKE,
                            Inc.'s Restitution Request Document filed by USA. (Attachments: # 1 Exhibit 1 (Letter
                            from NIKE, Inc.), # 2 Exhibit A to Letter from NIKE, Inc., # 3 Exhibit B to Letter
                            from NIKE, Inc., # 4 Exhibit C to Letter from NIKE, Inc.)(Sobelman, Robert)
                            (Entered: 06/25/2021)
           06/28/2021   330 ORDER as to Michael Avenatti. Judy Regnier was a Government witness at trial.
                            Defendant asserts that the Government failed to produce to the defense - prior to trial -
                            certain statements of Regnier. Defendant states that the U.S. Attorney's Office for the
                            Central District of California recently "produced multiple additional witness
                            statements by Ms. Regnier, including a voice message and at least one email" that she
                            sent to Special Agent Ramoun Karlous on January 14, 2020. (June 17, 2021 Def.
                            Reply Ltr. (Dkt. No. 323) at 5). By July 1, 2021, the parties will submit to this Court
                            the Regnier materials that the U.S. Attorney's Office for the Central District of
                            California recently produced to Defendant (Signed by Judge Paul G. Gardephe on
                            6/28/21)(jw) (Entered: 06/28/2021)
           06/29/2021   331 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Benjamin
                            Silverman dated June 29, 2021 re: respectfully responding to the Court's June 28 Order
                            (Silverman, Benjamin) (Entered: 06/29/2021)
           07/01/2021   332 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick dated July 1, 2021 re: Response to Government's Restitution Letter (ECF No.
                            329) (Attachments: # 1 Exhibit 1: Chart of Objections to Individual Time Entries)
                            (Srebnick, Scott) (Entered: 07/01/2021)
           07/05/2021   333 LETTER MOTION addressed to Judge Paul G. Gardephe from Benjamin Silverman
                            dated July 5, 2021 re: Regnier witness statements . Document filed by Michael
                            Avenatti. (Silverman, Benjamin) (Entered: 07/05/2021)
           07/05/2021   334 NOTICE of Filing Sentencing Letters as to Michael Avenatti (Srebnick, Scott)
                            (Entered: 07/05/2021)
           07/05/2021   335 REPLY MEMORANDUM OF LAW in Support by Michael Avenatti re: 321
                            Sentencing Submission filed by USA, 317 Sentencing Submission filed by Michael
                            Avenatti . (Attachments: # 1 Exhibit 1: Factual Bases in US v. Litzenburg and US v.
                            Kincheloe)(Srebnick, Scott) (Entered: 07/05/2021)
           07/06/2021   336 MEMORANDUM OPINION & ORDER as to Michael Avenatti. Defendant's post-
                            trial motions are denied. The Clerk of Court is directed to terminate the motions (Dkt.
                            Nos. 291, 333). (Signed by Judge Paul G. Gardephe on 7/6/2021) (See ORDER set
                            forth) (ap) (Entered: 07/06/2021)
           07/06/2021   337 ORDER as to Michael Avenatti: The sentencing of the Defendant will take place on
                            Thursday, July 8, 2021 at 1:00 p.m. in Courtroom 705 of the Thurgood Marshall
                            United States Courthouse, 40 Foley Square,New York, New York. The press and
                            public may obtain access to the sentencing by telephone by dialing 888-363-4749 to
                            participate, and entering the access code 6212642. (Sentencing set for 7/8/2021 at
                            01:00 PM in Courtroom 705, 40 Centre Street, New York, NY 10007 before Judge


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                              Paul G. Gardephe) (Signed by Judge Paul G. Gardephe on 7/6/2021) (ap) (Entered:
                              07/06/2021)
           07/08/2021         Minute Entry for proceedings held before Judge Paul G. Gardephe: Sentencing held on
                              7/8/2021 for Michael Avenatti (1) Count 1s,2s,3s. Sentence held. Defendant M.
                              Avenatti present with attorneys Scott Srebnick and E. Danya Perry. AUSAs Matthew
                              Podolsky, Robert Sobelman and Daniel Richenthal present. See Judgment for terms of
                              sentence. (Court Reporter Michael McDaniel) (ap) (Entered: 07/08/2021)
           07/15/2021   338 LETTER MOTION addressed to Judge Paul G. Gardephe from the Government dated
                            July 14, 2021 re: Request for Restitution . Document filed by USA as to Michael
                            Avenatti. (Attachments: # 1 Letter from Nike, Inc., # 2 Exhibit A to Letter from Nike,
                            Inc.)(Podolsky, Matthew) (Entered: 07/15/2021)
           07/15/2021         DISMISSAL OF COUNTS on Government Motion as to Michael Avenatti (1) Count
                              1,2,3,4. (jw) (Entered: 07/15/2021)
           07/15/2021   339 FILED JUDGMENT IN A CRIMINAL CASE as to Michael Avenatti (1), Count(s) 1,
                            2, 3, 4 are dismissed on the motion of the US. Found guilty to Count(s) 1s, Count(s) 2s
                            and Count(s) 3s, Imprisonment for a total term of 24 Months imprisonment on Count
                            One, and 30 months imprisonment on each of Counts Two and Three, with all terms to
                            be served concurrently. The Court makes the following recommendations to the
                            Bureau of Prisons; The Court recommends that defendant be assigned to the Camp at
                            FCI Sheridan in Sheridan,Oregon. The defendant shall surrender for service of
                            sentence at the institution designated by the Bureau of Prisons before 2pm on
                            9/15/2021. Special Assessment of $300 which is due immediately (Signed by Judge
                            Paul G. Gardephe on 7/15/21)(jw) (Entered: 07/15/2021)
           07/21/2021   340 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick dated July 21, 2021 re: Response to Government/Nike's Post-Sentencing
                            Restitution Submission (ECF No. 338) (Srebnick, Scott) (Entered: 07/21/2021)
           07/21/2021   341 TRANSCRIPT of Proceedings as to Michael Avenatti re: Conference held on 7/8/21
                            before Judge Paul G. Gardephe. Court Reporter/Transcriber: Michael McDaniel, (212)
                            805-0300, Transcript may be viewed at the court public terminal or purchased through
                            the Court Reporter/Transcriber before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Redaction Request due
                            8/11/2021. Redacted Transcript Deadline set for 8/23/2021. Release of Transcript
                            Restriction set for 10/19/2021. (McGuirk, Kelly) (Entered: 07/21/2021)
           07/21/2021   342 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Michael Avenatti. Notice is
                            hereby given that an official transcript of a Conference proceeding held on 7/8/21 has
                            been filed by the court reporter/transcriber in the above-captioned matter. The parties
                            have seven (7) calendar days to file with the court a Notice of Intent to Request
                            Redaction of this transcript. If no such Notice is filed, the transcript may be made
                            remotely electronically available to the public without redaction after 90 calendar
                            days.... (McGuirk, Kelly) (Entered: 07/21/2021)
           07/22/2021   343 NOTICE OF APPEAL by Michael Avenatti from 339 Judgment. (tp) (Entered:
                            07/22/2021)
           07/22/2021         Transmission of Notice of Appeal and Certified Copy of Docket Sheet as to Michael
                              Avenatti to US Court of Appeals re: 343 Notice of Appeal - Final Judgment. (tp)
                              (Entered: 07/22/2021)



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           07/22/2021         Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                              Electronic Files as to Michael Avenatti re: 343 Notice of Appeal - Final Judgment
                              were transmitted to the U.S. Court of Appeals. (tp) (Entered: 07/22/2021)
           07/27/2021         USCA Case Number 21-1778 from the U.S. Court of Appeals, 2nd Circ. as to Michael
                              Avenatti, assigned to 343 Notice of Appeal filed by Michael Avenatti. (nd) (Entered:
                              07/27/2021)
           07/27/2021   344 USCA Appeal Fees received $ 505.00, receipt number 465401283462 as to Michael
                            Avenatti on 07/27/2021 re: 343 Notice of Appeal filed by Michael Avenatti. USCA
                            Case No. 21-1778.(nd) (Entered: 07/27/2021)
           07/28/2021   345 LETTER MOTION addressed to Judge Paul G. Gardephe from Scott Srebnick dated
                            July 28, 2021 re: Declaration of In Forma Pauperis status for Mr. Avenatti for direct
                            appeal . Document filed by Michael Avenatti. (Srebnick, Scott) (Entered: 07/28/2021)
           07/30/2021   346 MEMO ENDORSEMENT as to Michael Avenatti on re: 345 LETTER MOTION filed
                            by Michael Avenatti addressed to Judge Paul G. Gardephe from Attorney Scott
                            Srebnick dated July 28, 2021 re: Declaration of In Forma Pauperis status for Mr.
                            Avenatti for direct appeal. ENDORSEMENT: Defendant Michael Avenatti must
                            submit an affidavit pursuant to 28 U.S.C. 1915(a)(1) before the Court may rule on his
                            in forma pauperis status. SO ORDERED. (Signed by Judge Paul G. Gardephe on
                            7/30/2021)(bw) (Entered: 07/30/2021)
           08/10/2021   347 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Scott
                            Srebnick dated August 10, 2021 re: In Forma Pauperis Status for Defendant Avenatti
                            (Srebnick, Scott) (Entered: 08/10/2021)
           08/10/2021   348 CJA 23 Financial Affidavit by Michael Avenatti. (Signed by Judge Paul G. Gardephe)
                            (Srebnick, Scott) (Entered: 08/10/2021)
           08/11/2021   349 ORDER as to Michael Avenatti: Leave to proceed in forma pauperis is authorized. See
                            28 U.S.C. § 1915. (Signed by Judge Paul G. Gardephe on 8/11/2021) (ap) (Entered:
                            08/11/2021)
           08/26/2021   350 CONSENT LETTER MOTION addressed to Judge Paul G. Gardephe from Scott
                            Srebnick and Danya Perry dated August 26, 2021 re: 339 Judgment,,, re: Extend
                            Surrender Date to December 15, 2021 . Document filed by Michael Avenatti.
                            (Srebnick, Scott) (Entered: 08/26/2021)
           08/27/2021   351 MEMO ENDORSEMENT 350 CONSENT LETTER MOTION addressed to Judge
                            Paul G. Gardephe from Scott Srebnick and Danya Perry dated August 26, 2021 re: 339
                            Judgment re: Extend Surrender Date to December 15, 2021...ENDORSEMENT...The
                            application is granted. (Signed by Judge Paul G. Gardephe on 8/27/21) (jw) (Entered:
                            08/27/2021)
           10/29/2021   352 LETTER MOTION addressed to Judge Paul G. Gardephe dated October 29, 2021 re:
                            Modification of Surrender Date . Document filed by USA as to Michael Avenatti.
                            (Sobelman, Robert) (Entered: 10/29/2021)
           10/29/2021   353 LETTER RESPONSE in Opposition by Michael Avenatti addressed to Judge Paul G.
                            Gardephe from Scott Srebnick, Andrew Dalack, Robert Baum dated October 29, 2021
                            re: 352 LETTER MOTION addressed to Judge Paul G. Gardephe dated October 29,
                            2021 re: Modification of Surrender Date .. (Srebnick, Scott) (Entered: 10/29/2021)




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           11/03/2021   354 MEMO ENDORSEMENT as to Michael Avenatti re: 353 Modification of Surrender
                            Date... ENDORSEMENT: The application is granted. Defendant Michael Avenatti's
                            surrender date is adjourned from December 15, 2021 to February 28, 2022. SO
                            ORDERED. (Signed by Judge Paul G. Gardephe on 11/3/21)(jbo) (Entered:
                            11/03/2021)
           11/05/2021   355 INTERNET CITATION NOTE as to Michael Avenatti: Material from decision with
                            Internet citation re: 121 Order. (sjo) (Entered: 11/05/2021)
           11/05/2021   356 INTERNET CITATION NOTE as to Michael Avenatti: Material from decision with
                            Internet citation re: 121 Order. (sjo) (Entered: 11/05/2021)
           11/05/2021   357 INTERNET CITATION NOTE as to Michael Avenatti: Material from decision with
                            Internet citation re: 121 Order. (sjo) (Entered: 11/05/2021)
           12/02/2021   358 LETTER MOTION addressed to Judge Paul G. Gardephe from Benjamin Silverman
                            dated December 2, 2021 re: respectfully requesting an indicative ruling concerning a
                            Brady violation . Document filed by Michael Avenatti. (Silverman, Benjamin)
                            (Entered: 12/02/2021)
           12/03/2021   359 MEMO ENDORSEMENT as to Michael Avenatti on re: 358 LETTER MOTION
                            addressed to Judge Paul G. Gardephe from Benjamin Silverman dated December 2,
                            2021 re: respectfully requesting an indicative ruling concerning a Brady violation.
                            ENDORSEMENT: The Government will respond to this letter by December 10, 2021.
                            (Responses due by 12/10/2021) (Signed by Judge Paul G. Gardephe on 12/3/2021)
                            (ap) (Entered: 12/03/2021)
           12/10/2021   360 LETTER RESPONSE in Opposition by USA as to Michael Avenatti addressed to
                            Judge Paul G. Gardephe dated December 10, 2021 re: 358 LETTER MOTION
                            addressed to Judge Paul G. Gardephe from Benjamin Silverman dated December 2,
                            2021 re: respectfully requesting an indicative ruling concerning a Brady violation ..
                            (Podolsky, Matthew) (Entered: 12/10/2021)
           12/10/2021   361 LETTER MOTION addressed to Judge Paul G. Gardephe from Benjamin Silverman
                            dated December 10, 2021 re: respectfully requesting leave to file a reply . Document
                            filed by Michael Avenatti. (Silverman, Benjamin) (Entered: 12/10/2021)
           12/13/2021   362 MEMO ENDORSED granting 361 LETTER MOTION respectfully requesting leave
                            to file a reply as to Michael Avenatti (1)... ENDORSEMENT: The Application is
                            granted. SO ORDERED. (Signed by Judge Paul G. Gardephe on 12/13/21) (jbo)
                            (Entered: 12/13/2021)
           12/13/2021         Set/Reset Deadlines as to Michael Avenatti: Replies due by 12/16/2021. (jbo)
                              (Entered: 12/13/2021)
           12/15/2021   363 LETTER REPLY TO RESPONSE to Motion by Michael Avenatti addressed to Judge
                            Paul G. Gardephe from Benjamin Silverman dated December 15, 2021 re 358
                            LETTER MOTION addressed to Judge Paul G. Gardephe from Benjamin Silverman
                            dated December 2, 2021 re: respectfully requesting an indicative ruling concerning a
                            Brady violation .. (Silverman, Benjamin) (Entered: 12/15/2021)
           12/21/2021   364 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Benjamin
                            Silverman dated December 21, 2021 re: Gary Franklin's request to access documents
                            covered by the protective order (Silverman, Benjamin) (Entered: 12/21/2021)




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           12/28/2021   365 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Assistant United States Attorney Robert B. Sobelman dated December 28, 2021 re:
                            Letter Motion dated December 20, 2021 from counsel for Gary Franklin, Sr.
                            Document filed by USA. (Sobelman, Robert) (Entered: 12/28/2021)
           12/29/2021   366 CONSENT LETTER MOTION addressed to Judge Paul G. Gardephe from Assistant
                            United States Attorney Robert B. Sobelman dated December 29, 2021 re:
                            Supplemental Protective Order . Document filed by USA as to Michael Avenatti.
                            (Attachments: # 1 Text of Proposed Order)(Sobelman, Robert) (Entered: 12/29/2021)
           12/29/2021   367 SUPPLEMENTAL PROTECTIVE ORDER as to Michael Avenatti...regarding
                            procedures to be followed that shall govern the handling of confidential material.....
                            (Signed by Judge Paul G. Gardephe on 12/29/21)(jbo) (Entered: 01/03/2022)
           12/30/2021   368 MEMO ENDORSED granting 358 LETTER MOTION respectfully requesting an
                            indicative ruling concerning a Brady violation as to Michael Avenatti (1)...
                            ENDORSEMENT: The Defendant is directed to file the full transcripts of Exhibits B,
                            C, and E (Dkt. 358). SO ORDERED. (Signed by Judge Paul G. Gardephe on 12/30/21)
                            (jbo) (Entered: 01/03/2022)
           01/03/2022   369 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Benjamin
                            Silverman dated January 3, 2022 re: responding to December 30, 2021 Order (Dkt.
                            368) (Silverman, Benjamin) (Entered: 01/03/2022)
           01/05/2022   370 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Benjamin
                            Silverman dated January 5, 2022 re: respectfully providing transcripts requested by the
                            Court (Silverman, Benjamin) (Entered: 01/05/2022)
           01/25/2022   371 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Assistant United States Attorneys Matthew D. Podolsky, Daniel C. Richenthal, and
                            Robert B. Sobelman dated January 25, 2022 re: Recent Ruling in United States v.
                            Avenatti, No. 19 Cr. 374 (JMF) Document filed by USA. (Attachments: # 1 Exhibit
                            1)(Sobelman, Robert) (Entered: 01/25/2022)
           01/25/2022   372 LETTER by Michael Avenatti addressed to Judge Paul G. Gardephe from Benjamin
                            Silverman dated January 25, 2022 re: Recent Ruling in United States v. Avenatti, 19
                            Cr. 374 (JMF) (Silverman, Benjamin) (Entered: 01/25/2022)
           02/09/2022   373 MEMORANDUM OPINION & ORDER as to Michael Avenatti. For the reasons
                            stated above, and pursuant to Fed. R. Crim. P. 37, this Court issues an indicative ruling
                            denying Avenatti's motion for a new trial. (Signed by Judge Paul G. Gardephe on
                            2/9/22)(jw) (Entered: 02/09/2022)
           02/14/2022   374 MEMORANDUM OPINION & ORDER as to (S1 19-Cr-373) Michael Avenatti. A
                            jury convicted Michael Avenatti of transmitting interstate communications with intent
                            to extort, in violation of 18 U.S.C. § 875(d) (Count One); Hobbs Act extortion, in
                            violation of 18 U.S.C. § 1951 (Count Two); and honest services wire fraud, in
                            violation of 18 U.S.C. §§ 1343 and 1346 (Count Three). (Verdict (Dkt. No. 265)) On
                            July 8, 2021, this Court imposed an aggregate sentence of 30 months' imprisonment
                            and three years' supervised release. (Judgment (Dkt. No. 339)) Because of inadequate
                            briefing, this Court deferred decision on the Government's application for an order of
                            restitution. (Sentencing Tr. (Dkt. No. 341) at 47-48; Judgment (Dkt. No. 339) at 7) The
                            parties have made supplemental submissions addressing restitution (July 14, 2021
                            Govt. Supp. Ltr. (Dkt. No. 338); July 21, 2021 Def. Supp. Ltr. (Dkt. No. 340)), and



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                              this Court now has an adequate record on which to base a decision regarding
                              restitution....[*** See this Memorandum Opinion & Order ***]... CONCLUSION: For
                              the reasons stated above, the total amount of expenses that Nike can recover is
                              $259,800.50. By February 16, 2022, the Government will submit a proposed order of
                              restitution, including the address to which the Clerk of Court should forward any
                              restitution payments. SO ORDERED. (Signed by Judge Paul G. Gardephe on
                              2/14/2022)(bw) (Entered: 02/14/2022)
           02/16/2022   375 LETTER by USA as to Michael Avenatti addressed to Judge Paul G. Gardephe from
                            Assistant United States Attorney Robert B. Sobelman dated February 16, 2022 re:
                            Proposed Restitution Order Document filed by USA. (Attachments: # 1 Text of
                            Proposed Order)(Sobelman, Robert) (Entered: 02/16/2022)
           02/17/2022   376 ORDER OF RESTITUTION as to Michael Avenatti. (Signed by Judge Paul G.
                            Gardephe on 2/17/2022) (ap) (Entered: 02/17/2022)
           02/18/2022   377 AMENDED JUDGMENT In A Criminal Case. Date of Imposition of Judgment:
                            7/8/2021. Date of Original Judgment: 7/15/2021. Defendant Michael Avenatti (1) was
                            found guilty on count(s) 1s, 2s, 3s, after a plea of not guilty. Count(s) All open counts
                            are dismissed on the motion of the United States. IMPRISONMENT: 24 months'
                            imprisonment on Count One, and 30 months' imprisonment on each of Counts Two
                            and Three, with all terms to be served concurrently. - The court makes the following
                            recommendations to the Bureau of Prisons: The Court recommends that Defendant be
                            assigned to the Camp at FCI Sheridan in Sheridan, Oregon. SUPERVISED
                            RELEASE: 1 year supervised release on Count One, and 3 years' supervised release on
                            each of Counts Two and Three, with all terms to run concurrently. Standard Conditions
                            of Supervision (See page 5 of Judgment). Special Conditions of Supervision (See page
                            6 of Judgment). ASSESSMENT: $300.00, due immediately. RESTITUTION:
                            $259,800.50. Special instructions regarding the payment of criminal monetary
                            penalties: See Order of Restitution (Dkt. No. 376). (Signed by Judge Paul G. Gardephe
                            on 2/18/2022)(bw) (Entered: 02/18/2022)
           02/23/2022   378 NOTICE OF APPEAL by Michael Avenatti from 377 Amended Judgment. (wb)
                            (Entered: 02/23/2022)
           02/23/2022         Transmission of Notice of Appeal and Certified Copy of Docket Sheet as to Michael
                              Avenatti to US Court of Appeals re: 378 Notice of Appeal - Final Judgment. (wb)
                              (Entered: 02/23/2022)
           02/23/2022         Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                              Electronic Files as to Michael Avenatti re: 378 Notice of Appeal - Final Judgment
                              were transmitted to the U.S. Court of Appeals. (wb) (Entered: 02/23/2022)
           02/23/2022         Appeal Remark as to Michael Avenatti $505.00 Appeal Fee Waived. Federal
                              Defenders of New York, Inc. re: 378 Notice of Appeal - Final Judgment (wb)
                              (Entered: 02/23/2022)



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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                   -   X


 UNITED STATES OF AMERICA
                                            SUPERSEDING INDICTMENT
               - v. -
                                            Sl 19 Cr. 373 (PGG)
 MICHAEL AVENATTI,

                    Defendant.

                                       X


                                 OVERVIEW

          1.      The charges in this Indictment stem from an

extortion and fraud scheme in which MICHAEL AVENATTI, the

defendant, used confidential information provided by a client

("Client-1") to demand tens of millions of dollars in payments

for AVENATTI himself from NIKE, Inc.        ("Nike"), a multinational

public corporation engaged in, among other things, the marketing

and sale of athletic apparel, footwear, and equipment, by

threatening to cause substantial economic and reputational harm

to Nike if it did not give in to AVENATTI's demands.

Specifically, AVENATTI threatened to hold a press conference on

the eve of Nike's quarterly earnings call and the start of the

annual National Collegiate Athletic Association ("NCAA") men's

college basketball tournament, at which AVENATTI would publicly

make allegations of misconduct by Nike employees, unless Nike

agreed, in addition to making a payment of $1.5 million to

Client-1, to "retain" AVENATTI and another attorney working with




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AVENATTI ("Attorney-1") to conduct an "internal investigation"

that Nike had not requested and for which AVENATTI demanded that

he and Attorney-1 be paid, at a minimum, between $15 million and

$25 million.         Alternatively, and in lieu of such a retainer,

AVENATTI demanded a total payment of $22.5 million from Nike to

resolve any claims that Client-1 might have and to buy

AVENATTI's silence.         AVENATTI made these threats-including the

demand for payments to himself and the threat to publicize

confidential information provided to AVENATTI by Client-1-

without Client-l's knowledge or consent.

                       RELEVANT INDIVIDUALS AND ENTITIES

              2.      At all relevant times, MICHAEL AVENATTI, the

defendant, was an attorney licensed to practice in the state of

California with a large public following as a result of, among

other things, his representation of celebrity and public figure

clients, as well as frequent media appearances and use of social

media.     As an attorney, AVENATTI was required to comply with all

ethical and statutory obligations imposed on licensed attorneys,

including ethical and legal obligations that impose duties of

confidentiality, loyalty, honesty, and fair dealing with respect

to all clients.         In connection with his representation of

Client-1, AVENATTI owed Client-1 duties of, among other things,

confident          ity, loyalty, honesty, and fair dealing.



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           3.    At all relevant times, Attorney-1 was an attorney

licensed to practice in the state of California, and similarly

was known for representation of celebrity and public figure

clients, and frequent media appearances.

           4.    Nike is a multinational, publicly held

corporation headquartered in Beaverton, Oregon.            Nike produces

and markets athletic apparel, footwear, and equipment, and

sponsors athletic teams in many sports, including basketball, at

the high school, amateur, collegiate, and professional levels.

           5.    Client-1 was the director and head coach of an

amateur youth basketball program {the "Basketball Program")

based in California.      For a number of years, the Basketball

Program coached by Client-1 had a sponsorship agreement with

Nike pursuant to which Nike paid Client-l's program

approximately $72,000 annually.

           6.    At all relevant times, "Outside Counsel-1" and

"Outside Counsel-2" worked at a law firm based in New York and

represented Nike.

           7.    At all relevant times, the "In-House Counsel" was

an attorney who worked for Nike.




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                     THE EXTORTION AND FRAUD SCHEME

           8.    In or about March 2019, MICHAEL AVENATTI, the

defendant, was contacted by Client-1, who sought AVENATTI's

legal assistance after the Basketball Program was informed by

Nike that its annual contractual sponsorship would not be

renewed.

           9.    On or about March 5, 2019, MICHAEL AVENATTI, the

defendant, met with Client-1.        During that meeting and in

subsequent meetings and communications, Client-1 informed

AVENATTI, in substance and in part, that Client-1 wanted Nike to

reinstate its $72,000 annual contractual sponsorship of the

Basketball Program, which, as noted above, Nike had recently

declined to renew.     During the meeting, Client 1 provided

AVENATTI with information regarding what Cl               1 believed to be

misconduct by certain employees of Nike involving the alleged

funneling of illicit payments from Nike to the families of

certain highly ranked high school basketball prospects.

           10.   Although MICHAEL AVENATTI, the defendant, told

Client-1 that AVENATTI believed that he would be able to obtain

a $1 million settlement for Client-1 from Nike, at no time

during the March 5, 2019 meeting or otherwise did AVENATTI

inform Client-1 that AVENATTI also would and did seek or demand

payments from Nike for himself in exchange for resolving any

potential claims made by Client-1 and not causing financial and

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reputational harm to Nike, or that AVENATTI would and did seek

to make any agreement with Nike contingent upon Nike making

payments to AVENATTI himself.        Furthermore, at no time did

AVENATTI inform Client-1 that AVENATTI intended to threaten to

publicize the confidential information that Client 1 had

provided to AVENATTI, nor did AVENATTI obtain Client-l's

permission to publicize any such information.

                          The March 19 Meeting

           11.   On or about March 19, 2019, at approximately

12:00 p.m., Outside Couns       -1, Outside Counsel-2, and the In-

House Counsel met with MICHAEL AVENATTI, the defendant, in New

York, New York, during which the following occurred, among other

things:

                 a.    AVENATTI stated, in substance and in part,

that he represented Client-1, a youth basketball coach, whose

team had previously had a contractual relationship with Nike,

but whose contract Nike had recently decided not to renew.

According to AVENATTI, Client-1 had evidence that one or more

Nike employees had authorized and funded payments to the

families of top high school basketball players and attempted to

conceal those payments, similar to conduct involving a

competitor of Nike that had recently been the subject of a

criminal investigation by the United States Attorney's Office

for the Southern District of New York.

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                 b.    AVENATTI further stated, in substance and in

part, that he intended to hold a press conference the following

day to publicize the asserted misconduct at Nike, which would

negatively affect Nike's public market value.            In particular,

AVENATTI stated, in substance and in part, that he had

approached Nike now because he knew that the annual NCAA men's

college basketball tournament-an event of significance to Nike

and its brand-was about to begin, and further because he was

aware that Nike's quarterly earnings call was scheduled for

March 21, 2019, thus maximizing the potential             nancial and

reputational damage his press conference could cause to Nike.

                 c.    AVENATTI further stated, in substance and in

part, that he would refrain from holding that press conference

and damaging Nike if Nike agreed to two demands:           (1)   Nike must

pay $1.5 million to Client-1 as a settlement for any claims

Client-1 might have regarding Nike's decision not to renew its

contract with the Basketball Program; and (2) Nike must hire

AVENATTI and Attorney-1 to conduct an internal investigation of

Nike, with a provision that if Nike hired another firm to

conduct such an internal investigation, Nike would still be

required to pay AVENATTI and Attorney-1 at least twice the fees

of any other firm hired.

                 d.    AVENATTI also stated, in substance and in

part, that if Nike agreed to retain AVENATTI to conduct an

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internal investigation, then Nike would be able to decide

whether any misconduct uncovered by the investigation should be

disclosed to law enforcement authorit          s.

                 e.    At the end of the meeting, AVENATTI made

clear, in substance, that Outside Counsel-1 and Nike would have

to agree to accept those demands immediately or AVENATTI would

hold his threatened press conference.

                 f.    As noted above, at no time, including a

the March 19 Meeting, did AVENATTI inform Client-1 that AVENATTI

had (1) threatened to publicize confidential information

provided to AVENATTI by Client-1, or (2) used that information

to demand a multimillion dollar payment              himself.

           12.   After the meeting, representatives of Nike

contacted representatives of the United States Attorney's Office

for the Southern District of New York regarding the threats and

extortionate demands made by MICHAEL AVENATTI, the defendant.

                            The March 20 Call

           13.   On or about March 20, 2019, Outside Counsel-1 and

Outside Counsel-2 engaged in a conference ca            with MICHAEL

AVENATTI, the defendant, and Attorney-I, which was consensually

recorded by law enforcement.       During that call, the following,

among other things, occurred:

                 a.    AVENATTI reiterated that he expected to ~get

a million five for our guy" (i.e., Client-1) and be "hired to

                                      7



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handle the internal investigation," adding, "if you don't wanna

do that, we're done."

                 b.     AVENATTI also reiterated threats made during

the previous in-person meeting, along with his demand for a

multimillion dollar retainer to do an internal investigation.

With respect to such investigation, AVENATTI made clear, in

substance, that his demand was not simply that he be retained by

Nike, but also that he be paid millions of dollars by Nike in

return for not holding a press conference.

                 c.     In particular, AVENATTI stated, in part:

"I'm not fucking around with this, and I'm not continuing to

play games.           You guys know enough now to know you've got a

serious problem.      And it's worth more in exposure to me to just

blow the lid on this thing.       A few million dollars doesn't move

the needle for me.      I'm just being really frank with you.           So if

that's what, if that's what is being contemplated, then let's

just say it was good to meet you, and we're done.            And I'll

proceed with my press conference tomorrow.                  I'm not

fucking around with this thing anymore.          So if you guys think

that you know, we're gonna negotiate a million five, and you're

gonna hire us to do an internal investigation, but it's gonna be

capped at 3 or 5 or 7 million dollars, like let's just be done .

    . And I'll go and I'll go take ten billion dollars off your

client's market cap.      But I'm not fucking around."

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                 d.    AVENATTI also stated that an internal

investigation of conduct at a company like Nike could be valued

at "tens of millions of dollars, if not hundreds," saying, in

part, "let's not bullshit each other . . . . We all know what the

reality of this is," adding later in the conversation that while

he did not expect to be paid $100 million, he did expect to be

paid more than $9 million.

                 e.    Finally, AVENATTI stated, in substance and

in part, that he would agree to meet with Outside Counsel-1 in

person the following day, Thursday, March 21, the date of Nike's

scheduled quarterly earnings call and the beginning of the NCAA

tournament, to present the exact amount AVENATTI demanded from

Nike and under what terms it would have to be paid.             AVENATTI

further stated, in substance and in part, that Nike would be

required to provide an answer the following Monday or he would

hold his press conference.

                          The March 21 Meeting

           14.   On or about March 21, 2019, MICHAEL AVENATTI, the

defendant, Attorney-1, Outside Counsel-1, and Outside Counsel 2

met in New York, New York.       That meeting was consensually video-

and audio-recorded by law enforcement.          During that meeting, the

following, among other things, occurred:

                 a.    At the beginning of the meeting, at the

di     on of law enforcement, Outside Counsel-1 stated that he

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did not believe that a payment to AVENATTI's client would be the

"sticking point," but that Outside Counsel-1 needed to know more

about the proposed "internal investigation."           AVENATTI stated,

in substance and in part, that he would require a $12 million

retainer to be paid immediately and to be "deemed earned when

paid," with a minimum guarantee of $15 million in billings and a

maximum of $25 million, "unless the scope changes."             Later

during the meeting, AVENATTI also stated, in substance and in

part, that an "internal investigation" could benefit Nike, by,

among other things, allowing Nike to "self-report" any alleged

misconduct, and that it would be Nike's choice whether to

disclose such alleged misconduct.

                b.     Outside Counsel-I reiterated, at the

direction of law enforcement, that Outside Counsel-I did not

think paying AVENATTI's client $1.5 million would be a

"stumbling block," but asked whether there would be any way to

avoid AVENATTI carrying out his threatened press conference

without Nike retaining AVENATTI.          In particular, Outside

Counsel-1 asked, in substance and in part, whether Nike could

resolve AVENATTI's demands just by paying Client-1, rather than

retaining AVENATTI.     AVENATTI responded that he did not think it

made sense for Nike to pay Client-1 an "exorbitant sum of money

. . . in light of his role in this."



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                  c.    Outside Counsel-1 noted that Outside

Counsel-1 had never received a $12 million retainer from Nike

and had never done an investigation for Nike "that breaks $10

million.ll    AVENATTI responded, in part, by asking whether

Outside Counsel-1 had ever "held the balls of the client in your

hand where you could take five, six billion dollars in market

cap off of 'em?"

                  d.    AVENATTI subsequently told Outside Counsel-1

and Outside Counsel-2, in part, "If [Nike] wants to have one

confidential settlement and we're done, they can buy that for

twenty-two and half million dollars and we're done . .                  Full

confidentiality, we ride off into the sunset.                  "

                  e.    AVENATTI added, "I just wanna share with you

what's gonna happen, if we don't reach a resolution."               AVENATTI

then laid out again his threat of harm to Nike, adding that, "as

soon as this becomes public, I'm gonna receive calls from all

over the country from parents and coaches and friends and all

kinds of people, because this is always what happens-and they

are all going to say I've got an email or a text message or-

now, 90% of that is going to be bullshit because it's always

bullshit 90% of the time.       Always.     Whether it's R. Kelly or

Trump, the list goes on and on-but 10% of it is actually going

to be true.    And then what's going to happen is, this will

snowball . . . and every time we get more information, that's

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gonna be the Washington Post, the New York Times, ESPN, a press

conference, and the company will die-not die, but they are

going to incur cut after cut after cut after cut, and that's

what's going to happen as soon as this thing becomes public."

                 f.    Finally, AVENATTI agreed to meet at Outside

Counsel-l's office on Monday, March 25, 2019, to hear whether

Nike was willing to make the demanded payments.            AVENATTI stated

that Nike would have to agree to his demands at that meeting or

he would hold his threatened press conference, stating in part,

"If this is not papered on Monday, we're done.                    I don't

want to hear about somebody on a bike trip.           I don't want to

hear that somebody has, that somebody's grandmother passed away

or   . . the dog ate my homework, I don't want to hear-none of

it is going to go anywhere unless somebody was killed in a plane

crash.   It's going to go zero, no place with me."

                 g.    At no point following the March 21 Meeting

did AVENATTI inform Client-1 that Nike had offered to resolve

Client-l's claims without paying AVENATTI.           Nor did AVENATTI

inform Client-1 that AVENATTI had continued to threaten to

publicize confidential information provided to AVENATTI by

Client-1, or that AVENATTI had continued to use that information

to demand a multimillion dollar payment for himself.




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                                     The March 21 Tweet

             15.    Within approximately two hours after the

conclusion of the audio- and video-recorded meeting described

above, MICHAEL AVENATTI, the defendant, without consulting with

Client-1, posted the following message on Twitter (the "March 21

Tweet") :


                         Michael Avenatti                    e, @MichaelA...                      • 36m       v
                         Something tells me that we have not reached
                         the end of this scandal. It is likely far far




                          \..,,Ullt:::~c ua.;,l'\.{;;1....,u11 .....,_,, -,.., ... · - · · __ ·-·- _ _ _

                          Adidas exec sentenced to nine months in ...                                               j'

                           & cbssports.com
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             16.   The article linked in the March 21 Tweet refers

to a prior prosecution by the United States Attorney's Office

for the Southern District of New York involving employees of a

competitor of Nike referred to by MICHAEL AVENATTI, the

defendant, in the initial March 19 meeting with attorneys for

Nike.



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                      The Planned March 25 Meeting

          17.    On or about March 25, 2019, MICHAEL AVENATTI, the

defendant, arrived at the office complex of Outside Counsel-1

and Outside Counsel-2 in Manhattan, and he was arrested by law

enforcement in the vicinity of that complex before the meeting

could take place.

          18.    Shortly before his arrest, MICHAEL AVENATTI, the

defendant, learned that law enforcement had approached Client-1.

Without Client-l's permission, AVENATTI posted the following

message on Twitter:


                        Michael Avenatti O                    V

                        @MichaelAvenatti

                 Tmrw at 11 am ET, we will be holding a
                 press conference to disclose a major
                 high school/college basketball scandal
                 perpetrated by @Nike that we have
                 uncovered. This criminal conduct
                 reaches the highest levels of Nike and
                 involves some of the biggest names in
                 college basketball.
                 12:16 PM. Mar 25, 2019. Twitter for iPhone




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                                 COUNT ONE

                    (Transmission of Interstate
                Communications with Intent to Extort)

          The Grand Jury charges:

          19.    The allegations contained in paragraphs 1 through

18 above are hereby repeated, realleged, and incorporated by

reference as if fully set forth herein.

          20.   On or about March 20, 2019, in the Southern

District of New York and elsewhere, MICHAEL AVENATTI, the

defendant, with intent to extort from a corporation money and a

thing of value, transmitted in interstate commerce a

communication containing a threat to injure the property and

reputation of the corporation, to wit, AVENATTI, during an

interstate telephone call, threatened to cause financial harm to

Nike and its reputation if Nike did not agree to make

multimillion dollar payments to AVENATTI.

     (Title 18, United States Code, Sections 875(d) and 2.)

                                 COUNT TWO

                                (Extortion)

          The Grand Jury further charges:

          21.    The allegations contained in paragraphs 1 through

18 above are hereby repeated, realleged, and incorporated by

reference as if fully set forth herein.




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           22.    In or about March 2019, in the Southern District

of New York and elsewhere, MICHAEL AVENATTI, the defendant,

attempted to commit extortion as that term is defined in Title

18, United States Code, Section 195l(b) (2), and thereby would

and did obstruct, delay, and affect commerce and the movement of

articles and commodities in commerce, as that term is defined in

Tit   18, United States Code, Section 1951(b) (3), to wit,

AVENATTI used threats of economic and reputational harm in an

attempt to obtain multimillion dollar payments from Nike, a

multinational public corporation.

       (Title 18, United States Code, Sections 1951 and 2.)

                                COUNT THREE

                                (Wire Fraud)

           The Grand Jury further charges:

           23.    The allegations contained in paragraphs 1 through

18 above are hereby repeated, realleged, and incorporated by

reference as if fully set forth herein.

           24.    In or about March 2019, in the Southern District

of New York and      sewhere, MICHAEL AVENATTI, the defendant,

having devised and intending to devise a scheme and artifice to

defraud, and to deprive Client-1 of Client-l's intangible right

to the honest services of AVENATTI, transmitted and caused to be

transmitted by means of wire communication in interstate and

foreign commerce, writings, signs, signals, pictures, and sounds

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for the purpose of executing such scheme and artifice, to wit,

AVENATTI, owing a duty of honest services to Client-1, engaged

in a scheme to obtain payments for himself from Nike based on

confidential information provided to AVENATTI by Client-1 for

the purpose of furthering AVENATTI's representation of Client-1,

without Client-l's knowledge or approval, and used and caused

the use of interstate communications to effect the scheme.

     (Title 18, United States Code, Sections 1343 and 1346.)

                          FORFEITURE ALLEGATION

             25.   As the result of committing one or more of the

offenses charged in Counts One through Three of this Indictment,

MICHAEL AVENATTI, the defendant, shall forfeit to the United

States, pursuant to Title 18, United States Code,

Section 98l(a) (1) (C), and Title 28, United States Code,

Section 246l(c), any and all property, real and personal, that

constitutes or is derived from proceeds traceable to the

commission of said offenses, including but not limited to a sum

of money in United States currency representing the amount of

proceeds traceable to the commission of said offenses.

                        Substitute Asset Provision

             26.   If any of the above-described forfeitable

property, as a result of any act or omission of the defendant:

                   a.   cannot be located upon the exercise of due

diligence;

                                     17



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                  b.   has been transferred or sold to, or

deposited with, a third person;

                  c.   has been placed beyond the jurisdiction of

the Court;

                  d.   has been substantially diminished in value;

or

                  e.   has been commingled with other property that

cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p), and Title 28, United States

Code, Section 2461(c), to seek forfeiture of any other property

of said defendant up to the value of the above forfeitable

property.

              (Title 18, United States Code, Sections 981;
             Title 21, United States Code, Section 853(p);
             Title 28, United States Code, Section 2461.)




                                          United States Attorney




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              Form No. USA-33s-274     (Ed. 9-25-58)


                 UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF NEW YORK


                   UNITED STATES OF AMERICA

                              - v. -

                       MICHAEL AVENATTI,

                           Defendant.


                    SUPERSEDING INDICTMENT

                       Sl 19 Cr. 373 (PGG)

        (18   u.s.c.   §§ 371, 875, 1343, 1346, 1951,
                             and 2.)

                                      GEOFFREY S. BERMAN
                                 United States Attorney.




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1    UNITED STATES DISTRICT COURT                                               1              (A jury of 12 and three alternates were selected and
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x                                            2    sworn)
     UNITED STATES OF AMERICA,
3                                                                               3              THE COURT:    Ladies and gentlemen, you are now a jury.
                  v.                               19 CR 373 (PGG)
4                                                                               4    There is no higher function in our legal system.          From now on,
     MICHAEL AVENATTI,
5                                                                               5    whenever you enter or leave the courtroom as a jury, Mr. Ruocco
                    Defendant.                     Trial
6    ------------------------------x                                            6    will instruct the parties and the audience to rise, the same as
                                                   New York, N.Y.
7                                                  January 29, 2020             7    he does for me, because you are every bit as powerful and
                                                   9:35 a.m.
8    Before:                                                                    8    important as any judge.

9                                                                               9              Let me reintroduce you to some of the people we have
                             HON. PAUL G. GARDEPHE,
10                                                                              10   here in the courtroom.      As I told you, my name is Paul
                                                   District Judge
11                                                 -and a Jury-                 11   Gardephe, and I will be the judge presiding over the trial.           We

12                                 APPEARANCES                                  12   are in Courtroom 110.     If you forget what courtroom we are in,

13   GEOFFREY S. BERMAN                                                         13   or how to get here, just ask one of the marshals at the
          United States Attorney for the
14        Southern District of New York                                         14   entrance of the building and they will be happy to direct you.
     BY: MATTHEW D. PODOLSKY
15        DANIEL RICHENTHAL                                                     15             I've already introduced you to Mr. Avenatti and his
          ROBERT B. SOBELMAN
16        Assistant United States Attorneys                                     16   lawyers, Scott and Howard Srebnick, Mr. Quinon, Ms. Perry,

17   BLACK SREBNICK KORNSPAN & STUMPF, P.A.                                     17   Mr. Stabile, Mr. Dunlavy, Mr. Barchini.        You've also met Mr.
          Attorneys for Defendant
18   BY: HOWARD M. SREBNICK                                                     18   Podolsky, Mr. Richenthal and Mr. Sobelman, the Assistant United
          -and-
19   SCOTT A. SREBNICK                                                          19   States Attorneys who are prosecuting the case.
     JOSE M. QUINON
20   MICHAEL D. DUNLAVY                                                         20             In front of me sits Mr. Michael Ruocco, who is my
          -and-
21   PERRY GUHA, LLP                                                            21   courtroom deputy.     He is the person to speak with if you have
     BY: E. DANYA PERRY
22        GEORGE BARCHINI                                                       22   any questions or have any difficulties during the trial.

23   Also Present:                                                              23             At our next break, Mr. Ruocco will show you back to
     DeLeassa Penland, Special Agent (USAO)
24   Andrew Hamilton, Paralegal                                                 24   the jury room.    It is right behind this door.       That's where you
     Juliana Manrique, Paralegal
25   Michael Lyon, Trial Technician                                             25   will report each morning.      He will give you his telephone

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1    number, where you can reach him if there is an emergency.            I     1              Ladies and gentlemen of the jury, in the American

2    ask you to give him a telephone number where you can be reached            2    system of justice, as I've told you, the judge and the jury

3    in the evening.                                                            3    have separate roles.     My job is to instruct you as to the law

4              Our trial days, generally speaking, will begin at                4    that governs or controls the case.        I'm going to give you some

5    9:30.   I told you before that we would end at 4:30.         I am          5    instructions now.     I may give you other instructions during the

6    contemplating a schedule that would have us on some days at                6    trial.   At the end of the trial, I will give you detailed

7    least end at 2:30 but have no lunch break.         So, in other words,     7    instructions about the law you will need to apply when you

8    we would start at 9:30, take a brief recess at, say, 11/11:15              8    deliberate.

9    of no more than 15 minute, and then go for another couple of               9              Your job, as jurors, is to determine the facts based

10   hours, take another 15-minute break, and then adjourn for the              10   on the evidence that will be presented at this trial.           You are

11   day at 2:30.      I'm thinking about that schedule and will tell           11   the only triers of fact, and your decisions on the factual

12   you more about that at the end of today's proceedings.                     12   issues will determine the outcome of the case.

13             We will take a recess, as I said, in the morning and             13             You must not take anything I may say or do during the

14   then in the afternoon.      But I want to emphasize that if any of         14   trial as indicating what your verdict should be.          Don't be

15   you need a recess at any other time, you just raise your hand              15   influenced by my taking notes.       What I write down may have

16   and we'll take a recess.                                                   16   nothing to do with this trial or with those matters that you

17             I would ask you to be on time in the morning and after           17   have to be concerned about.

18   breaks, because if one of you is late, you'll keep everyone                18             You must pay close attention to the evidence.

19   else waiting.                                                              19   Evidence consists only of the testimony of witnesses,

20             I have some preliminary instructions that I am going             20   documents, and other things that are received in evidence.           And

21   to give you now.      They will take no more than ten minutes or           21   you will hear me say "received," and at that point that item

22   so.   After that, we will hear opening statements on behalf of             22   becomes evidence; it becomes something that you can consider in

23   the government and the defense, and then we will begin hearing             23   your deliberations.

24   testimony.                                                                 24             Sometimes the lawyers reach agreements as to certain

25             So let me turn to my preliminary instructions.                   25   facts, and those agreements are referred to as "stipulations,"

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1    and they are also evidence.                                                1    hear me say "Overruled," and you should treat the answer just

2              There are certain things that are not evidence, and              2    like any other.

3    you must not consider them as evidence.        For example,                3              From time to time, I may exclude or strike testimony

4    statements and arguments by lawyers are not evidence.           They are   4    or tell you to disregard it.       If I do so, any answer that may

5    simply arguments in which the lawyers will tell you what they              5    have been given is not evidence and you may not consider it.

6    think the evidence proves or how they think you should go about            6    If I instruct you that some evidence is only to be considered

7    analyzing the evidence.      You should give the lawyers' arguments        7    for a certain purpose, you must follow that instruction.

8    only as much weight as is consistent with your own common                  8              Anything you may have seen or heard or will see or

9    sense, and you should under no circumstances consider lawyers'             9    hear about this case outside the courtroom is not evidence and

10   arguments as evidence.                                                     10   must be disregarded.     You are to decide the case based solely

11             Any statement I may make to you is not evidence.                 11   on the evidence presented here in this courtroom.

12             Questions by lawyers are not evidence.         Only the          12             In deciding the facts of the case, you will have to

13   answers given by the witness are evidence.         The question that       13   make decisions concerning the credibility of the witnesses,

14   the attorney asks is only important insofar as it places the               14   that is, how truthful and believable they are.          How do you

15   witness' answer in context.      For example, if a witness is asked        15   decide what to believe and what not to believe?          You listen

16   "It was raining on June 2nd, wasn't it?" and the witness                   16   carefully to the witnesses.      You will watch them and observe

17   answers, "No," then based on that exchange, there is no                    17   them, and then decide as you would decide such questions in

18   evidence in the case that it was raining on June 2nd.                      18   your ordinary lives:     Did the witness know what he or she was

19             Objections to questions are also not evidence.                   19   talking about?    Was the witness candid, honest, open, and

20   Lawyers have an obligation to make an objection when they                  20   truthful?   Or did the witness appear to be falsifying,

21   believe that evidence being offered is improper under the Rules            21   exaggerating, or distorting what happened?         Is there any reason

22   of Evidence.    You should not be influenced by the mere making            22   to think that the witness might be lying or just plain mistaken

23   of an objection.     If I sustain the objection, you'll hear me a          23   about what they're telling you?

24   "Sustained," and you should ignore the question and any answer             24             Sometimes it's not so much what a witness says but how

25   that may have been given.      If I overrule the objection, you'll         25   he or she says it that may give you a clue as to whether or not

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1    you can accept that witness' version of an incident or an event            1    over, you should not reach any conclusions until you have heard

2    as credible or believable.      In short, the way a witness                2    all the evidence.

3    testifies may play an important part in your reaching a                    3              Some of you may wish to take notes during the trial,

4    judgment as to whether or not you can accept the witness'                  4    and you are welcome to do so.       If you do take notes, be sure

5    testimony as reliable.      You need to use your common sense and          5    that your note taking does not interfere with your listening to

6    your life experience in evaluating each witness' testimony.                6    and considering all the evidence.       Also, if you do take notes,

7              As the trial proceeds, you may develop impressions of            7    don't discuss your notes with anyone before or during your

8    a witness or of a particular issue.        You must not allow these        8    deliberations.    Your notes are to be used solely to assist you,

9    impressions to become fixed or hardened.         In other words, you       9    and they are not to substitute for your recollection of the

10   can't make up your mind right away.        If you do, you will             10   evidence in the case.

11   prevent yourself from considering the testimony of other                   11             The fact that a particular juror has taken notes does

12   witnesses or other evidence that may be presented after the                12   not entitle that juror's views to any greater weight than the

13   witness or witnesses you have heard.        This would be unfair to        13   views of any other juror, and your notes are not to be shown to

14   one side or the other.      A case can only be presented                   14   any other juror during your deliberations.

15   step-by-step, witness-by-witness.                                          15             If during your deliberations you have any doubt as to

16             We know from experience that frequently one person's             16   any of the testimony, you will be permitted to request that the

17   initial description of an event might sound impressive and even            17   relevant portion of the trial transcript be sent back to you in

18   compelling, but when we hear another person's version of the               18   the jury room.

19   same event, or even the same witness cross-examined about that             19             There are three basic rules about a criminal case that

20   event, what seemed to be very compelling and impressive may                20   you must keep in mind:

21   fall apart or become less convincing.        Please remember that          21             First, a defendant is presumed innocent until proven

22   there may be another side to any witness' story.                           22   guilty.   The indictment brought by the government against the

23             You will use your common sense and your good judgment            23   defendant is only an accusation.       It's proof of nothing.        It is

24   to evaluate each witness' testimony based on all the                       24   not proof of guilt or anything else.        The defendant, therefore,

25   circumstances.    You must keep an open mind.       Until the trial is     25   starts out with a clean slate.

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1               Second, the burden of proof is on the government until            1    that when someone expresses an opinion about a witness or about

2    the very end of the case.      A defendant has no burden to prove            2    the larger case, that person begins to identify more strongly

3    his innocence, or to present any evidence, or to testify.                    3    with that opinion.     And since it's critically important that

4    Since the defendant has the right to remain silent, the law                  4    you keep an open mind until you have heard all the evidence,

5    prohibits you from arriving at your verdict by considering that              5    you should not discuss the case with anyone, including your

6    the defendant may not have testified.                                        6    fellow jurors, or communicate about the case in any fashion

7               Third, the government must prove a defendant's guilt              7    with anyone until the case is given to you at the end of the

8    beyond a reasonable doubt.      I will give you further                      8    trial for you to reach your verdict.

9    instructions on this point later, but, as I have said, please                9              As I told you earlier, it is vitally important that

10   bear in mind that in a criminal case the standard is much                    10   you not read anything in the newspapers, over the Internet, or

11   higher, a much higher standard of proof than that which applies              11   anyplace else about the case, including any posts, blogs, any

12   in a civil case.                                                             12   type of social media, whether it be Twitter, Facebook,

13              In order to ensure that you decide the case based                 13   LinkedIn, Instagram, or something else.        Don't listen to or

14   solely on the evidence and that you not be influenced in any                 14   watch any reporting about the case if it should be broadcast on

15   way by anything that might occur outside the courtroom, I must               15   TV or the radio or on video on a site like YouTube or anyplace

16   give you the following instructions.                                         16   else.

17              First, don't discuss this case among yourselves or                17             Don't let anyone speak to you about the case.           If you

18   with anyone else, including any members of your family or your               18   are approached by someone to speak about it, tell them that the

19   friends.    You may tell your family that you are a juror in the             19   Judge has directed you not to do so.        If anyone seeks to

20   case, but don't tell them anything else until after you have                 20   contact you or contacts you about the case, you must

21   been discharged by me at the end of the trial.          Also, you may        21   immediately report that to me.

22   discuss the case amongst yourselves only after all the evidence              22             Next, and this is also critically important, don't do

23   is in and the case has been given to you to discuss and to                   23   any research about the case.       Don't try to investigate it on

24   decide in the jury room.                                                     24   your own.   Again, what is evidence is what comes in from the

25              This rule is important because experience has shown               25   witness stand and nothing else.

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1               Be sure that I'm told if someone you know comes into              1    comes from the witnesses and the exhibits that are received in

2    the courtroom.    This is a public trial so that could happen.               2    evidence.

3    But it's important you do not hear from them what may have                   3              After the opening statements, you will hear testimony

4    happened in the courtroom when the jury was not present.             So if   4    from witnesses.    Because the government has the burden of

5    you should see a friend or relative come into the courtroom,                 5    proof, the government will call its witnesses first.           Each

6    please send a note to me through Mr. Ruocco at your first                    6    witness will first give direct testimony, and then he or she

7    convenience.                                                                 7    may be cross-examined by the defendant's lawyers.          Sometimes

8               The attorneys, the parties, and the witnesses are not             8    there is redirect testimony and recross-examination.

9    supposed to talk to the jury outside the courtroom, even to                  9              Exhibits and stipulations or agreements as to facts

10   offer a friendly greeting.      So if you happen to see any of them          10   may be received in evidence.

11   outside the courtroom, they will not, and should not, speak to               11             After the government's case, the defendant may, but is

12   you.   Please don't take any offense.       They will only be acting         12   not required to, present witnesses and other evidence.            If the

13   properly by not speaking to you.                                             13   defense calls witnesses, those witnesses will be examined and

14              The parties are entitled to have you render a verdict             14   cross-examined, just as the government's witnesses were.             If

15   in this case on the basis of your independent evaluation of the              15   the defendant presents evidence, it is possible that the

16   evidence presented here in this courtroom.         Obviously, speaking       16   government may then present some rebuttal to that evidence.               Of

17   to others about the case or exposing yourself to information                 17   course, the defendant never has to testify or to present any

18   about the case outside the courtroom would compromise your jury              18   evidence at all, because the burden of proof at all times

19   service and the duty of fairness that you owe to both sides.                 19   remains on the government.

20              Finally, let me say a few words about trial procedure.            20             After all the evidence has been received, the

21   The trial essentially has three parts:        First, the lawyers have        21   government and the defendant will have an opportunity to make

22   the opportunity to make opening statements to you.          These            22   closing arguments to you.      The lawyers will review the evidence

23   statements are not evidence.       The purpose of opening statements         23   with you and make arguments as to what conclusions they think

24   is for the lawyers to give you a preview or a roadmap of what                24   you should or should not draw from the evidence.          These

25   they think the evidence will be.       Actual evidence, however,             25   arguments also are not themselves evidence, but they may be

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1    helpful to you in reviewing the evidence during your                        1    out for his client.     Instead, he sold out his client and

2    deliberations.                                                              2    threatened to harm a major company.        All to line his own

3              After these closing arguments, or summations, as they             3    pockets.

4    are called, I will give you detailed instructions as to the law             4               How did he do that?     Extortion and fraud.

5    that you must apply in deliberating and reaching your verdict.              5               You see, the defendant had a weapon, a very modern

6              Then you will go into the jury room to deliberate and             6    weapon.    He had a big following on social media and a big

7    discuss the evidence in order to decide the facts and render                7    presence on TV and in the news, and he found a way to use that

8    your verdict.                                                               8    weapon.    You will learn that that an amateur basketball coach

9              From time to time during the trial, it may be                     9    came to the defendant looking for help.         The coach had lost his

10   necessary for me to talk with the lawyers outside the hearing               10   sponsorship from Nike, the shoe company, and wanted it back.

11   of the jury either by having a conference up here at the bench,             11   But the coach also told the defendant that Nike employees had

12   if the jury is present in the courtroom, or by calling a                    12   given him money to pay to the families' amateur players.              The

13   recess.   The lawyers and I will do this as little as possible.             13   coach told the defendant that he was afraid that what he and

14   Please understand that while you are waiting, we are working.               14   those Nike employees had done was illegal.

15   The purpose of any conference outside your hearing is not to                15              But when the defendant looked at the coach, he did not

16   keep relevant information from you but, rather, for me to                   16   see a client to help.      He saw dollar signs for himself.

17   decide procedural issues or how proposed evidence should be                 17              The defendant knew that he could go on the news, get

18   treated under the Rules of Evidence.                                        18   on the Internet, and tell people that Nike had done something

19             Ladies and gentlemen, that complete my preliminary                19   wrong or broke the law.      If he did that, it would really hurt

20   instructions to you, and we will now hear the government's                  20   Nike's image and value as a company.         And he figured that Nike

21   opening statement.                                                          21   might pay up to keep him from hurting the company -- and pay up

22             Mr. Sobelman.                                                     22   big.   So the defendant made a threat.        He told Nike that it

23             MR. SOBELMAN:     This is a case about a shakedown.        This   23   better pay him or he was going to hold a press conference and

24   case is about how this man, Michael Avenatti, the defendant,                24   accuse Nike of breaking the law.

25   betrayed his client.     Like all lawyers, he was supposed to look          25              The scheme is simple:     Pay me and I'll keep quiet.

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1    Don't pay me, and I'll hurt you.                                            1    expect you are going to see and hear.

2              The defendant may have been wearing a suit and a tie              2               Second, I'll give you a brief description of the

3    and using some legal terms, but make no mistake, it was                     3    charges in this case.

4    extortion.    There was a threat to harm Nike unless they pay up.           4               Third, I'll describe how we're going to prove beyond a

5              And it was also fraud.      Who didn't the defendant tell         5    reasonable doubt that the defendant is guilty as charged.

6    about his plan?    The coach.    His own client.     The one who            6               I'm now going to tell you a little bit about the

7    wanted help from the defendant.       The one who told him the              7    defendant's client and his relationship with Nike, because it

8    information in the first place.                                             8    will help you understand how the defendant committed fraud and

9              Why didn't he tell the coach?       Well, first of all, the       9    extortion.

10   coach was not going to go along with this plan.          The coach          10              But before I do, I want to remind you of something.

11   wanted to work with Nike again.       But he also couldn't tell the         11   You will not be asked to decide whether the coach or anyone at

12   coach because that was part of his scheme.         He told Nike that        12   Nike did something wrong or broke the law.          There is only one

13   he would get the coach to enter into a settlement only if Nike              13   person on trial here -- the defendant -- and two wrongs would

14   paid him, the defendant.      He demanded a payoff to get his               14   not make a right.

15   client to settle, and that's a crime.        That's honest services         15              So let's start with the coach who went to the

16   fraud.                                                                      16   defendant for help.     His name is Gary Franklin.        He runs a

17             But the defendant didn't bet on Nike going straight to            17   basketball program for kids in middle school and high school.

18   the authorities, and he didn't know that his threats would be               18   The program is called California Supreme, or Cal Supreme for

19   recorded -- recordings that you will hear during this trial.                19   short.

20             That's why we're here, because the defendant was                  20              Franklin built Cal Supreme from nothing into a

21   caught on tape committing extortion and fraud.                              21   nationally-recognized program with some of the best middle and

22             Members of the jury, this is the government's                     22   high school players in the country.        For more than ten years,

23   opportunity to provide you a preview of what we expect the                  23   Nike was Cal Supreme's sponsor.        Nike gave basketball shoes and

24   evidence will show.     I'm going to do that in three parts:                24   athletic clothing for Cal Supreme's players and coaches.              Nike

25             First, I'm going to talk about the evidence that we               25   also gave Cal Supreme about $72,000 a year to help pay for

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1    their program.                                                             1    committing fraud by secretly paying amateur players to go to

2               Franklin's relationship with Nike was going well until          2    colleges that were sponsored by Adidas.         Franklin became

3    a few years ago, when two Nike employees had him give money to             3    worried that he, too, could be in trouble.

4    family members and other people connected to some of his                   4               For almost a year, Franklin and his friend talked and

5    players.    They also had him create invoices, or bills, so that           5    emailed and texted about their frustrations and tried to figure

6    Nike would pay him back for those payments.         But the Nike           6    out what to do.     In March 2019, Franklin's friend thought they

7    employees told Franklin to put things in the invoices that were            7    should get a lawyer to help protect Franklin and to talk to

8    not true, so that's what he did.       Those two Nike employees also       8    Nike on his behalf.     That's where the defendant came into the

9    pressured Franklin to let a parent of one of his players coach             9    picture.

10   Cal Supreme's top team instead of Franklin.                                10              Franklin's friend had read about the defendant in the

11              Then at the end of 2018, Nike did not renew its                 11   news.   He saw the defendant on TV talking about a woman named

12   sponsorship of Cal Supreme.      Nike stopped providing shoes,             12   Stormy Daniels, who brought a lawsuit against President Trump.

13   clothes, and funding.                                                      13   He felt the defendant seemed willing to stand up to the

14              Franklin was upset.     He was loyal to Nike but felt           14   powerful.    So they reached out to the defendant.         He agreed to

15   mistreated over the last couple years.                                     15   meet with Franklin and his friend.

16              He was also uncomfortable with the payments to                  16              When they met, Franklin and his friend told the

17   families and the false invoices, and he was angry that control             17   defendant that Franklin wanted justice.         What did Franklin mean

18   of his most important team had been taken away from him.             He    18   by "justice"?    Franklin told the defendant that he wanted Nike

19   wanted to get back that team and the sponsorship.                          19   to renew Cal Supreme's sponsorship and pay some compensation,

20              So Franklin reached out to a friend, who knew the               20   money, for losses that Cal Supreme had suffered.           Franklin also

21   team, that had a contact at Nike.       Franklin told his friend           21   told the defendant that he wanted Nike to fire the two

22   about the payments he made and the false invoices he submitted             22   employees who had mistreated him and maybe committed crimes.

23   to Nike.    He realized that this sounded like something that              23              Franklin and his friend told the defendant about the

24   employees of another shoe company, Adidas, had recently gotten             24   two Nike employees who had directed Franklin to make payments

25   in trouble for.    Those Adidas employees were convicted for               25   to the families of a few of Cal Supreme's players and to make

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1    false invoices, and they shared some bank records and text                 1               MR. SOBELMAN:    Franklin was his client, but he didn't

2    messages that helped explain what had happened.          But they          2    tell Franklin about those other plans.         Why?    Because those

3    didn't want those materials made public, because they thought              3    plans were for himself, not Franklin.         You see, the defendant

4    it might embarrass Franklin, the players' families, and Nike,              4    realized that publicly broadcasting the payments that Franklin

5    or worse, so they marked the materials confidential.                       5    had made would make Nike look bad, maybe really bad.            He

6               The defendant told Franklin he would try to get him a           6    thought Nike might be willing to pay and pay a lot to keep it

7    million dollars from Nike.      The defendant had other plans, too.        7    all under raps, and he wanted that pay day for himself.

8               (Continued on next page)                                        8               Without telling Franklin, his client, the defendant

9                                                                               9    went to Mark Geragos, another TV lawyer who had been involved

10                                                                              10   in high-profile cases, Geragos had a direct connection to

11                                                                              11   someone high up inside Nike and set up a meeting for the

12                                                                              12   defendant with Nike's lawyers.       The defendant and Geragos met

13                                                                              13   with Nike's lawyers here in Manhattan.         The defendant told them

14                                                                              14   they had a big problem.      He said that he had evidence of

15                                                                              15   widespread and serious criminal misconduct by Nike of payments

16                                                                              16   made to youth basketball players, and he said he would hold a

17                                                                              17   press conference to damage Nike's brand and stock price unless

18                                                                              18   his demands were met immediately.

19                                                                              19              What were the defendant's demands?         First, he told

20                                                                              20   Nike's lawyers that they had to pay Franklin one and a half

21                                                                              21   million dollars.     Second, the defendant demanded a far larger

22                                                                              22   payment for himself and Geragos, the lawyer who helped him get

23                                                                              23   the meeting with Nike.      He demanded that Nike hire him and

24                                                                              24   Geragos to conduct a so-called internal investigation of Nike

25                                                                              25   for millions of dollars.      You will learn that an internal

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1    investigation involves conducting interviews, reviewing                     1               Nike's lawyers could tell the defendant's threats were

2    documents, and writing reports on behalf of a company.                      2    dead serious, and they were afraid he was going to damage the

3               The defendant also told Nike's lawyers that if they              3    company.    Within hours Nike reported the defendant's threats to

4    didn't hire him, if they hired other lawyers to do an                       4    the authorities.

5    investigation, Nike would have to pay the defendant and Geragos             5               After that, the defendant's conversations with Nike's

6    twice the money that Nike paid to anyone else for doing no work             6    lawyers were recorded by federal agents.         In those

7    at all.                                                                     7    conversations the defendant repeated his threats to Nike.              He

8               Why should Nike do this?     The defendant made clear            8    told Nike's lawyers that if they didn't pay up fast, he would

9    that if he was not paid, he would hold a press conference to                9    damage Nike's values by billions of dollars.          That's billions

10   embarrass and harm Nike, and he would do so quickly.           He would     10   with a B.    Nike had to hire him and Geragos and pay them $12

11   not let Nike just settle with Franklin, the defendant's client.             11   million right away.     He also demanded up to 25 million if he

12   Nike had to pay the defendant, too, and a lot more, more than               12   actually did some work for Nike, whether Nike wanted it or not.

13   $10 million more than the defendant was trying to get for                   13   If Nike refused, the defendant would hold his press conference.

14   Franklin.                                                                   14              You will hear how the defendant talked, how he spoke

15              As part of his threat the defendant warned them that             15   to Nike's lawyers behind closed doors, when he thought no one

16   this was a sensitive time for Nike because it was the same week             16   was listening.     For example, this is how he told them they had

17   as two important events.                                                    17   to pay him millions to keep from holding his press conference,

18              First, Nike had an announcement of its corporate                 18   to keep him quiet.

19   earnings coming up, which would be important to its                         19              You guys know enough now to know you've got a serious

20   shareholders, the people who owned Nike's stock.          Second, March     20   problem and it's worth more in exposure to me to just blow the

21   Madness, the NCAA men's college basketball tournament was                   21   lid on this thing.     A few million dollars doesn't move the

22   beginning and Nike was a sponsor of many of the teams competing             22   needle for me.     I'm just being really frank with you.         If

23   in that event.    The defendant had them write where he wanted              23   that's what -- if that's what is being contemplated, then let's

24   them.   It was a shakedown.     It was extortion.     And Franklin,         24   just say it was good to meet you and we are done.           And I will

25   the defendant's own client, had no idea what he was up to.                  25   proceed with my press conference tomorrow, and I will hang up

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1    with you now and I will call the New York Times, who are                    1               Members of the jury, this was nothing like the tough

2    awaiting my call.     I'm not fucking around with this thing                2    negotiating lawyers sometimes do.        The defendant had not just

3    anymore.                                                                    3    crossed the line, he had leaped over it with a running start.

4               That is what you will hear the defendant say.         He was     4    He was not acting like a lawyer.        He was not trying to help his

5    shaking them down.     He was saying, give me money or I will harm          5    client.    He was trying to take advantage of his client.             What

6    your company, money that he had no right to demand.          It had         6    he did was criminal.      Fortunately, federal agents were

7    nothing to do with his client.       It was all about the defendant.        7    recording those conversations, so they moved in and arrested

8    It was extortion.                                                           8    him.

9               What if Nike didn't want to hire him and Geragos and             9               Why did the defendant do what he did?        Simple.       Money,

10   pay for an investigation that Nike was not asking for?           Well,      10   lots of money, millions of dollars.

11   the defendant had an answer for that, too.         He said that if          11              Also, you will learn that the defendant was deeply in

12   Nike just wanted him to just keep quiet and go away, Nike could             12   debt and his law firm had trouble paying its employees.               He

13   pay one lump sum right away of more than $20 million.           The         13   owed a ton of money.      And the scheme stood to make him the very

14   defendant called it a settlement and typed up a document with               14   millions he needed.

15   some blanks to fill in.      He showed it to Nike's lawyers, but he         15              That is a summary of what the evidence will show.               The

16   never told Franklin about it.                                               16   defendant threatened Nike to pay him money or else he would

17              Ultimately, the defendant agreed to hold off on his              17   inflict serious damage on its reputation and value, money for

18   press conference for just a few more days, but he wanted his                18   silence, and he did it without considering what Franklin wanted

19   money at that next meeting or else.        You will hear exactly how        19   or what was best for Franklin, all to line his own pockets.

20   the defendant ended that meeting.       This is what he said.        I      20              For what he did the defendant is charged with three

21   don't want to hear about somebody on a bike trip.          I don't want     21   crimes:    First, he is charged with transmitting in interstate

22   to hear that somebody has -- somebody's grandmother passed away             22   communication with the intent to extort; second, he is charged

23   or something.    I don't -- look.     The dog ate my homework.        I     23   with attempting to extort Nike; third, he is charged with

24   don't want to hear -- none of it is going to go anywhere unless             24   defrauding Gary Franklin by using his client's information to

25   somebody is killed in a plane crash.                                        25   seek a payoff for himself.

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1              Now, let's talk about how we are going to prove that              1    some of what they had him do was improper and potentially even

2    the defendant is guilty of those crimes.         The evidence will          2    criminal, but that's not what this trial is about.           This trial

3    come in different forms, including recordings, witness                      3    is not about whether Franklin was mistreated by Nike.            This

4    testimony, and documents.                                                   4    trial is not about whether anyone at Nike did anything wrong.

5              First, you are going to hear the defendant's own                  5    Nike is not on trial.

6    words.    You will see and hear video and audio recordings of the           6               What is this trial about?      This trial is about how

7    defendant making threats to Nike and demanding money to keep                7    Franklin was mistreated by the defendant, his own lawyer.             This

8    quiet.    You will hear for yourselves what the defendant said              8    trial is about how Nike was victimized by the defendant.              Even

9    what happened to Nike if it didn't pay up and he held his press             9    if Nike did wrong, that did not give the defendant the right to

10   conference.    He said, the company will die.       Not die.    But they    10   do what you will learn he did.       This trial is about how the

11   are going to incur cut after cut after cut after cut.           And         11   defendant misused Franklin's information and threatened Nike

12   that's what's going to happen as soon as this thing becomes                 12   for his own benefit.      Franklin was the person who felt wronged

13   public.    That is how he said pay me or else.                              13   by Nike, not the defendant, but the defendant used Franklin in

14             Second, you are going to hear from witnesses,                     14   an attempt to make millions for himself.

15   including some of the Nike lawyers who met with the defendant.              15              Both Franklin and his friend will tell you that the

16   You will hear how they felt threatened by the defendant.             You    16   defendant never mentioned his scheme to them, never mentioned

17   will learn about how they recorded the defendant's threats to               17   demanding to be paid millions.       He never mentioned an internal

18   the authorities.                                                            18   investigation.     He never mentioned a press conference.         And

19             What happened next?      You are also going to hear from          19   Franklin did not want one.       Just the opposite.     The materials

20   the defendant's client, Gary Franklin, and Franklin's friend.               20   he gave the defendant were marked confidential for a reason.

21   You will hear how they told the defendant about misconduct by               21              Who else will you hear from?       You will also hear from

22   two employees at Nike and what they wanted from Nike, including             22   the defendant's former assistant.        You will learn how desperate

23   having those two employees fired.                                           23   the defendant was for money at the time he committed these

24             Let me pause here for a moment.        You will hear how          24   crimes.    You will hear about the debts the defendant owed, many

25   Franklin felt wronged by those two Nike employees.          He thought      25   millions of dollars in debts.       And you will also see documents.

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1    One of those documents is a post the defendant put on Twitter.              1    stated to him, a client who had claimed that he had been

2    It was a veiled threat to Nike that the defendant called a                  2    bullied by Nike, that he had been asked to do improper things

3    warning shot in a text message to Geragos.         You will see that        3    by Nike, a client who Coach Franklin explained to Mr. Avenatti

4    text message, too.     That is some of the evidence you will see            4    that Nike had sidelined him, had taken away his team, and left

5    and hear.                                                                   5    him disreputed in the basketball community, a client who wanted

6              After you see and hear the evidence, we will have a               6    justice, a client who was going to be a whistleblower and let

7    chance to speak with you again and to talk with you about how               7    the corruption be exposed, a client who wanted Nike executives

8    the evidence shows the defendant is guilty because he abused                8    who had participated in this corruption terminated, a client

9    his client's trust and tried to extort Nike, all to make                    9    who, to use the words of Coach Franklin and his advisor,

10   millions of dollars for himself.                                            10   Mr. Jeff Auerbach, they wanted to light the fuse.           They wanted

11             Before then, I ask you to do three things:         First, pay     11   answers.

12   close attention to the evidence; second, follow Judge                       12              In preparation for meeting with Mr. Avenatti, Coach

13   Gardephe's instructions on the law; and, third, use your common             13   Franklin and his advisor, Mr. Auerbach, presented Mr. Avenatti

14   sense as you consider the evidence, the same common sense you               14   questions they wanted answers for.

15   use every day.    If you do those three things, the defendant               15              Question No. 1:    Is this a case of rogue executives

16   will get a fair trial and the government will get a fair trial,             16   from Nike committing egregious criminal acts on their own or

17   and you will return the only verdict supported by the law and               17   was Nike, a Fortune 100 company, complicit in the corruption?

18   the evidence.    The defendant is guilty.                                   18              Question 2:    Is Nike a company which tolerates

19             THE COURT:    Ladies and gentlemen, we will now hear the          19   workplace bullying and abuse by its senior executives?

20   defense opening.     Mr. Srebnick.                                          20              Question 3.    Is Nike's enterprise, the Nike Elite

21             MR. H. SREBNICK:     When Michael Avenatti met with the           21   Youth Basketball, the racket, guilty of racketeering, having

22   lawyers from Nike and the law firm of Boies Schiller here in                22   committed acts of fraud, bribery, coercion, conspiracy, illegal

23   New York City, he was there to settle the claims of his client.             23   cash payments, wire fraud, mail fraud, bank fraud, money

24   When Michael Avenatti made demands of Nike, he did so to                    24   laundering, etc.?

25   achieve the goals of his client, the goals as his client had                25              Coach Franklin and his advisor, Mr. Auerbach, they

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1    wanted answers.    They did not want to whitewash.        They had         1               But Mr. Avenatti made it clear, he was fighting for a

2    spent over a year trying to get answers, over a year where Nike            2    client who wanted these remedies.        And if Nike was unwilling to

3    blew them off.    They wanted Michael Avenatti, their lawyer, to           3    provide the remedies that Coach Franklin wanted, well, then

4    demand that an investigation occur so that they could bring                4    Mr. Franklin's claims, the truth, would become public because,

5    justice to the situation.                                                  5    as we know, lawsuits are public filings.         A complaint could be

6              And so when Michael Avenatti met with the lawyers of             6    filed exposing in court, as we are here today in front of the

7    Nike, when Michael Avenatti met with the lawyers from Boies                7    world, in front of the media, Mr. Franklin's claims.            That's

8    Schiller, former prosecutor no less that he met with, he made              8    not extortion.     That's not fraud.     That was litigation.         That's

9    it very clear what his client wanted, no. 1, compensation,                 9    exactly what it was.

10   restitution, money and, No. 2, justice, an investigation, an               10              Mr. Avenatti wasn't alone.      He was accompanied by a

11   internal investigation, a private internal investigation to                11   colleague, a senior lawyer, Mark Geragos.          I'll talk more about

12   root out the corruption at Nike.                                           12   him in a moment, a very high-profile lawyer with a lot of

13             This was a prelawsuit settlement conference.          It         13   experience.    So when they made their request, their ask of

14   occurred in a law office.      And Michael Avenatti was asking for         14   Nike, it was done in the spirit of getting the client what the

15   what his client wanted at that time, as evidenced by those                 15   client wanted.

16   three questions and the other items that were given to                     16              Who was the client you heard a bit from the

17   Mr. Avenatti by his client.                                                17   prosecutor, Coach Gary Franklin, built up a youth team,

18             If Nike was willing to settle, they would reach a                18   basketball in California?       Part of a Nike sponsored league of

19   settlement agreement.     It would all be put in writing.        The       19   40 teams.    Coach Franklin had worked hard.        He built loyalty.

20   lawyers from Boies Schiller, a 300 plus law firm here in New               20   He built up a brand.      He obtained a sponsorship from Nike of

21   York City, a law firm that bills hundreds of millions of                   21   $72,000 a year.     Developed a good reputation.

22   dollars a year to its clients, they would have to approve the              22              Why does Nike sponsor these teams?        Nike is hoping

23   settlement agreement.     Nike, a Fortune 100 company, sales in            23   that maybe one of the kids will become the next Lebron, the

24   the 30-billion-dollar-a-year range, their lawyers in-house                 24   next Michael Jordan.      So too does under Armour, so too does

25   would approve the settlement agreement.                                    25   Adidas, sponsor youth leagues.

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1              But out came the sneakers war, as it was called by               1    California Supreme team, and by then Coach Franklin was no

2    Coach Franklin and his advisor, Mr. Auerbach.         Nike executives      2    longer going to be in command of that team.          The handler and

3    suspected that Adidas was paying players, paying handlers to               3    this other person, two people, took over the team, and you can

4    bring young kids to these basketball teams, paying the family              4    imagine how Coach Franklin felt about it back then.

5    members of basketball players, kids.                                       5               Indeed, Franklin lost his sponsorship from Nike and

6              Two Nike executives, a Mr. DeBose and Mr. James, began           6    felt he had been wronged.       He wasn't going to participate any

7    directing Coach Franklin to do the same thing that was                     7    longer in those activities and now he was left out.           He felt

8    happening over at Adidas, paying handlers, paying family                   8    bullied, he felt strong-armed, in his own words.

9    members, creating false invoices to conceal the cash payments.             9               He had begun tape-recording the Nike executives

10   When I say cash, I include cash cash, structuring withdrawals              10   because he knew something wrong was going on.          This is two

11   to give green dollar bills to family members.                              11   years before they ever met Michael Avenatti.          For a year,

12             At one time the two Nike executives directed                     12   together with his advisor, Mr. Auerbach, they were trying to

13   Mr. Franklin to get on an airplane from California, fly to                 13   get Nike to do right by Coach Franklin, reaching out to Nike.

14   Arizona to give cash to the family member of a kid who is                  14   They were ignored.     And they expressed their sentiments to each

15   playing basketball who, as it turns out, turned out to be the              15   other.    As the prosecutor said, they spoke, they texted, and

16   No. 1 draft pick in the NBA a few years later.          Not a              16   their sentiments were very clear.

17   coincidence.    These payments were concealed.       The books and         17              By then Adidas was already under investigation and

18   records of Nike did not reveal that cash payments, wire                    18   indeed Adidas executives had been indicted.          This was huge

19   transfers to handlers, false invoices were being created to                19   news.    Nike supposedly was cooperating with the Federal

20   accomplish Nike's illicit objective.                                       20   Government because Nike had received a grand jury subpoena.

21             At one point Nike was so eager, so eager to get the              21   Now, Nike was under investigation.        And still a year after the

22   right players on a Nike team, they had a handler pay the                   22   grand jury subpoena, a year after Nike supposedly cooperating

23   handler to bring a seven-foot basketball player, a high school             23   with the government, the two Nike executives, DeBose and James,

24   kid from Kansas.     The handler would become the guardian of the          24   are still working at Nike.

25   kid.   He would move to California and play basketball on the              25              So the advisor, Mr. Auerbach, and Mr. Franklin decide

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1    they are going to go on a quest to expose what has happened.                1    Nike from taking any future illegal acts of corruption

2    To use their words, they wanted justice.         Nike executives had        2    beginning with -- not ending with -- beginning with terminating

3    lied.    Nike had irreparably harmed -- these are their words --            3    the two rogue Nike executives, DeBose and James, to use their

4    irreparably harmed Coach Franklin.        Nike had bullied him,             4    words for starters.

5    abused him, cheated, lied, colluded, committed fraud,                       5              No. 2, they wanted fair and reasonable reparations,

6    corruption, strong arm.      Those were the words, the sentiments           6    money for Coach Franklin.

7    of Coach Franklin and his advisor, Mr. Auerbach.                            7              In October of 2018, about five months before they meet

8               They wanted justice above all else.        More important        8    Mr. Avenatti for the first time, they start the preparation of

9    than the money, according to them, was achieving justice.             And   9    this effort to expose Nike.       They contact a lawyer in early

10   to them justice meant exposing the corruption in the youth                  10   January of 2019, two months before they contact Mr. Avenatti,

11   basketball league.     Quote, they wanted Nike to do the right              11   January 2019, about a year ago.        His name was Trent Copeland.

12   thing.    They wanted Nike to take swift action and to, quote,              12   They reach out to attorney Copeland and they tell him,

13   investigate, investigate their words, and fire the rogue                    13   Franklin's words, what I'm looking for is justice.           Clean up

14   executives.    They wanted to stop further corruption.                      14   and reorganize Nike Elite Youth Basketball.          Install new

15              Auerbach, the advisor, and you will hear more about              15   management.    Install new procedures to prevent this type of

16   Mr. Auerbach, a sophisticated guy, he had taken credit for                  16   abuse and criminal activity in the future.

17   putting together the NFL with the Jerry Maguire movie back when             17             It wasn't just about money.        It wasn't just about his

18   I was a younger man.     You might remember the movie about an NFL          18   team.    They wanted an investigation.       They wanted new

19   agent.    Auerbach on his profile takes credit for that.         He had     19   procedures.    They wanted to uproot the corruption in youth

20   a relationship, so he said, with the founder of Nike, and                   20   basketball.    And they wanted Nike to pay for all my legal and

21   Auerbach the advisor tells Coach Franklin, we are going to do               21   other related expenses in this matter.         Three things:

22   this together, we are going to draft justice.          We are going to      22   Compensation, justice through exposing and investigating the

23   write up what justice means.       And they wrote it down to try to         23   corruption, Nike pays all of the legal expenses associated with

24   find a lawyer who would take the case.                                      24   this.

25              No. 1, they wanted justice to be defined as preventing           25             Attorney Copeland doesn't take the case.          And so

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1    Auerbach says:    I am going to call a high-level Nike executive            1    because he spends his days in the library researching case law.

2    named Slusher.    Auerbach reaches out to Slusher at Nike and               2    He does that, too.     He brings lawsuits.      He represents people

3    tells Slusher:    We want justice.     The word of the case,                3    in court.    But they wanted this man right here because he had

4    justice.    Slusher asks:    What does justice mean to you?          Does   4    the platform to expose what had happened at Nike.           That's why

5    that mean just firing the two executives from Nike?          Answer:        5    they chose him.     And we can prove it.      We can prove it because

6    Yes, for starters.     All of this is documented in memoranda by            6    we have the exchange of communications between those two men.

7    Auerbach.                                                                   7              Auerbach sent 119 videos of Mr. Avenatti on

8               What does Slusher say?     Call the lawyers over at Boies        8    television, in social media, and said:         Hey, Coach Franklin,

9    Schiller.    Go talk to them.    You imagine Mr. Auerbach,                  9    this is Auerbach telling Coach Franklin, watch these.            800,000

10   Mr. Franklin, now they are going to call the 300-lawyer law                 10   Twitter followers, Coach Franklin.        He has got the platform,

11   firm and try to negotiate with them.        Really?    Auerbach decides     11   Mr. Avenatti does.     He had the skill set they wanted, the

12   the plan is, we are going to find a lawyer who can take on                  12   ability to expose the corruption, the ability to expose

13   Nike, take on Boies Schiller and get justice, a lawyer with a               13   Franklin's claims.     Franklin found it impressive.

14   high profile, a lawyer with a public platform, a lawyer who                 14             Franklin was concerned that Mr. Avenatti wouldn't take

15   people listen to.                                                           15   the case.    Copeland wouldn't take the case.        Auerbach said:

16              And so in 2019, in March, they contact Michael                   16   No.   I think Avenatti will take the case because, quote, what

17   Avenatti who by then was the lawyer in America with the highest             17   will attract Avenatti is the opportunity to expose the

18   profile of any other lawyer, a lawyer who became nationally                 18   injustice, to go after Nike, to really light the next fuse in

19   recognized because with 800,000 Twitter followers, having                   19   the sneaker company scandal.       A lot at play here for a guy like

20   represented Stormy Daniels against the president of the United              20   Avenatti.    Those were the words of Auerbach and Franklin.

21   States, having appeared on national television more often than              21   Quote:    A high profile case which can lead to good press for

22   any lawyer perhaps in the history of the United States, the                 22   Mr. Avenatti and help Avenatti net other defendants.            It was

23   lawyer with the largest platform in the media, that's who they              23   clear.    What attracted Franklin and Auerbach to Mr. Avenatti

24   wanted.    That's who they chose.     That's who Coach Franklin             24   was Avenatti's ability to get the attention of Nike because he

25   wanted.    That's who Auerbach wanted to take on Nike.         Not          25   had the platform in the media to do that.          The claim would be

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1    exposed if it would not settle, as lawyers do by way of a                   1    once do they say to him, you are not to expose this to the

2    lawsuit.                                                                    2    world.    To the contrary.    That's why they hired him.

3               They like Mr. Avenatti's bravado.       They termed him the      3               They posed the three questions that I shared with you

4    heavy artillery.     Now, it is true, Mr. Avenatti is brash.         He     4    on the board.    They give Mr. Avenatti the evidence that proves

5    is aggressive, tenacious, bullish, hard charging, sometimes                 5    what had happened in California Supreme.         The evidence of the

6    he's outrageous, and sometimes he might even be offensive.                  6    fake invoices, the evidence of the cash withdrawals, the wire

7               But that's not what we put people in prison for.          It's   7    transfers to handlers, the text messages from Nike executives

8    not a crime to be offensive.       It's not a crime to use foul             8    directing the coach to make fake invoices.          Avenatti gets all

9    language from time to time, to use the F word.          Mr. Avenatti        9    of that.    And he knows the claim is real.        He knows it is the

10   has done it.    It is what it is.     But it's not extortion because        10   truth based on the evidence he has seen.

11   you use harsh language in the course of negotiating for your                11              Now, Mr. Avenatti never takes one dollar from Gary

12   client.                                                                     12   Franklin or Mr. Auerbach, doesn't ask for any money up front,

13              Franklin and Auerbach meet face to face with                     13   none.    The truth is, Mr. Franklin didn't have the money to hire

14   Mr. Avenatti in California.      They express what they want.        They   14   a lawyer.    But as Auerbach said what was going to attract

15   share with him a Power Point presentation that's called                     15   Mr. Avenatti financially to a case like this, getting justice

16   Franklin v. Nike.     It's what a lawsuit looks like.       Gary            16   through an investigation of Nike and, No. 2, the publicity that

17   Franklin v. Nike.     They present Mr. Avenatti with a copy of a            17   a case like this brings if it goes public.          They understood

18   complaint, a lawsuit that had been filed against Adidas by a                18   that.

19   player, civil case, claiming racketeering by Adidas in which                19              Mr. Avenatti agrees to take the case.        No money down.

20   that plaintiff, the person asking for the money, was asking for             20   Not even the expense money to get on an airplane to fly to New

21   all sorts of relief, including injunctions and attorney's fees.             21   York to meet with the lawyers for Nike here in New York City.

22              They meet with Avenatti in person and they say to him,           22              Avenatti contacts attorney Mark Geragos, a

23   Michael, let me tell you what we want.        To use their words, we        23   high-profile lawyer who, as it turns out, had had a case with

24   want justice.    We want to prevent this from happening again.              24   Nike.    Geragos, the lawyer, had represented a very high-profile

25   That's what we want.     And never once do they say to him, never           25   NFL football player who had a major controversy with Nike,

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1    potentially an explosive situation, and Geragos representing                1    an internal investigation, how much it would cost to do that

2    that NFL football player, reached a very favorable settlement               2    which they believed certainly Michael Avenatti believed the

3    on behalf of that NFL football player.        And to Michael Avenatti       3    clients wanted.     These are internal investigations.        I don't

4    it seemed to him Geragos, the lawyer, was the right person to               4    think there will be any dispute.        When you have to hire private

5    bring in to work this case with him, to conduct this                        5    investigators, accountants, forensics, paralegals, lawyers.

6    investigation that Michael Avenatti understood the clients                  6    Boies Schiller itself admitted that these investigations cost

7    wanted.                                                                     7    upwards of tens and tens of millions of dollars.

8               Geragos, who knew people at Nike, contacts his                   8               The money doesn't go to Mr. Avenatti's pocket.             It

9    counterpart at Nike, a guy named Kaplan, and says, hey, I just              9    goes into an account to pay for the investigation.           It would

10   spoke to Mr. Avenatti.      He has got a client.     His client has         10   include Mr. Avenatti getting paid for sure.          That's how he will

11   claims against Nike.     It could be explosive.      I think you are        11   make money.    It will include Mr. Geragos getting paid for sure.

12   going to want to meet us about it.        And Nike agrees to set up a       12   That's how they will make money.

13   meeting with Avenatti and Geragos in New York City.                         13              So Geragos sets up the meeting.       It occurs at the

14              You will recall perhaps there was a lawyer named                 14   offices of Mr. Geragos in New York.        Nike, the

15   Michaelson on behalf of Boies.       He was the first lawyer                15   3500-billion-dollar-a-year company represented by Boies

16   referred to Mr. Auerbach.      Now, another lawyer, Mr. Wilson was          16   Schiller on the one side.       Avenatti and Geragos at the other

17   introduced into the conversation.       A Mr. Homes was another             17   side.    Mr. Wilson, the lawyer for Boies, you see him in the

18   lawyer who ends up attending the meeting on behalf of Nike.            We   18   picture, a former prosecutor.       Mr. Michaelson, who is not at

19   don't have a picture of Mr. Homes.        We apologize.                     19   the meeting, but is connected with this negotiation, also a

20              And Nike sends its No. 2 lawyer in-house, a guy name             20   former prosecutor.     Avenatti knows he is going into the room

21   Leinwand.    When you meet Mr. Leinwand, you will realize we have           21   with a former prosecutor.

22   an older picture of him.      He is a little older than he appears          22              What Michael Avenatti did not know was that the Boies

23   there.    And on behalf of Mr. Franklin, Michael Avenatti and               23   lawyers had already conferred among themselves.           To use their

24   Mark Geragos.    And this meeting occurs at Mr. Geragos' office             24   words, they were, quote, on red alert that Michael Avenatti was

25   here in New York.     By then Avenatti and Geragos had discussed            25   coming to make an ask on behalf of a client.          They knew who

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1    Michael Avenatti was.     They also knew what Coach Franklin had           1    his client for remedies, for relief, what lawyers do every day.

2    been complaining about, because by then Coach Franklin had been            2               And I believe the instructions of law will tell you

3    blown off so many times by Nike, they knew who he was.           They      3    there is absolutely nothing wrong for Gary Franklin, on his own

4    were on red alert.                                                         4    behalf, to demand from Nike that they pay him for any plausible

5               Their mission on that first meeting wasn't to settle a          5    claims he has.     He can ask them to investigate.        He can ask

6    claim, which is what Michael Avenatti thought he was going to.             6    them whatever he wants as an ask if he has a claim of right.

7    Their mission was to contain Michael Avenatti.          Their mission      7    or he can hire a lawyer to do that for him.

8    was to make sure that they got out in front of Michael Avenatti            8               That's what he did.     He hired Michael Avenatti.         So

9    and Coach Franklin and Geragos because what Nike was worried               9    Michael Avenatti goes to a meeting in New York on March 19 and

10   about was the truth coming out.       That's what Nike was worried         10   let's Nike know exactly what Gary Franklin wants.           Mr. Geragos

11   about.                                                                     11   starts the meeting, the lawyer who is working with Avenatti.

12              You will recall, as I mentioned earlier, that grand             12   And Geragos said:     Hey, I spoke to Michael.       Michael has got

13   jury subpoena.    That federal investigation still hadn't closed.          13   claims on behalf of a client that would go public if there is a

14   Nike was still in the process of cooperating, whatever that                14   lawsuit.    I, Geragos, suggested to Avenatti, let's meet with

15   means, with the Federal Government producing records.           You will   15   the Nike lawyers.     They can maybe reach a settlement, just like

16   hear they hadn't produced all the records relating to this                 16   Geragos had done on behalf of the NFL football player not long

17   matter by March of 2019.                                                   17   before.

18              To them Nike had been successful in containing the              18              Avenatti starts the meeting by saying:         We all

19   truth.    There had been no exposure of all the payments to the            19   understand this is a settlement conference.          He invokes a rule

20   handlers Nike was up to.      In fact, Nike was saying they had            20   of evidence regarding settlement conferences.          He makes two

21   done nothing wrong.     Nike was telling the feds they had done            21   demands.    No. 1, the client agrees to cooperate.         Nothing that

22   nothing wrong.    We know that's not true.       We know that now.         22   is settled here will prevent the client from talking to the

23              Now, Avenatti goes to that meeting with the authority           23   government if the government wants to hear about these things.

24   of his client to try to see what he can get on behalf of his               24   He makes that very clear up front.        We are not buying anybody's

25   client.    All it was was a negotiation asking Nike on behalf of           25   silence here.    Client gets compensated and Nike agrees to an

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1    internal investigation conducted by Avenatti and Geragos.                  1    claims are real.

2               See, Avenatti and Geragos by then realize that there            2               The inhouse attorney for Nike, Mr. Leinwand, who I

3    must have been some sort of whitewash, whitewash meaning the               3    think is on the screen in a younger form.          He says:   I want to

4    so-called investigation Nike was doing wasn't producing any                4    see the evidence.     What have you got?      Mr. Avenatti produces

5    kind of investigation.      The two Nike executives were still             5    the evidence in the form of the documents that coach and

6    employed at Nike, the ones who had done wrong to Coach                     6    advisor Auerbach had provided Avenatti.

7    Franklin.                                                                  7               At no time in the meeting on March 19, the meeting

8               The ask for Mr. Franklin, $1.5 million of compensation          8    attended by the lawyers for Nike and Mr. Avenatti, do the Nike

9    to Mr. Franklin.     The investigation, direct quote from                  9    people deny the accusation.       They don't say:     Hey, Avenatti,

10   Mr. Avenatti.    Quote:   Whatever it costs, it costs.       He insists    10   what are you talking about?       This is a bunch of BS.      Get out of

11   that the investigation, however, be run by Franklin's team,                11   the office.    You got no claim.     Your client has got no claim

12   Avenatti and Geragos.     Don't go hiring some other law firm              12   here.   Skedaddle.    They don't do that.      They don't deny it.

13   that's going to do a whitewash.       If you do that, it's going to        13              In fact, after seeing the evidence, Leinwand says to

14   be more expensive, and he disincentivizes Nike from trying to              14   Avenatti:    I get the claims.     We just need more time to try to

15   do a whitewash.    He doesn't think Boies Schiller can do it               15   settle it.    Avenatti is a tough negotiator.        He understands the

16   because Boies Schiller is Nike's lawyer.         They are not              16   power of urgency.     You don't let the other side:        Hey, take all

17   incentivized to find anything wrong at Nike.         They have been        17   the time you need.     Talk to me in a few weeks.       No.   Avenatti

18   running this investigation for two years.         Produced nothing for     18   says:   We are going to do business.       We are going to do it

19   about a year and a half.                                                   19   soon.

20              Wilson for Boies responds.      Quote:   We have an             20              And, as the prosecutor read, in a less animated tone,

21   interest in conducting an internal investigation surrounding               21   I admit, Avenatti uses this harsh language.          I ain't F'g

22   these allegations.     So Boies Schiller tells Michael, that               22   around.    If you guys aren't ready, I will just call the press

23   sounds like a fair request.      We know now that they were trying         23   and tell them we are going to move forward.          Again, the press

24   to set up Michael Avenatti.      But what does Michael Avenatti            24   reports lawsuits every day of the week.         If the lawsuit is

25   hear?    Hey, Boies Schiller appreciates that Mr. Franklin's               25   public, you can talk about it.       It's in the media.       The Adidas

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1    lawsuit was in the public.      For God's sake, Michael Avenatti's         1    course of the trial how much Boies Schiller charged Nike for

2    indictment is in the media.      We have heard all about that here.        2    the internal investigation that produced not a single person

3    Lawsuits are public and there is absolutely nothing wrong with             3    being fired, not a single finding of wrongdoing, what we call a

4    Michael Avenatti telling the truth, which is if we don't sell              4    whitewash.

5    the case, this is going to be all over the media.          If it's all     5               Finally, finally, Boies Schiller lawyer Scott Wilson

6    over the media, the stock market might react.         That's the           6    says:    It can cost 10 to $20 million.       Well, if you're the

7    truth.    That's reality.                                                  7    lawyer for the other side, Mr. Avenatti here is 10 to $20

8               Now, he gave a prediction.      He doesn't really know          8    million.    That's what my opposing counsel was saying it would

9    what the stock market will do.       Nobody does.    But he said, it       9    cost.    So Avenatti comes back and says:       OK, here is the deal.

10   could knock off billions of dollars of market cap, creating                10   A million five for my client, internal investigation is going

11   urgency.    You all want to settle this case.                              11   to cost a minimum of 15 million right in the middle of that

12              In a recorded meeting the next day the Boies lawyers            12   sweet spot that Boies Schiller had said was what they could

13   want to get Michael Avenatti to put a number on that internal              13   charge for something like this.        It will be a maximum of 25

14   investigation.    How much?    I think we will show the FBI and            14   million.    12 million down.     Take that back to your client.

15   Boies were going to say:      How do we get Avenatti to give a             15              Remember, these are negotiations.        I think a dozen

16   number so we can get it on tape?       Avenatti says:     I'll take        16   times the lawyers for Boies Schiller said:          Hey, we don't have

17   whatever Boies Schiller would charge.        He lets them set the          17   authority here.     We are just chitchatting.       This is just talk.

18   price.    You will hear five times Avenatti says to Boies                  18   We have got to talk to corporate.        We have got to talk to the

19   Schiller lawyers:     Hey, stop.    How much would Boies Schiller          19   board.    We have got to talk to the whole world before we can

20   charge?    That's good enough for me.      Boies Schiller won't give       20   get approval.    But just tell us, Mr. Avenatti, what is your

21   a number.    He asks again.    He asks a third, a fourth, a fifth          21   ask.    We don't have any authority to give you what you want and

22   time.    How much would Boies Schiller charge?                             22   what your client wants.      Avenatti gives the ask.       And still no

23              Now, in truth, Boies Schiller has done investigations           23   one from Boies Schiller is denying the truth of the allegations

24   in the tens of millions of dollars.        They did an internal            24   that Michael Avenatti advances on behalf of his client.

25   investigation on this matter.       We will find out during the            25              So a third time, a third time they meet, March 21, in

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1    person.    And that's when Avenatti puts the number on it based            1    be available to the feds by way of a subpoena.          This was not

2    on what Boies Schiller said they would charge.                             2    buying silence.     This was simply settling Gary Franklin's

3               But that's not good enough for Boies Schiller and the           3    claims.

4    FBI.    They want to get more.     They want to get him on tape            4               This would have to be signed off by everyone at Nike,

5    again.    So now Boies Schiller says:      Hey, Avenatti, listen.          5    signed off by everyone at Boies Schiller, signed off by Mr.

6    What if you and Geragos don't do the internal investigation?               6    Franklin, signed off by Avenatti.        It would all be paper.        It

7    Why don't we just do one big number, no internal investigation?            7    would be real.     It wouldn't be like those fake invoices that

8    Avenatti and Geragos say stand by and step outside of the                  8    Nike had been doing and no heads had rolled over up until then.

9    negotiating room.     They spend five minutes caucusing, the two           9               That was March 21 and the arrangement was that

10   lawyers.                                                                   10   Avenatti would come back on a Monday -- I think the 21st was a

11              They come back and they say:      Look, if you want a           11   Thursday -- Avenatti was scheduled to come back on Monday to

12   settlement where you all handle the investigation, Boies                   12   hear the reaction of Boies Schiller to the two proposals, 22

13   Schiller deals with it, Boies Schiller has to self-report to               13   and a half million, you guys do the internal investigation,

14   the feds, you want Franklin's claims to be settled, he throws a            14   Boies, or one and a half million plus 15 million, whatever the

15   number out, 22 and a half million dollars.         That would be a         15   terms were if we have to do the internal investigation.               Get

16   great payday for Mr. Franklin, wouldn't it.         And it would be        16   back to us.

17   paper.    Avenatti brings a settlement document, a draft, a                17              But they didn't get back to Michael Avenatti because

18   settlement agreement that leaves the number blank.          Insert here    18   Avenatti gets arrested.      The FBI arrests him as he is going to

19   number.    Again, no one on the other side has the authority to            19   the offices of Boies Schiller to hear what Boies Schiller has

20   settle.                                                                    20   to say.    The FBI and Boies Schiller had worked together, got

21              So Avenatti and Geragos propose 22 and a half million           21   Avenatti arrested so they could get out in front of Gary

22   dollars.    The confidentiality clause would still allow Franklin          22   Franklin's claims.     They could get out in front of the truth.

23   to speak to the feds.     Nothing would be concealed from the              23              And yet no one from the FBI had ever spoken to Gary

24   Federal Government.     The only thing that would be confidential          24   Franklin at that point about what his wishes were.           They have

25   are the terms of the settlement, how much.         But even that would     25   spoken to Gary Franklin since then.        They have spoken to Jeff

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1    Auerbach since then.      You can imagine how those two men reacted          1              And who is coming to testify?         Lawyers who still work

2    when they found out that Avenatti was arrested.            They, of          2    for Nike.    To whom do you think they owe their allegiance to

3    course, became worried because they saw the media.                           3    when they take the witness stand?         They are here supposedly to

4               And you will likely find out that their testimony may             4    tell the truth.     But you know to whom they owe their

5    change since they met with Mr. Avenatti.          And this courtroom         5    allegiance.    The people who butter their bread.

6    will be a fight for credibility.        It will be a search for the          6              The government will try to paint a picture of Michael

7    truth by you.     Your job will be to watch them as they testify             7    Avenatti.    That because he had debts you should conclude that

8    and compare what they say now to what they said back then, when              8    he wasn't Avenatti, that he didn't perform the way that he

9    they were meeting with Mr. Avenatti, because we have it in hard              9    should have, his judgment was clouded by the debts that he

10   paper, what they were telling each other, what they shared with              10   needed to make money.      Avenatti in that room was Avenatti,

11   lawyers, what they shared with Avenatti.                                     11   whether he had debts or didn't have debts.           He was doing what

12              And I believe the truth is, they wanted Avenatti.                 12   Avenatti does.     That's what Franklin, that's what Auerbach

13   They wanted Avenatti to be Avenatti.         They were hiring Michael        13   wanted.

14   Avenatti to be Michael Avenatti.        And everybody knew who               14             Avenatti's debts are not the issue in this case.             This

15   Michael Avenatti was.      Boies Schiller knew who Michael Avenatti          15   is not a civil case.      This is not debt court.       We are in a

16   was.    That is why they were on red alert.                                  16   courtroom in a criminal case where someone's freedom is on the

17              You will also find out that the SEC, the Securities               17   line.   Michael Avenatti was hired by Franklin and Auerbach

18   and Exchange Commission, since Avenatti was arrested and all                 18   because they wanted him to be himself.          They knew what they

19   this became public, have opened an SEC investigation of Nike.                19   were buying for free, by the way, since they didn't give him

20   SEC, the Securities and Exchange Commission, they regulate                   20   any money.    They knew what they were getting and they knew that

21   public companies making sure that they are honest in their                   21   he was going to get paid by Nike, not by them.

22   filings.    That investigation has begun.        And the SEC, which is       22             Now, let me just say Mr. Avenatti is a courtroom

23   not the Department of Justice, the SEC is looking into the same              23   lawyer.   He is sitting here at my side.         You will see him from

24   evidence.    Whatever the Department of Justice got from Nike has            24   time to time passing me notes.        My brother Scott, part of the

25   been turned over to the SEC.                                                 25   defense team; Danya Perry; Mr. Lyon, who is handling the

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1    technology; Jose Quinon; Mike Dunlavy; George Barchini, you                  1    A.   I work at the law firm of DLA Piper here in Manhattan.

2    will see us all confer, and he is going to be Avenatti because               2    Q.   Where did you work previously to working at DLA Piper?

3    he is a lawyer, so he will participate with us, and you should               3    A.   Immediately prior to joining DLA Piper I worked at the law

4    expect to see him passing notes.        Nothing wrong with that.             4    firm of Boies Schiller Flexner, also here in Manhattan.

5               At the end of the trial it is for you to decide                   5    Q.   Are you familiar with the company Nike?

6    whether Michael Avenatti's aggressive, tenacious, demanding                  6    A.   Yes, I am.

7    behavior that you will listen to, you will hear about,                       7    Q.   How are you familiar with Nike?

8    constitutes a crime.      Michael Avenatti was being a lawyer                8    A.   Nike has been a client of mine for several years.

9    fighting for what he believed his client wanted.            And if it        9    Q.   Have you met an individual named Michael Avenatti?

10   meant he had to go up and grab the tiger by the tail and if it               10   A.   Yes, I have.

11   meant he could make a living doing it, so be it.            That's OK.       11   Q.   About when did you meet him?

12              Ladies and gentlemen, that's all I have.          Thank you.      12   A.   I met Mr. Avenatti in March of 2019.

13              THE COURT:    Is the government prepared to proceed?              13   Q.   And where were you?

14              MR. PODOLSKY:    Your Honor, at this time the government          14   A.   I was in the offices of another attorney on Fifth Avenue in

15   calls Scott Wilson.                                                          15   Manhattan.

16   SCOTT RONALD WILSON,                                                         16   Q.   Why were you there?

17          called as a witness by the government,                                17   A.   I was there because I had been asked to meet with

18          having been duly sworn, testified as follows:                         18   Mr. Avenatti and the other attorney at the request of my

19   DIRECT EXAMINATION                                                           19   client, Nike.

20   BY MR. PODOLSKY:                                                             20   Q.   We will get into detail, but at a high level, what happened

21   Q.   Good afternoon, Mr. Wilson.                                             21   when you met Mr. Avenatti?

22   A.   Good afternoon.                                                         22   A.   When I met Mr. Avenatti, he threatened to hold a press

23   Q.   What do you do for a living?                                            23   conference and go public with allegations that Nike had been

24   A.   I'm an attorney.                                                        24   involved in corruption in amateur basketball unless we paid him

25   Q.   Where do you work?                                                      25   off to the tune of millions of dollars.

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1    Q.   Did you speak with him more than once?                                  1    Q.   How long were you an associate at Boies Schiller?

2    A.   I spoke with Mr. Avenatti on three occasions.                           2    A.   From 2007 until the beginning of 2011.

3    Q.   Were any of those conversations recorded?                               3    Q.   What did you do at that point?

4    A.   The second and third were.                                              4    A.   I joined the New York Attorney General's office.

5    Q.   Do you see Michael Avenatti in the courtroom today?                     5    Q.   What was your position at the New York Attorney General's

6    A.   I do.                                                                   6    office?

7    Q.   Can you identify him by describing where he is sitting and              7    A.   I was, from 2011 to 2013, senior advisor and special

8    an article of clothing he is wearing.                                        8    counsel to the Attorney General.

9    A.   He is standing and he is wearing a blue tie.                            9    Q.   What were your duties and responsibilities in that

10             MR. PODOLSKY:     Your Honor, may the record reflect that          10   position?

11   the witness has identified the defendant.                                    11   A.   I was involved in overseeing criminal and civil

12             THE COURT:     The record will so reflect.                         12   investigations by the office, conducting investigations, and

13   Q.   Before we talk about those meetings or discussions in March             13   trying cases in court.

14   2019, I want to get into a little bit of background.                         14   Q.   What types of criminal investigations were you involved in?

15   A.   Sure.                                                                   15   A.   A variety of things.      Money laundering, public corruption,

16   Q.   When did you graduate from law school?                                  16   charities fraud.

17   A.   In 2007.                                                                17   Q.   You mentioned civil investigations as well.           What did you

18   Q.   Where did you work after you graduated?                                 18   mean by that?

19   A.   Immediately after graduating I joined the law firm of Boies             19   A.   Everything from investigations into securities fraud, to

20   Schiller.                                                                    20   environmental protection matters, to consumer protection cases.

21   Q.   What was your position at that time?                                    21   Q.   Just so we understand, what is the difference between a

22   A.   An associate attorney.                                                  22   criminal investigation and a civil investigation?

23   Q.   What does it mean to be an associate at a law firm?                     23   A.   Sure.   In both cases the office was investigating

24   A.   Associate is a junior attorney who works on cases, usually              24   violations of laws.      The criminal cases involved violations of

25   under the supervision of the partners.                                       25   laws that were punishable with criminal penalties, like fines

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1    or imprisonment.                                                             1    Schiller located?

2    Q.   And in the case of civil investigations, what are the                   2    A.   It's located at 55 Hudson Yards in Manhattan, which is on

3    consequences?                                                                3    34th Street between Tenth and Eleventh Avenues.

4    A.   Those are cases, again, where we would be investigating                 4    Q.   What type of work did you do as a partner at Boies

5    potential violation of laws.        The remedies that the office             5    Schiller?

6    could obtain on behalf of the public would include restitution,              6    A.   I primarily represented companies in connection with

7    changes in behavior by defendants, but not criminal fines or                 7    government investigations.       I conducted internal investigations

8    imprisonment.                                                                8    for companies.     And I also represented companies in civil

9    Q.   I believe you said that that office that you've been                    9    litigation.

10   referencing is the New York Attorney General's office.             Is that   10   Q.   Let me follow up first on the internal investigations.            Can

11   separate from the United States Attorney's Office?                           11   you explain what an internal investigation is.

12   A.   It is.   The New York Attorney General's office is a state              12   A.   Sure.   A company that has a sense that it may have been

13   agency, not a federal agency.                                                13   involved in wrongdoing one way or another may hire lawyers to

14   Q.   And approximately how long did you spend at the New York                14   gather facts through taking various steps within the company to

15   State Attorney General's office?                                             15   gather those facts and then provide advice to the company about

16   A.   Approximately three years.                                              16   the company's legal risk and whether the law has been violated.

17   Q.   What did you do at that point?                                          17   Q.   So we understand, when you're conducting an internal

18   A.   I rejoined the law firm of Boies Schiller.                              18   investigation, who is the client?         Who are you working for?

19   Q.   What was your position when you rejoined the firm?                      19   A.   The client is generally the company itself.

20   A.   When I went back to the firm I was a partner.                           20   Q.   What's the ultimate point or goal of an investigation,

21   Q.   What does it mean to be a partner of a law firm?                        21   generally speaking?

22   A.   It can mean different things at different firms.            It          22   A.   There may be different perspectives.         From my perspective,

23   generally means you are in charge of overseeing cases on behalf              23   the ultimate point is for the senior leadership of the company

24   of the clients of the law firm.                                              24   to obtain an understanding of what's happened at the company

25   Q.   Just a couple of background questions.          Where is Boies          25   and legal advice regarding whether what's happened would

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1    violate laws or otherwise expose the company to risk.                        1    A.   Yes.    Frequently.

2    Q.   Before we go on, let me ask one other question about                    2    Q.   And, generally, what steps might one take in that instance?

3    internal investigation.       What types of techniques or steps              3    A.   Sure.    Generally, I work with the client to understand

4    would you take, generally speaking, in an internal                           4    their perspective on the dispute, potentially communicate with

5    investigation of the type you conducted?                                     5    the other side regarding the opponent's view of the dispute,

6    A.   Sure.   First of all, it's generally internal, meaning                  6    and it's certainly possible that the party could work out their

7    you're looking at documents within the company, various                      7    differences before either side has decided to file a lawsuit

8    categories of documents.       Everything from payment records to            8    and go to court.

9    e-mails, potentially to text messages on employees' phones.                  9    Q.   Are you familiar with the term settlement or settlement

10   You're conducting interviews of employees who are asked to meet              10   negotiations?

11   with counsel for the company by the company.           Those would be        11   A.   Sure, yes.

12   the principal steps that are generally taken as part of an                   12   Q.   Can you just explain what that means?

13   internal investigation.                                                      13   A.   Sure.    These refer to discussions between two parties that

14   Q.   You referenced that you also, while at Boies Schiller, did              14   have a legal dispute about whether or not they can reach a

15   some work in civil litigation?                                               15   consensual resolution of that dispute without the need for

16   A.   I did, yes.                                                             16   litigation or without the need to continue litigation if it has

17   Q.   Just generally, so we can understand, what do you mean by               17   already been filed.

18   civil litigation?                                                            18   Q.   Have you been involved in settlement negotiations in your

19   A.   Sure.   Referring to when two parties in a dispute go to                19   line of work?

20   court to seek judicial resolution of that dispute and are                    20   A.   A number of times, yes.

21   represented by attorneys before the Court in that dispute.                   21   Q.   Are you familiar with the term mediation?

22   Q.   Do all disputes end up in court?                                        22   A.   I am, yes.

23   A.   No.                                                                     23   Q.   What is a mediation?

24   Q.   Are you occasionally brought in to help a client with a                 24   A.   Mediation could be viewed as a subcategory of settlement

25   dispute that's not in court?                                                 25   disputes -- excuse me -- settlement discussions where there is,

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1    however, a third party neutral present in the discussions,                   1                Do you recall that?

2    meaning it's not just the two parties arguing with each other.               2    A.   Yes, I do.

3    There is a neutral third party who has been invited to                       3    Q.   Was Nike a client of yours while you were at Boies

4    participate and mediate the parties' dispute.                                4    Schiller?

5    Q.   Who pays for that third party to come in and help resolve               5    A.   It was, yes.

6    the dispute?                                                                 6    Q.   Can you just explain, what does it mean to be a client?

7    A.   In a private dispute it's usually -- the question of who                7    A.   Sure.    So client is an individual or a company who has

8    pays for the mediator's time is usually resolved by agreement                8    entered into an agreement with a law firm to represent that

9    by the parties before the mediator is brought in.            And what's      9    client's interests, whether in dispute or settlement talk or

10   typical in my experience is the parties split the cost of the                10   any other endeavor.

11   mediator.                                                                    11   Q.   Who was your main contact at Nike?

12   Q.   Generally, how would parties select a mediator to help                  12   A.   Principally, a gentleman named Robert Leinwand.

13   resolve a dispute?                                                           13   Q.   And, generally, what was his position at Nike?

14   A.   Again, by agreement.      Each party might propose names of             14   A.   Mr. Leinwand is chief litigation counsel for the company

15   mediators they would like to work with or, in some instances,                15   charged with overseeing the litigation and investigations work

16   would go to a consulting firm that employ often retired judges               16   for Nike.

17   who are available to serve as mediators.                                     17   Q.   Is he an attorney?

18   Q.   I believe you said the mediator was a third-party neutral,              18   A.   He is, yes.

19   or something along those lines.        Can you explain what that             19   Q.   Is he an attorney in a law firm or is he employed directly

20   means, neutral?                                                              20   by Nike?

21   A.   Sure.   What would be typical is that the mediator is not               21   A.   He's an in-house attorney.       He is employed by the company.

22   affiliated with either party, and so it's a neutral arbiter of               22   He works at the company.

23   the dispute.                                                                 23   Q.   Just so for avoidance of doubt, what type of company is

24   Q.   Now, a few minutes ago you testified that Nike was a client             24   Nike?

25   of yours.                                                                    25   A.   Nike is a large publicly traded American company engaged in

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1    the business of manufacturing and selling footwear and athletic               1    Q.   Is Nike still a client of yours at DLA Piper?

2    apparel.                                                                      2    A.   It is, yes.

3    Q.    Where does Nike do business?                                            3    Q.   Now, at the beginning of your testimony you mentioned that

4    A.    Nike is headquartered outside of Portland, Oregon, but it               4    the defendant threatened to harm your client, Nike, in March of

5    does business throughout the United States and around the                     5    2019.

6    world.                                                                        6                Do you recall that?

7    Q.    You mentioned a few moments ago that it's publicly traded.              7    A.   I do, yes.

8    What did you mean by that?                                                    8    Q.   How did he threaten to harm?       What sort of harm did he

9    A.    So I meant by that that it is a company whose shares are                9    threaten?

10   available for purchase by members of the public on public                     10   A.   He threatened specifically to take billions of dollars off

11   securities markets.                                                           11   the market cap of the company by engaging in a media war to

12   Q.    Who can buy or own shares of Nike stock?                                12   publicize these allegations of corruption.

13   A.    Anyone who buys stock from an individual to a large public              13   Q.   And so we understand, what was the subject matter of the

14   pension fund, anyone who is in the market.                                    14   allegations?

15   Q.    You mentioned earlier that you currently work at DLA Piper.             15   A.   Sure.    He suggested that he had come into possession of

16   What is that?                                                                 16   evidence, that there were Nike employees who had been involved

17   A.    DLA Piper is a law firm, a large global law firm with                   17   in making payments to young basketball players that were

18   offices in more than 40 countries.                                            18   corrupt.

19   Q.    Approximately when did you join DLA Piper?                              19   Q.   Before we get further into that, I want to ask you some

20   A.    At the beginning of November of last year, 2019.                        20   background so I can understand why that might harm Nike.

21   Q.    Did you go directly from Boies Schiller to DLA Piper?                   21               What involvement does Nike have, if any, with amateur

22   A.    I did, yes.                                                             22   basketball?

23   Q.    Did your leaving Boies Schiller and joining DLA Piper have              23   A.   Nike certainly sells shoes and apparel to basketball

24   anything to do with the circumstances of this case?                           24   players all around the country, including amateur players, and,

25   A.    No, it did not.                                                         25   more specifically, it sponsors a prominent league for youth

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1    basketball players called the Elite Youth Basketball League.                  1    organizes?

2    Q.    What does it mean to sponsor that league?         What does Nike        2    A.   To my knowledge, it has a thick book of rules governing

3    do?                                                                           3    that subject matter.

4    A.    So the league is a tournament-style league in which 40                  4    Q.   At a very high level, may any player play for an NCAA team,

5    different teams participate, and Nike had sponsorship                         5    or are there particular rules about who may play?

6    agreements with each of those programs that field the teams.                  6    A.   One of the principal rules that I'm familiar with is that

7    And under the sponsorship agreements Nike provides product for                7    the player has to have maintained their amateur status to

8    the kids to wear and also money in many cases to defray the                   8    participate in the NCAA basketball.

9    expenses of those programs and having their kids participate in               9    Q.   What does amateur status mean?

10   the events.                                                                   10   A.   Amateur status is defined under a number of NCAA rules that

11   Q.    So you mentioned that it's kids playing in these leagues.               11   contain exceptions and subparts, but in general the player

12   What ages are we talking about?                                               12   can't have been paid to play basketball.          That would generally

13   A.    The EYBL teams that compete are 17-and-under teams.              But    13   cause the player to lose his amateur status.

14   the programs from which they are drawn also have children                     14   Q.   You say generally.     Are there some instances in which an

15   playing in earlier age brackets, so teenagers generally.                      15   amateur player can receive money but still not lose amateur

16   Q.    Are you familiar with what's known as the National                      16   status?

17   Collegiate Athletic Association?                                              17   A.   Yes.    There is a particular exception that I'm aware of for

18   A.    I have heard of it, yes.                                                18   players receiving money in connection with the reasonable

19   Q.    Also usually called the NCAA?                                           19   expenses that they incur in participating in something like the

20   A.    Right, yes.                                                             20   EYBL, the Elite Youth Basketball League.

21   Q.    Generally, what is the NCAA?                                            21   Q.   Just so I understand, as long as an EYBL player, that is, a

22   A.    The NCAA is an organization that organizes competition                  22   17-and-under player, maintains amateur status, that player

23   among college basketball teams.                                               23   could go on to play an at an NCAA school, is that correct?

24   Q.    Does the NCAA have any rules regarding who may play                     24   A.   That's my understanding, yes.

25   basketball in the competitions you have described that it                     25   Q.   Did there come a time when you learned of an investigation

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1    by the United States Attorney's Office in the Federal Bureau of              1    A.   My understanding is that among the colleges and

2    Investigation here in New York into payments made by athletic                2    universities considered to be strong in basketball, only a

3    companies to amateur basketball players?                                     3    couple of them are sponsored by Adidas and, therefore, I

4    A.   Yes.                                                                    4    suppose that the motivation that the government described in

5    Q.   Generally, how did you learn of that investigation?                     5    its charge was that it would contribute to the success of that

6    A.   I learned of the investigation from news reports of the                 6    school in competition and potentially lead that talented player

7    arrest of an Adidas executive.                                               7    to sign with Adidas as a sponsorship when that player went pro,

8    Q.   What is Adidas?                                                         8    if indeed that player went pro.

9    A.   Adidas is a company that, like Nike, is engaged in the                  9    Q.   To your understanding of the theory of that case, would it

10   manufacture and sale of shoes and athletic apparel.                          10   always be unlawful for Nike to give money to an EYBL player or

11   Q.   Do you recall approximately when you learned of the arrest              11   family of an EYBL player?

12   of an Adidas executive?                                                      12   A.   No.    My understanding under the theory of that case is that

13   A.   I do.    It was in September of 2017.                                   13   it would have had to have been a secret payment in exchange for

14   Q.   And can you explain what your understanding of what that                14   a player agreeing to go to a particular NCAA school.

15   investigation was concerned with?                                            15   Q.   Now, did there come a time when Nike received a subpoena

16   A.   My understanding of what the government charged in that                 16   from the United States Attorney's Office here in the Southern

17   case is that the Adidas executive was involved in secretly                   17   District of New York relating to its investigation into

18   bribing a player or the family of a player in exchange for that              18   Payments to amateur basketball players?

19   player agreeing to go to an NCAA school sponsored by Adidas.                 19   A.   Yes, it did.

20               THE COURT:   When you say a particular school, you mean          20   Q.   Do you recall when that was?

21   a college or a university?                                                   21   A.   I do.

22               THE WITNESS:   That's correct.                                   22   Q.   When was it?

23   Q.   And, to your understanding of that case, why would an                   23   A.   It was within 24 to 48 hours of the news of the Adidas

24   Adidas executive or employee pay a player to go to a particular              24   executive arrests breaking in the press.

25   college or university?                                                       25   Q.   And just, first, can you explain what a subpoena is?

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1    A.   Yes.    A subpoena is a written document that requests the              1    responding to this.

2    recipient to produce documents or sometimes testimony to the                 2    Q.   Again, generally, what steps are taken to respond to a

3    law enforcement agency that's issuing the subpoena.                          3    subpoena like this?

4    Q.   And for anyone who has not seen a subpoena, what does it                4    A.   Sure.    There are internal steps and there are external

5    look like?     What is it?                                                   5    steps.     On the internal side, counsel works with in-house

6    A.   It's usually pretty short.       The cover page would tell you          6    counsel to locate documents that might respond to the subpoena

7    what agency is requesting the documents or testimony, when they              7    and collect them and review them.         And externally counsel may

8    are due, to whom you should deliver them.          And after that cover      8    interact with the law enforcement office that's issued the

9    page there are usually instructions about how to bundle up                   9    subpoena to find out essentially what they are looking for.

10   electronic documents to the extent that the documents being                  10   Q.   In the case of the subpoena to Nike concerning amateur

11   sought are electronic.       And then following that there is                11   basketball, were you involved in responding to that subpoena?

12   typically a list of topics, meaning these are the topics of the              12   A.   Yes, I was.

13   documents that the government wants you to give them.                        13   Q.   Did attorneys interact with the United States Attorney's

14   Q.   Let's talk first at a general level.         When a company like        14   Office regarding what was requested by that subpoena?

15   Nike receives a subpoena, generally, what steps are taken in                 15   A.   Yes.

16   response?                                                                    16   Q.   At a high level what types of documents was that subpoena

17   A.   Large companies receive any number of subpoenas.            Depending   17   looking for?

18   on the perceived seriousness of it, they might engage outside                18   A.   The subpoena had approximately eight or nine numbered

19   counsel to help respond to the subpoena, or they might respond               19   items, topics, excuse me, that it was looking for.            But, in

20   to it internally using their own lawyers employed at the                     20   general, they related to the topic of payments to amateur or

21   company.                                                                     21   NCAA players.

22   Q.   Let's take the example of asking about an outside firm to               22   Q.   Did Nike provide documents to the government in response to

23   help.   Was Boies Schiller engaged in that kind of assistance                23   that subpoena?

24   for companies like Nike?                                                     24   A.   With the assistance of counsel, yes, it did.

25   A.   Yes.    In fact, we were engaged by Nike to assist in                   25   Q.   Did it provide all those documents at once or provide it

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1    over time?                                                                   1    A.   There were additional document productions in very early

2    A.   No.    The company made what we call rolling production,                2    2019, I believe February.

3    meaning an initial production, and then as more documents were               3    Q.   And what prompted the production that you recall began in

4    identified and ready to be produced, those were sent over as                 4    February?

5    well.                                                                        5    A.   There was very little contact with the U.S. Attorney's

6    Q.   I believe you testified a few moments ago that Nike                     6    Office in the second half of 2018.         But in January 2019, a

7    received the subpoena just after the Adidas executive was                    7    prosecutor with the office reached out to Boies Schiller and

8    arrested in September 2017.                                                  8    asked for production of additional documents with respect to

9                Do you recall approximately when Nike began producing            9    some specific youth basketball programs.

10   documents to the government?                                                 10   Q.   Were there any productions after that?

11   A.   I do.    Our first production was within several weeks of the           11   A.   Yes.

12   company's receipt of the subpoena.                                           12   Q.   What caused later production?

13   Q.   Now, did there come a time when Nike believed it had                    13   A.   In addition to producing the documents sought by that

14   complied with the subpoena and produced all the documents                    14   request, there were some small additional follow-up requests

15   requested?                                                                   15   from the prosecution.       And then later, after I met

16   A.   Yes.    In May of 2018, we informed the United States                   16   Mr. Avenatti, we produced additional documents as well.

17   Attorney's Office for the Southern District of New York that                 17   Q.   We will come back to that a little bit later.

18   Nike had substantially completed its production of documents                 18               I'll just ask one other bit of background quickly,

19   that the subpoena called for.                                                19   which is, has Nike been asked for documents relating to amateur

20   Q.   Now, if that was in May of 2018, did Nike at any time after             20   basketball by any other government agency?

21   that produce additional documents?                                           21   A.   Yes, it has.

22   A.   There were subsequent occasions on which we produced more               22   Q.   What agency is that?

23   documents.                                                                   23   A.   The United States Securities and Exchange Commission.

24   Q.   Do you remember approximately when after May 2018 Nike                  24   Q.   What is the Securities and Exchange Commission?

25   produced further documents?                                                  25   A.   The Securities and Exchange Commission, or the SEC, is a

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1    level regulator.     It's a federal agency charged with enforcing            1    somebody named Mark Geragos?

2    the nation's securities laws.                                                2    A.   Yes, I am.

3    Q.   And do you recall approximately when the SEC asked for                  3    Q.   Who is that?

4    documents?                                                                   4    A.   Mr. Geragos is the attorney whose office I mentioned

5    A.   I believe it was April of 2019.                                         5    earlier on Fifth Avenue in Manhattan, which is where I met

6    Q.   And, generally, what did they ask for?                                  6    Mr. Avenatti.

7    A.   Not too dissimilar from the U.S. Attorney's Office                      7    Q.   Did there come a time when you spoke to him?

8    subpoena.     The SEC asked for documents relating to payments to            8    A.   I first spoke to Mark Geragos in March of last year.

9    players.                                                                     9    Q.   Had you heard of Mark Geragos before the first time you

10   Q.   What is your understanding, if you have one, of what that               10   spoke to him in March?

11   SEC inquiry or request is about?                                             11   A.   Yes, I had.

12   A.   I understand it to be focused on the topic of the subpoena,             12   Q.   Just generally, what did you know about him?

13   payments to amateur players.        Beyond that, I don't know.               13   A.   I knew that he had represented celebrities in criminal

14   Q.   Do you know whether documents were requested only of Nike               14   defense matters in Los Angeles for at least the past couple of

15   in that investigation?                                                       15   decades, and I also knew that he had interacted with Nike in

16   A.   When we received the subpoena, I noted that the caption on              16   connection with the sponsorship agreement for an athlete that

17   the subpoena, including the name of the case or the name of the              17   he represented.

18   matter under which they issued the subpoena, was called in re                18               MR. PODOLSKY:   Let's pull up just for the witness for

19   or in the matter of something like athletic companies or                     19   the moment what has been marked for identification as

20   athletic apparel companies, which led me to believe that this                20   Government Exhibit 203.

21   was a request in connection with an investigation broader than               21   Q.   Mr. Wilson you should be able to see it on your screen.

22   just Nike.                                                                   22   Can you?

23   Q.   With that background in mind, let's now focus on March of               23   A.   I do, yes.

24   2019.                                                                        24   Q.   Do you recognize this document?

25               I want to start by asking you, are you familiar with             25   A.   Yes.

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1    Q.   What type of document is it?                                            1    A.   I did.

2    A.   It's an e-mail chain between myself and Mr. Geragos.                    2    Q.   And what's the date and time on that e-mail?

3    Q.   And what's the date of the top e-mail?                                  3    A.   It's dated Wednesday, March 13, 2019, at 10:20 a.m.

4    A.   The last e-mail is dated Thursday, March 14, 2019.                      4    Q.   Who is this e-mail to?

5                MR. PODOLSKY:   Your Honor, at this time the government          5    A.   It was to Mark Geragos.

6    offers Government Exhibit 203.                                               6    Q.   Why don't you go ahead and read, if you don't mind, the top

7                THE COURT:   Is there any objection?                             7    of the second page, what you wrote to Mr. Geragos.

8                MR. H. SREBNICK:    No objection.                                8    A.   Sure.    I wrote:   Dear Mr. Geragos, we are counsel to Nike,

9                THE COURT:   Government Exhibit 203 is received.                 9    and I am reaching out in response to your call to Casey Kaplan.

10               (Government Exhibit 203 received in evidence)                    10   Please let us know when today would be convenient to speak and

11               MR. PODOLSKY:   May I publish, your Honor?                       11   what number to call.      We should have some availability in the

12               THE COURT:   Yes.                                                12   early afternoon.     Regards, followed by my signature block.

13   Q.   Mr. Wilson, now that everyone can see what we are looking               13   Q.   Let me ask first, who is Casey Kaplan?

14   at, can you explain, what is this document?                                  14   A.   Casey Kaplan is a lawyer in the legal department of Nike.

15   A.   This is an e-mail chain that began when I reached out to                15   Q.   Why did you write this e-mail to Mark Geragos?

16   Mr. Geragos on Wednesday, March 13.                                          16   A.   I understood at this time that Mr. Geragos had reached out

17               MR. PODOLSKY:   So just to orient ourselves to the               17   to Mr. Kaplan indicating that Mr. Avenatti wanted a meeting

18   timeline here, Mr. Hamilton, can you bring up the bottom of the              18   with the company.

19   first page and the top of the second page.                                   19   Q.   At this point had you ever spoken or met with Mr. Avenatti?

20   Q.   Is what we are looking at now on the screen that goes over              20   A.   No.

21   the first to the second page the first e-mail in this chain,                 21   Q.   What did you know about him at this time?

22   Mr. Wilson?                                                                  22   A.   I was aware that he was an attorney in private practice in

23   A.   The first and the second, yes.                                          23   California and that he had represented individuals in a couple

24   Q.   Let's focus on the first.       Who wrote that bottom e-mail,           24   of high-profile matters.      And in connection with one or both of

25   the very first e-mail in the chain?                                          25   those matters he had appeared on television dozens of times.

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1    Q.   Now, did you speak to Mr. Geragos after you sent this                   1    Q.   What did you understand that to mean?

2    e-mail?                                                                      2    A.   Well, I understood that he had said he wouldn't meet with

3    A.   I did.    I was impatient to speak to him, so I called after            3    Boies Schiller.     He wanted to meet with someone from the

4    I sent the e-mail and he had not responded.                                  4    company.     Usually, one of the benefits of sending your outside

5    Q.   Why were you impatient to speak with him?                               5    lawyer to meet with someone is that that outside lawyer can

6    A.   We were pretty concerned and eager to find out what it was              6    always say, I have to check with my client before I can agree

7    that these guys wanted to talk to the company about.                         7    to anything.     So it suggested to me that he would have a

8    Q.   Why were you concerned and eager to find out?                           8    demand, and he wanted someone in the room from the company to

9    A.   Well, I understood that when Mr. Geragos had reached out to             9    hear that demand directly or potentially to be able to agree to

10   Mr. Kaplan, he had indicated that Mr. Avenatti was insisting on              10   it or to respond to it on the spot.

11   meeting with someone from the company.          And, in my experience,       11   Q.   Now, who participated in the call that you referenced a few

12   when a plaintiff's attorney wants a meeting, it's not to give                12   moments ago with Mr. Geragos after you sent this e-mail?

13   you something.     It's to ask you for something.                            13   A.   I called Mr. Geragos on speaker phone, and I had a junior

14   Q.   Let me just ask one or two follow-ups on what you just                  14   associate in my office sit in on the call to take notes.

15   said.                                                                        15   Q.   Is that common practice, to have a note taker?

16               First of all, you mentioned plaintiff's attorney.                16   A.   I don't know if it is everyone's practice.         It's certainly

17   What did you mean by that?                                                   17   my practice.

18   A.   I meant an attorney who typically represents plaintiffs,                18   Q.   And what did Geragos say on that phone call?

19   rather than defendants, in civil litigation.                                 19   A.   Mr. Geragos said that he was in Rhode Island participating

20   Q.   Who is the plaintiff's attorney you were referring to?                  20   in a mediation, that he was going to be back in New York the

21   A.   Mr. Avenatti.                                                           21   next day, and that he had something that we should talk about

22   Q.   You mentioned that it was your understanding that he had                22   that was too sensitive to discuss over the phone.

23   insisted on meeting with someone from the company.            Did I get      23   Q.   What was your reaction to him saying that it was too

24   that right?                                                                  24   sensitive to discuss over the phone?

25   A.   Yes.                                                                    25   A.   I think my pulse accelerated, and I was concerned.

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1    Q.   Why?                                                                   1    A.   No.

2    A.   In my experience, one of the only reasons to insist that               2    Q.   Did he mention any legal claim?

3    something can't be discussed over the phone is that you are                 3    A.   No, he did not.

4    concerned that the FBI or someone else may be listening to your             4    Q.   How were things left at the end of the call?

5    phone calls.                                                                5    A.   It was left that we would follow up over e-mail to set the

6    Q.   Did he tell you anything about what he wanted to speak to              6    location and time of the meeting he had requested.

7    you about?                                                                  7    Q.   Why don't we look back at the e-mail to orient ourselves.

8    A.   All Mr. Geragos was willing to say is that he had been                 8    Who wrote the very next e-mail on the chain?

9    shown some stuff or some documents, I don't remember which word             9    A.   The next e-mail was written by Mr. Geragos.

10   he used, that suggested that Nike might have an Adidas problem.             10   Q.   What did he say?

11   Q.   What did you understand Adidas problem to mean?                        11   A.   He wrote:   Thanks for reaching out and does late tomorrow

12   A.   He didn't elaborate on the call, but the context I had was             12   a.m. work.

13   that the arrest and subsequent conviction of the Adidas                     13   Q.   Was that sent before or after your phone call?

14   executive that we were talking about earlier was in the press               14   A.   This was after he and I had gotten off the phone.

15   around this time.                                                           15              MR. PODOLSKY:    If we can go back to the e-mail.          Maybe

16   Q.   Now, what, if anything, else do you recall Geragos saying              16   we can just blow up the top half.

17   about the meeting or discussion he wanted to have?                          17   Q.   Do you see that you then responded to his e-mail:          Yes.

18   A.   He suggested that we would have a mediated discussion.                 18   Could you do 11:30 a.m. at our offices at 55 Hudson Yards?

19   Q.   What did you understand mediated discussion to mean?                   19   A.   I see that, yes.

20   A.   At that time I didn't know what he meant and I didn't ask.             20   Q.   What is 55 Hudson Yards?

21   Q.   Did you understand the meeting that he was proposing to be             21   A.   That's the name of the office building where my office was.

22   a mediation?                                                                22   Q.   Do you see that Geragos responds:       Can you do 11:30 at my

23   A.   Since there had not been a client or claim identified, I               23   office at 256 Fifth Avenue?

24   didn't know what possibly we could be mediating, so no.                     24   A.   Yes, I see that.

25   Q.   Let me follow up on that.      Did he mention a client?                25   Q.   You respond.    How do you respond?

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1    A.   I wrote back:    Due to our schedules tomorrow, we will need           1    A.   On that call I think we talked a little bit where we were

2    to meet here if you would like to meet in person.                           2    going to meet, and I asked him who was going to attend.               He

3    Q.   Who wrote the next e-mail?                                             3    said that it would be Mr. Avenatti and him.         I asked him if

4    A.   I wrote again the next day when I had not heard back from              4    Mr. Avenatti was his client.       He said no.    There was a client.

5    him.                                                                        5    But that that client wasn't attending the meeting.

6    Q.   What did you write?                                                    6    Q.   Did you say who would attend from your side?

7    A.   I wrote:   Hi, Mark.    Should we expect you at 11:30 today or         7    A.   I told him that Mr. Leinwand would join me at the meeting.

8    do we need to reschedule.      Regards, Scott.                              8    Q.   Where did you understand this meeting would take place?

9    Q.   Did he respond?                                                        9    A.   He was insisting it take place at his office at that

10   A.   He responded in the afternoon also on Thursday.                        10   address on Fifth Avenue we were looking at.

11   Q.   To summarize, can you explain what happened between the                11   Q.   Is that here in morning?

12   call you have on the morning of Wednesday, March 13 and the                 12   A.   It is.   In the twenties.

13   following day, March 14?                                                    13   Q.   Where was Mr. Leinwand located at that time?

14   A.   Yeah.   We were supposed to meet on Thursday, but after I              14   A.   Mr. Leinwand was in Portland, Oregon.

15   had responded to his request that we do the meeting in his                  15   Q.   Why were you going to have Mr. Leinwand fly across the

16   office by saying I want to do it in my office, he just didn't               16   country for this meeting?

17   get back to me then before Thursday at 11:30 had come and gone.             17   A.   As I mentioned earlier, we were pretty much on red alert

18   Q.   Did you speak to him again?                                            18   because we were concerned, what do these guys want to meet

19   A.   I spoke to him again the next day after his last e-mail                19   about, what's the subject matter.        We wanted to find out what

20   here.   We spoke on Friday, March 15.                                       20   they had to say.     And so if he was going to insist on me

21   Q.   Who was on that call?                                                  21   bringing a client representative to the meeting, if that was

22   A.   I had the call with Mr. Geragos on speaker phone and I had,            22   the price of admission to the room to hear what they had to

23   I believe, a different junior associate at my law firm to sit               23   say, we decided we would do that.

24   in and take notes.                                                          24   Q.   Do you recall Geragos saying anything else on that call

25   Q.   What did Geragos say on that call?                                     25   about the subject matter of the meeting?

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1    A.   Only, again, that he was trying to be discreet, that it was            1    A.   There may have been an assistant coming in and out.              I

2    too sensitive to discuss over the phone, but that Nike would                2    don't have a strong recollection.

3    thank him or it would be good for Nike to take the meeting.                 3    Q.   Can you describe how people were arranged at the meeting,

4    Q.   How were things left at the end of that call?                          4    where people were sitting?

5    A.   It was left that we would meet at his offices on Tuesday of            5    A.   I sat at the head of the table, so the north end of the

6    the following week.                                                         6    table.   My client and my colleague sat to my left with their

7    Q.   And did you meet at his office on the Tuesday the following            7    backs facing the windows, their backs at Fifth Avenue.

8    week?                                                                       8    Mr. Geragos sat to my immediate right and next to him further

9    A.   I did, yes.                                                            9    down the table was where Mr. Avenatti was sitting.

10   Q.   Do you happen to recall the date of that meeting?                      10   Q.   Who did most of the talking at this meeting?

11   A.   It was Tuesday, March 19, 2019.                                        11   A.   I would say Mr. Avenatti and I did most of the talking.

12   Q.   Who was at that meeting?                                               12   Q.   Do you remember word for word everything that was said at

13   A.   I was accompanied by my client, Mr. Leinwand, and a junior             13   this meeting?

14   associate from my firm.      Also at the meeting were Mr. Avenatti          14   A.   No, I do not.

15   and Mr. Geragos.     There may have been someone else in                    15   Q.   Do you remember some of the words that were said?

16   Mr. Geragos' firm on the floor, but not attending the meeting               16   A.   I do, yes.

17   that we were having.                                                        17   Q.   Why do you remember some of the words that were said?

18   Q.   Can you describe the room that you were in?                            18   A.   This was a very unusual meeting for me to be taking.             Some

19   A.   Sure.   It was a conference room on the fourth floor of his            19   of the language was shocking.       Some of the language involved

20   building.    He told me at some point that he owned the building            20   expletives.    I was already very focused going into the meeting

21   with a conference room table parallel to Fifth Avenue, big,                 21   that I might be required to remember what was said because we

22   tall, bright windows overlooking Fifth Avenue and with an                   22   were dealing with a potentially volatile situation.

23   office adjacent to the conference room but blocked off by a                 23   Q.   Let's start talking about what happened at that meeting.

24   glass as a see-through wall.                                                24   To your recollection, what happened first when you sat down?

25   Q.   Was there anyone in that office while you were meeting?                25   A.   So as we were getting situated, I think there was some

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1    chitchat about our offices, Hudson Yards versus Fifth Avenue.               1    A.   Because I didn't know who the client might be.          I didn't

2    And the first thing I really remember is saying to Mr. Geragos              2    know what claim we might potentially be discussing settling.                I

3    and Mr. Avenatti:     Look, I'm here now.      I don't know what this       3    have never been asked to engage in a Rule 408 discussion

4    is about.    What's it about?                                               4    without knowing at least those things.

5    Q.   What was the response?                                                 5    Q.   Now, after asking about the meeting being a 408 discussion,

6    A.   Mr. Avenatti responded by asking me if this would be a 408             6    what did Avenatti say next?

7    discussion.                                                                 7    A.   Well, the next thing that happened was I responded yes,

8    Q.   What was your understanding of that phrase, 408 discussion?            8    that I would agree to it being a 408 discussion.

9    A.   I understood him to be referring to Rule 408 of the Federal            9    Q.   Why did you do that?

10   Rules of Evidence.                                                          10   A.   Again, just as our reasoning behind flying Mr. Leinwand

11   Q.   Just generally, what did you understand that would mean in             11   across the country, I wanted to get these guys to say whatever

12   this context?                                                               12   it was they wanted to say.

13   A.   Rule 408 is a rule that governs the admissibility of offers            13   Q.   And what happened after you agreed this was a Rule 408

14   and demands for settlement in a settlement talk.          So if you         14   discussion?

15   have a settlement conversation and you offer to settle a case               15   A.   So once I said that, Mr. Avenatti launched into what felt

16   for a hundred bucks and then later in court you are arguing                 16   like a rehearsed speech.      He began by saying he represented a

17   that the case is worth a million dollars, the other side can't              17   whistleblower, a whistleblower who had information about

18   say, aha, when we were having our settlement discussion you                 18   payments to amateur players by Nike, including in particular

19   agreed the case was worth $100.       It's a rule that provides some        19   the top pick in the 2018 NBA Draft.

20   confidentiality with respect to offers and demands made in a                20   Q.   How did you respond?

21   settlement talk.                                                            21   A.   I asked him who was the top pick in the 2018 NBA Draft.

22   Q.   Did you understand at this point that this was a settlement            22   Q.   Why did you ask him that?

23   discussion?                                                                 23   A.   To throw him off because he seemed like he was about to

24   A.   Absolutely not.                                                        24   launch into a speech.

25   Q.   Why not?                                                               25   Q.   What did he say next?

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1    A.    He seemed a little surprised that I asked, and he said it             1    family of the player in exchange for that player agreeing to go

2    was DeAndre Ayton.                                                          2    to a college or university sponsored by Adidas, yes.

3    Q.    What happened after that?                                             3    Q.   During this speech that you have described, what, if

4    A.    Then he resumed his remarks.      He said that he had documents       4    anything, did Mr. Avenatti say about the purpose of the

5    and other information from his whistleblower indicating that                5    payments that he was identifying as corrupt?

6    specific named Nike employees were involved in this misconduct,             6    A.   He didn't say anything about their purpose.

7    in this corruption.     He named two employees who he said were             7    Q.   What happened next after he laid out the speech and

8    involved.    He said a third employee was involved and a fourth             8    described -- named the employees that you mentioned?

9    employee might have been involved.        He said that the payments         9    A.   What I recall next, and the order of my recollection might

10   related to other players as well and later named two other                  10   not be perfect, was that he said Nike was going to do two

11   players.                                                                    11   things.     Nike was going to pay a civil settlement to his

12              And then I started to talk about -- he told me that he           12   client, who he said had breach of contract, tort, or other

13   was aware that Nike had received a grand jury subpoena in 2017,             13   claims, and Nike was going to hire Mr. Avenatti and Mark

14   that he suspected that Nike had not been forthcoming with the               14   Geragos to conduct an internal investigation into corruption in

15   government in its response to that subpoena and that could be a             15   basketball.

16   big problem for Nike as well.                                               16   Q.   Did he at that point explain any further what he meant by

17   Q.    Now, a little bit ago you testified about your                        17   those two requests or demands?

18   understanding of the government's theory in the Adidas case and             18   A.   Not at that point in the conversation, no.

19   investigation.                                                              19   Q.   You mentioned that he said that there was some kind of

20              Do you recall that?                                              20   breach of contract or tort claim.        Did he provide any other

21   A.    I do, yes.                                                            21   information about what legal claims his client might have?

22   Q.    You recall testifying regarding that the theory had to do             22   A.   He literally just used those words, the phrase breach of

23   with payments to get a player to go a particular college or                 23   contract, the phrase tort or tortious conduct or other claims.

24   university?                                                                 24   There was no elaboration or detail offered I remember because I

25   A.    Secret payments, hidden payments to the player or the                 25   was very focused on hearing what he might be trying to explain.

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1    Q.    What was your reaction to his description of his client's             1    BY MR. PODOLSKY:

2    claim?                                                                      2    Q.   Before we go on, you had testified that the beginning --

3    A.    It sounded like he didn't know whether or not his client in           3    the conversation began with a speech about corruption at Nike

4    fact had claims.                                                            4    and that Avenatti's client was a whistleblower.          Do I recall

5    Q.    What did you understand him to be saying when he said that            5    that correctly?

6    Nike would hire him and Geragos to do an internal                           6    A.   Yes.

7    investigation?                                                              7    Q.   Did he -- Avenatti explain what connection his client had

8    A.    I had initially no idea.     I was flabbergasted.      My jaw         8    to this so-called corruption?

9    nearly hit the table.                                                       9    A.   I asked a couple of times who the client was, and he

10   Q.    Why were you flabbergasted by that request?                           10   initially declined to identify him.        He said that he was the

11   A.    I have never asked a company to hire me that I'm adverse              11   head of a program or a program director who had been involved

12   to.    This is someone who is sitting down with me saying, I have           12   in these payments in connection with the Nike employees making

13   a client that's adverse to.       I'm opposing counsel.      One of the     13   the payments.

14   things I want from you is for your client to hire me.           That        14   Q.   What was your reaction to him telling you that his client

15   would be extremely unusual, in my experience.                               15   was involved in these payments that he was describing?

16              (Continued on next page)                                         16   A.   Again, I -- it made me highly suspicious that he might not

17                                                                               17   be representing his client, he might not be acting in the best

18                                                                               18   interest of his client because --

19                                                                               19               MR. H. SREBNICK:   Objection, your Honor.

20                                                                               20               THE COURT:   Sustained.

21                                                                               21               MR. H. SREBNICK:   Move to strike.

22                                                                               22               THE COURT:   Yes, the motion is granted.

23                                                                               23   BY MR. PODOLSKY:

24                                                                               24   Q.   Without going into what you thought Mr. Avenatti might be

25                                                                               25   thinking, what about describing a client as being involved in

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1    these payments surprised you?                                                1    earlier, the settlement and the internal investigation?

2    A.   I said it out loud in response to him.        I said that if you        2    A.    Well, initially I just started talking to buy myself time

3    believe your client has been involved in criminal activity,                  3    to think.    And the first thing I remember saying is, You know,

4    have you contacted the Department of Justice or the Securities               4    there's an Adidas executive who has been charged but the

5    and Exchange Commission.      I was shocked that he was, seemingly           5    company, Adidas, hasn't been charged with any criminal conduct.

6    out of the bat with somebody he has just met, implicating his                6    Q.    And how did he respond to that?

7    own client in criminal activity.        That struck me as an                 7    A.    I recall that he said that he was going to blow the lid on

8    incredibly odd thing for the representative of a client to do                8    this scandal, that it was going to be a major scandal, that he

9    on that client's behalf, saying my client is a criminal.                     9    had a reporter, Rebecca Ruiz, at the New York Times either on

10   Q.   What -- how did he respond to your question about whether               10   speed dial or on call and that he could reach out to her and

11   he had gone to one of the government agencies you referenced?                11   have her write a story at a moment's notice.

12   A.   He seemed surprised and indicated that he had not.                      12              He also said, when I was asking him for the identity

13   Q.   What happened next at this meeting?                                     13   of his client, that the identity of his client wasn't going to

14   A.   When he said that, I asked him, "How do I know you're not               14   drive the news coverage, that he could generate this negative

15   wearing a wire?"                                                             15   news coverage without him.

16   Q.   And how did he respond to that?                                         16   Q.    What did you understand him to mean by that?

17   A.   He responded by laughing and opening his jacket and saying,             17   A.    I understood him to be threatening -- and he elaborated on

18   in essence, or sum and substance, I'm not.                                   18   this later in the meeting -- that he would go to the press, use

19   Q.   Why did you ask him if he was wearing a wire?                           19   his other abilities and platforms to generate negative media

20   A.   Again, because I felt like what was happening was he was                20   attention to Nike on the basis not of his client's purported

21   saying I have someone with information that could be relevant                21   claim but, rather, on the basis of there being scandalous

22   to a criminal investigation by the Department of Justice and                 22   evidence of Nike employees participating in criminal conduct.

23   I'm not going to go public with that if you pay me off.               So I   23   Q.    When he explained that, what was your reaction?        Were you

24   felt like he was asking me to engage in something improper.                  24   concerned by that?

25   Q.   Now, how did you respond to the demands that you laid out               25   A.    Based on what I had seen in the past of his ability to

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1    generate media attention, I was very concerned, yes.                         1               THE COURT:   Mr. Podolsky, whenever you reach a

2    Q.   And what concerned you?                                                 2    convenient point.     We're currently at 4:30, but whenever is

3    A.   I felt like we had a full-blown corporate communications                3    convenient.

4    crisis through it, and the reason it concerned me was twofold.               4               MR. PODOLSKY:   Your Honor, this meeting does go on for

5    One, Nike is a consumer goods company with an exceptionally                  5    quite some time, so I am happy to break whenever the -- now if

6    strong brand, and it depends on the strength of its brand and                6    it is preferable to the Court, it is fine for me.

7    its popularity with consumers to sell shoes and T-shirts and                 7               THE COURT:   OK.   So, ladies and gentlemen, I am going

8    other athletic apparel.      So damaging the company's reputation            8    to break for the evening.      It's currently 4:30.

9    in the press could hurt its business.        And he had also                 9               As you will hear me say many times during the trial,

10   specifically threatened to harm the share price, to take                     10   don't discuss the case with anyone.       Don't do any research.

11   billions of dollars off the company's market cap.                            11   Don't read anything about it.       Don't listen to anything about

12   Q.   Did he say that?                                                        12   it.    Keep an open mind because there is more evidence to hear.

13   A.   He did.                                                                 13              We'll resume at 9:30 tomorrow morning.

14   Q.   What do you recall him saying?                                          14              Mr. Ruocco will lead you to the jury room.        Thank you

15   A.   That he would hold a press conference the next day and he               15   all very much.

16   would -- he could and would take billions of dollars off the                 16              THE CLERK:   All rise.

17   company's market cap.                                                        17              (Continued on next page)

18   Q.   I think used the term "market cap."        Did I hear that              18

19   correctly?                                                                   19

20   A.   Yes.                                                                    20

21   Q.   What does that mean?                                                    21

22   A.   "Market cap" refers to the value of a company calculated by             22

23   multiplying the number of shares outstanding times the dollar                23

24   value of the shares.     So if you had ten shares worth $100 each,           24

25   the company's market cap would be a thousand bucks.                          25

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1              (Jury not present)                                               1               Mr. Richenthal.

2              THE COURT:    Please be seated.                                  2               MR. RICHENTHAL:    Then the two matters to which I

3              All right.    What do we need to discuss now?                    3    referred.    This will be very brief.

4              MR. RICHENTHAL:     I don't know that we need to discuss         4               First, our team hasn't had a trial before your Honor.

5    anything.    I have one administrative question and then just one          5    Is it your Honor's expectation we should ask for permission to

6    note for the record.     I don't think either of them affects him,         6    publish, but once an exhibit is in evidence, we presume, absent

7    but I am happy to wait for him to leave.                                   7    some other reason --

8              MR. H. SREBNICK:     Judge, could we just invoke the rule        8               THE COURT:   I prefer that the lawyer ask before they

9    at this time --                                                            9    put something up.     So, if you wouldn't mind --

10             MR. RICHENTHAL:     I'm sorry, Mr. Srebnick, I don't know        10              MR. RICHENTHAL:    Of course.

11   what rule you are referring to.                                            11              THE COURT:   In 99.99 percent of the cases, I'm sure

12             MR. H. SREBNICK:     The rule that when the witness is on        12   there won't be any problem, but I would prefer that you ask.

13   the witness stand --                                                       13              MR. RICHENTHAL:    No problem.

14             THE COURT:    No, that doesn't apply until the witness           14              Then, second, consistent with an agreement that the

15   is on cross.    The government is free to talk to Mr. Wilson as            15   parties reached some time ago that I think was actually

16   much as they want between now and when he is on                            16   docketed, I just wanted to put on the record we transmitted to

17   cross-examination.                                                         17   the defense last night by email a complete list of all the

18             MR. H. SREBNICK:     Understood.    I just wanted to invoke      18   exhibits that we intend to offer during Mr. Wilson's direct

19   it now for the trial.     I understand how it applies.                     19   examination.

20             THE COURT:    So I think it's generally understood, at           20              THE COURT:   All right.    Now, I wanted to ask Ms. Perry

21   least in this district, that when a witness is on                          21   about this pending motion to quash a subpoena for documents

22   cross-examination, it is not permitted for them to speak with              22   that was addressed to Boies Schiller.

23   their lawyer.    So it sort of goes without saying that until the          23              And I wanted to understand from you, Ms. Perry, when

24   witness is on cross-examination, the lawyer is free to talk                24   you thought the documents that you are seeking, when it would

25   with their witness as much as they want.                                   25   be necessary for you to have them?       And the reason why I'm

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1    asking is I thought you suggested that you needed them for                 1               Now, if Mr. Homes is going to testify and Mr. Homes

2    purposes of Mr. Wilson.                                                    2    took notes, then I understand; but I'm struggling with

3              Did I misunderstand you?                                         3    understanding how notes that junior associates took of

4              MS. PERRY:    No, your Honor.                                    4    conversations, struggling to understand how those could be used

5              THE COURT:    OK.   So as I understand it, these are             5    to examine Mr. Wilson in some way.

6    notes that junior associates made of certain conversations.                6               MS. PERRY:   Yes, your Honor.

7              These aren't notes of Mr. Wilson's, right?                       7               Well, first, with respect to the notes right after the

8              MS. PERRY:    I don't know, your Honor.      I think he said     8    March 19th meeting, those will reflect his reaction to that

9    that they were produced by his junior associates.          We don't        9    meeting.    He was just talking about it on direct, he will talk

10   know yet the extent, if any, to which he was involved in the               10   about it more.    He has already said he was very concerned, he

11   drafts or editing.                                                         11   felt threatened.    The notes immediately follow the meeting, and

12             MR. SOBELMAN:    Your Honor, they were not his notes.            12   the government has said he was present at at least one of those

13             THE COURT:    I am sorry?                                        13   phone calls with the U.S. Attorney's Office.

14             MR. SOBELMAN:    Our understanding is they are not his           14              In any event, clearly his input went into the content

15   notes, and there has been no suggestion from Boies Schiller or             15   of those calls.    So his reaction, his take on these meetings

16   otherwise.    I think their motion set this out was in great               16   would have been incorporated into the calls.         But they will

17   detail.                                                                    17   reflect what he thought in almost realtime about what happened

18             THE COURT:    All right.    So just so I'm clear, you            18   at that meeting.    So, was he actually concerned?        Did he feel

19   think that your application, your motion, implicates Mr. Wilson            19   threatened?    And is that reflected in the almost, you know, I

20   in some fashion?    Or you think -- to put it another way, you             20   think the immediate transmission of what he says happened?

21   think you have a right to these notes to use in some fashion               21              THE COURT:   The problem is they are not his notes.

22   with Mr. Wilson?    Is that the theory?      Because the reason I'm        22   And so I don't understand what you would propose to do with

23   struggling is that if they are not his notes, obviously they               23   them.   They are not his notes.

24   couldn't be used to impeach him.       I'm not sure what the purpose       24              So suppose the associate wrote something different

25   is.                                                                        25   than what Mr. Wilson just testified to.        Let's just assume that

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1    arguendo.   So what exactly do you do with that?        You can't          1              MR. SKINNER:    Peter Skinner.     I am a lawyer for Nike.

2    impeach him with somebody else's notes.                                    2              THE COURT:    Yes.

3              MS. PERRY:    Well, your Honor, if he's testifying on            3              MR. SKINNER:    We will be here tomorrow.      If you have

4    direct how frightened and concerned he felt personally, you                4    questions about those notes, I am happy to answer them.

5    know, as a result of the conversation, and then if, you know,              5              THE COURT:    You are welcome to be here, and if you

6    within a matter of moments or hours he's saying something very             6    want to say something at 9 o'clock, I am happy to hear you at

7    different to the U.S. Attorney's Office, according to notes of             7    that time.

8    the conversation in which he was present, and if they reflect              8              MR. SKINNER:    Thank you, your Honor.

9    something different, then I think we have a good faith basis to            9              THE COURT:    OK.

10   try and impeach him.     If he testifies different than what the           10             MS. PERRY:    Thank you, your Honor.

11   notes say, then, you know, we can handle that in our case in               11             MR. H. SREBNICK:     Your Honor, are we on the same

12   chief.   But I think it's highly relevant to his state of mind.            12   schedule, 9:30 to -- or 9 until what time tomorrow?

13             MR. RICHENTHAL:      This is like basic rules of evidence.       13             THE COURT:    So let me tell you that for tomorrow I

14   You can't confront one witness with another witness' notes.                14   would like to sit a regular day.       For Friday we will do the

15             THE COURT:    Yes.    I just -- that's why I'm asking the        15   9:30 to 2:30 that I told you about, and I want to see how much

16   question, because I still am struggling to understand how                  16   progress we make.    And then depending on the progress, we'll

17   Mr. Homes' notes could be used to impeach Mr. Wilson.          But I       17   make a decision about what our trial days are going to look

18   need to read the papers more carefully, and I will try to rule             18   like from that point forward.

19   on the motion tomorrow morning before we begin.         So I want the      19             Anything else?

20   lawyers here at 9 o'clock so I can rule.         I mean, obviously         20             MR. H. SREBNICK:     One moment, your Honor.

21   that is predicated on the -- the premise for that is that the              21             THE COURT:    Yes.

22   papers tell me everything I need to know about the application.            22             MR. H. SREBNICK:     Judge, we are going to remain here

23   If they do, I will rule on it at 9 tomorrow.                               23   until 5:30 with Mr. Avenatti with the marshals.

24             MR. SKINNER:    Your Honor.                                      24             THE COURT:    I hope so.

25             THE COURT:    Yes.                                               25             MR. H. SREBNICK:     Thank you.

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1              THE COURT:    Is that all right with the marshals?               1                             INDEX OF EXAMINATION

2              A MARSHAL:    Yes.                                               2    Examination of:                                      Page

3              THE COURT:    Thank you, sir.                                    3    SCOTT RONALD WILSON

4              Anything else?                                                   4    Direct By Mr. Podolsky . . . . . . . . . . . . 178

5              MR. RICHENTHAL:      No, your Honor.                             5                              GOVERNMENT EXHIBITS

6              THE COURT:    Anything else from the defense?                    6    Exhibit No.                                           Received

7              MR. H. SREBNICK:      No, your Honor.                            7     203   . . . . . . . . . . . . . . . . . . . . 200

8              THE COURT:    All right.    So we will resume at 9 a.m.          8

9    tomorrow.   Thank you.                                                     9

10             (Adjourned to 9 a.m. January 30, 2020)                           10

11                                                                              11

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1    UNITED STATES DISTRICT COURT                                             1               (Trial resumed; jury not present)
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x                                          2               THE COURT:   Be seated.
     UNITED STATES OF AMERICA,
3                                                                             3               I'm going to rule on Nike's motion to quash the
                  v.                           19 CR 373 (PGG)
4                                                                             4    subpoena for documents.
     MICHAEL AVENATTI,
5                                                                             5               On December 30, 2019, Defendant Avenatti served a Rule
                    Defendant.                 Trial
6    ------------------------------x                                          6    17(c) subpoena duces tecum on Boies Schiller Flexner, which is
                                               New York, N.Y.
7                                              January 30, 2020               7    counsel to Nike.    Citing docket number 139-1.   On January 13,
                                               9:18 a.m.
8    Before:                                                                  8    2020, Nike moved to quash the subpoena.     Citing docket numbers

9                                                                             9    138, 139
                            HON. PAUL G. GARDEPHE,
10                                                                            10              As a result of Defendant's agreement to narrow the
                                               District Judge
11                                             -and a Jury-                   11   scope of the subpoena (see Defense Brief (docket number 187) at

12                               APPEARANCES                                  12   pages 10 to 11; also the January 29, 2020 trial transcript at

13   GEOFFREY S. BERMAN                                                       13   pages 114 to 119 and 121 to 122), there are three categories of
          United States Attorney for the
14        Southern District of New York                                       14   materials in dispute:
     BY: MATTHEW D. PODOLSKY
15        DANIEL RICHENTHAL                                                   15              The first category is notes taken by Boies Schiller
          ROBERT B. SOBELMAN
16        Assistant United States Attorneys                                   16   associate Benjamin Homes of what was said during two telephone

17   BLACK SREBNICK KORNSPAN & STUMPF, P.A.                                   17   calls on March 20, 2019, and during a meeting on March 21, 2019
          Attorneys for Defendant
18   BY: HOWARD M. SREBNICK                                                   18   at Mark Geragos' Fifth Avenue office.     I understand that those
          -and-
19   SCOTT A. SREBNICK                                                        19   on the March 20 calls include Defendant Avenatti, Geragos, and
     JOSE M. QUINON
20   MICHAEL D. DUNLAVY                                                       20   Boies Schiller lawyers Scott Wilson and Ben Homes.    I
          -and-
21   PERRY GUHA, LLP                                                          21   understand that the March 21, 2019 meeting was attended by
     BY: E. DANYA PERRY
22        GEORGE BARCHINI                                                     22   Avenatti, Geragos, Wilson and Homes.     The March 20 telephone

23   Also Present:                                                            23   calls and the March 21, 2019 meeting were recorded by the FBI,
     DeLeassa Penland, Special Agent (USAO)
24   Andrew Hamilton, Paralegal                                               24   and transcripts of those recordings were produced to the
     Juliana Manrique, Paralegal
25   Michael Lyon, Trial Technician                                           25   defense long ago.    The government does not have the Homes'


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1    notes of the March 20 telephone calls and the March 21 meeting.          1    lawyer Scott Wilson is currently on the witness stand.    The

2               The second category of materials in dispute consists          2    government does not intend to call any other Boies Schiller

3    of notes that Homes took of what was said at an unrecorded               3    lawyer, with the possible exception of Homes, about whom it has

4    meeting on March 19, 2019, at Geragos' Fifth Avenue office.        I     4    not made a decision.    (Id.)

5    understand that the attendees at that meeting included                   5               Yesterday, defense counsel argued that Defendant is

6    Avenatti, Geragos, Nike in-house lawyer Robert Leinwand, and             6    entitled to the Homes and Battle notes, because they might

7    Boies Schiller lawyers Wilson and Homes.    The defendant already        7    contain information that could be used to impeach Wilson.

8    has Homes' handwritten and typed notes of the March 19, 2019             8    Citing the January 29, 2020 trial transcript at pages 221

9    meeting.    Defendant claims that he is also entitled to drafts          9    through 224.

10   (including metadata and edits by others) of Homes' notes of the          10              I have previously set forth the standard for Rule 17

11   March 19, 2019 meeting.    These materials are likewise not in           11   subpoenas, and I will not recount in detail the applicable

12   the possession of the government.                                        12   legal standards now.     Suffice it to say that the standards set

13              The third category of materials in dispute consists of        13   forth in United States v. Nixon, 418 U.S. 683 at 700 (1974),

14   notes taken by Boies Schiller associate Valecia Battle of two            14   applies to both Rule 17(c) subpoenas issued prior to trial and

15   telephone conversations between Assistant United States                  15   those issued at the time of trial.     See United States v.

16   Attorneys and Boies Schiller lawyers on March 19, 2019.      I was       16   Percoco, 2018 WL 9539131, at *2 (S.D.N.Y. June 14, 2018).

17   told yesterday that one of these telephone calls was quite               17   Pursuant to that standard, a defendant seeking to enforce a

18   brief while the other was more substantive.       Boies Schiller         18   Rule 17(c) subpoena must demonstrate relevancy, admissibility

19   lawyers Andrew Michaelson, Peter Skinner, Homes, Battle and              19   and specificity.    Citing Nixon, 418 U.S. at 700.   Where a

20   Wilson were on at least one of the calls.       The government said      20   party's Rule 17(c) subpoena seeks documents that could contain

21   yesterday that Wilson was on one of the calls only briefly.              21   impeachment material, that party, in order to meet the Nixon

22   The U.S. Attorney's Office does not have the Battle notes that           22   standard, must demonstrate that there is reason to believe that

23   Defendant seeks.    Citing January 29, 2020 voir dire transcript         23   the materials that party seeks could in fact be used to impeach

24   at pages 396 to 400.                                                     24   the witness.

25              I'll also note for the record that Boies Schiller             25              On the record as it stands now, there is no basis for


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1    me to require Boies Schiller to produce the Homes and Battle               1    those will come in by stipulation.     We're also guided by your

2    notes.   Notes taken by Homes and Battle are clearly not                   2    Honor's previous ruling and comments as to what Ms. Regnier

3    admissible at trial as direct evidence because they're hearsay.            3    could testify to and what's admissible on her direct testimony.

4    Moreover, Wilson can't be impeached with notes that someone                4    So we're happy to continue to discuss with the defense, but I'm

5    else prepared.                                                             5    not sure there is a live issue at this point with respect to

6               If the government were to call Homes to testify,                6    the financial evidence, at least on the government's direct

7    obviously this issue would be revisited, or if Defendant                   7    case.

8    developed a record showing that Wilson played some role in                 8               I think the only potentially outstanding issue there

9    editing notes prepared by Homes or Battle, that could affect               9    is:    I don't think we really finally joined issue or resolved

10   the determination.      But at present, there is no reason to              10   the FBI financial analyst who would put on evidence simply of

11   believe that Wilson played any role in editing the notes of                11   the bank account status of the defendant and his law firm at

12   either Homes or Battle.       Because there is no basis at this            12   the time of the conduct at issue here.     I'm not sure -- as I

13   point for me to find that Homes and Battle's notes are                     13   recall, the last thing the defense said on that was that they

14   admissible, or that their notes could be used to impeach                   14   wanted to discuss with their client.     I'm not sure there has

15   Wilson, Nike's motion to quash is granted without prejudice to             15   been a further opposition or comment on that person's

16   Defendant renewing its application -- renewing his application             16   testimony, which would not be until next week, in any case.

17   on the basis of a change in circumstances.                                 17              THE COURT:   Do you anticipate that the witness would

18              Is there any update with respect to the discussions             18   use charts of some sort?

19   between the parties about the financial evidence we talked                 19              MR. PODOLSKY:   My sense would be a very limited chart,

20   about earlier, or with respect to Professor Engstrom's                     20   which would simply summarize the bank account -- I suppose it

21   testimony?                                                                 21   would be the amounts in the account in early 2019 -- so

22              MR. PODOLSKY:   Your Honor, there haven't been further          22   January, February, March -- simply summarize the amounts.

23   discussions on the finances.       We have reached a stipulation as        23   Perhaps it would somehow summarize how much has gone in and

24   to the personal debts that were at issue specified by your                 24   out.    I think that would be the extent of it.

25   Honor in your prior ruling on what could come in, so I think               25              THE COURT:   Does the defense wish to comment on the


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1    bank account information and possible testimony of an FBI                  1               As you may recall, yesterday I asked several questions

2    analyst?                                                                   2    to Mr. Wilson about a grand jury subpoena received by Nike from

3               MR. S. SREBNICK:    I think I need to see more of what          3    the United States Attorney's Office.     I asked those in part

4    they're planning to do.       I understood that there was still            4    because Mr. Wilson also testified to yesterday afternoon

5    somewhat of a live issue about the scope of Ms. Regnier's                  5    Mr. Avenatti made reference to that grand jury subpoena in the

6    testimony and that we were going to speak further about it.                6    course of his discussions -- I will just call them discussions

7               Candidly, we just haven't had the chance with                   7    for now -- with Mr. Wilson.     I believe they are also referenced

8    everything happening.      I understood that she's come in next            8    in the recordings.

9    week at some point.      So, I plan to meet with them ASAP on that         9               I understand from the defense that they intend to

10   issue and see if there is any common ground.       If there are any        10   actually offer into evidence the subpoena itself.      We would

11   issues, we will bring them to the Court --                                 11   object to that on the basis that the defendant has never seen

12              THE COURT:   OK.                                                12   it, and it is, frankly, quite long and confusing.      It is

13              MR. S. SREBNICK:    -- as soon as possible.                     13   several pages of instructions on how to respond, how to reply.

14              THE COURT:   How about with respect to Professor                14   So we just -- we understand that the fact that there was a

15   Engstrom's proposed testimony?                                             15   subpoena is relevant.      I drew it out on direct.   We understand

16              MR. PODOLSKY:   We have begun discussions with the              16   that the defense is likely to cross-examine, and we haven't

17   defense on a stipulation that might remove the necessity of                17   objected to this on the defendant's knowledge -- excuse me, the

18   calling Professor Engstrom.       We haven't reached an agreement,         18   witness' knowledge that Nike was under investigation.      We just

19   but we will continue to work on it this week, hopefully to                 19   don't see how the document itself, which is frankly highly

20   resolve by next week, when she should be called.                           20   confusing for a lay jury, is relevant and should come into

21              THE COURT:   All right.   So the lawyers will keep me           21   evidence.

22   posted on those two issues.                                                22              MR. S. SREBNICK:   Judge, yesterday -- this is at page

23              Are there other issuers the lawyers want to raise.              23   193, 194 of the transcript from yesterday -- Mr. Podolsky, as

24              MR. PODOLSKY:   One small evidentiary issue for today,          24   he just indicated, did elicit from Mr. Wilson that the U.S.

25   your Honor.                                                                25   Attorney's Office had served Nike with a subpoena, asked them


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1    basically explain what a subpoena is.      That's at line 25 at             1    obviously.

2    page 193.                                                                   2               MR. PODOLSKY:   I will hand it up, your Honor.

3               Question, at line 4 of page 194:    "For anyone who has          3               (Pause)

4    not seen a subpoena, what does it look like?      What is it?"              4               THE COURT:   Is there going to be testimony about some

5               Mr. Wilson then answered what a subpoena looks like.             5    of the names that are mentioned in the subpoena, such AS

6               Mr. Podolsky asked him about the responses that were             6    Nassir, N-a-s-s-i-r, Little, Showtime, Hoops?      There is also a

7    made in response to the subpoena, what types of documents the               7    reference to the University of Arizona and to Merl, M-e-r-l,

8    subpoena was looking for, the timing of the production of                   8    Code.   Is there going to be testimony about these matters.

9    documents in response to the subpoena.      Those were all                  9               MR. PODOLSKY:   No, your Honor.   My understanding is

10   questions elicited by Mr. Podolsky on direct examination.                   10   that they have absolutely nothing to do with anything in this

11              We want the jury to actually see the subpoena, because           11   case.

12   we will cross-examine Mr. Wilson about production under the                 12              MR. S. SREBNICK:   Judge, I would propose that we

13   subpoena, whether it was timely production, whether at the time             13   redact some of those categories to the extent that they are not

14   that Mr. Franklin's claims were brought to the attention of the             14   pertinent to this case.

15    Boies lawyers in March of 2019, whether Boies had actually                 15              The paragraph that's actually relevant to this case is

16   sufficiently complied with the subpoena on Nike's behalf, the               16   paragraph number 3.     And I would like for the Court to

17   efforts that were then taken by Nike and by Boies to supplement             17   consider -- and I am happy to hand up the transcript from

18   the subpoena response in order to avoid any issues with the                 18   yesterday's direct testimony of Mr. Wilson, in which

19   U.S. Attorney's Office.     All of that we believe is relevant for          19   Mr. Podolsky specifically asked him about Nike's production in

20   cross-examination, and we want the jury to actually see the                 20   response to that particular category.     And Mr. Wilson testified

21   subpoena, category 3 of the subpoena, which directly involves               21   that by May of 2018, Nike's production was substantially

22   payments to amateur athletes.     And the government has gone into          22   complete, and thereafter there were a few additional

23   the subpoena.    We think the jury should be able to see it, and            23   productions that -- supplemental productions that Mr. Wilson

24   that's fodder for cross-examination.                                        24   made it seem were just a few documents that were produced

25              THE COURT:   I need to see a copy of the subpoena,               25   thereafter that were sort of not really a bulky production.        We


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1    know that that's simply not the case.                                       1    redacted.    I've indicated I'm troubled by lots of references to

2               By May of 2018, Nike had produced about 11,000                   2    people and organizations that won't be discussed at the trial,

3    documents.    After May of 2018, and predominantly after                    3    so it seems to me they might be appropriate to redact.

4    Mr. Avenatti was arrested in March of 20 -- after May of 2018,              4               With respect to the boilerplate at the beginning of

5    predominantly after March of 2019, Nike produced an additional              5    the subpoena about the definitions, instructions, I'm not sure

6    6,000 pages.    So, more than 33 percent of the production came             6    all of that is particularly relevant, but I'm not sure it's

7    after Mr. Avenatti was arrested, a year and a half after the                7    prejudicial either.

8    subpoena was issued.     So we have a very credible, we think               8               Yes.

9    really bullet-proof argument and evidence that what was                     9               MR. PODOLSKY:   I just want to just make a comment on

10   happening here was that Nike had not complied sufficiently with             10   what the defense said.     I'll be very brief, your Honor.

11   the subpoena, that Nike had been taking the position with the               11              The facts are much more complicated and, frankly,

12   U.S. Attorney's Office for quite some time that it had                      12   different than what defense counsel just represented.       And this

13   substantially complied, there is nothing to see here, that                  13   the issue with putting in the subpoena.      In fact, what happened

14   there was no corruption of amateur athletics by Nike.        And we         14   was Nike was in -- Nike's attorneys were in frequent contact

15   had proof -- we have proof that there was not substantial                   15   with the United States Attorney's Office to discuss what was

16   compliance and that Nike was in fact very concerned that it had             16   responsive to the subpoena.     And as Mr. Wilson testified to

17   not fully disclosed all of the conduct that's at issue in this              17   yesterday, they -- there were additional requests beyond the

18   case.                                                                       18   scope of the subpoena that Nike responded to.

19              THE COURT:   All right.   Well, let me say the obvious,          19              The concern with putting the subpoena itself in

20   which is that the government, to some extent, went into this in             20   evidence is that then defense counsel will go up to the jury

21   its examination already of Mr. Wilson.      So, I mean, the issue           21   and make their own argument about what is responsive to the

22   of the productions and when they happened, that's already been              22   subpoena or not, and the jury really has no ability to assess

23   laid before the jury.                                                       23   what is responsive to a grand jury subpoena in the abstract.

24              What I would suggest is that the lawyers discuss the             24              Now, we don't object to cross-examination on this

25   subpoena and particularly the parts of it that should be                    25   topic, and of course the defense is welcome to refresh


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1    Mr. Wilson's recollection about what was requested in the                  1    significant to the defense, and it may be that all of that can

2    subpoena, if they want to try to argue that they didn't comply.            2    be redacted.    It may be that it should be.      But the two of you

3    But we think that putting the actual subpoena language from                3    need to have a conversation about it.

4    which a lay jury really can't reach an appropriate conclusion              4               MR. S. SREBNICK:    Yes, your Honor.

5    would be confusing, prejudicial, and, frankly, a waste of time.            5               THE COURT:   The defense has identified one paragraph,

6               THE COURT:   I can't spend a lot of time on this now.           6    so far, that it thinks is actually relevant.        The rest of the

7    The jury is here.    I need to begin.   But you're going to need           7    material I'm not sure what their position is, and they may well

8    to tell me with specificity what language you think in the                 8    be amenable to just redacting it because they want to talk

9    subpoena is problematic, and then we'll have a conversation                9    about that one paragraph.      So it may be that the two of you can

10   about it.    We're not going to have an abstract discussion about          10   reach agreement on it.

11   it, because I will tell you, quite frankly, much of what's in              11              MR. PODOLSKY:   Absolutely, your Honor.

12   here I don't see as prejudicial at all.        And you chose to go         12              THE COURT:   OK.   We're ready, Mike?

13   into this, including the seriatim nature of the production.                13              THE CLERK:   Yes, your Honor.

14   So, I'm going to allow them to pursue that.        You've already          14              THE COURT:   All right.

15   raised that issue with the witness, so they're going to be                 15              MR. PODOLSKY:   Your Honor, would you like me to get

16   allowed to go into it, obviously.                                          16   the witness?

17              Now, if you think there is something prejudicial in             17              THE COURT:   Yes, please.   If the witness could take

18   the subpoena, we can talk about the language and we can talk               18   the stand.

19   about redacting it.     But an amorphous discussion, an abstract           19              (Continued on next page)

20   discussion about language in it that you think is difficult for            20

21   a jury to understand, that's not useful to me.                             21

22              MR. PODOLSKY:    Very well, your Honor.    I'm honestly         22

23   pointing to all of the instructions, including instruction 3,              23

24   but we are happy to --                                                     24

25              THE COURT:   It may be that the instructions aren't             25


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1               (Jury present)                                                  1    Mr. Geragos to conduct an internal investigation.

2    SCOTT RONALD WILSON,                                                       2    Q.   Did you understand those to be separate requirements?

3          Resumed, and testified further as follows:                           3    A.   Separate but both mandatory.      That was my understanding.

4               THE COURT:   Please be seated.                                  4    Q.   And when he explained or said that Nike would have to enter

5               Good morning, ladies and gentlemen.                             5    into a settlement with his client, what claims did you

6               We will continue with the direct examination of                 6    understand he was referring to?

7    Mr. Wilson.                                                                7    A.   I didn't have an understanding in any depth.       He said that

8               Mr. Wilson, you remain under oath.                              8    he believed his client had breach of contract, tort, and maybe

9               Please proceed.                                                 9    other claims.    That was all he said about that.

10              MR. PODOLSKY:    Thank you, your Honor.                         10   Q.   Did you have any understanding as to the value of those

11   DIRECT EXAMINATION (Resumed)                                               11   claims?

12   BY MR. PODOLSKY:                                                           12   A.   Not from what he said.     I was familiar with -- excuse me,

13   Q.   Mr. Wilson, yesterday when we broke we were in the middle             13   not at that time in the conversation.

14   of discussing a meeting that took place on March 19, 2019.          Do     14   Q.   And as to the second requirement, can you just explain to

15   you recall that?                                                           15   the best of your recollection exactly how he described it early

16   A.   Yes, I do.                                                            16   in the meeting?

17   Q.   And I want to focus -- I want to try to continue to take us           17   A.   He came back to this later, but early in the meeting what

18   through this meeting chronologically as best we can, so I want             18   he said was that Nike would hire himself and Mr. Geragos to

19   to continue our focus on really the beginning of the meeting               19   conduct an internal investigation into corruption in amateur

20   that you described yesterday.                                              20   basketball at Nike.

21              And you testified, I believe, that the defendant said           21   Q.   At that point, did he explain what would happen at the

22   that Nike would do two things.     What were those two things?             22   conclusion of such an investigation?

23   A.   He said that first Nike would enter into a settlement, pay            23   A.   Not that I recall.

24   a settlement to his client, the whistleblower to whom he had               24   Q.   And what did he explain would happen if Nike -- again,

25   referred, and, second, that Nike would hire the defendant and              25   focusing on the beginning of the meeting -- would happen if


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1    Nike did not agree to do those two things?                              1                THE COURT:   Now, when you say "a complaint," do you

2    A.    He talked about his intention to hold a press conference          2    understand the questioner to be referring to a legal complaint

3    the very next day.   He talked about the fact that he had a New         3    or some other kind of complaint?

4    York Times reporter on call or on speed dial and that she would         4                THE WITNESS:    I understood the question to be

5    write what he called and told her to write, and that between            5    referring to a written document filed in court, a legal

6    these things and other steps that he would take, he would be            6    complaint.

7    able to create a media scandal that would hurt the company,             7                THE COURT:   OK.

8    harm its stock price, and would persist for some time.                  8                MR. PODOLSKY:    Let me clarify, your Honor.

9    Q.    Did he explain what he was going to publicize through The         9    BY MR. PODOLSKY:

10   New York Times or other media?                                          10   Q.   What, if anything, did the defendant say about filing a

11   A.    What I recall is when I asked him, and I asked him a couple       11   lawsuit at that time?

12   of times, for the name of his client, he resisted answering             12   A.   He didn't say anything about that.

13   initially, and he said something to the effect that he didn't           13   Q.   Are you familiar with the term "complaint"?

14   think the name of his client was relevant to the media                  14   A.   Yes.

15   coverage, that that wasn't what was going to create this                15   Q.   What is a complaint in the legal world?

16   scandal.                                                                16   A.   A complaint is a written statement of facts followed by a

17   Q.    What did you understand he would publicize if not the name        17   description of the legal violations that the person filing the

18   of his client?                                                          18   complaint believes those facts establish.

19   A.    What he was emphasizing were the names of certain                 19   Q.   And what is the --

20   high-profile basketball players, the names of Nike employees,           20   A.   I say "facts" but I should say factual allegations, alleged

21   and these allegations that these employees had been involved in         21   facts.

22   bribing these players.                                                  22   Q.   And what is the purpose of a complaint?      When is a

23   Q.    What, if anything, did he say about filing a complaint?           23   complaint filed?

24   A.    He made no reference to filing a complaint or to a                24   A.   Filing a complaint is essentially the first step in getting

25   complaint at all.                                                       25   a court involved in a dispute.       That is how you initiate the


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1    lawsuit.                                                                1    to the DOJ or a government agency?

2    Q.    So with that definition in mind, what, if anything, did the       2    A.   He seemed visibly surprised and he responded in the

3    defendant say about filing a complaint?                                 3    negative, that he hadn't done that.

4    A.    He never said anything about filing a complaint on behalf         4    Q.   What happened next?

5    of his -- this whistleblower client to whom he referred.                5    A.   I asked him if he was wearing a wire.

6    Q.    What was the next thing that you recall happening in this         6    Q.   How did he respond to that?

7    meeting?                                                                7    A.   By opening his jacket like this, laughing, and saying, in

8    A.    After he had described these two demands?                         8    effect, no.

9    Q.    Yes.                                                              9    Q.   And what happened after he showed his jacket?

10   A.    I recall, as I mentioned yesterday, that I asked him if he        10   A.   So I was still reeling from these demands and talking a

11   was telling me that his client had been involved in bribery             11   little bit just to buy myself time to think.       So, I said a

12   with Nike employees, had he taken that information to the               12   couple of things.    One of the things I said was that while

13   Department of Justice or the SEC.                                       13   there had been Adidas individuals or an employee who had been

14   Q.    And why did you ask that?                                         14   charged, the company hadn't been charged with wrongdoing.

15   A.    My frame of mind at the time was that I was representing a        15   Q.   And what did he -- how did he respond?

16   company that had been cooperating with federal authorities for          16   A.   I recall him responding to that by emphasizing that he

17   a long time, and cooperating for a corporate -- for a company           17   could generate a scandal, he could hold this press conference.

18   under investigation means in my understanding sharing                   18   If I thought the Adidas scandal had been bad or Adidas had had

19   information with the government as you come into possession of          19   a problem, this was going to be a lot worse.       This was going to

20   it.    So one of the things that was in front of mind for me was        20   be one of the biggest sports scandals I don't recall if he said

21   whatever he is about to tell me about bribery, I'm going to             21   of the year or ever but it was going to be a big, big scandal.

22   have to turn around and tell the government immediately,                22   Q.   Let's just go back just for one moment.

23   because I'm working for a company that's cooperating with the           23               Why did you ask him if he was wearing a wire?

24   government.                                                             24   A.   It was, to my knowledge, public knowledge that Nike was

25   Q.    And how did he respond to your question regarding reporting       25   cooperating with the government.       And I say that because Nike


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1    had said a couple of times publicly, we are cooperating with           1    Q.   Now, I want to continue with the chronology.     I believe you

2    the government investigation.    So here I am sitting across from      2    testified a moment ago that you made reference to the fact that

3    a lawyer who to me seems to be asking me to get into a deal            3    Adidas, the company, had not been charged.     Do you recall that?

4    with him where information might not go to the government and          4    A.   Yes.

5    instead we might agree to keep it secret, or at least to keep          5    Q.   And so how did he respond to that question?

6    him from publicizing it, and frankly, I was slightly concerned         6    A.   He responded by returning to a description of his ability

7    that I was being asked to do something wrong and that maybe he         7    to make this a big public story.     He was responding, in

8    was recording because he wanted to get me in trouble.                  8    essence, if you thought it wasn't bad for Adidas, it's going to

9    Q.   Why did you think that he was asking to keep something            9    be a lot worse for Nike because I am going to be able to make

10   secret, as you said a moment ago?                                      10   it a lot worse.

11   A.   By that point in the meeting, I think the principal reason        11   Q.   What happened next?

12   I thought that was both the things that Mr. Geragos said about         12   A.   I said that Nike had an interest in three things.    I often

13   it being too sensitive to discuss in person, and then when I           13   like threes when I am speaking to a court or to an adversary.

14   came in and asked what is this all about, that Mr. Avenatti            14   I don't know that I knew the third one when I started talking,

15   wouldn't even agree to say what it was about until I had agreed        15   but I said we have an issue with three things.     The first --

16   that it was a confidential settlement discussion under this            16   and I don't know if this order is correct.     The first is we

17   federal rule I mentioned yesterday, Rule 408.                          17   have an interest in not being dragged through the mud in the

18   Q.   You also mentioned a moment ago that Mr. Avenatti said he         18   press.   That is not in the company's interest.    Second, the

19   would hold a press conference or contact The New York Times if         19   company has an interest in complying with the government's

20   you -- if Nike did not agree to the two demands.                       20   investigation.    And, third, the company has an interest in

21               What did you understand would happen at that point in      21   conducting an internal investigation in assessing its own

22   the meeting if Nike did agree to the two demands?                      22   conduct.

23   A.   I understood that it was an either/or.    If we agreed to the     23   Q.   So let me just walk through those quickly.

24   demands, that press conference, that media campaign, him going         24               The first one you mentioned was the company has an

25   public with these allegations would not happen.                        25   interest in not being dragged through the mud.     What did you


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1    mean by that?                                                          1    buy time?

2    A.   I meant that any company, and in particular Nike, would not       2    A.   Because the next day was not very far away, and I wanted to

3    welcome being the subject of a lot of negative media stories.          3    figure out what I was going to do in response to his demands.

4    Q.   Was that true?                                                    4    Q.   What happened after you responded with those three things?

5    A.   Absolutely.                                                       5    A.   So either my client, Mr. Leinwand, or I asked again for the

6    Q.   The second thing you mentioned a moment ago was that Nike         6    name of Mr. Avenatti's client.    We said that that was -- that

7    had an interest in complying with a government investigation.          7    was relevant and important to us in assessing what he was

8    Why did you say that?                                                  8    saying, and we also said that we wanted to review these

9    A.   Mr. Avenatti had speculated that Nike had received a grand        9    documents that he said he had as fast as possible.

10   jury subpoena and hadn't -- maybe hadn't been forthcoming with         10   Q.   How did Mr. Avenatti respond?

11   the government.    I wanted to make it clear that in fact the          11   A.   Eventually he named his client and then allowed me an

12   company was cooperating with the government.                           12   opportunity -- just me, he said -- to look at these documents.

13   Q.   And was that statement true?                                      13   Q.   We'll get to the documents in a moment.

14   A.   Yes.                                                              14               Who did he say his client was?

15   Q.   The third thing you mentioned was that Nike had an interest       15   A.   He said his client was Gary Franklin.

16   in conducting an internal investigation.     Why did you say that?     16   Q.   Did you know who that is?

17   A.   I said that because it was true, and also because I sensed        17   A.   I did.

18   that if I made him think, after he made these demands, that            18   Q.   Who is Gary Franklin?

19   there was no chance on this earth that the company was going to        19   A.   Mr. Franklin is a gentleman from the Los Angeles area who

20   hire him to do work for it, much less an internal                      20   had run a youth basketball program called Cal Supreme there for

21   investigation, that that might be the end of the meeting and he        21   a number of years and Cal Supreme had been a participant in the

22   might leave and hold his press conference and execute on the           22   UIBL, Nike's elite basketball league.

23   threat immediately.    I said it in part to not rule out what he       23   Q.   Did you have any other awareness of Mr. Franklin at that

24   was demanding for so as to buy time to think about what to do.         24   time before Mr. Avenatti mentioned him?

25   Q.   And why did you feel that in that moment that you needed to       25   A.   Not that I indicated or said in response to hearing the


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1    name, but yes.                                                         1    Q.   What happened next in the meeting?

2    Q.   Generally, what did you know?                                     2    A.   After Mr. Avenatti named his client, he let me look at a

3    A.   I knew that Mr. Franklin had certain dealings between him         3    small package of documents.    Mr. Geragos, who had been sitting

4    and Nike employees and others outside the company had been the         4    on my right, stood up and I swung around, sat next to

5    subject of repeated conversations between Boies Schiller, Nike         5    Mr. Avenatti and began looking at this package of documents.

6    and the Department of Justice going back for more than a year.         6    Q.   Walk me through exactly how it worked that you looked at

7    This was an individual whose program and relationship between          7    the documents.

8    that program, Nike and certain of his players was something            8    A.   Sure.    I was seated to the left of Mr. Avenatti.   It was a

9    that we had been proffering on to the investigators for well           9    package of documents maybe 30, 40 pages by thickness.     It was

10   over a year.    These were long, detailed meetings.                    10   stapled, as I recalled.    And I flipped through and looked at

11   Q.   What does "proffer" mean?                                         11   them and occasionally asked Mr. Avenatti clarifying questions

12   A.   Proffer is a term of art for when attorneys offer facts up        12   while I was reading.

13   to someone, in this instance to the government.                        13   Q.   Did Mr. Leinwand or the other Boies Schiller attorney with

14   Q.   What was your awareness, if any, as to Mr. Franklin's             14   you review the documents as well?

15   relationship with Nike as of March 2019?                               15   A.   No.   Mr. Avenatti, before I swung around and started

16   A.   My understanding was that Mr. Franklin's last sponsorship         16   looking at them, said that I could look at them.

17   agreement, or, rather, I should say Cal Supreme's last                 17   Q.   About how long did you look at them, you think?

18   sponsorship agreement with Nike, had run out at the end the            18   A.   I would say between five and 10 minutes.

19   last season, so it ran out during 2018.                                19   Q.   And were you able to take them with you?

20   Q.   And did you under -- what, if any, continued interaction          20   A.   No.

21   had Mr. Franklin had with Nike, to your understanding, in this         21   Q.   What do you recall seeing when he showed you these

22   meeting?                                                               22   documents?

23   A.   At that time, I don't think I was aware of recent                 23   A.   I recalled seeing a collection of e-mails, text messages,

24   interactions between Nike and Mr. Franklin.                            24   invoices, redacted bank statements grouped behind a table of

25              (Continued on next page)                                    25   contents type, what I call cover sheets.


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1    Q.   To the extent you could tell in that time, what did the           1    with my junior colleague to regurgitate, tell him as quickly as

2    documents seem to show?                                                2    I could everything I remembered seeing in the documents right

3    A.   It was a fleeting review.    They looked like they were           3    away because I envisioned needing to report as many of these

4    communications between Mr. Franklin and a Nike employee family         4    facts as I could remember to the government very promptly.

5    member of Mr. Ayton from 2016.     And then there were other           5    Q.   You mentioned that you wanted to regurgitate what you say.

6    communications involving Mr. Franklin from 2017.                       6    Was anyone taking notes on the documents while you were looking

7    Q.   What did the communications seem to be about, if you can          7    at them?

8    remember?                                                              8    A.   While I was looking at them, I was not taking notes and I'm

9    A.   The 2016 communications seemed to be about a trip that the        9    not aware that anyone else was.

10   Nike employee asked Mr. Franklin to take to Phoenix, Arizona to        10   Q.   Why didn't you take notes on what you saw?

11   meet with the mother, Mr. Ayton's mother.                              11   A.   Mr. Avenatti in fact spoke to my junior associate,

12   Q.   What did you do when you finished looking through the             12   instructed him to stop taking notes.

13   documents?                                                             13   Q.   You said that you wanted to speak to your client.    Why did

14   A.   I asked if I could have time to confer with my client             14   you want to speak to your client at this time?

15   privately.                                                             15   A.   As an attorney, everything I do is supposed to be within

16   Q.   Why did you ask that?                                             16   the bounds of the authority and direction given to me by the

17   A.   Two reasons, really.    First, I hadn't had a chance to speak     17   client.    So, for example, I couldn't have accepted these

18   to my client since this meeting began, and I wanted to confer          18   demands on my own decision.    So I wanted to speak to

19   with him about what we were going to do next.                          19   Mr. Leinwand to discuss how we were going to respond to what we

20              THE COURT:   When you say the client, you mean              20   had just heard when we returned to the meeting a few minutes

21   Leinwand?                                                              21   later.

22              THE WITNESS:   Mr. Leinwand.   The client who was in the    22   Q.   And did you meet with your client?

23   room.                                                                  23   A.   I did.

24              The second reason was because I hadn't taken notes          24   Q.   Where did you do that?

25   when I was looking at the documents, and I wanted to huddle            25   A.   So Mr. Geragos showed us some unfinished office space on


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1    the sixth floor of his building, and I remember making a                 1    that point, do you recall what Mr. Avenatti said?

2    half-joking comment about how did I know he didn't have that             2    A.   I don't recall if he used the word special or unique, but

3    floor wired so that they can listen to my conversation.                  3    he said that the day we were meeting or the next day, it was

4    Q.   Why did you make that joke?                                         4    the next day, the day of the press conference, it was unique or

5    A.   It was on my mind, this question of people listening in             5    important or special to him for two reasons.

6    because, as I mentioned, Mr. Geragos had said that this was all          6    Q.   Did he explain what those reasons were?

7    a topic too sensitive to discuss by phone.                               7    A.   He did.

8    Q.   About how long did you meet with your client in this                8    Q.   What were they?

9    separate space?                                                          9    A.   He said that this was an important date because it was on

10   A.   Five to 10 minutes.                                                 10   the eve of March Madness and it was on the eve of a Nike

11   Q.   What happened when you were done?                                   11   earnings call.

12   A.   We went back downstairs to the fourth floor.                        12   Q.   Let's take those in order.   Did you understand what March

13   Q.   And what happened when you went back downstairs?                    13   Madness was when he said it?

14   A.   First, I regained my composure because my discussion with           14   A.   Yes.

15   my client had been very intense.   But, again, I wanted to               15   Q.   What is that?

16   appear collected in front of Mr. Avenatti and Mr. Geragos.     And       16   A.   March Madness is one of the most watched sporting events of

17   when we came back we made the point, Mr. Leinwand and myself,            17   the year.    It is an annual competition of college basketball

18   to Mr. Geragos and Mr. Avenatti that this is a big company, and          18   teams.

19   we understood this threat to hold a press conference tomorrow,           19   Q.   What did you understand the significance to be, if any, of

20   but we were going to need more time in order to come up with a           20   the fact that March Madness was starting?

21   response to what he had said and what he had demanded.                   21   A.   My understanding is that many of Nike's customers were

22   Q.   Who responded to that?                                              22   interested in basketball, would be really intense and focused

23   A.   I recall that we made that point several times, and I               23   on basketball, about news around basketball at that time in

24   recall Mr. Avenatti responding.                                          24   March.

25   Q.   At the point when you came back to the meeting and made             25   Q.   And what was the second reason that day was significant or


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1    important?                                                               1    the five or six-hour time difference that was going to

2    A.   He said -- he pointed out that Nike had an earnings call            2    complicate our ability to get in touch with her and handle the

3    coming up on Thursday, the day after his threatened press                3    matter.

4    conference.                                                              4    Q.   Why did you say that to Mr. Avenatti?

5    Q.   What is your understanding of what an earnings call is?             5    A.   Both because it was true and also because I thought it

6    A.   My understanding is that on a quarterly basis large                 6    might strike him as a reasonable justification for giving us

7    companies will report their financial results to the markets,            7    more time.

8    and an earnings call is a call on which a company's leadership           8    Q.   How did he respond?

9    would share those results and take questions from analysts and           9    A.   He responded that she should be easily reachable by phone

10   others that followed the stock.                                          10   at any hour.    The phrase I specifically remember him using is,

11   Q.   What did you understand the significance of this earnings           11   this isn't complicated or, this shouldn't be complicated.     And

12   call to be with respect to that day for Mr. Avenatti?                    12   Mr. Leinwand responded half humorously that as a senior officer

13   A.   Paired with what he had said in the meeting about his               13   at the company she wasn't -- he might have to be available to

14   ability to take billions of dollars off the company's market             14   her by cell phone 24 hours a day, but that didn't necessarily

15   cap, that is, to tank or partially tank its stock price, I               15   mean he was going to be able to reach her in the middle of the

16   understood him to be noting that this was a moment when the              16   night in Europe.

17   stock price might be particularly volatile and particularly              17   Q.   What happened after the exchange about reaching the general

18   subject to the impact of news stories breaking right then.               18   counsel?

19   Q.   What happened after he told you about those two things?             19   A.   So that didn't seem to be resonating.   So I tried something

20   A.   I don't have a complete sequential recall of the meeting,           20   else that was on my mind.   I said to Mr. Avenatti, you know,

21   but I know that we tried a couple additional tacts to buy time,          21   you may not care about the company, you may not care about me.

22   convince him to hold off and give us more time.                          22   But from watching the Adidas mess, it seems like if you go live

23              The first was that we pointed out that Mr. Leinwand's         23   with allegations to name this or that 17-year-old or

24   boss, general counsel of Nike, was currently in Europe.     This         24   18-year-old player, you know, you could really destroy the life

25   was the middle of the afternoon on Tuesday, March 19.    So with         25   or destroy the career of some of these kids -- they are


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1    teenagers -- at a moment's notice.                                          1               (At sidebar)

2    Q.   How did he respond?                                                    2               MR. H. SREBNICK:   Judge, I expect that Mr. Podolsky is

3               MR. H. SREBNICK:    May we have a sidebar at this point?         3    going to want to elicit from Mr. Wilson that Mr. Avenatti's

4               THE COURT:   Yes.                                                4    response about Wilson's purported concern about the kids was

5               (Continued on next page)                                         5    that Mr. Avenatti said he doesn't give an expletive about the

6                                                                                6    kids.

7                                                                                7               Is that a fair summary?

8                                                                                8               MR. PODOLSKY:   Yes.

9                                                                                9               MR. H. SREBNICK:   We would move to preclude that kind

10                                                                               10   of testimony both as essentially irrelevant and, under 403,

11                                                                               11   more prejudicial than probative.      What Mr. Avenatti said, even

12                                                                               12   if he believed it, about the consequences flowing to unrelated

13                                                                               13   basketball players, some of whom are no longer kids, of course,

14                                                                               14   is besides the point of this case.

15                                                                               15              MR. PODOLSKY:   Your Honor, let me make a few

16                                                                               16   observations.

17                                                                               17              The first is, this was in 3500 that was given to the

18                                                                               18   defense weeks ago.      They raised it days ago, weeks after

19                                                                               19   getting the 3500.    We said we do intend to elicit this because

20                                                                               20   it is relevant, in our view, which I'll get to in a moment.

21                                                                               21              The defense decided not to raise this until I had

22                                                                               22   already asked the question, what did you say to Mr. Avenatti,

23                                                                               23   which they knew would elicit this response.      Now we have a

24                                                                               24   potentially misleading issue because the defense wants to

25                                                                               25   permit me to ask that question, but not the response by


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1    Mr. Avenatti.                                                               1    to make those arguments and explain exactly what Mr. Srebnick

2               Second, of course, this is relevant.    They are meeting         2    has just said.   They can make whatever arguments they want.

3    and where Mr. Avenatti is putting time pressure on these                    3               But they also opened on the idea that the defendant

4    demands, that is a fact of relevance.                                       4    was here all about justice and this was a negotiation and this

5               I believe the Second Circuit in Jackson pointed                  5    is just lawyers being lawyers.      The jury is entitled to hear

6    specifically to facts of time pressure as facts a jury could                6    the words that Mr. Avenatti used when he was making these

7    rely on in reaching a conclusion that the defendant extorted or             7    demands.    It goes directly to his intent and directly to the

8    attempted to extort the victim and that's exactly what this                 8    conduct.

9    goes to.    They asked for additional time and the defendant                9               THE COURT:   I think it's relevant to the issue of

10   responding saying, I don't care about this or that.      I am not           10   pressure.    The witness was clearly trying to come up with

11   giving you any other time.                                                  11   reasons to delay the press conference that Mr. Avenatti was

12              These are the defendant's own words, these are the               12   threatening to call, and he came up with a number of ideas.

13   defendant's own demands, and the jury is entitled to hear what              13              One was to say that the general counsel was in Europe

14   he said.                                                                    14   and the response to that, well, you can wake her up.       And then,

15              MR. H. SREBNICK:    I don't think that survives the Rule         15   as he said, when it became clear that his argument about the

16   403 and relevance objection.      Whatever Mr. Avenatti said, I             16   general counsel and waking her up did not have resonance, then

17   don't care about the kids, I don't give an expletive about the              17   he turned to, what about the effect that your press conference

18   kid has nothing to do with the issue of whether the demands are             18   might have on these players.      That was another effort to delay.

19   extorted or not.                                                            19              I think it's relevant for the jury to hear that

20              THE COURT:   What do you expect him to say?                      20   Mr. Avenatti would not delay and he was very focused on

21              MR. PODOLSKY:   I expect him to say, I don't give a              21   applying pressure to get resolution on the demands that he was

22   shit about the kids or I don't give a fuck about the kids.        I         22   making.    So the objection is overruled.

23   don't think he remembers which expletive it was.                            23              (Continued on next page)

24              Let me point out, the defense opened on the fact that            24

25   Mr. Avenatti uses expletives and is brash, and they are allowed             25


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1               (In open court)                                                1    A.   It was in connection with giving us more time.    I could

2    Q.    Mr. Wilson, a moment ago you referenced efforts to delay            2    give you more time, but I'm worried about you using that in

3    the press conference.      I just want to reorient us.   What did         3    some way to fuck me.

4    you say to try to delay the press conference at that point in             4    Q.   How did you respond?

5    the meeting?                                                              5    A.   I thought that an appealed humor might sort of help take

6    A.    Well, after Mr. Avenatti seemed unconvinced by issues of            6    some of the tension out of the situation.     I thought this might

7    where the general counsel was, as I said, I said to him I                 7    be his kind of humor.    So I said, in effect:   Michael, you're

8    thought he might not care about Nike, he might not care about             8    perfectly pretty, but I'm not trying to fuck you.

9    me, but that he should consider that if he went live with                 9    Q.   How did he respond to that?

10   allegations that this or that named player was part of                    10   A.   He laughed.   It did seem to resonate with him.

11   corruption that, as I had seen in the Adidas scandal, that                11   Q.   Now, at this point in the meeting, after you come back, did

12   could end the career, really harm the life of one of these kids           12   he explain any further what his demands were?

13   that he was naming.                                                       13   A.   He did.    He returned to and elaborated on those two demands

14   Q.    How did he respond to that?                                         14   that he had made before the break.

15   A.    I don't remember which of these two expletives he used, but         15   Q.   What did he say?

16   I remember he leaned forward and he shouted at me:       I don't          16   A.   He put a dollar amount on the first component, so he said

17   give a fuck about these kids, or, I don't give a shit about               17   that you are going to pay a settlement to my guy, to my client,

18   these kids.                                                               18   of $1.5 million.

19   Q.    What happened next?                                                 19   Q.   What was your action to that?

20   A.    I said again that the company needed time to respond and we         20   A.   That it seemed like a number plucked out of thin air.

21   would have to circle up with the right people.      It was fairly         21   Q.   Why?

22   tense at this point.      And Mr. Avenatti sort of sat back and           22   A.   I knew the dollar amount of Mr. Franklin's annual

23   said, you know, I'm considering this, but I'm thinking about              23   sponsorship agreement.    I knew that that agreement had run out.

24   it.    You are trying to find some way to fuck me.                        24   It reached the end of its time by its own terms.      And

25   Q.    What did you understand him to mean by that?                        25   Mr. Avenatti hadn't articulated any civil claim for damages


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1    that Mr. Franklin might have against the company.                         1    internal investigation, he would get a most favored nations

2    Q.    What else did he say at that point?                                 2    clause.

3               THE COURT:   Did you know the value of Franklin's              3    Q.   Did you know what that meant?

4    contract, annual contract, at that point?                                 4    A.   I had no idea what he meant until he went on and explained

5               THE WITNESS:   I did, yes.                                     5    what that meant to him.

6               THE COURT:   And what was it, to your understanding?           6    Q.   What did he say?

7               THE WITNESS:   The last contract he had was valued at          7    A.   He said that if Nike hired another law firm to do an

8    $72,000 in cash consideration per year.                                   8    internal investigation that he would get paid two times the

9               THE COURT:   Go ahead.                                         9    fees that Nike paid to that other law firm for actually doing

10   Q.    Just to round that out, you said per year.    How many years        10   work.   So I understood that to mean, if you hired another law

11   was the last contract for, if you know?                                   11   firm, they did a lot of work and it cost $5 million, he would

12   A.    I can't recall if it was two years or three years, but it           12   get paid $10 million or two times that for no work.

13   had an optional extension of one year, meaning the last year of           13   Q.   Did he put any parameters on what other law firm he was

14   his contract had actually been optionally, meaning Nike had the           14   referring to, what other law firm could do the work?

15   option to extend or not extend and, yes, they had extended it             15   A.   No.    He said if Nike hired any other law firm, another law

16   and given him the last optional year on his contract.      That was       16   firm.

17   the year that had finished with the 2018 season.                          17   Q.   Did he link this demand in some way to the legal claims

18              THE COURT:   Was that spring of 2018?                          18   that he said Gary Franklin had?

19              THE WITNESS:   The season runs into June, the June             19   A.   No.    He described these as two separate demands.     We had to

20   tournament for EYBL, the league.                                          20   satisfy both of them, but there was a first demand, 1.5 million

21   Q.    What else did Mr. Avenatti say at this point in the meeting         21   dollar settlement, and a second demand that he and Mr. Geragos

22   about his demands?                                                        22   be hired and paid or not hired and paid to do an internal

23   A.    Then he spoke about the second demand, that he and                  23   investigation.

24   Mr. Geragos be hired to conduct an internal investigation.         And    24   Q.   Now, aside from the requirement that if he didn't do the

25   he said that if Nike hired some other law firm to conduct an              25   work he would be paid twice as much as a firm that did, did he


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1    reference a cost to the internal investigation that he proposed         1    to be?

2    to do at this time?                                                     2    A.   That he thought he had leverage.   He thought he had

3    A.   He threw out a number in the course of the meeting, but he         3    explosive information and the platform and ability through

4    didn't explicitly link it to that component of his demand.              4    Twitter, through news occurrences, through calls to reporters

5    Q.   What did he say?                                                   5    who apparently he said would take his call at any time, to gin

6    A.   At some point in the meeting, it may have been before the          6    this up, gin these allegations up, true or false, into a

7    break, he told me a little story that started with a potential          7    massive media scandal for Nike.

8    $31 million settlement that apparently he offered or that a             8    Q.   What effect did you think this press conference or

9    company could have gotten early on.     But then the company            9    reporting to the press might have on Nike?

10   decided not to take this $31 million settlement and it later            10   A.   I thought that it could damage the brand's reputation in

11   got much, much worse for the company, and there was some bad            11   front of consumers.    I was aware there is a lot of speculation

12   result in the hundreds of millions of dollars.     And when I say       12   following the Adidas arrest that all the shoe companies must be

13   company, I don't mean Nike.   He named some other company that          13   doing this.     A lot of people think that's true.    I thought that

14   he said he had been adverse to in some prior work of his.               14   he could capitalize on that sentiments.      Even if this

15   Q.   Have you ever heard of a proposal like what Mr. Avenatti           15   information turned out later to not be true, even if the

16   described as a most favored nations clause before?                      16   government looked at the information and decided it wasn't

17   A.   No, I had not.                                                     17   criminal, that, regardless, the damage was going to be done.

18   Q.   Now, did the defendant at any time say that he himself had         18   There would be first-day damage, first-week damage that could

19   any claim against Nike?                                                 19   hurt the company's ability to sell shoes, damage the brand with

20   A.   No, he didn't say anything like that.                              20   consumers, and also, as he explicitly threatened repeatedly,

21   Q.   Did you understand him to himself have any type of legal           21   hurt the stock price, which hurts investors in the company.

22   claim against Nike?                                                     22   Q.   Did you believe at this time that he would in fact carry

23   A.   No.                                                                23   through with this threat if his demands were not met?

24   Q.   What did you understand the basis for his demand to pay him        24   A.   I recall telling him in the meeting that I understood the

25   or to hire him and Mr. Geragos to do an internal investigation          25   threat was real, and I was being sincere.


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1    Q.   Do you recall how he responded to that, if at all?                 1    Q.   What, if anything, do you recall the defendant saying about

2    A.   At this point in the meeting we were talking about the need        2    firing any employees of Nike?

3    for delay and I was trying to tell him, I get that you can do           3    A.   I don't recall that coming up in our meeting.

4    this, but give me more time to work with the company to see how         4    Q.   And you testified yesterday that this meeting began with

5    we are going to respond.   And I recall Mr. Leinwand, I believe,        5    Mr. Avenatti making a reference to 408 discussion.

6    saying, in effect, what's the difference holding off a couple           6                Do you recall that testimony?

7    of days.    It would still be during March Madness.                     7    A.   Yes.

8    Q.   By the end of the meeting did he agree to delay the press          8    Q.   By the end of this meeting did you believe that you had

9    conference or publicizing this information?                             9    engaged in settlement negotiations?

10   A.   No.   It was left ambiguous.   Mr. Geragos said he had to get      10   A.   No, absolutely not.

11   to Brooklyn, and we agreed that he and I would speak again              11   Q.   Why not?

12   later that day, but as far as I knew leaving the meeting, the           12   A.   I still hadn't heard a claim that Nike could potentially

13   press conference was still threatened for the following day,            13   settle, and I also didn't know what connection at all to any

14   for Wednesday.                                                          14   claim Mr. Franklin could have, the idea of us paying millions

15   Q.   Now, I asked this earlier about the beginning of the               15   of dollars to Mr. Avenatti and Mr. Geragos could possibly have.

16   meeting.    By the end of the meeting had Mr. Avenatti at any           16   It was not a settlement discussion from my perspective.

17   time made reference to the filing of a complaint?                       17   Q.   Now, about how long did that meeting last, if you can

18   A.   No, he had not.                                                    18   recall?

19   Q.   Now, you also have a few times said that there were two            19   A.   I believe, including the break where we up to the sixth

20   demands.    What, if anything, did the defendant say about              20   floor and back, between an hour and 90 minutes, maybe less.

21   Mr. Franklin's sponsorship deal with Nike?                              21   Q.   Did there come a time after that meeting when you spoke to

22   A.   I don't recall him saying anything about it, and I                 22   law enforcement?

23   really -- I don't recall him asking about it or asking that he          23   A.   Yes.

24   extend it or that he get a new one.     The only thing I recall         24   Q.   About how long after the meeting do you think that was?

25   asking him for with respect to Mr. Franklin was $1.5 million.           25   A.   Within several hours.


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1    Q.    What law enforcement agency did you contact?                        1    A.   I believe it was early evening, maybe around 6 or so.

2    A.    I called the U.S. Attorney's Office for the Southern                2    Q.   Who was on that call?

3    District of New York and specifically one of the prosecutors              3    A.   I was on the call, Mr. Geragos was on the call, and I

4    working on the investigation into payments to amateur players.            4    believe I took it on speaker phone and had one or more of my

5    Q.    Just generally, what was the subject of that call?                  5    former colleagues at Boies Schiller in the room with me.

6    A.    The subject of the call was me relaying to the prosecutor           6    Q.   What happened on that call?

7    the information, some of it new, that we had heard about                  7    A.   I was -- we were speaking as we planned at the end of the

8    Mr. Franklin and potentially payments involving Nike employees            8    in-person meeting about what was going to happen next, and

9    to players in his program, in Mr. Franklin's program, and a               9    Mr. Geragos told me that he had convinced Mr. Avenatti to sit

10   description of Mr. Avenatti's and Mr. Geragos' conduct and the            10   tight until Thursday.

11   demands that they had made.                                               11   Q.   Do you remember what he said?

12   Q.    You said some of the information was new.     What do you mean      12   A.   I'm sorry?

13   by that?                                                                  13   Q.   Do you remember how he said that?

14   A.    As I mentioned earlier, we have been disclosing to the              14   A.   That he had -- I believe he said that he was -- that he

15   government information about Mr. Franklin's program and players           15   gotten or told -- not prevailed upon, but got Mr. Avenatti to

16   in the program for well over a year.     Some of the names and            16   sit tight until Thursday.

17   individuals that I saw featured in the documents that                     17   Q.   What day of the week was that, if you can recall?

18   Mr. Avenatti briefly let me review were familiar to me.      Text         18   A.   We were speaking early on Tuesday evening.     So that

19   message or two in that package or maybe an e-mail looked                  19   represented to me maybe a one-day extension from Wednesday when

20   familiar to me, but much of it did not.       Much of it I had never      20   he was going to hold a press conference, to Thursday.

21   seen before and a lot of it was not Nike documents.                       21   Q.   And what did you understand would happen on Thursday if you

22   Q.    Did you speak to Avenatti or Geragos again that day, March          22   did not agree to his demands?

23   19?                                                                       23   A.   The threatened press conference and everything that would

24   A.    I had a call with Mr. Geragos later that day.                       24   come with it.

25   Q.    Do you remember about when during the day that was?                 25   Q.   Before we move on, you said a moment ago that you spoke to


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1    the United States Attorney's Office about the information that            1               MR. PODOLSKY:   Your Honor, may I approach the witness?

2    you believed was new, or at least new to you.                             2               THE COURT:   Yes.

3                 Do you recall that?                                          3    Q.   Mr. Wilson, I've handed you a disk that is labeled for

4    A.    Yes.                                                                4    identification as Government Exhibit 3.

5    Q.    In the meeting, the March 19 meeting that we went through           5               Do you recognize that disk?

6    yesterday and this morning, what, if anything, did Avenatti say           6    A.   Yes, I do.

7    Nike would have to report to the government if he were hired to           7    Q.   How do you recognize that disk?

8    conduct this internal investigation?                                      8    A.   I signed my initials on it.

9    A.    All I recall in that regard is that when he was referring           9    Q.   And what's contained on that disk?

10   to an internal investigation, he said it would be up to Nike              10   A.   This is an audio recording of the first telephone call I

11   what to do with the results of that internal investigation.               11   had with Mr. Geragos on Wednesday, the 20th of March.

12   Q.    What did you understand that to mean?                               12   Q.   Who recorded that phone call?

13   A.    I understood him to be suggesting that we could stick it in         13   A.   The FBI.

14   a drawer, if an internal investigation was done that the                  14   Q.   Did you agree to let the FBI record that phone call?

15   company could decide to not share it but just stick the results           15   A.   Yes, I did.

16   in a drawer.                                                              16              MR. PODOLSKY:   Let me just pause for a minute.

17   Q.    When we spoke a moment ago about another call you had on            17              Your Honor, I would like to read a brief portion of a

18   March 19, when was the next time you spoke to either Geragos or           18   stipulation into the record.

19   Avenatti?                                                                 19              If we could pull up what's marked as Government

20   A.    I spoke to Mr. Geragos again a couple of times following            20   Exhibit S10.

21   the day, Wednesday, March 20.                                             21              If we could publish this for the jury, your Honor.

22   Q.    Let's try to take them in order.   We will focus on the             22              THE COURT:   You are offering S10?

23   first call.      First of all, did you discuss these calls with law       23              MR. PODOLSKY:   I am, your Honor.

24   enforcement before you made them?                                         24              THE COURT:   Any objection?

25   A.    I did, yes.                                                         25              MR. H. SREBNICK:    No objection, your Honor.


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     K1UMAVE2                    Wilson - Direct                                  K1UMAVE2                      Wilson - Direct

1               THE COURT:   S10 is received and you may publish.            1                MR. PODOLSKY:    Your Honor, at this time we will be

2               (Government Exhibit S10 received in evidence)                2    offering transcripts as an aid to the jury.         Could Mr. Hampton

3               MR. PODOLSKY:   Thank you.                                   3    hand out binders of the transcripts to the jury?

4    Q.   I am just going to read a portion of this stipulation into         4                THE COURT:    Yes.   Before he does that, let me explain

5    the record.     The title at the top is stipulation regarding           5    the use of transcripts.

6    certain audio and video recordings and the first paragraph              6                Ladies and gentlemen, in just a moment the government

7    reads:                                                                  7    is going to be handing you binders that contain transcripts of

8               It is hereby stipulated and agreed, by and between the       8    certain conversations.       The transcripts are provided to you to

9    United States of America, by Geoffrey S. Berman, United States          9    assist you in listening to the recordings, but I want you to

10   Attorney for the Southern District of New York, and it gives            10   understand that the transcripts are only an aid to you.        They

11   the names of the prosecutors, and Michael Avenatti, the                 11   are not the evidence themselves.

12   defendant, by his attorneys, and provides their names that:             12               What matters here is what you hear on the recording,

13              1.   If called to testify, a representative from the         13   and you are certainly welcome to refer to the transcripts as an

14   Federal Bureau of Investigation, FBI, would testify as follows.         14   aid in doing so.    But ultimately what matters is what's on the

15              If we could skip to the second page and blow up              15   tape, what you hear on the tape.        And so, for example, if you

16   paragraph 1C.                                                           16   were to hear something on the tape that's not reflected in the

17              Government Exhibit 3 is a true and accurate copy of an       17   transcript, what you should be focused on and what constitutes

18   audio recording of a telephone call made at approximately 3:58          18   evidence is what you hear on the tape recording.

19   p.m. eastern time on March 20, 2019.                                    19               You can distribute the binders.

20              Your Honor, the government offers Government Exhibit 3       20               MR. PODOLSKY:    Thank you, your Honor.

21   at this time.                                                           21   Q.   Mr. Wilson, I believe the binder next to you has them as

22              THE COURT:   Any objection?                                  22   well, if you can confirm that.

23              MR. H. SREBNICK:   No, your Honor.                           23   A.   Yes.    Thank you.

24              THE COURT:   Government Exhibit 3 is received.               24               MR. PODOLSKY:    Your Honor, at this time the government

25              (Government Exhibit 3 received in evidence)                  25   will offer Government Exhibit 3T as an aid to the jury.


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1               THE COURT:   Any objection?                                  1    could publish Government Exhibit 3 at this point.

2               MR. H. SREBNICK:   One moment, your Honor.                   2                THE COURT:    Yes.   Go right ahead.

3               We have no objection to the government offering it and       3                MR. PODOLSKY:    You can start.

4    relying it in the way that your Honor described.      There may be      4                (Audio played)

5    from time to time a disagreement about a word or an                     5    Q.   I want to make sure we understand some parts of this.          If

6    unintelligible, but we don't adopt verbatim the content, but we         6    we look at the bottom of page 2 of the transcript, do you see

7    understand its permissible use as your Honor has described.             7    on line, I think it's 24 or 23 you say:         I think that -- I

8               THE COURT:   Ladies and gentlemen, just to reemphasize       8    think there is a way to get this done.        I think we can give you

9    what I said before, the transcript is only being provided to            9    much of what Michael asked for.

10   you as an aid and, as I've said, what matters here, what is             10               First of all, who is Michael in that sentence?

11   evidence is what you hear on the transcript.     And to the extent      11   A.   I was referring to Michael Avenatti.

12   you hear something different on the tape than what is reflected         12   Q.   What were you saying?

13   in the transcript, you must accept as evidence what you hear on         13   A.   I was saying -- I was trying to give the impression that

14   the recorded call.                                                      14   the company might agree to the demands that had been made at

15              (Government Exhibit 3T received in evidence)                 15   the meeting the day before.

16              MR. PODOLSKY:   If we could turn to the tab in the           16   Q.   At this point was the company going to agree to those

17   binder labeled 3T.                                                      17   demands?

18   Q.   Mr. Wilson, I'll just ask you, do you see on the cover page        18   A.   That was a complete nonstarter.       I was saying these things

19   it says date, March 20, 2019; time, 3:59 and 46 seconds p.m.?           19   in cooperation with law enforcement in order to buy more time.

20   A.   I do, yes.                                                         20   Q.   Buy more time for what?

21   Q.   Let's go ahead and turn to the first page of the actual            21   A.   Well, at this point, when I'm speaking to Mr. Geragos, as

22   transcript.     What I'd like to do is, we will play the recording      22   far as I know, Mr. Avenatti is still planning to hold his press

23   itself.    I may pause along the way to ask you some questions          23   conference the following day, Thursday, the 21st.

24   about what we are listening to.                                         24               MR. PODOLSKY:    Why don't we go ahead and just listen

25              MR. PODOLSKY:   With the judge's permission, if we           25   to the rest of the call, Mr. Hamilton.


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     K1UMAVE2                       Wilson - Direct                                    K1UMAVE2                     Wilson - Direct

1                 (Audio played)                                                  1    Q.   Do you see below you say:     I want to come to this meeting

2    Q.    Mr. Wilson, let me just ask you a couple of quick questions            2    with appropriate authority.

3    about this.      On page 4, line 6 to 7 Geragos says:      It's very         3                Do you see that?

4    difficult to put the wraps on Avenatti.                                      4    A.   Yes.

5                 What did you understand him to mean by that?                    5    Q.   What did you mean?

6    A.    The day before, when we had spoken and he told me that he              6    A.   I meant that, again, as outside counsel I don't have the

7    had prevailed upon Mr. Avenatti to not hold the press                        7    authority to bind the company to some deal unless the company

8    conference Wednesday, to sit tight until Thursday, I had said                8    has given me authority or authorization to do so.        So as a sort

9    something humorous to him, like you may be one of the only                   9    of term of art I was saying to him, the next time we get

10   people in America that can keep Mr. Avenatti under wraps.            And     10   together I want to be able to agree to a deal.        I want to have

11   Mr. Geragos had responded:        Yeah.   I try to keep a tight lid on       11   authority from my client to do a deal.

12   him at all times.                                                            12   Q.   Did you understand that the next time you met you would

13                I understood him here to be referring back to that              13   have to agree at that meeting to any deal?

14   conversation we'd had and then referring to his limited ability              14   A.   I don't know what the plan was from their perspective at

15   to hold Mr. Avenatti off from going public.                                  15   this point.     I was trying to find out how we could keep the

16   Q.    You see you respond below, line 14:        Rob, who you met with,      16   conversation going, again, from the objective of pushing back

17   has flown back to Beaverton.                                                 17   in time this threat that we were worried about.

18                Do you see that?                                                18   Q.   Did you speak again on March 20 with either Geragos or

19   A.    I do, yes.                                                             19   Avenatti?

20   Q.    Who is Rob?                                                            20   A.   I had a subsequent call again just with Mr. Geragos.

21   A.    Rob was referring to Mr. Leinwand at Nike, who joined me at            21   Q.   We will go through the same thing.

22   the meeting the day before.                                                  22               Your Honor, may I approach the witness again?

23   Q.    Where is Beaverton?                                                    23               THE COURT:   Yes.

24   A.    Beaverton is where Nike's headquarters is.        It's a few           24   Q.   Mr. Wilson, I've actually given you three disks this time.

25   minutes outside of Portland, Oregon.                                         25   If we could focus on the one that is labeled for identification


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1    as Government Exhibit 4.                                                     1                MR. PODOLSKY:   At this time, your Honor, under the

2                 Do you see that?                                                2    same description, we offer as an aid to the jury Government

3    A.    Yes.                                                                   3    Exhibit 4T.

4    Q.    Do you recognize that disk?                                            4                THE COURT:   Yes.

5    A.    I do.                                                                  5                (Government Exhibit 4T received in evidence)

6    Q.    What is it?                                                            6                THE COURT:   Under the same conditions I mentioned a

7    A.    This is a recording -- this is a disk containing an audio              7    moment ago, ladies and gentlemen.      You're welcome to use

8    recording of the next call I had with Mr. Geragos on the                     8    Government Exhibit 4T as an aid to you as you listen to the

9    afternoon of Wednesday, March 20.                                            9    conversation that's recorded on Government Exhibit 4.

10                MR. PODOLSKY:    Your Honor, may I republish Exhibit S10        10   Q.   Mr. Wilson, if you don't mind just turning to your binder

11   again, government exhibit?                                                   11   to Government Exhibit 4T.

12                THE COURT:   Yes.                                               12               Do you see that this one also has a date March 20,

13                MR. PODOLSKY:    Mr. Hamilton, if you can just pull that        13   2019 on it?

14   up.    We don't need to read the introductory material again.                14   A.   Yes.

15   But on the second page of 1D the stipulation reads:         Government       15               MR. PODOLSKY:   We can go ahead and just turn to the

16   Exhibit 4 is a true and accurate copy of an audio recording of               16   page with the text?

17   a telephone call made at approximately 4:49 p.m. eastern time                17               Your Honor, at this time may we publish Government

18   on March 20, 2019.                                                           18   Exhibit 4 to the jury.

19                Your Honor, the government offers Government Exhibit            19               THE COURT:   Yes.   Go right ahead.

20   4.                                                                           20               MR. PODOLSKY:   We will do the same thing.   I may pause

21                THE COURT:   Any objection?                                     21   it in the middle or play it to the end.        But why don't we

22                MR. H. SREBNICK:    One moment, your Honor.                     22   start.

23                No objection to the audio recording.                            23               (Audio recording)

24                THE COURT:   Government Exhibit 4 is received.                  24   Q.   Just briefly, to make sure we understand, if you look at

25                (Government Exhibit 4 received in evidence)                     25   the first page of text, the conversation on line 7, Geragos


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     K1UMAVE2                     Wilson - Direct                                  K1UMAVE2                      Wilson - Direct

1    says:   What can I tell him as to why we are not going to meet           1    Q.   How do you recognize it?

2    tomorrow, which is what he's demanding.                                  2    A.   I signed my initials on it.

3                You see that?                                                3    Q.   What's on that disk?

4    A.   Yes.                                                                4    A.   This is an audio recording of the third call I had with

5    Q.   Who did you understand Geragos to be referring to by him?           5    Mr. Geragos on the afternoon of Wednesday, March 20, which

6    A.   I understood Mr. Geragos to be saying that he had spoken to         6    Mr. Avenatti joined as well.

7    Mr. Avenatti.                                                            7                MR. PODOLSKY:    Your Honor, if we may pull up the

8    Q.   Do you see that Geragos says:     Why we are not going to meet      8    stipulation one more time.

9    tomorrow, which is what he is demanding?                                 9                THE COURT:   Yes.

10   A.   I see that, yeah.                                                   10               MR. PODOLSKY:    Mr. Hamilton, can you pull up

11   Q.   What was your understanding as to why Avenatti was                  11   Government Exhibit S10.       On the first page next to A it reads:

12   demanding to meet the next day?                                          12   Government Exhibit 1 is a true and accurate copy of an audio

13   A.   My best understanding was that he was trying to keep the            13   recording of a telephone call made at approximately 5:09 p.m.

14   pressure on.     He had indicated reluctance at the end of our           14   eastern time on March 20, 2019.

15   in-person meeting the prior day to give me any more time.     In         15               Your Honor, the government offers Government Exhibit 1

16   fact, he had said he was worried that if he gave me more time I          16   at this time.

17   would figure out some way to fuck him, whatever that meant.              17               THE COURT:   Any objection?

18   Q.   Did you speak to Geragos or Avenatti again that day?                18               MR. H. SREBNICK:    No, your Honor.

19   A.   Yes.    I had a third call initially just with Mr. Geragos,         19               THE COURT:   Government Exhibit 1 is received.

20   which then Mr. Avenatti joined.                                          20               (Government Exhibit 1 received in evidence)

21   Q.   If you could find the disk in front of you that's labeled           21               MR. PODOLSKY:    With the same understanding as before,

22   for identification as Government Exhibit 1.                              22   with respect to the transcript, the government offers

23   A.   I have it.                                                          23   Government Exhibit 1T as an aid to the jury.

24   Q.   Do you recognize that disk?                                         24               THE COURT:   Yes.   The jury can refer to government 1T

25   A.   I do.                                                               25   as an aid as it listens to Government Exhibit 1, the recording.


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     K1UMAVE2                     Wilson - Direct                                  K1udave3                      Wilson - direct

1                (Government Exhibit 1T received in evidence)                 1    Q.   Before we listen to it, I just want to be clear, who

2                MR. PODOLSKY:   Why don't we turn our binders to the         2    participated in this call?

3    tab marked 1T.                                                           3    A.   The speaking participants were myself, Mr. Geragos, and

4                Before we listen to it, I just want to be clear who          4    Mr. Avenatti.

5    participated in this call.                                               5                MR. PODOLSKY:    Why don't we go ahead -- with the

6                (Continued on next page)                                     6    Court's permission, may we publish Government Exhibit 1 at this

7                                                                             7    time?

8                                                                             8                THE COURT:   Yes.

9                                                                             9                MR. PODOLSKY:    Mr. Hamilton, if you could go ahead and

10                                                                            10   play it.

11                                                                            11               (Audio played)

12                                                                            12   BY MR. PODOLSKY:

13                                                                            13   Q.   Mr. Wilson, I just want to ask you a few questions about

14                                                                            14   what we heard.

15                                                                            15               Do you see the top of page 4 on the transcript?

16                                                                            16   A.   Yes.

17                                                                            17   Q.   Avenatti says, "I mean, we're gonna get a million five for

18                                                                            18   our guy.     "Do you see that?

19                                                                            19   A.   Yes.

20                                                                            20   Q.   What did you understand that to be a reference to?

21                                                                            21   A.   To the first component of his demand, the $1.5 million

22                                                                            22   settlement for Mr. Franklin.

23                                                                            23   Q.   And he continues, "and we're gonna be hired to handle the

24                                                                            24   internal investigation."        What did you understand that to be in

25                                                                            25   reference to?


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1    A.    The second component of his demand, that he and Mr. Geragos           1    demanding.

2    be hired to conduct an investigation.                                       2    Q.   Why do you say it was complicated?

3    Q.    Did you understand whether, pursuant to his demands, Nike             3    A.   As I said before, the company had been cooperating with the

4    could hire any other law firm or entity to conduct an internal              4    government for a long time, and it was our intention and we in

5    investigation?                                                              5    fact did share with the government what he had told us.    I

6    A.    It was getting confusing at this point, because one of the            6    never had a settlement discussion where I'm being asked to not

7    things he had said in our meeting the previous day was that                 7    only settle claims but they haven't been described to me.      I

8    Nike could hire someone else and then just have to pay him two              8    don't know what claims he thinks Mr. Franklin may have.    Maybe

9    times the money they paid that firm to actually do work, but                9    Mr. Franklin did have claims, but he didn't say what they were.

10   here he was saying we are going to be hired.        So there was --         10   Much less have I ever been asked by someone who is threatening

11   it wasn't entirely clear to me at this point.                               11   me, is threatening my client, that that client has to turn

12   Q.    And he says, "and if you don't wanna do that, we're done."            12   around and hire to do trusted, important legal work an attorney

13   What did you understand him to mean by that?                                13   that's been threatening them.    So, this was an extraordinarily

14   A.    He was going to stop talking to me.     He was going to go            14   odd and complicated situation.

15   public and try to gin up this scandal to hurt the company.                  15   Q.   You see, he says, on line -- beginning on line 18:   "A few

16   Q.    Then you see below, Avenatti says:    "I'm not fucking around         16   million dollars" -- when I say "he," I'm referring to

17   with this, and I'm not continuing to play games.       And I                17   Mr. Avenatti -- "A few million dollars doesn't move the needle

18   don't -- you know, this isn't complicated."                                 18   for me."     Do you see that?

19                Do you see that?                                               19   A.   Yes.

20   A.    Yes.                                                                  20   Q.   Which part of his demand did you understand that to be in

21   Q.    What was your reaction to the statement, "this isn't                  21   reference to?

22   complicated"?                                                               22   A.   I understood it to be in reference to the second part of

23   A.    That it was intended to put pressure on me, because in fact           23   his demand, particularly in light of the previous thing he had

24   it was very complicated and we'd only been talking for less                 24   said on this call, which was that it was worth more in exposure

25   than 24 hours.     So he seemed to be very angry and very                   25   to him to just blow the lid on this thing.    I understood him to


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     K1udave3                    Wilson - direct                                      K1udave3                   Wilson - direct

1    mean -- by saying "exposure" meaning raising -- further raising             1    he was saying it's not going to be something where the maximum

2    his media profile, and so that struck me as something that was              2    billing is going to be 3 or 5 or $7 million.

3    for his benefit.                                                            3    Q.   Now, just for some being background, what -- how does one

4    Q.    What did you understand him to mean when he said "A few               4    generally determine or estimate the cost of an internal

5    million dollars doesn't move the needle for me"?                            5    investigation?    What types of factors might come into play?

6    A.    That the amount of money I was likely to hear him demand              6    A.   The principal drivers of the cost would be the scope of the

7    shortly in fees that he would get paid under this second part               7    work required, and that would be driven by things like how many

8    of his demand was probably going to be more than a few million              8    years of conduct are you looking at, so how many years of

9    dollars because he was saying, in essence, I'm not going to be              9    emails that you have to review, how many employees are involved

10   satisfied with a few million dollars.                                       10   in the conduct and, therefore, how many employees might the

11   Q.    Do you see on the next page, he continues, "you're gonna              11   lawyers have to interview, and the size and scale and

12   hire us to do an internal investigation, but it's" -- excuse                12   complexity of the business transactions under review.     Are we

13   me.    "So if you guys think that, you know, we're going to                 13   talking about a billion-dollar real estate deal, or are we

14   negotiate a million five, and we're gonna, you're gonna hire us             14   talking about a single $10,000 payment?

15   to do an internal investigation, but it's gonna be capped at 3              15   Q.   Now, when Mr. Avenatti said -- and now I'm referring back

16   or 5 or 7 million dollars, like let's just be done."                        16   to page 4 -- "a few million dollars doesn't move the needle for

17                Focusing on the "capped at 3 or 5 or   $7 million,"            17   me," had you had any discussions with him about what the scope

18   what did you understand him to be communicating to you?                     18   of such an internal investigation would entail?

19   A.    So it's typical for attorneys working on an internal                  19   A.   No, we had not.

20   investigation for a company to charge by the hour.       And so if          20   Q.   And finally, before we move on, Mr. Avenatti, on lines 10

21   you do thousands of hours of legal work or hundreds of hours of             21   to 12 of page 5, says, "I'll go take $10 billion off your

22   legal work, the cost of the investigation would be the number               22   client's market cap.    But I'm not fucking around."

23   of hours times the hourly rate of all the lawyers or other                  23               What did you understand him to mean at that point?

24   staff doing the work.     By "cap" I understood him to be saying            24   A.   That he was repeating, maybe elaborating on the threat he

25   an overall cap on how much that hourly billing adds up to.         So       25   made the day before, that he would launch a media assault on


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     K1udave3                    Wilson - direct                                     K1udave3                     Wilson - direct

1    the company, and his intention would be to drive the stock                 1    Q.   You see below, you say:      "Could an investigation like this

2    price down so that the value of the company as reflected in                2    hit the 10 to $20 million range?       I suppose it could."

3    market cap would drop by billions of dollars.                              3                Do you see that?

4               MR. PODOLSKY:    All right.   Mr. Hamilton, if we could         4    A.   I do.

5    continue planing the recording.                                            5    Q.   Why did you say that?

6               (Audio played)                                                  6    A.   So we had been going round and round here for a few

7    BY MR. PODOLSKY:                                                           7    minutes, and he initially said that he wasn't going to be

8    Q.   Mr. Wilson, just a couple of questions about this exchange            8    satisfied with something with a cap of 3 or 5 or $7 million,

9    that we've listened to.                                                    9    and he kept coming back to the idea that single-digit millions

10              Well, first of all, just to summarize, what was this            10   wasn't going to be adequate.       And I came back and said, yes, I

11   back and forth about?                                                      11   think it should be single-digit millions.

12   A.   This back and forth was about Mr. Avenatti putting a price            12               So, again, throughout these conversations, I was

13   tag on the second part of his demand to the company not to go              13   always trying not to scare him off.        I was worried that if I

14   public with these allegations.                                             14   gave him the impression that Nike wouldn't pay, which it never

15   Q.   Do you see on page 12 a remark Avenatti says, he is saying,           15   would have considered doing, that he would have cut off the

16   "Never in a million years could I hire, could anybody else hire            16   discussions and immediately gone to the press and started

17   Boies Schiller to do a competent internal investigation in a               17   executing on his threat.       So in order to keep the conversation

18   matter of this magnitude for $9 million."       Do you see that?           18   going, since he repeatedly said he didn't think that the

19   A.   I do.                                                                 19   payment on the second component could be less than in the

20   Q.   What did you understand him to mean by "a matter of this              20   single-digit millions, I picked the first double-digit

21   magnitude"?                                                                21   millions, 10 to 20, and said, well, maybe -- maybe it could be

22   A.   I wasn't sure what he meant by that.                                  22   that.

23   Q.   Had you had any discussions about the magnitude of what               23               MR. PODOLSKY:    All right.   Why don't we keep

24   this investigation would entail?                                           24   listening, Mr. Hamilton.

25   A.   No, we had not.                                                       25               (Audio played)


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1    BY MR. PODOLSKY:                                                           1    he and Mr. Geragos suddenly sounded more friendly and started

2    Q.   Mr. Wilson, you see on page 13, you say, "We're gonna" --             2    joking around and laughing.

3    this is starting on line 20:     "We're gonna get terms on paper,          3    Q.   All right.   Why don't we keep listening.

4    you know, the releases that we want."                                      4                (Audio played)

5               What's a release?                                               5    BY MR. PODOLSKY:

6    A.   A release is an agreement by one party that may have claims           6    Q.   I just want to understand a couple of things.

7    against someone else not to pursue those claims.      It is a              7                On page 15, there is a reference to "papering it."

8    typical feature of a settlement agreement.                                 8    Line 15 to 16, for example.       Do you see that?

9    Q.   What claims were being released to your understanding at              9    A.   I do, yes.

10   this point?                                                                10   Q.   What does it mean -- what did you understand it to mean,

11   A.   I had no idea.    I was just using typical terminology for            11   "paper it"?

12   settlement agreements, again, to make it appear that we were               12   A.   That's lawyer jargon for reducing an agreement between the

13   seriously entertaining the idea of doing this deal.                        13   parties to some kind of written contract.

14   Q.   You say at the bottom of page 13:      "And Michael, I don't          14   Q.   Then you see, on line 19, Mr. Avenatti says, "This is very

15   mean to, you know, to put not too fine a point on it, you don't            15   straightforward."    And you respond, "It's not complicated."

16   hear me saying no."                                                        16               Do you see that?

17              Why did you say that?                                           17   A.   Yes.

18   A.   Well, as you can hear earlier in the call, as I began to              18   Q.   Why did you tell him it's not complicated?

19   try to speak about the components of his demand, he kept                   19   A.   Again, I thought if I spooked him and he thought that this

20   interrupting and sounded pretty angry.       I wasn't trying to give       20   deal wasn't going to happen, that I would not get more time, he

21   him the impression that we were going to say no.      So at this           21   wouldn't agree to hold off on his press conference.

22   point I just came out and explicitly said, hey, by the way,                22   Q.   He says, "We're talking about a settlement agreement, on a

23   we're not saying no to your demands.                                       23   relatively -- you know, on a million five with adequate

24   Q.   How did he react to that?                                             24   releases, etc., and we're talking about an engagement letter."

25   A.   Well, what was notable to me is that his tone changed, and            25               What was your understanding of what he was saying


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1    there?                                                                    1    Q.   Why did you mention it here?

2    A.   I understood him to be talking about how the two components          2    A.   Mr. Avenatti was asking to meet the very next day, and

3    of his demand would be papered or put in writing, and that the            3    without meaning to doubt the capabilities of the FBI, I wasn't

4    settlement agreement referred to the $1.5 million payment for             4    sure whether or not they would be prepared for me to meet with

5    Mr. Franklin.    And that engagement letter referred to an                5    him that quickly, so I wanted to buy time at least to the

6    agreement between Nike and some entity of his or                          6    afternoon of the following day.

7    Mr. Geragos' -- we had some discussion of that earlier -- to              7    Q.   And you see the next page, on page 20, Geragos says, "And

8    hire them and pay them fees purportedly to do legal work for              8    1:30 tomorrow, 256."

9    the company.                                                              9                First of all, what's 256?    What was your

10   Q.   Did you understand those to be two separate papers or                10   understanding?

11   papering?                                                                 11   A.   That is a reference to the street address of his office on

12   A.   Two separate documents, yes.                                         12   Fifth Avenue.

13              MR. PODOLSKY:    OK.    Why don't we keep listening.           13   Q.   "We'll even do it on the sixth floor that we've got all

14              (Audio played)                                                 14   wired up for you, OK Scott?"

15   BY MR. PODOLSKY:                                                          15               Do you see that?

16   Q.   Let me just ask you a couple of follow ups.                          16   A.   Yes.

17              On page 19, do you see there is some dialogue about an         17   Q.   What did you understand him to mean by that?

18   accident that your wife had?                                              18   A.   I understood him to be referring back to dialogue we had

19   A.   I see that, yes.                                                     19   the day before when he showed me up to unfinished office space

20   Q.   Did she have an accident?                                            20   on the sixth floor of his building, and I'd asked him if he was

21   A.   She did.                                                             21   going try to listen into the conversation I was having with my

22   Q.   Did she have an accident right around this time?                     22   client up there by miking the space which he owned, or

23   A.   No.                                                                  23   something like that.

24   Q.   How long before?                                                     24   Q.   So at the end of this phone call, how were things left, to

25   A.   A few weeks earlier.                                                 25   your understanding?


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1    A.   It was left that I was going to meet with Mr. Avenatti and           1                Ladies and gentlemen, we will take our morning recess.

2    Mr. Geragos again the following day, Thursday, March 21st.                2                Don't discuss the case.    Keep an open mind because

3    Q.   Your Honor, at this point, the next segment is somewhat              3    there is more evidence, and we will be back to you shortly.

4    lengthy.    I thought this might make sense for our morning               4    Thank you all very much.

5    break, but of course I would defer to the Court.                          5                THE CLERK:   All rise.

6               THE COURT:   I just wanted to ask one follow up                6                (Continued on next page)

7    question that was testified about, a reference to taking $10              7

8    billion off your client's market cap.        Could you explain how a      8

9    company's market cap would be reduced?                                    9

10              THE WITNESS:    Sure.    So market cap is, as I understand     10

11   it, an abbreviation for market capitalization.        A company's         11

12   ownership is reflected in the shares that are outstanding.                12

13   Shareholders own pieces of the company.        So if there are 10         13

14   shareholders who each own a share that's worth $100, then 10              14

15   times a hundred, your market capitalization is a thousand                 15

16   dollars.                                                                  16

17              What I understood him to be saying in terms of                 17

18   reducing the market cap would be that he would say things that            18

19   would cause the public to be less interested in buying Nike's             19

20   stock, it would cause the stock price to drop, so that the                20

21   market cap would be less.     So in my example, the stock price           21

22   might now be $50 a share.     There are still 10 shares                   22

23   outstanding.    Now the company is worth $500 rather than a               23

24   thousand dollars.                                                         24

25              THE COURT:   All right.                                        25


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1                (Jury not present)                                              1    little bit so the mic will be closer to his face.

2                THE COURT:   You can step down, Mr. Wilson.                     2                THE COURT:   OK.

3                Is there anything we need to discuss?                           3                (Continued on next page)

4                All right.   We will resume shortly.                            4

5                (Recess)                                                        5

6                THE COURT:   The witness should re-take the stand.              6

7                MR. PODOLSKY:    Your Honor.                                    7

8                THE COURT:   Yes.                                               8

9                MR. PODOLSKY:    Since we have a moment, this is really         9

10   not our request, but I was asked to remind the Court that there             10

11   was a request by Nike's attorneys for a 502(d) order.         I am          11

12   just flagging it because I think we will go on to                           12

13   cross-examination my guess is right after lunch.                            13

14               THE COURT:   Yes.   I am going to be issuing an order on        14

15   that very shortly.                                                          15

16               MR. PODOLSKY:    Thank you, your Honor.                         16

17               MR. H. SREBNICK:    Judge, I'm having difficulty hearing        17

18   Mr. Podolsky and the witness.        If there could be some                 18

19   adjustment to the microphone, I would appreciate that.                      19

20               THE COURT:   I will ask the witness to speak more               20

21   directly into the microphone, and, Mr. Podolsky, if you could               21

22   do the same.                                                                22

23               MR. PODOLSKY:    Yes, your Honor.   I believe one of the        23

24   problems is the height of the chair and depth.        We actually           24

25   added another book during the break.        Maybe that will help a          25


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1                THE CLERK:   All rise.                                          1    happen?

2                (Jury present)                                                  2    A.   Yes.

3                THE COURT:   Please be seated.                                  3    Q.   All right.   Let's turn now to March 21st.

4                Please proceed.                                                 4                You testified before the break that it was left at the

5                MR. PODOLSKY:    Thank you, your Honor.                         5    end of the call that you would meet with Mr. Avenatti the next

6    BY MR. PODOLSKY:                                                            6    day.   Do you recall that?

7    Q.   Mr. Wilson, we -- just before the break, we finished                   7    A.   Yes.

8    listening to the phone call that was recorded on                            8    Q.   Did you in fact meet with him the next day?

9    March 20th involving the defendant.        Do you recall that?              9    A.   I did.

10   A.   Yes, I do.                                                             10   Q.   Was that meeting recorded?

11   Q.   Now, you testified earlier that law enforcement had                    11   A.   It was recorded both audio record and video recording.

12   recorded the calls that we have listened to.        Do you recall           12   Q.   Now, do you see in front of you there is a disk marked for

13   that?                                                                       13   identification as Government Exhibit 2?

14   A.   Yes.                                                                   14   A.   I see it.

15   Q.   At this point, on March 20th, did you have any idea what               15   Q.   And do you recognize that disk?

16   law enforcement's -- the intentions of law enforcement were                 16   A.   I do.

17   with respect to the defendant?                                              17   Q.   How do you recognize that disk?

18   A.   What I understood at this point --                                     18   A.   I signed my initials on it.

19               MR. H. SREBNICK:    Objection, your Honor.   Objection.         19   Q.   What is on that disk?

20               THE COURT:   Sustained.                                         20   A.   It contains an audio/visual recording of the meeting I had

21   BY MR. PODOLSKY:                                                            21   on Thursday, March 21st with Mr. Avenatti.

22   Q.   Did you have any knowledge as to how this scenario would               22               MR. PODOLSKY:   And, your Honor, if we may publish

23   end?    You testified earlier several times that you were                   23   Government Exhibit S10 again briefly?

24   concerned about the timing of the press conference.       Did you           24               THE COURT:   Yes, go ahead.

25   still believe at this point that that press conference may                  25               MR. PODOLSKY:   Thank you.


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1               Mr. Hamilton, if you could take us to the second page.        1    Q.   Who attended this meeting?

2               And I'll read where it is next to the letter "b."             2    A.   This time it was myself and the same junior colleague of

3               "Government Exhibit 2 is a true and accurate copy of a        3    mine at the Boies Schiller firm who had come to the Tuesday

4    video-recording made at approximately 1:26 p.m. Eastern Time on          4    meeting and Mr. Avenatti and Mr. Geragos.

5    March 21, 2019."                                                         5                (Continued on next page)

6               Your Honor, at this time, the government offers               6

7    Government Exhibit 2.                                                    7

8               THE COURT:   Any objection?                                   8

9               MR. H. SREBNICK:    No, your Honor.                           9

10              THE COURT:   Government Exhibit 2 is received.                10

11              (Government's Exhibit 2 received in evidence)                 11

12              MR. PODOLSKY:   And with the same description as              12

13   before, the government offers Government Exhibit 2T as an aid            13

14   to the jury.                                                             14

15              THE COURT:   Yes.   As with the other recordings, ladies      15

16   and gentlemen, you may refer to the transcript as an aid in              16

17   considering the recording reflected in Government Exhibit 2.             17

18              (Government's Exhibit 2T received in evidence)                18

19   BY MR. PODOLSKY:                                                         19

20   Q.   Now, before we watch Government Exhibit 2, I just want to           20

21   ask you a couple of questions, Mr. Wilson.                               21

22              Where did this meeting take place?                            22

23   A.   It took place in the same conference room where I had met           23

24   with Mr. Avenatti on Tuesday of that week at Mr. Geragos'                24

25   offices on Fifth Avenue.                                                 25


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     K1UMAVE4                    Wilson - Direct                                   K1UMAVE4                      Wilson - Direct

1    Q.   How did you get to Mr. Geragos' office that day?                    1    skip the portion of small talk and go straight to the mark at

2    A.   I walked from a few blocks away.                                    2    around 13 minutes and 46 seconds.

3    Q.   And what did you do when you got to the office?                     3    Q.   And before we play it, Mr. Wilson, I think we can turn our

4    A.   As we were arriving and either as I was pressing the buzzer         4    binders to tab 2T, page --

5    or was going to press the buzzer, there was somebody else                5                MR. H. SREBNICK:    Your Honor, if I could have a moment

6    entering the building who let us in and took us up to the                6    with counsel.

7    fourth floor, where Mr. Geragos' office is.                              7                THE COURT:   Yes.

8    Q.   What happened when you got to the conference room?                  8                MR. PODOLSKY:    Having conferred with counsel, why

9    A.   We spent some time settling in and initially Mr. Geragos            9    don't we go ahead and watch the whole tape of the meeting.        Why

10   was not in the conference room.      I recall that he was in his         10   don't we start at 808.       We will just go ahead and listen to the

11   office, which I could see because there were glass walls,                11   conversation as the meeting began.

12   speaking, I think, to this woman who had brought us up from              12               You can pick this up at around page 2, line 20, give

13   downstairs.    We had made small talk for a while before                 13   or take, on the Government Exhibit 2T.

14   Mr. Geragos joined the meeting.                                          14               (Video played)

15   Q.   Who made small talk?                                                15   Q.   Mr. Wilson, can you just explain what we have listened to

16   A.   Myself and -- mainly me and, to an extent, Mr. Avenatti,            16   for the past few minutes?

17   and then Mr. Geragos.                                                    17   A.   Yeah.    Lawyers talking about offices and other law firms,

18   Q.   What is your recollection of Mr. Avenatti's demeanor during         18   just small talk.    I was happy to engage in small talk as long

19   that small talk?                                                         19   as they wanted to before we got down to business.

20   A.   I recall that he seemed impatient to get to it.    He seemed        20               MR. PODOLSKY:    Why don't we go ahead and watch.

21   a little tense.                                                          21               (Video played)

22              MR. PODOLSKY:   Your Honor, may we publish Government         22   Q.   We saw on the video, it appeared Mr. Avenatti handed over a

23   Exhibit 2 at this point?                                                 23   piece of paper.

24              THE COURT:   Yes.                                             24               Do you recall that?

25              MR. PODOLSKY:   Mr. Hamilton, what I'd like to do is          25   A.   Yes.


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     K1UMAVE4                     Wilson - Direct                                    K1UMAVE4                     Wilson - Direct

1    Q.    What was that piece of paper?                                        1    A.   By amount I understood him to be referring to the 1.5

2    A.    It was a draft settlement agreement between a Nike entity            2    million dollar amount.      I didn't know what he meant by date, so

3    on the one hand and Mr. Franklin and his program, California               3    I asked him.

4    Supreme, on the other.                                                     4    Q.   What did he say?

5    Q.    What part of the demand did that settlement agreement apply          5    A.   He said it was the date of payment.

6    to?                                                                        6    Q.   What payment did you understand him to be referring to?

7    A.    The first part, the 1.5 million dollar payment that Nike             7    A.   The 1.5 million dollar payment.

8    was supposed to make under the settlement agreement with                   8    Q.   If you go to the next page of the transcript, you say on

9    Mr. Franklin.                                                              9    line 2:     But JAMS, things like that.

10   Q.    Do you see on page 10 of the transcript Avenatti says:     If        10               What is JAMS?

11   you need additional release language or confidentiality                    11   A.   JAMS is a private organization that provides mediators and

12   language, language relating to other terms, no problem.                    12   arbitrators, many of them former judges, who can sit to

13              Let's pause there for a moment.     What did you                13   privately adjudicate parties' disputes.

14   understand him to be talking about?                                        14   Q.   What's the relevance of JAMS to a settlement agreement?

15   A.    I understood him to be talking about boilerplate or fairly           15   A.   It's typical in a settlement agreement that it provides

16   standard terms that appear in the back of most settlement                  16   either what court the parties are going to go to if they have a

17   agreements, including releases.       As I explained earlier, that's       17   dispute under the settlement agreement, like you didn't

18   when the parties that are settling say, this is the end of our             18   actually pay me or you did something in violation of the

19   dispute.    We release any claim that we might have had against            19   settlement agreement, or, as an alternative to going to court

20   you.    And confidentiality language referring to either the               20   publicly, the parties can agree to a confidential dispute

21   settlement itself and even sometimes the very document that the            21   resolution mechanism like arbitration before an arbitrator,

22   settlement is reflected in being confidential.                             22   according to the rules of certain private organizations.

23   Q.    It continues:    No problem.   But we are not going to               23               JAMS is one organization that has arbitration rules

24   negotiate the amount or the date.                                          24   that the parties can incorporate into their agreement by

25              What did you understand that to mean?                           25   writing a clause that says, we agree that if we have a dispute


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     K1UMAVE4                     Wilson - Direct                                    K1UMAVE4                     Wilson - Direct

1    under this agreement, we will arbitrate under JAMS rules.                  1    A.   It was an odd thing to emphasize, to my understanding,

2    Q.    You mentioned JAMS or arbitration could be confidential?             2    because when a company hires a lawyer, it's generally a

3    What did you mean by that?                                                 3    confidential thing.     But he was emphasizing to me that the

4    A.    As opposed to when you go to court and make filings and              4    retention of Mr. Geragos and Mr. Avenatti to do whatever this

5    members of the public and press can usually read those filings             5    was going to be was not going to be publicized.

6    or most of them.      And arbitration, the proceedings are private.        6    Q.   You see below he says on line 19:     But we are not going to

7    They are not registered on the website of any court.      They are         7    be issuing any press releases or responding to any press

8    just a private adjudication between the parties with the                   8    inquiries or leaking anything to the press or anything of that

9    involvement of the arbitrator.                                             9    nature whatsoever.

10   Q.    If you look at lines 8 to 9 of page 11, Avenatti says:     I         10               Do you see that?

11   don't think it serves anybody to pick a nonarbitration option.             11   A.   Yes.

12              What did you understand him to mean?                            12   Q.   What did you understand him to be saying to you?

13   A.    That he thought that if we did the settlement that it would          13   A.   I understood him to be trying to reassure me that

14   be -- he didn't think it would be -- would serve or be in                  14   notwithstanding that I understood he was a lawyer that was

15   anyone's interest for any dispute under that settlement to be              15   often in the media with respect to his case, that in this case

16   public, it should all be kept quiet.                                       16   he would not be talking to the press, that this would all be

17              MR. PODOLSKY:    Why don't we go ahead and continue             17   kept confidential.

18   watching the video.                                                        18   Q.   At the top of page 14 he continues:       None of that happens

19              (Video played)                                                  19   unless we are directed to do so by Nike.        And on line 4:

20   Q.    Mr. Wilson, do you see on page 13, as we just watched,               20   Because Nike is our client.

21   Avenatti says beginning at line 11:       Our attention shall remain       21               What did you understand him to be saying?

22   confidential fully, entirely confidential, and will only be                22   A.   That he intended that Nike hire him to act on its behalf as

23   disclosed on a need-to-know basis by the company.      And he goes         23   a lawyer.

24   on.                                                                        24   Q.   You mentioned yesterday, and I think this morning, that you

25              What did you understand him to be saying?                       25   found it unusual to hire someone who is an adverse party.


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1               Can you explain why it would be unusual or why would            1    the video.

2    it be surprising to you to hire an adverse party as your                   2                (Video played)

3    lawyer?                                                                    3    Q.   Before we move on I want to focus for a moment on page 14,

4               MR. H. SREBNICK:   Objection, your Honor.   Relevance.          4    starting at line 6.

5               THE COURT:   Overruled.                                         5                Do you see that, Mr. Wilson?

6    A.   It struck me as incredibly unusual for a general reason and           6    A.   Yes.

7    a specific reason.                                                         7    Q.   And we can go straight to line 7.      Do you see Avenatti

8               Generally, because there are conflicts rules that mean          8    says:    $12 million retainer upon signing evergreen.

9    that if you are a lawyer acting in someone's interest, you                 9                Do you see that?

10   can't act for someone with adverse interests because how would             10   A.   Yes.

11   you be loyal to both clients at the same time.       I thought it          11   Q.   What did you understand him to be telling you at this

12   was a very bizarre thing in general to suggest -- I never heard            12   point?

13   of it, that I'm adverse to you, but I can also represent you in            13   A.   Well, my understanding of what he was saying changed over

14   a tense, high-profile, problematic criminal investigation.                 14   the course of that phrase.     Throughout this I'm trying to keep

15              The specific reason that I found incredibly                     15   a straight face, sort of even demeanor, but I was really quite

16   problematic is that I thought it would look like to the                    16   shocked.

17   Department of Justice that Nike had hired the lawyer for a                 17               A retainer is usually when a client gives money to a

18   whistleblower, for a third party outside of the company, that              18   law firm as sort of a deposit, like an escrow account.       And

19   we hired his lawyer to try to get our stories straight with                19   then as the law firm does work it earns money and it can take

20   this guy or otherwise to sit on this individual.       It's highly         20   money out of the retainer to pay itself.        If you had a $12

21   unusual in a criminal investigation, unheard of, and sometimes             21   million retainer and you did a million dollars worth of legal

22   the Department of Justice objects, if a defense lawyer                     22   work, you could take a million dollars out of the retainer, but

23   represents two unrelated parties who may be caught up in the               23   there is still $11 million sitting there in the account.

24   same criminal investigation.                                               24   That's not the attorney's money yet.       It's just a retainer.

25              MR. PODOLSKY:   Why don't we go ahead and continue with         25               Evergreen is a term of art that means when the client,


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1    by asking for legal work, draws down on the retainer.      In my           1    Avenatti did a few thousand dollars worth of work, how much

2    example, a million dollars worth of legal work has been done,              2    would he walk away with if you agreed to his demands?

3    the law firm has paid itself a million dollars, there is only              3    A.   $12 million.

4    11 million left in the account.       Evergreen means that the             4    Q.   And he continues:   We will cap it at $25 million, minimum

5    client is agreeing to always keep topping up the account,                  5    of $15 million unless the scope changes.

6    refreshing it, keeping it evergreen.       So that would mean at           6                What did you understand that to mean?

7    that point the client would have to stick another million                  7    A.   I didn't know what he meant by unless the scope changes

8    dollars in the account so it's always up at 12 million.                    8    because we hadn't discussed any scope, but I understood him to

9    Q.   According to the description of a retainer you just                   9    be, by cap, saying that Nike would ultimately have to pay at

10   explained, if a lawyer had a $12 million retainer but ended up             10   least $15 million and up to $25 million.

11   only working a little bit earning, say, a few thousand dollars,            11   Q.   Let me ask one more question before we continue.      There is

12   what would they walk away with at the end of the day?                      12   a discussion there on line 21 and below regarding blended

13   A.   A few thousand dollars.    The other millions of dollars              13   hourly rate.

14   would be returned to the client.                                           14               Do you see that?

15   Q.   And then Avenatti continues:      That's going to be deemed           15   A.   I do, yes.

16   earned when paid.                                                          16   Q.   Can you explain what your understanding of the blended

17              What did you understand him to be saying?                       17   hourly rate of $950 an hour for attorneys and so on means?

18   A.   That's what really nearly made me fall out of my chair                18   A.   Attorneys generally have an hourly billing rate that

19   because that's not a retainer.       Retainers, as we were just            19   reflects their seniority or experience.        A more junior attorney

20   talking about, is, again, basically like an escrow account to              20   right out of law school would generally charge less per hour.

21   be drawn down on.    Earned when paid means that the second the            21   A senior partner would charge more.

22   money hits the law firm's account, it's been earned, that the              22               I understand blended hourly rate to refer to charging

23   client is agreeing, you've earned $12 million now, no matter               23   the same hourly rate for all of the attorneys within a firm,

24   how much work you do or don't do.                                          24   regardless of their experience.     So the junior associate whose

25   Q.   As I said a moment ago, if the attorney or in this case               25   rate might be $500 an hour is billed at 950 and the senior


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     K1UMAVE4                      Wilson - Direct                                    K1UMAVE4                    Wilson - Direct

1    partner, whose rate is $1300, also billed at 950.                           1    PIs.

2    Q.   Whose work did you understand would be billed at $950 an               2    Q.   You see below Avenatti says:     Whether it be through

3    hour?                                                                       3    attorneys or PIs or others.

4    A.   This was unclear to me.      I had asked to question in a prior        4               Do you see that?

5    call about who exactly, which firm Nike was being asked to                  5    A.   I do, yes.

6    engage.     But I understood Mr. Avenatti to be saying, whoever             6    Q.   Just generally, in an internal investigation conducted by a

7    the attorneys were who were going to be staffed on this matter              7    law firm, who performs the investigation?

8    purportedly, each time one of them worked an hour, that would               8    A.   Attorneys.

9    cost $950.                                                                  9    Q.   Do you have any experience with PIs conducting internal

10   Q.   Let's say the entire engagement, there was one hour of work            10   investigations?

11   done at a rate of $950 an hour.       According to the full                 11   A.   No.

12   description of what Mr. Avenatti described Nike should agree                12   Q.   What was your understanding at this point as to whether

13   to, how much money would Avenatti or his entity be paid?                    13   Avenatti and Geragos had the staff to conduct this internal

14   A.   For that one hour of work?      $15 million.                           14   investigation?

15               MR. PODOLSKY:    Why don't we continue with the video,          15              MR. H. SREBNICK:    Objection, your Honor.

16   Mr. Hamilton, if you could play it.                                         16              THE COURT:   Sustained.

17               (Video played)                                                  17   Q.   Based on what was said here, did you have any understanding

18   Q.   Mr. Wilson, do you see that at the top of page 16 Geragos              18   as to whether they had staff to conduct an internal

19   refers to a subcontract for PIs and things of that nature?                  19   investigation?

20   A.   Yes.                                                                   20              MR. H. SREBNICK:    Same objection.

21   Q.   What did you understand him to mean by a subcontract for               21              THE COURT:   Sustained.

22   PIs?                                                                        22              MR. PODOLSKY:   Your Honor, may we approach briefly on

23   A.   I understood him to be saying that whatever entity Nike was            23   that question?

24   supposed to do a contract with, that entity would then enter                24              THE COURT:   Yes.

25   into a subcontract purportedly with private investigators, or               25              (Continued on next page)


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1                (At sidebar)                                                    1    in investigators to accompany lawyers to participate in.

2                THE COURT:   You have to lay a foundation for knowledge         2               THE COURT:   I don't know that this man is going to

3    about what their resources were.       You have not done that.              3    have the capacity to testify about what Geragos could do.       I

4    That's why I'm sustaining the objection.                                    4    don't know whether Mr. Wilson has any knowledge about what

5                MR. PODOLSKY:    I just wanted to make sure I understood        5    Mr. Geragos' law firm capacity might be.

6    for future purposes.                                                        6               MR. PODOLSKY:   I'm simply trying to understand what he

7                MR. H. SREBNICK:    May I address the Court because I           7    understood was going on in this meeting.

8    think the issue here is, the other side, the government, had                8               THE COURT:   I understand.   I am just saying that

9    indicated that -- for example, objected in my opening statement             9    before you can ask somebody whether there are resources

10   to discussing Geragos' resources, the law firm, any of that.          I     10   available to do it, you have to lay a foundation demonstrating

11   thought that we had an understanding that the amount that was               11   that the person has knowledge such that he could testify about

12   being proposed for internal investigation was not going to be a             12   whether Geragos' firm has the people to do --

13   contested issue by the government.                                          13              MR. PODOLSKY:   I understand.   I intend to move on.

14               THE COURT:   I see those as two separate issues.                14              (Continued on next page)

15               One is whether there is just, in a very practical               15

16   sense, the people resources necessary to do an investigation.               16

17   That's a different issue than the amount and cost.      What the            17

18   government is getting into is whether there were enough bodies              18

19   to even do the investigation that was being discussed.        I see         19

20   that as different than the amount of money that the                         20

21   investigation would cost.                                                   21

22               MR. H. SREBNICK:    I assume then that would allow on           22

23   cross for me to develop that Mr. Geragos had eight or nine                  23

24   lawyers at his law firm.       They could hire additional lawyers.          24

25   They could staff.    Geragos is the one speaking about bringing             25


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     K1UMAVE4                      Wilson - Direct                                     K1UMAVE4                      Wilson - Direct

1                (In open court)                                                  1                Do you see that?

2    Q.   Mr. Wilson, we were speaking a moment ago about page 16 on              2    A.   Yes.

3    the transcript.                                                              3    Q.   Why did you understand you were beyond that?

4                Do you recall that?                                              4    A.   Because he just articulated a dollar amount, a specific

5    A.   Yes.                                                                    5    dollar amount, 15 to $25 million rather than something that was

6    Q.   And you see on line 18 to 19 you mention, you said                      6    going to be a multiple of some other number.

7    something about a multiplier.       I wanted to understand what you          7    Q.   And at this point in the discussion did you understand that

8    meant by that.                                                               8    if Nike wanted to conduct some additional or new internal

9    A.   Yes.                                                                    9    investigation it could hire anyone other than Avenatti?

10   Q.   What were you referring to?                                             10   A.   No.    That was not my understanding.

11   A.   I was referring to Mr. Avenatti's description at the first              11               MR. PODOLSKY:    Why don't we continue with the

12   in-person meeting we had on Tuesday of a scenario where Nike                 12   recording.

13   decided to have some other law firm conduct an internal                      13               (Video played)

14   investigation, and in that scenario he would be paid two times               14   Q.   Mr. Wilson, on page 17, you see a rather long paragraph of

15   the fees that Nike paid to that law firm under what he called a              15   Mr. Geragos speaking?

16   most favored nations clause.                                                 16   A.   Yes.

17   Q.   And you see below Geragos responds:        Oh, that was your            17   Q.   What did you understand him to be talking about there?

18   penalty clause, favored nations.                                             18   A.   He was talking about, as I understood it, criminal charges

19               Do you see that?                                                 19   that had been brought in connection with parents paying bribes

20   A.   Yes.                                                                    20   to get their children into USC.

21   Q.   What did you understand him to be referring to?                         21   Q.   You see he says on line 18 to 19 -- before I ask this

22   A.   That he was recalling that discussion at the Tuesday                    22   question, do you understand that the parents paying bribes to

23   meeting.                                                                     23   students had anything to do with the matters at issue here?

24   Q.   And then there is an exchange.      Avenatti says:   We are             24   A.   No.    Unrelated.

25   basically, and you cut in and you say, we are beyond that.                   25   Q.   Just so we know, what is USC?      Did you have an


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     K1UMAVE4                      Wilson - Direct                                     K1UMAVE4                      Wilson - Direct

1    understanding of what that is?                                               1    Mr. Avenatti to be repeatedly interrupting him to assure me

2    A.   University of Southern California.                                      2    that whatever work they were going to do, if Nike wanted to

3    Q.   Do you see on lines 18 to 19 Geragos says:        So this kind of       3    stick it in a drawer after they were done, that was going to be

4    ensures that we will get to the bottom of it.         It's not going         4    Nike's call.

5    to happen again.                                                             5    Q.   If you had hired or agreed to these demands and hired

6                What do you understand him to mean by that?                      6    Mr. Avenatti, what did you understand would happen at the

7    A.   I understood him to be implying that he believed there was              7    conclusion of any internal investigation he might have done?

8    misconduct at Nike and that an internal investigation would be               8    A.   That whatever he learned or reported to the company, it

9    a way to root it out to address it.                                          9    could be kept nonpublic and not disclosed to the government or

10   Q.   And then Avenatti says:      And ultimately it's going to be up         10   to the public.

11   to the client as to whether they want to self-disclose.                      11   Q.   Do you see on line 10 he says:      Presumably in consultation

12               What did you understand him to mean by self-disclose?            12   with you and others.

13   A.   I understood him to be referring to a decision that a                   13               What did you understand him to be saying?

14   company makes when it hires lawyers to conduct internal                      14   A.   I understood him to be saying that he understood that Nike

15   investigation or otherwise as to whether or not to take                      15   would likely or presumably take the advice of the Boies

16   information and voluntarily provide it to the government.                    16   Schiller law firm as to whether or not to voluntarily

17   Q.   So he continues:   Or whether they want to do it or anything            17   self-disclose any information developed in any internal

18   else, just like any other client.                                            18   investigation to the government, or others.       I don't know to

19               And then continuing on page 18, line 5 he says:     Those        19   which others he was referring.

20   aren't our decisions to make.       Our decisions are to investigate         20   Q.   At the end of this purported internal investigation, whose

21   this, report back to Nike, and then Nike makes a decision on                 21   advice would be given as to whether Nike should disclose the

22   what they want to do.                                                        22   information to the government?

23               What did you understand him to be telling you?                   23   A.   My law firm could advise them on that.

24   A.   I understood Mr. Geragos to be talking about the purpose of             24               MR. PODOLSKY:    Why don't we continue with the

25   internal investigation being to root out misconduct,                         25   recording, Mr. Hamilton.


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     K1UMAVE4                      Wilson - Direct                                    K1UMAVE4                      Wilson - Direct

1                (Video played)                                                  1    they are out of the room and pick up, if we can, at around 30

2    Q.   Mr. Wilson, let me just focus you on the top of page 20                2    minutes and 10 seconds on the video, Mr. Hamilton.

3    that we just listened to.       Do you see the defendant says:   I          3                (Video played)

4    don't think that it makes any sense for Nike to be paying an                4    Q.   Let's go back for a moment to page 23, line 13.       Actually,

5    exorbitant sum of money to Mr. Franklin in light of his role in             5    we can start at line 8.       Do you see you say:   I have never

6    this.                                                                       6    gotten a 12 billion retainer from this client Michael?

7                Do you see this?                                                7    A.   Yes.

8    A.   Yes.                                                                   8    Q.   You see he responds a few lines below:      Have you ever held

9    Q.   Who did you understand Mr. Franklin to be in that sentence?            9    the balls of your client in your hand where you can take five,

10   A.   Mr. Avenatti's own client.                                             10   six billion dollars in market cap off of him.

11   Q.   What did you understand Mr. Avenatti to be saying to you at            11               What you understand him to be saying to you?

12   this point?                                                                 12   A.   I thought this was a crazy thing to be saying to me because

13   A.   I understood him to be pushing back on the idea of more                13   he seemed to be suggesting that the way lawyers negotiate fees

14   money going to Mr. Franklin.                                                14   with the clients who are going to trust him to represent their

15               MR. PODOLSKY:    Why don't we continue listening.               15   interests is to threaten those clients, to have leverage over

16               (Video played)                                                  16   those clients and demand that they pay more.        It just struck me

17   Q.   Can you just describe what was happening at this moment.               17   as we were in the twilight zone.       But what I understood him to

18   A.   Yeah.    At this point in the meeting, when Mr. Geragos                18   be saying was he had that power, he had the power and the will

19   started to speak again, Mr. Avenatti interrupted him and asked              19   and a plan to damage the company.       So to avoid that the company

20   if they could have a minute to step out.                                    20   was in fact going to have to hire him and pay him these

21   Q.   Did they step out?                                                     21   millions of dollars.

22   A.   They did.                                                              22               MR. PODOLSKY:    Why don't we go ahead and play the

23   Q.   About how long were they gone, if you can remember?                    23   video.

24   A.   A few minutes, to my recollection.                                     24               (Video played)

25               MR. PODOLSKY:    Why don't we fast-forward through when         25   Q.   You see at the top of page 25 Avenatti says:       And we are


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1    done.   They can buy that for 22 and a half million dollars and             1    Q.   He continues:   If you need assistance from us as it relates

2    we are done.                                                                2    to Mr. Franklin, we'd be happy to provide that.         Obviously, we

3                Do you see that?                                                3    are not going to do anything illegal or he's not going to do

4    A.   Yes.                                                                   4    anything illegal.

5    Q.   What was your understanding of where the 22 and a half                 5                Do you see that?

6    million dollar figure came from?                                            6    A.   Yes.

7    A.   I didn't have an understanding other than that it was -- it            7    Q.   And then he continues:      And then they can hire Boies or

8    sounded close to the 25 million dollar top figure that he had               8    whoever else they want to hire to do what they want to do and

9    given earlier in the meeting.                                               9    you guys can figure out what you want to do.

10   Q.   What connection, if any, did you think it had to the value             10               Do you see that?

11   of Mr. Franklin's legal claims, if any?                                     11   A.   Yes.

12   A.   I didn't think that $22.5 million or even $1.5 million bore            12   Q.   First, what did you understand him to be saying

13   the slightest connection to any legal claims that Mr. Franklin              13   Mr. Franklin would be available to do?

14   might have.                                                                 14   A.   I wasn't sure what he meant by that.

15   Q.   You see Mr. Avenatti continues:      Fully confidential.    We         15   Q.   When he said, They can hire Boies or whoever else they want

16   can leave it to Nike and its other lawyers to figure out what               16   to hire to do what they want to do, what do you understand him

17   to do with this and handle it appropriately and full                        17   to be saying?

18   confidentiality as we ride off into the sunset.                             18   A.   I understood him to be saying that in this scenario where

19               Do you see that?                                                19   the company made a payment of 22 and a half million dollars, it

20   A.   Yes.                                                                   20   would be up to the company to select a law firm, if it wished

21   Q.   What did you understand Mr. Avenatti to be saying?                     21   to, to conduct an internal investigation or no.

22   A.   That if Nike paid $22.5 million, this press conference and             22               MR. PODOLSKY:    Why don't we keep going.

23   this all-out media war he was threatening to wage wouldn't                  23               (Video played)

24   happen, that he would refrain from doing that in exchange for               24   Q.   I am not going to read through the entire speech from page

25   the company paying 22 and a half million dollars.                           25   26 to 27.     Let me just ask you, what was your understanding of


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1    what he was telling you?                                                   1    take our luncheon recess.      It's 1:00.

2    A.   He was describing the threat to try to add pressure.        This      2               Ladies and gentlemen, don't discuss the case with

3    is what's going to happen if I don't get paid off.      This is            3    anyone.    Don't do any research about it.     Don't do any

4    what this media assault is going to look like.       It's not just a       4    investigation on your own.      Keep an open mind because there is

5    press conference tomorrow.       It's me trying to gather more             5    more evidence.

6    information to build more and more of a negative drumbeat                  6               We are going to resume at 2:00.     Thank you all very

7    against the company.       He was brandishing the stick over our           7    much.

8    head to try to get us to agree to pay him off.                             8               (Jury not present)

9    Q.   Did you believe that threat was serious?                              9               THE COURT:   Is there anything the lawyers want to take

10   A.   I did, based on my -- based on what he was saying and my              10   up?

11   experience of his ability to generate press coverage.                      11              MR. PODOLSKY:    Not for the government, your Honor.

12   Q.   Do you see on page 27 Avenatti says:      They are going to           12              THE COURT:   Anything for the defense?

13   have to self-report, in my view.       Again, that's not ultimately        13              MR. H. SREBNICK:    One moment, your Honor.

14   up to me.                                                                  14              Nothing at this time, Judge.

15               Do you see that?                                               15              THE COURT:   Is there someone here on behalf of Nike

16   A.   Yes.                                                                  16   who wants to discuss this request under Federal Rule of

17   Q.   What did you understand him to mean?                                  17   Evidence 502(d)?

18   A.   That's sort of like he was talking to himself and going               18              MR. SKINNER:    Yes, your Honor, I would be happy to.

19   back and forth.    But ultimately, as in prior points in this              19              THE COURT:   You may approach.

20   meeting, he seemed to be taking care to reassure me that if we             20              Everyone else is free to go.     It is up to you.

21   made this payment, it would be up to the company whether to go             21              THE COURT:   Could you please state your name for the

22   public.     We could keep it all secret and that would be the              22   record.

23   company's decision, not his, if we paid him.                               23              MR. SKINNER:    Yes, your Honor.   Peter Skinner on

24               MR. PODOLSKY:    Why don't we continue with the video.         24   behalf of Nike, Inc.

25               THE COURT:   Actually, Mr. Podolsky, we are going to           25              THE COURT:   So the background is, I received a letter.


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1    It is dated January 27.       It asks me to enter an order pursuant        1    change that.

2    to Federal Rule of Evidence 502(d).       And 502(d) provides, and I       2               What we are concerned about, as we explained in our

3    quote:    "A federal court may order that a privilege or                   3    letter, despite the fact that the company is not waiving the

4    protection is not waived by disclosure connected with the                  4    privilege and despite the fact that we believe the folks

5    litigation pending before the Court, in which event the                    5    testifying wouldn't have the authority on their own in the

6    disclosure is also not a waiver in any other federal or state              6    middle of being cross-examined to waive the privilege, that

7    proceeding."                                                               7    perhaps something might be construed later as having been an

8                Now, the problem, Mr. Skinner, is, I don't know                8    inadvertent waiver and somebody might try and argue that it was

9    whether Nike has waived the privilege or not.       I don't know,          9    a broader subject matter waiver, either in this court or

10   for example, what happened in the interviews that the U.S.                 10   otherwise.

11   Attorney's Office conducted of Nike lawyers, including Mr.                 11              All we are saying is, ahead of time we would like a

12   Wilson who has just testified.       But, also, I'm aware from the         12   ruling from the Court that any disclosures that are made and

13   3500 material that Mr. Homes was interviewed as well as                    13   testimony in this court do not constitute a broader waiver of

14   Mr. Leinwand.     I don't know to what extent the privilege                14   the privilege so we have some clarity on that.

15   survives.                                                                  15              We think that while it's a somewhat unusual request,

16               And so if I were to issue any order, it would be very          16   it's a somewhat unusual proceeding with witnesses being lawyers

17   clear that it would only be as to the testimony in this                    17   being cross-examined as to their thought processes and the

18   proceeding because I can't retroactively do anything with                  18   like, and this is probably the best way to try and deal with

19   respect to whether the privilege has already been waived.                  19   that, particularly to avoid -- logistically it's virtually

20               What is your position?                                         20   impossible to police the privilege in the middle of his

21               MR. SKINNER:    That's exactly what we are seeking for         21   testimony.

22   the Court to do.    We are only concerned about testimony in this          22              THE COURT:   I will issue an order that is very

23   court.    It's our position that the privilege has not yet been            23   specific to testimony that we are going to hear at this trial.

24   waived.     Whatever happened between us and the government                24   It will make clear that I'm not retroactively granting

25   happened between us and the government and the Court can't                 25   absolution for any waiver of privilege that may have happened


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1    before today in connection with interviews of the lawyers by               1                       A F T E R N O O N       S E S S I O N

2    the U.S. Attorney's Office or otherwise.       I'll be issuing that        2                                      2:02 p.m.

3    order later today.                                                         3                 (Jury not present)

4               MR. SKINNER:    Very well.   Thank you, your Honor.             4                 THE CLERK:   All rise.

5               THE COURT:   Anything else before we break for lunch?           5                 THE COURT:   Please be seated.

6               MR. PODOLSKY:   No, your Honor.                                 6                 The witness should re-take the stand.

7               MR. H. SREBNICK:    No, your Honor.                             7                 MR. PODOLSKY:    Your Honor, just as far as the subpoena

8               THE COURT:   We will resume at 2.                               8    issue, do you want to deal with that?

9               (Luncheon recess)                                               9                 THE COURT:   You are going to have to talk into the

10                                                                              10   mic.

11                                                                              11                MR. PODOLSKY:    I'm sorry, your Honor.

12                                                                              12                The subpoena issue, do you want to deal with that at

13                                                                              13   the break or --

14                                                                              14                THE COURT:   What subpoena issue?

15                                                                              15                MR. PODOLSKY:    The redaction of the subpoena.    We

16                                                                              16   would like to hand up a proposed limiting instruction.

17                                                                              17                THE COURT:   OK.    Sure.   Do you want to hand it up.

18                                                                              18                MR. PODOLSKY:    Apparently we've agreed on redactions.

19                                                                              19                THE COURT:   OK.

20                                                                              20                MR. RICHENTHAL:     There are two issues, your Honor.

21                                                                              21                One is the redaction of the subpoena and one is the

22                                                                              22   proposed limiting instruction.           Taking them in order, the

23                                                                              23   parties are in partial agreement, but, unfortunately, only

24                                                                              24   partial agreement, as to redactions.           And with respect to the

25                                                                              25   limiting instruction, we actually are in agreement.


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1               (Pause)                                                         1                 THE CLERK:   All rise.

2               THE COURT:   Let me ask Mr. Podolsky, how much longer           2                 (Jury present)

3    do you have with the witness?                                              3                 THE COURT:   Please be seated.

4               MR. PODOLSKY:   Depending on his answers, I would guess         4                 Mr. Wilson, you remain under oath.

5    30 to 45 minutes.                                                          5                 Please proceed.

6               THE COURT:   All right.   Go ahead, Mr. Richenthal.             6                 MR. PODOLSKY:    Thank you, your Honor.

7               MR. RICHENTHAL:    I'm sorry.   It sounds like Ms. Perry        7    DIRECT EXAMINATION (Resumed)

8    had agreed but Mr. Srebnick would like to look at it, so maybe             8    BY MR. PODOLSKY:

9    we don't have an agreement on the instruction yet either.        I         9    Q.    Mr. Wilson, when we broke for lunch, we were going through

10   was hopeful that we did.                                                   10   the Government Exhibit 2, the recording of the meeting on

11              THE COURT:   I don't want to keep the jury waiting, so          11   March 21st.      So, we will pick up with that.

12   I guess we are going to have to take a break before cross if               12                MR. PODOLSKY:    Mr. Hamilton, if you could just bring

13   this is going to still be a problem.                                       13   us back to maybe a few seconds before we ended the last time or

14              The witness needs to re-take the stand.                         14   so.

15              (Continued on next page)                                        15                (Audio/visual played)

16                                                                              16   BY MR. PODOLSKY:

17                                                                              17   Q.    Just so that everyone can be on the same page, Mr. Wilson,

18                                                                              18   can you turn to page 27 of the transcript?

19                                                                              19   A.    Yes, I'm there.

20                                                                              20   Q.    OK.    And do you see that I think where we ended, there was

21                                                                              21   a question about there's an appetite -- "I mean is there an

22                                                                              22   appetite to just be done."        Do you see that?

23                                                                              23   A.    Yes.

24                                                                              24   Q.    That is on line 21.

25                                                                              25   A.    Yes.


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1                MR. PODOLSKY:   I just want to give everyone an              1                Do you see that?

2    opportunity to make sure they were caught up.                            2    A.   Yes.

3                So if we could go ahead and play it.                         3    Q.   What did you understand he was telling you?

4                (Audio/visual played)                                        4    A.   That he had given me as much rope as he was willing to give

5    BY MR. PODOLSKY:                                                         5    me and the company, and that if we didn't reach agreement on

6    Q.   Mr. Wilson, if you turn back just for a moment to page 28           6    Monday, no matter, even if someone died, that there were going

7    of the transcript.     Do you see at line 8, Avenatti says, "No,         7    to be no more extensions.      He was going to go public if we

8    it's 22 and a half.     It was always 22 and a half.   There's           8    couldn't agree to his demands by Monday.

9    something magical about that number."                                    9    Q.   At this point, how long was it since you had first heard of

10               Do you see that?                                             10   his demands or what he was talking to you about?

11   A.   Yes.                                                                11   A.   I had spent less than 48 hours communicating with

12   Q.   To be clear, what is the "22 and a half" referring to, to           12   Mr. Avenatti at this point.

13   your understanding?                                                      13   Q.   At this point, did you understand what Mr. Franklin's legal

14   A.   This is the 22-and-a-half-million-dollar payment that he            14   claims, if any, were?

15   said could be made.     Then there would be full confidentiality.        15   A.   I never gained any understanding of what legal claims

16   He'd ride off into the sunset.                                           16   Mr. Franklin might have against Nike.

17   Q.   And he says, "There's something magical about that number."         17               MR. PODOLSKY:   Why don't we continue with the

18   What did you understand the basis of that number to be?                  18   recording.

19   A.   I have no idea what he meant or what the basis for it was.          19               Mr. Wilson, could you just make sure the mic is close

20   Q.   And if we go now to page 29 on the transcript.    You see           20   to your mouth when you are speaking.         Some people are having a

21   Avenatti says, "I don't wanna hear about somebody on a bike              21   little trouble hearing.

22   trip."   He continues, "I don't wanna hear that somebody's               22               THE WITNESS:    Sure.    My apologies.

23   grandmother has passed away or something, I don't -- look --             23               MR. PODOLSKY:   Thank you.

24   the dog ate my homework, I don't wanna hear, none of it is               24               (Audio/visual played)

25   gonna go anywhere unless somebody was killed in a plane crash."          25   BY MR. PODOLSKY:


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1    Q.   So you see there has been some more reference to "408"?             1    Q.   Do you see, Geragos also has a reference, on page 31, lines

2    A.   Yes.                                                                2    2 to 3, to "mediation" at the beginning of line 3.        Do you see

3    Q.   And you can you just remind us, what is 408?                        3    that?

4    A.   Sure.    That's the number of a rule in the Federal Rules of        4    A.   Yes.

5    Evidence that prevents parties who participate in settlement             5    Q.   Did you understand this to be a mediation?

6    discussions from using offers or demands, usually the dollar             6    A.   No.    We hadn't agreed to mediation.

7    amount, as evidence in a subsequent litigation about that                7    Q.   Was there anything about this meeting that resembled a

8    claim.   So if Mr. Franklin had come forward later and said I            8    mediation in your mind?

9    think my claims are worth $40 million, I wouldn't have been              9    A.   No.

10   able to say, if it was a real settlement discussion, if I'd              10               MR. PODOLSKY:   OK.     Why don't we continue with the

11   agreed to Rule 408, yeah, but in our settlement discussion, you          11   video.

12   only demanded as much as 1.5, so clearly now you're                      12               (Audio/visual played)

13   exaggerating.     That's the kind of thing that Rule 408 is              13   Q.   Thank you.

14   supposed to prevent.                                                     14               Mr. Wilson, what happened at this point in the

15   Q.   You referred to "settlement discussions" a number of times.         15   meeting?

16   Did you understand what you were engaging in at this meeting to          16   A.   We were done with most of the substance of what we were

17   be a settlement negotiation?                                             17   talking about, and we -- there was an extended period of

18   A.   Not at all, no.                                                     18   smalltalk, because Mr. Avenatti sought to print out a new

19   Q.   Why not?                                                            19   version of that settlement agreement that he had handed me

20   A.   Because what I thought I was engaging in was a stickup.     I       20   earlier in the meeting, but there was a whole thing with,

21   was not agreeing, I was not going to agree to anything that              21   first, it couldn't be emailed to the Assistant and then it

22   Mr. Avenatti wanted, but I wanted him to feel like there was             22   wasn't on the USB key.      There was a long wait as he was working

23   still a possibility that he would get paid off so he wouldn't            23   to get this document printed.         All I wanted to do was get out

24   pull the trigger -- he wouldn't give up on the talks and pull            24   of there, so I made some smalltalk while we were waiting for

25   the trigger on his media campaign immediately.                           25   that.


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1    Q.   How were things left at the end of this meeting?                     1    BY MR. PODOLSKY:

2    A.   At the end of the meeting, I had the -- I had the demand.            2    Q.   Mr. Wilson, do you recognize the document on the screen in

3    The way it was left was that I would go to my client, try to              3    front of you?

4    work to get agreement purportedly to that, and that we would              4    A.   Am I able to look through the subsequent pages?

5    meet again on Monday.       So this was on a Thursday, so four days       5               MR. PODOLSKY:   Could you, please.

6    later, on Monday, at which point I was supposed to come with              6               (Pause)

7    authority to agree with his demands.       We were going to have          7    A.   Yes, I recognize it.

8    that meeting at my prior law firm's offices in Hudson Yards.              8    Q.   What is that document?

9    Q.   So what did you understand would happen on Monday?                   9    A.   This is a copy of the settlement agreement that

10   A.   When I left this meeting on Thursday, I understood that I            10   Mr. Avenatti reprinted and let me leave the meeting with.

11   would be sitting down with Mr. Avenatti and Mr. Geragos again             11              MR. PODOLSKY:   Your Honor, the government offers

12   on Monday.                                                                12   Government Exhibit 205.

13   Q.   And, again, at that point, what did you think would happen           13              THE COURT:   Any objection?

14   at that meeting?                                                          14              MR. H. SREBNICK:    No objection.

15   A.   At that meeting, I wasn't sure what would happen because             15              THE COURT:   205 is received.

16   ultimately I wasn't going to sign something or agree to                   16              (Government's Exhibit 205 received in evidence)

17   something, but that he would expect me to show up and either              17              MR. PODOLSKY:   Thank you, your Honor.

18   agree to his demands or not, and if not, that he would begin              18              May we publish?

19   his reputational assault on the company after he heard a no.              19              THE COURT:   Yes.

20               MR. PODOLSKY:   All right.   Why don't we take down           20   BY MR. PODOLSKY:

21   Government Exhibit 2 and pull up just for the lawyers and the             21   Q.   All right.    Now that it is on everyone's screens,

22   Court and Mr. Wilson what has been marked for identification as           22   Mr. Wilson, what are we looking at here in Government Exhibit

23   Government Exhibit 205.                                                   23   205?

24               I think at this point we can put aside our transcripts        24   A.   We're looking at the first page of a draft settlement

25   as well.                                                                  25   agreement between a Nike entity on the one hand and


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1    Mr. Franklin and the Cal Supreme basketball organization on the           1    shall pay by wire transfer to an account designated by

2    other hand.                                                               2    Franklin's counsel by email, in good funds, free of all liens,

3    Q.   And when did you get this document?                                  3    claims, encumbrances, and issues of any kind, the total sum of

4    A.   Shortly before I left Mr. Geragos' office, handed to me by           4    [insert]."

5    Mr. Avenatti, on Thursday, March 21st.                                    5    Q.   So, first of all, there are two dates that we've looked at

6                MR. PODOLSKY:   Mr. Hamilton, could we blow up the top        6    at the top.    It says it is dated and effective as of this

7    of the document.     Perfect.                                             7    25th day of March 2019.      What day was that?

8    Q.   So do you see title of this document is, "General Release            8    A.   That was Monday, the date we were supposed to sit down

9    and Settlement Agreement"?                                                9    again together at my offices.

10   A.   Yes, I do.                                                           10   Q.   Did you understand that this document would have to be

11   Q.   And it reads:   "This general release and settlement                 11   signed on Monday?

12   agreement (this "Agreement") dated and effective as of this               12   A.   Yes, subject to what we discussed in the meeting about the

13   25th day of March, 2019, is made and entered into by and                  13   possibility that we might be able to negotiate some of the

14   between Gary Franklin and California Supreme Youth Basketball,            14   terms other than payment and date of payment -- payment amount

15   Inc. on the one hand (collectively "Franklin"), and Nike USA,             15   and date of payment.

16   Inc. ("Nike") on the other (each a party and collectively "the            16   Q.   And when would, if this document were signed, would Nike

17   parties"). "                                                              17   have to pay the money?

18               Do you see that?                                              18   A.   The next day, Tuesday, March 26th.

19   A.   Yes.                                                                 19   Q.   And where would Nike have to send that money?

20   Q.   Let's skip down.                                                     20   A.   To whatever account Mr. Avenatti told us to send it to.

21               Do you see there is, next to 1, a bolded title,               21   Q.   And do you see there is a heading below that says, "Strict

22   "Payment"?                                                                22   Confidentiality"?

23   A.   I see that.                                                          23   A.   I see that.

24   Q.   Could you just read the paragraph below that?                        24   Q.   What does that paragraph say?

25   A.   Paragraph 1.1 reads:      "On or before March 26, 2019, Nike         25   A.   It says that the contents of the agreement and discussions


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1    leading to it were to be held strictly confidential and not                 1    Inc. by Gary Franklin.      Do you see that?

2    disclosed except in certain specified circumstances.                        2    A.   I see those three signature blocks, yes.

3    Q.   And the section that says, "General Release and Waiver of              3    Q.   Could you point to the part of this agreement that

4    All Claims," do you see that?                                               4    references an internal investigation?

5    A.   I do.                                                                  5    A.   There is not anything anywhere in this document about an

6    Q.   What do you understand that section of the agreement to be?            6    internal investigation.

7    A.   A general release, as opposed to a specific release, of                7                MR. PODOLSKY:   We can take that down, Mr. Hamilton.

8    particular claims.       A general release is when one party says to        8                And, your Honor, at this point I would like to offer

9    the other I release any claim I might possibly have against                 9    and read another stipulation.      This is Government Exhibit S13.

10   you, without specifying what some such claim might be.                      10               THE COURT:   All right.   You may proceed.

11   Q.   Are any claims of Mr. Franklin specified in this settlement            11               MR. PODOLSKY:   Thank you, your Honor.

12   agreement?                                                                  12               May I publish it to the jury?

13   A.   You would expect to find that, but there is nothing about              13               THE COURT:   There is no objection to S13?

14   any claim specifically that Mr. Franklin had or thought he                  14               MR. H. SREBNICK:   No objection.

15   might have against the company reflected in this document.                  15               THE COURT:   S13 is received, and you may publish it.

16               MR. PODOLSKY:   If we could go to the second page and           16               MR. PODOLSKY:   Thank you.

17   we can just zoom out.       We are not going to dwell here but just         17               (Government's Exhibit S13 received in evidence)

18   so that we can see it.                                                      18               MR. PODOLSKY:   Mr. Hamilton, if you could just maybe

19               OK.                                                             19   blow up the top.

20               And there is a third page.                                      20               So the top of the stipulation is entitled,

21               And the final page.                                             21   "Stipulation Regarding Twitter Materials," and it has the same

22   Q.   And do you see there are some blanks for signatures there?             22   introductory material as the prior stipulation we read.

23   A.   Yes.                                                                   23               And I'll start at paragraph 1.

24   Q.   Do you see the top one is for Nike U.S.A., Inc. and then               24               "If called as a witness, a representative of Twitter,

25   Gary Franklin and then California Supreme Youth Basketball,                 25   Inc. ("Twitter") would testify that:


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1                "A.   Twitter operates a social media website,                  1    Q.   What is it?

2    accessible at Twitter.com, and application that permits users               2    A.   This is a tweet from Mr. Avenatti's Twitter account.

3    to post publicly statements, photographs, and/or videos,                    3    Q.   And do you recall seeing this tweet at or around the time

4    commonly referred to as 'Tweets.'        A tweet may also contain a         4    it was publicized?

5    link to another Twitter post or other website on the Internet.              5    A.   I saw it immediately within minutes of it being sent out.

6                "B.   A user of Twitter may tweet from any electronic           6    Q.   Let's just walk through this so we know how to read this.

7    device connected to the Internet, including a phone.       The              7                Do you see at the top, it says,

8    exhibits set forth in Annex A, below, are accurate copies of                8    "MichaelAvenatti@Michael Avenatti."      Do you see that?

9    posts from the Twitter account @MichaelAvenatti made by Michael             9    A.   Yes.

10   Avenatti, the defendant."                                                   10   Q.   What does that refer to?

11               We can take that down.                                          11   A.   That's the name on the account, the Twitter account.

12               Pursuant to that stipulation, your Honor, the                   12   Q.   And let's skip the text for a moment.

13   government offers Government Exhibit 106.                                   13               Do you see at the bottom, it reads "3:52 p.m.,

14               THE COURT:   Any objection?                                     14   Mar. 21, 2019," do you see that?

15               MR. H. SREBNICK:    One moment, your Honor.                     15   A.   Yes.

16               (Pause)                                                         16   Q.   What does that refer to?

17               No objection, your Honor.                                       17   A.   As I understand, that's the date, March 21st, and the time,

18               THE COURT:   106 is received.                                   18   3:52 p.m., that this tweet was published.

19               (Government's Exhibit 106 received in evidence)                 19   Q.   And approximately how long after -- well, let me start with

20               MR. PODOLSKY:   And may I publish, your Honor?                  20   this question.

21               THE COURT:   Yes.                                               21               Was that before or after you concluded your meeting on

22               MR. PODOLSKY:   Thank you.                                      22   March 21st that we watched in Government Exhibit 2?

23   BY MR. PODOLSKY:                                                            23   A.   It was after we met.

24   Q.   Mr. Wilson, do you recognize what we're looking at?                    24   Q.   About how long after you finished meeting?

25   A.   Yes, I do.                                                             25   A.   I believe it was within an hour or so of leaving


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1    Mr. Geragos' office.                                                    1                THE COURT:   Any objection?

2    Q.   And do you see that the post says, "Something tells me that        2                MR. H. SREBNICK:    No objection.

3    we have not reached the end of this scandal.      It is likely far      3                THE COURT:   601 is received.

4    broader than imagined;" do you see that?                                4                (Government's Exhibit 601 received in evidence)

5    A.   Yes.                                                               5                MR. PODOLSKY:   And may we publish?

6    Q.   And do you see there is a picture below?                           6                THE COURT:   Yes.

7    A.   I do.                                                              7    BY MR. PODOLSKY:

8    Q.   And it reads, "College Basketball Corruption Trial:                8    Q.   We won't dwell on this, but, Mr. Wilson, what is the

9    Ex-Adidas exec sentenced to nine months in prison, two                  9    document labeled as Government Exhibit 601?

10   others..."                                                              10   A.   This is the article about a former Adidas executive being

11               Do you see that?                                            11   sentenced to prison that was linked in the tweet by Mr.

12   A.   Yes.                                                               12   Avenatti sent out shortly after I met with him on March 21st.

13   Q.   What did you understand that portion of the tweet to be?           13   Q.   So we can just be clear, generally, what was the subject

14   A.   I understood that to be a linked -- text from a linked             14   matter of this article?

15   article on the website cbssports.com.                                   15   A.   So the subject matter of the article was that not only had

16               MR. PODOLSKY:   If we could very quickly, before we         16   an Adidas executive been charged by the government for a scheme

17   finish this, pull up for the witness what has been marked for           17   involving paying bribes to a player to go to a particular

18   identification as Government Exhibit 601.                               18   college but had been convicted by a jury and was being

19   Q.   Mr. Wilson, do you recognize this document?                        19   sentenced to prison for that -- for that crime.

20   A.   Yes, I do.                                                         20   Q.   If we could turn to Government Exhibit 106, please.

21   Q.   What is it?                                                        21               Mr. Wilson, what was your reaction to seeing this

22   A.   This is an article published on the website of                     22   tweet on the afternoon of March 21, 2019?

23   cbssports.com on March 5, 2019.                                         23   A.   My reaction was extreme alarm.       I was initially worried

24               MR. PODOLSKY:   Your Honor, the government offers           24   that I had spooked Mr. Avenatti and that he was starting his

25   Government Exhibit 601.                                                 25   assault on Nike.    But then when I read it a second time, I


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1    realized it didn't mention Nike and so I took it instead as a           1    A.   Well, we -- with new information, you can go back and see

2    shot across the bow, of him trying to flex his muscles and show         2    if there are other documents, the relevance of which might not

3    me that he, with hundreds of thousands of Twitter followers,            3    have been apparent to you the first time around.       So that's

4    that he could start ginning up coverage and chatter about this          4    what we did.     Based on what I could remember, we tried to go

5    topic, make good on the threats that he had made.                       5    back and find other documents in the company's possession that

6    Q.   Now, before we continue, you referenced earlier in your            6    might be relevant or of interest to the government.       But it

7    testimony that you saw some new information or documents in             7    wasn't until a little while later when we got more information

8    your first meeting with Mr. Avenatti.      Do you recall that?          8    about what had been in those documents that I only briefly saw

9    A.   Yes, I do.                                                         9    that we were truly able to do that follow-up work.

10   Q.   What, if anything, did you do after seeing new documents           10   Q.   Now, you stated earlier that you understood you would be

11   that you were not familiar with?                                        11   meeting with Mr. Avenatti again on March 25th.        Do you recall

12   A.   The first thing I did, as best I could remember them, was          12   that?

13   to describe them to my junior associate during that break I             13   A.   Yes.

14   talked about taking on the sixth floor of the office building           14   Q.   So let me focus your attention on the morning of

15   during my meeting.    And then, in calls with the government            15   March 25th.

16   later that day, again as best I could recall, having only been          16               At that time, did you still intend to meet with him

17   given a few minutes to look at these documents, I described             17   that day?

18   what I had seen to the prosecutors, because, as I said before,          18   A.   By that point, the morning -- the following Monday, no, I

19   the company was cooperating with the government's investigation         19   did not intend to meet with him in person.

20   and I felt responsible for promptly sharing these new pieces of         20   Q.   Why not?

21   information with the government.                                        21   A.   The government had informed me that Mr. Avenatti would be

22   Q.   Did you provide any additional documents or information to         22   arrested when he arrived at my office that day, on Monday,

23   the government thereafter?                                              23   before the scheduled meeting, and they indicated that they

24   A.   We did, yes.                                                       24   would not ask me to be with him in a room but, rather, that he

25   Q.   Can you just generally describe what that was?                     25   would be arrested upon arrival.


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1               MR. PODOLSKY:   Your Honor, if I may just have one                1               (Jury not present)

2    moment?                                                                      2               THE COURT:   You can step down, Mr. Wilson.

3               THE COURT:   Yes.                                                 3               THE WITNESS:   Thank you, your Honor.

4               (Pause)                                                           4               (Witness not present)

5               MR. PODOLSKY:   Your Honor, the government has no                 5               THE COURT:   Please be seated.

6    further questions at this time.                                              6               Do you want to hand up what the current version of the

7               THE COURT:   All right.    Do we need to take a recess to         7    subpoena is, or what you've agreed to?

8    address the legal issue that we talked about?                                8               MR. RICHENTHAL:    We don't have a version that is

9               MR. S. SREBNICK:     Yes, your Honor.                             9    redacted.    We just understand what the defense's position is,

10              MR. RICHENTHAL:     Yes.                                          10   and it's our view that more should be redacted.

11              MR. PODOLSKY:   I believe so, your Honor.                         11              THE COURT:   OK.

12              THE COURT:   All right.    Ladies and gentlemen, we are           12              MR. RICHENTHAL:    Does your Honor have a copy from

13   going to have to take a brief recess for me to rule on a legal               13   earlier?

14   issue.    So we will be back to you as soon as we possibly can.              14              THE COURT:   I do.

15              Thank you very much.                                              15              MR. RICHENTHAL:    OK.   And, also, Ms. Perry had advised

16              THE CLERK:   All rise.                                            16   me to bring a limiting instruction, but perhaps that is not so.

17              (Continued on next page)                                          17              MR. S. SREBNICK:     We were still communicating

18                                                                                18   internally, that is all.

19                                                                                19              MR. RICHENTHAL:    So taking those issues in order, with

20                                                                                20   respect to the subpoena -- and, obviously, I can't speak for

21                                                                                21   the defense, but I think I understand its position sufficiently

22                                                                                22   to provide it.   My understanding is that the defense has no

23                                                                                23   issue with redacting all of the numbered categories on pages --

24                                                                                24              THE COURT:   Could we just start with the first page so

25                                                                                25   I understand what is coming in?


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1               MR. RICHENTHAL:     Of course.   I'm sorry.                       1               These not only the statutes that were charged in the

2               THE COURT:   So the first page is a cover letter.     So          2    Adidas case, these include statutes that, to my knowledge, have

3    what's the party's agreement with respect to that?                           3    not been charged in any case like this.       As the Court knows and

4               MR. RICHENTHAL:     There is no agreement with respect to         4    the lawyers know but the lay jury does not know, it's common

5    this page.    We had expressed a view that it would probably be              5    practice to list far more statutes than are likely to be

6    better for the word "felony" to be redacted, because it is not               6    charged.    Because the jury doesn't know that, the jury may

7    clear to me that the jury needs to be exposed to that word for               7    misapprehend why there are this many statutes here or speculate

8    the defense to explore whether Nike has fully complied with the              8    as to what they mean.

9    subpoena.    It is a word that obviously has a certain meaning               9               The witness presumably once shown this document might

10   and can cause a certain emotional reaction in people.         We had         10   be asked what they mean.      Those answers themselves could be

11   requested that that word and that word alone on that page be                 11   deeply confusing.   For example, just to pick one, the last

12   redacted.    The defense rejected that proposal.                             12   section is for money laundering.       There has been no discussion,

13              THE COURT:   All right.    Do you have any other problems         13   even in the defense opening, of money laundering, as opposed to

14   with the first page?                                                         14   corruption.    We think the statues themselves are not necessary

15              MR. RICHENTHAL:     No, your Honor.                               15   to the asserted purpose, and even if there is some theoretical

16              THE COURT:   All right.    The first page is going to             16   relevance to the statute, we think it could be confusing and

17   come in in its current form.                                                 17   distracting for the jury.       We simply wanted to redact that

18              MR. RICHENTHAL:     Would your Honor now like me to speak         18   line.

19   to the second page?                                                          19              THE COURT:   What does the defense say?

20              THE COURT:   Please, yes.                                         20              MR. S. SREBNICK:     It rejected that proposal as well.

21              MR. RICHENTHAL:     So on the second page we had                  21              Our position is that it goes to Mr. Wilson's state of

22   requested that the statutes be redacted.         Our reason for that         22   mind.   We have heard him now this morning and this afternoon

23   is the same.    They are not necessary to the defense's asserted             23   testify about his understanding, about his emotional reactions,

24   purpose for the offering of this document.         At the same time,         24   about his comments on Mr. Avenatti and the words that

25   they are also confusing.                                                     25   Mr. Avenatti was using, all of those things the Court heard,


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1    and now it is time for him to be cross-examined about what his              1    asserted purpose of bias.

2    state of mind was about the investigation and his bias.        So all       2               THE COURT:   I'm overruling the objection.

3    of these statutes are relevant to his concern about what Nike               3               MR. RICHENTHAL:     I'm sorry.   Will the defense be

4    was being investigated for, what these documents related to.                4    allowed to explore what the statutes mean, your Honor?

5    So, yes, we do intend to go into that with Mr. Wilson.                      5               THE COURT:   Yes.    Yes.   I mean, the witness who is

6               MR. RICHENTHAL:   So, your Honor, that's only                    6    currently on the stand, Mr. Wilson, as I understand it, was

7    heightened our concern.      Here's why.   Mr. Srebnick just said           7    responsible for dealing with the U.S. Attorney's Office with

8    "what Nike was being investigated for."       But that's not what a         8    respect to the subpoena that we're talking about now.         And he

9    subpoena is.    A subpoena is simply a demand for documents.     It         9    talked about the company's desire to cooperate, the fact that

10   doesn't indicate that the person or company to whom it is                   10   it was in full cooperation mode with the government and had

11   directed is under investigation, much less has committed                    11   been for more than a year.       So that issue is already front and

12   misconduct.    In fact, that's why we think a limiting                      12   center, and I believe that the defense is entitled to explore

13   instruction is so critical here.                                            13   with Mr. Wilson why the company had decided to fully cooperate

14              Certainly we have no objection to the defense                    14   with the government's investigation, and this is part of that

15   cross-examining Mr. Wilson as to the subject matter of the                  15   exercise.    I guess that's how the exercise started; it probably

16   subpoena.    In fact, I believe my colleague asked him that very            16   started with this subpoena.       So I'm not going to redact the

17   question.    But the literal statutes listed on it are not                  17   statutory references.

18   relevant to that purpose.                                                   18              MR. RICHENTHAL:     Let me just make two small notes,

19              And Mr. Wilson is a sophisticated white-collar                   19   your Honor.    I am not asking for reconsideration.     I just want

20   practicer.    He would understand that the statutes commonly are            20   to note two things.

21   broader than what is under investigation, but the jury will                 21              It is our understanding Mr. Wilson was not believed in

22   not.   They won't know whether Mr. Wilson is speaking from                  22   dealing with our office by any means, that other lawyers were.

23   experience or not.      They won't know how to even weigh that              23   He had some involvement --

24   answer.    We would have to then probe that on redirect.                    24              THE COURT:   It may be, but that's not what he

25              It goes down a path that is just not relevant for the            25   testified to.    So if you intended to elite from him that


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1    actually he wasn't the point person, you did not do that.        In         1    is or is not.    I don't know anything about the Adidas case or

2    fact, to the contrary, I came away with the distinct impression             2    what was charged in it.       I know nothing about that.   I don't

3    that he was the point person for dealing with the U.S.                      3    know whether Mr. Wilson does or not.

4    Attorney's Office.      So I guess that will be clarified on                4               But if you wanted to -- if the government wants on

5    cross-examination, maybe on redirect, but I came away with the              5    redirect to get into whether all statutory references in a

6    impression that he was responsible for the contacts with the                6    subpoena wind up in a later indictment, I don't see any problem

7    U.S. Attorney's Office.      And, in fact, that impression was only         7    with that if that issue is gone into on cross-examination.

8    deepened by his testimony that he felt it necessary to call the             8               MR. RICHENTHAL:     That's why I'm exploring it.   I would

9    U.S. Attorney's Office very soon after his encounter with                   9    rather tee this up sooner.

10   Mr. Avenatti when he was shown those documents.       He felt that          10              And for the same reason -- and, again, I am not asking

11   it was necessary for him to contact the U.S. Attorney's Office              11   your Honor to reconsider, but I just want to explain our view

12   very quickly.    That communicated to me that he was in fact the            12   of why this gets complicated quickly.        The defense has proposed

13   point person for Nike's interactions with the U.S. Attorney's               13   to redact all but one of the categories on pages 4 to 5 of the

14   Office.                                                                     14   materials to be produced.

15              MR. RICHENTHAL:   I can't speak for Mr. Wilson, but I            15              THE COURT:   Could we, like, just continue with page 3

16   think he was talking about that decision, not production a year             16   and find out what the agreement or lack of agreement is as to

17   ago, but this will be the subject, I suspect, of cross and that             17   page 3?

18   is fine.    It is just my understanding he was not the lead.                18              MR. RICHENTHAL:     I'm sorry.   The reason I skipped

19              And then, second, just to preview for the Court:      I          19   ahead is neither side is seeking to redact page 3.

20   assume that if the defense were to explore the statutes, my                 20              THE COURT:   OK.    So we have no other issues with page

21   colleague would be permitted on redirect to explore, for                    21   2.   There are no issues with page 3.       And now we are on page 4?

22   example, that these are not crimes charged against the Adidas               22              MR. RICHENTHAL:     Yes, your Honor.

23   executives, that a subpoena commonly lists more than the                    23              So pages 4 to 5, the defense has proposed redacting

24   government necessarily believes it can charge except --                     24   all categories except category 3, consistent with what I think

25              THE COURT:   I don't know what the connection to Adidas          25   it said before we broke for lunch.        It has asked that the


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1    numbering remain, so the jury is aware that there were eight                1    documents.

2    categories, but that all save number 3 would be redacted.        We         2               THE COURT:   I have ruled on that.    Nothing you said

3    have no problem with that proposal.                                         3    changes my mind.

4               The reason I mentioned it in connection with the                 4               MR. RICHENTHAL:    OK.   So where we stand, I believe,

5    statutes is -- maybe this needs to be explored again on                     5    your Honor, is that the redactions will be kept on all the

6    redirect -- I think Mr. Wilson would well understand the                    6    categories on pages 4 and 5 other than category 3.

7    statutes don't line up with every category.       That's just not           7               THE COURT:   Right.    So that the language -- on page 4,

8    how subpoenas work.     Right?    They are listed up front and there        8    the language above "Materials to be Produced," that language is

9    are a bunch of categories.       If my colleague needs to explore           9    going to remain as it is?

10   that on redirect, he will, but that is again why we think it is             10              MR. RICHENTHAL:    May I just have one moment to confer?

11   very confusing to get into what the statutes mean and don't                 11              THE COURT:   Sure.

12   mean.                                                                       12              (Pause)

13              MR. S. SREBNICK:   I want to be clear about one thing.           13              MR. RICHENTHAL:    I mean, thank you for the moment.

14   It would be my preference that none of it be redacted.      As an           14              If we are going to redact the other categories to be

15   accommodation, so that we could move on, I said, well, then                 15   produced, it occurs to the government that, similarly, the

16   let's redact all seven, all other categories other than the                 16   other categories to be preserved should be redacted.      In other

17   ones that pertain to what I believe this case is about.      So             17   words, if the defense is interested in exploring category 3,

18   that's why I thought I was making an accommodation to leave                 18   the fact that Nike was asked to preserve things that are not

19   only number 3 and take out everything else.       And so I didn't           19   relevant to category 3 is likely to cause the jury to speculate

20   realize I was going to create confusion for the government by               20   about what's under the redaction boxes.

21   doing so.    If the government wants them all back in, that is              21              (Pause)

22   fine.   That fine with me.                                                  22              I mean, frankly, I think the whole preservation part

23              MR. RICHENTHAL:    I'm not suggesting that.   I am just          23   can come out entirely.     There has been no questioning of any

24   previewing some of the complexity that may arise during cross               24   kind or even a suggestion that Nike failed to preserve

25   and redirect about the statutes and the relationship to                     25   documents.


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1               MR. S. SREBNICK:   This just shows the breadth of the            1    preserved.

2    subpoena.    It doesn't get into any of the details.                        2               I don't feel strongly enough about this issue to waste

3               THE COURT:   Well, no, but the Assistant is making the           3    any more of the Court or the jury's time.       The important thing

4    point that it seems logical there would be symmetry, right,                 4    to us is that the jury know that this is a subpoena, what is

5    between the materials to be preserved and the materials to be               5    being investigated, and in category number 3.       So if we can

6    produced.    So that's the argument and it seems logical.                   6    reach an accommodation that if the Court wants to do something

7               MR. S. SREBNICK:   I think the materials to be                   7    additional with that category of materials to be preserved, you

8    preserved, 1 through 4, which are at pages 3 and 4 of the                   8    know, we want to move on.

9    subpoena, relate to each one of the categories of materials to              9               MR. RICHENTHAL:    I think the entire category should

10   be provided.    I think it talks about documents --                         10   simply be redacted.     I don't know the mental state of the

11              THE COURT:   Right.   But you've -- we're redacting              11   drafter of the subpoena; it was not me or any member of my

12   everything but paragraph 3 under "Materials to be Produced."                12   team.    But by my reading and sort of by definition, it is other

13   That's what I understand the parties' agreement to be.                      13   stuff.    Otherwise, it would be what's demanded rather than

14              MR. S. SREBNICK:   Right.                                        14   what's requested.

15              THE COURT:   And so the Assistant's point is that,               15              MR. S. SREBNICK:     Let me make it easy, Judge.   We can

16   well, having reached that agreement to redact everything but                16   redact the entire category of the materials to be preserved.

17   paragraph 3 under "Materials to be Produced," that there should             17   This is about a production of documents.       I'm fine with that.

18   be symmetry between that category and the category of materials             18              THE COURT:   OK.   So the heading and everything beneath

19   to be preserved.                                                            19   the heading of "Materials to be Preserved" will be redacted.

20              MR. S. SREBNICK:   What I'm saying, Judge, is that               20   And then with respect to the heading "Materials to be

21   those four categories don't correlate to the eight other                    21   Produced," the only paragraph that won't be redacted is

22   categories to be produced.       All four of those categories of            22   paragraph number 3.

23   materials to be preserved pertain to each one of the eight                  23              MR. RICHENTHAL:    Correct.   We can try to see if our

24   categories of materials to be produced.       It is just these are          24   paralegals can do that in realtime.       I don't know if the

25   just broad categories of the types of communications to be                  25   defense wants to publish the exhibit.       Obviously, we wouldn't


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1    want publication of information that is going to be redacted.                1    I wish we did.   I'm happy to hand up the parties' two

2               MR. S. SREBNICK:     We will work on our redaction and            2    proposals.    I'm happy to explain my concerns about the defense

3    show it to the government before we publish it.                              3    proposal.

4               MR. RICHENTHAL:    That is perfect.                               4               Let me preview by saying I don't think we are far

5               THE COURT:   OK.                                                  5    apart -- that is the good news -- but they are not the same.

6               MR. RICHENTHAL:    May I have one moment, your Honor?             6               The two proposals are close to the same, if not

7               (Pause)                                                           7    identical, with respect to redactions.        I think this is the

8               MR. S. SREBNICK:     Judge, while they are doing that --          8    first time the jury will have seen redaction boxes, and I think

9               THE COURT:   I just need -- this last page isn't coming           9    both parties think it is appropriate the jury be told what that

10   in, right, "Declaration of Custodian of Records," that's                     10   is, not to speculate about it.      That is the goods news.

11   eliminated, right?                                                           11              The second part of the instruction, perhaps

12              MR. RICHENTHAL:    Correct, your Honor.   I'm sorry.    I         12   unsurprising, is the part where we diverge a bit, which is

13   should have finished our discussion before looking at the                    13   about what a subpoena means and what the jury should be told

14   defendant's proposal.                                                        14   about it in this case.

15              May I just have a minute just to read the defense                 15              I can hand them up.    The defense is the handwritten

16   limiting instruction proposal?       I just saw it for the first             16   one.    The government's is the typewritten one.

17   time.                                                                        17              (Pause)

18              THE COURT:   OK.                                                  18              (Continued on next page)

19              MR. H. SREBNICK:     I just have a logistical request.            19

20              Rather than being positioned all the way there, may I             20

21   just have the podium here and speak from a microphone and do my              21

22   examination from right here?                                                 22

23              THE COURT:   Sure.                                                23

24              MR. H. SREBNICK:     Thank you.                                   24

25              MR. RICHENTHAL:    I don't think we have agreement, and           25


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1               THE COURT:   First of all, redactions.    I am just going         1    case.    Don't speculate about what was deleted.

2    to tell them, this is way too lengthy and more complicated than              2               Secondly, as to what a subpoena is, it is the vehicle

3    it needs to be.      I would just simply tell them, as I generally           3    by which the government obtains documents it wants for purposes

4    do, that the material that's been redacted is irrelevant, and                4    of its investigation.    The fact that the government has issued

5    they are not to speculate what was redacted.       That's 10 words,          5    a subpoena to a person or entity does not mean that the

6    I think.    That's what I'll say.     I am not sure I totally                6    recipient has committed a crime or that the government believes

7    understand the difference between the two proposals on tell                  7    that the person or entity has committed a crime.       Instead,

8    them what a subpoena is.                                                     8    subpoenas are issued to people and entities who might have

9               MR. RICHENTHAL:    I agree, your Honor.   I think it's            9    documents relevant to the government's investigation.

10   close.   The difference is, the defense proposal seems to                    10              Any problems with that?

11   suggest falsely that a group of lay citizens known as the grand              11              MR. RICHENTHAL:    No objection from the government.

12   jury requested these documents.       That's just false.   Everyone          12              MR. S. SREBNICK:    That's fine.

13   in this courtroom knows it's false, and I don't think the jury               13              MR. RICHENTHAL:    Mr. Srebnick just advised us, and I

14   should be told something that's false.                                       14   don't really understand the contours of it, that he intends to

15              MR. S. SREBNICK:     I don't have a problem with                  15   elicit from the witness that certain human beings are in the

16   substituting government body for grand jury.       That's fine.    I         16   audience that are from the Boies Schiller firm.        We are

17   was actually trying to be accurate.       I don't have a problem             17   troubled by that.    If he wants to subpoena people and seek to

18   substituting the words Department of Justice for the grand                   18   make them witnesses, that's fine.      To point to them and somehow

19   jury.                                                                        19   suggest the jury should infer somebody we think is both

20              THE COURT:   Just give me a minute.                               20   irrelevant and deeply confusing for the jury to understand.

21              I am going to give the following two instructions.                21   Why lawyers might be here requires a whole side show that we

22   The first is:    You will notice that some parts of the subpoena             22   don't think is appropriate.

23   have been deleted, such as telephone numbers and e-mail                      23              MR. H. SREBNICK:    All I intended to do is have Mr.

24   addresses, as well as categories of materials to be produced.                24   Wilson confirm that the lawyers from Boies Schiller are here

25   This material has been deleted because it's irrelevant to this               25   observing the testimony, his former colleagues that he worked


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1    with.   They are observing his testimony and I believe they are          1    encounters you had with Mr. Avenatti, correct?

2    in the courtroom.    I think it's Mr. Skinner, Mr. Michaelson,           2    A.   There are audio or video recordings of two of the three

3    and perhaps an associate.                                                3    times I spoke to Mr. Avenatti, yes.

4               THE COURT:   I don't see the relevance of that.   You         4    Q.   The third encounter was actually the first encounter you

5    will not do that.                                                        5    had with Mr. Avenatti, correct?

6               MR. H. SREBNICK:   Understood.                                6                THE COURT:   I'm sorry.   I don't understand the

7               THE COURT:   The witness should take the stand.               7    question.

8               (Jury present)                                                8    Q.   Of the three, the one that's not recorded was the very

9               THE COURT:   Please proceed, Mr. Srebnick.                    9    first encounter you had with Mr. Avenatti, correct?

10              MR. H. SREBNICK:   Thank you, your Honor.                     10   A.   Yes.    The meeting I had with him on Tuesday, March 19 was

11   CROSS-EXAMINATION                                                        11   not recorded, to my knowledge.

12   BY MR. H. SREBNICK:                                                      12   Q.   To your knowledge, no one recorded that meeting, correct?

13   Q.   Mr. Wilson, my name is Howard Srebnick.    We have spoken           13   A.   That's correct.

14   before, correct?                                                         14   Q.   However, there was an associate from the law firm of Boies

15   A.   No, we have not.                                                    15   Schiller who was making notes at that meeting, correct?

16   Q.   In fact, you declined to speak to us despite our request to         16   A.   Yes.

17   speak to you, correct?                                                   17   Q.   His name is Mr. Homes, Benjamin Homes?

18   A.   Through counsel I declined a request to speak with you              18   A.   That is his name, yes.

19   before trial.                                                            19   Q.   H-o-m-e-s, correct?

20   Q.   In other words, we reached out through your lawyers, your           20   A.   That is the correct spelling of his last name, yes.

21   lawyer, to speak to you and you declined?                                21   Q.   He made notes of that meeting and got input from other

22   A.   That is correct, yes.                                               22   members of the firm preparing those notes?

23   Q.   And you testified to the jury today about many different            23   A.   From my understanding, because I was in the room with him,

24   things about Mr. Avenatti, what you understood him to say, but,          24   he prepared the notes on his own while we were either sitting

25   of course, we have the tape recordings of two out of the three           25   in the meeting with Mr. Avenatti and Mr. Geragos or during the


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1    brief time up on the sixth floor of the building where it was            1                Do you recall that?

2    just Mr. Homes, Mr. Leinwand, and me.                                    2    A.   There was a phrase Mr. Avenatti used I was asked about

3    Q.   After the meetings of that day do you recall he prepared a          3    during my questioning by the government.       I don't remember if

4    typewritten set of notes that memorialized his best                      4    it was self-reporting or self-report.       It was close to that,

5    recollection of the events of that meeting?                              5    yes.

6    A.   I understand that he did, yes.                                      6    Q.   Self-report, right.    So the jury understands, that's in

7    Q.   Did you ever review Mr. Homes' typewritten notes?                   7    connection with the company, in this case Nike, having had law

8    A.   No, I have not.                                                     8    firms or having law a firm do an internal investigation and

9    Q.   Have you ever reviewed any of Mr. Homes' notes of any of            9    deciding whether to report the findings of that internal

10   the meetings that occurred or any of the encounters or                   10   investigation to let's say the government?

11   conversations you had with Mr. Avenatti and/or Mr. Geragos?              11   A.   I generally understand self-report to refer to voluntary

12   A.   With respect to Mr. Geragos, I believe that Mr. Homes               12   disclosure to the government.     Mr. Avenatti had also mentioned

13   prepared the notes of one of the calls, at least, that I had             13   that he was somehow aware that the company had a grand jury

14   with Mr. Geragos before meeting Mr. Avenatti, and I don't know           14   subpoena.     I don't regard producing materials sought by a grand

15   if I reviewed his notes per se, but I did review his typed-up            15   jury subpoena as quote/unquote self-reporting.

16   notes of that call.     By notes, I don't know that I reviewed his       16   Q.   Let's explain that to the jury about a grand jury subpoena.

17   handwritten notes.                                                       17   In 2017, approximately September, Nike received a grand jury

18   Q.   Now, you were telling the jury about some of the, quote,            18   subpoena, correct?

19   understandings you had about what Mr. Avenatti may have meant            19   A.   Yes, it did.

20   when he said certain things to you.                                      20   Q.   And a grand jury subpoena is effectively an order of the

21              Do you recall telling the jury that?                          21   Court to produce records, correct?

22   A.   I recall there were some questions where the government             22   A.   I am not sure I regard a grand jury subpoena as a court

23   asked for my understanding of what Mr. Avenatti meant, yes.              23   order, but it is a request for the production of documents.

24   Q.   One of those things was about the concept of                        24   Q.   Well, it comes from the Court, right?      It's a court

25   self-reporting.                                                          25   document?


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     K1UMAVE6                   Wilson - Cross                                   K1UMAVE6                    Wilson - Cross

1    A.   It is a court document, but it's usually used by the grand        1    between lawyers on behalf of Nike and the U.S. Attorney's

2    jury at the request of the prosecutors.                                2    Office for the Southern District of New York?

3    Q.   And when a grand jury subpoena, what they call duces tecum,       3    A.   I recall there was a meeting in person within -- not that

4    is issued to a company, it calls for the production of                 4    long after I received the subpoena.     Sitting here today, I am

5    documents, correct?                                                    5    not sure whether it was in October.

6    A.   That is the Latin phrase for a subpoena that seeks                6    Q.   You recall there was a second meeting with the U.S.

7    documents, to my understanding, yes.                                   7    Attorney's office in November of 2017.

8    Q.   Is that the kind of subpoena that Nike received in                8               THE COURT:   Let me break in for a second.    Did you

9    September of 2017?                                                     9    attend either meeting on behalf of Nike with the U.S.

10   A.   Yes, that's right.                                                10   Attorney's Office?

11   Q.   And compliance with such a subpoena does not necessarily          11              THE WITNESS:   No, I did not.

12   require that Nike have lawyers meet with the government.     Nike      12   Q.   Were you aware of a second meeting that occurred in

13   can simply produce the records, right?                                 13   November of 2017?

14   A.   It is not a requirement when you respond to a grand jury          14   A.   I don't recall the date of either meeting with precision,

15   subpoena that you do so through lawyers.     That's right.             15   but I do recall the Nike, along with counsel, met with the U.S.

16   Q.   In this case, however, Nike was concerned that it might           16   Attorney's Office in person twice between the receipt of the

17   have criminal exposure?                                                17   subpoena and when I met Mr. Avenatti.

18   A.   I don't know whether that's the case.                             18   Q.   There were multiple phone calls between Nike and its

19   Q.   Did Nike have multiple meetings with the U.S. Attorney's          19   lawyers and the U.S. Attorney's Office for the Southern

20   Office for the Southern District of New York after Nike                20   District of New York?

21   received the grand jury subpoena?                                      21   A.   No.   I don't believe that's correct.

22   A.   I am aware of two meetings that Nike had with the U.S.            22   Q.   No calls at all?

23   Attorney's Office between its receipt of the subpoena and the          23   A.   There weren't phone calls with Nike participating in the

24   time that I met Mr. Avenatti.                                          24   call.   There were calls between the lawyers for Nike at Boies

25   Q.   Was there a meeting in approximately October of 2017              25   Schiller and the U.S. Attorney's Office for the Southern


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     K1UMAVE6                   Wilson - Cross                                   K1UMAVE6                    Wilson - Cross

1    District of New York.                                                  1    announcement?

2    Q.   So we are clear, the law firm that was representing Nike in       2    A.   That was a public statement, but it was not a statement

3    connection with that grand jury investigation was Boies                3    referring to a subpoena.

4    Schiller?                                                              4    Q.   Just referring to an investigation, right?

5    A.   Correct, yes.                                                     5    A.   Correct.

6    Q.   That was the law firm where you were working at the time?         6    Q.   And the government, the Federal Government, investigates by

7    A.   That's right, yes.                                                7    way of grand juries, correct?

8    Q.   You no longer work there.   You work at a different law firm      8    A.   The Federal Government has a number of ways that it

9    now?                                                                   9    conducts investigations, including by having grand juries issue

10   A.   True, yes.                                                        10   subpoenas.

11   Q.   But at the time Boies Schiller was Nike's law firm and Nike       11   Q.   In terms of any felony investigation, the government must

12   was having Boies Schiller communicate with the government in           12   proceed by way of a grand jury unless a citizen waives its

13   connection with that grand jury subpoena, right?                       13   rights to a grand jury, correct?

14   A.   Yes.                                                              14   A.   I am not sure I followed that question.    Sorry.

15   Q.   And Nike was professing to be, quote, cooperating with the        15   Q.   When we talk about a federal investigation, under our

16   investigation, correct?                                                16   Constitution --

17   A.   I am not sure what communications you are referring.    As I      17              THE COURT:   I think we are getting pretty far afield

18   stated earlier, Nike stated publicly that it was cooperating           18   here.

19   with the government's investigation.                                   19              MR. H. SREBNICK:   Understood, Judge.

20   Q.   This grand jury subpoena was really not much of a secret,         20   Q.   In all events, there was a public announcement that Nike

21   correct?                                                               21   was, quote, cooperating with this federal investigation,

22   A.   I don't know whether or not it was a secret.     I believed it    22   correct?

23   to be not public knowledge at the time.                                23   A.   The company stated publicly that it was cooperating with

24   Q.   When you say that Nike announced that it was cooperating          24   the government's investigation into corruption in amateur

25   with the investigation, that's an announcement, a public               25   basketball.


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     K1UMAVE6                    Wilson - Cross                                  K1UMAVE6                  Wilson - Cross

1               THE COURT:   Do you know approximately when it made         1    grand jury subpoena, by that point in time we had produced to

2    that announcement in relationship to the grand jury subpoena in        2    the government.

3    September 2017?                                                        3    Q.   When Mr. Geragos and Mr. Avenatti meet with you and they

4               THE WITNESS:   I believe that statement was provided to     4    are showing you documents that relate to Nike being involved in

5    the media within weeks of the Adidas arrest and the company's          5    payments to players, families, and handlers, those documents

6    receipt of the grand jury subpoena, but I don't recall                 6    presumably would have already been produced by Nike to the

7    specifically.                                                          7    federal grand jury, correct?

8    Q.   Now, we were talking earlier about self-reporting, and you        8    A.   Some of the documents that Mr. Avenatti let me briefly

9    were the one who brought up the issue that responding to a             9    review were documents that it was unlikely they would have ever

10   grand jury is something different than self-reporting, correct?        10   have been in Nike's possession like, for example, bank records

11   A.   I was drawing a distinction between voluntarily reporting         11   of Cal Supreme, a third-party entity not part of Nike.

12   information to the government and producing documents sought or        12   Q.   But the records in Nike's possession, for example, fake

13   the production of which is compelled by a subpoena, yes.               13   invoices, text messages by Nike, officers directing

14   Q.   By the time Michael Avenatti and Mark Geragos met with you        14   Mr. Franklin to pay family members of players from Nike

15   in March of 2019, Nike had indicated it had already                    15   executives, that should have been produced to the grand jury by

16   substantially complied with the subpoena from 2017, correct?           16   the time you met with Mr. Geragos and Mr. Avenatti?

17   A.   In March -- in May 2018, we informed the government that we       17   A.   To the extent that there was a document that we identified,

18   had substantially completed our production of documents as             18   meaning it came into our possession and we identified it as

19   called for by the grand jury subpoena.                                 19   being responsive to the grand jury's request, at the time I met

20   Q.   And so we will get to more detail in a moment.   But when         20   Mr. Avenatti and Mr. Geragos all such documents had been

21   Mark Geragos and Michael Avenatti meet with you in March of            21   produced to the government.

22   2019, presumably Nike had already produced all of the records          22   Q.   Right.   So you told the jury that even before you met with

23   related to the payments that might go to family members,               23   Mr. Avenatti and Mr. Geragos you were on, quote, red alert,

24   players, handlers in amateur basketball, correct?                      24   correct?

25   A.   Any documents that we had identified as responsive to the         25   A.   That sounds like what I said yesterday.   I think that's


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     K1UMAVE6                    Wilson - Cross                                  K1UMAVE6                  Wilson - Cross

1    right.                                                                 1    A.   I didn't regard these settlement discussions, but in my

2    Q.   Red alert.   What you are saying is, you were anxious or          2    communications with Mr. Avenatti I don't recall him saying

3    nervous or I think you said your pulse started to go up just           3    something about Nike's production of documents other than to

4    because you heard the name Avenatti?                                   4    say repeatedly that it was going to be Nike's call whether or

5    A.   No, that's not what I said.    I was concerned, however, that     5    not to report something or share something with the government.

6    because I knew of Mr. Avenatti as someone who had launched             6    Q.   Mr. Avenatti never indicated that his client, Mr. Franklin,

7    aggressive sustained media campaigns in the past, that that            7    would conceal any facts or information from the federal grand

8    might be what was about to happen here.                                8    jury, correct?

9    Q.   Now we are going to get into the nitty gritty here, but at        9    A.   He didn't talk much about Mr. Franklin.   I don't recall him

10   no time in any of your meetings with Mr. Avenatti did he ever          10   saying that, no.

11   ask you to conceal a thing from the federal grand jury,                11   Q.   And so I want to be clear, when we are talking about

12   correct?                                                               12   self-reporting, you've already explained, that's something

13   A.   I'm sorry.   Could you ask that again.                            13   different than the issue of complying with grand jury

14   Q.   At no time did Mr. Avenatti ever ask you to conceal a thing       14   subpoenas, correct?

15   from the federal grand jury?                                           15   A.   I don't know exactly how he intended to phrase.   What I

16   A.   He didn't ask me to conceal something that I recall, no.          16   said earlier was I think of self-reporting as more of a

17   Q.   At no time did Mr. Avenatti ever condition these settlement       17   voluntary action as opposed to the production of documents in

18   discussions in any way on forcing Nike to fail to cooperate            18   response to existing compulsory process, like a grand jury

19   with the federal grand jury investigation?                             19   subpoena.

20              THE COURT:   That's kind of a confusing question.   You     20   Q.   What you're talking about in the context of self-reporting

21   are going to have to rephrase it.                                      21   is when you as counsel for Nike sit down with your client and

22   Q.   Mr. Avenatti never conditioned the proposed settlement on         22   you advise the client whether the client, in this case Nike,

23   Nike withholding documents from the federal grand jury or in           23   should report to the authorities evidence or information that

24   any way interfering with a federal grand jury investigation,           24   Nike may have that's not already called for by the grand jury

25   correct?                                                               25   subpoena?


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     K1UMAVE6                      Wilson - Cross                                     K1UMAVE6                    Wilson - Cross

1                MR. PODOLSKY:    Objection, your Honor.                         1    deciding whether or not to self-report, it's your job as

2                THE COURT:   Sustained.                                         2    counsel to advise the company on whether it should or shouldn't

3    Q.   Why don't you explain then in your own words the concept of            3    self-report, correct?

4    self-reporting as you've described it.         What does that mean?         4    A.   If the subject matter on which my legal advice is sought is

5    A.   My understanding of self-reporting is sort of a legal term             5    whether or not to self-report, then, yes, that's what I would

6    of art that's often used to refer to when the company becomes               6    give legal advice on, yes.

7    aware of evidence that it or its employees may have been                    7    Q.   And can your legal advice include deciding not to

8    involved in illegal conduct and makes a decision, even if there             8    self-report?

9    is no pending government investigation, to take that                        9    A.   It would depend on the circumstances, I suppose, what

10   information and report it to the appropriate law enforcement                10   advice I would give.

11   authorities.                                                                11   Q.   You'd have to exercise your professional judgment in

12   Q.   And a company can decide whether to self-report or choose              12   deciding what advice to give?

13   not to self-report, correct?                                                13   A.   I usually try to, yes.

14   A.   I have described it as voluntary, right, meaning the                   14   Q.   Ultimately, the company can decide to follow your advice or

15   decision is in the company's purview to make, yes.                          15   to reject your advice?

16   Q.   When a company makes that decision, in your experience,                16   A.   That's generally true, yes.

17   they rely on the good advice of its lawyers, for example, in                17   Q.   Now, did you ever give Mr. Avenatti or Mr. Geragos any

18   your case, from Boies Schiller, correct?                                    18   reason to believe that you would compromise your independence

19   A.   Sometimes companies will make the decision to self-report,             19   or you would compromise your integrity in any way?

20   in my experience, on the advice of outside counsel.        It's also        20              MR. PODOLSKY:   Objection, your Honor.

21   a decision that a company can reach on the advice of internal               21              THE COURT:   Sustained.

22   lawyers, or with no lawyers involved at all in the sense that               22   Q.   So as you were describing to the jury, I think you said

23   people often call the authorities when they think they are a                23   that you understood Mr. Avenatti to say that you could stick

24   witness to a crime, as I did.                                               24   the information in a drawer, meaning the information that would

25   Q.   When you're engaged as counsel for a company that's                    25   come to light as part of either an investigation or whatever


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     K1UMAVE6                      Wilson - Cross                                     K1UMAVE6                    Wilson - Cross

1    information Nike would discover as part of the internal                     1               THE COURT:   Overruled.

2    investigation?                                                              2    A.   No, that's not what I recall him saying.

3                MR. PODOLSKY:    Objection, your Honor.                         3    Q.   Isn't that exactly what he said, it would be up to Boies

4    Q.   Do you recall using the phrase stick it in a drawer?                   4    Schiller, the lawyers for Nike, and Nike to decide whether to

5                MR. PODOLSKY:    Objection, your Honor.                         5    self-report or not?

6                THE COURT:   He can ask him whether he recalls using            6    A.   No.   He repeatedly said it would be up to the company to

7    the phrase stick it in a drawer on direct.         He can ask the           7    decide.

8    question.                                                                   8    Q.   Who is he speaking to when he said that?    Wasn't he

9    A.   I do recall saying something about sticking something in a             9    speaking to you from Boies Schiller?

10   drawer on direct.                                                           10   A.   When he was speaking to me, yes.    He was talking to me.

11   Q.   Were you trying to imply to the jury that Mr. Avenatti had             11   Q.   And you represented Nike for how long?

12   suggested that Nike should stick the information in a drawer?               12   A.   Several years before these meetings.

13   A.   I wasn't trying to imply anything other than to answer                 13   Q.   How many years?

14   counsel's questions.                                                        14   A.   I first represented Nike.    They became a client at Boies

15   Q.   You said that was your understanding.        Did Mr. Avenatti          15   Schiller in 2014.

16   anywhere in the recorded conversations or the unrecorded                    16   Q.   So did Mr. Avenatti have a reason to believe, from anything

17   conversation that your colleague, Mr. Homes, took notes of, did             17   you had ever told him, that you would do anything other than

18   Avenatti ever say anything that sounded like, just stick it in              18   exercise your independent judgment?

19   a drawer?                                                                   19              MR. PODOLSKY:   Objection, your Honor.

20   A.   Yes.    To me he did.                                                  20              THE COURT:   Sustained.

21   Q.   What did he say?     Didn't he just say that it would be up to         21   Q.   Mr. Avenatti said to you that in his view Nike should

22   you in your capacity as counsel for Boies Schiller,                         22   self-report, didn't he?

23   representing Nike, to make independent judgments about what                 23              MR. PODOLSKY:   Objection, your Honor.

24   should or shouldn't be disclosed?                                           24              THE COURT:   That's a question about what was said.

25               MR. PODOLSKY:    Objection, your Honor.                         25   You may answer the question.


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     K1UMAVE6                     Wilson - Cross                                      K1UMAVE6                     Wilson - Cross

1    A.   At one point I recall he said that he thought in his view              1    Q.   Did it become an important client to you?

2    they would have to self-report but that it wasn't up to him.                2    A.   It did, yes.

3    It was up to the company.                                                   3    Q.   And that's because?

4    Q.   And isn't that the way it works?       It is up to the company         4    A.   I'm sorry?

5    to decide whether to self-report.        Didn't you just tell that to       5    Q.   You became the relationship partner with Nike?

6    the jury?                                                                   6    A.   I was the relationship partner with Nike from the

7    A.   It should be the client's decision whether or not to                   7    beginning.

8    authorize lawyers to share information with the government,                 8    Q.   What does that mean?

9    yes.    It's the client's call.                                             9    A.   It means I was the partner at the law firm in charge of

10   Q.   When you say the client, you mean the company in our                   10   staying in touch with this client about any work that any of

11   example, right, Nike?                                                       11   the lawyers at the law firm did for them.

12   A.   Here my client was Nike.                                               12   Q.   Does that mean that you have a general understanding for

13   Q.   But he knew because you told him that you represented Nike,            13   most of the matters that Boies Schiller was handling for Nike?

14   right?                                                                      14   A.   Yes, I do.

15               MR. PODOLSKY:   Objection.                                      15   Q.   Would that not have included the grand jury investigation?

16               THE COURT:   Sustained.                                         16   Would that have included the grand jury investigation?

17   Q.   Now, I'd like to talk a little bit about your history with             17   A.   The investigation into corruption in amateur basketball and

18   Nike.    You said you had been representing Nike since 2014?                18   the grand jury subpoena you were referring to earlier?

19   A.   I did say that, yes.                                                   19   Q.   Yes.

20   Q.   And is that the earliest you began representing Nike?                  20   A.   Yes.    I was familiar with that matter.

21   A.   Yes, sir.                                                              21   Q.   And Nike became an important client for you financially as

22   Q.   Important client to you at the time?                                   22   well?

23   A.   In 2014?                                                               23   A.   Nike was a client on which I spent a fair amount of my time

24   Q.   Yes.                                                                   24   in certain years working, yes.

25   A.   Not especially.                                                        25   Q.   Much of your compensation was based on the work you did for


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     K1UMAVE6                     Wilson - Cross                                      K1UMAVE6                     Wilson - Cross

1    Nike?                                                                       1    translate into hundreds of thousands of dollars of

2    A.   I wouldn't say much.     But in some years it would have been          2    compensation?

3    more than others.                                                           3                MR. PODOLSKY:   Objection, your Honor.

4    Q.   Would it measure in the hundreds of thousands of dollars a             4                THE COURT:   Sustained.

5    year for you personally?                                                    5    Q.   Now, you have, as Nike's lawyer at the time, a duty of

6                THE COURT:   I don't understand the question.                   6    loyalty to Nike, right?

7    Q.   Would your compensation from work you did for Nike measure             7    A.   I certainly have a duty of loyalty to my clients, yes.

8    in the hundreds of thousands of dollars per year for you                    8    Q.   That would include Nike?

9    personally?                                                                 9    A.   Yes.

10   A.   We had a compensation system at Boies Schiller where there             10   Q.   Now, you still represent Nike, do you not?

11   were bonuses, but it was a bit of a black box as to exactly                 11   A.   I do.    They have engaged my law firm, DLA Piper.

12   what made up your bonus.      There was discretion left with                12   Q.   You changed law firms, but Nike came along as a client at

13   management.     I was not part of management.     Also, I was an            13   the new law firm?

14   equity partner, and I received certain equity payments which                14   A.   Nike was an existing client of DLA Piper.       They also

15   were not linked to any particular client or billable hour in                15   engaged me at DLA Piper.

16   any particular year.                                                        16   Q.   I'm sorry?

17   Q.   What percentage of your work was related to Nike by the end            17   A.   They have also engaged me at DLA Piper.

18   of your tenure at Boies Schiller?                                           18   Q.   I'd like to now talk about the buildup to the meeting with

19   A.   2019, I would say maybe 10 to 20 percent of my time that I             19   Mr. Avenatti and Mr. Geragos at Mr. Geragos' office.       Before

20   spent working.                                                              20   you ever met with either of them --

21   Q.   2018?                                                                  21               THE COURT:   You mean the first meeting?

22   A.   Probably a little more.                                                22               MR. H. SREBNICK:   Yes, your Honor.

23   Q.   2017?                                                                  23   Q.   The first meeting was March 19, 2019, correct?

24   A.   More still.   Probably 30 to 50 percent of my time.                    24   A.   Yes.

25   Q.   In the year where you had 30 to 50 percent, would that                 25   Q.   So we get the calendar in our mind, that was a Tuesday?


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     K1UMAVE6                     Wilson - Cross                                    K1UMAVE6                    Wilson - Cross

1    A.   Yes, the 19th was a Tuesday.                                         1    Q.   What that means is, he had a matter where he represented a

2    Q.   You met with the two men -- you had a phone call with both           2    client who was a high-profile football player who was adverse

3    of them on the 20th, Wednesday?       You follow that?                    3    to Nike, correct?

4    A.   Yes, that's right.                                                   4    A.   Right.   There was a dispute between Nike and that athlete.

5    Q.   And you had a meeting with them that was video-recorded on           5    He represented the athlete in connection with that dispute.

6    Thursday, the 21st?                                                       6    Q.   In connection with that dispute Mr. Geragos ultimately

7    A.   Yes.                                                                 7    reached settlement negotiations with Nike over that dispute,

8    Q.   But you had several other interactions with Mr. Geragos              8    correct?

9    apart from Mr. Avenatti, correct?                                         9    A.   I'm not aware of that.

10   A.   Yes, that's right.                                                   10   Q.   You're not aware of the settlement between Nike and

11   Q.   Now, you knew who Mr. Geragos was even before you met him            11   Mr. Geragos' high-profile NFL football client?

12   with Mr. Avenatti, correct?                                               12   A.   I'm aware that Nike and this athlete continued to have a

13   A.   Yes.                                                                 13   commercial relationship, but I'm not aware of or familiar with

14   Q.   You knew that Mr. Geragos was a lawyer from California who           14   any settlement talks, which I thought is what you referred to.

15   had offices in New York?                                                  15   Q.   I'll take the word settlement out.      They resolved whatever

16   A.   By the time I met him in person?                                     16   dispute they had, Nike and the football player, and Mr. Geragos

17   Q.   Even before you met him.                                             17   was the one who handled it, right?

18   A.   I knew he was a lawyer in California.      I can't recall when       18   A.   I don't have knowledge of what happened between the company

19   I learned he had offices in New York.       It must have been the         19   and the athlete other than to know that they continue to have a

20   first day or so I was talking to him, and he asked us to meet             20   commercial relationship today.

21   there.                                                                    21   Q.   Mr. Geragos had interfaced in Casey Kaplan in connection

22   Q.   And you knew that he had handled a matter with Nike                  22   with that NFL football player.       Did you know that?

23   involving a high-profile NFL football player, correct?                    23   A.   I was aware of that, yes.

24   A.   He had handled a matter adverse to Nike on behalf of his             24   Q.   And you knew also that Mr. Geragos, I think you testified

25   client, who was a high-profile athlete.                                   25   on direct, not only handled civil matters, he also handled


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     K1UMAVE6                     Wilson - Cross                                    K1UMAVE6                    Wilson - Cross

1    criminal matters as well?                                                 1               (At sidebar)

2    A.   Prior to the matter involving the athlete interacting with           2               MR. PODOLSKY:   I have never seen this before.   It

3    Nike, my knowledge was just that he was a criminal defense                3    appears to be some kind of closing slide.       I am not sure what

4    attorney in Los Angeles.                                                  4    it is.

5    Q.   The very first time you interacted with Mr. Geragos was by           5               THE COURT:   Ordinarily, what would happen is, as you

6    telephone?                                                                6    elicit the contacts from the witness, you could show a visual

7    A.   Well, I sent him an e-mail, if you can call that                     7    aid.

8    interacting.     But the first time he responded was when I called        8               MR. H. SREBNICK:   We can do that.

9    his cell phone.                                                           9               THE COURT:   I would prefer that because, as a

10   Q.   What I'd like to do, with the Court's permission, using a            10   technical matter, he has not really gone into any of this yet.

11   visual aid, just build up the timeline between the contacts of            11              MR. H. SREBNICK:   We can do it.

12   Mr. Geragos and Mr. Avenatti and yourself.                                12              THE COURT:   Did you want to say something?

13   A.   OK.                                                                  13              MR. PODOLSKY:   No.

14               MR. H. SREBNICK:    Let me just ask permission from the       14              THE COURT:   In other words, what will happen is, as

15   government if they can see that.                                          15   the witness agrees with him as to the phone calls on this date

16               MR. PODOLSKY:   Can we have a sidebar, your Honor?            16   and the e-mail was on that date, then the screen will be

17               THE COURT:   Yes.                                             17   populated.

18               (Continued on next page)                                      18              MR. PODOLSKY:   We have no problem with that.    We are

19                                                                             19   likely to object to admitting this into evidence as a

20                                                                             20   demonstrative.   If he follows that procedure, I am not going to

21                                                                             21   object.

22                                                                             22              MR. H. SREBNICK:   We have the technology to build it

23                                                                             23   or, as they say in the Six Million Dollar man, to rebuild it.

24                                                                             24              THE COURT:   Thank you.

25                                                                             25              (Continued on next page)


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     K1UMAVE6                      Wilson - Cross                                    K1UMAVE6                      Wilson - Cross

1                (In open court)                                                1    A.   Yes.    I see now the exhibit number was 203.

2                MR. H. SREBNICK:    With the Court's permission, we are        2    Q.   And if you count the number of e-mails between you and

3    going to build this timeline line by line.                                 3    Mr. Geragos --

4                THE COURT:   Yes.                                              4    A.   I might need to you zoom out for me to count the individual

5                Let me say to the jury if any of you need a break,             5    e-mails.

6    raise your hand, we will take a break.         Otherwise, if you will      6    Q.   I am going to give you a hard copy of 203, make it easy.

7    allow me, I am going to push through to 4:30, but I don't want             7    A.   Counsel, I think I have one in my binder.

8    to pressure anyone.      If someone needs a break, raise your hand         8    Q.   OK.    Perfect.

9    and we will take a break.                                                  9    A.   I see seven individual e-mails in this chain.

10               Go ahead, sir.                                                 10   Q.   On the very first day, March 13, how many do you see?

11               MR. H. SREBNICK:    Thank you, Judge.    If I need to, can     11   A.   On March 13, I see five e-mails.

12   I raise my hand?                                                           12   Q.   And on the other dates you see?

13               THE COURT:   No, you can't.   Of course you can raise          13   A.   Two.

14   your hand.     If anyone needs a break, particularly the jury.             14   Q.   That would be March --

15   Q.   Government Exhibit 203, I think you already commented on              15   A.   14.    Thursday, March 14.

16   it, those are the string of e-mails between you and                        16               MR. H. SREBNICK:   So if we could return to our

17   Mr. Geragos.                                                               17   demonstrative, when Mr. Lyon is ready.

18               Do you recall?                                                 18   Q.   On March 13, there were five e-mails between you and

19   A.   I don't recall the exhibit number.        I apologize.                19   Mr. Geragos?

20               MR. H. SREBNICK:    Do we have a stipulation from the          20   A.   I counted seven a moment ago.

21   government it's 203, so I don't have to publish it?                        21   Q.   For that one day?      I thought it was five on March 13.

22   Q.   I'll have to show you Government Exhibit 203 so we can do             22   A.   For the 13th, five e-mails.

23   it step by step.    If you could take a look, so maybe we can              23   Q.   Fair enough.

24   build this quickly.                                                        24               I don't know if the jury is able to see the visual,

25               You recall this, Government Exhibit 203?                       25   but assuming so, on that day both Geragos and Nike or Nike's


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     K1UMAVE6                      Wilson - Cross                                    K1UMAVE6                      Wilson - Cross

1    lawyers, that would be you, are interacting, correct?                      1    the 15th.

2    A.   I interacted with Mr. Geragos on Wednesday, the 13th.                 2    Q.   Now, when you spoke to Mr. Geragos, he advised you that he

3    Q.   We will just check that off, if we could.                             3    wanted to have a discussion about a highly sensitive matter,

4                Mr. Avenatti was not part of that communication?               4    correct?

5    A.   May I ask a question?      I was interacting with Mr. Geragos         5    A.   He had told me that he wanted to have a meeting and that

6    on the 13th.     That was a Nike lawyer.    I am not sure what             6    the topic was too sensitive or wanted to be discreet and didn't

7    Nike/Nike lawyers is.      To my knowledge, no one from Nike was           7    want to say what it was over the phone.

8    communicating with Mr. Geragos on the 13th.                                8    Q.   I'm sorry.   I'm having trouble hearing you.

9    Q.   We will change that to Nike lawyer.        Would that be more         9    A.   I apologize.      He said that the topic was too sensitive to

10   acceptable to you?                                                         10   discuss over the phone or that he wanted to be discreet and not

11   A.   I can agree that Nike lawyers were communicating with                 11   give more information over the phone.

12   Mr. Geragos on that day.                                                   12   Q.   By the time you spoke to Mr. Geragos, did you already know

13   Q.   You told us about two on March 14, I believe, right?                  13   about contacts he had had with Casey Kaplan?

14   A.   Yes, that's right.                                                    14   A.   Yes.

15   Q.   Two e-mails.                                                          15   Q.   You had spoken to Mr. Kaplan?

16   A.   Correct.                                                              16   A.   I don't recall whether I spoke to Mr. Kaplan, who was in

17   Q.   And Mr. Avenatti was not part of that exchange, correct?              17   China at the time, I believe, directly, or had just been in

18   A.   He was not copied on any of the e-mails that we are                   18   China.

19   referring to in this exhibit.                                              19   Q.   Did you know what the matter was that Mr. Geragos had

20   Q.   March 14.    The next time you communicated with Mr. Geragos          20   communicated with attorney Casey Kaplan about?

21   would have been by phone?                                                  21   A.   What I knew was that he had alluded to an Adidas problem

22   A.   After the last of the e-mails in this document?                       22   that Nike might have something like or similar to an Adidas

23   Q.   Yes.                                                                  23   problem.

24   A.   Yes.    I spoke to him -- well, we also exchanged text                24   Q.   By Adidas problem you understood that be some sort of

25   messages, but, to my knowledge, I spoke to him again on Friday,            25   corruption in amateur basketball?


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                                                                       396                                                                             397
     K1UMAVE6                    Wilson - Cross                                   K1UMAVE6                     Wilson - Cross

1    A.   I expected that Mr. Geragos was making reference to the            1               (In open court)

2    very public arrest and criminal charges of an Adidas executive          2               THE COURT:   Where are we going with this?

3    for corruption related to amateur basketball.                           3               MR. H. SREBNICK:   Long before the meetings occur the

4    Q.   Also by then Adidas had also been sued by a player named           4    witness Wilson knows that this is what this is about.    This is

5    Bowen, correct?    You knew about that?                                 5    about --

6    A.   I don't recall whether I was aware of that at the time.            6               THE COURT:   But the pending question has to do with

7    Q.   Do you know what I'm referring to, a Brian Bowen had filed         7    some lawsuit, I gather, that was brought by a basketball player

8    a public lawsuit against Adidas?                                        8    against Adidas.   I'm asking you, where is this going?

9               MR. PODOLSKY:   Objection, your Honor.                       9               MR. H. SREBNICK:   That lawsuit, which was part of the

10              THE COURT:   Do you want to approach?                        10   package that Mr. Avenatti got from Auerbach, so we will get to

11              MR. PODOLSKY:   Yes, your Honor.                             11   that when we examine Auerbach as well, deals with a player who

12              (Continued on next page)                                     12   sued Adidas in connection with this amateur basketball

13                                                                           13   corruption issue, and Nike clearly was following that lawsuit

14                                                                           14   and an Adidas problem should have signaled to this witness that

15                                                                           15   it was a potential lawsuit against Nike, just like the Adidas

16                                                                           16   lawsuit by Brian Bowen.

17                                                                           17              MR. PODOLSKY:   Your Honor, he just said he wasn't

18                                                                           18   aware of this lawsuit.     I don't understand the relevance.    If

19                                                                           19   he wants to ask Mr. Auerbach about what he was --

20                                                                           20              THE COURT:   He said he wasn't aware of it at the time,

21                                                                           21   so that's why I asked where are we going with this.     Because if

22                                                                           22   he wasn't aware of it at the time, he wasn't aware of it at the

23                                                                           23   time.

24                                                                           24              MR. H. SREBNICK:   I may just ask him, when did he

25                                                                           25   become aware of it?     We will get his answer and move on.


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     K1UMAVE6                    Wilson - Cross                                   K1UMAVE6                     Wilson - Cross

1               MR. PODOLSKY:   Why is it relevant?   When and if he         1    did not perceive that a potential lawsuit was in the

2    ever became aware of it, why is that relevant?                          2    pipeline --

3               MR. H. SREBNICK:   I say it's hard to believe, given         3               THE COURT:   I'm sustaining the objection.

4    the publicity of the case, that the lawyer would not be aware           4               (Continued on next page)

5    of a highly public lawsuit against Adidas regarding the amateur         5

6    basketball scandal.     I think I should have just a little bit of      6

7    latitude to probe him on his absence of knowledge on something          7

8    this sensitive to Nike.                                                 8

9               THE COURT:   I don't understand really the point             9

10   because what you seem to be trying to establish is what he              10

11   would have understood when he was told that Geragos said that           11

12   Nike had an Adidas problem.     So he said, I wasn't aware of the       12

13   lawsuit at this time.      So he just didn't know.                      13

14              Is it your point that it's relevant at some later date       14

15   that he found out?      This is all very compressed.   If he didn't     15

16   know it as of March 13, do we really care?                              16

17              MR. H. SREBNICK:   If I can just ask him when he             17

18   learned it, I'll move on, Judge.                                        18

19              MR. PODOLSKY:   Again, I don't understand how that's         19

20   relevant.                                                               20

21              MR. H. SREBNICK:   Let me just say this.    This witness     21

22   is claiming that he did not anticipate that Avenatti and                22

23   Geragos were essentially threatening a lawsuit if the case              23

24   didn't settle.    Geragos tells him, they have got an Adidas            24

25   problem.    Adidas had been sued.   For this witness to say, he         25


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     K1UMAVE6                     Wilson - Cross                                   K1UMAVE6                   Wilson - Cross

1               (In open court)                                               1    Q.   You had mentioned another lawyer that was involved in these

2    Q.   You were describing the March 15 conversation with                  2    meetings, a Mr. Leinwand, correct?

3    Mr. Geragos and his proposing to set up a meeting face to face           3    A.   Mr. Kaplan was not involved in the meetings, but the lawyer

4    to discuss a potential sensitive matter, yes?                            4    who was at one meeting was Robert Leinwand.

5    A.   He said either that or the call that I had with him on              5    Q.   And Mr. Leinwand was the lawyer who flew from the west

6    Wednesday that it was something too sensitive to discuss by              6    coast to attend the meeting I think on March 19, correct?

7    phone and Nike would thank him or I would thank him if we took           7    A.   Yes.

8    the meeting in person.                                                   8    Q.   I'd like to ask you some questions about that meeting on

9    Q.   When he said that, that Nike would thank him, you                   9    March 19.   That's the meeting that's not recorded, correct?

10   understood that to mean that he was coming to Nike to propose            10   A.   It is not recorded, to my knowledge, yes.

11   something that would be potentially acceptable to Nike, at               11   Q.   That's the meeting where an associate made handwritten

12   least that's what he was proposing?                                      12   notes and converted it into a typewritten notes that you never

13   A.   I don't know that I had that understanding.     I just              13   reviewed, correct?

14   understood that he was trying to encourage me to take the                14   A.   I saw my associate taking notes during the meeting.    I

15   meeting, even though I didn't know exactly what the meeting was          15   don't know that he converted them into something typed while we

16   about.                                                                   16   were there.   I believe he did it later.

17   Q.   And he said, let's talk about it face to face and you               17   Q.   Now, the very first thing that is discussed in this meeting

18   agreed to do that?                                                       18   on March 19 is Mr. Geragos explaining why the meeting was

19   A.   I agreed that we would be willing to meet with him and              19   occurring, correct?

20   Mr. Avenatti the following Tuesday ultimately.                           20   A.   What I recall at the very beginning of the meeting was,

21   Q.   Now, I had mentioned the name Casey Kaplan.     He is a             21   after maybe some chitchat, me saying, we are here, I am not

22   lawyer?                                                                  22   sure why we are here.    Can you tell us now.   And Mr. Avenatti

23   A.   He is an attorney, yes.                                             23   responding by asking if we could have a Rule 408 discussion.

24   Q.   For Nike?                                                           24   Q.   Geragos said something to the effect of that Michael

25   A.   He is a lawyer employed by Nike.                                    25   Avenatti was telling me two weeks ago that he had something


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     K1UMAVE6                     Wilson - Cross                                   K1UMAVE6                   Wilson - Cross

1    about Nike that he was going to go public with.      And Geragos         1    meaning he was in favor of having this meeting to try to

2    continued and said:     I had worked with Nike before, these were        2    resolve the matter that he and Mr. Avenatti were there for?

3    reasonable people, I contacted Casey Kaplan at Nike, who I               3    A.   I'm sorry.   Could you ask that again, please.

4    dealt with on that other matter involving the NFL football               4    Q.   Mr. Geragos appeared to be a proponent in favor of having

5    player.                                                                  5    this meeting to resolve the matter that he and Avenatti were

6               MR. PODOLSKY:   Objection, your Honor.                        6    there to see you about?

7               THE COURT:   Sustained.   You are going to have to break      7    A.   Before the meeting he had encouraged me to take the

8    it down.    That's a lot of information there.                           8    meeting, but didn't talk about resolving something.    He just

9               MR. H. SREBNICK:   Understood.                                9    said I should take the meeting.

10   Q.   First, Geragos tells you that Michael Avenatti had                  10   Q.   Now, did you in truth know why they were there, what matter

11   something about Nike he was going to go public with, correct?            11   they were there about?

12   A.   I don't recall Mr. Geragos speaking to that effect at the           12   A.   Not until they told me other than, in Mr. Geragos' words,

13   very beginning of the in-person meeting on the 19th, if that's           13   it might relate to a so-called Adidas problem.

14   when you are asking about.                                               14   Q.   Had you heard anything about a Mr. Auerbach having

15   Q.   Do you recall Geragos pointing out that Geragos had worked          15   contacted a Mr. Slusher at Nike to alert Slusher about Gary

16   with Nike or resolved a matter with Nike in the past and that's          16   Franklin's claims?

17   why Geragos had reached out to Casey Kaplan, the lawyer from             17   A.   I was aware that an individual named Jeffrey Auerbach had

18   Nike?                                                                    18   plans to place a call to John Slusher, an executive at Nike.

19   A.   I have a recollection of Mr. Geragos saying something to            19   Q.   John Slusher is a pretty high executive at Nike, right?

20   that effect in the phone calls we had had, and I know that a             20   A.   I believe his title is head of global sports marketing.

21   couple of times in our subsequent conversation he referenced             21   Q.   Head of global sports marketing.   Is that what you said?

22   having interacted with Nike.     Again, I don't recall that as           22   A.   Yes.

23   something that was said at the very outset of the in-person              23   Q.   And before the meeting you had with Avenatti and Geragos,

24   meeting on the 19th.                                                     24   you were informed that Auerbach had reached out to Slusher,

25   Q.   It appeared to you that Mr. Geragos was a proponent,                25   right?


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     K1UMAVE6                   Wilson - Cross                                   K1UMAVE6                    Wilson - Cross

1    A.   I was aware that he had reached out to Mr. Slusher,               1    A.   It was a little weird, but it didn't cause my pulse to

2    Mr. Auerbach had.                                                      2    pound, and we had a way, we thought, of responding to it, which

3    Q.   Mr. Slusher had contacted Boies Schiller?                         3    was inviting Mr. Auerbach, if he had information relevant to

4    A.   To my recollection, Mr. Slusher, upon receiving the               4    the investigation, to come forward.

5    communication from Mr. Auerbach, contacted his legal                   5    Q.   When you heard it was Avenatti, that did cause the red

6    department.                                                            6    alert, right?

7    Q.   Was Boies Schiller contacted?                                     7    A.   Subsequently, when I understood that Mr. Avenatti wanted to

8    A.   Boies Schiller was subsequently contacted by the Nike             8    have a meeting with the company about something too sensitive

9    lawyers.                                                               9    to even discuss what it was over the phone, yes, that caused me

10   Q.   Who at Boies Schiller was the contact person in regard to         10   a great deal of concern.

11   Auerbach having spoken to Slusher about the Franklin matter?           11   Q.   Did Auerbach contact Boies Schiller?    Did you all ever

12   A.   I worked on this matter with two other partners in the            12   interact with Auerbach?

13   firm, and I recall that a couple of us were aware of it, but I         13   A.   Mr. Slusher sent an e-mail back to Mr. Auerbach providing

14   can't recall sitting here today whether one of us first heard          14   him the name and contact information of one of my partners

15   about the Auerbach call versus the other.                              15   informing him that the company took this very seriously and

16   Q.   When Boies Schiller heard about the Slusher Auerbach call,        16   inviting him to contact Boies Schiller, and he never did.

17   did that put Boies Schiller or Nike on red alert?                      17   Q.   So you are telling the jury when Avenatti and Geragos show

18   A.   My recollection is that the substance of the call as was          18   up you did not connect the Slusher/Auerbach event to the

19   conveyed to me was pretty vague and that what we did in                19   Avenatti/Geragos meeting.    Is that your testimony?

20   response was invite Mr. Auerbach to provide more information if        20   A.   I don't recall drawing any connection prior to the first

21   he would like to.                                                      21   meeting with Mr. Avenatti.

22   Q.   My question was, did it put you guys on red alert?                22   Q.   Avenatti then raises the issue of Rule 408, correct?

23   A.   I don't recall it putting us on red alert, no.                    23   A.   Correct.   At the beginning of the meeting.

24   Q.   That didn't create any anxiety or pulse pounding when it          24   Q.   And Rule 408 is a rule of evidence that I think you have

25   was Auerbach calling Slusher, right?                                   25   described it in part, it ensures that the statements made by


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     K1UMAVE6                   Wilson - Cross                                   K1UMAVE6                    Wilson - Cross

1    the parties to the conversation can't be used against the              1    A.   Correct.

2    parties in the way you describe, to hold them to any settlement        2    Q.   You told Avenatti and Geragos that, yes, Rule 408 does

3    amount, correct?                                                       3    apply to this meeting?

4    A.   I understand Rule 408 to be a rule regarding admissibility        4    A.   Before learning who the identity of Mr. Avenatti's

5    of offers to compromise.                                               5    purported client was or the nature of any claims he might claim

6    Q.   Which means that when Mr. Avenatti, for example, said,            6    to have, I said that I was agreeing to a 408 discussion, not

7    Mr. Franklin would take a million, five, it turns out the case         7    believing the fact that I was having a 408 discussion.

8    ends up going to court and Mr. Avenatti asks for more than a           8    Q.   Here is what I'm trying to understand.    The meeting has not

9    million, five, you can't say in court to the jury or the judge,        9    even started yet and you're already, in your mind, deceiving

10   hey, wait a second, they were willing to settle for a million          10   these two gentlemen.    In your mind, this is not a Rule 408

11   five, they should be limited to a million five, correct?               11   meeting, even though you told him that it is?

12   A.   If there had been some case to take to court and                  12              MR. PODOLSKY:   Objection, your Honor.

13   Mr. Franklin had made a demand in a different amount, that is          13              THE COURT:   Sustained.

14   correct.    The fact that his counsel in a 408 discussion had          14   Q.   You are telling the jury in your mind this wasn't covered

15   demanded a lower amount, a lower amount is something that I            15   by 408, and you hadn't even heard the first thing out of their

16   don't believe would have been properly admitted in that                16   mouths?

17   litigation.                                                            17   A.   I had been asked to agree to 408, which is a rule that

18   Q.   Rule 408 in no way inhibits or prohibits Nike from                18   governs compromise offers between parties without having been

19   reporting information as part of the grand jury investigation,         19   told who the party was or what particular claim there was.      I

20   correct?                                                               20   didn't think anyone in that scenario could technically agree to

21   A.   I did not feel that it did, no.                                   21   a Rule 408 discussion.

22   Q.   Now, you told the jury that you didn't think this was a           22   Q.   Why didn't you just say that?   Hey, gentlemen, before I can

23   Rule 408 meeting.   Is that what you said?                             23   agree to a Rule 408, I need to know who your client is.

24   A.   Yes.                                                              24   A.   Because I had asked who the client was.    I had asked what

25   Q.   But that's not what you told Avenatti and Geragos?                25   this was about.   His first response was, can we have a 408


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     K1UMAVE6                    Wilson - Cross                                    K1UMAVE6                    Wilson - Cross

1    discussion.    And I made a snap judgment that I wanted him to           1    yes?

2    start telling me why we dragged the client across the country,           2    A.   I didn't think that it was possible to agree to a 408 in

3    and so I agreed to what he asked.                                        3    that setting and, yes, I said yes, and I did not mean that I

4    Q.   Are you saying that before, before this Rule 408 invocation         4    thought we were actually having the 408 discussion.

5    was made by Avenatti and Geragos, you had actually asked for             5    Q.   So the very first thing you say to Mr. Avenatti was

6    the client's name first and they declined.      Is that your             6    misleading to Mr. Avenatti?

7    recollection of the sequence of what happened?                           7               MR. PODOLSKY:   Objection, your Honor.

8    A.   On the Friday call that I had with Mr. Geragos I asked him          8               THE COURT:   Sustained.

9    if Mr. Avenatti was the client, was Mr. Geragos' client, or if           9    Q.   You could have said to Mr. Avenatti before we talk Rule 408

10   there was another client, and Mr. Geragos had informed me, no,           10   I would like to know who the client is?

11   Mr. Avenatti was not his client and there was a client, but              11   A.   I could have said that, yes.

12   without identifying that individual.                                     12   Q.   But you chose not to.

13   Q.   Right.   But the first time you meet Mr. Avenatti, the very         13   A.   I chose to say what I said.

14   first thing he says, even before you say anything, is, hey,              14   Q.   And then Mr. Avenatti, after you agree that these are

15   these meetings are covered, this meeting is covered by Rule              15   settlement discussions, he proceeds to tell you what he is

16   408?                                                                     16   there for in terms of what the allegations are, correct?

17   A.   My recollection is that after maybe some hellos and                 17   A.   He then proceeded to talk about having a whistleblower

18   chitchat that I said, in essence, hey, guys, we are here, you            18   client and to name Nike employees and basketball players who he

19   insisted we meet at your office.      I have brought the client.         19   said his client had been involved in making corrupt payments

20   Can you finally tell me what this is about.      And then                20   to -- payments to the players.       Excuse me.

21   Mr. Avenatti responded to that by saying, can this be under              21   Q.   In substance he said, I'll cut straight to the chase, Nike

22   408.                                                                     22   has a problem that makes the Adidas problem look small.

23   Q.   And you said --                                                     23   A.   I don't recall that phrasing, but I do know that on a

24   A.   I said yes.                                                         24   couple of occasions he made the point that whatever scandal

25   Q.   But you are telling the jury that you didn't really mean            25   Adidas had gone through, he felt that he was going to be able


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     K1UMAVE6                    Wilson - Cross                                    K1UMAVE6                    Wilson - Cross

1    to create a bigger scandal with respect to Nike.                         1               (At sidebar)

2    Q.   Avenatti said he represents a whistleblower who has                 2               THE COURT:   Where are we headed?

3    information that Nike directed the whistleblower to make                 3               MR. H. SREBNICK:   Judge, this is the conversation they

4    payments in regard to a No. 1 NBA draft pick, correct?                   4    were having.

5    A.   I recall him using the word whistleblower to describe his           5               THE COURT:   You are not asking him about the

6    client, and he did say that he had information about Nike                6    conversation.    You are asking him whether he knew something.

7    employees being involved in making a corrupt payment to the              7    That's different than what they talked about.       This isn't about

8    last year's, so this would have been the 2018, No. 1 NBA draft           8    the conversation they had.     This is about his knowledge about

9    pick.                                                                    9    whether corrupt payments had been made to the No. 1 draft pick.

10   Q.   When Avenatti said that, you knew that was true, right?             10              MR. H. SREBNICK:   That's right.    So what I intend to

11   There had been payments made to a family member of the last              11   establish is that at no time during the conversations does the

12   year's No. 1 draft pick?                                                 12   witness deny the truth of any of the allegations or suggest

13              MR. PODOLSKY:   Objection, your Honor.                        13   that there are no valid claims here.      It leads Mr. Avenatti and

14              THE COURT:   Grounds?                                         14   Geragos to believe that the claims are out.

15              MR. PODOLSKY:   We would be happy to approach, but            15              MR. PODOLSKY:   Your Honor, we have no objection to

16   relevance.                                                               16   otherwise admissible questions as to what was said in the

17              THE COURT:   All right.                                       17   meeting.    We object to asking about whether he knew some fact

18              (Continued on next page)                                      18   was true or not based on information outside --

19                                                                            19              THE COURT:   I have sort of a different concern and

20                                                                            20   it's already come up a number of times.       A number of your

21                                                                            21   questions are phrased as whether they led Mr. Avenatti to

22                                                                            22   believe X, Y, and Z, and there have already been a number of

23                                                                            23   objections.    I have sustained them.    You can't ask him what was

24                                                                            24   going on in Avenatti's mind and Geragos' mind.       And if you do,

25                                                                            25   I am going to sustain the objections.      And if it becomes


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     K1UMAVE6                    Wilson - Cross                                     K1UMAVE6                     Wilson - Cross

1    repetitive, I am going to do more than sustain the objection.             1               THE COURT:   I think that's actually a good

2               Everyone here understands that you can't ask one               2    formulation, which is, you can ask him whether Avenatti said X,

3    witness what was going on in somebody else's mind, so please              3    Y, and Z, and you can ask him what his response was, or you can

4    don't do that.                                                            4    even say, did you deny X, Y, and Z.     But that avoids the issue

5               MR. H. SREBNICK:   I won't do it, Judge.   Frankly, I          5    of having the jury opine whether this actually happened or that

6    apologize.    That's why I used the phrase lead someone to                6    actually happened, and I suspect that the witness has no

7    believe.    I thought that was -- anyway, I'll rephrase it.               7    personal knowledge of whether any of it happened, actually, I

8    Sorry.                                                                    8    suspect.

9               THE COURT:   Anyway, just to return to this, you want          9               MR. H. SREBNICK:   I understand the Court's ruling, but

10   to ask him if he knew that it was true that Nike employees had            10   I think you will see the documents that were produced during

11   made corrupt payments to a No. 1 draft pick.                              11   the meeting establish exactly that.

12              MR. H. SREBNICK:   Yes.   But they should have disclosed       12              THE COURT:   Again, I don't know what the documents

13   it during the grand jury investigation, Nike and Boies                    13   are.

14   Schiller.    That was the whole grand jury production, as you             14              MR. H. SREBNICK:   I'll follow the Court's ruling.

15   know from the grand jury subpoena, Judge.       So it goes to, at a       15   When we get to the issue of the documents that the witness saw,

16   minimum, bias.                                                            16   we will take it up then because the witness was shown the

17              MR. PODOLSKY:   Your Honor, he is asking if he knew            17   payments and presumably it had been produced to the grand jury.

18   that the allegations were true.      We have been over this over          18   So for the witness to now say he didn't realize what payments

19   and over again.   The truth of the allegations are not relevant           19   were going to the draft pick's mom is highly.

20   here.    He said a moment ago that the reason he was asking these         20              MR. PODOLSKY:   At no time he has testified to that.

21   questions was, he wanted to know if Mr. Wilson had led                    21              THE COURT:   I don't remember him saying that.     I don't

22   Mr. Avenatti to believe X, Y, and Z.       If he wants to ask the         22   remember him denying that.

23   witness, did you say that this was false, we have no objection            23              MR. H. SREBNICK:   He has not yet.   That was my

24   to that.    But to ask him whether the underlying allegations are         24   question.    That's the pending question.

25   true is not relevant.                                                     25              THE COURT:   Your pending question was different.


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     K1UMAVE6                    Wilson - Cross                                     K1UMAVE6                     Wilson - Cross

1    Again, your question was, did this happen?       This was true.   No.     1               (In open court)

2    Because it's not an investigation.      This case, this trial is          2    Q.   Mr. Wilson, I'll ask the question this way.     When

3    not an investigation of whether Nike made corrupt payments.               3    Mr. Avenatti said Nike has a problem that makes the Adidas

4    That's not what this case about.      You're welcome to elicit from       4    problem look small, did you deny it?

5    him the back and forth between him and Avenatti, and you can              5    A.   I don't recall him using that exact phrasing, but I also,

6    elicit from him that when Avenatti said X, did you deny X.                6    in answer to your question, did not comment one way or the

7               MR. H. SREBNICK:   I'll do it your way, Judge.   No            7    other, that I recall, about what Nike had or hadn't done.

8    problem.                                                                  8    Q.   Let me phrase it this way.    Mr. Avenatti indicated that the

9               THE COURT:   You can do that.                                  9    whistleblower had information that Nike directed the

10              MR. H. SREBNICK:   Thank you, Judge.                           10   whistleblower to make payments to the No. 1 pick in last year's

11              (Continued on next page)                                       11   NBA draft, correct?

12                                                                             12   A.   I recall him saying something along those lines, yes.

13                                                                             13   Q.   Did you deny that Nike had directed the whistleblower to

14                                                                             14   make such payments?

15                                                                             15   A.   I was in listening mode, and in response to him saying that

16                                                                             16   I specifically recall I asked him who was the No. 1 draft pick

17                                                                             17   from the previous year.

18                                                                             18   Q.   Did you not know or did you actually know who the No. 1

19                                                                             19   draft pick was?

20                                                                             20   A.   I knew who it was, but I wanted him to identify what player

21                                                                             21   he was trying to inform me had allegedly been involved in a

22                                                                             22   bribery scheme.

23                                                                             23   Q.   When Mr. Avenatti said the whistleblower had made payments

24                                                                             24   to the No. 1 pick in last year's draft, as you've said, you

25                                                                             25   knew exactly who that was and who Avenatti was referring to,


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     K1UMAVE6                    Wilson - Cross                                   K1UMAVE6                    Wilson - Cross

1    right?                                                                  1    indicating that DeBose and James directed payments to the NBA

2    A.   I was aware in March of 2019 that DeAndre Ayton had been           2    draft pick?    Did you deny it to Mr. Avenatti or Mr. Geragos?

3    the No. 1 draft pick the year before.                                   3    A.   I didn't share, to my recollection, with Mr. Avenatti any

4    Q.   And as part of your representation at Nike, had you                4    facts or my understanding of any facts regarding my client.       I

5    produced records to the grand jury in connection with those             5    was there in listening mode to hear what he had to say.

6    payments that Avenatti was referring to?                                6    Q.   Now, Avenatti said he was aware that Nike had received a

7               MR. PODOLSKY:   Objection, your Honor.                       7    subpoena from the Southern District of New York?

8               THE COURT:   Do we need to approach on this?                 8               MR. PODOLSKY:   Objection, your Honor.

9               MR. H. SREBNICK:   I'll save the question for later to       9               THE COURT:   Overruled.

10   save the time, Judge.      No problem.                                  10   A.   I recall him saying that he was aware that the company had

11   Q.   Avenatti told you that he had e-mails, text messages, bogus        11   received a subpoena.     I don't know whether he identified who

12   invoices, and travel records that indicated that Carlton DeBose         12   had issued the subpoena.

13   and Jamal James were directing the payments, is that right, he          13   Q.   Do you recall he indicated it was from the Southern

14   said that?                                                              14   District of New York, SDNY?

15   A.   Mr. Avenatti said a lot of things.      I do recall him making     15   A.   I don't recall if he identified what government agency had

16   reference to invoices, and I recall him using those two names.          16   issued the subpoena he purportedly heard about.

17   Q.   Did you know who Carlton DeBose was when Mr. Avenatti              17   Q.   The letters SDNY, is that a short term for the prosecutor's

18   mentioned that name?                                                    18   office here in the Southern District of New York?

19   A.   Yes, I did.                                                        19   A.   SDNY, referring to the Southern District of New York, is

20   Q.   Did you know who Jamal James was when Avenatti told you            20   sometimes used to refer to this court and it's also sometimes

21   that he and DeBose had been directing the payments to the draft         21   used to refer to the U.S. Attorney's Office for the Southern

22   pick?                                                                   22   District of New York.

23   A.   I was familiar with who Mr. James was at that time, yes.           23   Q.   And you recall Mr. Avenatti saying he didn't know what the

24   Q.   And did you deny to Mr. Avenatti or to Mr. Geragos the             24   subpoena called for.     You recall him saying that?

25   existence of text messages, bogus invoices, and travel records          25   A.   I don't recall his words to that effect.       What I recall him


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     K1UMAVE6                    Wilson - Cross                                   K1UMAVE6                    Wilson - Cross

1    saying about the subpoena was that he was aware that Nike had           1    contract that the client had with Nike?

2    received one, and he didn't know what Nike had or hadn't                2    A.   I don't recall that.    I don't recall that coming up.

3    produced in response to that subpoena.                                  3    Q.   Do you recall Mr. Avenatti saying that he believed that his

4    Q.   Do you recall Mr. Avenatti telling you and Mr. Leinwand and        4    client had claims for breach of contract, tortious

5    Mr. Homes that Avenatti had reason to believe that Nike has             5    interference, and potentially other claims?

6    known about the conduct, the payments to the NBA draft pick             6    A.   I do recall Mr. Avenatti saying that he believed his client

7    which could create a significant issue for Nike for failing to          7    had breach of contract, tort -- could have been tortious

8    disclose to the SEC?                                                    8    interference, some kind of tort claims or other claims against

9    A.   I didn't recall it being phrased by him at that meeting in         9    Nike.

10   terms of the SEC, but I do recall him suggesting that Nike              10   Q.   When we say tortious interference, that's what we call a

11   hadn't been forthcoming with the government and that could be a         11   cause of action, a basis to sue someone for interfering with a

12   big problem for the company.                                            12   contract?

13   Q.   And you do know that the SEC now has an open inquiry of            13   A.   There are a couple different causes of action in my

14   Nike, correct?                                                          14   understanding that could be referred to by the phrase tortious

15   A.   I subsequently became aware of a subpoena issued by the            15   interference.    I don't recall whether Mr. Avenatti used the

16   Dallas Fort Worth office of the SEC to Nike, but I didn't have          16   phrase tortious interference.        I recall the word tort or

17   that knowledge until it was issued sometime later.                      17   tortious coming up.

18   Q.   Do you recall that Mr. Avenatti said he represents a               18   Q.   Avenatti said there were potentially other claims, correct?

19   whistleblower who is a former youth director of an EYBL team?           19   A.   I recall the expression other claims, yes.

20   A.   I recall that he described his client as a whistleblower           20   Q.   And did you deny to Mr. Avenatti at that point anything he

21   and as the head of a youth basketball program.       I don't recall     21   had said?

22   whether he described him as a current or former head of the             22   A.   Anything what?     I'm sorry?

23   program.                                                                23   Q.   Let me rephrase.    At that point did you suspect that

24   Q.   Do you recall Mr. Avenatti saying that Carlton DeBose and          24   Avenatti was there on behalf of Mr. Franklin, given what you

25   Jamal James squeezed out Mr. Avenatti's client from the                 25   knew about the Auerbach call?


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     K1UMAVE6                     Wilson - Cross                                  K1UMAVE6                      Wilson - Cross

1    A.   At the point that Mr. Avenatti referenced the No. 1 draft          1    program and certain players in that program.

2    pick in 2018, DeAndre Ayton, because I knew that Mr. Ayton had          2    Q.   And when you shared that information to the prosecutors,

3    played for Cal Supreme, I had a suspicion that the program              3    did that include sharing information that DeBose and James, the

4    director he was referring to would be Mr. Franklin.                     4    two Nike executives, had directed Mr. Franklin to pay money to

5    Q.   How do you know who Gary Franklin was?    You're at Boies.         5    the first round draft pick?

6    How did you know who Gary Franklin was at that point in time?           6               MR. PODOLSKY:   Objection, your Honor.

7                MR. PODOLSKY:   Objection, your Honor.                      7               THE COURT:   Do we need to approach on this?

8                THE COURT:   Sustained.                                     8               MR. H. SREBNICK:    I can save it if you want to do it

9    Q.   Suffice it to say, you already knew who Gary Franklin was          9    at the end of the day.     Save time.

10   when you walked into that meeting on March 19?                          10              THE COURT:   OK.

11   A.   Yes, that's true.                                                  11   Q.   Do you recall Mr. Avenatti saying that his client was

12   Q.   Did you know the name of all 40 coaches from the EYBL              12   directed to pay $10,000 to the mother of the first round draft

13   league?                                                                 13   pick?

14   A.   I may have read them at some point, but I probably couldn't        14   A.   I recall him referring to his client being involved in a

15   have recited them.                                                      15   $10,000 payment.   I don't remember whether he said to the

16   Q.   But you certainly knew who Gary Franklin was, right?               16   mother or to the player himself or to the family generally.

17   A.   Yes.    I knew who Mr. Franklin was as of March 19.                17   Q.   Do you recall Mr. Avenatti saying that DeBose and James,

18   Q.   Before March 19.                                                   18   the two Nike executives, had directed that Coach Franklin --

19   A.   A long time before, yes.                                           19   excuse me.    Let me rephrase because the name Franklin hadn't

20   Q.   Why did you know who Gary Franklin was?                            20   been mentioned yet.

21   A.   Because as part of the company's cooperation with the              21              Do you recall Avenatti telling you that the client was

22   investigation by the U.S. Attorney's Office for the Southern            22   told to break the payment into two $5,000 payments to avoid

23   District of New York, we had produced a number of documents to          23   compliance issues?

24   the government and conducted in-person proffer sessions with            24   A.   Whether it was at that point in the meeting or another, the

25   the government to share information about Mr. Franklin's                25   notion of the $10,000 amount being broken into two payments


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     K1UMAVE6                     Wilson - Cross                                  K1UMAVE6                      Wilson - Cross

1    sounds familiar.    I don't recall the specific statement you           1    conduct to him, a lawyer I just met for the first time.

2    described.                                                              2    Q.   You're there on behalf of Nike at that meeting, correct?

3    Q.   Do you recall Mr. Avenatti telling you that Nike had paid          3    A.   Correct.

4    for the client, Avenatti's client, to fly to Phoenix from               4    Q.   You're being approached by two high-profile lawyers,

5    California to hand cash to the mother of the NBA player, NBA            5    correct?

6    draft pick?                                                             6    A.   I viewed both Mr. Geragos and Mr. Avenatti as high-profile

7    A.   The notion of a flight from Los Angeles to Phoenix did come        7    lawyers.

8    up during the meeting, but in my recollection it didn't come up         8    Q.   One of the lawyers, Mr. Geragos, Nike had dealt with before

9    until later.                                                            9    and had successfully resolved the matter, correct?

10   Q.   Do you recall Mr. Avenatti saying that his client was              10   A.   I am not sure from whose perspective you mean successful,

11   directed to make multiple payments to two other NBA prospects?          11   but I was aware that Mr. Geragos had represented a client

12   A.   Mr. Avenatti maimed two other young players in addition to         12   adverse to Nike in connection with a dispute.

13   Mr. Ayton.                                                              13   Q.   And your job in that meeting is to protect the interests of

14   Q.   One was Bol Bol?                                                   14   Nike, correct?

15   A.   Yes.    That's one of the other young men he named.                15   A.   It's generally my job when I'm acting as Nike's counsel to

16   Q.   The other was Brandon McCoy?                                       16   act in the company's interest and according to the instructions

17   A.   Yes, that is correct.                                              17   I have for my client.

18   Q.   Both of them are now adults?                                       18              (Continued on next page)

19   A.   I don't know their exact ages, but I believe they are both         19

20   over 18 now, yes.                                                       20

21   Q.   When Mr. Avenatti proffered that information that his              21

22   client had and was giving to you, you didn't deny any of that,          22

23   correct?                                                                23

24   A.   I don't recall at any point in my conversations with               24

25   Mr. Avenatti affirming or denying any facts about Nike's                25


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     K1udave7                    Wilson - cross                                  K1udave7                    Wilson - cross

1    Q.   And these two lawyers are presenting facts that are adverse       1    Q.   Sure.   Avenatti told you that he and Geragos would include

2    to Nike?                                                               2    express language in the settlement agreement that will not

3               It is alleging that Nike executives are engaging in         3    prevent the client from giving any future testimony to the

4    misconduct that has just been described to the jury, correct?          4    government.

5    A.   Mr. Avenatti was telling me that his client had information       5    A.   I don't recall that.

6    about Nike employees participating in corruption.                      6    Q.   You don't recall that?

7    Q.   And you didn't deny it?                                           7    A.   No, I do not recall that.

8    A.   I neither affirmed nor denied statements that Mr. Avenatti        8    Q.   That would be a pretty significant condition of a

9    made about the conduct of my client or its employees.                  9    settlement, correct?

10   Q.   Mr. Avenatti then told you what the ask was, the demand           10              MR. PODOLSKY:   Objection.

11   was, on behalf of his client, and there were two prongs to it,         11              THE COURT:   Sustained.

12   correct?                                                               12   BY MR. H. SREBNICK:

13   A.   I didn't understand what he was asking for to be solely on        13   Q.   Do you recall Mr. Avenatti saying, "I'm sure you'll agree

14   behalf of his client, but he did make a two-part demand at that        14   that this will be in both of our clients' interest"?

15   point.                                                                 15   A.   I don't recall him making that statement, no.

16   Q.   He said, "First, my client's claim is settled and he agrees       16   Q.   Do you recall Avenatti saying, "Second, Nike agrees to

17   to cooperate," right?                                                  17   conduct an internal investigation related to this conduct which

18   A.   I recall the first component of Mr. Avenatti's demand, as         18   will be led by Geragos and Avenatti"?

19   he described it in the first part of that meeting before there         19   A.   I do recall that during the first half of that first

20   was a break, as being a civil settlement for his client.               20   in-person meeting, that the second part of his demand was that

21   Q.   Avenatti said that, "He and we," meaning Geragos, He and          21   he and Mr. Geragos be engaged to conduct an investigation.

22   Geragos will include express language in the settlement                22   Q.   Avenatti then said that he and Geragos, leading that

23   agreement that will not prevent the client from giving any             23   investigation, will discuss anything that Geragos and Avenatti

24   future testimony to the government.                                    24   find with Nike, who can then decide whether it should be

25   A.   I apologize.   Could you repeat that question?                    25   disclosed to the Southern District of New York prosecutor?


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     K1udave7                    Wilson - cross                                  K1udave7                    Wilson - cross

1    A.   At various points in my communications with Avenatti, he          1    that it would then be Nike's decision whether or not to

2    kept bringing up this concept that it would be the client's            2    disclose that to the government.      I do recall that -- him

3    decision whether or not an internal investigation will be              3    expressing that concept.

4    disclosed to the government.                                           4    Q.   I think that's the way you described how an internal

5               THE COURT:   When you say, "the client's decision," you     5    investigation works, that the lawyers gather all the

6    mean Nike's decision?                                                  6    information, present it to the client, and then the client

7               THE WITNESS:   I mean Nike's decision, my client's, but     7    decides whether to report, not to report, perhaps with

8    I suppose -- or his client, because he was proposing that it           8    consultation of counsel?

9    become his client, but I don't recall the exact phrasing used          9    A.   I don't recall exactly what I described.     It is generally

10   that you just used.                                                    10   my understanding that lawyers perform confidential work for a

11   BY MR. H. SREBNICK:                                                    11   client.    It is the client's decision whether or not to permit

12   Q.   Let me make sure we're clear.                                     12   those lawyers to disclose their work or confidential

13              It was Nike who would have the decision to make about       13   information to any third party, such as the government.

14   what to disclose; wasn't that the way it would work -- not             14   Q.   Now, had Nike already done the internal investigation about

15   Mr. Franklin?                                                          15   this matter that Avenatti and Geragos were approaching you

16   A.   Mr. Avenatti never made reference to Mr. Franklin at all in       16   about?

17   connection with this internal investigation idea.                      17   A.   Yes, we had.

18   Q.   What he said was, "We," meaning Geragos and Avenatti, "will       18   Q.   OK.   You did not reveal that to Geragos and Avenatti,

19   discuss anything that we," Geragos and Avenatti, "find with            19   correct?

20   Nike, who can then decide whether we," Geragos/Avenatti,               20   A.   No, I did not.

21   "should disclose that information to the Southern District of          21   Q.   And how long had that investigation gone on, the internal

22   New York"?                                                             22   investigation that Boies Schiller conducted for Nike?

23   A.   I don't recall the language that you just used, but the           23              MR. PODOLSKY:   Objection, your Honor.

24   concept is that he told me that the results of whatever he and         24              THE COURT:   All right.   I'll hear the lawyers at

25   Geragos were going to do be reported to the company, Nike, and         25   sidebar about this.


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     K1udave7                      Wilson - cross                                     K1udave7                      Wilson - cross

1               (At the sidebar)                                                 1               MR. PODOLSKY:   It is hard to say when it ends, but

2               THE COURT:   So, first of all, was this witness                  2    yes.

3    involved in any sort of internal investigation?                             3               MR. H. SREBNICK:     I don't know if it ended, but, of

4               MR. PODOLSKY:   I believe so.                                    4    course, Geragos and Avenatti didn't know that.

5               THE COURT:   OK.   So where are we headed?                       5               THE COURT:   Right.

6               MR. H. SREBNICK:    Just to find out --                          6               MR. H. SREBNICK:     The suggestion has been that why

7               THE COURT:   I guess I should say internal                       7    should there be any internal investigation at all, and I think

8    investigation of what?      In other words, the whole concept of            8    this establishes that an internal investigation under these

9    making payments to the family and players or --                             9    circumstances would be perfectly appropriate, and the fight is

10              MR. PODOLSKY:   I don't know the contours of that                10   over who is going to conduct it.

11   investigation, but I think it relates to the subpoena matters               11              THE COURT:   No.   I guess it seems like it is a little

12   generally.    I don't know exactly what they did.                           12   bit different.    The investigation had already been conducted,

13              THE COURT:   Go ahead.                                           13   so actually what they were asking him to do was have the client

14              MR. H. SREBNICK:    I was going to develop that in fact          14   do -- pay for another internal investigation when one had been

15   the ask of Franklin, Avenatti, Geragos, whatever you want to                15   done already.

16   attribute it to, was consistent with conducting an internal                 16              MR. H. SREBNICK:     Judge, our client didn't know that.

17   investigation that even Boies Schiller thought would be                     17   That is the whole point.

18   appropriate to do.      The dispute is over who should conduct it.          18              THE COURT:   I know that, but you have already elicited

19   But the propriety of an internal investigation --                           19   that.   That is already on the record.

20              THE COURT:   I guess I thought I understood the                  20              MR. H. SREBNICK:     Oh.

21   investigation had already been conducted.      Did I miss                   21              THE COURT:   You've already elicited that, that he

22   something?                                                                  22   didn't tell him.    That was the last question, I think.

23              MR. PODOLSKY:   No, that is correct, your Honor.                 23              MR. H. SREBNICK:     May I just have a moment?

24              THE COURT:   So the investigation had already been done          24              MR. S. SREBNICK:     May I add, Judge?

25   by March of 2019?                                                           25              THE COURT:   Sure.


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     K1udave7                      Wilson - cross                                     K1udave7                      Wilson - cross

1               MR. S. SREBNICK:    The issue is also that if they had           1               (In open court)

2    already done an internal investigation and at the conclusion of             2               THE COURT:   Ladies and gentlemen, I am dealing with a

3    the internal investigation Mr. DeBose, Mr. James, all of the                3    legal issue that's going to take a little bit of time.         So

4    actors who were involved were still employed by Nike.       The             4    we're going to break a little bit early today.

5    point is that this was a whitewashed to the investigation,                  5               I did want to remind you that tomorrow we would be

6    which goes directly to Mr. Wilson's bias in routing out                     6    sitting 9:30 to 2:30, and we're going to try that as an

7    favorably to the government.                                                7    experiment and see how much we can get done.         So, again, the

8               When the government stood up before the Court a number           8    way it's going to work is we will start at 9:30, and we'll go

9    of times in this case and in writing and said that the tapes                9    until, say, 11:15 or so, take a 15-minute break.         You might

10   are not controversial, there is really not a lot to                         10   want to bring a granola bar, a piece of fruit or something to

11   cross-examine Mr. Wilson about because everything is on tape,               11   sustain you, and then we'll go a couple of more hours and take

12   we didn't expect the government to go so far beyond that and                12   another break.    And, again, you might want to have an apple or

13   have Mr. Wilson opine that when Mr. Avenatti says you have to               13   a granola bar or something.       And then we'll go to 2:30 and then

14   self-report, that actually means you need to stick it in the                14   we will break for the day.       So, there will be no lunch.   That's

15   drawer.    And so he has editorialized extensively on direct                15   why I am suggesting you bring a snack with you.         We'll break at

16   examination about the meaning of words on tape that are 180                 16   2:30 for the day.

17   degrees contrary to what he is saying they mean.        That is his         17              So it is an experiment.     And how productive we are

18   opinion.    That's trying to stick it to Mr. Avenatti, in my                18   depends, to some extent, on whether we get started on time.

19   view.   And I think we're entitled to show that his internal                19   So, please do try to be on time.

20   investigation was a complete whitewash and that's what he is                20              As always, don't discuss the case.       Don't do any

21   worried about now when he is testifying.                                    21   investigation or research about the case.       Don't talk to anyone

22              MR. PODOLSKY:   Your Honor, we are talking about                 22   about the case.    Do keep an open mind because there is more

23   completely different topics here.                                           23   evidence, and we will resume at 9:30 tomorrow morning.

24              THE COURT:   All right.   I'm going to send the jury             24              Thank you all very much.

25   home.   We will have a longer conversation about this.                      25              THE CLERK:   All rise.


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     K1udave7                    Wilson - cross                                      K1udave7                      Wilson - cross

1               (Jury not present)                                              1    case is not about, as we discussed many times, whether payments

2               THE COURT:   You can step down, Mr. Wilson.                     2    were or were not made, whether Boies Schiller conducted a

3               (Witness not present)                                           3    whitewash, whatever that may mean.       It is about the demands

4               THE COURT:   Please be seated.                                  4    that Mr. Avenatti made, whether they were criminal.

5               MR. S. SREBNICK:    Your Honor, we will invoke the rule         5               When we were at the sidebar, Mr. Srebnick, Scott

6    of sequestration.                                                          6    Srebnick, made the point that Mr. Wilson was asked on direct --

7               THE COURT:   Yes.   So as we discussed yesterday, once a        7    appropriately, in our view -- to explain his understanding of

8    witness is on cross-examination, he is not to have any                     8    what was happening in the meetings as well as his reactions,

9    communication with the counsel who put him on on direct.                   9    which are clearly relevant for an extortion charge.        If the

10              All right.   So let's talk about the legal issues that          10   defense would like to cross-examine him about his

11   were raised at sidebar.                                                    11   interpretation of the statements and argue to the jury that he

12              Mr. Srebnick, is there -- Scott Srebnick, is there              12   got them wrong or was misleading the jury or whatever they want

13   something else you wanted to add to what you were saying at                13   to allege, they're welcome to do that.         But it has nothing to

14   sidebar?                                                                   14   do with the underlying investigation that they're claiming was

15              MR. S. SREBNICK:    No, your Honor.                             15   a whitewash.    That simply has nothing to do with anything

16              THE COURT:   So I think the argument, to put it in a            16   that's going on in this courtroom.

17   nutshell, is that the defense is arguing that this witness,                17              Now, the defense is permitted, as we've gone over many

18   Mr. Wilson, was involved in an internal investigation of these             18   times and we haven't objected, to talk, inquire -- to ask the

19   allegations at Nike and did some sort of whitewash                         19   witness as to whether they complied with the subpoena or had

20   investigation, and, therefore, the defendant should be entitled            20   some motive to curry favor or whatever else.         But to simply go

21   to explore the whitewash -- the alleged whitewash investigation            21   into the parameters of an investigation which Mr. Avenatti knew

22   he conducted.    I think that's the argument.                              22   nothing about, as the defense just made clear, is completely

23              What does the government say?                                   23   irrelevant, and it is going to distract the jury from anything

24              MR. PODOLSKY:   To begin with, your Honor, I really             24   that's actually at stake in this trial.

25   have no idea what the defense means by "whitewash."      But this          25              THE COURT:   All right.   What does the defense says?


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     K1udave7                    Wilson - cross                                      K1udave7                      Wilson - cross

1               MR. S. SREBNICK:    What I heard Mr. Wilson say on              1               And his bias is -- he's put his bias at issue by

2    direct a number of times, things of the sort of my pulse was               2    editorializing on the witness stand and obviously being, you

3    pounding, my jaw dropped, I was flabbergasted, I was concerned,            3    know, so aligned with the U.S. Attorney's Office in this case.

4    this was unusual, I've never seen anything like this before.               4    It's come across at least so clear to this side that he has an

5    That's not testimony about the facts of what Mr. Avenatti said.            5    agenda, and we think we should be entitled to explore that

6    Those are his reactions.       And I think we're entitled to probe         6    agenda.

7    whether his jaw dropped and whether his pulse was pounding                 7               MR. PODOLSKY:   Your Honor, first of all, at no time

8    because of Mr. Avenatti threatening to go to the press or                  8    has this witness opined that Boies reached any conclusion that

9    whether his pulse was pounding because he now knew that there              9    nothing was wrong, that nothing bad had happened, that there

10   was somebody who was preparing to demand an internal                       10   was no misconduct.      That simply has not been the subject of the

11   investigation into payments to the number one pick in the NBA              11   testimony.

12   draft by executives at Nike who, after Mr. Wilson apparently               12              THE COURT:   No.   But Mr. Srebnick says he wants to get

13   conducted an internal investigation, Boies found nothing wrong,            13   into that.    That is kind of his point.

14   and apparently these two individuals who were making these                 14              I don't think Mr. Srebnick is saying that there has

15   payments were still employed there -- a number of people who               15   been any testimony about that.       Actually, he's advocating for

16   were involved were still employed -- and apparently Boies found            16   the right to do that.      And he's saying that it is relevant to

17   nothing wrong.                                                             17   this witness' statements about why he was experiencing anxiety.

18              And so it is our position that the reason his pulse             18   The way Mr. Wilson expressed it is that he was experiencing

19   was pounding and the reason he was flabbergasted and his draw              19   anxiety because he was worried that this press conference and

20   dropped is because he was concerned about being exposed, and I             20   the allegations that Mr. Avenatti was going to make would cause

21   think he was concerned his client was about to get exposed, and            21   substantial financial and reputational harm to Nike.

22   that it would be viewed by the U.S. Attorney's Office here that            22              And Mr. Srebnick is saying that, to some extent, the

23   Nike had actually conducted a meaningless internal                         23   reason for his anxiety was much more personal in that he had

24   investigation.   And we are entitled -- we believe we are                  24   been involved in conducting an internal investigation, which

25   entitled to probe into that.                                               25   had not led to any ramifications to Nike executives who were


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     K1udave7                     Wilson - cross                                     K1udave7                      Wilson - cross

1    allegedly involved in misconduct, and now it was being brought             1    completely irrelevant questions about what was the length of

2    to his attention that the alleged misconduct by those Nike                 2    the investigation, what was the cost of the investigation, how

3    executives, that according to Mr. Srebnick had not been                    3    many witness, etc.

4    addressed at all, that that might actually come to light.                  4               THE COURT:   Yeah, I don't want to get into -- you

5               So he's saying that's what was really driving                   5    know, the trial is not about whether Boies Schiller did a

6    Mr. Wilson's anxiety and not anxiety about the effect on Nike              6    thorough investigation at Nike, and we're not going to spend

7    of what would be revealed at the press conference but actually             7    time on that.    But if the idea is you want to explore with the

8    a much more personal anxiety which is related to having been               8    witness whether essentially Boies Schiller gave Nike a clean

9    involved in conducting an internal investigation that led to no            9    bill of health when there was substantial evidence that Nike

10   ramifications to anyone at Nike but now would be exposed.                  10   executives had made improper payments, that I will allow you

11              MR. PODOLSKY:   Your Honor, I fully understand your             11   some leeway on.   But I don't know exactly what your intentions

12   point.   What I understood Mr. Srebnick to be saying is that the           12   are.   So, I need to understand better.

13   foundation for getting into the specifics of the investigation             13              MR. H. SREBNICK:    Exactly as you describe it, Judge.

14   was because Mr. Wilson has said enough, they concluded that                14              MR. PODOLSKY:   Again, we objected to questions about

15   nothing had ever been done wrong.      He has not testified to             15   the length of the investigation and so on, so that's what we

16   that.                                                                      16   are objecting to.

17              If Mr. Srebnick, Mr. Howard Srebnick, wants to inquire          17              THE COURT:   OK.

18   as to his bias because he was afraid about that the government             18              MR. H. SREBNICK:    Judge, I would ask then, just to

19   would discover that the productions were incomplete or in fact             19   make a record, if the government could inquire of the witness

20   Nike representatives had lied to the government or not -- in               20   and report to the Court how much money was billed for that

21   the in-person meetings to the government, which, by the way,               21   internal investigation?

22   this witness did not attend, then he is welcome to do that.                22              THE COURT:   No, we're not going to get into that,

23   But their assertion that they believe that they reached any                23   because that's a variant to what I've already said we are not

24   conclusions or lied to the government should not sort of be                24   going to spend time.      We're not going to spend time on how much

25   able to pull up by the bootstraps opening the door to the                  25   was spent, how many people were interviewed, how many Boies


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     K1udave7                     Wilson - cross                                     K1udave7                      Wilson - cross

1    lawyers worked on it.      No, no, no, we're not going to be               1    going as far as we are allowed to go -- I think it would be our

2    spending time on that.                                                     2    intent to question Mr. Wilson about whether they interviewed

3               But if your point is you want to try to explore with            3    Gary Franklin, whether they interviewed Auerbach, whether they

4    him whether, as I said, Boies Schiller gave Nike a clean bill              4    interviewed a number of people relating to these claims,

5    of health and you want to explore with him whether he was now              5    because he's taking the position that there was no claim here.

6    concerned because these allegations of misconduct might come               6    And I think -- and he's also saying that they did an internal

7    forth, I think there is a germ of possible bias there that you             7    investigation, and so we want to inquire as to at least with

8    should be allowed to explore.                                              8    respect to the Franklin/Auerbach issues, what the extent of

9               MR. PODOLSKY:   I completely agree with the Court.    I         9    their investigation was.      And --

10   just want to sort of be alert to one issue, which is I think               10              THE COURT:   I will certainly allow you to ask him

11   there was a distinction here that could create problems between            11   whether -- and, again, I don't -- I mean, the lawyers know what

12   say what the Boies Schiller lawyers reported to the government             12   his role was in the investigation.      I have no idea.    I have

13   and legal advice that Boies Schiller gave to their client,                 13   absolutely no idea.      But at sidebar it was suggested to me that

14   Nike, that I think raise privilege issues.      So I just want to          14   he had some role in the investigation.         I don't really know

15   be alert to that.   I am not saying right now what the line is,            15   what his role was.      I don't know whether he interviewed

16   but the way it is being characterized, I just want to be                   16   everybody.    I don't know whether he was involved in any

17   careful about it.                                                          17   interviews.    No idea.

18              THE COURT:   I have, of course, issued an order that            18              But I can tell you, I would be predisposed to allow

19   provides that by virtue of the testimony we're going to hear at            19   you to ask him whether Franklin was interviewed as a result --

20   the trial from Nike lawyers, Nike will not be found to have                20   you know, in connection with the internal investigation of

21   waived the privilege.      So, that might have a bearing, I don't          21   Nike, whether Auerbach was interviewed.         I don't see any

22   know.                                                                      22   problem with that.      Once you get beyond those two witnesses

23              MR. S. SREBNICK:   So just to understand the Court's            23   that are central here, then I'm going to have more concern.

24   ruling -- because, obviously, we are going to go back tonight              24              MR. S. SREBNICK:    OK.

25   and make sure that we are abiding by the Court's ruling and                25              THE COURT:   Other issues?


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1               MR. PODOLSKY:   Not for the government, your Honor.             1                           INDEX OF EXAMINATION

2               MR. H. SREBNICK:    Nothing else.                               2    Examination of:                                Page

3               THE COURT:   All right.   I do have another matter, but,        3    SCOTT RONALD WILSON

4    obviously, as we've agreed, the defense is welcome to stay                 4    Direct By Mr. Podolsky . . . . . . . . . . . . 242

5    here.   It's just a PI that I need to address.                             5    Cross By Mr. H. Srebnick . . . . . . . . . . . 368

6               MR. H. SREBNICK:    I couldn't hear you.                        6                           GOVERNMENT EXHIBITS

7               THE COURT:   I have a preliminary injunction that I             7    Exhibit No.                                     Received

8    have to address but you are welcome to stay.                               8     S10    . . . . . . . . . . . . . . . . . . . . 276

9               MR. H. SREBNICK:    We will clear out this area.                9     3     . . . . . . . . . . . . . . . . . . . . . 276

10              THE COURT:   OK.                                                10    3T     . . . . . . . . . . . . . . . . . . . . 278

11              MR. PODOLSKY:   Your Honor, we don't have to deal with          11    4     . . . . . . . . . . . . . . . . . . . . . 282

12   this now, we could deal with it tomorrow, but we did file a                12    4T     . . . . . . . . . . . . . . . . . . . . 283

13   letter last night about some of the opening the door to some --            13    1     . . . . . . . . . . . . . . . . . . . . . 285

14   I think to text messages by Jeffrey Auerbach.       I just want to         14    1T     . . . . . . . . . . . . . . . . . . . . 286

15   mention that so that is on the radar.                                      15    2     . . . . . . . . . . . . . . . . . . . . . 304

16              THE COURT:   Yes.   I am aware of the letter.   I haven't       16    2T     . . . . . . . . . . . . . . . . . . . . 304

17   read it but I am aware of it.                                              17    205    . . . . . . . . . . . . . . . . . . . . 341

18              MR. PODOLSKY:   Thank you, your Honor.                          18    S13    . . . . . . . . . . . . . . . . . . . . 345

19              (Adjourned to 9:30 a.m., January 31, 2020)                      19    106    . . . . . . . . . . . . . . . . . . . . 346

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1    UNITED STATES DISTRICT COURT                                            1               (Trial resumed; jury not present)
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x                                         2               THE COURT:   I understand the parties have an issue
     UNITED STATES OF AMERICA,
3                                                                            3    they want to raise.
                  v.                             19 CR 373 (PGG)
4                                                                            4               MR. PODOLSKY:   Two items, your Honor.   The first I
     MICHAEL AVENATTI,
5                                                                            5    don't think really is an issue.     I just want to explain an
                    Defendant.                   Trial
6    ------------------------------x                                         6    evidentiary item.
                                                 New York, N.Y.
7                                                January 31, 2020            7               What I understand the defense is going to do during
                                                 9:30 a.m.
8    Before:                                                                 8    cross-examination with respect to the recordings is they have

9                                                                            9    synched up audio to the same transcripts so that they play
                             HON. PAUL G. GARDEPHE,
10                                                                           10   simultaneously.    We have no objection to that being used as an
                                                 District Judge
11                                               -and a Jury-                11   aid to the jury of course.

12                                 APPEARANCES                               12              With respect to the media-recorded meeting, the March

13   GEOFFREY S. BERMAN                                                      13   21 meeting, there are actual multiple recordings.      We played a
          United States Attorney for the
14        Southern District of New York                                      14   video recording yesterday.     There was a separate audio
     BY: MATTHEW D. PODOLSKY
15        DANIEL RICHENTHAL                                                  15   recording.    And I understand the defense, rather than playing
          ROBERT B. SOBELMAN
16        Assistant United States Attorneys                                  16   the video, has synched up the audio recording to the

17   BLACK SREBNICK KORNSPAN & STUMPF, P.A.                                  17   transcript.    We have no objection to them using that.     It may
          Attorneys for Defendant
18   BY: HOWARD M. SREBNICK                                                  18   make sense to offer that into evidence before the jury comes in
          -and-
19   SCOTT A. SREBNICK                                                       19   simply because it will be played to the jury.
     JOSE M. QUINON
20   MICHAEL D. DUNLAVY                                                      20              THE COURT:   We can't offer anything without the jury
          -and-
21   PERRY GUHA, LLP                                                         21   here, but once the jury is here, if somebody wants to offer it,
     BY: E. DANYA PERRY
22        GEORGE BARCHINI                                                    22   if there is no objection, I will receive it.

23   Also Present:                                                           23              MR. PODOLSKY:   Very well, your Honor.
     DeLeassa Penland, Special Agent (USAO)
24   Andrew Hamilton, Paralegal                                              24              The other item which we can either deal with now or I
     Juliana Manrique, Paralegal
25   Michael Lyon, Trial Technician                                          25   understand from Mr. Srebnick it can wait for a break, last

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1    night we received a series of exhibits that I understand the            1               MR. H. SREBNICK:   Correct.   I am going to leave that

2    defense will seek to put into evidence later today.      We think       2    for later so your Honor has time to look at them.

3    these are not admissible pursuant to the discussions we had             3               THE COURT:   Is there anything else the lawyers want to

4    yesterday.    So we could deal with them now or I understand it         4    say?

5    would be OK to deal with them at the first break, Mr. Srebnick          5               MR. H. SREBNICK:   Not me.

6    has assured me.                                                         6               MR. PODOLSKY:   No, your Honor.

7               MR. H. SREBNICK:   Yes, Judge.   I won't go into it          7               THE COURT:   I wanted to put on the record a number of

8    until you've had an opportunity to rule.      We can give you the       8    principles that I believe apply here.      I think many of them

9    exhibits.    They are government documents provided in discovery.       9    I've previously articulated in rulings, but I wanted to remind

10   They are the Nike production documents.      They are the evidence      10   everybody of them.

11   of Nike executives having arranged to create fake invoices and          11              First, it's not a defense to any charge here that Nike

12   all discussions about paying players and their families and the         12   was engaged in corruption in connection with amateur youth

13   others.                                                                 13   basketball.    Truth is not a defense to any of the charges here.

14              MR. PODOLSKY:   Your Honor, I can hand them up.              14   In other words, even if Mr. Avenatti was threatening to

15              Just to put some context, these are documents that           15   disclose misconduct that Nike employees had actually committed,

16   were produced by Nike to the government pursuant to the                 16   that would not provide him with a defense to the charges

17   subpoena before Mr. Avenatti ever got involved.       Some were         17   against him.

18   produced, I think, back in January 2018.      These are all quite       18              Whether or not Nike had or would conduct a meaningful

19   old documents that Mr. Avenatti has never seen until we                 19   internal investigation of whether its employees had engaged in

20   produced them in discovery.     But I can hand them up, your            20   misconduct in connection with amateur youth basketball is not a

21   Honor.                                                                  21   fact that makes it more or less likely that Mr. Avenatti

22              THE COURT:   Obviously, I'll need time to take a look        22   committed extortion or honest services wire fraud, particularly

23   at them.    I gather from what the government has said,                 23   where Mr. Avenatti had no knowledge of the underlying facts at

24   Mr. Srebnick, that you are not going to be starting with these          24   the time.    In general, information about which Mr. Avenatti was

25   this morning.                                                           25   unaware at the time is not relevant to his state of mind.

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1                Any questions to Mr. Wilson about any investigation he    1               I understand we have all the jurors.     Is everyone

2    and/or Boies Schiller conducted should be focused on misconduct       2    prepared to proceed?

3    with allegations that involve Mr. Franklin.     Again, to the         3               MR. H. SREBNICK:   Yes, your Honor.

4    extent that Mr. Avenatti had no knowledge of these matters at         4               THE COURT:   I would ask Mr. Wilson to retake the

5    the time, this area is of tenuous relevance.     To the extent        5    stand.

6    that Mr. Wilson knew or believed that he or Boies Schiller had        6               (Jury present)

7    not properly investigated allegations involving Mr. Franklin,         7               THE COURT:   Ladies and gentlemen, good morning.      We

8    it could conceivably have some bearing on his credibility.            8    will continue with the cross-examination of Mr. Wilson.

9                In other words, when Mr. Avenatti approached him with     9               Mr. Wilson, you remain under oath.

10   allegations of Nike misconduct that involved Mr. Franklin, it's       10              THE WITNESS:   Yes, your Honor.

11   conceivable that Mr. Wilson's actions and motivations could           11              THE COURT:   Mr. Srebnick, please proceed.

12   have been affected by a belief or concern that his                    12              MR. H. SREBNICK:   Thank you, your Honor.    Good

13   investigation or that of his law firm as to Mr. Franklin had          13   morning, everybody.

14   not been adequate or that Mr. Wilson or the Boies firm had not        14   SCOTT RONALD WILSON, resumed.

15   been forthcoming with the U.S. Attorney's Office about Nike's         15   CROSS-EXAMINATION CONTINUED

16   dealings with Mr. Franklin.                                           16   BY MR. H. SREBNICK:

17               That is why I'm allowing examination in this area.        17   Q.   Mr. Wilson, I just wanted to create our time line so we can

18   But the questions have to be focused on Franklin and on Nike          18   reorient ourselves where we were yesterday.

19   misconduct that involved him.                                         19              With the help of the trial tech person, Mr. Lyon, we

20               Those are the principles I have in mind as we proceed     20   have on the screen communications between Nike lawyers and

21   with the case.     These comments are not in any way related to       21   Geragos and/or Avenatti.      We spoke yesterday about the March 13

22   the exhibits that you told me you had issues with because I           22   e-mails.

23   didn't even know what the exhibits were, but these are thoughts       23              Do you recall that?

24   that I wanted to spread on the record today.     As I said, many      24   A.   I do.

25   of them I have previously articulated in other decisions.             25   Q.   Do you recall it was Mr. Geragos and the Nike lawyers who

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1    exchanged e-mails, correct?                                           1    Q.   Now, yesterday I had asked you about some of the statements

2    A.   Correct.                                                         2    that Mr. Avenatti made to you during the course of the March 19

3    Q.   There was a phone call on March 13 with you and                  3    conference, and some of them you said you did not recall him

4    Mr. Geragos?                                                          4    making certain statements.      For example, do you recall

5    A.   Yes.    I spoke to Mr. Geragos by phone on the 13th.             5    Mr. Avenatti, as part of his ask on behalf of his client,

6    Q.   On March 14, the next day, there were two e-mails between        6    Mr. Franklin, who at the time you didn't have his name,

7    Geragos and a Nike lawyer, yourself?                                  7    Avenatti said:    We will include express language in the

8    A.   There were two more e-mails in that same e-mail chain on         8    settlement agreement that will not prevent my client from

9    Thursday, the 14th, yes.                                              9    giving any future testimony to the government?

10   Q.   Then on March 15 there was a phone call?                         10   A.   I don't recall Mr. Avenatti saying that.

11   A.   I spoke with Mr. Geragos by phone on Friday, the 15th.           11   Q.   Do you recall Mr. Avenatti saying:      His client would agree

12   Q.   On March 19, I think that's where what we were talking           12   to cooperate?

13   about yesterday, that was a face-to-face meeting?                     13   A.   No, I do not.

14   A.   Yes.                                                             14   Q.   And do you recall Mr. Avenatti saying:      I'm sure you will

15   Q.   And that meeting was attended by Mr. Avenatti, Mr. Geragos,      15   agree that this will be in both of our clients' interests?

16   and yourself?                                                         16   A.   No, I do not.

17   A.   Along with a couple of others, yes.                              17   Q.   Now, you, of course, were not the only lawyer present when

18   Q.   I think this is out of sequence, because there be a call         18   Mr. Avenatti made his statements to you.       A Mr. Homes was

19   later in the day on March 19 between you and Mr. Geragos,             19   present, another lawyer from Boies Schiller?

20   right?                                                                20   A.   There were five lawyers in the room, including Mr. Homes,

21   A.   I had a short phone call with Mr. Geragos later that day,        21   yes.

22   after the in-person meeting.                                          22   Q.   And another lawyer, the Nike lawyer, Rob Leinwand, correct?

23   Q.   That's where we are in terms of the timeline of our              23   A.   Rob Leinwand, yes.

24   examination of yesterday, correct?                                    24   Q.   Now, I'd like to ask you a few questions about Mr. Homes.

25   A.   I believe so.                                                    25   Mr. Homes was tasked with the responsibility of taking notes

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1    during the course of that meeting?                                     1    Mr. Geragos.    I don't recall whether he took the notes of the

2    A.   Mr. Homes took notes for most of the meeting except a             2    call on the 13th or the 15th, but I did -- excuse me.      I

3    period of time after which Mr. Avenatti directed him to stop           3    reviewed, I believe, a type-up of his notes.       I don't recall I

4    taking notes.                                                          4    reviewed his handwritten notes.

5    Q.   But Mr. Homes was taking notes at your direction.      He         5    Q.   Let me phrase it that way.      Did it appear that Mr. Homes

6    worked for you?                                                        6    was taking pretty accurate notes of at least the call?

7    A.   Mr. Homes worked at my law firm under my supervision, yes.        7               MR. PODOLSKY:    Objection, your Honor.

8    Q.   And had you worked with Mr. Homes before?                         8               THE COURT:   Sustained.

9    A.   Yes.                                                              9    Q.   Now, you said you don't recall Mr. Avenatti saying that his

10   Q.   And he also was the person who had taken notes of the phone       10   client would agree to cooperate, that there would be express

11   calls that you had with at -- at least one phone call that you         11   language in the settlement agreement not preventing --

12   had with Mr. Geragos?                                                  12              THE COURT:   When you say cooperate, cooperate with

13   A.   Mr. Homes sat in and took notes of, I believe, one phone          13   who?   Cooperate with Nike?

14   call I had with Geragos prior to this March 19 meeting.                14              MR. H. SREBNICK:    Cooperate with the investigation.

15   Q.   Had Mr. Homes ever taken notes for you in other occasions,        15              THE COURT:   I'm just trying to understand what you are

16   whether related to this case or not, where you relied on him to        16   asking the witness about the cooperation piece of it.      Is there

17   take notes?                                                            17   anything, any more you can add to that or is it just simply

18   A.   I can't recall sitting here right now.                            18   something about cooperating?

19   Q.   Now, I think you told me that you did not review Mr. Homes'       19              MR. H. SREBNICK:    Cooperating with Nike with the

20   notes of the March 19 meeting, is that correct?                        20   investigation.

21   A.   Yes.    I did not review Mr. Homes' notes of the in-person        21              THE COURT:   OK.

22   meeting of the 19th.                                                   22   Q.   To see if I can refresh your recollection, I am going to

23   Q.   You did review his notes of the phone calls, of the phone         23   show you an exhibit, Defense Exhibit AA3.

24   call?                                                                  24              MR. H. SREBNICK:    If I may approach the witness

25   A.   I reviewed his notes of the call that I had had with              25   without objection from the government.

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1                THE COURT:   Yes.                                          1    you do it that way, please.

2                Do you have a copy for me, Mr. Srebnick?                   2               MR. H. SREBNICK:    Sure.

3                MR. H. SREBNICK:    I think I can get one.   It would be   3               THE COURT:   Reading the second paragraph, does that

4    on your screen, Judge, but not on the jury screen, but it's            4    refresh your recollection?

5    only to refresh recollection.                                          5               THE WITNESS:    It does not refresh my recollection

6                THE COURT:   I don't have anything on my screen right      6    beyond that to which I have already testified.

7    now.                                                                   7    Q.   Also yesterday we had talked a moment about Mr. Auerbach

8                MR. H. SREBNICK:    I just want to make sure it's not on   8    having contacted Mr. Slusher and alerting Mr. Slusher to Gary

9    the jury screen.                                                       9    Franklin's claims.      You said you had learned about that.

10   Q.   I would direct your attention to the second page towards          10              Do you recall when it was that you learned about the

11   the bottom of the page, which I highlighted for you in yellow          11   conversation Auerbach and Slusher had?

12   to direct your attention.       If you can take a moment and tell us   12   A.   I do not recall learning that the conversation between

13   perhaps if that refreshes your recollection.                           13   Mr. Auerbach and Mr. Slusher related to claims by Mr. Franklin.

14   A.   Which part would you like me to read?                             14   But as to when I learned of that call, I believe it was within

15   Q.   You can see it has a number 1 with a paren.                       15   maybe days or a week of it taking place, whatever that date

16   A.   OK.    It doesn't refresh my recollection beyond that to          16   was.

17   which I have already testified.                                        17   Q.   Do you recall that the conversation between Auerbach and

18   Q.   If you will take a look at No. 2, does that refresh your          18   Slusher at Nike occurred approximately February 6, 2019?

19   recollection that Mr. Avenatti told you and the other Nike             19              MR. PODOLSKY:    Objection, your Honor.

20   lawyers:     We will discuss anything that we find with Nike who       20              THE COURT:   Overruled.

21   can then decide whether we should disclose that information to         21   A.   I have -- my recollection is that it happened within a

22   the Southern District of New York?                                     22   month or two before my meeting with Mr. Avenatti.

23               MR. PODOLSKY:   Objection, your Honor.                     23   Q.   To clarify, the Avenatti meeting occurs March 19 and your

24               THE COURT:   Can you just ask him to read the paragraph    24   best recollection is that you learned about the

25   and then ask him whether it refreshes his recollection?       Can      25   Slusher/Auerbach conversation a month earlier?

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1    A.   About a month earlier is my recollection, yes.                    1    of an NFL football player with Nike?

2    Q.   Now, I'd like to then return back to our conversation about       2    A.   I knew that he had represented an NFL player adverse to

3    the March 19 meeting and the matters that were discussed.              3    Nike and, to my knowledge at the time of the meeting, Nike and

4                There came a point in time where Mr. Avenatti              4    that athlete still had a commercial relationship.       I wasn't

5    indicated that if the case or if the matter didn't settle that         5    familiar with the details of what might have been resolved or

6    he would hold a press conference, right?                               6    not resolved.

7    A.   He indicated that he would hold a press conference the next       7    Q.   Do you recall that Mr. Geragos had actually described that

8    day if his two demands -- first, the civil settlement for              8    matter involving the NFL football player and Nike as having

9    Mr. Franklin and, second, the hiring of him and Mark Geragos           9    been perceived as a win-win, a win for the football player and

10   or, as he later described it, the payment of them two times the        10   a win for Nike?

11   fees paid to a different law firm if those two demands were not        11   A.   I recall him suggesting that it had been a positive

12   met.                                                                   12   successful resolution.

13   Q.   Mr. Geragos was present throughout the meeting of March 19,       13   Q.   Finally, you knew Mr. Geragos as someone who practiced

14   correct?                                                               14   criminal law in addition to civil?

15   A.   Yes.                                                              15   A.   Apart from the athlete representation we are talking about,

16   Q.   And we spoke yesterday.     Mr. Geragos, you identified him as    16   I actually wasn't familiar with him as a civil practitioner.        I

17   a lawyer that you recognized, nationally known lawyer, high            17   was familiar from the media that he had represented celebrities

18   profile, criminal defense, a civil case with Nike.      That's what    18   in Los Angeles in shoplifting or other high-profile criminal

19   we are talking about, right?                                           19   cases.

20               MR. PODOLSKY:   Objection, your Honor.                     20   Q.   The reason I'm asking is, Mr. Geragos throughout the

21               THE COURT:   Sustained.                                    21   meeting, he appeared to be an active participant working

22   Q.   I'll break it down.     Do you recall that Mr. Geragos, he is     22   together with Mr. Avenatti, correct?

23   the lawyer who you knew to have a national profile?                    23              MR. PODOLSKY:   Objection, your Honor.

24   A.   Yes.                                                              24              THE COURT:   Overruled.

25   Q.   He is the lawyer who had resolved a civil matter on behalf        25   A.   Mr. Avenatti did the vast majority of the talking between

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1    the two of them.     Mr. Geragos was sitting next to him               1    meeting on the 19th, Mr. Geragos did not contradict or voice

2    throughout the meeting and didn't voice objection or                   2    any objection or concern about what Mr. Avenatti was saying.

3    disagreement with Mr. Avenatti that I recall.                          3    Q.   Now, I'd like to then ask you, during the course of that

4    Q.   Mr. Geragos appeared to be calm during the meeting?               4    discussion you asked Mr. Avenatti to identify who the client

5    A.   Yes, he did.                                                      5    was?

6    Q.   He appeared to be serious during the meeting?                     6    A.   There were several points in the meeting before I was

7    A.   At points he seemed serious and at points he seemed jovial        7    allowed to review the package of documents.       Then we had a

8    or making jokes or being funny.                                        8    break.   In that earlier half of the meeting there were several

9    Q.   And when Mr. Avenatti indicated that if the matter wasn't         9    points where I asked Mr. Avenatti who the client was.

10   resolved with the urgency that Avenatti was suggesting it              10   Q.   Can I ask you to put the microphone closer to you.

11   should be resolved that there would be a press conference and          11              MR. H. SREBNICK:   I'm sorry, Judge.   I can't hear.

12   all of that, Mr. Geragos appeared to be in synch with that             12              THE COURT:   That's quite all right.

13   proposal by Avenatti?                                                  13   A.   I'll try to speak louder.    I apologize.    Is that better?

14               THE COURT:   Sustained.                                    14   Q.   It is better.   Thank you.

15   Q.   You know what the phrase spit take means?                         15   A.   Thank you.

16               THE COURT:   I'm sorry?                                    16   Q.   And I think yesterday you told us that Mr. Avenatti said

17               MR. H. SREBNICK:   Spit take.                              17   that the press conference and the identity of his client would

18               THE COURT:   Spit take.                                    18   not make a difference as part of the press conference that

19   Q.   Is that a phrase that you ever used?     Do you know spit         19   Mr. Avenatti was suggesting what happened if the case did not

20   take?                                                                  20   resolve.    That was your testimony?

21   A.   I've heard the phrase.     I don't think I have ever used it.     21   A.   When I was asking -- one of the points when I was asking

22   Q.   In any event, Geragos did not voice any objection or any          22   for the identity of the program director that he represented,

23   concerns about the proposal that Mr. Avenatti was articulating         23   he indicated that he didn't believe that was what was going to

24   to the Nike lawyers, correct?                                          24   drive the press conference, the name of the individual.

25   A.   During our meeting on the 19th -- pardon me.     During the       25   Q.   Do you recall that it was Mr. Geragos who then said,

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1    wouldn't the identity of the individuals at Nike drive this         1    Q.   Now, in response to Mr. Avenatti telling you that he had

2    story?                                                              2    text messages, e-mails, invoices to support his factual

3    A.   My recollection was that it was Mr. Avenatti who was           3    assertions, you said that your client, Nike, had three primary

4    talking about that, but it could be that it was Mr. Geragos who     4    interests, correct?

5    said it.                                                            5    A.   I recall asking to see the documents, either myself or

6    Q.   It could have been Mr. Geragos as well?                        6    Mr. Leinwand asking to see the documents.     I also described the

7    A.   Yes.                                                           7    company having three interests prior to having an opportunity

8    Q.   Mr. Avenatti told you that he could show you text messages     8    to review those documents.

9    from Nike executives directing payments to family members of        9    Q.   One interest was avoid being dragged through the press,

10   players, correct?                                                   10   correct, one was complying with the government?

11   A.   Prior to actually showing me the documents earlier in the      11   A.   Yes.

12   meeting, he said that he had a few different types of               12   Q.   And the third one was an interest in conducting an internal

13   documents.    I recall him mentioning the e-mails, text messages,   13   investigation surrounding these allegations.

14   and invoices.                                                       14   A.   More or less, yes.

15   Q.   The last thing is invoices?                                    15   Q.   So you did not dispute the propriety, the appropriateness

16   A.   Invoices.                                                      16   of having an internal investigation when Mr. Avenatti suggested

17   Q.   At some point you started to wonder maybe Mr. Avenatti was     17   an internal investigation would be part of his ask, correct?

18   wearing a wire?                                                     18   A.   There is nothing wrong with a company having an internal

19   A.   I asked him if he was wearing a wire.                          19   investigation, and I did not say to him that it would be wrong

20   Q.   A wire meaning like he was recording you?                      20   for Nike to conduct an internal investigation.

21   A.   Yes.                                                           21   Q.   You said you actually had an interest in conducting an

22   Q.   And Avenatti opened up his jacket and revealed that at         22   internal investigation surrounding these allegations?

23   least you couldn't see a wire, and to this day you have no          23   A.   I said the company had an interest in conducting an

24   reason to suspect that he was wearing a wire, correct?              24   internal investigation, not in paying him with respect to such

25   A.   That's right.                                                  25   a thing.

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1    Q.   The dispute was over who was going to do it and who was        1    Q.   Now, in fact, by that point in time, in March of 2019, you

2    going to get paid to do it, right?                                  2    and your law firm had at least already started, if not

3    A.   I don't believe there was a dispute at this point.    There    3    finished, an internal investigation surrounding the very same

4    was just his demand.                                                4    allegations that Mr. Avenatti and Geragos were bringing to your

5    Q.   In your mind that was, as you told the jury, you thought it    5    attention, correct?

6    shouldn't be Avenatti and Geragos, right?                           6    A.   Following the company's receipt of the grand jury subpoena

7    A.   For a variety of reasons, including that Mr. Avenatti          7    that we talked about yesterday in September of 2017, Boies

8    presented himself as representing the client adverse to the         8    Schiller was engaged to assist the company in responding to the

9    company.    I didn't think it would be appropriate for              9    government's subpoena and to conduct an internal investigation

10   Mr. Avenatti to turn around and suggest that he could represent     10   with respect to the allegations.

11   Nike as well.                                                       11   Q.   And when did that internal investigation conclude?

12   Q.   So your opinion was, Avenatti and Geragos are not the right    12   A.   I'm not aware that it is concluded.

13   people to do the investigation.    Fair statement?                  13   Q.   It is ongoing to this day as we speak?

14   A.   I did not think it would be appropriate in the eyes of the     14   A.   To the best of my knowledge, yes.

15   company or the Department of Justice for Mr. Avenatti,              15   Q.   Roughly two and a half years since that subpoena in 2017,

16   representing a client adverse to the company, representing a        16   you are saying that the internal investigation conducted by

17   client who he had just told me was engaged in criminal conduct      17   Boies Schiller is still ongoing?

18   with employees of the company, to turn around and purportedly       18   A.   My understanding is that the government's investigation is

19   represent the company in conducting an internal investigation       19   ongoing and with it the internal investigation is ongoing.

20   while there was a parallel FBI/DOJ investigation going on.          20   Q.   Just as a footnote, you have left Boies Schiller.    Does

21   Q.   In answer to my question, it was your opinion that Avenatti    21   that mean you're no longer working on the internal

22   and Geragos were not the right people to conduct the internal       22   investigation or are you still a part of that process?

23   investigation, correct?                                             23   A.   I am not currently working on the internal investigation in

24   A.   My view was that it was a complete nonstarter, this            24   light of my role as a witness in these proceedings.

25   suggestion.                                                         25   Q.   As of March 19, 2019, when you were in the room at

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1    Mr. Geragos' office, were you then and there still part of the      1    left before the end of 2019.         I think there was billing in 2018

2    team conducting the internal investigation of Nike for the          2    that was more than a million dollars, but I don't remember how

3    allegations regarding the paying of amateur athlete basketball      3    many millions of dollars it was.

4    players' families and such?                                         4    Q.   Mr. Geragos commented that in his opinion the documents

5    A.   I was part of the team of Boies Schiller lawyers at that       5    implicating Nike were concerning, correct?

6    time engaged by the company to conduct an internal                  6               MR. PODOLSKY:    Objection, your Honor.

7    investigation, yes.                                                 7               THE COURT:     Grounds.

8    Q.   Boies Schiller at that point in time represented Nike in       8               MR. PODOLSKY:    When are we talking about at this

9    many other matters?                                                 9    point?

10   A.   I would not characterize it as many, but I don't believe it    10              MR. H. SREBNICK:    We are still in that March 19

11   was the only matter in which we represented Nike.                   11   meeting.     I'm sorry.

12   Q.   And how important a client was Nike at that point in time      12   Q.   During the meeting Mr. Geragos described the documents

13   to Boies Schiller, if you know?                                     13   implicating Nike that he and Avenatti -- we will in a few

14   A.   I don't have -- I didn't discuss that with anyone at the       14   moments present to you -- as concerning to him, yes?

15   firm.                                                               15   A.   On one of the two calls I had with Mr. Geragos the prior

16   Q.   I can't hear you.                                              16   week, he had said that he had been shown some stuff that

17   A.   I didn't discuss that question with anyone else at the firm    17   suggested to him that Nike might have an Adidas problem.        I

18   at the time.                                                        18   don't recall him making a similar statement in the in-person

19   Q.   Did Nike represent millions of dollars of revenue a year to    19   meeting on the 19th.

20   the Boies Schiller firm?                                            20   Q.   Do you have AA3 to attempt to refresh your recollection?

21              MR. PODOLSKY:   Objection, your Honor.                   21   A.   I do.

22              THE COURT:   Overruled.                                  22   Q.   If we can go to the bottom of page 3, the last entry that

23   A.   As of what time?                                               23   you see there.

24   Q.   2017, 2018, 2019.     Until you left.                          24   A.   I've read it.

25   A.   I don't know the answer to that as of the end of 2019.    I    25   Q.   Does that refresh your recollection that Geragos said, I've

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1    seen the documents implicating Nike and it is concerning?           1    counsel, and she has a number of direct reports and

2               MR. PODOLSKY:   Objection, your Honor.                   2    Mr. Leinwand is one of those direct reports.         Certainly in the

3               THE COURT:   Yes.   Again, I'm not going to repeat it.   3    area of litigation I would describe him as the No. 2.        But

4    I want you to pay attention.      You can ask him to review         4    there are other types of legal work the lawyers in the

5    portions of documents.     You are not to read the documents to     5    department do.

6    him.    They are not in evidence.    OK?                            6    Q.   Do you know roughly how many lawyers Nike has in house that

7               MR. H. SREBNICK:    Understood.                          7    work with Leinwand and the general counsel?

8    A.   Would you mind asking the question again, please.              8    A.   Overall, irrespective of subject matter?

9    Q.   I asked you a question earlier, does that document refresh     9    Q.   Overall at Nike, yes.

10   your recollection?                                                  10   A.   I believe they have a few dozen lawyers.

11   A.   It doesn't refresh my recollection beyond the testimony I      11   Q.   A few dozen.

12   have already given.                                                 12              As to whether you describe Mr. Leinwand as the No. 2

13   Q.   Do you recall that you then told Avenatti and Geragos that     13   guy, could I ask you to review AA3, top of page 4, and see if

14   Rob Leinwand, the other lawyer, one of the other two lawyers        14   that refreshes your recollection?

15   with you in the room, is the No. 2 guy in the legal department?     15   A.   I've read it.

16   Do you recall telling him that?                                     16   Q.   Does that refresh your recollection?

17   A.   I described Mr. Leinwand's position at the company during      17   A.   It refreshes my recollection that I emphasized to

18   that meeting, yes.                                                  18   Mr. Avenatti and Mr. Geragos that I have brought a senior

19   Q.   Did you describe him as the No. 2 guy in Nike's legal          19   member of the legal department to the meeting in order to

20   department?                                                         20   demonstrate the seriousness with which the company was taking

21   A.   I don't recall if I used that exact phrase, but I think I      21   their request for a meeting.

22   called him the head of litigation or the lead for litigation.       22   Q.   And you told Mr. Geragos and Mr. Avenatti that Leinwand,

23   I don't remember if I said No. 2.                                   23   the lawyer, was there.      He is, however you described him, head

24   Q.   Is he is in fact the No. 2 lawyer at Nike?                     24   of litigation, or whatever.      And you told Avenatti and Geragos

25   A.   I would consider the No. 1 lawyer at Nike to be the general    25   that, you see, we are taking these allegations seriously,

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1    correct?                                                               1               THE WITNESS:    At a high level he had indicated that

2    A.   I don't recall saying those exact words, no.                      2    they named a few Nike employees.      He named three players and he

3    Q.   Do you recall saying to Geragos and Avenatti, you have Rob        3    said that they were involved in -- Mr. Franklin -- excuse me.

4    Leinwand here, so we are taking these allegations seriously?           4    He had not named Mr. Franklin yet, but his whistleblower client

5    A.   No.   I still don't recall that phrase, but, as I mentioned       5    had been involved in making corrupt payments to these players,

6    a minute ago, I do have a clear recollection that I indicated          6    and I also recall that he made reference to a 10,000 dollar

7    I've got Mr. Leinwand here.      We are taking this seriously.     I   7    payment.    That's about the extent of my recollection of the

8    don't know if I said these allegations, but we are taking this         8    allegations in the first half of this meeting before I reviewed

9    seriously, as evidenced by the fact I had flown a senior               9    the documents.

10   executive of the company across the country to sit with you.           10              THE COURT:   You can reask the question.

11   Q.   Do you recall then telling Avenatti and Geragos that Adidas       11   Q.   I'll just ask the next question.     Shortly after that

12   has somehow been able to avoid indictment, even after one of           12   Avenatti identified Gary Franklin as the client, correct?

13   their midlevel executives has been convicted?                          13   A.   He identified Mr. Franklin very shortly before we stopped

14   A.   I did make a point in that meeting that even in the               14   talking and I was allowed to review the documents.

15   scenario where an employee at a competitor was convicted for           15   Q.   Let's talk about that.     Avenatti then identifies Gary

16   corruption in amateur basketball, that did not, at least as of         16   Franklin as his client.      That's a name that was familiar to

17   that time, result in any adverse government action against the         17   you, correct?

18   company.                                                               18   A.   It was familiar to me at the time he named him, yes.

19   Q.   So at that point in the meeting you've told Avenatti and          19   Q.   And you and Mr. Leinwand asked to see the documents that

20   Geragos you are taking it seriously, Leinwand is there, and at         20   Geragos and Avenatti have to show you?

21   no point did you dispute the allegations that Avenatti and             21   A.   We asked to see the documents that Mr. Avenatti said that

22   Geragos were presenting to you, correct?                               22   he had.

23              MR. PODOLSKY:   Objection.                                  23   Q.   And he showed them to you, correct?

24              THE COURT:   Can I just ask a question.    By this time     24   A.   Mr. Geragos stood up, I swung around to sit where he had

25   in the conversation had he laid out the allegations to you?            25   been sitting, and Mr. Avenatti either handed me or left on the

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1    table in front of me a small package of documents.                     1    propose to do is show the witness, not the jury for the moment,

2    Q.   I'd like to go through some of those documents with you,          2    some documents to see if it accords with the documents he

3    see if I can ask you a few questions preliminarily.                    3    recalls seeing at that meeting on March 19.      This should not be

4               The way it worked is, you were allowed to see the           4    displayed to the jury, but the witness and your Honor should be

5    documents and then -- we will get to it in a moment -- you             5    able to see it.     And this is from Defense Exhibit D.

6    couldn't keep copies of the documents and you weren't actively         6    Q.   Just to make the record, do you see that it has a Bates

7    taking notes of the documents.       You later reported what you saw   7    number on the bottom ending with 0016?

8    to your colleague, Mr. Homes, who then made handwritten notes          8    A.   I do, yes.

9    about what you said you saw in the documents.       Fair statement?    9    Q.   If I could ask you to take a look at that and see if that

10              MR. PODOLSKY:   Objection, your Honor.                      10   appears to be one of the documents you were shown.

11              THE COURT:   Grounds.                                       11   A.   So, putting aside the obvious point that I didn't see a

12              MR. PODOLSKY:   Compound and confusing.                     12   document with Bates numbers on the bottom right, but you are

13              THE COURT:   Sustained.                                     13   asking --

14   Q.   Suffice it to say then, you saw the documents, yes?               14              MR. H. SREBNICK:    Let me clarify for the jury.

15   A.   I spent some time flipping through the package reviewing          15   Forgive me, everybody.

16   most, if not all -- I believe not all pages of the package.            16   Q.   There is something that we call Bates stamps, right?       We

17              MR. H. SREBNICK:    If I could just have a moment,          17   lawyers stamp documents on the bottom of the page.

18   Judge.                                                                 18              MR. PODOLSKY:    Objection, your Honor.   Can he just ask

19              THE COURT:   Yes.                                           19   him if he recognizes this document?

20              MR. H. SREBNICK:    Judge, at this time we are going to     20              THE COURT:   Yes.   Absent the identifying numbers, do

21   offer excerpts from Defense Exhibit D.       Maybe I should confer     21   you remember seeing the document?

22   with Mr. Podolsky.                                                     22              THE WITNESS:    Some of the text on this text message

23              THE COURT:   Why don't you do that.                         23   exchange looks familiar to me from my time flipping through

24              MR. H. SREBNICK:    Thank you.                              24   documents in Mr. Geragos' office.

25              Judge, we have an agreed procedure.     Judge, what I       25              MR. H. SREBNICK:    I would request permission to

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1    publish, Judge.                                                           1               THE COURT:   So this was one of the documents that you

2               THE COURT:   Is there an objection?                            2    saw at the March 19 meeting.

3               MR. PODOLSKY:      If he is offering it into evidence, we      3               THE WITNESS:    This page I can confirm I recall seeing

4    don't object to it being offered into evidence, this one page.            4    this page, yes.      Possibly with annotations now that are

5               THE COURT:   Defense Exhibit D is received.                    5    different than what I saw.       But what I'm recognizing is the

6               (Defendant's Exhibit D1 received in evidence)                  6    underlying text of the text messages.

7               MR. H. SREBNICK:      For clarity, Judge, D as a               7               MR. H. SREBNICK:     So if we could then turn off the

8    compositive would just be that one page, which I have                     8    screen of the jurors and publish or show the witness the next

9    identified as ending in Bates number 0016.           Because D will be    9    document.

10   offered later with another witness.                                       10              Judge, it's been suggested, would it be more efficient

11              THE COURT:   This is D.      It's 0016.   If you want to       11   to call the first one we showed D1 and then just go D2, D3?

12   introduce another document with someone else, it will be called           12   Would that be better?

13   something else, maybe D1.        But this is going to be D.    This       13              THE COURT:   Sure.    That's fine.   It will be registered

14   will be Exhibit D.      OK?                                               14   as D1.

15              MR. H. SREBNICK:      Yes.   Fine.                             15              MR. H. SREBNICK:     Thank you, Judge.

16              THE COURT:   When you reviewed this document, did it           16   Q.   I am showing you what we are going to mark as D2, which

17   have the red circles around it?                                           17   bears the last four Bates numbers on the bottom right, 0017.

18              THE WITNESS:    I don't recall.                                18              Do you see that?

19              THE COURT:   Go ahead.                                         19   A.   I see that Bates number, yes.

20              MR. H. SREBNICK:      Request permission to publish.           20   Q.   Does D2 appear to be a document you were shown by Avenatti

21              THE COURT:   Yes.                                              21   on March 19?

22   Q.   Do you recall seeing this document which appeared to be              22   A.   I don't recall whether this is a page that I saw.

23   text messages between Carlton DeBose and Gary Franklin?                   23   Q.   You just don't recall.

24   A.   I recall seeing this exchange which was labeled at the time          24   A.   That's right.

25   as being texts between Mr. DeBose and Mr. Franklin.                       25              MR. H. SREBNICK:     Let's go to D3.

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1    Q.   I'm showing you now what we are identifying as D3.         You see   1    long I may be free.

2    with your reading glasses on the bottom right it bears the                2               DeBose:   In and out same day.

3    Bates number 0020.                                                        3               Franklin:    I'm open and free to go.

4               Do you see that?                                               4               DeBose:   OK.   I'm going to have Gabby make you a

5    A.   I see 20 at the bottom right.                                        5    flight for Wednesday.

6    Q.   Does this appear to be a document that Mr. Avenatti showed           6               Franklin:    OK.   Let me -- and I'm assuming you will

7    you on March 19?                                                          7    fill me in on my mission.

8    A.   I saw this text message exchange in the package that I               8               You see that?

9    reviewed on March 19.                                                     9    A.   I see the text you've read, yes.

10              MR. H. SREBNICK:      Request permission to publish, your      10   Q.   At the time of the meeting on March 19, do you recall

11   Honor.                                                                    11   Avenatti describing that as Franklin being directed by DeBose

12              THE COURT:   You're offering it, right?                        12   of Nike to fly to Phoenix to take cash to the mother of then

13              MR. H. SREBNICK:      Offering it, yes.                        13   amateur basketball player Ayton, who later became the first

14              THE COURT:   Any objection?                                    14   draft pick of the NBA?

15              MR. PODOLSKY:      No objection.                               15   A.   Earlier in the meeting, before I was allowed to look at any

16              THE COURT:   Defense Exhibit D3 is received.                   16   documents, Mr. Avenatti made reference to a purported 10,000

17              (Defendant's Exhibit D3 received in evidence)                  17   dollar payment to either Mr. Ayton or some member of his family

18              THE COURT:   And you may publish.                              18   that Mr. Franklin had been involved in.         To clarify, excuse me,

19   Q.   You see this is a text message between DeBose from Nike and          19   he didn't name Mr. Franklin at that point.         It was still at the

20   Mr. Franklin?                                                             20   point in the meeting that he was referring to him as his

21   A.   I see that it's labeled as such in the upper right.                  21   client, his whistleblower client.

22   Q.   And in the box that's red do you see an exchange that                22   Q.   By the time you saw the document it was clear Franklin,

23   DeBose asks:    Who can get on a flight to Phoenix for Wednesday          23   being directed by DeBose, to carry money to a family member in

24   from your program that you trust?                                         24   Phoenix?

25              The response from Franklin is:       It depends but for how    25              MR. PODOLSKY:      Objection, your Honor.

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1               THE COURT:   Sustained.                                      1    thought you said it was OK.

2               MR. H. SREBNICK:    D4.    If we could just show it to the   2                THE COURT:   Yes.   You can either have him read it or

3    witness.                                                                3    you can read it yourself.       It's in evidence.    Whichever you

4    Q.   Do you see D4 has a Bates number 0021 at the bottom right?         4    prefer.

5    A.   Yes, I see that.                                                   5    Q.   It's an e-mail from DeBose who works for Nike, to Olivares

6    Q.   And do you recall seeing this document presented to you by         6    who works at Nike, yes?

7    Mr. Avenatti?    We are going to make it larger for you.                7    A.   Ms. Olivares, at least at the time, was also a Nike

8    A.   I saw a version of this document in the package.                   8    employee.

9               MR. H. SREBNICK:    Judge, move for the introduction and     9    Q.   It says:      Gabby, I need for Gary to fly into Phoenix on

10   publication of D4.                                                      10   Wednesday a.m. and then fly back to LA a couple of hours later.

11              THE COURT:   Is there any objection?                         11   Can you please make the travel arrangements for him?         Thank

12              MR. PODOLSKY:   No objection, your Honor.                    12   you.   Gab.    Signed Carlton.

13              THE COURT:   D4 is received.                                 13               Yes?

14              (Defendant's Exhibit D4 received in evidence)                14   A.   I see that you read that and switched in the word Phoenix

15              THE COURT:   You may publish.                                15   for the word PHX.

16   Q.   Did this appear to be an e-mail from DeBose at Nike to             16   Q.   You are correct.     Did you understand PHX to mean Phoenix?

17   another Nike person to make flight arrangements for                     17   A.   During the number of years that I have worked for Nike I

18   Mr. Franklin to go to Phoenix up and back same day?                     18   often fly back and forth from New York to the Portland airport.

19              MR. PODOLSKY:   Objection, your Honor.                       19   The acronym for the Portland airport is PDX.         When I glanced at

20              THE COURT:   Are you asking him if that's what the           20   these documents in the room, I was at least initially confused

21   e-mail says?                                                            21   because I hadn't focused on the middle letter and I thought

22              MR. H. SREBNICK:    That summarizes the e-mail.    I can     22   these documents, as I was -- as I saw this in the room, was

23   have him read it if you would prefer, Judge.                            23   about Nike administrative staff member arranging for a flight

24              THE COURT:   Have you published this?                        24   for Mr. Franklin to fly to Portland, to Nike headquarters,

25              MR. H. SREBNICK:    Yes.    I asked for permission.   I      25   which would not necessarily be a surprising thing to see.         I

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1    later understood that the document I had seen was referencing           1    A.   Yes.

2    PHX, not PDX, but in my mind I fly to PDX and that's what it            2                MR. H. SREBNICK:    Without showing it to the jury, can

3    struck me as initially.                                                 3    we go to the next one.

4               MR. H. SREBNICK:    If we can turn off the screen for        4    Q.   If you could take a look at D6 ending in Bates No. 0030 and

5    the jury and go to D5.                                                  5    see if that looks familiar to you from the meeting of March 19.

6               One moment, your Honor.                                      6    A.   There is a sentence in the text messages here that I did

7               THE COURT:   Yes.                                            7    see during my review of documents in the meeting of March 19,

8    Q.   Mr. Wilson, if you could look on the screen and see if D5,         8    which leads me to believe it's likely this is the page that I

9    which ends with a Bates number 0023, is one of the documents            9    saw -- a page that I saw.       Excuse me.

10   you recall seeing?                                                      10               MR. H. SREBNICK:    Move for its admission and

11   A.   I saw this or some version of the package of documents that        11   publication, your Honor.

12   I was shown in the meeting a few weeks later.        And sitting here   12               THE COURT:   Any objection?

13   right now I can't distinguish in my mind whether I saw this             13               MR. PODOLSKY:   No objection, your Honor.

14   page in the package that I saw a few weeks later or what I saw          14               THE COURT:   D6 is received.     You may publish.

15   in the room.                                                            15               (Defendant's Exhibit D6 received in evidence)

16              MR. H. SREBNICK:    I move for its admission and             16   Q.   You see this is a text message with a Shaun Manning and

17   publication, even if the witness gave the answer he gave.               17   Gary Franklin?

18              MR. PODOLSKY:   Objection, your Honor.                       18   A.   I see -- I can't see it right now, but a moment ago -- it's

19              THE COURT:   Sustained.                                      19   labeled as such in the upper right-hand corner of the document.

20   Q.   Without commenting on the exhibit, do you recall seeing            20   Q.   And do you see it's an exchange.        It says:   Hey, do you

21   exhibits shown to you or documents shown to you by Avenatti             21   want me to get an order or cashier's check, and if so, who name

22   that identified Ayton's mom?                                            22   do I put on it, groundup or urs?       They will only allow me to

23   A.   When I was in the room on March 19, I recall seeing text           23   get 5K cash today.

24   messages between Mr. Franklin and Mrs. Ayton.                           24               You see that?

25   Q.   You do recall that?                                                25   A.   Yes.

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1    Q.   At the bank now, so need to know or just do the rest later.      1    take notes while I was reviewing the documents.

2    Decision, double question mark.                                       2    Q.   My question was, do you recall later reporting to your

3               You see that?                                              3    colleague, Mr. Homes, what you had seen?

4    A.   I see the text that you have read.                               4    A.   As best I could, after we went upstairs, we were showed to

5    Q.   Response:    I thought he said cash, but you can put it in my    5    the sixth floor by Mr. Geragos --

6    name.    Lincoln Prep Boys Basketball Foundation, all caps.     If    6    Q.   Can you recall describing --

7    you need to do it by check.                                           7                MR. PODOLSKY:    Objection, your Honor.   The witness was

8               Then it responds:    Cashier's check or program.           8    speaking.

9               You see that?                                              9                THE COURT:   Please don't cut off the witness.   Please

10   A.   I see the text that you have read.                               10   allow him to finish his answer.

11   Q.   And that was described to you by Avenatti as payment             11               MR. H. SREBNICK:    I'm sorry.   I didn't realize.

12   directed by Nike to have Franklin give money to a handler named       12               THE COURT:   Did you have more to say?

13   Manning, right?                                                       13               THE WITNESS:    I was about to say that I huddled in the

14   A.   Prior to my time spent reviewing the documents in the            14   corner on the sixth floor and did try as fast as I could to

15   middle of the March 19 meeting, he did refer to a player who          15   recall what I had seen while Mr. Homes was furiously taking

16   had a connection to Mr. Manning as one of the players whom his        16   notes to try to get it down.

17   client alleged had received corrupt payments.                         17   Q.   I offer my apologies.      I was looking at my notes.   I

18   Q.   You see the date Thursday, June 30, 2016?                        18   thought you were finished.

19   A.   I do, yes.                                                       19   A.   I was probably speaking too softly.

20   Q.   And do you recall, as I asked you earlier, when you looked       20   Q.   Do you recall describing to Mr. Homes this document as

21   at these documents, you didn't take notes, but you later              21   referencing a payment to Brandon McCoy through Brandon McCoy's

22   reported to your colleague, Mr. Homes, what you had seen,             22   handler, Shaun Manning?

23   right?                                                                23   A.   I don't specifically recall describing this document to

24   A.   Mr. Avenatti, I remember it because it bothered me, he           24   anyone.

25   instructed my colleague to stop taking notes, and I did not           25   Q.   I couldn't hear the last part.

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1    A.   To anyone.    I don't recall that this was a document that I     1    A.   As with another page I was shown a little while ago, I'm

2    made a description of to Mr. Homes during our break.                  2    struggling to recall whether I saw this when I was shown the

3    Q.   If I could ask you to see if AA3, the other document I have      3    packet during the middle of the meeting on the 19th or when I

4    asked you to use to perhaps refresh recollection, if you could        4    subsequently saw either the same or a different version of that

5    turn to page 4 of AA3.     This is not to be published to the         5    package a few -- packet of documents a few weeks later.

6    jury.    If I direct your attention to the second-to-last             6    Q.   Suffice it to say, you recognize that document as one

7    paragraph at the bottom of the page.                                  7    you've seen in connection with the March 19 meeting?

8    A.   OK.                                                              8    A.   No.    As I just said, I can't recall sitting here today

9    Q.   See if that refreshes your recollection of how you               9    whether I saw this document in the packet as it was handed to

10   described the text message exchange.                                  10   me in person at the March 19 meeting or a few weeks later, when

11   A.   It doesn't refresh my recollection of how I characterized        11   either the same packet or a close version of it came into my

12   what documents I had seen in the package.      I did mention the      12   possession because it was published.

13   names of that player and Mr. Manning in my conversations with         13   Q.   Came to your possession?

14   Mr. Homes.                                                            14   A.   Because it was published.

15              MR. H. SREBNICK:    If you could go to the next D7         15               MR. H. SREBNICK:    One moment, your Honor.

16   without publishing it to the jury.                                    16               One moment, your Honor.

17   Q.   I would ask you to take a look at D7, ending with Bates          17               THE COURT:   Yes.

18   0031.                                                                 18               MR. H. SREBNICK:    Thank you.

19   A.   I see that.                                                      19               If we could turn to the next document in the D series.

20   Q.   Does that document appear to be one of the documents you         20   That would be D --

21   were shown by Avenatti?                                               21               THE COURT:   It's D9.

22   A.   Not that I recall.                                               22               MR. H. SREBNICK:    D9, Judge.

23              MR. H. SREBNICK:    Let's move on then to D8.              23   Q.   You see D9 ends in Bates No. 0014?

24   Q.   Does D8 ending in Bates No. 0047 appear familiar to you          24   A.   Yes.

25   from the meeting on March 19?                                         25   Q.   Does that document look like one of the documents that you

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1    saw on March 19?                                                     1    A.    During the March 19 meeting?

2    A.   Yes, it does.                                                   2    Q.    Yes.    Forgive me.    Everything I'm asking you is about March

3               MR. H. SREBNICK:   Request for permission to move into    3    19.    During the March 19 meeting with Avenatti and Geragos you

4    evidence and publish, your Honor.                                    4    recall that you saw documents evidencing communications that

5               MR. PODOLSKY:   No objection.                             5    describe McDonald, a Mel McDonald, as Bol Bol's handler?

6               THE COURT:   D9 is received, and you may publish.         6    A.    No.    I don't recall that.

7               (Defendant's Exhibit D9 received in evidence)             7    Q.    You don't recall that?

8    Q.   Do you recall that this was described to you as one of the      8    A.    No, I do not.

9    invoices that DeBose instructed Gary Franklin to create to           9    Q.    Again, can I ask you to take a look at AA3, page 5, middle

10   conceal payments to handlers?                                        10   of the page, not to be shown to the jury.

11              MR. PODOLSKY:   Objection, your Honor.   When and by      11                Does that refresh your recollection?

12   whom, your Honor?    It's vague.                                     12   A.    If we are referring -- if you are referring to the sentence

13              THE COURT:   Sustained.   If you could just make it a     13   I imagine you are referring to now, no, it does not.

14   little clearer, Mr. Srebnick.                                        14   Q.    Do you recall seeing a communication between Franklin and

15              MR. H. SREBNICK:   Yes, sir.                              15   DeBose in which DeBose told Franklin to give money to

16   Q.   On March 19, when you were with Avenatti, Geragos, and your     16   Mr. McDonald?

17   colleagues from Nike, how was this document described to you?        17   A.    No, I do not.

18   A.   This document, to my recollection, wasn't described to me       18   Q.    Can you take a look at AA3, same page, second paragraph of

19   in any way.    When I was reviewing the hard copy documents,         19   that refreshes your recollection?

20   Mr. Avenatti was I think sitting next to me, but I was mostly        20   A.    No, it does not.

21   left to my own devices.     I was flipping through and look at the   21   Q.    Now, Mr. Avenatti described these documents to you as the

22   various documents.                                                   22   evidence or some of the evidence he had where his client,

23   Q.   Now, do you recall seeing communications that describe          23   Franklin, was being directed by Nike executives to pay money to

24   Mr. McDonald, a Mr. McDonald, as the handler for a basketball        24   handlers and players family members, right?

25   player named Bol Bol?                                                25   A.    He told me he had documents, including invoices, e-mails,

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1    text messages, that related to certain Nike employees being          1    A.    I don't know what you mean by caucused.      We stood there and

2    involved in, along with Mr. Franklin, corrupt payments to, and       2    did what I just said we did.

3    I'm calling it three specific players.                               3    Q.    Was your colleague, Mr. Homes, taking notes of everything

4    Q.   When you finished looking at these documents, just to fast      4    you were saying or as much as he could take, from your

5    forward, you went up to another office on I think a different        5    observation?

6    floor, is that right?                                                6                 MR. PODOLSKY:   Objection.

7    A.   I asked if we could have a moment so I could confer with my     7                 THE COURT:   Overruled.

8    client and Mr. Geragos, who had told me that he owned the            8    A.    I believe I asked him to take notes of my description of

9    building, showed us up to the sixth floor, which was a wide          9    what I had seen in the documents, but not our subsequent

10   loft-like unfinished space.                                          10   consultation with our client.

11   Q.   And present for that caucus was yourself, Leinwand from         11   Q.    Now, after you spoke to Leinwand and Homes on the sixth

12   Nike legal, and your colleague, Mr. Homes?                           12   floor you returned to the meeting with Avenatti and Geragos,

13   A.   That's right.   Mr. Geragos left and went, I presume, back      13   correct?

14   downstairs.                                                          14   A.    Yes, that's right.

15   Q.   For some minutes the three of you, who represent Nike,          15   Q.    And Mr. Leinwand addressed Geragos and Avenatti at that

16   caucused, fair statement?                                            16   point in the meeting, right?

17   A.   We huddled near the window.     And I remember, I think         17   A.    Mr. Leinwand spoke on a few occasions.      I'm not sure

18   Mr. Leinwand wanted to talk about something and I said, stop.        18   whether he was the first to speak when we sat back down.         He

19   I got to get out this information that I sort of just saw in         19   did speak after the break, among other things, to speak to

20   these documents because -- and the reason I said that was            20   whether the general counsel was accessible or not at that time.

21   because I knew I needed to share this information with the           21   Q.    And what Mr. Leinwand told Avenatti and Geragos was, I get

22   government as soon as possible, and I had not been allowed to        22   the claims, but we need to look at Nike's contract with Gary

23   take notes.    So the best I could try was to try to download it     23   before we make any decisions.

24   very quickly to my junior colleague.                                 24                Do you recall Mr. Leinwand saying I get the claims?

25   Q.   My question was, the three of you caucused, right?              25   A.    I don't recall that statement.

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1    Q.   Take a look at AA3, page 5, and see if that refreshes your       1    room, it was not our intention to share any information about

2    recollection, bottom of the page, with a notation 2, paren.           2    the company, what it had or hadn't done with him.      I have no

3    A.   I have read it and it does not refresh my recollection           3    recollection of at any point in the meeting us either affirming

4    beyond my prior testimony.                                            4    or denying the allegations that Mr. Avenatti was articulating.

5    Q.   Do you recall Mr. Leinwand saying, I also do not know what       5    Q.   Without disputing the claims you all asked Avenatti what's

6    he, meaning Franklin, is seeking?     Do you have a number in         6    the ask?

7    mind?                                                                 7               MR. PODOLSKY:   Objection, your Honor.

8    A.   After -- soon after we came back from the meeting                8               THE COURT:   Sustained.   Compound.

9    Mr. Avenatti went over part 1 and part 2 of his demand again,         9    Q.   Let's discuss what a claim means.     I think you told the

10   and it's consistent with my recollection that we asked him to         10   jury yesterday that when someone has a legal claim they can

11   clarify what the exact demand was, but I don't recall if I            11   file a complaint in court, correct?

12   asked that or Mr. Leinwand asked that.                                12   A.   That's one step someone could take when they have a legal

13   Q.   Isn't it true that Mr. Leinwand said, I also do not know         13   claim, yes.

14   what Franklin is seeking.     Do you have a number in mind?           14   Q.   And when someone drafts a complaint, either on their own or

15   A.   As I said a moment ago, I believe that we asked for              15   through a lawyer, it can include all the factual allegations

16   clarification as to what exactly the demand was.     I can't          16   that the plaintiff, the person suing, thinks are relevant to

17   recall whether I asked that or Mr. Leinwand asked that.               17   the claim, correct?

18   Q.   And isn't it true that Leinwand told Geragos and Avenatti        18   A.   There are some limitations on what factual allegations you

19   that he gets the claims, meaning he understands what the claims       19   can include in a complaint filed in court, and from time to

20   are?                                                                  20   time a judge will strike certain allegations; for example, if

21              MR. PODOLSKY:   Objection, your Honor.                     21   they are slanderous or libelous.      But, in general, yes, a

22              THE COURT:   That's asked and answered.                    22   plaintiff can put factual allegations into the complaint they

23   Q.   Mr. Leinwand did not dispute the claims, correct?                23   file in their lawsuit.

24   A.   At this meeting with Mr. Avenatti, who neither of us had         24   Q.   If a party or plaintiff brings a claim through a complaint

25   known before he walked into the room when we walked into the          25   it gets filed in court and that becomes public information,

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1    correct?                                                              1    A.   If a complaint survives motions to dismiss or other motion

2    A.   It's rather rare for a complaint to be filed under seal          2    practice that the defendant may bring and in jurisdictions

3    nonpublicly in general.     When a complaint is filed in court,       3    where discovery is only permitted thereafter, then you'd have

4    depending on how public that court's records, it's a public           4    discovery at that point.    In some places discovery starts as

5    document after that point, yes.                                       5    soon as the complaint is filed.      It depends which civil

6    Q.   When a complaint is filed in court it is typically a public      6    jurisdiction you are in, to my understanding.

7    document, correct?                                                    7    Q.   To be clear, because I'm having a little trouble hearing

8    A.   Are you referring to civil complaints?                           8    you, when a civil complaint is filed in some jurisdictions, the

9    Q.   I am referring to a civil complaint, yes.                        9    discovery process starts right away, in other jurisdictions it

10   A.   Civil complaints are filed in court.    They are typically       10   might wait on motion practice.       Fair statement?

11   public documents, yes.                                                11   A.   Yes, that's my understanding.

12   Q.   And that means the media can have access to it, correct?         12   Q.   And if a case makes its way all the way to a trial, that

13   A.   Yes, the media can have access to court documents that are       13   also is a public event that the media can report on, correct?

14   public.                                                               14   A.   Trials are generally open to the public, yes.

15   Q.   And the news can report about it, correct?                       15   Q.   Now, filings of complaints can be accompanied by press

16   A.   The news media can report on public court filings.               16   conferences, correct?

17   Q.   And what a complaint does, it initiates a legal process          17   A.   It is possible to hold a press conference in connection

18   that includes court proceedings, correct?                             18   with the filing of a complaint.

19   A.   A complaint is, in the jurisdictions I'm familiar with, one      19   Q.   In fact, your law firm has done just that, filed

20   of the documents that has to be filed to initiate court               20   complaints, hold press conferences, correct?

21   proceedings.    It's not always sufficient on its own.                21              MR. PODOLSKY:   Objection.

22   Q.   After a complaint is publicly filed it could then lead to        22              THE COURT:   Sustained.

23   what we call discovery in those proceedings where the parties         23   Q.   A litigant can hold a press conference in anticipation of

24   exchange evidence, information, depositions, things of that           24   filing a complaint, correct?

25   nature, correct?                                                      25   A.   There are not general laws prohibiting folks from holding

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1    press conferences.       It's not a practice I'm familiar with.         1    between parties before a lawsuit is filed in court.

2    Q.   Isn't it true, now that you said it's not a practice you           2    Q.    And during those discussions the parties can reach

3    are familiar with, that your own law firm has held press                3    agreements, including confidentiality, correct?

4    conferences in anticipation of filing a lawsuit?                        4    A.    Potentially they could, yes.

5                MR. PODOLSKY:   Objection.                                  5    Q.    Keep the terms of the settlement confidential.    Could be

6                THE COURT:   Sustained.                                     6    one of the terms of the agreement reached by the plaintiff with

7    Q.   In lieu of filing a complaint, meaning instead of filing a         7    the defendant.

8    complaint, parties can choose to attempt to settle the case             8    A.    Yes.    There are confidential settlement agreements.

9    before the complaint is filed, fair statement?                          9    Q.    But there is no obligation for a plaintiff to approach the

10   A.   Yes.                                                               10   defendant and try to settle beforehand.       The plaintiff can just

11   Q.   Before it goes public.                                             11   go to court and file the complaint if that's what the plaintiff

12   A.   Sorry.    Before what goes public?                                 12   prefers to do?

13   Q.   Before the complaint or the claim goes public.                     13   A.    Having litigated a little bit in California, my

14   A.   Could you repeat that.                                             14   understanding is, at least in California, there may be presuit

15   Q.   Sure.    A plaintiff can approach a defendant, the suing           15   mediation requirements.      But I think the answer to your

16   party versus the party to be sued, and the plaintiff can                16   question depends on the jurisdiction that you are in.        Excuse

17   propose to the defendant a settlement instead of going to               17   me.    Not mediation.    But presuit attempt to compromise

18   court, filing a public complaint, and going through the whole           18   requirements in the court's rules.

19   process I just described, correct?                                      19   Q.    When parties engage in these prelawsuit settlement

20   A.   It's not atypical in a civil suit to engage in settlement          20   conferences, you've participated in some of those, have you

21   discussions before anything has been filed in court.                    21   not?

22   Q.   Because I want to make sure I heard right, it's not                22   A.    I have, in the course of my career, participated in

23   atypical, meaning it's not unusual for parties to engage in             23   settlement discussions, yes, including before a lawsuit has

24   prelawsuit settlement conferences?                                      24   been filed.

25   A.   It's not unusual for there to be settlement discussions            25   Q.    You have, right?

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1    A.   Yes.                                                               1    employees, and he would name these famous young basketball

2    Q.   And as the party being sued, the defendant, one of the             2    players.

3    concerns you might have is how the public will react if the             3    Q.    Those were part of the allegations that Avenatti and

4    lawsuit is filed?                                                       4    Geragos presented to you in connection with Mr. Franklin's

5                MR. PODOLSKY:   Objection, your Honor.                      5    claims?

6                THE COURT:   We are getting kind of abstract,               6    A.    I had no inkling of how that information could relate to

7    Mr. Srebnick.                                                           7    civil claims with respect to a gentleman who had a

8                MR. H. SREBNICK:   I'll be more concrete, Judge.            8    $72,000-a-year commercial agreement with the company.

9    Q.   If Gary Franklin were to file a lawsuit instead of                 9    Q.    Mr. Franklin was alleging, as Avenatti told you, that he

10   proposing a presuit settlement, it would be a concern of yours,         10   had been pushed aside and lost his team because executives at

11   would it not, how the public would react to Gary Franklin               11   Nike were requiring that he pay a handler and a guy named

12   filing a complaint making the allegations that were shown to            12   Freedman, right?

13   you by Mr. Avenatti?                                                    13   A.    Other than to say that he believed his client had a breach

14               MR. PODOLSKY:   Objection.                                  14   of contract, some kind of tort or other claims, Mr. Avenatti

15               THE COURT:   Sustained.                                     15   did not describe to me what Mr. Franklin's claims might be.

16   Q.   Is it fair to say that you were concerned that Gary                16   Q.    Did you ask him to describe them more in depth?

17   Franklin's claims, it they went public, would be a problem for          17   A.    Not that I recall.

18   Nike?                                                                   18   Q.    And so you understood that Mr. Avenatti and Mr. Geragos,

19   A.   That's not what I was concerned about, no.                         19   having shown you the allegations, having described them for

20   Q.   You were concerned that there would be a press conference          20   you -- let me break that down.

21   announcing Gary Franklin's claims.                                      21                Mr. Avenatti had told you that his client had claims,

22   A.   There was never any suggestion that the press conference           22   correct?

23   that was threatened would be to announce claims by                      23   A.    Mr. Avenatti said he believed that his client who wasn't

24   Mr. Franklin.     What Mr. Avenatti said is that he would hold a        24   named yet had breach of contract, tort something, or other

25   press conference to publicize this alleged activity by Nike             25   claims, yes.

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1    Q.   He told you that the evidence was what he had shown you,         1    A.   I mentioned a 31 million dollar settlement or proposed

2    some of which you have looked at with the jury, correct?              2    settlement that Mr. Avenatti had referenced at some point

3    A.   He didn't draw a connection of evidence to his client's          3    during the March 19 meeting.      Yes, I recall that.

4    claims.     The only discussion of claims by Mr. Avenatti I recall    4    Q.   So you have already told the jury that Avenatti discussed

5    was a brief passing reference at the beginning of the March 19        5    with you this settlement conference or mediation he had

6    meeting to his belief, he phrased it in terms of I believe            6    involving a potential 31 million dollar settlement, fair

7    Mr. Franklin's breach of contract, tort something, or other           7    statement?

8    claims.     He didn't come back to link something to these            8               MR. PODOLSKY:   Objection.

9    purported claims, if any, that Mr. Franklin had.                      9               THE COURT:   No.   That's overruled.   You can answer.

10   Q.   Do you agree that it's improper for executives at Nike to        10   A.   That's not exactly what I recall testifying yesterday.      I

11   condition Mr. Franklin's contract on having to make payments to       11   recall that I said that he told a story that began with the

12   handlers?                                                             12   prospect of a 31 million dollar settlement that a company could

13               MR. PODOLSKY:   Objection, your Honor.                    13   have gotten, and then that I suppose they didn't take the

14               THE COURT:   Sustained.                                   14   settlement and things got worse for them and there was some

15   Q.   After Leinwand asked for a number or you asked for a number      15   kind of result in the hundreds of millions of dollars.      That's

16   to settle Franklin's claims, do you recall telling the jury           16   what I recall.

17   that Mr. Avenatti described a settlement discussion that he had       17   Q.   Do you recall what he told you was that he, Avenatti,

18   had in another case unrelated to this involving Kimberly-Clark,       18   proposed that company, name doesn't matter, pay approximately

19   a company?                                                            19   $31 million as a settlement, that the company rejected the

20               MR. PODOLSKY:   Objection, your Honor.                    20   settlement proposal, and that it later led to a jury trial

21               THE COURT:   Sustained.                                   21   where an award of $400 million was imposed by a jury.

22               MR. H. SREBNICK:   One moment.    Let me see if I can     22              Do you recall him telling you that?

23   rephrase.                                                             23   A.   That question doesn't refresh my recollection.     What I

24   Q.   Do you recall telling the jury about a case involving a          24   recall is what I said a moment ago, was that there was a 31

25   proposed settlement of 31.5 million?                                  25   million dollar offer on the table.      The company didn't take it.

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1    And they had a bad result later that was in the hundreds of           1    A.   No, I don't recall that.

2    millions of dollars.     That's the extent of my recollection of      2    Q.   Could I ask you to turn to AA3, page 7, top of the page,

3    that.                                                                 3    paren 1.

4    Q.   See if AA3 at page 6, center page, refreshes your                4    A.   I've read this text.

5    recollection.                                                         5    Q.   Does that refresh your recollection?

6    A.   This does not refresh my recollection beyond the testimony       6    A.   It does not refresh my recollection beyond the testimony

7    I have already given.                                                 7    I've already given.

8    Q.   A moment ago you indicated that you asked Mr. Avenatti at        8    Q.   As the second component Mr. Avenatti was proposing an

9    that point in the meeting to summarize his ask or demand on           9    internal investigation, correct?

10   behalf of his client, right?                                          10   A.   He was proposing that either he and Mr. Geragos be hired to

11   A.   Pretty soon after we got back from the break he went over        11   conduct an internal investigation or, when we came back from

12   the two parts again with a little more detail.                        12   break, if Nike hired a different firm, not these two guys to do

13   Q.   The first part Mr. Avenatti told you is that he wanted $1.5      13   that work, he and Mr. Geragos would be paid two times whatever

14   million for Gary Franklin, correct?                                   14   legal fees Nike paid to that firm for no work.

15   A.   Yes.    That was the first time, the 1.5 million dollar          15   Q.   My question was, he proposed an internal investigation as

16   number was used.                                                      16   the second component.      Is that yes or no?

17   Q.   Avenatti indicated, this includes a full release both ways,      17              MR. PODOLSKY:   Objection, your Honor.

18   correct?                                                              18              THE COURT:   He has already answered that question.      It

19   A.   A couple of times during the three communications I had          19   was a two-part answer.

20   with Mr. Avenatti releases came up.     I can't say whether they      20   Q.   What Mr. Avenatti said is whatever the internal

21   came up during that rearticulation of part 1 and part 2 of the        21   investigation costs, it costs.

22   demand.                                                               22              Do you recall him saying that?

23   Q.   Do you recall Avenatti saying any agreement will include         23   A.   No, I do not.

24   language that protects the company and will make clear that           24   Q.   If I could ask you to take a look at AA3, page 7, paren 2.

25   Nike is not buying Gary Franklin's testimony?                         25              Does that refresh your recollection?

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1    A.    It does not refresh my recollection as to the question that      1    times what the firm -- what the other firm would be paid.        It

2    you just asked me.                                                     2    does not refresh my recollection.

3    Q.    Now, you were saying that Mr. Avenatti said that he would        3    Q.   Do you recall Avenatti saying, we think we are well

4    get paid for doing no work if Nike brought in another lawyer.          4    situated to handle this investigation?

5               Is that what you were telling the lawyer?                   5    A.   In reading the document I was just looking at, my

6    A.    He described it as something I didn't initially understand.      6    recollection was refreshed that he said something about that he

7    He said he would have a most favored nations clause where if           7    thought that he, given he was well known, would be someone that

8    Nike hired a different law firm to conduct an internal                 8    people would be willing to talk to.

9    investigation, whatever that firm charged, Nike would                  9    Q.   Do you recall Avenatti saying we are not asking you to pay

10   nonetheless be penalized and have to pay two times that amount         10   for nothing?

11   to him and Mr. Geragos.                                                11   A.   No, I don't recall that statement.

12   Q.    Did Mr. Avenatti say, if Nike brings in any other firms,         12   Q.   Take a look at AA3, same paren 2.

13   the minimum amount of fees we are paid has to be two times the         13   A.   I've read the whole paren 2 and it does not refresh my

14   amount of fees paid to any other firms?                                14   recollection in that regard.

15   A.    The phrasing of what he said is that, to my recollection,        15   Q.   Do you recall Avenatti saying, we will share the findings

16   is what I described a minute ago.   I don't recall the phrasing        16   of the investigation with whoever you want us to share it with?

17   that you just used there.                                              17   A.   I recall on a number -- as I've testified before, there

18   Q.    Could I ask you to take a look at AA3 again.                     18   were a number of points in our communications, not just at this

19   A.    Sure.                                                            19   meeting, where I indicated the decision as to whether or not to

20   Q.    Paren 2.                                                         20   share the result of this internal investigation, or whatever it

21   A.    I see that text.                                                 21   was going to be, would be the decision of the company.       So what

22   Q.    Does that refresh your recollection as to what Avenatti          22   you have just said is consistent with my recollection, but it

23   actually said?                                                         23   came up several times in our communications.

24   A.    I recall that he said the amount they would be paid was two      24   Q.   We talked yesterday about self-reporting, so I won't go

25   times what the other firm would be paid, not a minimum of two          25   back into that.    But do you recall that after he made those two

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1    demands him saying more about Gary Franklin's claims,                  1    Mr. Avenatti was urged to delay the press conference because it

2    describing with more precision the claims?                             2    could hurt the reputation of the case.

3    A.    No, I do not.                                                    3    A.   After we tried to make the point that the general counsel

4    Q.    Do you recall asking Avenatti, what would Gary Franklin say      4    with whom we needed to consult was not immediately available,

5    to complement the documents?                                           5    because she was five or six hours ahead in Europe, and that was

6    A.    I did ask in those words or words close to it, your              6    not -- didn't seem to be resonating, I said to Mr. Avenatti

7    question refreshes my recollection, if Mr. Franklin would have         7    that he might not care about the company, he might not care

8    information to say -- to share with us beyond what was                 8    about us, but that there was another group of people who might

9    reflected in the documents.                                            9    be affected by him going forward with the press conference the

10   Q.    And Avenatti responded to your question by saying:               10   next day, and that was these young teenagers with budding

11   Franklin would say that he was directed to make multiple               11   basketball careers who might be innocent in all this.

12   payments to players and that he was threatened that he would           12   Q.   In the first instance, these were not kids at this point in

13   lose his program if he refused to make these payments.      He         13   time.   These were already adults that we were talking about,

14   would say that he was told how to structure the invoices by            14   Bol and McCoy and Ayton, right?

15   Nike and that he facilitated payments to Ayton, Bol, and McCoy.        15   A.   I consider teenagers kids.    I wasn't implying a statutory

16              Isn't that what Avenatti described Franklin's claims        16   rule that 18 or 19 or 17 is a kid or not a kid.      These are

17   as?                                                                    17   young guys.    They are kids, in my view.

18   A.    As I testified a couple times, Mr. Avenatti certainly said       18   Q.   And Avenatti said:   Fair point.   If the kids don't know

19   that his client would say that he had been involved with               19   about it, you have a fair point about tarnishing their

20   certain Nike employees in making corrupt payments to certain           20   reputation if they didn't really know?

21   named players, and it struck me again because here is a                21   A.   That's not how I recall him responding to my request that

22   gentleman I have never met before who is implicating his client        22   he delay the press conference.     I said he might be damaging the

23   in criminal activity in his statements to me.    That stuck in my      23   future careers of these kids.     I recall him responding:   I

24   memory.                                                                24   don't give a fuck about these kids or I don't give a shit about

25   Q.    I think it was yesterday that you told the jury that             25   these kids.    That was burned in my memory.

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1    Q.   Forgive me for interrupting you.                                1    clear that Avenatti was trying to create a sense of urgency,

2    A.   No problem.                                                     2    fair statement?

3    Q.   Isn't what happened, you said to Avenatti:    It's not clear    3               MR. PODOLSKY:   Objection.

4    that all the kids knew they were being paid, same goes for the       4               THE COURT:   Sustained.

5    college admissions scandal.     It's not clear that all the kids     5    Q.   Avenatti was giving deadlines?

6    realized they were being given extra help to get into college.       6    A.   Mr. Avenatti said that he was going to hold a press

7    And Avenatti said:      That's a fair point.                         7    conference the next day.    It was odd.   It was ambiguous when we

8    A.   As I said a minute ago, I do recall mentioning that the         8    left the meeting whether I had a deadline.     What we had agreed

9    kids might be innocent, and what I meant by that was it's            9    was I would speak to Mr. Geragos again later in the afternoon.

10   possible that some family member could receive money and the         10   Q.   And the meeting on March 19, the face-to-face meeting,

11   kid know nothing about it.     But I do recall saying something to   11   concluded with an understanding that you were going to speak to

12   that effect.    The statement back to me from Mr. Avenatti that I    12   Mr. Geragos later that day?

13   recall is the one that I just repeated.                              13   A.   Yes, that's right.

14   Q.   Do you recall Mr. Avenatti saying that's a fair point?          14   Q.   And, in fact, did you speak to Mr. Geragos later that day,

15   A.   I don't, no.                                                    15   on March 19?

16   Q.   Take a look at AA3 to refresh your recollection, bottom of      16   A.   I had one phone call with Mr. Geragos later in the day.

17   page 7.                                                              17   Q.   Was that at approximately 6:21 p.m.?

18   A.   I've read it, and it does not refresh my recollection           18   A.   I don't recall the minute, but it was in the early evening,

19   beyond the testimony I have given.                                   19   yes.

20   Q.   Now, when Nike executives were directing monies be paid to      20   Q.   And do you recall who participated in that phone call on

21   handlers for these kids, did it appear to you that Nike gave a       21   behalf of Nike at your office at Boies Schiller?

22   hoot about the kids?                                                 22   A.   The only speaking participant was me from Boies Schiller.

23              MR. PODOLSKY:   Objection.                                23   Q.   Was Mr. Homes present listening to the call?

24              THE COURT:   Sustained.                                   24   A.   I took the phone call on speaker.    I don't recall which of

25   Q.   Now, this meeting, this first meeting on March 19, it's         25   my colleagues were in the room with me.

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1    Q.   Do you recall that the participants were yourself, Mr.          1    about that he was leaving.    He was flying out.

2    Homes, and another lawyer from Boies Schiller named Peter            2    Q.   During that conversation did Mr. Geragos say anything to

3    Skinner?                                                             3    you that would suggest that he dissented from the approach that

4    A.   I don't recall who the participants from Boies Schiller who     4    was taken in the meeting earlier that day?

5    were in the room with me, and they did not speak on the call.        5               MR. PODOLSKY:   Objection, your Honor.

6    Q.   I am going to ask you to take a look for refreshing             6               THE COURT:   Sustained.

7    recollection purposes only at a different document, AA5.     If      7    Q.   Did Mr. Geragos withdraw any of the demands that had been

8    you could look at the top of the page and tell us, does that         8    made by Mr. Avenatti earlier that day?

9    refresh your recollection?                                           9    A.   There was not discussion on that phone call of the demands.

10   A.   It refreshes my recollection that the colleagues, my former     10   Q.   Did Mr. Geragos apologize for anything Mr. Avenatti said

11   colleagues at Boies Schiller who were in the room with me for        11   during the meeting earlier that day?

12   that call were Mr. Homes and Mr. Skinner.                            12   A.   Mr. Geragos told me that he had prevailed upon Mr. Avenatti

13   Q.   Mr. Skinner is another lawyer at Boies Schiller?                13   to sit tight until Thursday, and then sort of made a joke about

14   A.   Mr. Skinner is a partner at Boies Schiller, yes.                14   that he tried to keep Mr. Avenatti under wraps at all times.

15   Q.   Was he the partner involved in the response to the grand        15   So I took it as sort of a commentary on Mr. Avenatti's

16   jury investigation by the Department of Justice, Southern            16   impatience.    But Mr. Geragos didn't say I'm sorry or express

17   District of New York?      Was he handling that?                     17   any apology.

18   A.   Mr. Skinner was one of several partners involved in that        18   Q.   And did you tell Mr. Geragos anything about, hey, I think

19   work for Nike.                                                       19   Avenatti crossed the line or I think Avenatti did something

20   Q.   Now, that call at approximately 6:21 p.m. on March 19, to       20   wrong, or Avenatti is trying to do something improper?     Did you

21   your knowledge, did not include Mr. Avenatti, correct?               21   say anything like that to Mr. Geragos?

22   A.   My understanding was the only person I was talking to was       22   A.   The only discussion with Mr. Avenatti on the phone call was

23   Mr. Geragos.                                                         23   when he was or was not going to hold this press conference he

24   Q.   Geragos told you he was about to board an airplane?             24   threatened and when we would speak again or be back in touch.

25   A.   The next day he was in Miami, and I think he said something     25   Q.   You did not tell Mr. Geragos that you thought Mr. Avenatti

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1    had acted improperly during the conference earlier that day,             1                MR. H. SREBNICK:    Your Honor, at this time I am going

2    correct?                                                                 2    to ask, with the government's consent, to play the audio of the

3                MR. PODOLSKY:    Objection.                                  3    call on March 20 at 3:59 p.m.       I think it's Government Exhibit

4                THE COURT:   Overruled.                                      4    No. 3.   And what we have done is, the jury, of course, has the

5                MR. PODOLSKY:    Asked and answered, your Honor.             5    transcripts.     We have also synchronized the transcripts to the

6                THE WITNESS:    May I proceed?                               6    audio so the jury and the public can follow along on the

7                THE COURT:   Yes.   Go ahead.                                7    screen, if they prefer.

8    A.   I didn't make any comment on Mr. Avenatti's behavior one            8                MR. PODOLSKY:   Your Honor, I understand that the

9    way or another on that phone call.                                       9    defendant is offering an aid to the jury which includes the

10               MR. H. SREBNICK:    Your Honor, what time did you want       10   transcript.     We have no objection to that being shown to the

11   to take a break?                                                         11   jury with the same caveats that we had yesterday.

12               THE COURT:   11:40.                                          12               THE COURT:   Yes.   Same rules, ladies and gentlemen.

13               MR. H. SREBNICK:    11:40.                                   13   Again, what is evidence is what you hear on the tape.      The

14   Q.   I'd like to move now from March 19 to March 20.                     14   transcript that accompanies it is just provided to you as an

15               On March 20, you had some phone calls with Mr. Geragos       15   aid.   The evidence is actually what you hear.

16   again, right?                                                            16               Go ahead, Mr. Srebnick.

17   A.   On Wednesday, the 20th, I had first two phone calls with            17               MR. H. SREBNICK:    Thank you, Judge.

18   just Mr. Geragos and then a third phone call that Mr. Geragos            18               To orient everybody, I am just going to start at page

19   conferenced Mr. Avenatti into.                                           19   2 of the transcript.     That's 3T, Mr. Podolsky?

20               MR. H. SREBNICK:    What I'd like to do now is, if I can     20               MR. PODOLSKY:   Yes.

21   just consult with Mr. Podolsky for a moment about the evidence.          21               MR. H. SREBNICK:    It would start on line 19, so we

22               THE COURT:   Yes.   Go right ahead.                          22   don't have to hear the whole thing again.       Let me just give

23               Ladies and gentlemen, why don't we take a standup            23   everybody a second to get oriented.

24   break.                                                                   24               May I proceed, please, is your Honor?

25               Mr. Wilson, you can take a standup break.                    25               THE COURT:   Yes.

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1                MR. H. SREBNICK:    I'll ask Mr. Lyon to play it.            1    from the U.S. Attorney's Office for the Southern District of

2                (Audio played)                                               2    New York and the Federal Bureau of Investigation, FBI.

3    Q.   You recognize your voice and Mr. Geragos' voice?                    3    Q.   Maybe I should take a step back.      On the night of the 19th

4    A.   Yes, I do.                                                          4    or the afternoon of the 19th, you contacted the federal

5    Q.   And in that conversation you indicate to Mr. Geragos there          5    prosecutor's office?

6    is a way to get this done, lines 23 and 24.        You see that?         6    A.   I contacted the U.S. Attorney's Office for the Southern

7    Page 2, lines 23 and 24.                                                 7    District of New York.

8    A.   I see that, yes.                                                    8    Q.   This is the same office that was investigating Nike as part

9    Q.   You say:    I think we can give you much of what Michael            9    of that grand jury investigation that started with the subpoena

10   asked for.                                                               10   about a year and a half earlier?

11               You see that?                                                11   A.   Yes.    I called a member of the team investigating Nike.

12   A.   Yes, I do.                                                          12   Q.   And after you spoke with those prosecutors they authorized

13   Q.   Not all.    I'm not saying that we like your demand.      As you    13   you to record Geragos and Avenatti?

14   would expect, we think it's too much.        But we are prepared.        14   A.   I had two calls with the members of the U.S. Attorney's

15               And then Geragos jumps in, right?                            15   Office for the Southern District of New York that evening, and

16   A.   Yes.                                                                16   I believe it was in the second call I was asked whether I would

17   Q.   And so you're communicating to Geragos exactly what you             17   cooperate with an investigation by the government.

18   said there.     There is no misunderstanding of you saying that          18   Q.   And they authorized you to record Geragos and Avenatti?

19   you are going to make some sort of offer?                                19   A.   The FBI agents provided me with a technical mechanism for

20               MR. PODOLSKY:    Objection.                                  20   recording phone calls and asked that I use it in my subsequent

21               THE COURT:   Sustained.                                      21   communications with Mr. Avenatti and Mr. Geragos, and I agreed

22   Q.   You indicate to him that an offer should be forthcoming,            22   to do so.

23   yes?                                                                     23   Q.   And so during any of the phone calls were there any FBI

24   A.   There is a distinction between what I said and what I               24   agents present when you spoke to Geragos or Avenatti?

25   intended.     By this point I was cooperating with investigators         25   A.   There were at times investigative agents either employed

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1    directly by the United States Attorney's Office for Southern          1               THE WITNESS:    For the in-person meeting?

2    District and/or the FBI in the room with me on the afternoon of       2               THE COURT:   Yes.

3    Wednesday, the 20th.                                                  3               THE WITNESS:    I didn't know -- my plan for that

4    Q.   And did someone from either the FBI or the prosecutor's          4    meeting was to try to get Mr. Avenatti and Mr. Geragos to tell

5    office give you some coaching on how to record Avenatti or            5    me whatever it was that Mr. Geragos had indicated on the calls

6    Geragos?                                                              6    the week before was too sensitive to be discussed over the

7    A.   One of the agents explained to me and showed me                  7    phone.   I didn't know what it would be, but that was certainly

8    instructions for how to use the technical mechanism for               8    my objective in attending that meeting.

9    recording phone calls.                                                9    Q.   The next day, March 20, you are now cooperating with the

10   Q.   Did any of the FBI agents or someone from the prosecutor's       10   federal agents to record Avenatti and Geragos, fair statement?

11   office, any federal or law enforcement officer, suggest how you       11   A.   That is correct.

12   should conduct the conversation, what to say, the script that         12   Q.   And they, the FBI, wanted you to keep Geragos and Avenatti

13   you should use?                                                       13   talking?

14   A.   I was not provided a script at any point.      What I recall     14              MR. PODOLSKY:    Objection, your Honor.

15   being directed to do was to keep these gentlemen talking.             15              THE COURT:   Who did you speak with at the government

16   Q.   The day before, on March 19, you had your own ideas in mind      16   about the call that you were supposed to have on the 20th?

17   about how to conduct that conversation.      You have told the jury   17              THE WITNESS:    I spoke with an investigator with the

18   about that, right?                                                    18   U.S. Attorney's Office for the Southern District of New York

19   A.   Could you clarify which conversation are you talking about?      19   and two agents of the FBI.

20   Q.   On the 19th, the one we just spent the morning talking           20              THE COURT:   And did any of those people give you any

21   about, you had your own game plan you told us about it.       You     21   guidance or instruction about how you were to conduct the call?

22   had your own game plan, right?                                        22              THE WITNESS:    Apart from trying to get the individuals

23              MR. PODOLSKY:   Objection, your Honor.                     23   to keep talking, to let them do the talking, I don't recall

24              THE COURT:   Did you have a plan for that conversation     24   specific instructions.

25   on March 19?                                                          25   Q.   So the conversation of 3:59 p.m. that we just heard on

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1    March 20, was there anyone from the federal law enforcement           1    create the impression in his head and Mr. Avenatti's head that

2    listening to that conversation?                                       2    I was engaged in a real negotiation when in fact, again, I was

3    A.   There were three agents, one employed by the U.S.                3    cooperating with the government and there was no chance we

4    Attorney's Office, two employed by the FBI that I recall being        4    would have agreed to this.

5    at my office on the afternoon of Wednesday, the 20th.      What I     5    Q.   So is it fair to say you were misleading Mr. Geragos?

6    don't recall is in any particular one of these calls whether          6    A.   I was saying things that were different from my intention,

7    one, two, or three of them were in the room.      I believe on each   7    yes.

8    of the calls there was an agent or more than one agent in the         8    Q.   Geragos responds:     Have you ever said, when somebody made a

9    room listening on speaker while I spoke.                              9    demand, have you ever said, you know what, that's too low, I

10              MR. H. SREBNICK:   I'd like to return now to the           10   think you guys deserve more?

11   transcript and audio of that call on March 20 at 3:59 p.m.            11   A.   I recall him saying that.

12   Q.   Do you recall telling Geragos that you didn't like his           12   Q.   Did you understand Mr. Geragos to be saying that the demand

13   demand but that Nike was going to consider making an offer?           13   is always higher than the ultimate settlement?

14   A.   What I was doing at beginning of this call, as I mentioned       14   A.   I understood him to be referring to, as I mentioned a

15   yesterday, was operating on my own belief that if I spooked           15   minute ago, exactly why I said what I said, which is that a

16   these guys and made them feel as was in fact the case, there          16   lawyer conducting a negotiation wouldn't expect the

17   was no possibility we'd ever engage in this deal that they            17   counterparty to, right out of the bat, agree to absolutely

18   wanted us to engage in, that Mr. Avenatti would pull the              18   everything that the other side demanded.      So I felt that saying

19   trigger and hold his press conference immediately.                    19   what I just said accomplished exactly what I hoped it was,

20              It would be a weird dialogue between a plaintiff's         20   which was sort of putting Mr. Geragos at ease as he laughed

21   attorney and a defense attorney if the defense attorney said,         21   listening to me.

22   you know what, the first thing you asked for, good, we will           22   Q.   And you said nothing to Mr. Geragos to indicate that there

23   give you that.                                                        23   was anything improper about the demand, correct?

24              I said what I said to Mr. Geragos here, that I think       24   A.   Again, I was not there in my personal capacity.    I was

25   we can do something, but it's not going to be everything, to          25   there in my capacity as a lawyer for Nike.      On behalf of my

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1    client I had reported this conduct to federal investigators.              1    were being responsive, all in service of the goal of making it

2    It would have been inconsistent with the -- my obligations to             2    appear to Mr. Geragos and Mr. Avenatti there was a possibility

3    my client if I had said things that would have spooked these              3    of a pod of money for them at the end of this because I thought

4    gentlemen because what I believed the likely consequence of               4    once that possibility disappeared from view, the press

5    that would be is that Mr. Avenatti would go public immediately            5    conference would be held and the media crisis would ensue.       I

6    and attempt to gin up a scandal with his allegations, whether             6    was looking to buy time.

7    or not they were true.                                                    7    Q.   Is it fair to say you were misleading Geragos into thinking

8    Q.   My question was, you did not indicate to Geragos there was           8    that you and he and Avenatti were engaging in active settlement

9    anything improper about the demand, yes or no?                            9    negotiations?

10   A.   On this phone call, no.                                              10              MR. PODOLSKY:   Objection, your Honor.

11               MR. H. SREBNICK:    If we could then cue up, this will        11              THE COURT:   Sustained.

12   be page 4, line 14 of the transcript.        I'm sorry.   Page 3.         12   Q.   Is it fair to say that you communicated to Geragos words

13   Forgive me.     Page 3, line 14.                                          13   indicating that you were engaging in serious settlement

14               Are you there, Judge?                                         14   negotiations?

15               THE COURT:   Yes.   Thank you.                                15   A.   I wasn't intending to convey that these were settlement

16               (Audio played)                                                16   negotiations, but I was intending to convey that we were

17   Q.   That was Mr. Geragos proposing that the meeting happen               17   seriously entertaining the demands that Mr. Avenatti had

18   sooner than you were proposing, right?                                    18   articulated.

19   A.   Yes, that's right.                                                   19   Q.   Isn't that exactly what a settlement negotiation is?

20   Q.   And when you said on line 25, we are operating in very good          20   A.   No.   I didn't regard the second component of Mr. Avenatti's

21   faith, what does that mean, good faith?                                   21   demand to be related to a settlement at all.

22   A.   I don't know what it meant to Mr. Geragos.        It was me          22              MR. H. SREBNICK:   I'd like to turn our attention to a

23   expressing, as I had at the meeting the day before, when I                23   later call at 4:50 p.m.      That would be Government Exhibit 4, I

24   referenced to here we have brought the senior executive to meet           24   believe.    This starts at page 2, line 1.

25   with you that we were paying careful attention to this, that we           25              MR. PODOLSKY:   Your Honor, I understand that the

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1    defense is offering, again, this synchronized video as an aid             1               MR. PODOLSKY:   Objection.

2    to the jury.                                                              2               THE COURT:   Sustained.

3                THE COURT:   Yes.   Same rules apply.                         3    Q.   Did you communicate that you lacked the authority to settle

4                MR. H. SREBNICK:    Permission to play it.                    4    any claims?

5                THE COURT:   Yes.   Go right ahead, Mr. Srebnick.             5               THE COURT:   In prior conversations or in this

6                (Audio played)                                                6    conversation?

7    Q.   In this conversation at 4:50 p.m. you indicate to                    7               MR. H. SREBNICK:   I'll start with this conversation.

8    Mr. Geragos that you want to come prepared.         He uses the words     8    A.   Could you repeat the question.

9    to make a concrete offer, and you say right.                              9    Q.   Were you indicating to Mr. Geragos here you lack authority

10   A.   Yes.                                                                 10   to settle claims?

11   Q.   So an offer would be understood as an offer to settle the            11   A.   I was indicating to him that I couldn't until Monday have a

12   claims?                                                                   12   response from the company to the demands that have been made.

13               MR. PODOLSKY:    Objection, your Honor.                       13   Q.   And do you see at line 19 you describe the meeting of the

14               THE COURT:   Sustained.                                       14   day before as chitchat?

15               MR. H. SREBNICK:    I'll rephrase it.                         15   A.   That's not what I was intending to do.     I was saying I

16   Q.   Did you communicate to Mr. Geragos that you were preparing           16   didn't want to have a subsequent meeting where we just sat

17   to make an offer?                                                         17   around and had chitchat.

18               MR. PODOLSKY:    Objection.   Same grounds.                   18   Q.   And you say:   I don't want to sit down and have another

19               THE COURT:   Overruled.                                       19   meeting where we just chitchat.

20   A.   What I believe I intended to say -- it's a phrase I used             20   A.   That is the text.     Those are the words I used, but I was

21   repeatedly in subsequent communications -- was, to come with              21   referring not wanting to come and sit down and not have

22   authority.     That was the phrase I had in mind.                         22   authority to do a deal but instead to just chitchat at that

23   Q.   And what that meant is that up until that point in time,             23   meeting.    I didn't mean to imply the meeting the day before.       I

24   all times, you didn't have the authority to make an offer or              24   just meant chitchat.

25   settle the claims?                                                        25   Q.   And this conversation, just like the one before it, was

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1    done in collaboration with the FBI and the prosecutors, right?           1    Court was going to apply throughout the trial.

2    A.   With my consent, the FBI was recording this call.                   2               THE COURT:   Could we step back for just a second.     Are

3               MR. H. SREBNICK:    Your Honor, I see it's 11:40.    Is       3    these documents that Mr. Wilson was shown at the March 19

4    this the time you wanted to break?                                       4    meeting, or is this something else?

5               THE COURT:   Yes.                                             5               MR. S. SREBNICK:   Something else.

6               Ladies and gentlemen, we are going to take our                6               THE COURT:   This is not included in the documents that

7    midmorning recess.      We are going to take 15 minutes.   Don't         7    Mr. Wilson was shown during his encounters with Mr. Avenatti?

8    discuss the case.    Keep an open mind.    We will be back to you        8               MR. S. SREBNICK:   That's correct.   These are Nike

9    in 15 minutes.    Thank you.                                             9    produced documents.      These were produced by Nike in response to

10              (Jury not present)                                            10   the grand jury subpoena.      They are text messages between Nike

11              THE COURT:   Should we discuss these documents that           11   executives.    The one that's on the screen shows the broader --

12   were handed up to me when I came out beginning with Defense              12   let's call it the broader misconduct.      I'm using that word very

13   Exhibit SS and RR and QQ, JJ1, JJ2, JJ3, JJ4 and KK3.                    13   broadly relating to payments to amateur players, offers of

14              Is the defense going to be seeking to introduce these         14   payment, discussions about payments.      This particular document

15   documents?                                                               15   on the screen was actually attached to my motion to dismiss for

16              MR. S. SREBNICK:    Which one does the Court want to          16   vindictive prosecution.      It reflects discussions among Nike

17   start with?                                                              17   executives to pay certain high-profile players.

18              THE COURT:   The order I have, and I can rearrange            18              THE COURT:   Does this have to do with Franklin?

19   them, was Defense Exhibit SS is at the top.      We should address       19              MR. S. SREBNICK:   Part of it, yes; part of it, no.

20   them in whatever way you think is logical.                               20   The first part, no.      Where you see the names that are on the

21              MR. S. SREBNICK:    If your Honor can pull up JJ1.            21   screen that has 20, 35 plus, and 15, those do not have to do

22              THE COURT:   Yes, I have it.                                  22   with Mr. Franklin.      And then there is some discussion right

23              MR. S. SREBNICK:    This actually has two components.     I   23   below that about Gary, California Supreme.

24   understand that the Court had previously indicated at the                24              As many of these text messages are, there is

25   beginning of this morning's session certain principles that the          25   interspersed discussions of matters related to Mr. Franklin and

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1    matters not related to Mr. Franklin.                                     1    time or subsequent, show that that narrative is not accurate.

2               The matters that are not related to Mr. Franklin              2    It shows in fact that there were multiple discussions between

3    really relate to the issue of the concern.      They would go to         3    Nike executives about paying amateur players and, in fact,

4    the issue of Mr. Wilson's concern about broader misconduct,              4    there were payments to amateur players.

5    about the response to the grand jury subpoena, about whether or          5               THE COURT:   These documents, were they known to

6    not he needed to protect Nike, that sort of thing, which the             6    Mr. Avenatti in March of 2019?

7    Court has -- let me just frame that.      That's a separate issue.       7               MR. S. SREBNICK:   Certainly not.

8    It's the broader issue of Nike's misconduct.      There are a            8               MR. PODOLSKY:   Not only that, your Honor, but despite

9    number of documents that relate to that.      Then there are a few       9    the assertions Mr. Srebnick is saying, these were produced to

10   documents that relate specifically to California Supreme.                10   the government by Nike in January of 2018, so these were not

11              THE COURT:   What are you intending to do with this           11   hidden from the government.      The government had these

12   document?                                                                12   documents.    And Mr. Avenatti had no idea they existed until the

13              MR. S. SREBNICK:    As I understand Mr. Wilson, the way       13   government produced them in discovery in this case.

14   he has portrayed it and the way Nike and Nike lawyers at the             14              MR. S. SREBNICK:   That's correct.   Let me be clear

15   Boies firm have presented their narrative to the government is           15   about our intention.      Our intention is simply to impeach Mr.

16   that Nike has done nothing wrong, that there were more, and              16   Wilson and to impeach the Nike lawyers on the grounds --

17   there are specific instances in the phone calls between Nike             17              THE COURT:   The problem is, Mr. Wilson has not offered

18   lawyers.    When I say Nike lawyers, I'm referring to the Boies          18   any testimony that I recall, he has not offered any testimony

19   lawyers and the U.S. Attorney's Office in which the Boies                19   that Nike did anything wrong here.      So you are trying to

20   lawyers are telling the U.S. Attorney's Office there are no              20   impeach him on something that there hasn't been any testimony

21   instances in which players or their families have been paid by           21   about yet.

22   Nike.   Early on, in response to the grand jury subpoena, where          22              MR. S. SREBNICK:   I think he testified that there was

23   there were phone calls between the U.S. Attorney's Office and            23   nothing illegal about what Nike did.

24   Nike, that was Nike's narrative to the U.S. Attorney's Office.           24              THE COURT:   I don't remember that, sir.   I'm happy to

25              The documents that were produced, either at the same          25   look at the transcript if you have something in mind.       I don't

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1    remember him offering an opinion about whether Nike did                  1               THE COURT:   I've already, I think, commented on this

2    anything wrong here.      I don't remember that.    I'm happy to have    2    type of evidence many, many times.

3    my memory refreshed, but I don't remember that.        You are trying    3               The first principle, and that's why I reviewed these

4    to impeach him on something he has not testified about.                  4    principles with you this morning, I've stated this before, but

5               MR. S. SREBNICK:   Let me be a little bit more precise.       5    I wanted everyone to have it clearly in mind, material that

6    I'm trying to impeach him on bias, bias and motive.        He knows      6    Mr. Avenatti was not aware of at the time in March of 2019

7    that the Boies lawyers have made representations to the United           7    could not have had any effect on his state of mind whatsoever.

8    States Attorney's Office that there were no instances in which           8    I told you that I would permit some cross-examination of Mr.

9    Nike paid players.      There are several debriefing notes that we       9    Wilson on the point of Nike's dealings with Franklin, and I

10   have received in which the Nike lawyers were taking that                 10   explained why.

11   position wit the U.S. Attorney's Office.      They said Adidas did,      11              But to state the obvious, Mr. Wilson has testified

12   we heard that Adidas and under Armour did, but Nike does not             12   that Nike has been under investigation for at least since

13   pay players.    Those were comments that were made immediately           13   September of 2017.      He testified that, to his understanding,

14   after the grand jury subpoena was served.                                14   the investigation is continuing and so it's already obvious

15              We have evidence that Nike has produced that show that        15   that his credibility can be challenged in that he represents

16   those statements are not accurate, and we want to be able to             16   Nike.    His client is under investigation.    And so the defense

17   show that Mr. Wilson has a bias in favor of the government               17   already has an argument that he has a motive to curry favor

18   because he knows that Boies has taken the position that there            18   with the government and to testify in a fashion that makes them

19   were no instances of payments to players and that's simply not           19   happy.    That's already present.    It's already in the record.

20   accurate.    That's our position, Judge.                                 20              I further told you this morning that to the extent you

21              I've teed it up the only way I know how as to the             21   wanted to cross-examine Mr. Wilson about matters that involve

22   non-Franklin related text messages.      I think we can show there       22   Mr. Franklin, it seemed to me that that might be relevant

23   were numerous discussions in which Nike executives are talking           23   because he has testified that was a name that was known to him.

24   about paying high-profile players, how to recruit them to come           24   I think he testified yesterday that he then had proffer

25   to Nike, and payments that were in fact made.                            25   sessions with the government which Franklin was discussed at

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1    length.    So those are sort of the parameters, as I see it.             1               But as I've said many times, we are not going to

2               I'm not understanding why you think it would be               2    pursue a broad exploration of whether Nike was involved in

3    appropriate to embark on a broader exploration of whether Nike           3    extensive corruption in the area of amateur athletics.     We are

4    was involved in corruption that goes beyond the allegations of           4    not going to do that because Nike is not on trial here.

5    Franklin.    I told you several times why I don't think that's           5    Mr. Avenatti is.    And, most importantly, whether or not Nike

6    appropriate.    It seems to me that's what you are trying to do.         6    was engaged in broad-scale corruption of the amateur athletics,

7               MR. S. SREBNICK:   It is what I'm trying to do, Judge.        7    it's not a defense in any fashion for Mr. Avenatti, and that's

8    You announced your principles this morning.        We have given the     8    why I can't permit that sort of broad exploration.

9    government the documents last night.      I understand what the          9               What we have here is, it's a narrow area that goes to

10   Court's principles are now.      You asked me to explain what the        10   Mr. Wilson's credibility.      As I've said, I think you already

11   documents are.    I told you that they are consistent with what          11   have in the record a basis to challenge his credibility and

12   the Court announced its first principle was this morning, and I          12   that basis is, he's aware that his client is under

13   understand that that's the Court's view.                                 13   investigation by the same office that's asking the questions.

14              THE COURT:   With respect to these documents, what I          14   And so there is an obvious motive there to curry favor with the

15   can tell you is that to the extent they involve Mr. Franklin,            15   government, and the defense is welcome to suggest that to the

16   I've told you that cross-examination about Franklin, about Mr.           16   jury.    But, no, we are not going to embark on a broad-scale

17   Wilson's knowledge about Franklin and what he did, I am going            17   exploration of corruption that Nike might have been engaged in

18   to allow you to do that.      But to the extent it goes beyond           18   that has nothing to do with Franklin.      We are not going to do

19   Franklin, no.    Then I think we are just getting too far afield.        19   that.    I am not going to permit that.

20              I suppose you could ask Mr. Wilson whether he is              20              MR. S. SREBNICK:   I understand the Court's ruling.

21   familiar with these texts.      I suppose you could ask him whether      21              THE COURT:   I have not had a chance to look at these

22   he turned them over to the U.S. Attorney's Office because you            22   documents.    Are these documents mainly about Franklin or are

23   suggested in papers that the company withheld materials from             23   they about the broader issues that I have expressed concern

24   the U.S. Attorney's Office pertinent to Franklin.        You can         24   about?

25   pursue that.                                                             25              MR. S. SREBNICK:   They are both.

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1               What I will do is, I will confer with the government         1    light of the Court's ruling.     I want to make part of the record

2    and my brother, and we will make sure that we obviously abide           2    just the notes of the Boies calls with the -- not the evidence

3    by the Court's ruling.     We are not going to get into anything        3    record in this case, but obviously the record.

4    that deals with the broader misconduct that is unrelated to             4               THE COURT:   The record that ultimately an appellate

5    Franklin.                                                               5    court might want to see.

6               Let me just ask the Court how the Court would propose        6               MR. S. SREBNICK:   That's all.

7    in terms of making the documents part of the record.      Is it         7               THE COURT:   Absolutely.   You can make that record so

8    possible that the documents we have handed up to the Court,             8    that in the event someone later wants to see what was at issue,

9    that those exhibits be made part of the record and that we also         9    it will be available to them.

10   include at some point -- what I'd like to include is just notes         10              MR. S. SREBNICK:   What I will do is, I will simply

11   from calls that the U.S. Attorney's Office had with the lawyers         11   file it -- let me not file it because of other issues.       I don't

12   from Boies in which the Boies lawyers had made the                      12   know the appropriate way.     May I hand two documents to the

13   representation, at least according to the notes, that there are         13   Court and make it part of the court record in some way that's

14   no instances in which players knew Nike had paid players.               14   the nonadmitted evidence, I guess you would call it, that

15              THE COURT:   No.   We are also not going to get into a       15   doesn't get filed in the public record?

16   broad exploration of what Boies has said to the U.S. Attorney's         16              THE COURT:   There are a couple of different ways we

17   Office.    Again, you're welcome to cross-examine Mr. Wilson            17   could do it.    You can docket it.    You can send me a letter

18   about his dealings with the U.S. Attorney's Office and what             18   saying, Judge, these are the documents I had in mind that I

19   representations he has made.      Again, to the extent it's focused     19   wanted you to consider admitting.      I don't know whether there

20   on Franklin, you're welcome to do that.      But, no, we are not        20   is anything sensitive in the documents or not.      If there is,

21   going into get into a broader exploration of whether Boies, on          21   then I suppose you or the government can make an application

22   behalf of its client, has urged to the government that the              22   that it be filed under seal.     But I don't know enough about the

23   client didn't do anything wrong.      No, we are not going to do        23   documents to know at this point.

24   that.                                                                   24              MR. S. SREBNICK:   We will work it out with the

25              MR. S. SREBNICK:    I wasn't suggesting we would, in         25   government.

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1               I know the jury is waiting.    One last thing and            1               MR. PODOLSKY:   The documents of D1 through 9, and

2    perhaps we can wait until the end of the day.      In light of the      2    there were some gaps.

3    Court's ruling, there are subpoenas that we have issued to Nike         3               I just want to note, we did not object to their

4    employees that some of whom fit within the categories that the          4    introduction, but we believe they should be introduced not for

5    Court has discussed.     I don't want to withdraw the subpoenas,        5    the truth of the statements made within the documents.       They

6    but perhaps we could discuss them at the end of the day and the         6    are merely being offered for what Mr. Avenatti was shown and

7    Court can simply rule on them, in light of the Court's                  7    what he showed to Mr. Wilson.     We would ask at an appropriate

8    principles, so that the witnesses know their status and so we           8    time for that limiting instruction.

9    know their status for next week.                                        9               THE COURT:   Do you have any objection to my telling

10              THE COURT:   I'm happy to talk about the subpoenas at        10   the jury that D1, etc., were not admitted for their truth?

11   the end of the day.                                                     11              MR. H. SREBNICK:   Judge, can we think about that?     Are

12              MR. S. SREBNICK:    Thank you, your Honor.                   12   you going to need that instruction right now?

13              MR. PODOLSKY:   Two quick items, your Honor.                 13              THE COURT:   It does seem to me that the documents were

14              I just want to put on the record, and we can deal with       14   admitted to the extent they shed light on the state of mind of

15   this as it goes, but I understand, as you've said multiple              15   Mr. Avenatti and possibly on the state of mind of Mr. Wilson,

16   times now, the defense can inquire as to Mr. Wilson about his           16   and that's why they were introduced.      But you're welcome to

17   bias that might have been created by some knowledge of                  17   take some time to think about it, and you will let me know what

18   Franklin.    We still do intend to object to extrinsic evidence         18   your position is.

19   proving up the truth of Mr. Franklin's allegations, which the           19              MR. H. SREBNICK:   Can I have two minutes to run to the

20   Court has repeatedly said is not relevant to this case.        I just   20   wash room?

21   want to note that as we move forward.                                   21              THE COURT:   We will take an additional five minutes.

22              The second thing I want to note quickly is, I didn't         22   We will make the jury wait a little bit later.      I'd like to

23   ask for a sidebar when these documents were introduced because          23   begin at 12:05.

24   I didn't want to waste everyone's time.                                 24              (Continued on next page)

25              THE COURT:   What documents?                                 25

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1               (Jury not present)                                          1    remittances and checks and the like.      So there were additional

2               THE COURT:   Be seated.   Are we prepared to proceed?       2    documents that were produced.      They are highly relevant to

3               Mr. Podolsky, did you have something you wanted to          3    corrupt payments that were made with respect to California

4    raise?                                                                 4    Supreme.    So I know the jury is waiting.

5               MR. PODOLSKY:    I just want to put this on the record,     5               THE COURT:   Well, again, if you believe that Mr.

6    your Honor.    There was some suggestion about these documents         6    Wilson might have knowledge of that, you're welcome to

7    with respect to the timing of production, and I just want to           7    cross-examine him about it.      For example, if you think that he

8    note that we produced to the defense back in December --               8    was involved in some sort of effort to deprive the government

9    December 23 -- exactly when each of the Nike documents by Bates        9    of relevant documents, you're welcome to cross him about it.

10   stamp were produced to the government.                                 10              MS. PERRY:   Thank you.

11              So, for example, each of the documents in the stack         11              MR. PODOLSKY:    Because I want to be clear, there is no

12   you were given today were produced either in January of 2018 --        12   dispute whatsoever with what your Honor just said, but I want

13   I believe there may have been a few produced in February of            13   to be clear about the record, because Mr. Wilson testified that

14   2019, all prior to the events in this case.       So I just want to    14   additional documents were produced in early 2019 in response to

15   put on the record we have told the defense exactly when all of         15   additional requests from the government.       We have produced the

16   these documents were produced, so they know which ones were            16   e-mails from the government requesting those documents and the

17   produced at what time in this case.                                    17   response, so the defense is well aware of what prompted those

18              THE COURT:   All right.                                     18   productions.

19              MS. PERRY:   Just to very briefly respond and preview       19              THE COURT:   OK.

20   what we expect to put in the letter over the weekend.      There       20              Mr. Wilson needs to take the stand.

21   were productions that were made up in May of 2018, and then            21              (Continued on next page)

22   they started again in mid-February of 2019.       Immediately after    22

23   Mr. Auerbach reached out to Mr. Slusher which was then related         23

24   to Boies Schiller, and there were new documents that relate to         24

25   Mr. Franklin, the California Supreme, including invoices and           25

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1               (Jury present)                                              1    to make clear the judge's instructions with respect to the use

2               THE COURT:   Please be seated.                              2    of the aid to the jury.

3               Ladies and gentlemen, we will continue with the             3               THE COURT:   Yes, I have said many times that the

4    cross-examination of Mr. Wilson.       Please proceed.                 4    evidence is what is on the tape and not what is on the

5    SCOTT WILSON, resumed.                                                 5    transcripts, so I'm sure the jury understands that at this

6    CROSS EXAMINATION (Continued)                                          6    point.   Please proceed.

7    BY MR. H. SREBNICK                                                     7               MR. H. SREBNICK:    If we could go to page 4, line 1 of

8    Q.   Mr. Wilson, I would like to turn your attention now to the        8    the transcript that's the aid, and just play that for the jury

9    call on March 20, 2019 at 5:10 p.m.       That was the one where       9    and then I will ask you some questions.

10   Mr. Avenatti joined the call.       Is that consistent with your       10              (Audio played)

11   recollection?                                                          11   Q.   Mr. Wilson, this is Mr. Avenatti using some pretty harsh

12   A.   That was the third call of the day, yes.                          12   language, using the F word several times, correct?

13   Q.   I'd like to -- I've got a few clips from that.      The jury      13   A.   He was swearing, yes.

14   has already heard the whole thing, so I would like to go               14   Q.   And he is telling you that this is urgent essentially.

15   through a few sections.       If we can begin with the same protocol   15   That's the message he is conveying to you?

16   as we've discussed before, Judge.       We're going to have a          16   A.   He told me that he might hold the press conference the very

17   scrolling transcript.      The jury can rely on either that or         17   next day.

18   their own notebook.                                                    18   Q.   He wants you to talk to your people at Nike?

19              THE COURT:   Just for the record, what's the exhibit        19              MR. PODOLSKY:    Objection, your Honor.

20   number?                                                                20   Q.   I will rephrase.    He is communicating to you he needs you

21              MR. H. SREBNICK:    This is Government Exhibit 1.           21   to contact the people who can make a decision about an offer to

22              THE COURT:   OK.   So the jury should be looking at         22   settle the case.    Isn't that what he's communicating to you?

23   Government Exhibit 1T.                                                 23   A.   I understood him to be communicating to me that if at this

24              MR. PODOLSKY:    Just because defense counsel said the      24   point a deal with these two components wasn't possible, that

25   jury can rely on the transcript or the recording, I just want          25   our discussions were at an end and he would proceed with his

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1    press conference.                                                      1               THE COURT:   Well, that's not exactly what it says,

2    Q.   And you had told him you don't have the authority to make         2    Mr. Srebnick.

3    that decision; you need to consult with your client at Nike.           3               MR. H. SREBNICK:    I will rephrase.

4    A.   I don't believe -- I don't recall whether I said that             4    Q.   Do you see lines 6 around 7 -- or 5, 6 and 7?

5    earlier in this call or not.                                           5    A.   I do.

6    Q.   The day before you had told him you didn't have the               6    Q.   Let me start at line 3.     "So if you guys think, you know,

7    authority?                                                             7    we're gonna negotiate a million five, and we're gonna -- you're

8    A.   The day before I certainly mentioned that we needed to            8    gonna hire us to do an internal investigation, but it's gonna

9    consult with the general counsel who is in Europe.                     9    be capped at 3, or 4, or 5 --

10   Q.   You had told Geragos an hour or two before this call on           10              THE COURT:   You have to read exactly what's on the

11   March 20 that you were convening people at the highest levels,         11   page.

12   you were taking it seriously and all of that, right?     We just       12              MR. H. SREBNICK:    Did I miss something?

13   went through that.                                                     13              THE COURT:   Well you added something that wasn't

14   A.   I recall the call we listened to from earlier in the day.         14   there.     You just need to read it as it appears on the page.

15   Q.   And so we're clear, both Avenatti and Geragos are on this         15   Q.   "But it's gonna be capped at 3, or 4, or 5, or 7" --

16   call at 5:10 p.m., the one we're listening to now.                     16              THE COURT:   There is no 4 there, sir.

17   A.   The one we are listening to now was the three of us, yes,         17              MR. H. SREBNICK:    I just said 5.

18   speaking.                                                              18              THE COURT:   You said 4.   You've said 4 several times

19   Q.   Mr. Avenatti, this is the prelude to him asking you to            19   now.    All I want you to do is read it as it appears on the

20   provide or to agree to an internal investigation at a                  20   page.

21   particular price.    He says to you, page 5, line 6 and 7,             21   Q.   3 or 5 or 7.

22   "You're going to hire us to do an internal investigation, but          22   A.   OK.

23   it's not gonna be capped at 3, or 5, or 7 million dollars."       Do   23              THE COURT:   OK.

24   you see he that?                                                       24              MR. H. SREBNICK:    Forgive me, Judge.   I thought I did,

25              MR. PODOLSKY:   Objection.                                  25   but I apologize.

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1               THE COURT:   Not according to the transcript and not        1               THE COURT:   Yes.

2    according to what I heard.                                             2    Q.   Do you recall Mr. Avenatti asking you that question?

3               MR. H. SREBNICK:   I apologize.                             3    A.   Yes, more than once.

4               THE COURT:   Anyway, ask your question.                     4    Q.   So if we could go to page 7, line 13.

5    Q.   Mr. Avenatti is resisting a cap at those numbers.                 5               (Audio played)

6               MR. PODOLSKY:   Objection, your Honor.                      6    Q.   We just stopped at approximately page 8, line 7 -- do you

7               THE COURT:   Sustained.                                     7    see that -- of the transcript?

8    Q.   So, if we -- do you recall Mr. Avenatti then wants to find        8    A.   I see where we stopped, yes.

9    out how much Boies Schiller would charge?                              9    Q.   So do you count four times where Mr. Avenatti is asking you

10              MR. PODOLSKY:   Objection, your Honor.                      10   to set a price for what an internal investigation would cost?

11              MR. H. SREBNICK:   How about if we just play the tape       11   A.   He was all over the map, expressing various dollar amounts

12   then.                                                                  12   ranging into the hundreds of millions of dollars that he

13              THE COURT:   The problem -- and we have talked about        13   purported to tell me my prior law firm had charged or would

14   this before -- when you ask questions that go to someone else's        14   charge for an internal investigation, and he returned several

15   state of mind, it's objectionable.      That's why the government      15   times to asking me this concept what would your firm charge.

16   is objecting, and that's why I'm sustaining the objection.             16   Q.   So at page 7, line 14 -- or 13 and 14 -- there he says,

17              You can't frame the questions as to what Mr. Avenatti       17   "What would you guys ask for for an internal investigation of

18   was wanting, what he was thinking, what was in his mind.      No,      18   this nature?"     Do you see that?

19   you can't ask this witness that, because he can tell you about         19   A.   I see that text, yes.

20   his state of mind; he can't testify about Mr. Avenatti's state         20   Q.   If we go to page 8, line 2, Avenatti says, "Scott, what

21   of mind.    That's the problem.   That's the reason why I'm            21   would you quote?     We will go with your quote."    Do you see

22   sustaining the objections.                                             22   that?

23              MR. H. SREBNICK:   May I ask, Judge, did Mr. Avenatti       23   A.   I see that, yes.

24   ask you to tell him what Boies Schiller would charge for such          24   Q.   It continues, "You tell me what Boies Schiller would

25   an internal investigation?                                             25   quote."     That's the third time he's trying to ask you what

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1    would Boies Schiller quote, right?                                      1    be the going rate on the street.

2               MR. PODOLSKY:    Objection, your Honor.                      2    Q.   And line 19 you indicate that your law firm, Boies

3               THE COURT:   Overruled.                                      3    Schiller, would charge millions of dollars for an internal

4    A.   I don't know if at that point he's asking me or telling me,        4    investigation like that, that that would be the going rate on

5    but it's a third time in the text we've looked at that he               5    the street, right?

6    referenced this concept of what dollar amount Boies Schiller            6    A.   Yes, that's an approximation of what I said, yes.

7    would charge for something.                                             7    Q.   OK.   Now, at that point in time you're not suggesting to

8    Q.   He then says, "and you tell me what that number is, and I'm        8    Mr. Avenatti that it would be unacceptable to have Avenatti and

9    highly confident that that number will probably be acceptable,          9    Geragos manage the internal investigation, correct?

10   or something very close to it.       As long as it is a real quote."    10   A.   I took care to not express to Mr. Avenatti that it was a

11   Do you see that?                                                        11   complete nonstarter that he and Mr. Geragos conduct an internal

12   A.   Yes, I do.                                                         12   investigation at Nike, because I believed if I did so it would

13   Q.   Now, up to that point you're not giving him an answer,             13   spook him and he would proceed to execute on his threat to harm

14   correct?                                                                14   the company's reputation.

15   A.   I had not responded other than to say -- no, I had not said        15   Q.   So you did not say anything about rejecting the idea of

16   a number out loud up to that point.                                     16   Geragos and Avenatti managing the internal investigation,

17   Q.   I'm going to ask Mr. Lyon to continue playing the tape.            17   correct?

18              (Audio played)                                               18   A.   At points in --

19   Q.   In response to what we just went over, you speak to                19   Q.   Correct?

20   Mr. Avenatti and you indicate that this is a major matter.              20   A.   At what point, sir?

21   Line 18 of page 8, correct?                                             21   Q.   Right there.

22   A.   I used that phrase, yes.                                           22   A.   Nothing like the words you just described were said at this

23   Q.   You indicate it, being the internal investigation, would           23   point in this conversation.

24   cost in the millions of dollars, correct?       Line 17 and 18.         24   Q.   Isn't it fair to say that on the day prior, March 19 -- we

25   A.   I said that I thought fees in the millions of dollars would        25   went over it earlier -- item I think it was number 3 of the

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1    interests that Nike had, item three was conducting an internal          1    A.   Yes, I did.

2    investigation as to the allegations related to Mr. Franklin's           2    Q.   Now I'd like to turn to page 12, line 19.

3    claims.    Do you recall that?                                          3               (Audio played)

4    A.   I recall saying that the company had an interest in                4    Q.   So, Mr. Wilson, Mr. Geragos is an active participant in

5    conducting an internal investigation into its conduct.      I don't     5    this facet of the discussion, correct?

6    know that I linked it to -- I don't recall linking it to                6    A.   He spoke up at this point.

7    Mr. Franklin's claims, whatever those might have been.                  7    Q.   He spoke up at the point when the discussion was turning on

8    Q.   If we could go now to page 11, line 23.                            8    the issue of how to structure the internal investigation.

9               (Audio played)                                               9    A.   Yes, I asked whether he and Mr. Avenatti were part of the

10   Q.   Would that be approximately the fifth time that                    10   same law firm and how exactly we would -- the client was

11   Mr. Avenatti is trying to find out how much would Boies                 11   supposed to contract with whoever to do this purported work.

12   Schiller charge for an internal investigation of this sort?             12   Q.   And Mr. Geragos said that that's hardly the speed bump

13              MR. PODOLSKY:    Objection, your Honor.                      13   here.

14              THE COURT:   Overruled.                                      14   A.   Yes, he did.

15   A.   It was hard to keep a straight face by this point, because         15   Q.   At the top of that -- excuse me -- at page 12, line 23

16   he had asked me this so many times, which suggested to me he            16   you're talking about papering all of this.      Do you see that?

17   had no idea what internal investigations should cost, and               17   A.   I do, yes.

18   probably didn't have experience in that area, but I think your          18   Q.   And you're communicating to Mr. Avenatti and Mr. Geragos

19   number would be -- up to four or five times at this point, that         19   that all of this would be documented.      Is that what you mean by

20   sounds about right.                                                     20   papering something?    Documented, having formal documents

21   Q.   In we could continue.                                              21   describing the terms of the engagement, the parameters, however

22              (Audio played)                                               22   it's documented in Boies Schiller's opinion?

23   Q.   So, at page 12, lines 12 through 14 you respond to                 23   A.   I was asking them, rather, how they were proposing that

24   Mr. Avenatti that an investigation like this could hit the 10           24   this would be papered.      And by papered I was referring to

25   to $20 million range, correct?                                          25   putting writing on a piece of paper.

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1    Q.    These would be formal documents to be executed by all the         1    Q.   And Michael Avenatti is saying he is -- page 18, line 24 --

2    relevant parties?      Is that what you were communicating?             2    "I'm not expecting an answer tomorrow.        Just to be clear, I'm

3    A.    I didn't know.    I was asking them.    And I let some of my      3    happy to modify my position."

4    skepticism show through when I said "through whatever".       I         4    A.   He said those things, yes.

5    didn't know what this was, but I wanted them to tell me how it          5    Q.   And you understood that to mean that you'd have the time to

6    was we were supposed to write this up.                                  6    get whatever authority you needed come Monday to make an offer

7    Q.    And when you do an internal investigation like you've done        7    in response to the demand.

8    on behalf of Nike in this case, is it papered, as you describe          8    A.   I understood that at the meeting the next day he would

9    here?                                                                   9    articulate -- put a number on the second part of his demand,

10   A.    When I'm doing work for Nike, it is under an engagement           10   because in this meeting there were a bunch of different numbers

11   letter that the law firm that I'm employed by has entered into          11   thrown around, and then that I would have until Monday to come

12   with the client.                                                        12   up with the company's final response to his demands.

13   Q.    Signed off by all the relevant parties to the engagement?         13   Q.   Lines 9, 10 and 11 -- or 8, 9, 10, 11.       "We meet tomorrow

14   A.    Typically the engagement letters would be signed by a             14   in New York you and me.      You can give me the definitive terms

15   representative of Nike on behalf of the company and myself on           15   so I have something to actually get approvals on."        That's your

16   behalf of my law firm.                                                  16   words, right?

17   Q.    So I'd like to turn to page 18, line 16 -- page 18, line          17   A.   Yes.

18   16.    Excuse me.   Hold on one second, Mr. Lyon.                       18   Q.   Now, you said on line 5 "with a minor modification".      Was

19              I think we can just start at line 16, please.      Thank     19   that the business about you had a family member who had an

20   you.                                                                    20   accident or something?

21              (Audio played)                                               21   A.   The request was that we meet the following afternoon rather

22   Q.    So, at this point in the conversation do you recall that          22   than the following morning.

23   you are discussing with Mr. Avenatti having a face-to-face              23   Q.   Did you indicate you had a family member that needed to

24   meeting the next day, March 21?      Correct?                           24   have a medical appointment?

25   A.    Yes, Thursday the 21st.                                           25   A.   I did, yes.

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1    Q.    And was that true?    Did you actually have a family member       1    Mr.Geragos?

2    who needed a medical appointment?                                       2    A.   I did, yes.

3    A.    Not that following morning, no.                                   3    Q.   And did they wire you guys up?

4    Q.    So that was effectively a lie?                                    4    A.   I was provided with technological means to make audio video

5    A.    I gave him inaccurate information because I was concerned         5    recordings of our meeting.

6    about whether or not the F.B.I. -- with all due deference to            6    Q.   Colloquially, does ha that mean wire up?       Does that sound

7    their capabilities -- would have the equipment ready for me to          7    right?

8    record an in-person meeting, because thus far I had just been           8                MR. PODOLSKY:   I'm going to object to that question.

9    cooperating with them to record telephonic calls, and so I              9                THE COURT:   Sustained.

10   wanted to buy a little more time in order to confer with the            10   Q.   Did someone have a camera?

11   government about how they'd like me to proceed with the                 11               MR. PODOLSKY:   Objection.   If we need a sidebar, we

12   meeting.                                                                12   will be happy to speak about it.

13   Q.    So that was a lie.                                                13               THE COURT:   All right.

14   A.    It was not true that I had a medical appointment -- a             14               (Continued on next page)

15   family member of mine had a medical appointment the next day.           15

16   Q.    So, after the meeting of -- excuse me.      After the phone       16

17   call of March 20, did -- let me withdraw that.                          17

18              Did Mr. Geragos during this phone call indicate              18

19   anything that he would disagree with the proposal that                  19

20   Mr. Avenatti had been making?                                           20

21   A.    We listened to the entire call.    I don't recall him             21

22   expressing disagreement on the Wednesday afternoon call with            22

23   Mr. Avenatti.                                                           23

24   Q.    Now, the next day was Thursday the 21st.      Did you meet with   24

25   the F.B.I. in anticipation of recording Mr. Avenatti and                25

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1                (At the side bar)                                           1               (In open court)

2                MR. PODOLSKY:   Your Honor, the F.B.I. uses certain         2    BY MR. H. SREBNICK:

3    techniques to record.       Those techniques are not public.    That    3    Q.   It was the F.B.I. who gave you some sort of camera device

4    could compromise future investigations.         There is no relevance   4    to video the event?

5    to how the cameras were placed, what kind of cameras they were          5    A.   The equipment I received to create audiovisual recordings

6    or anything like that.       He has testified that he brought           6    of the event came from the F.B.I.

7    recording equipment in, and there is no relevance to these              7    Q.   And did they -- did the F.B.I. give you instructions --

8    questions.                                                              8    without getting into detail -- on how to do your job as a

9                MR. H. SREBNICK:    I wasn't going to go down the road      9    person recording Mr. Avenatti and Mr.Geragos?

10   he thought.     I was just confirming that someone gave him the         10   A.   The only instruction I recall was while I was walking to

11   camera.     I won't go into the techniques or any of the                11   the meeting that I not engage in conversation because it would

12   technology.                                                             12   be picked up by the recording devices.

13               THE COURT:   OK.                                            13   Q.   Did anyone from the F.B.I. or federal law enforcement, U.S.

14               (Continued on next page)                                    14   Attorney's Office, suggest any I'll say script but I mean any

15                                                                           15   kind of approach on how to steer the conversation?

16                                                                           16   A.   Again, what I recall in that regard is that I was asked to

17                                                                           17   get the individuals I was meeting with to articulate their

18                                                                           18   demands, to let them do the talking, to hear them out.

19                                                                           19   Q.   F.B.I. wanted you to get a number associated with the

20                                                                           20   internal investigation?

21                                                                           21              MR. PODOLSKY:   Objection, your Honor, as to what the

22                                                                           22   F.B.I. wanted.

23                                                                           23              THE COURT:   Sustained.

24                                                                           24   Q.   Did the F.B.I. communicate to you that you should find out

25                                                                           25   from Avenatti and Geragos how much money they were proposing

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1    the internal investigation would cost?                                  1               (At the side bar)

2    A.    No.                                                               2               THE COURT:   What's the problem?

3    Q.    If I could turn the attention to page 13, line 1.      Excuse     3               MR. PODOLSKY:   All he needs to do is rather than get

4    me.    This is Government Exhibit 2, right?                             4    into the technicalities of it is offer this other recording and

5                MR. PODOLSKY:   It's 2T, your Honor.    We actually         5    we won't object.

6    discussed this earlier, the offering of a separate recording.           6               THE COURT:   What other recording is it we are talking

7                MR. H. SREBNICK:    If I could explain, Judge.              7    about?

8                MR. PODOLSKY:   Your Honor, can we just deal with this      8               MR. PODOLSKY:   As I mentioned this morning, your

9    at the side bar rather than explain?                                    9    Honor, there was both a video recording and a separate audio

10               MR. H. SREBNICK:    I will short circuit this.              10   recording.    I understand Mr. Srebnick wants to play the audio

11   Q.    There was also an audio recording -- can I ask the                11   recording which is technically not yet in evidence.

12   question?     You need a sidebar?    OK.                                12              THE COURT:   Then that's different from what was

13               (Continued on next page)                                    13   already played.

14                                                                           14              MR. PODOLSKY:   Correct.

15                                                                           15              THE COURT:   Is there any reason we can't use the same

16                                                                           16   one?

17                                                                           17              MR. H. SREBNICK:    Because the synchronization was done

18                                                                           18   to the audio, separate audio, but it's the same exact content,

19                                                                           19   Judge.

20                                                                           20              THE COURT:   All right.    I guess if we have to use a

21                                                                           21   different recording it will have to be admitted as a defense

22                                                                           22   exhibit.

23                                                                           23              MR. H. SREBNICK:    Very well.

24                                                                           24              THE COURT:   I don't understand why we can't use the

25                                                                           25   one that's already in, but if that's not practical, you will

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1    offer it and I will receive it.      So what's the defense exhibit     1                (In open court)

2    going to be?                                                           2                THE COURT:   Mr. Srebnick, you are offering Exhibit UU?

3               MR. H. SREBNICK:    Judge, we will give it UU.              3                MR. H. SREBNICK:   Yes, your Honor.

4               THE COURT:   All right.   So when we go back, you will      4                THE COURT:   That's received.

5    offer Defense Exhibit UU.      I will explain to the jury it's just    5                (Defendant's Exhibits UU received in evidence)

6    a copy of the same audio they've already heard.                        6                THE COURT:   Ladies and gentlemen, this is just another

7               MR. PODOLSKY:   Just so you know why I'm objecting, I       7    copy of the audio for this conversation, which has been

8    just don't want the defense to be commenting on the evidence           8    received as Government Exhibit 2.       This is a copy.   For

9    before the jury.    I just want questions and answers.      That was   9    technical reasons, we need to receive another copy of it and

10   the reason I was raising a few of those objections to the              10   receive it as UU so Mr. Srebnick can use it with you.

11   commentary.                                                            11               Go ahead, Mr. Srebnick.

12              THE COURT:   OK.                                            12               (Audio played)

13              (Continued on next page)                                    13   BY MR. H. SREBNICK:

14                                                                          14   Q.   Mr. Wilson, so in this recording we hear the ask or the

15                                                                          15   demand from Mr. Avenatti regarding the price for the internal

16                                                                          16   investigation, correct?

17                                                                          17   A.   This was an occasion on which he described what the ask was

18                                                                          18   for that component of his demand.

19                                                                          19   Q.   And the amounts he, Avenatti, discussed was $12 million

20                                                                          20   retainer -- that's at page 14, line 7 -- $12 million retainer

21                                                                          21   upon signing Evergreen.       "That's gonna be deemed earned when

22                                                                          22   paid, we'll cap it at $25 million, minimum of $15 million,

23                                                                          23   unless the scope changes."       Correct?

24                                                                          24   A.   I see that.

25                                                                          25   Q.   Now, the day before you had indicated to Mr. Avenatti that

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1    an internal investigation of a matter like this could be 10 to         1    second.     I will ask Mr. Lyon to play that.

2    $20 million.    Do you recall we just went over that?                  2                (Audio played)

3    A.   I recall the statement I made during the call the day             3    Q.   You heard Mr.Geragos speak at that point?

4    before.                                                                4    A.   I recognize it was Mr.Geragos' voice saying "correct, it

5    Q.   At the bottom of the page -- excuse me -- bottom of page          5    would just be one entity."

6    14, lines 21 through 23, there are hourly rates proposed and I         6    Q.   So the discussion is over how the retainer agreement or the

7    think you described yesterday as a blended hourly rate.       You      7    engagement agreement for the internal investigation would be

8    explained that to the jury of 950 an hour, paralegal rate of           8    structured, and Geragos says it would be just one entity.

9    450 an hour.                                                           9    Right?

10   A.   Blended hourly rate was the phrase that Mr. Avenatti used         10   A.   I was asking who did they want Nike to contract with with

11   and I explained what I understood that to mean.                        11   respect to this purported internal investigation.

12   Q.   Now, in fact Boies Schiller has lawyers who charge in             12   Q.   And Geragos said it would just be one entity, correct?

13   excess of 950 an hour?                                                 13   A.   I see that language, yes.

14              MR. PODOLSKY:   Objection, your Honor.                      14   Q.   If we could continue.

15              THE COURT:   Sustained.                                     15               (Audio played)

16   Q.   In all events, you explained to the jury what you                 16   Q.   Did you hear Mr.Geragos discuss a contract or subcontract

17   understood that to mean.      And did you voice any objection to       17   for PIs?

18   Mr. Avenatti or Mr.Geragos as to these terms as was proposed by        18   A.   That was his voice we just heard.

19   Mr. Avenatti?                                                          19   Q.   And PI, did you understand that to mean private

20   A.   Later in the meeting I asked how could I explain to the           20   investigators?

21   client why we would be hiring -- excuse me -- my client would          21   A.   Yes.

22   be hiring them.    But I did not in the course of this                 22   Q.   And talking about "need people on the ground to do

23   investigation being recorded by the F.B.I. object to these             23   interviews and things of that nature along with witnesses."

24   terms of Mr. Avenatti's demand.                                        24               Do you see that?

25   Q.   If we go to page 15, starting at line 1.     Hold on one          25   A.   I do.

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1    Q.   In your experience. when lawyers interview witnesses, do         1    or others." then he says "we will retain individuals to conduct

2    they from time to time bring a witness or an investigator to          2    the investigation - beyond what we already have, as needed."

3    participate in the interview?                                         3               Did you hear that?

4    A.   It's a practice I'm more familiar with when the government       4    A.   I see that text, yes.

5    is conducting interviews.     It's not a practice I'm familiar        5    Q.   Do you recall hearing it?

6    with with respect to corporate counsel conducting an internal         6    A.   There was a bit of a garbled bit in the middle, but that

7    investigation.                                                        7    was said, among other things he said.

8    Q.   When you do an internal investigation, do you have two           8    Q.   So did you understand from that that the staffing of the

9    people attend an interview or just one?                               9    internal investigation would occur as needed?

10   A.   In my experience I typically have two people -- two lawyers      10   A.   My impression was that I caught them both off guard with

11   for the company at least attend the interview.                        11   the question and that they were acknowledging that they didn't

12   Q.   And one of those persons, at least one is taking notes           12   have staff for this investigation they were proposing to

13   usually?                                                              13   conduct immediately, and so they were sort of spinning their

14   A.   Generally yes.   It's hard to ask the questions and also         14   wheels talking about -- they recognized the kind of soft spot I

15   take good notes at the same time, so I will usually have a more       15   was poking at, and they were trying to say, well, sure, we will

16   junior attorney there with me to prepare notes of the                 16   hire people to do the work, including what to me was a very odd

17   interview.                                                            17   class of contractors to suggest that you would hire a private

18   Q.   As a substitute for an attorney taking notes, you never had      18   investigator to conduct employee interviews.

19   the practice of using an investigator to serve as the note            19              Employees are interviewed in internal investigations

20   taker?                                                                20   at the request of the company.     You don't send someone out to

21   A.   Never.                                                           21   stop them when they're coming out of their home.

22   Q.   We can continue.                                                 22   Q.   During internal investigations, from time to time you can

23              (Audio played)                                             23   speak to someone outside of the company, correct?

24   Q.   So Mr. Avenatti is explaining that "we would adequately          24   A.   It is atypical in my experience, very highly unusual to

25   staff the engagement.    Whether it be through attorneys, or PIs,     25   speak to someone outside of the company in connection with an

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1    internal investigation when there is a pending government             1    Q.   And are you suggesting that -- are you stating that it's

2    investigation.    In fact, it's something the government might        2    improper for a lawyer to interview someone with a private

3    view as obstruction of justice in some instances.                     3    investigator to ask questions, that that's improper?

4    Q.   To interview somebody?    Just to interview somebody is          4    A.   I stated that it would be highly unusual and possibly

5    obstruction of justice?                                               5    improper for the lawyer for a company to interview people

6    A.   It could absolutely get counsel in trouble with the              6    outside the company like third parties if that lawyer had an

7    Department of Justice if you speak to other subjects or targets       7    understanding that the government might be investigating the

8    of a criminal investigation that you know to be ongoing as            8    interactions between the company and that person.

9    counsel to another party that may also be under investigation.        9               Maybe the F.B.I. wanted first crack at that person and

10   The department of justice could view that as you trying to get        10   would view the company reaching out to that person as

11   your story straight with the person outside of the company.           11   interfering with the government's criminal investigation.    This

12   There is a term of art for this, it's called deconfliction.      It   12   is a standard aspect of corporate white collar practice.

13   is the best practice for conducting internal investigations.          13   Q.   Mr. Wilson, you're saying it's improper just to interview

14   If you are going to speak to somebody outside the company, to         14   somebody?    Is that what you're saying?

15   raise that with the government before you do it, because, as I        15              MR. PODOLSKY:    Objection.

16   say, it can be regarded as misconduct by the Department of            16              THE COURT:   We have been over this now this is the

17   Justice.                                                              17   third time.    We're not going to go over it again.

18   Q.   Mr. Wilson, not all internal investigations occur with the       18              MR. H. SREBNICK:   Understood, Judge.

19   government's participation.     You're not saying that, are you?      19   Q.   If we could turn to page 16, line 16.

20   A.   I was referring to instances when an internal investigation      20              (Audio played)

21   is being conducted by a company during the pendency of a              21   Q.   This is a discussion about what Geragos describes as the

22   federal criminal investigation.                                       22   penalty clause.    Do you see that?

23              There are certainly internal investigations that           23   A.   I was referring back to this notion that Mr. Avenatti had

24   happen when there isn't a federal criminal investigation              24   raised at our previous in-person meeting that if Nike decided

25   pending.    In this instance there was one.                           25   to engage some other law firm to conduct an internal

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1    investigation, that Nike would have to pay him and Mr. Geragos          1    connection to or involvement in some way with USC about prior

2    two times the dollar amount of the fees paid to the law firm            2    investigations at that university.

3    actually doing the work.                                                3    Q.   At page 17, line 13, he says, "Every time USC" -- and you

4    Q.   And Geragos called it a penalty clause?                            4    understood that to be University of Southern California?

5    A.   Here I think he was referring to the same thing that I was         5    A.   I did.

6    referring back to, yes.                                                 6    Q.   "Every time USC hires the same law firm, who will remain

7    Q.   And so if we turn to page 17, line 7.                              7    nameless, who does a quote unquote, investigation, that quote

8               (Audio played)                                               8    unquote investigation, is nothing but a whitewash ..."      Do you

9    Q.   So, do you hear that Mr. Geragos is defending what had been        9    recall him saying that?

10   described as a favored nations clause, or he called it a                10   A.   I heard it, yes.

11   penalty clause?    He was explaining why he thought it was              11   Q.   And Mr. Geragos was communicating to you that the

12   appropriate.                                                            12   investigation should be done by lawyers who won't conduct a

13              MR. PODOLSKY:    Objection, your Honor.                      13   whitewash, right?

14              THE COURT:   I will allow the witness to answer.             14   A.   I understood him to be telling me an anecdote about USC

15   A.   I understood Mr. Geragos to be offering reasons for why an         15   conducting internal investigations, and I took him to be using

16   internal investigation should be conducted into corruption in           16   the phrase white wash in a negative pejorative way.

17   amateur basketball and Nike.                                            17   Q.   Boies Schiller conducted an internal investigation and

18   Q.   Well, do you have the transcript, page 17 -- starting the          18   continues to conduct an internal investigation of the

19   top of page 17, line 1, the actual transcript.       We can play it     19   allegations that we have been talking about here, paying

20   again, but this follows your question about the penalty clause,         20   players, directing false invoices, things of that nature?

21   doesn't it?                                                             21   A.   Boies Schiller began to conduct an internal investigation

22   A.   It follows Mr. Avenatti's response to my question.                 22   on behalf of Nike when we were retained following the company's

23   Q.   And Mr. Geragos is expressing concern that the                     23   receipt of the grand jury subpoena in September 2017.      The

24   investigation shouldn't be a whitewash.                                 24   internal investigation was certainly continuing at the time of

25   A.   He was telling me a little story about, as I took it, his          25   the meetings I had with Mr. Avenatti.

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1    Q.   I think you told us today it's continuing on as we speak.          1               (At the side bar)

2    A.   To the best of my knowledge.     I'm not aware that it's           2               THE COURT:   I thought I was clear about this, but

3    concluded.                                                              3    apparently not clear enough.     So what I allowed you to do was

4    Q.   Have any of the Nike executives who were directing Franklin        4    ask this witness -- first of all, he was involved in the

5    to make fake invoices, pay family members of players, pay               5    investigation and the investigation that concerned Franklin.        I

6    handlers, have any been terminated?                                     6    told you ask him about that.     I thought I was pretty clear that

7               MR. PODOLSKY:    Objection, your Honor.                      7    we're not going to get into, you know, everything that Boies

8               THE COURT:   Sustained.                                      8    Schiller did or did not uncover with respect to Nike's

9    Q.   Has Boies Schiller found any misconduct in the course of           9    involvement with amateur athletics.       That's not what we're

10   its internal investigation?                                             10   doing here.

11              MR. PODOLSKY:    Objection.   Objection, your Honor.         11              MR. H. SREBNICK:    Understood.

12              THE COURT:   I will hear the parties -- the lawyers at       12              THE COURT:   The reason I went through it this morning

13   side bar.                                                               13   was I was trying to communicate with you that questions in this

14              (Continued on next page)                                     14   area have to be very focused.

15                                                                           15              MR. H. SREBNICK:    I will focus them.

16                                                                           16              THE COURT:   And we're not going to talk about Boies

17                                                                           17   Schiller as the firm.     You're going to ask him what he knows

18                                                                           18   and what he did, and it's always got to be in the context of

19                                                                           19   Franklin.

20                                                                           20              MR. H. SREBNICK:    Will do.

21                                                                           21              (Continued on next page)

22                                                                           22

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1               (In open court)                                           1    Q.    I'm talking about Scott Wilson now as part of the internal

2    BY MR. H. SREBNICK:                                                  2    investigation team, related to the allegations that

3    Q.   Mr. Wilson, I want to focus my questions.    When I say         3    Mr. Avenatti presented regarding Mr. Franklin at the meetings

4    internal investigation, I'm talking specifically about the           4    in March 2019.      Do you know what I'm referring to?    Those

5    Franklin matter, the evidence that you saw Mr. Avenatti present      5    allegations, directing payments, directing Franklin to make

6    to you.    You were part of the internal investigation team at       6    payments, involved with Franklin to make payments, things of

7    Boies Schiller until you left?                                       7    that nature.      That's what I'm referring to.   OK?

8    A.   I was part of the team at Boies Schiller engaged by the         8    A.    I understand you're referring to the allegations by

9    company following its receipt of the grand jury subpoena -- in       9    Mr. Avenatti beginning with the March 19 meeting.

10   addition to assisting the company and responding to the              10   Q.    An internal investigation was already underway.       You were

11   government's subpoena -- that conducted an internal                  11   participating in it at the time?

12   investigation at the company.                                        12   A.    There was an internal investigation that had been under way

13   Q.   Specifically with respect to the allegations that               13   since September 2017, and I was part of the Boies Schiller team

14   Mr. Avenatti presented to you in March of 2019, did you as the       14   working on that investigation.

15   person participating in the internal investigation make any          15   Q.    As of March 2019 you were working at Boies Schiller,

16   findings or recommendations regarding -- I will stop the             16   correct?

17   question.                                                            17   A.    Yes.

18              Judge, I prefer that you ask the question at this         18   Q.    When you met ET with Mr. Avenatti you were working at Boies

19   point, so I don't --                                                 19   Schiller.

20              THE COURT:   I'm actually not going to ask the            20   A.    I was a partner in the firm.

21   questions here.    You are.   I have tried to be very clear about    21   Q.    You told us you had already heard of these allegations that

22   what is relevant and what is not, so I think you can ask the         22   Mr. Avenatti brought to your attention during the course of

23   question.                                                            23   your internal investigation; is that correct?

24   Q.   Just wait for an answer if he has an objection, please.         24   A.    No, I believe I said I had already heard of Mr. Franklin

25   A.   Sure, of course.                                                25   and his program.      Some of the specific allegations that

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1    Mr. Avenatti raised were new to me.                                  1    which one or more players in the Cal Supreme program were

2    Q.   Those were new to you?                                          2    discussed.

3    A.   Some of the things that he said, some of the documents I        3    Q.    You said you listened to calls that Boies Schiller made to

4    saw -- which were not Nike documents -- were knew to me.             4    the U.S. Attorney's Office?

5    Q.   But the allegations, were those new to you?     Or did you      5    A.    I said that I and others of my colleagues had called with

6    already know as part of your performing an internal                  6    the U.S. Attorney's Office during the course of our work.

7    investigation at Nike for some 16 months by then that DeBose         7    Q.    And did you document your participation in those calls?

8    and James were directing Franklin to create false invoices to        8    A.    I don't recall how many of the calls I personally

9    pay cash to family members?     Did you know that -- you, Scott      9    participated in.

10   Wilson -- know that as the person participating in the internal      10   Q.    Would there be records showing which calls you participated

11   investigation?                                                       11   in?    Billing records, for example, where you bill for your

12   A.   The interactions between Mr. Franklin and Mr. Ayton and his     12   time.

13   family were, as I've said before, part of what Boies Schiller        13   A.    I did bill for my time on an hourly basis, and in general

14   had been sharing with the government for more than a year --         14   if I participated in a call with the government, I would

15   proffering with the government -- for more than a year before I      15   reflect that in my billing entries.

16   met with Mr. Avenatti.                                               16   Q.    Do you know if you participated in a call with the

17              As to the specific allegations that he raised in the      17   government in November of 2017 where Boies Schiller or

18   meeting, I don't have perfect recall of them, but certainly we       18   representatives of Boies Schiller called the government to make

19   produced many documents relating to Mr. Franklin and Mr. Ayton,      19   a proffer -- without getting into the details -- November of

20   Cal Supreme.    There had been in-person meetings with the           20   2017.

21   government at which those two individuals in that program came       21   A.    I recall that --

22   up, to my understanding, although I didn't attend those              22                THE COURT:   What year are we talking about?

23   meetings.    And also there were a number of phone calls that I      23                MR. H. SREBNICK:   November 2017.

24   or colleagues of mine at Boies Schiller had with the U.S.            24                THE COURT:   Oh, it's just November 2017.   OK.

25   Attorney's Office with the Southern District of New York in          25                MR. H. SREBNICK:   I can get a more precise --

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1               THE COURT:   No, that's fine.                               1    cursive handwriting. which is why it's taking me some time.

2               November 2017, do you remember participating in a           2                OK, I've read it as best I can.

3    call?                                                                  3    Q.   The only question is whether it refreshes your recollection

4               THE WITNESS:    Without -- I am aware that Boies            4    whether you participated in a phone call in November of 2017

5    Schiller attorneys spoke to the government in the fall of 2017         5    with the government.

6    by phone.    I don't recall whether I participated.                    6    A.   It does not refresh my recollection in that regard.

7    Q.   Would your billing records answer the question of whether         7    Q.   Do you recall if you participated in a conversation with

8    you were a participant or at least a listener on the call?             8    the government on behalf of Boies Schiller in December of 2017,

9    A.   They might.                                                       9    perhaps more precisely on December 14, 2017?

10   Q.   But as you sit here today, you just don't remember?               10   A.   I do not recall.

11   A.   I don't.                                                          11   Q.   If I may show you what we're marking as WW.      The Bates

12   Q.   Let me show you a document and see if this refreshes your         12   number is 3552-035.

13   recollection.    I'm going to show you what we are marking as VV,      13               May I approach, Judge?

14   V, Victor.                                                             14               THE COURT:   Yes.

15              Can I approach?                                             15   A.   I'm sorry.    What was the question, counsel?

16              THE COURT:   Yes.                                           16   Q.   Yes, the question is:      Does that refresh your recollection

17              MR. PODOLSKY:    Your Honor, can we have a copy?            17   whether you personally participated or listened in on a

18   Q.   If I could just announce for the record, this is VV, V,           18   conversation between Boies Schiller on behalf of Nike and the

19   Victor with a Bates number 3552-034.                                   19   federal prosecutor sometime in or about December 2017, perhaps

20   A.   Would you like me to read this?                                   20   December 14, 2017?

21   Q.   Yes, to see if it refreshes your recollection.                    21   A.   It does not refresh my recollection.      The recollection I

22              Do not publish it to the jury, please.                      22   have is that certain partners of mine took lead responsibility

23   A.   I apologize.   I'm only able to read about --                     23   for communicating with the U.S. Attorney's Office.

24   Q.   I'm having trouble hearing you.                                   24   Q.   Did you provide any input to those partners?

25   A.   I am only able to read about 60 to 70 percent of this             25   A.   I spoke often to my partners about the work we were doing

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1    together.                                                              1    Phoenix for a turn-around trip to give cash to a mother of an

2    Q.   I want to revert back to the questions that got me into           2    NBA prospect, were you already aware of that?

3    this issue of talking to the government.                               3    A.   I recall very specifically that this flight to Phoenix was

4               I was asking you earlier when Mr. Avenatti presented        4    something that I newly learned about in the course of the

5    you with the documents regarding Franklin being asked by DeBose        5    meeting on March 19.     That was not something of which I had

6    and James to pay family members of players, handlers,                  6    been focused or recall being aware of before my meeting with

7    specifically Franklin's matters, were you aware of that at the         7    Mr. Avenatti.

8    time Mr. Avenatti brought it to your attention?                        8    Q.   Were you aware that Nike executives had directed

9    A.   I apologize.   Could you ask that one more time?                  9    Mr. Franklin to give cash to the mother of Mr. Ayton?

10   Q.   The documents that Mr. Avenatti presented to you, the             10   A.   No, I was not aware of that allegation prior to

11   allegations that he presented to you, were you already familiar        11   Mr. Avenatti stating it in our meeting.

12   with the allegation that Franklin had been directed by Nike            12   Q.   Had you as part of your internal investigation already

13   executives to pay handlers, that Franklin had been directed to         13   interviewed either DeBose or James, employees at Nike?

14   falsify invoices, that Franklin had been directed to structure         14   A.   Yes.

15   cash payments $5,000 here, $5,000 there?      Were you already         15   Q.   And that internal investigation didn't reveal that these --

16   familiar with those allegations?                                       16   that this payment was made, correct.

17              MR. PODOLSKY:    Your Honor, I'm going to object at this    17               MR. PODOLSKY:   Objection, your Honor.

18   point.   It's vague and compound, and I think it's been asked          18               THE COURT:   Sustained.

19   and answered as well.                                                  19   Q.   Did you ask DeBose or James during the internal

20              THE COURT:   The problem is it's compound, so I think       20   investigation whether either of them had directed Franklin to

21   you're going to have -- in order to get a clear answer you have        21   get on a plane, go deliver cash to the mother of an amateur

22   to go category by category.                                            22   basketball player?

23              MR. H. SREBNICK:    Very well.                              23               MR. PODOLSKY:   Objection, your Honor.

24   Q.   When Mr. Avenatti presented you documents showing you that        24               THE COURT:   Overruled.

25   Mr. Franklin had been asked to get on a plane and fly to               25   A.   You're asking me to describe communications I had in my

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1    capacity as counsel to Nike with employees of my client?               1               (At the side bar)

2    Q.   Yes.                                                              2               THE COURT:   It might make sense to have Mr. Skinner

3    A.   It's difficult for me to see how, because internal                3    come up.

4    investigations, as we discussed a few times, are privileged.           4               MR. H. SREBNICK:    I see it's 1:25.    Did you want to do

5    It's difficult for me to see how I can answer that question            5    this during a break for the jury?

6    when phrased in terms of what I may have discussed with any            6               THE COURT:   Does anyone on the jury need a break at

7    Nike employee when I was acting in the capacity as counsel to          7    this point?      All right.   So we will take a brief recess.

8    the company and interviewing them in my capacity as such.              8               OK.   To sort of summarize the pending question,

9                MR. S. SREBNICK:   Judge, may I ask if he is asserting     9    Mr. Srebnick was asking Mr. Wilson whether he asked Mr. DeBose

10   a privilege?                                                           10   and Mr. James whether they had asked Mr. Franklin to make

11               THE COURT:   I will see the lawyers at side bar.           11   certain payments.     That's sort of what the pending question is,

12               (Continued on next page)                                   12   right?

13                                                                          13              MR. H. SREBNICK:    Yes.

14                                                                          14              THE COURT:   And then Mr. Wilson seems to be asserting

15                                                                          15   privilege.

16                                                                          16              MR. SKINNER:   Yes, and I think properly so.    He asked

17                                                                          17   a question that seeks privileged information.        Privilege has

18                                                                          18   not been waived.      What I might suggest is if questions be

19                                                                          19   framed as to what Mr. Wilson's understanding is of the

20                                                                          20   communications that were made by the company to the government,

21                                                                          21   which of course would not be privileged.

22                                                                          22              THE COURT:   How about that?

23                                                                          23              MR. H. SREBNICK:    Well, that would certainly be an

24                                                                          24   additional area I would like to go into, but the Court had

25                                                                          25   foreclosed me from doing that unless I could prove Wilson was

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1    the one who made the statement.                                        1               MR. S. SREBNICK:    If I may respond.    As I understand

2                MR. SKINNER:   Well, ask him what he knows, and then he    2    Mr. Wilson's testimony, Nike through Boies Schiller has been

3    can testify as to what he knows.       But you are asking him about    3    cooperating with the government for the last two and a half

4    a down-the-middle privileged communication.                            4    years now.    They have orally downloaded a lot of information to

5                MR. H. SREBNICK:   So, your Honor, I'm not convinced       5    the government through proffers, through meetings.        They have

6    it's privilege.     It may be work product, but I don't know it's      6    turned over a lot of information.       They have received multiple

7    an attorney/client privilege.      The lawyer, Mr. Wilson, is not      7    notes of discussions that they've had, and I would suggest that

8    representing either DeBose or --                                       8    they have waived any privilege.

9                MR. SKINNER:   Can I explain Upshine, your Honor?          9               There is a case I litigated called SEC. v. Herrera out

10               THE COURT:   I don't think you need to.   Let me ask you   10   of the Southern District of Florida that when a law firm in

11   this.   What was the point of me issuing a 502 order?                  11   connection with an internal investigation orally downloads the

12               MR. SKINNER:   The point of the 502 order was to           12   results of the investigation to the U.S. Attorney's Office,

13   protect inadvertent disclosures of privilege.       What he is being   13   that that's a waiver of the privilege.

14   asked to do right now is he is asking a lawyer to testify as to        14              I know this court has ruled in a case about six or

15   a communication with his client to gather information in the           15   seven years ago -- and I think the name of the case was

16   course of gathering legal advice when the company has made             16   Guirm -- that where there have been meetings with law

17   clear it's not waiving its privilege.                                  17   enforcement relating to investigations, that the law firm

18               So, the 502 was to protect against inadvertent             18   waives the privilege.

19   bleed-outs.     I am up here on behalf of the company asserting        19              So, what we're dealing here with is I think really

20   privilege.     This is not an inadvertent bleed-out, and you're        20   fact work product.      There was questions about whether he, Mr.

21   asking for a privileged communication.                                 21   Wilson, asked certain questions of Mr. DeBose and Mr. James and

22               I have offered another mechanism to try and elicit the     22   what the results of those questions were.       So, I think that's

23   information if he knows what was communicated to the                   23   probably the lowest form of privilege in our system.       We would

24   government, because that would not be privileged.       But he is      24   submit that that privilege would have been waived.

25   asking about something I think is plainly privileged.                  25              MR. SKINNER:   No, I disagree with that

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1    characterization.    To the contrary, it's the highest form of          1               THE COURT:   See, one problem is I know from the 3500

2    privilege because it's a question by an attorney -- it's an             2    material that a number of Boies lawyers were interviewed by the

3    interview by an attorney of his client.        This is an               3    government, but I don't really have a sense of what was

4    attorney/client communication.      This is not an attorney work        4    disclosed at those meetings.       So can somebody enlighten me?

5    product.                                                                5               MR. RICHENTHAL:    I don't know that this will be

6               The waiver argument -- look, I'm going to put the            6    meaningfully enlightening, but we have produced every page of

7    waiver argument to the side because we don't have anything              7    every set of notes ever taken by a member of the United States

8    close to a sufficient factual argument to suggest that there            8    Attorney's Office of which we are aware to both the Court and

9    has been a broad subject matter waiver over all of our                  9    to the defense, so all of that material has been produced.         To

10   interviews with company employees.                                      10   our knowledge -- and I think Mr. Wilson just testified -- he

11              The problem that I have with this is a specific              11   was present at exactly zero of those meetings.       But to the

12   questioning about what happened in an interview with                    12   extent that any --

13   Mr. DeBose.    What we're talking about here is the bias and            13              THE COURT:   But that is not really responsive to this

14   motive of a witness who is testifying on the stand.         You want    14   issue.   What we're talking about now is whether Nike has waived

15   to get into his mind what he knows about what was communicated          15   the privilege or not.

16   to the government?      I think all of that is irrelevant and           16              So, I take your point that he wasn't at meetings with

17   doesn't go to bias or motive anyway, but I think you've been            17   the government -- although I think he has indicated that he did

18   allowed some leeway there.      Stick to that.                          18   participate in some conversations with the government.

19              THE COURT:   You're not really here to talk about            19              But setting that aside, we're having a conversation

20   what's relevant or irrelevant.      Your only role here is to talk      20   now about whether Nike has waived the privilege or not, and I

21   about what you think is privileged.      You're not here to talk        21   pointed out that I am aware from the 3500 material that a

22   about relevance.                                                        22   number of Nike lawyers went in and talked to the government,

23              MR. SKINNER:   I have told you what I think is               23   and so I asked, well -- and you've seen these 302s presumably.

24   privileged, and I think I have offered an alternative mechanism         24              MS. PERRY:   I can speak to that, your Honor.

25   for them to ask their question.                                         25              THE COURT:   So the question is whether privilege was

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1    asserted during those meetings or whether a waiver took place,          1    a particular page I should be looking at?

2    and so that's what I'm trying to find out.                              2               MS. PERRY:   It's not particularly easy to decipher.

3               MR. RICHENTHAL:    I think I misunderstood the Court's       3               MR. H. SREBNICK:     If I can retrieve it from the

4    framing.    None of the members of his team were at any of those        4    witness, I used it to refresh.

5    meetings, so our knowledge is actually limited to the same              5               THE COURT:   Sure.

6    notes.   We can obviously inquire if the Court directs us to do         6               MS. PERRY:   I will just preview.    There is one section

7    so.   I'm not aware in our conversations with the team that was         7    where Boies -- there is a couple of sections.       One is at the

8    part of that investigation of any ask that privilege be waived.         8    top of page 6.    Earlier there is a discussion about a company

9    I am not aware of that subject arising, but my awareness is             9    named Position Sports through which a lot of payments to

10   really limited to conversations I have had and review of notes,         10   players and their families have been made with fake invoices,

11   and so I really don't want to overrepresent my state of                 11   and at the top of page 6 it says "DeBose estimated he handed

12   knowledge.                                                              12   out about 20K cash this way a year.       No receipts.   Not given

13              MS. PERRY:   Your Honor, there is one set of notes from      13   directly to players or families."

14   January 31, 2018 with a number of Boies Schiller lawyers and            14              There is another section where they're talking about

15   members of the government in which they debrief the government          15   payments I believe it's right underneath that.       It says also on

16   on a conversations, an interview they had had with DeBose               16   page 6, 9/16, "two payments to Mel McDonald made through

17   specifically -- which I believe is what this question was               17   Position Sports.    These are the 35K "repayment" to McDonald."

18   geared towards -- in which they gave exculpatory statements             18              And there is other discussion within these notes about

19   about how Mr. DeBose -- this is a quote, I guess -- was paying          19   how Mel McDonald had paid approximately $65,000 to the family

20   cash and that the money, however, was not given directly to             20   of DeAndre Ayton and how Nike through DeBose had paid back

21   players or families.      There are a couple of other statements in     21   approximately 35,000 in cash.       They were saying that it was

22   addition.                                                               22   not -- Nike employees including DeBose were saying that that

23              THE COURT:   This is in the 3500 material?                   23   money was not to go to players but actually to just repay for

24              MS. PERRY:   Yes, your Honor, it's 3552-038.                 24   certain expenses Mr. McDonald had paid out and expenses that he

25              THE COURT:   OK.   I'm looking a the 3552-038.    Is there   25   had in connection with the California Supreme merger.

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1               So DeBose was specifically saying that these payments        1               I also want to make a small point -- or maybe a

2    that he was acknowledging were for no illicit purpose and they          2    foundational point.   As I understand the Court's ruling of

3    were not going to players or their families.                            3    yesterday, the defense was permitted to ask Mr. Wilson whether

4               MR. RICHENTHAL:   So, I think we've gone several layers      4    he had interviewed Mr. Auerbach and Mr. Franklin.      This is

5    beyond the Court's question.     If I understand the Court's            5    about another person, Mr. DeBose.     We did not object because

6    question, the Court's question was limited to one fact and one          6    we're trying to give the defense some leeway here.      We don't

7    fact only, which is in this meeting did representatives of Nike         7    want to object too much.     But this is beyond what we understood

8    describe what Mr. DeBose said.       I believe, based on my review      8    the Court to think was proper.

9    of notes, the answer is no.     And I believe that because these        9               Whether Mr. Wilson asked Mr. DeBose a question, in our

10   notes, among many other sets of notes we produced, specifically         10   view -- and I'm staying in my lane -- is not relevant.     It's

11   refer to tabs, t-a-b.     Those tabs refer to binders, that is,         11   not relevant because what he asked Mr. DeBose is not the point.

12   actual documents, e-mails, text messages and the like, that             12   As I understand the point -- if there is any point -- it's

13   were previously produced by Nike to the United States                   13   whether in the room on March 19 Mr. Wilson had prior knowledge

14   Attorney's Office and have been provided to the defense in this         14   of certain facts and whether that prior knowledge influenced

15   case.                                                                   15   his reaction to Mr. Avenatti's threats.      I think that is a

16              My understanding -- but I just want to be clear it's         16   modicum of relevance, if any, and I think it's very confusing

17   based on the four corners of the document alone -- is that what         17   to the jury.    The Court has previously ruled that defense can

18   is going on in this meeting is that the participants are going          18   go there, but if that's the germ -- to use your Honor's

19   through a binder tab by tab, and representatives of Nike are            19   point -- if that's the germ of relevance, it should be focused

20   describing their understanding of the facts based on those text         20   on when Mr. Avenatti said X, did Mr. Wilson have prior

21   messages and e-mails.     I don't believe based on the four             21   knowledge of X, not whether he interviewed his own client and

22   corners of this document they are describing what the human             22   what his own client said, which gets into the truth or lack

23   beings told them.    It may be so.     I don't want to go too far.      23   thereof of X, which under Jackson the Second Circuit has said

24   But I don't think the Court has a sufficient record to deem             24   it is irrelevant and certainly doesn't go to Mr. Wilson's

25   this a waiver when the notes themselves refer to tabs.                  25   reaction.

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1               MS. PERRY:   Your Honor, I'll respond first to the           1    government not to charge the company.     Is that wrong?

2    small point, and then I understand we are arguing something             2               MR. SKINNER:   Well, first of all, we weren't -- at

3    that your Honor has ruled on.                                           3    this point in time we were reporting facts as we understood

4               But at the top of page 6 it says, "DeBose estimated he       4    them to the government.     We were not making any effort to

5    handed out about $20,000 of cash this way a year."         That's --    5    persuade them what to do one way or another.      This was our

6    clearly, it's not based on a document there.       It's talking         6    first meeting with the government.     Any kind of discussion

7    about What he said.                                                     7    about what the government might do with the information we had

8               THE COURT:   Does anyone know who was at this meeting        8    gathered would have been well down the road.

9    on behalf of Nike?      It just says meeting with Nike.                 9               But I think with respect to the privilege, what we

10              MR. SKINNER:   I was at the meeting, Judge.                  10   were attempting to do was explain to them what was in documents

11              THE COURT:   You were at the meeting.    So you and who      11   that we have gathered, and we were also attempting to do what

12   else?                                                                   12   corporate counsel does routinely when going in to proffer with

13              MR. SKINNER:   And Mr. Michaelson, who is behind me.         13   the government, which is synthesize a lot of information that

14              THE COURT:   All right.   So, we know who was there.         14   were obtained from a lot of different witnesses during

15              You know, all I can tell you is that companies cannot        15   interviews.    So, it was a combination of sources with

16   selectively wage the privilege.       You can't do that.   In other     16   information.

17   words, you can't go into the government and present an                  17              There certainly wasn't an intent to waive

18   exculpatory argument in which you use information to persuade           18   attorney/client communications over the specific interviews, so

19   the government not to indict the company and then argue later           19   going back to who said what on what day and what question and

20   that somehow the privilege was preserved.       That you cannot do.     20   the like, but I'm also not going to dispute that we did provide

21   So, I don't know whether that's what happened here or not, but          21   an overview of the facts that we had gathered in our

22   I am clear on the legal point.                                          22   information.    Facts are facts; you can communicate facts.

23              So, what I think Ms. Perry is saying is that this            23   Privileged communications are privileged communications.       What

24   looks like a report of what DeBose told you, that you are then          24   a lawyer says to his client is privileged; the fact of what

25   reporting to the government in an effort to persuade the                25   happened is not.

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1               THE COURT:   But DeBose wasn't his client.                 1    more complicated question of whether there was a waiver or not

2               MR. SKINNER:   DeBose was an employee of the company,      2    as a result of our proffers on the 18th.

3    so it's encompassed within Nike's privilege.                          3               THE COURT:   Well, to state the obvious, I would need

4               THE COURT:   Well, I've already told you what my view      4    briefing on this.    If the two of you can't reach sort of a

5    is.   So, you know, you can and should give me the fullest            5    compromise, it's going to have to be briefed.        I can't allow

6    understanding that you can of what exactly it was you told the        6    you to pursue the pending question at this point without

7    government and what the source was so that I can evaluate the         7    resolving whether there has been a waiver or not.

8    privilege.                                                            8               MR. RICHENTHAL:   May I make a related suggestion?

9               But, you know, I've told you my understanding of the       9    Could the defense proffer where it intends to go?        Because here

10   law now:    You can't go in and meet with the government and          10   is why.    I don't know the answer to the question.      Let's assume

11   present what you claim to be an exculpatory spin on things and        11   the witness says, yes, I asked that.     Is the defense then going

12   then later prevent another party from accessing the same              12   to say, what did he say?     Because then we're going into the

13   information that you voluntarily disclosed to the government.         13   truth or lack thereof the allegations.        Let's say he says I did

14   That you cannot do.                                                   14   not ask that.    Are we done here?   Are they trying to somehow

15              MR. SKINNER:   I don't dispute that, Judge.    What I      15   probe the integrity of the investigation -- which your Honor

16   think we can do is communicate facts as we understand them to         16   has already ruled they cannot do?     In other words, I don't see

17   the government without having a broader waiver of privilege           17   a yes answer or a no answer goes to anything the Court has

18   over all of the interviews that we conducted.                         18   ruled as acceptable.

19              We have our own detailed notes of that meeting.      I'm   19              Again, I understood -- and I could have been wrong --

20   happy to come back with a more detailed proffer as to what our        20   that the Court had said they can allow the defense to probe

21   understanding is of what was said and what the basis is for           21   whether Mr. Wilson was aware of core facts to the extent that

22   those communications.     But what is being talked about here is a    22   could have bore on the degree of concern he had or did not

23   question that just goes to a privileged communication, and I          23   have.

24   think we have offered ways for them to get this information to        24              THE COURT:   As it relates to Franklin.

25   the extent it is relevant to bias and motive that don't go the        25              MR. RICHENTHAL:   Yes, your Honor.    This actually is

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1    one removed from that.     Remember this is Mr. DeBose.    I          1    hearing, the defense could ask him what was knew and what

2    understand Mr. DeBose is related, but it's not the same man, so       2    wasn't new?    What did you know about before?      What didn't you

3    it's already, I think a level beyond.                                 3    know about before?

4               THE COURT:   But isn't it wrapped up with Franklin?        4               THE COURT:   This isn't helpful to me.     OK?   It's not

5    Isn't it directly related to Franklin?        I mean I don't know,    5    helpful to me.    So, the pending question is about Franklin;

6    because I mean the lawyers here know the facts much better than       6    it's about Franklin's allegations.     It not about anyone else's

7    I do, but I thought the idea was -- and somebody correct me if        7    allegations; it's about Franklin's allegations.        So, it does

8    I'm wrong -- that DeBose is one of the Nike employees that            8    seem to be focused on the area that I told the defense they

9    allegedly directed Franklin to pay money to the families of           9    could explore with him.

10   players.    I thought that's what we were talking about here.         10              So, I take your point that DeBose was involved with 40

11   So, it seems to me that DeBose is intimately wrapped up in the        11   other coaches, but it's not a point that's particularly useful

12   Franklin allegations, as I understand them to be.        Am I         12   to me, because their pending question is focused on Franklin's

13   confused about that?                                                  13   allegations.

14              MR. RICHENTHAL:   No, your Honor, but Mr. DeBose deals     14              MR. SKINNER:   Can I ask another question that

15   with more than three dozen coaches of which Mr. Franklin is           15   hopefully might nullify some of this?

16   only one.    Mr. Franklin has specific allegations with respect       16              THE COURT:   Sure.

17   to his interactions with Mr. DeBose.     So, there is a core to       17              MR. SKINNER:   Can I get a representation from the

18   what your Honor has just said that's a hundred percent correct,       18   defense that if I can get an agreement from my client as to a

19   but this gets into why I think both sides have repeatedly been        19   limited waiver with respect to this question -- which I am

20   litigating and raising this, and rightly so, because this gets        20   speculating Mr. Wilson is not going to know the answer to or

21   real complicated real quickly.                                        21   remember -- but maybe he will -- but if we get an answer to

22              What we understood the Court to say in sum was that to     22   this question, can we just move on?     Or are you then going to

23   the extent one could argue that Mr. Wilson's contemporaneous          23   say I've now opened the door and I can ask about all sorts of

24   reaction to Mr. Avenatti was informed on Mr. Wilson's                 24   other stuff from all sorts of other interviews?        In which case

25   contemporaneous knowledge or lack thereof of what he was              25   I'm going to be vigorously policing the privilege.

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1               THE COURT:   Well, I don't want to speak for the             1    pejoratively -- on a high horse about how investigations are

2    defense, but I think the point that they're trying to make is           2    conducted and that you can't use private investigators and you

3    that Mr. Wilson was aware of Mr. Franklin's allegations that he         3    can't interview people outside the company as if almost he is

4    had been told to pay money to people, and that despite that             4    an expert on internal investigations.

5    knowledge nothing bad happened to the Nike employees that               5               THE COURT:   Well, I might say that everything he said

6    allegedly had told Franklin to do this.                                 6    about internal investigations is really consistent with my own

7               MR. SKINNER:    Look, as a factual matter I think what       7    knowledge.    I mean it's not typical for a law firm that's

8    he just testified to was he wasn't aware of this specific               8    conducting internal investigation of a corporation to hire PIs

9    allegation, but he was aware -- it's all over the 3500 -- of            9    to do it.    That's just not typical.    You use lawyers to do it

10   payments that were being made to another guy named Mel McDonald         10   to protect the privilege.      So, that's not exactly crazy

11   who said that he had paid the Ayton family.                             11   testimony; that's pretty consistent with the way the world

12              THE COURT:   Does Mel McDonald have anything to do with      12   really works.

13   Franklin?                                                               13              And his other point is if you are conducting an

14              MR. SKINNER:    Yes.   It's all the same program.   So       14   internal investigation, it would not be common.        As the name

15   that's what we knew about.        That's what was disclosed to the      15   would indicate, the reason why it's an internal investigation

16   government.    What he is saying is I didn't know about this one        16   is because it's an internal investigation.        You would not

17   trip to Phoenix.                                                        17   typically interview people who are not associated with the

18              THE COURT:   Well, he has said that.                         18   company.

19              MR. PODOLSKY:    Your Honor, I would like nothing more       19              And the third point he made is that were you to

20   than to move on with the cross and not deal with this, but the          20   approach people outside the company, the government might well

21   defense can ask what his knowledge was without asking did you           21   be concerned about that, that you're trying to improperly

22   ask Carlton DeBose a particular question.                               22   tamper with their testimony, etcetera.

23              MR. S. SREBNICK:    Judge, there is a broader issue here     23              So, there is nothing that Mr. Wilson has said on these

24   which is really troubling me, which is that Mr. Wilson has              24   points that strikes me as illogical or crazy.        It's actually

25   testified -- and I don't want to use this term too                      25   consistent with my understanding of the way things work.

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1               In any event, your point is what?                            1    And none of this -- none of this -- is relevant to the conduct

2               MR. S. SREBNICK:    My point is that after a year and a      2    of Mr. Avenatti.

3    half of doing this internal investigation, as of March 2019,            3               MR. S. SREBNICK:    Judge, let me just make two points

4    this investigation that was so consuming Nike employees, the            4    relating to phone calls that Nike lawyers from Boies -- it

5    central allegation of payments to players, especially the               5    doesn't say who from Boies -- had with the government.        The

6    number one pick in the NBA draft, they were still taking the            6    first is November 21, 2017.      This was Exhibit VV.    I am reading

7    position that there were no payments to players or their                7    the government's notes.      That's all I have.    It says, "No

8    families.                                                               8    instance in which Nike paid money to a player or his family."

9               MR. SKINNER:    Your Honor, why we are even down the         9    The following month, December 14, 2017, again a call with Nike

10   rabbit hole of what we said to the government I don't know, but         10   lawyers, "No evidence that Nike employees were playing

11   I have to respond to that.        We never took the position that       11   players."    That's the information we have been getting.     We can

12   there were no payments to players.        We said -- and we still       12   only rely on the information we have.

13   stand by it -- that we have never uncovered evidence of a               13              THE COURT:   But I guess my response is, so what?      So

14   payment to a player to send them to a particular college.               14   lawyers for Nike said the company didn't do anything wrong.

15   That's what we said.                                                    15   OK, so what?    Why is that relevant to anything?

16              MR. PODOLSKY:    Your Honor, we have a lay jury that         16              MR. S. SREBNICK:    It's relevant because Mr. Wilson,

17   does not know how investigations work.        Mr. Srebnick wants to     17   who was participating in that investigation, actually knows to

18   say all of these things, how it's crazy that an investigation           18   the contrary now.

19   could last a year and a half, two years, when everyone here             19              MR. RICHENTHAL:    He never said that on the stand.

20   knows there is nothing atypical about this at all.                      20              MR. SKINNER:   That's what you guys can try to ask him

21              The government has been receiving proffers and               21   about, and I'm just saying you should be able to do this in a

22   documents from this company.        And so what Mr. Srebnick wants to   22   way that doesn't invade the company's privilege.

23   do is get into details of an investigation, to say to the jury          23              MS. PERRY:   Just back to the point of the privilege

24   this is crazy, because they don't have the ability to judge             24   specifically with respect to Mr. DeBose.      There is another set

25   what is normal, crazy, typical, atypical in this situation.             25   of notes, and it's 3552-006, in which Nike is again discussing

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1    in great detail a number of documents including documents with          1    investigation at this time.      What we're now going to, all for

2    respect to this trip to Phoenix where they're quoting                   2    the purpose of showing additional bias, is whether he asked a

3    Mr. DeBose.    Mr. DeBose does not remember directing Gary              3    particular question of Mr. DeBose or what documents he was

4    Franklin going to Phoenix for the 5,000 payment.       It's at page     4    aware of at a particular time, none of which the jury has any

5    5.    And there is a number of other direct quotes.                     5    ability to assess.      And this has just gone way far beyond any

6               So, you know, maybe I'm just trying to avoid briefing        6    marginal value that the defense can draw from it, given that

7    on this topic, but it does seem as though they specifically             7    they've already brought out the bias, as your Honor said on the

8    waived the privilege with respect to Mr. DeBose.       It's             8    record already.

9    3552-006.                                                               9               THE COURT:   Where do you want to go with this exactly?

10              MR. SKINNER:    If there was a waiver, again it would        10   What's going to be the chain of questions?        So I guess the

11   not be a broad waiver.                                                  11   pending question is what he asked DeBose?

12              THE COURT:   I thought you said 3552-006.     I don't see    12              MR. PODOLSKY:   I believe the question is did you ask

13   anything that you just said.                                            13   DeBose in an interview about payments, in substance.

14              MS. PERRY:   I'm sorry.   3512-006.   I did misspeak.        14              THE COURT:   OK.   All right.   So where is this going

15              THE COURT:   Whose notes.   You don't know?                  15   from there?

16              MR. SKINNER:    It's also the distinction between --         16              MR. H. SREBNICK:    So, the context was Mr. Geragos

17   there is also a distinction between sharing facts and                   17   concerned about white washes.      That was the tape recording

18   sharing -- your Honor, if we're going to actually deal with             18   conversation.    And Geragos --

19   this, I don't want to be up here making representations on the          19              THE COURT:   But we're getting -- I mean I do -- I have

20   fly.    I want briefing and I need briefing.                            20   to say I'm getting concerned about the same issues that I

21              THE COURT:   All right.                                      21   raised at the outset of today, where I tried to signal to the

22              MR. PODOLSKY:    This goes directly to the 403 issue         22   lawyers that the case was not about the adequacy of the

23   here.    This is all being brought up in terms of his bias.       As    23   investigation that Nike had done or was doing.        It's not what

24   your Honor pointed out, they brought out that his client is             24   the case is about, and that's where you seem to want to go, and

25   under investigation.      It's been brought out that he was under       25   that's not what this case is about.        It's not about whether

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1    Nike did an adequate investigation.       It's not about whether        1    investigation of these allegations.        That's not what this case

2    Nike did a whitewash investigation.       That doesn't have any         2    is about.    I told you at the very outset this was a very narrow

3    bearing on Mr. Avenatti's guilt or innocence.                           3    limited exploration that went only to his credibility.       And as

4               So, I have concerns, because it seems like that's            4    the government points out, you have a lot of ammunition on that

5    where you want to go, and I have told you over and over again           5    front already, which I have said, which is that he has an

6    we can't go there.      This is not an exploration of whether Nike      6    obvious motive, and Nike has an obvious motive to curry favor

7    did a good investigation or not, and that's where you want to           7    with the government because they're currently under

8    go.    I can't allow you to do that, because that's not what this       8    investigation.    There is nothing hard to understand about that.

9    case is about.                                                          9    Or, as Mr. Avenatti would say, it's not complicated.

10              MR. H. SREBNICK:    What I would like to say is that the     10              MR. AVENATTI:   Your Honor, can I have a moment to

11   point of Wilson is that suggesting pejoratively that Avenatti           11   speak with my counsel?

12   and Geragos aren't competent to conduct an internal                     12              THE COURT:   Yes, thank you.

13   investigation compared to Boies Schiller, which is, was the             13              MR. AVENATTI:   Just one minute.

14   implication.                                                            14              MR. RICHENTHAL:    May we also step out?    I am not going

15              THE COURT:   Well, actually he made a different              15   far.

16   point -- which everyone standing here knows has enormous                16              MR. AVENATTI:   Your Honor, thank you.

17   merit -- which is that there is an obvious conflict.       You can't    17              THE COURT:   Does the government want to come back.

18   both represent someone who is adverse to a company and purport          18              MR. S. SREBNICK:    So just two additional points, the

19   to represent the company also.       Everyone standing here knows       19   first point being that Mr. Wilson has testified repeatedly --

20   that very basic proposition.      That's what Mr. Wilson has said       20   certainly starting on direct -- that Nike has fully cooperated

21   to the jury.    So, it hasn't been so much that they're                 21   with the investigation, and so I think we're entitled to probe

22   incompetent.    What it has been is that they have an obvious           22   whether they really cooperated with the investigation, what

23   conflict, and that is what it is.                                       23   they learned at least with respect to the Franklin allegations

24              So, back to my question.    We're not going to get into      24   and how that differed from what they had been telling the

25   whether Nike did, or has done, or is currently doing a thorough         25   government before and how it affects his own personal bias, his

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1    own concerns about what they had told the government before.             1    to take briefing from Boies Schiller, as well as briefing from

2    So that's point number one, to impeach his testimony about full          2    the defendant, and then I would have to have a much more

3    cooperation which is the government brought out.                         3    thorough understanding of what was actually disclosed to the

4               Number two, just on the issue of the conflict, I              4    U.S. Attorney's Office back in 2017.

5    understand the Court's point about that.       We understand that        5                So, that's where we're at.      So, if you want to get

6    once Mr. Franklin's claims are settled, that any conflict is             6    into that investigation with that level of detail, we're not

7    waivable at that point.      So, I just wanted to react to the           7    going to be able to proceed now.        It's as simple as that.

8    Court's point on that.      So, we have a slight difference of           8                MR. H. SREBNICK:     Today is Friday, and I will continue

9    opinion on whether it's a waivable conflict once Mr. Franklin's          9    my examination without this matter since I have more to do, so

10   claims are settled and based on what Mr. Franklin had                    10   we can table it until we break for the day, and we can go from

11   articulated to Mr. Avenatti he wanted to do.                             11   there.    So, I will just divert to other things we need to

12              THE COURT:   Listen, anything is probably waivable, but       12   cover.

13   any client would have to be out of their mind to hire a                  13               THE COURT:   Good.

14   plaintiff's lawyer to do an internal investigation of them; and          14               (Continued on next page)

15   everyone standing here knows that.                                       15

16              But as to your point about whether Nike fully                 16

17   cooperated, or whether it held stuff back, I have already told           17

18   you you can pursue that.      I ruled on that a long time ago.           18

19              And so, for example, if you have this theory that they        19

20   withheld documents until this issue first came to a head, and            20

21   then they turned over a bunch of stuff, and if you wanted to             21

22   pursue that, I have already told you you can.                            22

23              But now what we're getting into is a very thorny area         23

24   of privilege, which I cannot resolve now, so that the                    24

25   examination cannot proceed on this point, because I would have           25

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1               (In open court; jury present)                                 1    want to do it or anything else just like any other client.

2               THE COURT:   Mr. Srebnick, please continue.                   2                You saw that?

3               MR. H. SREBNICK:   Thank you, your Honor.                     3    A.   Yes.

4    Q.   Mr. Wilson, I am going to ask you some questions on a               4    Q.   Avenatti says at line 5:       Those aren't our decisions to

5    different topic.    I want to talk to you about page 17, line 21.        5    make.    Our decisions are to investigate this, report back to

6    This deals with the issue of self-reporting or self disclosing           6    Nike and then Nike makes a decision on what they want to do.

7    any findings of the internal investigation.                              7                Geragos then says:     Right.

8               THE COURT:   What exhibit is it we are in?                    8                You see that?

9               MR. H. SREBNICK:   Sorry, Judge.    We are on the             9    A.   It's a little bit of talking over each other, but I see the

10   transcript of March 21, 2019.       We are using the audio file.    It   10   text in the transcript.

11   pertains to transcript 2T, I believe.                                    11   Q.   Avenatti says, presumably, in consultation with you and

12              THE COURT:   We are on page 17, 2T.                           12   others.

13              MR. H. SREBNICK:   That's right.                              13               You see that, right?

14              THE COURT:   Go ahead.                                        14   A.   I do.

15              MR. H. SREBNICK:   The clip will start at line 21.            15   Q.   When he said you, he mean Scott Wilson?

16              (Audio played)                                                16               MR. PODOLSKY:   Objection, your Honor.

17   Q.   Did you hear that Mr. Avenatti talks about self-disclose            17               MR. H. SREBNICK:     I'm sorry.   I'll rephrase it.

18   and Mr. Geragos also participates in that discussion?                    18   Q.   Did you understand you to mean Scott Wilson?

19   A.   I heard the recording we just listened to.                          19   A.   I understood him to mean me personally or my law firm

20   Q.   Sorry?   I couldn't hear you.                                       20   generally.

21   A.   I heard what we just listened to, yes.                              21   Q.   Isn't that consistent with how an internal investigation

22   Q.   And it's consistent with the transcript?                            22   works?

23   A.   Yes, I think it was.                                                23   A.   Is what consistent?    I'm sorry?

24   Q.   And what Mr. Avenatti says is:      It is up to the client,         24   Q.   The self-reporting, self-disclosure report the findings

25   line 21, whether they want to self-disclose or whether they              25   back to the company, company consults with its counsel and

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1    decides what to report to the government what, if anything?             1    A.   The decision -- Nike's decision whether to engage lawyers

2    A.   In the context of an internal investigation being conducted        2    to engage with the government was related to the company's

3    in the absence of government investigation, I would say that's          3    receipt of the grand jury subpoena certainly.

4    fairly typical.     If there is a pending government investigation      4    Q.   It was not compelled by the subpoena, correct?

5    and, therefore, for example, already an outstanding grand jury          5    A.   The government can't compel, no.     It was not compelled by

6    subpoena, there would be consideration given to what's required         6    the subpoena to engage lawyers.

7    by the grand jury subpoena as well as what, if anything, in             7    Q.   And so, if we turn to the next clip, page 27, line 6.

8    addition to what's required, the company might share with the           8               THE COURT:   Page 27.

9    government.                                                             9               MR. H. SREBNICK:    Yes, please.

10   Q.   To be clear, a grand jury subpoena particularly is asking          10              (Audio played)

11   for documents, correct?                                                 11   Q.   So Mr. Avenatti tells you that his opinion, line 9 -- let

12   A.   Grand jury subpoena can request documents or testimony.            12   me take it back.     Line 7.   Company's best interests to avoid

13   Q.   In the case of the Nike grand jury subpoena, it was for            13   this becoming public and to deal with this in an organized,

14   documents?                                                              14   legal manner where the company self-reports in some way, shape

15   A.   Yes.                                                               15   or form.

16   Q.   The subpoena didn't require any lawyer on behalf of Nike to        16              You heard that?

17   speak to the government, did it?                                        17   A.   I did hear the words there, yes.

18   A.   The subpoena itself did not require that.                          18   Q.   They are going to have to self-report in my view.

19   Q.   The subpoena only required that Nike make a full and               19   A.   I heard him say that as well.

20   thorough production of records called for by the subpoena?              20   Q.   At that point in time, you didn't disclose to Mr. Avenatti

21   A.   The subpoena called for Nike to produce documents from its         21   that Nike was cooperating with the government in its

22   files to the government.                                                22   investigation of Nike, did you?

23   Q.   The decision whether lawyers for Nike would meet with the          23   A.   I had said in the meeting on Tuesday that Nike had an

24   government is independent of the subpoena, not required by the          24   interest in complying with the government.      I don't see that I

25   subpoena, correct?                                                      25   said something about the company cooperating with the

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1    government at this point in the meeting.                                1    interests that I said my client had.      It was not my intention

2    Q.   When you say complying with the government, that's not             2    with someone I just met to discuss with him what interactions

3    necessary, the same as active cooperation with the government,          3    the company had or had not had with the Federal Government.

4    is it, or is that what you intended?                                    4    Q.   I am just trying to understand, when you told Mr. Avenatti

5    A.   I'm sorry.    Could you ask that again.                            5    that it was in Nike's interests to comply with the government,

6    Q.   What did you describe to Mr. Avenatti is the nature of the         6    were you trying to imply that Nike was having a cooperation

7    relationship between Nike and the government at that point in           7    agreement with the government?

8    time?                                                                   8    A.   I was aware at that time that Nike had stated publicly on

9                THE COURT:   At what point in time?                         9    more than one occasion that it was cooperating with the

10               MR. H. SREBNICK:    March 2019.                             10   government's investigation.      As I believe I testified

11               THE COURT:   No.   We are going to be more specific than    11   yesterday, there was a point in the first half of my meeting on

12   that because we have been talking in the context of a                   12   March 19 where I was so shocked by what was going on that I

13   particular conversation and so that conversation took place on          13   just started saying some things that I thought were

14   March 21.     So I think we need to understand whether you are          14   unobjectionable out loud to try to give myself time to think,

15   talking about this conversation or another conversation.                15   and I specifically recall saying Nike has an interest in three

16   Otherwise, the record is not going to be clear.                         16   things, not being entirely sure what I was about to say, but

17   Q.   On March 19, the first meeting you had with Mr. Avenatti,          17   just wanting to buy myself time hopefully without him

18   you told him that Nike had an interest in complying with the            18   interrupting me to say three generic things.      I then said three

19   government to comply.     Was that the word?                            19   generic things, including that Nike had an interest in

20   A.   I word I recall using was complying.                               20   complying with the government.      In my view, American companies

21   Q.   And what did comply signify to you?                                21   all have an interest in complying with the government.

22   A.   As I've said before, I didn't intend to communicate any            22   Q.   All citizens have that same interest, right?

23   factual information to Mr. Avenatti about what my client had            23   A.   I believe so.

24   done or hadn't done or was doing or wasn't doing.       At that         24   Q.   To follow the law.

25   moment in the meeting on March 19, I was just describing three          25              MR. PODOLSKY:    Objection, your Honor.

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1                THE COURT:   Sustained.                                      1    for a million and a half dollars, maybe, wouldn't be a

2    Q.   In any event, Mr. Avenatti suggested that in his view Nike          2    stumbling block, but you didn't have authority at that point to

3    is going to have to self-report, but that would be up to Nike            3    really commit Nike.     Is that fair?

4    in consultation perhaps with its lawyers.        Is that the gist of     4               MR. PODOLSKY:    Objection, your Honor.

5    what Mr. Avenatti communicated to you?                                   5               THE COURT:   Sustained.

6    A.   On more than one point, including now, he said that the             6    Q.   At that point in time, on March 21, 2019, you had told

7    decision whether or not to report the result to whatever work            7    Avenatti and Geragos you didn't have authority to make an

8    he and Mr. Geragos purportedly were going to do, that decision           8    offer, correct?

9    would rest with Nike.                                                    9    A.   I had, prior to this meeting on Thursday, said that I

10   Q.   I'd like to turn to page 18, line 11.                               10   wanted to seek authority, and I think implicit in that was I

11   A.   We are going back?                                                  11   didn't have authority at that time.

12   Q.   Yes.    We are back to a different subject.      We just finished   12   Q.   So you didn't have authority, but you were still suggesting

13   self-report.                                                             13   or -- let's just say suggesting that you thought $1.5 million

14               I would like to ask you about this, if you hold one          14   to Franklin would not be a stumbling block?

15   second.                                                                  15   A.   At this point, again, I wanted to not spook Mr. Avenatti

16               MR. H. SREBNICK:   If we can go ahead and roll.              16   and Mr. Geragos by giving any indication that, as was in fact

17               (Audio played)                                               17   true, this was a complete nonstarter and the company was not

18   Q.   So at lines 15 you begin to speak.        And you say:   Let me     18   going to make any payments.

19   include that preface.       As I said before, I don't think that the     19   Q.   Is it fair to say you were misleading them to believing

20   settlement of Mr. Franklin's civil claims for $1.5 million is            20   that Gary Franklin could likely get a million and a half

21   going to be the stumbling block here.                                    21   dollars for his claims?      That was misleading them?

22               You recall telling that to Avenatti and Geragos?             22   A.   I did not believe that Mr. Franklin could likely get $1.5

23   A.   I do.                                                               23   million for any claim of which I was aware.

24   Q.   And you were communicating that Franklin's claims, which            24   Q.   So this was not an offer of any sort at that point in time,

25   you said you didn't ask for more description of, can be settled          25   correct?

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1                MR. PODOLSKY:    Objection, your Honor.                      1    Q.   Is this the point where you are now going to ask Geragos

2                THE COURT:   Sustained.                                      2    and Avenatti if they would consider a settlement that would

3    Q.   Was this an offer for $1.5 million?                                 3    exclude an internal investigation?

4                MR. PODOLSKY:    Objection, your Honor.                      4               MR. PODOLSKY:    Objection, your Honor.

5                THE COURT:   Overruled.                                      5               THE COURT:   Overruled.

6    A.   At no point in reality did I intend to offer any money to           6    A.   I had just asked the questions that I asked about whether

7    Mr. Geragos or Mr. Avenatti.       I made statements during the          7    there was a way to avoid the press conference without hiring

8    period of my cooperation with the FBI and the government's               8    them to do a so-called internal investigation, and then I asked

9    investigation suggesting that the company would be open to               9    if the money went higher could we do it all under the civil

10   making such payments.                                                    10   settlement agreement.

11   Q.   I couldn't hear the last part.      I'm sorry.                      11              MR. H. SREBNICK:   If we turn to page 21, line 14, we

12   A.   I said I made statements intended to imply that the company         12   roll that.

13   would be open to making such payments.                                   13              (Audio played)

14   Q.   Geragos then pipes in at page 19, line 2:        It's kind of a     14   Q.   You indicated that on page 21, line 22:     I have not done a

15   strange question.    You then ask whether:      Can we settle this.      15   25 million dollar internal investigation for Nike.       I have

16   Could we do this all under the civil settlement agreement.               16   not -- we have not done one for Nike that breaks $10 million.

17   That's what I'm asking.                                                  17              Was that true?

18               You heard that?                                              18   A.   I am pausing because I'm considering whether information

19   A.   Yes.                                                                19   about what Nike may have spent on a matter unrelated to this is

20   Q.   And Geragos posits:      Without doing any investigation,           20   or isn't confidential information that I, as an attorney for

21   something to that effect?                                                21   Nike, am authorized to share in response to your question.

22   A.   I heard him say that.                                               22   Q.   An assertion of a privilege of some point?

23               MR. H. SREBNICK:   If we can turn to page 19, line 7         23   A.   I can't assert a privilege, counsel.     I'm an attorney for

24   and we will start the tape from there.                                   24   Nike.   If there was a privilege here, it would be a privilege

25               (Audio played)                                               25   of the company's.   But there is also information, confidential

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1    information that attorneys come into possession of, and they           1    Q.   But aside what you were intending, isn't that what you told

2    are not always authorized to share their client's internal             2    them?

3    information, confidential information.                                 3    A.   I told them the words that I used.        I wasn't intending to

4                MR. PODOLSKY:   Your Honor, object to this line of         4    suggest that an internal investigation would necessarily last

5    questioning, or we can take a sidebar.                                 5    years.     I anticipated from my experience watching Mr. Avenatti

6                MR. H. SREBNICK:   We can take it up at the end of the     6    in other high-profile matters.

7    day.    Is that all right?                                             7                MR. H. SREBNICK:    Objection, your Honor.

8                THE COURT:   All right.                                    8    Nonresponsive.

9    Q.   That conversation starts, that little episode, with               9                THE COURT:   Why don't you just ask whatever question

10   Mr. Avenatti asking at page 21, line 14:       Help me better          10   you want to ask, and we will move on.

11   understand.     Is there an appetite to just be done, is that the      11               MR. H. SREBNICK:    Yes.

12   thought.     Page 21, line 14.                                         12               If we could then resume playing the recording, Mr.

13   A.   I see that, yes.                                                  13   Lyon.

14   Q.   And you say:    Yes.   Yeah.                                      14               THE COURT:   Where do you want to start?

15   A.   I heard myself respond that way, yes.                             15               MR. H. SREBNICK:    We are on page 22, line 3.

16   Q.   And it talks about on line 17, page 21, line 17:       I          16               (Audio played)

17   appreciate you saying there will be no press conferences during        17   Q.   That's Mr. Geragos speaking when we just tailed off?

18   the course of your internal investigation, but, you know, you'd        18   A.   Yes.

19   be up -- all up in the business of the company for -- for              19   Q.   It's Mr. Geragos who is explaining why he thinks it's

20   years.                                                                 20   appropriate to handle the internal investigation?

21               You see that?                                              21   A.   Appropriate for --

22   A.   Yes.                                                              22   Q.   Let me say this.      I'll rephrase.

23   Q.   Was that communicating to Mr. Avenatti and Mr. Geragos that       23               He says a couple of things.     One is that he thinks an

24   the internal investigation could take years?                           24   internal investigation would be appropriate, generally

25   A.   No.    I was not intending to communicate that.                   25   speaking, right?

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1    A.   That's a concept I understood him to be conveying.                1    be told, he was referring to Nike?

2    Q.   But the first thing he says at page 22, line 12:       First of   2    A.   It wasn't clear to me what he was referring to because all

3    all, they do know me.                                                  3    I was aware of his prior interactions with the company was his

4                Did you understand that to be Nike knows him, people       4    involvement on behalf of an athlete in connection with a

5    at Nike?                                                               5    commercial arrangement between Nike and that athlete.

6    A.   Yes.                                                              6    Q.   Didn't you understand him to be saying that Nike was

7    Q.   Second of all, I dealt with them in sensitive situations.         7    concerned about a certain story being told in regard to that

8                You understand Geragos to mean he dealt with Nike in a     8    Nike-sponsored athlete?

9    sensitive or multiple sensitive situations?                            9    A.   No.    Again, he is using the plural.      I didn't know what he

10   A.   I was only aware of one particular interaction or matter in       10   meant at this point in situations where they did not want a

11   which he had been interacting with Nike.       I did not have an       11   certain story to be told.       I didn't follow it exactly.

12   understanding of what he meant by using the plural situations.         12   Q.   Without getting into the details, you knew exactly what

13   Q.   You discussed it before.       That one dealt with a              13   matter he had dealt with, Geragos had dealt with, right?

14   high-profile NFL football player, right?                               14               MR. PODOLSKY:    Objection, your Honor.

15   A.   That's correct.                                                   15               THE COURT:   That's a yes or no question.     With respect

16   Q.   That's the one you knew about, right?                             16   to the one situation you have talked about or that you've

17   A.   Yes.                                                              17   mentioned, you did know the individual involved, right?

18   Q.   Geragos says:    Which is why I picked up the phone and           18               THE WITNESS:    The identity of Mr. Geragos' client?

19   called in situations where they did not want a certain story to        19               THE COURT:   Yes.

20   be sold, um, at the same time and that's why I was giving the          20               THE WITNESS:    Yes.

21   USC example.                                                           21   Q.   And there comes a point in time where Mr. Avenatti and

22               You see that?                                              22   Mr. Geragos step outside of the room to consider making a

23   A.   I do see that.                                                    23   different demand or different ask that would exclude them

24   Q.   And did you understand Mr. Geragos to indicate when he            24   participating in the internal investigation, right?

25   said:    In situations where they did not want a certain story to      25               MR. PODOLSKY:    Objection, your Honor.

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1                THE COURT:   Sustained.                                   1    A.   Early in the meeting.     By this point I think he had already

2    Q.   Do you recall Geragos and Avenatti stepping outside the          2    handed me a copy of a draft settlement agreement.

3    room?                                                                 3    Q.   At some point in the meeting he takes it back, correct?

4    A.   Yes.    At least one point the two of them stepped out           4    A.   Yes.

5    together.                                                             5    Q.   And he makes some adjustments to it, does some typing?

6    Q.   And they were gone for about five minutes or so?                 6    A.   Yes.

7    A.   Yes.    That sounds right.                                       7                THE COURT:   We are going to have to leave it there,

8                MR. H. SREBNICK:   If I could just have a moment.         8    Mr. Srebnick.

9                If we go to page 24, line 18.                             9                Ladies and gentlemen, we are at 2:30 and I did say we

10               (Audio played)                                            10   would break at 2:30 today.       I am going to say good-bye to you

11   Q.   After the five-minute break, at some point after the two         11   for the weekend.

12   men break for five minutes, the conversation resumes, you are         12               Don't discuss the case with anyone.      Don't do any

13   trying to ask if there is a negotiation.                              13   research.     Don't do any investigation.      Don't talk about the

14               To start the discussion at page 24, line 18:   Is there   14   case with anyone.    Do Keep an open mind because there is more

15   room to negotiate on the specific millions we're talking about?       15   evidence.

16   A.   Yes.                                                             16               We will resume at 9:30 a.m. on Monday.      We will be

17   Q.   Ultimately, Avenatti proposes 22 and a half million dollars      17   going to 4:30 on Monday afternoon.         Have a very pleasant

18   and we're done, right?                                                18   weekend and we will see you 9:30 Monday morning.         Thank you

19   A.   Yes.                                                             19   very much.

20   Q.   That would be part of the civil settlement for their             20               (Jury not present)

21   client, Mr. Franklin?                                                 21               THE COURT:   What are the issues we need to take up?

22   A.   He referred to one confidential settlement agreement for --      22               MR. PODOLSKY:   I don't think we have additional

23   that we could buy for 22 and a half million dollars.                  23   issues.     I think the only outstanding question that is on the

24   Q.   He actually brought to the room a draft settlement               24   top of my mind is whether the defense intends to return on

25   agreement for discussion purposes that day, correct?                  25   Monday to the question of what was asked in an interview of

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1    Mr. DeBose.     I have expressed at sidebar, I think at this          1                Now, I could ask Mr. Skinner to go through every

2    point, certainly under 403, that question really should be            2    meeting and who was there, etc., etc.         I could do that.    But

3    excluded.     As I understand it, that's the pending issue from       3    I'm not sure that's really going to be very efficient because

4    today.                                                                4    this is -- we are already talking about a very narrow scope.

5                THE COURT:   As I said at sidebar, if we are going to     5                So I take your point that you don't know who was at

6    get into an issue of whether there has been waiver or not, I am       6    the meetings, but you do know the questions that you propose to

7    going to need briefing both from the defense and from Nike            7    ask.   I think it actually has to start with you within the

8    addressing what happened at these proffer sessions, who               8    confines, within the parameters that I have set, what is it

9    attended, what was said, etc., etc., etc.      If that's where we     9    that you want to ask, what is it that you want to get into with

10   are headed, I am going to set a schedule for getting letters          10   Mr. Wilson, and then we can then focus on what proffer sessions

11   from you on Saturday because it's going to be a naughty issue         11   or what meetings took place between Boies and the government

12   that I am going to have to focus on on the weekend.                   12   and what was said at them and what was not said and

13               What are the defense's intentions?                        13   circumstances, etc.      But I think it's too amorphous at this

14               MS. PERRY:   Your Honor, I think it makes more sense to   14   point to say to the Boies firm, well, tell me about every

15   get a letter first from Nike.      We don't know yet who was at all   15   proffer session you had with the U.S. Attorney's Office, what

16   those meetings.     We can respond in short order.    But we are at   16   was discussed, who was there.       No.    Because we are already

17   a disadvantage here because we don't have the information.            17   dealing with a very confined universe already.

18   They have it.                                                         18               It may be that you do an initial letter and then Boies

19               THE COURT:   First of all, we have got to be specific     19   does a response letter and then you do another letter saying

20   about what it is we are talking about.                                20   what you think is appropriate.       It might be that that's, you

21               As you know, I have narrowed the scope of what Mr.        21   know, a briefing schedule that might make sense.

22   Wilson could be asked about in the sense that I've said it has        22               But I think it has to start with what you want to get

23   to be Franklin related.      And so the only questions that could     23   into with Mr. Wilson, acknowledging the parameters that I have

24   possibly be asked of him with respect to his interactions with        24   set, and you should point to the proffer sessions that you

25   the government or with a witness is Franklin-related material.        25   think implicate this information.         And I take your point.    You

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1    don't know who was there.     It just says Mikey.    You have no       1    investigation or not.      And a question about --

2    idea who was there.     You will do that.    You will go through       2               THE COURT:   That's too broad.     That's too broad.

3    that exercise.    You will tell me what information you wish to        3               MR. SKINNER:   What is the guidance?     I feel part of

4    elicit from Mr. Wilson, and you will suggest what proffer              4    this should be --

5    sessions, what notes might be pertinent to that.                       5               THE COURT:   This goes to Mr. Wilson's credibility, so

6               And then Mr. Skinner will have an opportunity to put        6    that's the context in which this is being received.       As I

7    in a response.    If he wants to assert privilege, he will tell        7    understand it, the defense wants to essentially elicit from Mr.

8    me why he thinks privilege hasn't been waived.                         8    Wilson that he -- I don't know what they want to elicit.          I

9               Then you'll have an opportunity to tell me why you          9    think what they want to suggest is that he looked at these

10   think privilege was waived.                                            10   Franklin allegations and rejected them out of hand, something

11              MS. PERRY:   May we have until 10 a.m. tomorrow             11   that's inadequate.      I am not sure where they are going exactly.

12   morning?                                                               12   But they want to suggest -- they want to question him.       They

13              THE COURT:   The first letter will be due 10 a.m.           13   want to cross-examine him about whether what he did with

14              Mr. Skinner, how about 5:00 from you?                       14   respect to the Franklin allegations that he has admitted that

15              MR. SKINNER:   I don't think we have much choice,           15   he knew of, at least some of them, before he ever met

16   Judge.   We will do our best to respond.                               16   Mr. Avenatti, they want to question him with a view towards

17              THE COURT:   That's exactly right.   You have no choice.    17   suggesting that what he did wasn't adequate, and I do think

18   I was trying to be pleasant about it.       You are right, you have    18   that this has some bearing on his credibility as a witness, and

19   no choice.                                                             19   so that's why I'm permitting it.

20              It might be that conversations could be had between         20              I understand this might be complicated because I have

21   the lawyers and this can be resolved in an amicable way.               21   said that this case is not about whether Nike was involved in

22              MR. SKINNER:   That's kind of what I was going back to,     22   corruption in connection with amateur basketball and it's not a

23   your Honor.    We have this clear guidance from the Court that         23   case about whether Boies did an adequate job in investigating.

24   the two things they are not supposed to get into are the actual        24   However, we have a Boies lawyer on the stand, or a former Boies

25   underlying Nike conduct and whether this was a proper                  25   lawyer, who was involved in the investigation, so, therefore,

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1    his credibility is at issue, and he's a very important witness,        1    was not privileged, and everyone here knows that, so there is a

2    which is why he has been on the stand for a substantial period         2    piece of it that's not subject to a privilege objection.

3    of time already and is likely to be on the stand for a                 3               I do want to say to the defense, I am sensitive to the

4    substantial period in the future.                                      4    pending question, which gets directly at what Mr. Wilson's

5               He is an important witness.   His credibility is at         5    interview was of this fellow DeBose.      I would encourage the

6    issue.   One of the meetings that he testified about was not           6    lawyers to talk between themselves and attempt to reach a

7    recorded, and so his credibility is at issue.       And they want to   7    resolution because it's going to present a thorny issue of

8    challenge his credibility from the point of view of saying, you        8    whether there has been waiver.      I am going to have a very clear

9    knew about these allegations that Franklin was making, you have        9    understanding of what happened at a number of proffer sessions

10   told us that you were involved in the investigation of those           10   involving a number of Boies lawyers, and then I am going to

11   allegations, and they want to pursue whether what he did was           11   have to consider what the law says about waiver.        It's a thorny

12   reasonable under the circumstances.      That's the context.           12   issue and it's going to require significant effort both by the

13              MR. SKINNER:   I think they know he didn't know about       13   lawyers and by me, which is all a long way of saying, if there

14   some of these specific allegations.      Now they want to say, did     14   is a way to avoid that, it should be avoided.        If it can't be

15   you ask him about what you didn't know about in an interview.          15   avoided, obviously, I'll have to address it.

16   We will talk to them and perhaps we can reach some common              16              MR. SKINNER:   Your Honor, there was also some

17   ground on a permissible level of questions.       I would think this   17   discussion about addressing motions to quash with respect to

18   could be set up along the lines of, what did you know about            18   some of the individual Nike employees.        I don't know if you

19   payments to players?      What do you know about what was              19   want to entertain that or not.

20   communicated to the government?     In the course of your              20              THE COURT:   I have not looked at the papers.    I think

21   investigation were these individuals interviewed?                      21   there was something filed maybe last night, motions to quash, I

22              We may be able to set it up along those lines where we      22   think, for two Nike employees.      I have not looked at the

23   don't actually have, was this question asked, was that question        23   papers.

24   asked during an interview.                                             24              But, Mr. Srebnick, you can tell me what's come in.

25              THE COURT:   Obviously, what was said to the government     25              MR. S. SREBNICK:   I think I can help sort of move this

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1    process along with those.                                              1    not related to Mr. Franklin.

2               We issued seven subpoenas to Nike employees.    Two of      2               THE COURT:   Yes.   Consistent with what I said at the

3    them we withdrew this morning.       We withdrew the ones to Mr.       3    outset of today's proceedings, I do not believe that the

4    Merritt and Mr. Harrison.      The remaining five, there is            4    broader scope of misconduct that Nike may have been involved

5    Mr. DeBose, Mr. James, Mr. Stovall, Ms. Baker, and John                5    in, separate and apart from the allegations regarding Gary

6    Slusher.    I can tell the Court that with respect to Mr. Stovall      6    Franklin, I don't believe those matters are relevant.

7    and Ms. Baker, they really fall in the category of one of the          7               MR. S. SREBNICK:    Fair enough.

8    principles the Court articulated this morning that it would not        8               That leaves three subpoenas, Judge.    Two of them are

9    allow us to get into, which is the broader misconduct.        Rather   9    to Mr. DeBose and Mr. James, who did have direct involvement

10   than withdraw him, I would just ask that the Court rule, given         10   with Mr. Franklin.      Mr. DeBose has moved to quash.    We have not

11   that now I'm proffering what they are -- they have not actually        11   received the one yet from Mr. James.

12   filed the motion.    Mr. Stovall did file a motion to quash.           12              What I would suggest as to those two is to wait until

13   Ms. Baker has not.      I can proffer to the Court that their          13   we hear the completion of Mr. Wilson's testimony, and then we

14   testimony would be really related to the broader issue of              14   can visit that issue to see where the Court's thinking is on

15   Nike's misconduct.      I understand where the Court's head is on      15   those two.    They were the individuals who were directly

16   that.   We would actually invite the Court to rule on that now         16   interacting with Mr. Franklin.      We may have to in fact wait

17   so this matter is not pending with respect to them.                    17   until Mr. Auerbach and Mr. Franklin testify.      As of right now,

18              THE COURT:   I, of course, have no idea what their          18   we would ask that those remain in abeyance, and the third

19   testimony would be about.      I accept their representation that      19   remaining subpoena is to Mr. Slusher, who was the individual

20   they don't have information that relates to Franklin's                 20   who interacted with Mr. Auerbach.      And we would ask that that

21   allegations.    Is that what you are telling me?                       21   one also remain outstanding until we hear Mr. Auerbach's

22              MR. S. SREBNICK:   Not directly that would be anything      22   testimony.

23   we would want to elicit.      What we would want to elicit is just     23              That leaves three remaining subpoenas, and I will work

24   text messages, things of that nature, which shows that they            24   out with counsel for Nike the issue of payment for travel and

25   were involved or had knowledge of monies being paid to others          25   things of that nature.      We have been holding off on that

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1    because, obviously, these motions are pending.       I will be in      1    possibility of that, but it strikes me as highly unlikely.

2    touch with them, and we will try and work that out as                  2               What does the government say?

3    conveniently as possible.                                              3               MR. PODOLSKY:    Your Honor, I would say the

4               THE COURT:   What you're proposing as to DeBose, James,     4    cross-examination of Mr. Wilson has gone on substantially

5    and Slusher is that they be held in abeyance?                          5    longer than we expected based on our conversations with

6               MR. S. SREBNICK:   Yes.                                     6    counsel.    I can't imagine their case will be until the very end

7               THE COURT:   Are you comfortable with that,                 7    of next week, if then, given how things have gone so far.

8    Mr. Skinner?                                                           8               THE COURT:   I don't think they are in any jeopardy of

9               MR. SKINNER:   The only issue we had was just, we are       9    testifying on Tuesday, Mr. Skinner.      You need not worry about

10   now at a point where the rubber has pit the proverbial road and        10   that.

11   folks need to travel, and we hadn't received any payment for           11              MR. S. SREBNICK:    I'd like to find out who told them

12   them to travel or the like.      If we have a representation that      12   Tuesday.

13   that's going to be worked out, we will work that out.                  13              MR. SKINNER:    We were told to have the witnesses in

14              I had been hoping to avoid the inconvenience of having      14   New York by February 5.      Maybe that's not Tuesday, but in my

15   people fly across the country to sit here in New York because          15   head I thought we had to have them here on Tuesday.

16   they potentially might testify, only to find out that they are         16              Judge, this is something we can work out with defense

17   not going to testify because they filed proper motions to              17   counsel.    If they are not going to be starting their case until

18   quash, regardless of what comes out from Mr. Wilson and the            18   the end of next week or perhaps the beginning of the week

19   like and what defendants think they might want to do with them.        19   after, then they don't have to get on a plane on Monday or

20              THE COURT:   What's the earliest that these witnesses       20   Tuesday.    Maybe we can hold some of this in abeyance.

21   could conceivably get on the stand?                                    21              Nike intends to move pursuant to the Court's

22              MR. SKINNER:   We had been told Tuesday, which was why      22   suggestion when you denied our initial motion for lack of

23   they have been trying to travel on Monday.       We were told to       23   standing.    We will probably move to intervene so we can have a

24   have them in New York by Tuesday.                                      24   voice in these as well.      I do think that it would be

25              THE COURT:   I would be very pleased if there was any       25   preferable, if they are never going to testify, regardless of

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1    what these other witnesses said, because all of their testimony       1    potential briefing on privilege.      Depending on what the defense

2    relates to Nike's conduct, to clear that up earlier rather than       2    proffers, if they can't reach an agreement they might want to

3    later.   But, nevertheless, I think maybe we can at least wait        3    inquire about, we may file a letter about the relevance.

4    another couple of days to see where we are, given the way the         4               THE COURT:   You're welcome to.

5    schedule seems to be unfolding.                                       5               MR. PODOLSKY:   I would ask that the defense confer

6               MR. PODOLSKY:    I do want to comment.   Obviously, it's   6    with us regarding the applicability of a protective order

7    not immediate at this point.                                          7    before they file anything on this issue.

8               But what's being contemplated is three witnesses from      8               THE COURT:   OK.

9    Nike who had nothing to do with Mr. Avenatti's conduct to come        9               MR. S. SREBNICK:    No problem.

10   and testify about payments, the precise thing that the Court          10              THE COURT:   Please do that.

11   said is not at issue here, under some theory that their               11              The government submitted a January 29, 2020 letter,

12   testimony about payments would go to the bias of Mr. Wilson.          12   which is docket No. 223, asking me to "preclude the defendant

13   This is a complete side show and clearly just to distract the         13   from describing or making any arguments based on the content of

14   jury and focus on what this trial is not about.                       14   text messages between Jeffrey Auerbach and Gary Franklin, Sr.

15              I just raise that to the Court because I think at the      15   Not seen by the defendant unless (1) a witness testifies in a

16   end of the day this is actually a fairly simple question.      But    16   manner that is materially inconsistent with those messages and

17   that's just what I would submit at this point.                        17   (2) the Court determines that a specific message may be offered

18              THE COURT:   I am going to rule on another issue,          18   as a prior inconsistent message."      Id.

19   unless somebody has something else they want to say.                  19              The application is denied at this point because it's

20              MR. SKINNER:    Your Honor, with respect to the schedule   20   premature.    We are at the outset of the case.      I have very

21   on this, let me talk to Mr. Srebnick.      I have a feeling we will   21   little idea at this point what evidence the defendant will seek

22   be asking your Honor for a ruling earlier than what he thinks,        22   to introduce or what evidence will actually be admitted.        I

23   but we don't need this one this afternoon.      Let's discuss and     23   don't know, for example, whether Franklin and Auerbach will

24   we will get back to the Court.                                        24   testify in a manner that's consistent or inconsistent with the

25              MR. PODOLSKY:    Your Honor, just a logistical issue on    25   text messages that have been cited by the parties or whether

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1    any of their text messages will actually be received in               1    Auerbach text messages at issue are found in Government Exhibit

2    evidence.                                                             2    310.   Both text messages are dated March 25, 2019.

3               Accordingly, I'm in no position to make rulings about      3               The first Auerbach text message, which is time stamped

4    what the defendant will be permitted to argue in summation,           4    9:58 a.m. in Government Exhibit 310, was apparently sent after

5    which is probably two weeks down the road, and there is no            5    Avenatti posted a Tweet saying that he intended to hold a press

6    point in arguing the issue now.      We will see what the evidence    6    conference to announce Nike's alleged misconduct.        In the Tweet

7    is before making rulings about what someone can argue in their        7    Avenatti writes:    "Tomorrow at 11 eastern time we will be

8    closing.                                                              8    holding a press conference to disclose a major high

9               The government also complains that defense counsel         9    school/college basketball scandal perpetrated by Nike that we

10   violated my ruling that he was not to tell the jury in the            10   haven't uncovered.      This criminal conduct reaches the highest

11   opening about text messages between Franklin and Auerbach that        11   levels of Nike and involves some of the biggest names in

12   might not come into evidence.                                         12   college basketball."      Citing Government Exhibit 107.   Avenatti

13              I don't find any violation in defense counsel's            13   posted this Tweet after learning that Franklin had been

14   opening.    The defense did not refer at any point to text            14   approached by the FBI.

15   messages.    There is one sentence in defense counsel's 45-minute     15              Auerbach apparently sent the following text message to

16   opening that refers to "an exchange of communications" between        16   Avenatti after seeing Avenatti's Tweet:        "Michael, very

17   Franklin and Auerbach.      I can understand why the lawyers in the   17   upsetting, to say the least.      Please call me before going

18   room might have understood that to be a reference to the text         18   public in any way.      Gary and I would like to discuss strategy

19   messages, but I'm not sure that there is any reason to believe        19   with you."    Citing Government Exhibit 310.

20   the jury would have picked up on that or, in fact, that the           20              As I have said before, Avenatti's Tweet, in effect,

21   brief reference would have registered with them at all.               21   marks the termination of his alleged criminal scheme, which was

22              The government also argues that because of defendant's     22   premised on threatening Nike with reputational harm flowing

23   opening it should now be permitted to use in its direct case          23   from the disclosure of the alleged misconduct of Nike

24   two text messages sent by Jeffrey Auerbach to Avenatti after          24   employees, and Avenatti was arrested a short time after, in any

25   his arrest.    I find this application also to be premature.    The   25   event.

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1               While Auerbach's reaction to the Tweet indicates that         1    surprised and/or upset to learn of the demands that Avenatti

2    Avenatti may not have been authorized to "go public" with the            2    was allegedly making, because he had not been authorized to

3    allegations against Nike, it does not shed light on the central          3    make such demands, and (3) were defense counsel to suggest that

4    question in this case, which is whether Franklin had authorized          4    Auerbach is lying on these points, Auerbach's reaction to the

5    Avenatti to seek as part of a settlement with Nike 15 to $25             5    CNN story might be relevant to rebut a claim of recent

6    million for himself to conduct an internal investigation.                6    fabrication.    But at this point we are nowhere near to having

7               To the extent that the government argues that Avenatti        7    the necessary predicates that would permit use of this text

8    breached his duty to Franklin by "going public," that is also            8    message.

9    potentially confusing to the jury because the breach of duty             9               It is true that I said that the text messages might

10   underlying the honest services wire fraud count is not that              10   become admissible once Auerbach's credibility was intact to

11   breach.                                                                  11   rebut a claim of recent fabrication, citing docket No. 223-1 at

12              Auerbach's second text message to Avenatti was                12   pages 7-8.

13   apparently sent in response to a CNN story about the charges             13              In his opening, defense counsel suggested that

14   and allegations in the U.S. Attorney's Office's criminal                 14   Franklin and Auerbach's story at trial about their dealings

15   complaint.    Auerbach wrote:     "Just saw CNN.    Are you fucking      15   with Avenatti might change from what they told Avenatti back in

16   kidding me?    Please call."     Citing Government Exhibit 310.          16   March 2019, citing docket No. 232-2 at pages 175-176.      That is

17              What is relevant here is not Auerbach's reaction to           17   the start of an attack on their credibility but we will have to

18   the allegations and charges set forth by the U.S. Attorney's             18   see whether that attack is pursued on cross-examination.

19   Office, allegations and charges that Avenatti disputes.           What   19              The government's motion for admission of the Auerbach

20   is relevant here is the instructions Franklin and Auerbach gave          20   text messages is denied.

21   Avenatti in connection with his approach to Nike, what Avenatti          21              Are there other issues that the parties want to raise?

22   told them about the demands he was making on Nike, and whether           22              What about these documents that were handed up to me

23   they authorized him to make those demands.                               23   at the start today?   Are the lawyers talking about those

24              Were Auerbach to testify that (1) he first learned            24   documents?

25   about Avenatti's demands on Nike from the CNN story and (2) was          25              MR. PODOLSKY:   I believe we addressed those documents

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1    at one of the breaks, your Honor, if I know which documents you          1    know and it may be that we meet earlier than 9:30.

2    are referring to.   JJ and SS and so on?                                 2               Otherwise, if I don't hear from you, I'll see you at

3               THE COURT:   Yes.    The defense exhibits that start with     3    9:30.

4    JJ1 and end with Defense Exhibit SS.                                     4               (Adjourned to February 3, 2020, at 9:30 a.m.)

5               MR. PODOLSKY:   My understanding is, we addressed that        5

6    at the break.                                                            6

7               MR. S. SREBNICK:     I think the best thing is for us to      7

8    take them back, unless the Court wants to keep them.        We can       8

9    discuss over the weekend.                                                9

10              THE COURT:   I'm happy to give them back to you.              10

11              MR. S. SREBNICK:     I was worried you didn't have enough     11

12   paper, Judge.                                                            12

13              THE COURT:   You'll take custody of them.      If it          13

14   becomes a live issue, you will let me know.                              14

15              Are there other issues we should talk about now?              15

16              MR. PODOLSKY:   Not for the government, your Honor.           16

17              MR. RICHENTHAL:     For the record, as we kept doing, we      17

18   advised the defense last night who our next witness was.           We    18

19   thought that might happen today.       It didn't.    And we also         19

20   advised the defense of the entire set of exhibits that we                20

21   intend to offer during that witness' direct examination.                 21

22              THE COURT:   Is that Auerbach?                                22

23              MR. PODOLSKY:   Yes, your Honor.                              23

24              THE COURT:   We will resume at 9:30.     As always, if        24

25   there are issues that come up over the weekend, please let me            25

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5                           DEFENDANT EXHIBITS

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     K239AVE1                                                                         K239AVE1

1    UNITED STATES DISTRICT COURT                                                1               (Trial resumed; Jury not present)
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x                                             2               THE COURT:   I understand the lawyers have an issue
     UNITED STATES OF AMERICA,
3                                                                                3    they want to raise.
                 v.                                19 CR 373 (PGG)
4                                                                                4               MR. PODOLSKY:   Good morning, your Honor.      Not so much
     MICHAEL AVENATTI,
5                                                                                5    an issue.    Just looking back at our discussions over the course
                    Defendant.                     Trial
6    ------------------------------x                                             6    of last week and where we finished on Friday, I just want to
                                                   New York, N.Y.
7                                                  February 3, 2020              7    make sure that I'm clear on a certain aspect of the permissible
                                                   9:35 a.m.
8    Before:                                                                     8    scope of cross so that I can object to objectionable questions

9                                                                                9    and not object when they're not objectionable.
                            HON. PAUL G. GARDEPHE,
10                                                                               10              And I understand where we left off is that in the
                                                   District Judge
11                                                 -and a Jury-                  11   buckets of bias, I'll call it, there's certainly the notion

12                                APPEARANCES                                    12   that's already on the record that Nike was under investigation

13   GEOFFREY S. BERMAN                                                          13   by the United States Attorney's Office throughout this time
          United States Attorney for the
14        Southern District of New York                                          14   period.    We can put that aside.     There's the bucket where if
     BY: MATTHEW D. PODOLSKY
15        DANIEL RICHENTHAL                                                      15   the defense could show that Mr. Wilson somehow refused or
          ROBERT B. SOBELMAN
16        Assistant United States Attorneys                                      16   failed to produce documents or somehow misled the U.S.

17   BLACK SREBNICK KORNSPAN & STUMPF, P.A.                                      17   Attorney's Office in response to the subpoena or discussions
          Attorneys for Defendant
18   BY: HOWARD M. SREBNICK                                                      18   with the U.S. Attorney's Office, if those questions have a good
          -and-
19   SCOTT A. SREBNICK                                                           19   faith basis or are otherwise admissible that's fine and we're
     JOSE M. QUINON
20   MICHAEL D. DUNLAVY                                                          20   not objecting to that.
          -and-
21   PERRY GUHA, LLP                                                             21              There's then a third bucket that I think some
     BY: E. DANYA PERRY
22        GEORGE BARCHINI                                                        22   questions have gone to which go to the I'll call the adequacy

23   Also Present:                                                               23   or scope of Boies Schiller's parallel internal investigation
     DeLeassa Penland, Special Agent (USAO)
24   Andrew Hamilton, Paralegal                                                  24   that was conducted for the purpose of providing advice to Nike.
     Kristina Kotyza, Paralegal
25   Michael Lyon, Trial Technician                                              25   I am understand that those would not be within the permissible


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1    scope of cross because that doesn't go to bias.         The U.S.            1    information that DeBose and James, the two Nike executives, had

2    Attorney's Office isn't investigating whether Boies Schiller                2    directed Mr. Franklin to pay money to the first round draft

3    did a good or bad investigation when they gave advice to Nike               3    choice?"

4    and so questions about whether they should have interviewed                 4               THE COURT:   I haven't looked at the transcript but I

5    more people or asked certain questions or figured more stuff                5    actually don't think that's the pending question.         I think the

6    out would not go to bias and therefore would not be relevant on             6    question that got us into the lengthy sidebar was something

7    cross-examination.     I want to just make sure that I'm                    7    about what Mr. Wilson had asked, was it DeBose or James.

8    addressing these in a correct manner.                                       8               MR. PODOLSKY:   My understanding it was a question

9              THE COURT:    I think this ties into the privilege issue          9    about whether in interviewing a Nike employee DeBose, or I

10   that we were discussing at the end of yesterday.         So where are       10   think it was DeBose, whether he had asked certain questions in

11   we on that?    Has that been resolved or not?                               11   that interview.

12             MS. PERRY:    Your Honor, we spoke with Mr. Skinner from          12              THE COURT:   That's my recollection.      And at that point

13   Boies over the weekend.     We're essentially punting for right             13   we had to go to the sidebar because there was a privilege

14   now.   We told him it will not come up with Mr. Wilson.         It may      14   issue.    And we talked about that at some length.       And so back

15   yet with another witness.      And so we'll wait for another day on         15   to my original question with respect to Mr. Podolsky's point

16   that one.                                                                   16   that this case is not about the adequacy of the internal

17             THE COURT:    All right.    And what do you say to                17   investigation that Boies was doing I guess at the same time

18   Mr. Podolsky's query about whether the defense is going to try              18   that the facts were being developed here.        So I think that

19   to explore the adequacy of the internal investigation that                  19   that's the pending question is:       Are you going to be trying to

20   Boies was doing?                                                            20   cross-examine Mr. Wilson essentially about whether Boies did a

21             MR. H. SREBNICK:     So, Judge, the question that I had           21   good investigation or an adequate investigation.         And I have

22   asked that we never got an answer to and I told the Court we                22   some concerns about that because it seems that we're going to

23   would defer until the end of the day.        It's at page 421, line         23   get right back into the privilege issue that we got hung up on

24   2, is the question to Mr. Wilson, "And when you shared that                 24   on Friday.

25   information to the prosecutors did that include sharing                     25              MS. PERRY:   That's I think part of that same issue as


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1    your Honor just noted that we'd like to punt for right now.            We     1                (Jury present)

2    don't think it will come up with this witness and so that last                2                THE COURT:   Welcome back, Mr. Wilson.

3    question won't be reasked.                                                    3                THE WITNESS:   Thank you.

4                I think Mr. Srebnick was just referring back to an                4    SCOTT WILSON,

5    earlier question that he had withdrawn that does seem to be                   5          called as a witness by the Government,

6    well within the parameters that your Honor had set out.             And so    6          having been previously sworn, testified as follows:

7    I think we're all on the same page about that privilege issue.                7                THE COURT:   Good morning, ladies and gentlemen.        We

8                THE COURT:   OK.                                                  8    will now continue with the cross-examination of Mr. Wilson.

9                We have all the jurors?                                           9                Mr. Wilson, you remain under oath.

10               THE DEPUTY CLERK:      Yes.                                       10               Please proceed, Mr. Srebnick.

11               THE COURT:   Anything else before I bring out the jury?           11               MR. H. SREBNICK:   Good morning everybody.     Good

12               MR. PODOLSKY:    No, your Honor.                                  12   morning, your Honor.

13               THE COURT:   Mr. Wilson should take the stand.                    13   CROSS-EXAMINATION

14               Mr. Srebnick?                                                     14   BY MR. H. SREBNICK:

15               MR. H. SREBNICK:    I just want to make sure the                  15   Q.   Mr. Wilson, on Friday when we broke we were talking about

16   question that I did read to the court I don't believe there's                 16   the meeting of March 21, 2019.       Do you recall?

17   any objection to that from the government.                                    17   A.   Yes.

18               MR. PODOLSKY:    My understanding is that what                    18   Q.   I'd like to return to the segment where we left off.           It

19   Mr. Srebnick is referring to is a question about what                         19   was at page 24 of the transcript, line 18.        I was going to ask

20   Mr. Wilson shared with the government with respect to                         20   Mr. Lyon to play that so we can all be back on the same page.

21   Mr. Franklin's claims and to the extent he did that we don't                  21               THE COURT:   Sorry, Mr. Srebnick.    Could we state for

22   object.                                                                       22   the record the exhibit that we're looking at.

23               THE COURT:   I think questions about what was shared              23               MR. H. SREBNICK:   Of course.    It is T2.

24   with the government you can ask.                                              24               THE COURT:   It's 2T?

25               (Continued on next page)                                          25               2T page 24 I think you said?


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1                MR. H. SREBNICK:    March 21 meeting.                             1    million dollars, correct?

2                MR. PODOLSKY:    2T.                                              2    A.   This was a proposal he made for the first time after coming

3                THE COURT:   So, ladies and gentlemen, we're at 2T,               3    back from that little break, yes.

4    page 24.                                                                      4    Q.   And at line -- excuse me.      Page 25, line 16 the discussion

5                MR. H. SREBNICK:    Very well.                                    5    there is that Boies, your law firm, would then be responsible

6                THE COURT:   Go ahead, sir.                                       6    for whatever internal investigation might have to happen?

7                (Audio played)                                                    7    A.   I understood Mr. Avenatti to be saying that after he had

8    Q.   Mr. Wilson, do you recall that segment of the conversation               8    been paid and was out of the picture that either my former law

9    with Mr. Avenatti?                                                            9    firm or a different law firm could be hired or not.          He seemed

10   A.   Yes.                                                                     10   to be saying we'll just be out of the picture.

11   Q.   And is it correct that that's the discussion about an                    11   Q.   If we can then turn to page 27, line 18.

12   alternative to the two-component proposal that Mr. Avenatti had               12               MR. H. SREBNICK:   Mr. Lyon.

13   made earlier?                                                                 13               (Audio played)

14   A.   Yes.    I understood him to be proposing an alternative to               14   Q.   And so what we just heard is consistent with what you and I

15   that.                                                                         15   were discussing a moment ago, two alternatives, the money 1.5

16   Q.   In fact, you had asked Mr. Avenatti for a number to settle               16   million to Mr. Franklin, the internal investigation run by

17   all the claims without an internal investigation?                             17   Mr. Geragos and Mr. Avenatti.       That's one proposal.     This

18   A.   Before he and Mr. Geragos had stepped out of this meeting I              18   alternative proposal is just a 22-and-a-half million dollar

19   had asked if there was a way to not have the threatened press                 19   settlement for Mr. Franklin for his claims, no internal

20   conference occur without having to hire, having Mr. Geragos to                20   investigation by Geragos and Avenatti, correct?

21   conduct an internal investigation.        And then I stated the               21   A.   There was a -- there were two alternatives and I think

22   question a second way, as I recall, which was:         What if we did         22   that -- I'm not sure.      It was a long question.     I'm not sure I

23   more money in the civil settlement agreement.                                 23   would describe them exactly as you had but that was the two

24   Q.   And the -- and when Mr. Geragos and Mr. Avenatti returned                24   alternatives.

25   this conversation ensues and the proposal is 22-and-a-half                    25   Q.   Now, at that moment in the negotiation or in the


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     K239AVE1                   Wilson - Cross                                       K239AVE1                    Wilson - Cross

1    conversation you had represented to Avenatti and Geragos you               1    a settlement agreement reduced to writing?         That was the

2    still did not have any authority to make an offer, correct?                2    proposal by Geragos and Avenatti, correct?

3    A.   The purpose of this meeting on the Thursday was for me to             3    A.   Mr. Avenatti handed me a draft settlement agreement during

4    hear the final demand, a demand with a price tag attached to               4    the course of that Thursday meeting.

5    the internal investigation so that I could then go back to my              5    Q.   So what I'd like to do now is we're going to queue up the

6    client and prepare a response for Monday, the following Monday.            6    video because there were moments -- am I correct there were

7    Q.   So at that moment in time you represented to Avenatti and             7    moments when Avenatti first presented you a draft settlement

8    Geragos you still did not have authority to make an offer,                 8    agreement, he then retrieved it, he made some modifications to

9    accept the demand; you simply had no authority to make any                 9    it and then he presented it to you again, correct?

10   decision on behalf of Nike, correct?                                       10   A.   Yes.

11   A.   Yes.    I believe I conveyed that, if not in words, in                11   Q.   So I'd like to queue up the video at page 10, line 7.            This

12   substance at that meeting.                                                 12   will be the video.       So we can watch when Mr. Avenatti presents

13   Q.   And indeed throughout the conversations with Geragos and              13   the draft settlement agreement to you for the first time on

14   Avenatti, you always indicated that you lacked the authority to            14   March 21, 2019.    OK?

15   make an offer or accept any proposal made by Avenatti and                  15               THE COURT:   So this is still Government Exhibit 2 that

16   Geragos, correct?                                                          16   you're dealing with, right?

17   A.   Yes.                                                                  17               MR. H. SREBNICK:   Yes, your Honor.     Now we're going to

18   Q.   In fact, you indicated you'd have to run it by management             18   use the video.

19   or go to Nike and get all the people in the flagpole to approve            19               (Video/audio played)

20   any offer or any settlement, correct?                                      20   Q.   I'm pausing it.      You saw when Avenatti handed you the draft

21   A.   I never felt that I was engaged in actual settlement                  21   agreement?

22   negotiations.     But I at many times represented to Mr. Avenatti          22   A.   Yes, I did.

23   that I had to go back to my client before I could respond to               23   Q.   That was earlier in the conversation on March 21, 2019,

24   his demands.                                                               24   correct?

25   Q.   Now, the proposed settlement was going to be documented in            25   A.   Earlier than what?      I'm sorry.


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1    Q.   Earlier than -- forgive me.                                           1    Q.   Now, that piece of paper, that draft of the settlement

2                That was early in the conversation, shall we say?              2    agreement is the one that had proposed a 1.5 million dollar

3    A.   It was fairly early in that meeting, yes.                             3    payment to Mr. Franklin, correct?         In that draft?

4    Q.   That was before the alternative 22-and-a-half million                 4    A.   The first version of the document, the one I had had in my

5    dollar alternative proposal was made, correct?                             5    hands until I handed it back in the clip we just saw, I believe

6    A.   Yeah, I recall that this was before -- when Mr. Avenatti              6    had the 1.5 million dollar number in the payment clause.

7    and Mr. Geragos stepped out of the room.                                   7    Q.   Mr. Avenatti then spends a little time doing some typing or

8    Q.   And we don't need to listen to it again in terms -- the               8    some editing of this settlement agreement, do you recall that,

9    jury has heard it before.      But, there's discussion about               9    on a computer?

10   arbitration clauses and other details that might be relevant to            10   A.   He said he was editing the document on his -- it was a

11   a settlement agreement, correct?                                           11   silver laptop.     I saw him typing.      I had no reason to believe

12   A.   Yes.                                                                  12   that's not what he was doing.

13   Q.   Now, during the March 21 meeting Geragos and Avenatti step            13   Q.   I couldn't hear the last part.

14   out for five minutes or so and then they come back into the                14   A.   I have no reason to believe that's not what he was doing.

15   room, correct?                                                             15   Q.   So if we could queue up the video to correspond to page 35,

16   A.   Yes.                                                                  16   line 17.

17   Q.   I'd like to turn to a video clip which corresponds to page            17               (Video/audio played)

18   21, line 11.     And we'll just play that.     It will be very short.      18   Q.   First, did you hear Mr. Avenatti say:        I'll tell you what,

19   A few seconds.                                                             19   so you have something to take with you, I will make a revision

20               (Video/audio played)                                           20   to this?

21   Q.   Do you recall that as being the moment when Avenatti comes            21   A.   Yes.

22   back into the room with Geragos and says could I see that for a            22   Q.   We'll continue with the video.

23   minute and he retrieves the settlement agreement that he had               23               THE WITNESS:   Could you direct me to the page?          I'm

24   given to you earlier in the meeting?                                       24   sorry.   The page of the transcript.

25   A.   Yes.    I handed it back to him at his request.                       25   Q.   Page 35, line 17.


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1    A.   Thank you.                                                             1    received from another person?

2                (Video/audio played)                                            2    A.    Yes.

3    Q.   On the video did you see that someone passes Mr. Avenatti              3    Q.    And we will roll the tape, we'll watch Mr. Avenatti handle

4    what is colloquially known as a thumb drive or a flash drive?               4    it.

5    A.   Yes.                                                                   5                 (Video/audio played)

6    Q.   And we see Mr. Avenatti is doing some typing.                          6    Q.    Did you observe Mr. Avenatti handing it back and then it is

7    A.   Yes.                                                                   7    given to you?

8                MR. H. SREBNICK:   If we could roll the video.                  8    A.    Yes.

9                (Video/audio played)                                            9    Q.    Now, I'd like to ask you about that very document, the one

10   Q.   Did you observe Mr. Avenatti pass the thumb drive back to              10   that you got -- what I'm referring to as the second draft

11   somebody?                                                                   11   settlement agreement.        I'd like to -- if there is no objection

12   A.   I recall him going that at the moment.        I was looking at         12   to Government Exhibit 205, the settlement agreement.          Not in

13   the transcript just now.       But I do recall him doing that.              13   evidence yet?

14   Q.   And then do you recall that at some point in time the new              14                MR. PODOLSKY:   205.   I believe is it in.

15   draft settlement agreement, I'll call it the second draft                   15                MR. H. SREBNICK:   It is in evidence.    OK.   Sorry.

16   settlement agreement, is then presented to you after it's                   16                I'd like to publish then what's already in evidence,

17   printed out?                                                                17   your Honor, as Government Exhibit 205.         I believe that's the

18   A.   There was an administrative struggle about USB drives and              18   document titled general release and settlement agreement.

19   e-mail but eventually I was handed back a new copy of the draft             19                THE COURT:   Go right ahead.

20   settlement agreement, yes.                                                  20   Q.    Do you recognize that as the document that I've referred to

21               MR. H. SREBNICK:   And that would, Mr. Lyon, correspond         21   in this morning's examination as the second draft?

22   to page 44, line 6.                                                         22   A.    Yes.

23               (Video/audio played)                                            23                MR. H. SREBNICK:   So if we could just expand the top

24   Q.   I paused the video.     Does that appear to be the draft --            24   like you just had it, Mr. Lyon.

25   second draft settlement agreement that Mr. Avenatti has                     25   Q.    So if we follow along it says, "This general release and


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1    settlement agreement (this agreement) dated and effective as of             1    agreement that does specific releases or another option is to

2    this 25th day of March, 2019 is made and entered into by and                2    do a general release, correct?

3    between Gary Franklin and California Supreme Youth Basketball,              3    A.    I suppose lawyers can do that but it's not -- as I just

4    Inc., on the one hand, (collectively Franklin) and Nike USA,                4    said, a settlement agreement that doesn't identify specific

5    Inc. (Nike) on the other hand (each a party and collectively                5    claims and release them is not a practice of lawyers that I'm

6    the parties)."                                                              6    familiar with personally.

7                Do you see that?                                                7    Q.    So this was a draft, correct?

8    A.   Yes.                                                                   8    A.    It was presented to me as an unsigned draft, yes.

9    Q.   And so this document is going -- being presented to you in             9    Q.    Any kind of specific language to specify details or claims,

10   your capacity as Nike's lawyer, correct?                                    10   in fact, Mr. Avenatti invited you to make revisions to that

11   A.   Yes.                                                                   11   effect, correct?

12   Q.   And as the document will further detail, it purports to                12   A.    He did not invite me.      Well, put it this way.     I asked if

13   settle the claims that Mr. Franklin has with Nike?                          13   there were -- if I could have opinions on parts of the draft

14   A.   It doesn't actually describe any claims that Mr. Franklin              14   and he indicated that the amount of the payment and the date of

15   may or may not have had but it does include a general release               15   the payment were nonnegotiable.        Of course that was earlier in

16   of any and all claims.                                                      16   the conversation.     And I asked questions about whether certain

17   Q.   So that we understand what that means, when parties are                17   boilerplate provisions like dispute resolution were the sorts

18   negotiating claims, a settlement of claims, the lawyers can                 18   of things that we could negotiate.         And he indicated that, yes,

19   structure the settlement to be a specific release as to a                   19   we could.

20   specific claim or the lawyers can negotiate that it's a general             20                THE COURT:   Could you explain, you used the term

21   release as to all claims the party has against the                          21   boilerplate.      Could you explain what that means.

22   counterparty, correct?                                                      22                THE WITNESS:    Apologies.   I used boilerplate as a

23   A.   I'd never had any prior experience with a settlement                   23   jargon term of the -- that lawyers use for the somewhat

24   agreement that didn't release specific claims.                              24   standard provisions in the back of a settlement agreement like

25   Q.   My question is:    Lawyers can negotiate a settlement                  25   confidentiality or separability, various technical legal


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1    provisions.                                                                     1    of general release, which we'll get to in a moment, and say

2    Q.   Now, a general release would be more beneficial to Nike                    2    this releases all claims including but not limited to claims A,

3    than a specific release because a general release waives any                    3    B, and C?     That might be one way to redraft that provision,

4    and all of Franklin's potential claims against Nike, correct?                   4    correct?

5    A.   If Mr. Franklin had claims, then a general release would be                5    A.   I would not, in this instance, have felt in a position to

6    broader than a specific release.                                                6    edit in specific claims because any specific claims that

7    Q.   When you say "broader," it would be more beneficial to Nike                7    Mr. Franklin might have had against Nike were never articulated

8    than a narrower, specific release, correct?                                     8    to be by Mr. Avenatti.     I wouldn't have known what to write.

9    A.   It's hard for me to take my lawyer hat off.        I would not             9    Q.   So let's take a look at paragraph one, payment.         Do you see

10   like a settlement agreement that didn't contain a release of                    10   that?

11   specific claims and only contained a general release because I                  11   A.   I do, yes.

12   would worry that the other side could argue that the general                    12   Q.   Now, the original draft settlement agreement -- let me read

13   release was boilerplate, it was just a standard term, and they                  13   this one.

14   hadn't intended to release some particular claim.          So the               14               "1.1 on or before March 26, 2019, Nike shall pay by

15   normal thing the parties do or at least that I do is make sure                  15   wire transfer to an account designated by Franklin's counsel by

16   that if my client is paying to settle a claim, that the written                 16   e-mail, in good funds, free of all liens, claims, encumbrances,

17   document by which we do that indicates which claims were being                  17   and issues of any kind, the total some of [insert]."

18   settled; otherwise, I think you leave some room for the other                   18               Do you see that?

19   party to argue:     Oh, I didn't know the general release was just              19   A.   Yes.

20   boilerplate that my lawyer had me sign, I didn't know I was                     20   Q.   This second draft settlement agreement left open the amount

21   giving up X, and Y, and Z.      So, yes, general releases are                   21   for the "total some of," do you see that?

22   broader than specific releases but I wouldn't like to have a                    22   A.   That is the change that I recall Mr. Avenatti made between

23   settlement agreement without specific releases in it if my                      23   the version of the document I saw at the beginning of the

24   opponent had a claim.                                                           24   meeting and the version of the document that I left the meeting

25   Q.   So you could, for example, modify that boilerplate language                25   carrying, that the sum was changed to open brackets insert


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1    close brackets.                                                                 1    Q.   And that has some, what you might describe as, boilerplate

2    Q.   The original draft, the number 1.5 million was in the space                2    language?

3    that is now bracketed as insert, correct?                                       3    A.   Yes.

4    A.   As you saw in the video, I was handed it.        I put it down.            4    Q.   We can scroll down.

5    I was listening to Mr. Avenatti.       I'm not certain but that's --            5                If we can scroll down.    So this document has other

6    my best recollection is that there was some 1.5 million dollar                  6    provisions, other perhaps what you might describe as

7    number where we now see open brackets insert close brackets.                    7    boilerplate language, correct?

8    Q.   Then during the course of the conversation Avenatti                        8    A.   Yes.

9    proposes the lump sum 22-and-a-half million but he doesn't put                  9    Q.   Now, and Avenatti had discussed certain I'll call them

10   that number in the second draft settlement agreement, correct?                  10   preferences, you can choose a different word, for whether

11   A.   There is no number here, just a notation "insert" where a                  11   Oregon law would apply or California law.        Avenatti gave you

12   number could be put in.                                                         12   the draft and said get back to me on those kinds of matters,

13   Q.   I'm correct?                                                               13   correct?

14   A.   You said that he proposed it.      I asked him if he -- if                 14   A.   At some point in the conversation I noted that Nike in its

15   there was a way to put more money in the civil settlement                       15   contracts generally specifies that Oregon law would be the

16   agreement and not have a press release.        We had a break.       He         16   state's laws that governs.      We did have a dialogue, some of

17   came back and said we could do $22.5 million.                                   17   which I think we listened to this morning, about whether or not

18   Q.   And the number, so we're clear as day, is nowhere in this                  18   I could have opinions on, by which I meant:         Can I ask for

19   settlement agreement second draft, correct?                                     19   changes with respect to things like JAMS, arbitration, venue.

20   A.   That number, $22.5 million is not in this document.                        20               So, yeah, we left it open that on those kinds of what

21   Q.   If we can scroll down to the general release.         Paragraph            21   I would call boilerplate provisions, he was open to changes.

22   four.    This is what you and I were just discussing, the concept               22   Q.   And, indeed, Avenatti told you -- this would be -- we don't

23   of a general release, correct?                                                  23   need to play it again unless you'd like, at page 10 of the

24   A.   That paragraph 4.1 is the general release language in this                 24   transcript, line 17, "If you need additional release language

25   draft.                                                                          25   or confidentiality language, language relating to other items,


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1    no problem, but we're not going to negotiate the amount or the             1    "except their attorneys and accountants, provided, however,

2    date."                                                                     2    that nothing herein shall restrict the disclosure of this

3               Do you recall that, Avenatti telling you that?                  3    agreement and its terms in a proceeding brought for the purpose

4    A.   With the modification I think it's "other terms" here, not            4    of enforcing this agreement and/or in connection with

5    "other items," yes, I do recall that.                                      5    responding to a lawfully issued subpoena or request by a

6    Q.   Now, if we could go to paragraph three, strict                        6    government body."

7    confidentiality.                                                           7                Do you see that?

8               "3.1.   The parties hereby agree that the terms and             8    A.   Yes.

9    conditions of this agreement and the underlying negotiations               9    Q.   Is it clear that at least in this draft the confidentiality

10   leading to settlement and discussion of the agreement shall                10   provision in no way restricts Mr. Franklin from responding,

11   remain strictly confidential among the parties to this                     11   second to last line, responding to a lawfully issued subpoena

12   agreement and shall not be disclosed to any other person or                12   or request by a government body?

13   entity,"                                                                   13   A.   That clause at the end of that paragraph in my reading only

14              I'm going to stop there.     Is it correct to say that          14   modifies "nothing herein shall restrict the disclosure of this

15   that first clause, I'd like to underline the words "terms and              15   agreement and its terms."      So this is a confidentiality clause

16   conditions of this agreement," first line.         And I'd like to         16   with respect to -- excuse me, the carve-out here is with

17   underline the words "underlying negotiations leading to                    17   respect to if the government issued a subpoena that called for

18   settlement and execution of this agreement."         According to this     18   the production of the settlement agreement itself, this

19   paragraph what would remain confidential are the matters now               19   carve-out or exception in the back of the paragraph would allow

20   highlighted.                                                               20   Mr. Franklin or any other party to the document to hand over

21   A.   If this agreement had been executed and subject to the                21   this document to the agency issuing the subpoena.

22   exception later in the clause, yes, those are areas of                     22   Q.   And in this draft of the settlement agreement there is no

23   information that this clause would render confidential.                    23   other confidentiality provision?       This is the entire scope of

24   Q.   Hold that highlighting.                                               24   the confidentiality?

25              I'm going to start reading again after the comma.               25   A.   It's been a while since I looked at it.        I have to scroll


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1    through.    But I don't recall another confidentiality provision.          1    going to pay millions of dollars to settle claims that would

2    Q.   So we can scroll slowly.                                              2    need to be reported to -- for the books and records of Nike for

3    A.   Thank you.                                                            3    one thing, correct?

4    Q.   So, is it correct to say that that provision that we just             4    A.   Nike records payments it makes under legal settlement

5    covered with the jury was the entire scope of the                          5    agreements in its books and records.

6    confidentiality provision?                                                 6    Q.   So I'd like you to give a listen then to page 34, starting

7    A.   It's the only confidentiality clause in the document.                 7    at line 6.     We're going to play the audio and we'll scroll the

8    Q.   And that document was presented to you after Mr. Avenatti             8    transcript, starting page 34, line 6.

9    proposed a 22-and-a-half-million-dollar settlement for                     9                (Audio played)

10   Mr. Franklin, full confidentiality, we ride off into the                   10   Q.   I'm referring now to what's on the screen at line 14,

11   sunset, those were basically Avenatti's words, right?                      11   you're speaking.    Do you see that?

12   A.   I received this revised draft after he made those                     12   A.   Yes.

13   statements in the meeting.                                                 13   Q.   Say something to the effect, "Yeah, the company will need

14   Q.   And based on your reading of the confidentiality provision            14   to -- if the company makes multimillion dollar payments -- the

15   it does not restrict Mr. Franklin giving testimony or providing            15   auditors will need to be able to..." and then it sort of trails

16   documents related to any activities he had with Nike, correct?             16   off.

17   A.   It does not speak to that topic so it doesn't restrict it             17               Is that to make some sort of disclosure?       Is that what

18   either.                                                                    18   you were suggesting to Mr. Avenatti and Mr. Geragos?

19   Q.   And if we go to the very last page, it has some signature             19   A.   I was referring to -- back to what I think we were talking

20   lines for Nike USA, Inc., for Gary Franklin in his individual              20   about a little higher in the transcript which I don't have on

21   capacity and Gary Franklin with regard to California Supreme               21   my screen which is to make sure that the confidentiality clause

22   Youth Basketball, Inc., correct?                                           22   and settlement agreement permits the settlement agreement to be

23   A.   I see those.                                                          23   shared with the firm's accountants or auditors -- excuse me

24   Q.   One more question about the disclosure issues.         Is it          24   attorneys or auditors as needed.

25   correct that if Nike settles with someone like Franklin and is             25               MR. H. SREBNICK:   OK.   We can continue to scroll.


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1                (Audio played)                                                   1    A.   He invited me to make some changes.       He had earlier said

2    Q.   And this then returns us to the part where Avenatti is                  2    there were two points that couldn't be changed.

3    arranging to make copies for you, a copy for you, correct?                   3    Q.   Earlier he had said the amount of money couldn't be changed

4    A.   Yes.                                                                    4    when it was 1.5 million, correct?

5    Q.   And you, in fact, kept that copy after that meeting?                    5    A.   Yes.

6    A.   I handed it to the FBI after the meeting.                               6    Q.   But when he hands you the document now he leaves blank the

7    Q.   And that's what ultimately is now as the government exhibit             7    amount of money?

8    we're now talking about in terms of the settlement agreement,                8    A.   Yes.    But I had also said 22 million dollars and he

9    correct?                                                                     9    corrected me and said no, 22.5 million, that number is magical

10   A.   Yes.                                                                    10   to me.   I don't know what he meant by "magical," but I took

11               MR. H. SREBNICK:    If I could just have a moment.               11   that to mean that 22.5 was the new demand.

12               THE COURT:   Yes.                                                12   Q.   And still that number doesn't appear in the settlement

13               (Counsel and defendant confer)                                   13   agreement, correct?

14   Q.   Do you recall Avenatti inviting you to bring your own                   14   A.   There was an open brackets insert close brackets where the

15   version of a settlement agreement if you preferred one or if                 15   dollar figure had originally been.

16   Nike has one that it prefers to use?                                         16   Q.   That number doesn't appear in the document, correct?

17   A.   I heard that in the recording, words to that effect in the              17   A.   Yes.    That's right.

18   recording we listened to just now.                                           18   Q.   And you're invited to even use your own form document to

19   Q.   So, to sum up, the conclusion of this discussion between                19   prevent -- to put whatever provisions that Nike might insist

20   you an behalf of Nike, Avenatti and Geragos on behalf of                     20   upon, correct?

21   Franklin, Avenatti tenders to you a draft of a settlement                    21   A.   He made reference to me that I could bring my own version.

22   agreement, the second draft of the day, correct?                             22   Q.   I'd like to talk to you now about a different subject and I

23   A.   Yes.                                                                    23   think this may bring us to the conclusion here.         In September

24   Q.   He invites you to make any changes to what you may describe             24   of 2017 Nike received a grand jury subpoena, correct?

25   as boilerplate language?                                                     25   A.   Yes.


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1                MR. H. SREBNICK:    If we could just show the witness,           1                THE COURT:   Members of the Jury, I want to give you a

2    not the jury, Defense Exhibit OO.                                            2    couple of instructions about the subpoena that you're about to

3    Q.   I'd like you to take a look at Defense Exhibit OO.          I'm         3    see.   You will notice that some parts of the subpoena have been

4    going to do one page at a time so you can see if you can                     4    deleted such as telephone numbers and e-mail addresses as well

5    identify it.      There is page 1?                                           5    as categories of materials to be produced.         This material has

6    A.   OK.                                                                     6    been deleted because it's irrelevant to this case.          Please

7    Q.   Page 2, please.     Tell us when you've had a chance.                   7    don't speculate about what might have been deleted.

8    A.   OK.                                                                     8                As to what a subpoena is, it is the vehicle by which

9                OK.                                                              9    the government obtains documents it wants for purposes of an

10               All right.                                                       10   investigation it is conducting.       The fact that the government

11               OK.                                                              11   has issued a subpoena to a person or entity does not mean that

12               OK.                                                              12   the recipient of the subpoena has committed a crime or that the

13   Q.   Mr. Wilson, do you recognize Defense Exhibit OO which has               13   government believes that the person or entity receiving the

14   some redactions we'll talk about in a minute?                                14   subpoena has committed a crime.       Instead, subpoenas are issued

15   A.   With the redactions, yes, I do recognize the document.                  15   to people and entities who might have documents relevant to the

16   Q.   And do you recall that being a letter from the government               16   government's investigation.

17   to Nike with a grand jury subpoena attached?                                 17               Please go ahead, Mr. Srebnick.

18   A.   Yes, I do.                                                              18               MR. H. SREBNICK:   Yes, your Honor.

19               MR. H. SREBNICK:    Your Honor, at this time I would             19   BY MR. H. SREBNICK:

20   seek the admission of and publication of Defense Exhibit OO.                 20   Q.   So if we could take a look at the first page of Defense

21               THE COURT:   Is there any objection?                             21   Exhibit OO.     Do you see that it is a letter from the Department

22               MR. PODOLSKY:    Subject to the appropriate limiting             22   of Justice dated September 26, 2017?

23   instruction we do not object.                                                23   A.   Yes.

24               THE COURT:   Defense Exhibit OO is received.                     24               MR. H. SREBNICK:   If we could go wide screen.

25               (Defendant's Exhibit     OO is received in evidence)             25   Q.   It's addressed to Nike, Inc.      Do you see that?


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1    A.   I do.                                                                 1    Q.    The letter that I just read makes a request in the second

2    Q.   And it reads as follows, follow along, please, "Please be             2    sentence beginning with the words, "the government hereby

3    advised that the accompanying grand jury subpoena has been                 3    requests," that Nike refrain from disclosing the existence of

4    issued in connection with an official criminal investigation of            4    the subpoena to any third party.

5    a suspected felony being conducted by a federal grand jury."               5                 Do you see that?

6                Do you see that?                                               6    A.    I see that request.

7    A.   Yes.                                                                  7    Q.    If Nike wants to disclose it, it can but the government is

8    Q.   "The government hereby requests that you voluntarily                  8    asking that Nike refrain from disclosing the existence of the

9    refrain from disclosing the existence of the subpoena to any               9    subpoena.      Correct?

10   third party.     While you are under no obligation to comply with          10   A.    Yes.    That's what it says.

11   our request, we are requesting that you not to make any                    11   Q.    But even though that's a request that Nike not disclose the

12   disclosure in order to preserve the confidentiality of the                 12   existence of the subpoena, Nike is under an obligation to

13   investigation and because disclosure of the existence of this              13   produce documents, correct?

14   investigation might interfere with and impede the                          14   A.    The subpoena obligates Nike to produce documents.

15   investigation."                                                            15   Q.    And the government described for Nike that there was a

16               Do you see that?                                               16   subpoena or this subpoena was, end of first line "in connection

17   A.   I see the text.                                                       17   with an official criminal investigation of a suspected felony."

18   Q.   "If you intend to disclose the existence of this grand jury           18                Do you see that?

19   subpoena request to a third party, please let me know before               19   A.    Yes.

20   making any such disclosure.      Thank you for your cooperation in         20                (Continued on next page)

21   this matter."                                                              21

22               Do you see all that?                                           22

23   A.   Yes.                                                                  23

24   Q.   The subpoena compels Nike to produce documents, correct?              24

25   A.   Yes.                                                                  25


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     K23dave2                    Wilson - cross                                      K23dave2                    Wilson - cross

1    Q.   If we turn to the next page, this is what would effectively           1    A.    Yes, that's correct?

2    be the first page of the subpoena itself?                                  2    Q.    And so when you received -- did you actually see this

3    A.   Yes, that's right.                                                    3    subpoena in or about the time it was served on Nike?

4    Q.   If we go wide screen.                                                 4    A.    Shortly thereafter, yes.

5                You see that the subpoena commands Nike, six Lines             5    Q.    And when you received this subpoena, did it make your jaw

6    down, approximately, to testify and give evidence in regard to             6    drop?

7    an alleged violation of, and then it has several federal                   7    A.    No, it struck me as fairly routine.

8    criminal statutes, correct?                                                8    Q.    Did you say it's fairly routine?

9    A.   Yes.                                                                  9    A.    The subpoena itself struck me as fairly routine.

10   Q.   Do you recognize those statutes to include the crimes of              10   Q.    Are you saying that when the federal prosecutor's office

11   bribery under 666, correct?                                                11   indicated it was investigating these felonies and wanted Nike's

12   A.   Yes.                                                                  12   records, that was routine to you?

13   Q.   You recognize those federal statutes to include the crimes            13   A.    It did not surprise me in the context of the arrest of a

14   of fraud, wire fraud, mail fraud?                                          14   former Nike employee a couple of days before.

15   A.   Yes.                                                                  15   Q.    It did not surprise you?

16   Q.   You recognize those statutes to include the crimes under              16   A.    In the context of the arrest of a former Nike employee a

17   the Travel Act?                                                            17   couple of days before, it did not surprise me that the

18   A.   Yes, Section 1952.                                                    18   government would issue a subpoena for records to Nike.

19   Q.   And you recognize those statues to include the crime of               19   Q.    Did you understand that the government was investigating

20   money laundering?                                                          20   these suspected felonies and wanted records in the possession

21   A.   Yes.                                                                  21   of Nike?

22   Q.   And this subpoena was issued by the U.S. Attorneys for the            22   A.    That's what I understood the subpoena to mean when I read

23   Southern District of New York, correct?                                    23   it.

24   A.   By that office, yes.                                                  24   Q.    And did it get your pulse to go up a little bit when you

25   Q.   The same office that's prosecuting Mr. Avenatti, correct?             25   saw it?


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     K23dave2                    Wilson - cross                                      K23dave2                    Wilson - cross

1    A.   No.    This is what I do for a living.     It didn't make my          1    Q.   And is it true that those conversations with the government

2    pulse go up.                                                               2    began in the fall of 2017, shortly after the -- within weeks of

3    Q.   I think we discussed that the subpoena commanded Nike to              3    Nike's receipt of the subpoena?

4    produce the records, but the subpoena does not command that                4    A.   Yes.

5    Nike cooperate with an investigation, does it?                             5    Q.   And you and your colleagues -- you and/or your colleagues

6    A.   All grand jury subpoenas say that they command you.                   6    made statements to the prosecutors about your perception of the

7    Cooperation in my view is may go above and beyond what a grand             7    investigation, correct?

8    jury subpoena requires.                                                    8    A.   I would say instead that we gathered facts and we presented

9    Q.   So when you use the term that Nike cooperated with the                9    those facts to the government.

10   investigation, that means it went above and beyond what the                10   Q.   And -- I'm sorry.

11   subpoena required, is that correct?                                        11   A.   Rather than other perception of facts, we presented the

12   A.   Yes, we did.                                                          12   factual information that we could to the government.

13   Q.   OK.    And in your mind, in your definition of "cooperate,"           13   Q.   And when you say you gathered facts and then presented them

14   what does that mean?     What did Nike do above and beyond what            14   to the government, how did you gather facts?

15   the subpoena required.                                                     15   A.   In addition to collecting and reviewing company documents,

16   A.   In addition to producing to the government the documents              16   including, for example, emails, text messages, payment records,

17   technically required by the subpoena, we also provided                     17   contracts, invoices, and other types of documents, Boies

18   additional documents and information that we believed might be             18   Schiller also conducted interviews of a number of Nike

19   of interest to the prosecutors, based on our conversations with            19   employees.

20   them, and we provided that information not only through the                20   Q.   Without telling us for the moment what was said in those

21   production of documents from Nike's files but also through                 21   interviews, did those interviews include interviewing DeBose or

22   in-person meetings and telephone calls conducted by, for the               22   James?

23   most part, my former colleagues so that we could bring that                23   A.   Mr. DeBose and Mr. James were among the individuals who

24   information to the attention of the prosecutors in a prompt                24   were interviewed.

25   manner.                                                                    25   Q.   And when you shared that information with the government,


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     K23dave2                    Wilson - cross                                      K23dave2                    Wilson - cross

1    did you share information that DeBose and James, the two Nike              1    Q.   Take a look at what might refresh your recollection.

2    executives, had directed Franklin to pay money to a first-round            2                MR. H. SREBNICK:     If I may approach, your Honor?

3    drafter?                                                                   3                THE COURT:   Yes.

4    A.   Prior to meeting Mr. Avenatti in March of 2019, that is not           4                (Pause)

5    information we had, and so that's not information that we                  5    Q.   I am going to show you what's marked VV, and see if that

6    presented.                                                                 6    refreshes your recollection.

7    Q.   I thought you just said you had interviewed DeBose and                7                I will direct your attention to the highlighted

8    James.     Did you not interview them before you met Mr. Avenatti?         8    portion.

9    A.   They were interviewed before my meeting with Mr. Avenatti,            9    A.   I literally can't read more than half of this cursive

10   but you just asked me if there was a particular piece of                   10   handwriting.     It's not my handwriting.     It does not refresh my

11   information that we presented to the government, and we did                11   recollection on anything.

12   present to the government but not until after we met with                  12               MR. H. SREBNICK:     OK.

13   Mr. Avenatti because it is not a piece of information that had             13               Judge, may I stand here for one more question?

14   come into our possession prior to him raising it.                          14               THE COURT:   Sure.

15   Q.   So let me see if I understand.      You interviewed DeBose, you       15   BY MR. H. SREBNICK:

16   interviewed James, you spoke to the government before you ever             16   Q.   Isn't it true that a month later, in December of 2017 --

17   met Mr. Avenatti, correct?                                                 17   more precisely, December 14 -- members of the Boies Schiller

18   A.   Those two gentlemen were interviewed, and there were                  18   team representing Nike told the prosecutors that there was no

19   numerous communications with the Southern District prior to                19   evidence that Nike employees were paying players?

20   March 2019.                                                                20   A.   This doesn't refresh my recollection, and there is a very

21   Q.   In fact, in November of 2017, members of your team at Boies           21   specific reason why I don't think that happened, which I am

22   Schiller told the government that there was no instance in                 22   happy to share.

23   which Nike paid money to a player or his family, isn't that                23   Q.   Let me just for the record say I've shown you defense

24   right?                                                                     24   Exhibit WW in an attempt to refresh your recollection, is that

25   A.   I don't recall that, no.                                              25   correct?


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     K23dave2                    Wilson - cross                                        K23dave2                    Wilson - cross

1    A.   That's the document you showed me, yes.                                 1    government there is no evidence of Nike paying players.

2                MR. H. SREBNICK:    One moment, your Honor.                      2    Q.   2018, did you tell the government that DeBose and/or James

3                THE COURT:   Yes.                                                3    were directing Franklin to pay players to travel to Phoenix to

4                (Pause)                                                          4    do any of the things that Avenatti brought to your attention in

5    Q.   Let me see if I can clear it up.                                        5    March of 2019?

6                The subpoena is delivered to Nike in September of                6    A.   Prior to Mr. Avenatti sitting down with me in on March 19,

7    2017, correct?                                                               7    2019, my team was unaware of an allegation that Mr. Franklin

8    A.   Yes.                                                                    8    himself was involved in getting money to the Ayton family.

9    Q.   Did Nike lawyers from Boies tell the Southern District of               9    That was new information to me when I sat down with him.

10   New York prosecutors, in 2017, within months of the subpoena,                10   Q.   It was new information to you, but it was after you had

11   that there was no evidence that Nike executives were paying the              11   already spoken to DeBose, after you had already spoken to James

12   players, and in particular the ones that Franklin brought to                 12   as part of the internal investigation, correct?

13   your attention through Mr. Avenatti, in March of 2019?                       13   A.   Either myself or someone on my team had spoken to those two

14   A.   When -- when we conduct an internal investigation, it is                14   gentlemen before March of 2019.

15   typical that we update the government as we're going as to what              15   Q.   And as of March of 2019, DeBose and James continued to be

16   we're finding.    It's quite possible that there were points in              16   employed by Nike, correct?

17   the early stages of our investigation where we said to the                   17   A.   Yes.

18   government to date we have seen no evidence of X.          That is very      18   Q.   And as of today they continue to be employed by Nike,

19   different from saying, sorry, guys, there is no evidence of X.               19   correct?

20               Remember, what we're doing with these ongoing                    20   A.   Yes.

21   communications with the government is saying we've looked at                 21   Q.   A couple of more questions.

22   this and that so far, and so far we have not seen evidence of                22               You told the jury that when you first met Mr. Avenatti

23   X.   If we receive new information, we might update what we say              23   on March 19 and he was giving you his presentation, it sounded

24   to the government, we would provide it to them.         So I have no         24   rehearsed to you.     I think those were your words.       Do you

25   recollection, certainly not in 2017, that we ever told the                   25   recall telling the jury that?


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     K23dave2                    Wilson - cross                                        K23dave2                    Wilson - cross

1    A.   I think I said like a rehearsed speech, something to that               1    2020?

2    effect.                                                                      2    A.   The same answer.    I met with them several times.       I don't

3    Q.   In preparation for your testimony here in this court, did               3    remember the calendar dates in January.

4    you spend some time rehearsing your direct testimony with the                4    Q.   January 20, 2020?

5    prosecutors?                                                                 5    A.   The same answer.

6    A.   No.    I spent time with the prosecutors but not rehearsing.            6    Q.   January 24, 2020?

7    Q.   How many times did you meet with the prosecutors to prepare             7    A.   Again, I don't recall which days I met with them but that

8    to deliver your testimony to this jury?                                      8    could be correct.

9    A.   I met with the prosecutors several times.                               9    Q.   January 26, 2020?

10   Q.   So Mr. Avenatti was arrested in March of 2019.         Do you           10   A.   That's the date before the first day of trial, yes, I

11   recall that you met with the prosecutors in June of 2019, more               11   recall that.

12   precisely, June 26, I believe?                                               12   Q.   On a Sunday you met with the government to prepare to be a

13   A.   I do recall that I had a meeting with the prosecutors in                13   witness in this case, correct?

14   last summer.     I don't remember the date.                                  14   A.   I met with the government at their request.

15   Q.   And do you recall that you met with them again just before              15   Q.   You met with them at least seven times to prepare to

16   Christmas, December 19, 2019?                                                16   testify in this courtroom, correct?

17   A.   Yes, that I do recall.                                                  17   A.   The -- I don't recall my testimony being a topic of

18   Q.   And do you recall you met again with the prosecutors on                 18   meetings last year, but certainly in January I met with them

19   January 10, 2020?                                                            19   several times in advance of the trial.

20   A.   I don't recall the dates, but I don't have a reason to                  20   Q.   Also spoke to them by phone, correct?

21   doubt I met with them several times.                                         21   A.   Not that I ever recall.     No, I've usually -- usually

22   Q.   Sorry?                                                                  22   counsel has spoken to them by phone.

23   A.   I don't have a reason to doubt that date.        I met with them        23               MR. H. SREBNICK:    One moment, your Honor.

24   several times.                                                               24               THE COURT:   Yes.

25   Q.   Do you recall you met with the prosecutors on January 17,               25               (Pause)


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     K23dave2                    Wilson - redirect                                     K23dave2                    Wilson - redirect

1    BY MR. H. SREBNICK:                                                          1    internal investigation works in real life.         And I'd like to

2    Q.   And the U.S. Attorney's Office you were meeting with in                 2    focus on circumstances, like we have here, where you

3    anticipation of testifying here at Mr. Avenatti's trial is the               3    conducted -- you are retained, your firm is retained by a

4    same U.S. Attorney's Office investigating Nike, correct?                     4    company to help conduct an internal investigation to help the

5    A.   A different team of prosecutors within the office.          The         5    company in parallel with a government investigation.          Do you

6    same office is investigating Nike, yes.                                      6    understand what I'm referring to?

7    Q.   The same boss, the same U.S. Attorney, correct?                         7    A.   Yes.

8    A.   There is one U.S. Attorney for the office.                              8    Q.   Now, first of all, when a company retains a law firm to

9    Q.   And when I reached out to you to ask you if I could speak               9    conduct an internal investigation, does the law firm do that

10   to you about the case, you declined to meet with us, correct?                10   work for the company or for the government?

11   A.   Yes, I declined to meet with counsel for Mr. Avenatti.                  11   A.   For the company.

12               MR. H. SREBNICK:   Those are all the questions I have.           12   Q.   Does the government conduct its own independent

13   Thank you, Judge.                                                            13   investigation in these circumstances?

14               THE COURT:   All right.   Redirect.                              14   A.   Yes.

15               MR. PODOLSKY:   Thank you, your Honor.                           15   Q.   To your understanding, does the United States Attorney's

16   REDIRECT EXAMINATION                                                         16   Office and the FBI and other law enforcement have the ability

17   BY MR. PODOLSKY:                                                             17   to access or obtain information beyond what a law firm

18   Q.   Why don't we start with some of the topics we just heard                18   conducting an internal investigation can access?

19   about.                                                                       19   A.   Yes.    They have much greater access to facts outside the

20               You were asked a number of questions about Boies                 20   company, sometimes even within the company.

21   Schiller's internal investigation and about communications with              21   Q.   Generally, can you explain your understanding of the type

22   the government.    Do you recall those questions today and last              22   of things federal law enforcement can do that a law firm

23   week?                                                                        23   conducting an internal investigation cannot?

24   A.   Yes, I do.                                                              24   A.   Sure.    The federal government has access to grand jury

25   Q.   So let's start -- let's try and just be clear about how an              25   subpoenas to compel other parties to produce documents or


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     K23dave2                    Wilson - redirect                                     K23dave2                    Wilson - redirect

1    testimony.     They can engage in wiretaps or consensually                   1    information?

2    recorded communications in order to gather additional                        2                MR. H. SREBNICK:   Objection, your Honor.

3    information.     They can approach witnesses through the FBI or              3                THE COURT:   Sustained.

4    other agencies.    They have a lot more tools at their disposal              4    Q.   In the course -- now, you were asked some questions today

5    than a private law firm conducting an internal investigation.                5    about cooperating with the government.        Do you recall that?

6    Q.   So, again, let's speak in general.       In your practice, you          6    A.   I do, yes.

7    conduct internal investigations.       Is it in a company's interest         7    Q.   Can you just explain to the jury what it means to cooperate

8    to hide or not provide accurate information to the government                8    with a government investigation as counsel to a company?

9    when they are conducting their own investigation?                            9    A.   To me it means a few things.      It means providing the

10   A.   No.    That would be very much against the interest of the              10   government not only documents that their subpoenas might seek

11   company.                                                                     11   but also additional documents that they might not know to ask

12   Q.   Why?                                                                    12   for but which appear relevant to counsel.        In addition, it

13   A.   The United States Department of Justice has policies that               13   means responding to any supplemental requests that the

14   provide that even if a crime has been committed by employees of              14   government may have.      And I believe it means refraining from

15   a company or by a company, if the company cooperates in a very               15   taking steps that the government might view as interfering with

16   thorough and prompt way with the government, the government may              16   its investigation, particularly if there are people outside the

17   exercise leniency in terms of the remedies it seeks against the              17   company with information that might be relevant to the conduct

18   company.     So even if something bad has already happened, the              18   at hand.

19   company still has an interest in cooperating effectively and                 19   Q.   When a company is cooperating the way you describe it with

20   promptly with the government because it might earn them some                 20   a government investigation, what do you believe the reaction of

21   credit when it comes time to decide what the government is                   21   the government would be to hiring the lawyer of another

22   going to do.                                                                 22   individual involved in the subject matter of the investigation

23   Q.   So what do you think would happen if a company hid or                   23   to run an investigation for the company?

24   withheld or misled information from the government but the                   24               MR. H. SREBNICK:   Objection, your Honor.

25   government through their own investigation found out that same               25               THE COURT:   I'll see the lawyers at sidebar.


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     K23dave2                    Wilson - redirect                                   K23dave2                    Wilson - redirect

1               (At the sidebar)                                                1              (In open court)

2               THE COURT:   I think there is another way to get at             2    BY MR. PODOLSKY:

3    this issue without asking him was does he think the reaction               3    Q.   Let's just back up for a minute, make sure we know where we

4    would be, and this man has testified to his knowledge all about            4    are in terms of internal investigations.

5    internal investigations.      He knows how they are conducted, and         5              Based on your experience, what concern would you have

6    so he can speak to whether in his own experience it would be               6    if your client hid or withheld information from the government

7    normal to hire someone who has threatened to sue the company to            7    during the course of an investigation that's parallel to a

8    do an internal investigation.                                              8    government investigation?

9               MR. PODOLSKY:   Yes, your Honor.     I am happy to              9    A.   I would have a range of concerns ranging from that the

10   rephrase.     There has been a lot of questions about his bias, so         10   company would probably not be able to get cooperation credit,

11   what I am trying to get at is in his thinking about these                  11   or leniency, if there was something criminal that had happened,

12   things, what his mental process is.                                        12   to the company being held in contempt for violating the

13              THE COURT:   I think that's fair.     It is just that when      13   requirements of the subpoena, to in a worst-case scenario the

14   you say what do you think the reaction would be, it is so                  14   company or someone involved in hiding that information being

15   directly asking for what's going on in someone else's mind.                15   charged criminally with obstruction of justice by the

16   That is the issue.                                                         16   prosecutors.

17              MR. PODOLSKY:   I understand.                                   17   Q.   And in the same context, what concern, if any, would you

18              THE COURT:   I agree with you, you are entitled to get          18   have about hiring or paying the attorney for an individual who

19   into this, it is just that you can phrase the question                     19   was also involved in conduct under investigation by the federal

20   differently.                                                               20   government?

21              MR. PODOLSKY:   No problem, your Honor.      I will.            21   A.   Could you say that again, please?

22              (Continued on next page)                                        22   Q.   Sure.   What concern -- in the same context, based on your

23                                                                              23   experience and in the context of conducting an internal

24                                                                              24   investigation parallel to a government investigation, what

25                                                                              25   concern, if any, would you have about hiring or paying an


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1    attorney for an individual who was also involved in the conduct            1    A.   Yes, I do.

2    subject to the government's investigation?                                 2              MR. PODOLSKY:    Mr. Hamilton, if we could just have it

3               MR. H. SREBNICK:    Judge, objection.                           3    up on the screen so that we can talk about it?

4               THE COURT:   Overruled.                                         4    BY MR. PODOLSKY:

5    A.   I would have a concern that it would appear to the                    5    Q.   We have Defense Exhibit OO on the screen.        Is this the

6    Department of Justice that my client was trying to get its                 6    subpoena that Nike received in September 2017?

7    story straight with the client of the other attorney and that              7    A.   Along with a cover letter, yes.

8    we were buying, in one way or another, that person not coming              8    Q.   Why don't we actually go to the first page of the subpoena,

9    forward or testifying about criminal activity.         I would,            9    the second page of the document.

10   moreover, be worried that the Department of Justice might                  10             Now, do you recall that you were asked just a few

11   object on conflict grounds to the attorney representing both               11   minutes ago several questions about whether your pulse raced

12   parties, if that was part of the arrangement, and essentially              12   when you received this document?

13   go to court to try to obtain court supervision or review of                13   A.   Yes, I do.

14   that double representation.                                                14   Q.   Well, let me ask you this:      Is this the only subpoena that

15   Q.   Can you just explain in your answer what you mean by                  15   Nike has received since September of 2017, to your knowledge?

16   "conflict"?                                                                16             MR. H. SREBNICK:     Judge, could we clarify, is he

17   A.   Sure.    Attorneys owe a duty of loyalty to their clients.            17   referring to a grand jury subpoena as opposed to a civil

18   And if you represent two clients that have conflicting                     18   subpoena?

19   positions that are adverse to each other or disagree on                    19   Q.   Let's just start with any subpoena.       Is this the only one?

20   something significant or just in general have different legal              20   A.   This is not the only subpoena I am aware of Nike having

21   interests, you've a conflict.       It is impossible to represent          21   received since September 2017.

22   loyally both those parties at the same time.                               22   Q.   Do you believe this is the only grand jury subpoena that

23   Q.   Now, you were also asked, just a few minutes ago, a number            23   Nike has received, ever?

24   of questions about a subpoena that Nike received in September              24   A.   No, I don't believe that.

25   of 2017.     Do you recall that?                                           25   Q.   Does a company like Nike -- let's focus on Nike.         Does Nike


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1    receive subpoenas -- how often do you think Nike receives a                1    Q.   Do you recall, defense counsel asked you a number of

2    subpoena, a grand jury subpoena?                                           2    questions about what those statutory citations mean?

3    A.   I would describe it as fairly routine.        I don't have a          3    A.   He did.    It was like going back to law school.

4    sense of the exact quantity, but I would say they get grand                4    Q.   Did the fact that there were one, two, three, four, five,

5    jury subpoenas regularly.                                                  5    six, seven statutes listed in this part of the subpoena strike

6    Q.   Can you -- I'm not asking about any particular subpoena or            6    you in any particular way when you saw the subpoena?

7    investigation, but can you give the jury a sense of what kinds             7    A.   It struck me as typical, and the particular statutes listed

8    of document subpoenas Nike receives generally?                             8    struck me as unsurprising given what I knew about the Adidas

9    A.   In the context of grand jury subpoenas alone, or more                 9    arrest that had happened a couple of days earlier.

10   broadly?                                                                   10   Q.   Let me ask you just a brief question about the Adidas

11   Q.   Let's start with grand jury subpoenas.                                11   arrest.

12   A.   Sure.    Nike is a large global company with tens of                  12               I believe in response to one of the questions by

13   thousands of employees and operations all around the world.          It    13   defense counsel, you said that you weren't surprised by the

14   could receive subpoenas in connection with its own conduct; it             14   subpoena in light of a Nike arrest that had happened recently.

15   could receive subpoenas in connection with conduct of its                  15   Was that correct, or did you misspeak?

16   business partners that it interacts with; it could receive                 16   A.   If I said Nike arrest, what I meant to say was the arrest

17   subpoenas in connection with athletes or other entities that it            17   of an employee -- a former employee of Nike, someone who had

18   sponsors; it could receive subpoenas in connection with the                18   left Nike years before.

19   personal activities of employees on their own personal time,               19   Q.   And where did that employee work, to your understanding, at

20   among other reasons for a company like Nike receiving                      20   the time of the arrest?

21   subpoenas.                                                                 21   A.   At the time of his arrest, my understanding is that he was

22   Q.   And do you see, there is -- it says in the middle here, 18            22   a consultant for Adidas.

23   U.S.C. -- there is section symbols and a number of statutory               23   Q.   Now, you were also asked some questions about -- both today

24   citations.     Do you see that?                                            24   and last week about the prosecutor's office that had issued

25   A.   Yes.                                                                  25   this subpoena, the United States Attorney's Office here in New


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     K23dave2                    Wilson - redirect                                   K23dave2                    Wilson - redirect

1    York; do you recall that?                                                  1    existence of the subpoena to any third party?"

2    A.   Yes.                                                                  2    A.   Yes.

3    Q.   Do you recall that last week defense counsel even pointed             3    Q.   In your experience, would it be -- would a company

4    to this table, to the government's table?        Do you remember           4    generally or typically broadcast or publicize the details of

5    that?                                                                      5    its own internal investigation when it has received a grand

6    A.   I don't recall the pointing, no.                                      6    jury subpoena?

7    Q.   Well, let me ask you this.       To your understanding, does          7    A.   No.    That would be extremely unusual.

8    anyone involved for the government in the conduct of this trial            8    Q.   Why?

9    today have any involvement in any investigation of Nike?                   9    A.   First of all, because an internal investigation is

10   A.   My understanding is that it is a completely separate team.            10   typically conducted under privilege, and discussing it publicly

11   Q.   Sitting here today, do you believe that your testimony in             11   could deprive the company of some of the protections -- the

12   this courtroom has anything to do with whether the United                  12   confidentiality protections that come with hiring lawyers.

13   States Attorney's Office and that other team of prosecutors                13               THE COURT:   Could you explain what you mean by

14   might charge or not charge anyone from Nike with any crime?                14   "privilege"?

15               MR. H. SREBNICK:   Objection, your Honor.                      15               THE WITNESS:   Sure.   When a law firm does work for a

16               THE COURT:   Overruled.                                        16   company, its communications and advice to the company are

17   A.   No.    I believe that the team -- the other team will make            17   confidential under a special rule called privilege,

18   its own decisions.                                                         18   attorney-client privilege, or the attorney work product.

19   Q.   Let me ask just one more question.                                    19   BY MR. PODOLSKY:

20               If we can go to the first page, the cover letter of            20   Q.   And I believe you said that was one reason that a company

21   the subpoena.     Do you see -- maybe we can blow up the first             21   would not generally broadcast its findings or details of its

22   full paragraph in the cover letter.                                        22   investigation.    Were there others?

23               Do you recall defense counsel went through this and            23   A.   The second and potentially more important is that when you

24   read with you the portion where it says, "The government hereby            24   are aware that the government is conducting a covert

25   requests that you voluntarily refrain from disclosing the                  25   investigation, broadcasting that you've received a subpoena or


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1    that you're conduct an investigation yourself could, again, be              1    obtain relevant to their matter, and, again, act in accordance

2    viewed as interfering with the government's investigation in                2    with the instructions and interests of my client.

3    any number of ways, including by leading people to destroy                  3    Q.   Do all lawyers have a duty of loyalty to their clients?

4    documents or to refuse to talk to the government.          So in            4    A.   Yes.

5    general, we would try to respect the request from the                       5    Q.   Now, as between that duty of loyalty to your client and the

6    government to stay very quiet, if that's what they asked.                   6    oath that you swore to tell the truth in your testimony before

7    Q.   Now, let's change topics.                                              7    this Court, which would you have to follow if there was ever

8                You made a reference earlier to the duty of loyalty.            8    any tension between the two?

9    Do you recall that just a few minutes ago?                                  9    A.   My oath to tell the truth.

10   A.   Yes.                                                                   10   Q.   Why?

11   Q.   And, actually, you were asked some questions about the duty            11   A.   Because, among other things, I don't think it's against my

12   of loyalty last week by defense counsel.        Do you recall that?         12   client's interests to have me tell the truth, but in any event,

13   A.   Yes.                                                                   13   that's my obligation as an attorney.

14   Q.   Do you recall that you were asked whether you have a duty              14   Q.   Let's turn to just one more topic.

15   of loyalty to your client, Nike?       Do you remember being asked          15               Do you recall that last week and a few moments ago,

16   that?                                                                       16   you were shown and the jury was shown a chart with some X's and

17   A.   Yes.                                                                   17   three columns?    Do you recall what I'm talking about?

18   Q.   And what was the answer to that question?                              18   A.   Yes, the blue chart.

19   A.   Yes, I do.                                                             19   Q.   And do you recall that that chart appeared to mark how many

20   Q.   Can you just help the jury understand, at a high level,                20   times you spoke to Mr. Geragos?

21   what is a duty of loyalty?                                                  21   A.   I recall it was a chart that had columns for Geragos, Nike

22   A.   I understand the duty of loyalty to mean that if I'm taking            22   and Avenatti.

23   actions, I should not act adverse to the interests of my                    23   Q.   Now, so let me ask you a couple of questions about

24   client, that I should respect the client's wishes and                       24   communications with Geragos and Avenatti.

25   directions, I should keep the client informed of information I              25               During the course of your communications with the two


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1    of them, who appeared to you to take the lead?                              1    Q.   Do you recall that you testified that you met with

2    A.   Mr. Avenatti took the lead and did the vast majority of the            2    Mr. Avenatti and Mr. Geragos on March 21st?

3    talking.                                                                    3    A.   Yes.

4    Q.   So, for example, on March 19th, that's the first time you              4    Q.   And do you recall that that meeting was -- you testified

5    met in person, is that correct?                                             5    that that meeting was recorded?

6    A.   Yes.                                                                   6    A.   Yes.

7    Q.   Who told you that he had two demands of Nike?                          7    Q.   In that March 21st meeting, who asked you why you would

8    A.   Mr. Avenatti.                                                          8    want to pay more to Mr. Franklin in light of his role in this?

9    Q.   On March 19th, who told you that he would hold a press                 9    A.   Mr. Avenatti.

10   conference if you did not agree to those demands?                           10   Q.   On March 21st, who demanded $12 million up front deemed

11   A.   Mr. Avenatti.                                                          11   earned when paid?

12   Q.   On March 19th, who told you that if Nike did not hire him,             12   A.   Mr. Avenatti.

13   you would have to pay him twice as much as any firm Nike did                13   Q.   On March 21st, when you said you had never gotten so much

14   hire for doing nothing?                                                     14   money for doing work for Nike, who asked whether you had ever

15   A.   It was Mr. Avenatti who made those statements.                         15   held the balls of your client in your hand where you could take

16   Q.   You also spoke to Mr. Avenatti and Mr. Geragos on                      16   billions of dollars off its market cap?

17   March 20th in a recorded phone call.        Do you recall that              17   A.   That was Mr. Avenatti.

18   testimony?                                                                  18               MR. PODOLSKY:   Just a moment.

19   A.   Yes.                                                                   19               (Pause)

20   Q.   On that March 20th call, who told you that a few million               20               Nothing further, your Honor.

21   dollars doesn't move the needle for him?                                    21               THE COURT:   All right.   Anything else?

22   A.   Mr. Avenatti.                                                          22               MR. H. SREBNICK:    Your Honor, may we approach on one

23   Q.   On March 20th, who said that he would take $10 billion off             23   matter?

24   of Nike's market cap if you didn't hire him?                                24               THE COURT:   Yes.

25   A.   Again, Mr. Avenatti.                                                   25               MR. H. SREBNICK:    Thank you.


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1              (At the sidebar)                                                      1    only was the government requesting documents as to Mr. Code,

2              MR. S. SREBNICK:     Good morning, your Honor.                        2    they were requesting seven other categories of documents,

3              THE COURT:    Hi.                                                     3    including category three, which was much broader than Mr. Code;

4              MR. S. SREBNICK:     So do you recall, we had agreed to a             4    it involved documents that were in existence after Mr. Code

5    redaction of a grand jury subpoena as to seven of the eight                     5    left Nike.    I think Mr. Code left in 2014.

6    categories.    One of those categories pertained to Merl Code.                  6              THE COURT:    But that's already clear from category

7              THE COURT:    Merl Code, yes.                                         7    three, which is not redacted.       The jury has access to that.

8              MR. S. SREBNICK:     Merl Code is the former employee who             8    Nobody brought it to their attention, but they -- category

9    then became the consultant for Adidas.        Mr. Wilson testified              9    three is there and makes it clear that the government is

10   that he was not surprised by the subpoena given the arrest of                   10   seeking all documents regarding payments to players and

11   Mr. Code.                                                                       11   players' families.     So that's already there.

12             Now, there are eight categories --                                    12             MR. S. SREBNICK:     I'm concerned that the jury believes

13             THE COURT:    So just so I'm clear, he's the fellow who               13   that category three was in response to the issue of Mr. Code,

14   used to work for Nike but then later worked for Adidas; is that                 14   or the former Nike employee, being arrested, and it is not.

15   who we are talking about?                                                       15   Category three has to be something that is much beyond

16             MR. PODOLSKY:    Correct.    He was arrested in connection            16   Mr. Code.    So I think he has created the impression --

17   with this conduct with Adidas.                                                  17   Mr. Wilson has created the impression with the jury that the

18             MR. S. SREBNICK:     So Mr. Wilson said he wasn't                     18   subpoena was routine given the arrest of the former Nike

19   surprised by this subpoena given the arrest of the employee who                 19   employee, and the subpoena was hardly routine, given the

20   he knows to be Mr. Code.       He didn't mention Mr. Code's name for            20   breadth of the requests that were made in that subpoena.

21   the record, obviously.     So I think the jury needs to know now                21             THE COURT:    I didn't understand it that way.       The way

22   that there was a separate category in the subpoena that                         22   I understood it was a fellow had been arrested who worked for

23   pertains directly to Mr. Code, directly to the former Nike                      23   Adidas as a consultant, and I can't recall whether the jury has

24   employee, such that the other seven categories had nothing to                   24   been told that that had something to do with the players.             Is

25   do with Mr. Code.     So he should have been surprised that not                 25   that already in the record?


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1              MR. PODOLSKY:    We've had about five days of testimony               1    That would be our ask.

2    that there was an investigation into payments to amateur                        2              THE COURT:    Yes.   That is denied, because category

3    players, that the government was interested in payments to                      3    three isn't limited at all.      It's not limited at all.      It is

4    amateur players, that he spoke to Mr. James and Mr. DeBose.           I         4    not limited to Merl Code or anybody else.        It is completely

5    mean, there is no mystery here that the government asked about                  5    broad, open-ended.     So the limitation that you're suggesting,

6    names beyond Merl Code.       His name has never been mentioned in              6    it is not in front of the jury now, and if I was to do what you

7    testimony at all.                                                               7    said, there would be a greater risk that they actually think

8              THE COURT:    Anyway, just to get back.      So the way I             8    that category three has something to do with Merl Code.              So,

9    understood his testimony was that given the fact that this                      9    your application is denied.

10   other fellow working for Adidas had been arrested a couple of                   10             (Continued on next page)

11   days earlier in connection with an investigation about payments                 11

12   to players, it seemed natural to him that the government would                  12

13   be subpoenaing another company, a competing company, in the                     13

14   same space to see whether they had also made payments to                        14

15   players and their families.       That's the way I understood it.               15

16   And there has just been no reference to Merl Code at all.            So         16

17   what you are suggesting, the jury has no idea about Merl Code.                  17

18   They don't even know who he is.                                                 18

19             MR. S. SREBNICK:     So our ask is that the Court allow               19

20   us to unredact I believe it is paragraph 8 of the documents to                  20

21   be produced so that the jury does know who Merl Code is and so                  21

22   that we can recross Mr. Wilson on the issue of that Merl Code                   22

23   and category eight was the former Nike employee, that that's                    23

24   just simply one category relating to the requests of the                        24

25   subpoena, and that category three goes far beyond Merl Code.                    25


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1              (In open court)                                                      1    client.    Thank you.

2              MR. H. SREBNICK:     Judge, may I have one moment?                   2               MR. PODOLSKY:    Nothing for the government.

3              THE COURT:    Yes.                                                   3               THE COURT:    All right.   We will resume in about ten

4              (Pause)                                                              4    minutes.

5              MR. H. SREBNICK:     Your Honor, I would be requesting a             5               MR. PODOLSKY:    Thank you, your Honor.

6    brief recross on the subject that your Honor ruled on.                         6               THE CLERK:    All rise.

7              THE COURT:    OK.                                                    7               (Recess)

8              MR. H. SREBNICK:     Judge, is this a good time to take a            8               (Continued on next page)

9    break so that we can confer with our client, or is it too                      9

10   early?                                                                         10

11             THE COURT:    If we must, we must.                                   11

12             MR. H. SREBNICK:     Thank you, Judge.                               12

13             THE COURT:    Ladies and gentlemen, we will take our                 13

14   mid-morning recess a little bit early.        Don't discuss the case.          14

15   Keep an open mind.     We will be back to you shortly.                         15

16             Thank you all very much.                                             16

17             THE CLERK:    All rise.                                              17

18             (Jury not present)                                                   18

19             THE COURT:    You can step down, Mr. Wilson.                         19

20             THE WITNESS:    Thank you, your Honor.                               20

21             THE COURT:    Please be seated.                                      21

22             (Pause)                                                              22

23             (Witness not present)                                                23

24             THE COURT:    Is there anything we need to discuss?                  24

25             MR. H. SREBNICK:     No.   I wanted to confer with my                25


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     K239AVE3                                                                            K239AVE3

1              (Jury not present)                                                   1    I don't know who the author of this Jencks material is.              The

2              THE COURT:    Mr. Srebnick, are you going to have                    2    government has declined to tell us but I assume that's a direct

3    additional questions for Mr. Wilson?                                           3    quote.    In redirect.

4              MR. H. SREBNICK:     Yes, please.                                    4               THE COURT:    What do you want to ask him?

5              THE COURT:    Mr. Wilson, please take the stand.                     5               MR. H. SREBNICK:    I want to impeach his redirect with

6              THE DEPUTY CLERK:     Ready for the jurors, your Honor?              6    this exact line of statement in the Jencks material.

7              THE COURT:    Yes.                                                   7               THE COURT:    What exactly --

8              MR. H. SREBNICK:     May we approach about one issue                 8               MR. H. SREBNICK:    Did you tell prosecutors that

9    while the jurors come in.                                                      9    Geragos was an active participant, not on the phone, following

10             THE COURT:    OK.                                                    10   along, calm, serious, didn't react with any surprise, showed no

11             (At the sidebar)                                                     11   surprise, no spit take.

12             MR. H. SREBNICK:     Your Honor, I'm holding what's                  12              THE COURT:    So you're going to ask him if he said

13   Jencks material 3516006 at page five.        These are purportedly             13   this?

14   the interview notes taken by someone on the prosecution team of                14              MR. H. SREBNICK:    Yes.

15   the witness Wilson.     And what it appears to say is Mark Geragos             15              MR. PODOLSKY:    I mean I think he can first ask the

16   next to Michael Avenatti, active participant, not on the phone,                16   question and if he says something that Mr. Srebnick thinks is

17   following along, calm, serious, didn't react with any surprise,                17   inconsistent he can refresh him, confront him.         I'm not sure

18   SW, I assume is Wilson, never were counsel for opposing party                  18   what Mr. Srebnick --

19   hired by; then it says Mark Geragos showed no surprise, no spit                19              MR. H. SREBNICK:    What I'd like to find out is who

20   take, in quotes.    You may recall which I had asked the witness               20   among the prosecution team noted in quotes spit take.

21   about that term.    I confess I had never heard it before.                     21              THE COURT:    I got to confess.    I have no idea why

22             THE COURT:    Me either.                                             22   you're pursuing the spit thing.       You and I haven't heard of it.

23             MR. H. SREBNICK:     This is where I got it from.          And I     23   What makes you think the jury is going to have some

24   would like to know if the government will -- I've asked, they                  24   understanding of it.      But if you want to ask the question you

25   won't answer, if that was the witness's words, Wilson's words.                 25   have a good faith basis for doing so.


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     K239AVE3                                                                        K239AVE3                    Wilson - Recross

1              MR. H. SREBNICK:     Understood.                                 1              (In open court; jury present)

2              (Continued on next page)                                         2              MR. H. SREBNICK:     May I proceed?

3                                                                               3              THE COURT:    Yes.

4                                                                               4    RECROSS EXAMINATION

5                                                                               5    BY MR. H. SREBNICK:

6                                                                               6    Q.   Mr. Wilson, when you were questioned moments ago by the

7                                                                               7    prosecutor he was asking you about Mr. Geragos' participation

8                                                                               8    in these events, is it true that you've told the government

9                                                                               9    that Mr. Geragos was, in fact, an active participant in the

10                                                                              10   discussion?

11                                                                              11             MR. PODOLSKY:    Objection, your Honor.

12                                                                              12             THE COURT:    Grounds.

13                                                                              13             MR. PODOLSKY:    The calls for hearsay.

14                                                                              14             THE COURT:    I don't think it's offered --

15                                                                              15             MR. H. SREBNICK:     I'll start again.

16                                                                              16             THE COURT:    Yes.

17                                                                              17   BY MR. H. SREBNICK:

18                                                                              18   Q.   Isn't it true, Mr. Wilson, that Mr. Geragos was an active

19                                                                              19   participant in the conversations that you engaged in with

20                                                                              20   Avenatti and Geragos?

21                                                                              21   A.   I viewed him as an active participant in our conversations.

22                                                                              22   Q.   That Mr. Geragos was following along with the conversation?

23                                                                              23   A.   That was my impression for the most part.

24                                                                              24   Q.   That he was serious, Mr. Geragos was?

25                                                                              25   A.   Well there were times when he was laughing or making jokes


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1    but for the most part it was a serious discussion.                         1    only Defense Exhibit TT.       Thomas, Thomas.

2    Q.   That Geragos did not react with any surprise to the                   2              If you could just review that and see if that appears

3    proposals made by Mr. Avenatti?                                            3    to be the text message exchange you had with Geragos.

4    A.   I recall surprise when I was asking questions about                   4              THE WITNESS:    Yes, it does.

5    settling without a press conference.        There was some discussion      5              MR. H. SREBNICK:     Judge, I'd offer TT and request

6    about putting on their Nike hats and then they -- Mr. Avenatti             6    permission to publish.

7    asked for a separate meeting and they left the room.          This was     7              THE COURT:    Is this all of TT, this one page, or is

8    during the Thursday, March 21 meeting.                                     8    there more?

9    Q.   Are you referring to when you proposed an alternative                 9              MR. H. SREBNICK:     That's it.

10   settlement not involving the internal investigation?                       10             THE COURT:    Do you have any objection to TT?

11   A.   When I asked whether there were -- whether we could do some           11             MR. PODOLSKY:    No, your Honor.

12   alternative arrangement, yes.                                              12             THE COURT:    TT is received.

13   Q.   But otherwise Mr. Geragos did not express any surprise to             13             (Defendant's Exhibit TT received in evidence)

14   the proposals Avenatti was making, correct?                                14             MR. H. SREBNICK:     If we could publish for the jury.

15   A.   I don't recall him expressing surprise, no.                           15   Q.   Do you recall this is the text message exchange between

16   Q.   And, indeed, on March 24, this Sunday after the meeting               16   Mr. Geragos and yourself on the Sunday, March 24 before the

17   that was videotaped, Mr. Geragos text messaged you about                   17   planned meeting of Monday, March 25?

18   scheduling a Monday -- what was going to be a Monday meeting on            18   A.   I couldn't tell you sitting right here, right now if it was

19   March 25?                                                                  19   Saturday or Sunday but it was that weekend.

20             MR. PODOLSKY:    Objection.    Scope, your Honor.                20   Q.   But it was?

21             THE COURT:    Overruled.                                         21   A.   That weekend.

22             THE WITNESS:    Prior to Monday, probably the weekend, I         22   Q.   Fair enough.

23   do recall Mr. Geragos asking if he could change the time of the            23             And Mr. Geragos at the top is trying to reschedule the

24   Monday meeting.                                                            24   meeting to a later time, 2:30, correct?

25             MR. H. SREBNICK:     If I could just put on your screen          25   A.   That's what I read him to be asking.


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1    Q.   And it turns out you all couldn't reschedule the meeting                1    principal, or board member of Nike, Inc. for the time period

2    because you were working with the FBI so you left it at the                  2    January 1, 2013 to the present.

3    noon time, right?                                                            3                Do you see that?

4    A.   I don't recall whether I consulted with the FBI before                  4    A.   Yes, I do.

5    sending my response.                                                         5    Q.   Now, you had indicated that there was a former Nike

6    Q.   But Mr. Geragos was indicating he had some conflict that                6    employee who had moved to Adidas and was the subject of the

7    morning, he might not be able to get to the meeting by noon and              7    Adidas case, correct?

8    so he was asking to move it to 2:30 but that was rejected,                   8    A.   This individual was an Adidas consultant.        I don't know if

9    correct?                                                                     9    he moved to Adidas as an employee.       I was familiar with news

10   A.   What I recall about this is what's written right here.           We     10   reports with the idea that he was an Adidas consultant.

11   didn't talk.                                                                 11   Q.   That person, the Adidas consultant, had left Nike about

12   Q.   Now I'd like to ask you some questions about the grand jury             12   three years before this subpoena went out, correct?          Back in

13   subpoena which is OO, if we could put that on the screen.                    13   2014 more or less?

14               Now, we looked at the cover letter, scroll to the next           14   A.   I believe he had left around -- the company's employment

15   page, we looked at the face page.       I'd like to turn our                 15   around 2014.

16   attention then to the next page, top of the page, paragraph 1.               16   Q.   The subpoena was requiring the production of records

17               Do you see that the subpoena called for:       One, the          17   extending up until the present date which at that time would

18   preservation of specific documents, including e-mails, in the                18   have been 2017, correct?

19   possession, custody or control of Nike, Inc. or any employee,                19   A.   Yes.    That's right.

20   officer, principal, or board member of Nike, Inc.                            20   Q.   So approximately three years of records after this Adidas

21               Do you see that?                                                 21   consultant had left the employee of Nike, correct?

22   A.   Yes.                                                                    22   A.   The date range ran about that many years after his

23   Q.   And second, the production of specific documents, including             23   departure, yes.

24   e-mails and text messages, in the possession, custody or                     24   Q.   And it included e-mails and text messages generally

25   control of Nike, Inc. (Nike) or any employee, officer,                       25   speaking that needed to be produced, correct?


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1    A.   The subpoena specified that those were types of documents               1    criminal statutes, money laundering, fraud, bribery, are you

2    that the subpoena was looking for.                                           2    saying -- you did not consider that as something indicative

3    Q.   So that would include, if we go to the next page, category              3    that the government was investigating those crimes in

4    three, please.                                                               4    connection with payments to amateur athletes by Nike?          Is that

5                Do you see it says, "3.    All communications or                 5    what you're saying?

6    documents pertaining to any monies promised or provided --                   6    A.   I think the subpoena says on its face that it's

7    whether as a purchase, gift, loan, donation, or for any other                7    investigating a potential violation of those statutes.           That's

8    purpose -- to (i) any other amateur athlete competing on any                 8    what I understood it to mean.       And that the topics of documents

9    amateur basketball team, including any high school basketball                9    that they sought from the company included the documents sought

10   athlete, or any family member, friend, or representative of                  10   in request three.

11   such an athlete, or (ii) any player on any basketball team                   11   Q.   So wasn't it clear to you that the U.S. Attorney's Office

12   subject to the NCAA rules, or any family member, friend, or                  12   Southern District of New York was launching an investigation

13   representative of such an athlete."                                          13   that included Nike, whether Nike was making payments to amateur

14               Do you see that?                                                 14   athletes as described in paragraph three?

15   A.   I see request three.                                                    15   A.   I came to understand that Nike was the subject of the

16   Q.   So, the subpoena was commanding Nike to produce records                 16   investigation by the U.S. Attorney's Office, yes.

17   from 2013 through 2017 including text messages and e-mails                   17   Q.   This went beyond that Adidas consultant that you made

18   related to this subject matter in item number three, correct?                18   reference to, correct?

19   A.   Yes.    That's right.                                                   19   A.   The government never indicated to us that the scope of

20   Q.   And that should include the records of DeBose and James                 20   their investigation was limited to that particular individual.

21   with regard to the activities of the California Supreme team                 21   Q.   And so are you saying that it was not a pulse-pounding

22   and any payments?                                                            22   event for Nike that Nike was now under investigation for these

23               MR. PODOLSKY:    Objection, your Honor.                          23   criminal statutes, for these types of payments?

24               THE COURT:   Sustained.                                          24               MR. PODOLSKY:    Objection, your Honor.

25   Q.   So, when you saw the subpoena that listed those federal                 25               THE COURT:   Sustained.


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1    Q.   Now, the government asked you whether the prosecutors who             1    A.   I'm not aware of whether or not Nike has received

2    are handling the Avenatti case are part of a different team of             2    additional grand jury subpoenas in that specific timeframe.

3    prosecutors than are handling the Nike investigation.          You         3    Q.   And you understand that the investigation of Nike remains

4    heard those questions, right?                                              4    open and ongoing?

5    A.   I did.    Yes.                                                        5    A.   The government has never informed us that it has closed its

6    Q.   And did you observe any of the Nike prosecutors observing             6    investigation of Nike's conduct.

7    your testimony while you have been in court here?                          7    Q.   You understand that the investigation of Nike is ongoing,

8                MR. PODOLSKY:   Objection, your Honor.                         8    correct?

9                THE COURT:   Sustained.                                        9    A.   Yes.    As I said before, yes.

10   Q.   All of these prosecutors work for the same U.S. Attorney,             10   Q.   Since 2017, we're now in 2020, for three years, it's still

11   right?                                                                     11   ongoing, correct?

12   A.   All of the prosecutors we're referring to work in the --              12               MR. PODOLSKY:   Objection, your Honor.     Asked and

13   they work for the U.S. Attorney's Office that is helmed by the             13   answered several times now.

14   same single United States Attorney.                                        14               THE COURT:   Sustained.

15               MR. H. SREBNICK:    If I may have a moment?                    15               MR. H. SREBNICK:    Thank you, your Honor.     That's all I

16               THE COURT:   Yes.                                              16   have.

17               (Counsel confer)                                               17               THE COURT:   Anything else?

18   Q.   Mr. Wilson, I think you -- and correct me if I'm wrong --             18               MR. PODOLSKY:   Not from if government, your Honor.

19   you said it's routine for Nike to get grand jury subpoenas?                19               THE COURT:   You can step down, sir.

20   Was that what you were suggesting?                                         20               THE WITNESS:    Thank you, your Honor.

21   A.   I don't recall my exact testimony.       It's routine for large       21               THE COURT:   Government call its next witness.

22   companies to receive a number of subpoenas and Nike certainly              22               MR. SOBELMAN:   The government calls Jeffrey Auerbach.

23   received more than one grand jury subpoena.                                23   JEFFREY AUERBACH,

24   Q.   Since 2017 September Nike has received additional grand               24         called as a witness by the Government,

25   jury subpoenas?       Is that your testimony?                              25         having been duly sworn, testified as follows:


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1                THE COURT:   Please proceed.                                   1    Q.   Just generally how did you come to meet him?

2    DIRECT EXAMINATION                                                         2    A.   When I was helping out Gary Franklin and we needed an

3    BY MR. SOBELMAN:                                                           3    attorney I had suggested Gary -- I had suggested to Gary

4    Q.   Good morning, Mr. Auerbach.                                           4    Michael Avenatti and reached out to him.

5    A.   Good morning.                                                         5    Q.   I'll ask you some more questions about Mr. Franklin in a

6    Q.   What do you do for work?                                              6    few moments.

7    A.   I'm a managing director of Bedford Consulting, a business             7    A.   Sure.

8    consulting and advisory firm I founded in 2011.                            8    Q.   If you could please look around the courtroom and let us

9    Q.   What does a consulting firm do?                                       9    know if you see Mr. Avenatti.

10   A.   I provide business consulting and advisory services to                10   A.   I do.

11   C-level executives, CEOs, chief financial officers, high net               11   Q.   And can you please tell us where he's located and an item

12   worth individuals, startups in entertainment, sports, and                  12   of clothing that he's wearing.

13   technology.                                                                13   A.   Yes.    He's seated over there at that table.

14   Q.   What is a C-level executive?                                          14               Actually standing up now with the striped tie and the

15   A.   It's usually senior management and, again, chief operating            15   suit.

16   officers, CFOs, or CEOs.                                                   16               MR. SOBELMAN:   Your Honor, may the record reflect that

17   Q.   Mr. Auerbach, if you could just make sure you're speaking             17   the witness has indicated the defendant.

18   into the microphone.      I want to make sure everyone can hear            18               THE COURT:   Yes.   The record will so reflect.

19   you.   Thank you so much.                                                  19   Q.   I'll ask you some more questions about the defendant in a

20               Where do you live?                                             20   minute.

21   A.   I live in Los Angeles, California.                                    21   A.   Sure.

22   Q.   Do you know someone named Michael Avenatti?                           22   Q.   Mr. Auerbach, you mentioned Mr. Franklin.        Who is Gary

23   A.   I do.                                                                 23   Franklin?

24   Q.   Have you met him?                                                     24   A.   Gary Franklin is the founder and program director of

25   A.   Yes.                                                                  25   California Supreme, an elite youth basketball program that was


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1    sponsored by Nike and was my son's coach in middle school,                 1    for assistance?

2    basketball coach.                                                          2    A.   He and I had discussed what was going on with him at the

3    Q.   And what's your relationship with Mr. Franklin now?                   3    time and he knew that I had a prior relationship or an ongoing

4    A.   Gary and I are friends and I've been helping him out as an            4    relationship but prior working relationship with Phil Knight,

5    adviser on a pro bono basis.                                               5    the cofounder of Nike, and some high-ranking executives there.

6    Q.   What do you mean by pro bono basis?                                   6    Q.   What types of assistance did Mr. Franklin ask you for?

7    A.   I'm not charging him anything.                                        7    A.   Well, he was under a lot of stress and had endured a lot of

8    Q.   What does Mr. Franklin do for a living?                               8    corporate bullying and abuse, from what he told me, and

9    A.   He runs Cal Supreme basketball program and he's a coach and           9    wanted -- we had discussed going to Nike because it would be to

10   that's what he does.                                                       10   their benefit to find out about what was going on as well.             And

11   Q.   What is Mr. Franklin's role with Cal Supreme?                         11   I told him I would do that.

12   A.   He's the program director and head coach.                             12   Q.   And I'll ask you some more questions about what

13   Q.   And who, if anyone, sponsored Cal Supreme prior to the end            13   Mr. Franklin told you about his experiences with Nike a little

14   of 2018?                                                                   14   later.

15   A.   Nike sponsored Cal Supreme for almost fifteen years, eight            15               Generally, what, if anything, did you do to help

16   of which were in Nike EYBL which is the Elite Youth Basketball             16   Mr. Franklin?

17   League.                                                                    17   A.   When we first started talking about this I helped him put

18   Q.   Did there come a time when Mr. Franklin asked you for                 18   together documents or a master document that outlined all the

19   assistance in dealing with Nike?                                           19   actions that happened over a two-year period that he was

20   A.   Yes.                                                                  20   involved in and that he was directed to participate in.              And

21   Q.   Approximately when did Mr. Franklin first ask for your                21   then pulled together all the evidentiary documents, the backup

22   assistance?                                                                22   texts, e-mails, bank statements, falsified invoices and such.

23   A.   I believe it was in 2018 February, or January or February             23   Q.   Why did you help him do that?

24   in 2018.                                                                   24   A.   In the beginning it was both, I thought it was going to be

25   Q.   What was your understanding of why Mr. Franklin asked you             25   helpful to go to Nike with or to whatever legal representation


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1    down the road, but it was also for myself, proof of concept,               1    A.   That's right.

2    before I go to people at Nike or possibly Phil Knight on his               2    Q.   That was a concern you had?

3    behalf.                                                                    3    A.   A concern I had.    And I had talked to Gary about.

4    Q.   What do you mean by proof of concept?                                 4    Q.   Why did you assist Mr. Franklin with finding a lawyer to

5    A.   Meaning that I wanted to really do my due diligence                   5    represent him after that initial conversation?

6    homework and put together a roadmap of what he had gone through            6    A.   Well, I had reached out to John Slusher at Nike on Gary's

7    and proof.                                                                 7    behalf who is the de facto second in command at Nike and the

8    Q.   Why did you want to do that before you reached out to                 8    executive vice-president of sports marketing and explained to

9    anyone at Nike?                                                            9    him what Gary said he endured over a two-year period by Nike

10   A.   Because I only know what I know, what Gary has told me and            10   executives, Nike EYBL, Elite Youth Basketball executives,

11   I really wanted to have the evidence there before reaching out.            11   Carlton DeBose and Jamal James.       And after explaining what Gary

12   Q.   Directing your attention to March 2019, did there come a              12   wanted and hoped to accomplish, and I expressed that Gary is a

13   time when you assisted Mr. Franklin with finding someone else              13   big fan of Nike, he has no issues with Nike, he just wanted to

14   to help him as well?                                                       14   report this.

15   A.   I did.                                                                15               I received communication from John saying that any

16   Q.   What kind of person did you help him find?                            16   further discussions, that they take this matter very seriously,

17   A.   We went first to an attorney just for advice, not seeking             17   and that any further discussions at this point he thinks it's

18   representation, but advice on criminal matters.         And then           18   best that I reach out to Andrew Michaelson who is at Boies

19   afterwards we reached out to Mr. Avenatti.                                 19   Schiller and Nike EYBL's outside counsel.

20   Q.   When you say criminal matters, without telling me what you            20   Q.   Did you have a prior relationship with Mr. Slusher?

21   and Mr. Franklin discussed with that other attorney, just                  21   A.   Yes.

22   generally what do you mean by that?                                        22   Q.   And just generally can you describe that for us?

23   A.   That Mr. Franklin might have some criminal exposure based             23   A.   Sure.    I had been president of Phil Knight's animation

24   on activities he was directed to participate in.                           24   company at one point many years ago and a company called Laika

25   Q.   To be clear that's what you went to go talk about?                    25   Entertainment.


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1              THE COURT:    How do you spell that?                               1    effective in some of the plaintiff cases that he represented.

2              THE WITNESS:    L-A-I-K-A.                                         2    Q.    Before you reached out to the defendant did you talk to

3              And John had assisted -- John Slusher had assisted                 3    Mr. Franklin about him?

4    Phil Knight in the acquisition of the company and I was                      4    A.    Yes.

5    president of the predecessor company called Vinton Studios.                  5    Q.    Generally what, if anything, did you tell Mr. Franklin

6    And so then I ran -- I was president of Laika and worked with                6    about the defendant at that time?

7    John who was a board member of Laika for a while.          It was an         7    A.    I told him that I thought he would be the perfect guy and

8    animation studio, both of them.                                              8    he would be very effective and I think we should reach out and

9    Q.   After you spoke with Mr. Slusher and he referred you to                 9    meet with him and gave him some reasons why I thought that.

10   Andrew Michaelson at Boies Schiller, who, if anyone, did you                 10                At that time to me he carried himself well and that he

11   reach out to on Mr. Franklin's behalf?                                       11   had won a lot of big awards and that I thought he could be

12   A.   I had talked to Gary and decided that, you know -- or                   12   diplomatic at the time, the hope was he would be diplomatic.

13   suggested that we reach out to Mr. Avenatti and Mr. Avenatti is              13   Q.    Why did you talk to Mr. Franklin about the defendant before

14   the only attorney we reached out to.                                         14   reaching out to the defendant on Mr. Franklin's behalf?

15   Q.   Generally how were you familiar with the defendant before               15   A.    Well, it's Gary's case, Gary's matter and he would be

16   you reached out to him?                                                      16   representing Gary so it's something he should decide.

17   A.   I had known of and watched Mr. Avenatti during the -- his               17   Q.    What, if anything, did you send Mr. Franklin about the

18   representation of Stormy Daniels and I had seen him on                       18   defendant before you reached out to him?

19   television.                                                                  19   A.    I had sent Gary some articles and a number of videos --

20             And I was familiar with a lot of, at that point                    20   video links, I'm sorry.

21   because I did some research, some of the plaintiff cases that                21   Q.    Why did you send Mr. Franklin those articles and videos?

22   he represented.                                                              22   A.    Because I wanted to make sure before we reached out to him

23   Q.   Why did you reach out to the defendant specifically as                  23   that he could see for himself and decide for himself.

24   opposed to some other lawyer?                                                24   Q.    And generally what was the defendant doing in those videos?

25   A.   I had seen his track record and thought that he was very                25   A.    It was Mr. Avenatti I believe having some interviews,


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1    one-on-one interviews on CNN.       I think there might have been a          1    A.    Oh, God.    We discussed a variety of things.     We were

2    press conference as well.                                                    2    discussing the ongoing Adidas basketball scandal that was going

3    Q.   Did you send videos of the defendant doing interviews or                3    on.    We were discussing, you know, Nike, his case and

4    holding press conferences because you wanted him to hold a                   4    strategizing, you know.      And we were really working on putting

5    press conference or do a TV interview regarding Mr. Franklin?                5    this definitive document together and accompanying documents.

6    A.   Absolutely not.                                                         6    Q.    In those conversations, were you in a rush in any way?

7    Q.   Why not?                                                                7    A.    No, obviously.   It took a year.

8    A.   Because we were in the process of discussing Gary's matters             8    Q.    Did you ever share any of your and Mr. Franklin's text

9    with Nike and we were trying to reestablish the relationship                 9    messages with the defendant?

10   and forge a good future together and that would have been                    10   A.    No.

11   really detrimental and damaging.                                             11   Q.    I'm going to ask you some more questions about the

12   Q.   I'll ask you some more questions about that later.                      12   defendant now.

13             Approximately when did you reach out to the defendant?             13   A.    Sure.

14   A.   I believe I called Mr. Avenatti about -- on March 1.                    14   Q.    How did you first reach out to the defendant?

15   Q.   Let me just pause here for a moment.       Before you reached           15   A.    I called his office which was a number off his website.

16   out to the defendant around March 1, approximately how long had              16   Q.    Did you speak to him at that time?

17   you been talking with Mr. Franklin about his issues with Nike?               17   A.    No.    I got through to a night service, nobody at his

18   A.   We had been discussing his situation and carefully planning             18   physical office, who suggested I call in the morning.

19   what to do since February 2018.       So it was almost -- it was a           19   Q.    What happened -- did you call back in the morning?

20   little over a year.                                                          20   A.    I did and I got an assistant at the office who said he

21   Q.   How did you and Mr. Franklin communicate about his issues               21   wasn't there.      And I left a message with him.

22   with Nike?                                                                   22   Q.    What, if any, message did you ask be passed along to the

23   A.   Either by text, e-mail, or phonecall.                                   23   defendant at that time?

24   Q.   And in your text messages or e-mails what types of things               24   A.    I said tell Mr. Avenatti this is about a potential case

25   did you and Mr. Franklin discuss?                                            25   against Nike.


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1    Q.    At that time did you provide any additional detail about             1    Q.   On that call, specifically what did you tell the defendant

2    who you were calling on behalf of or the nature of the issue?              2    about the actions that you mentioned earlier?

3    A.    No.                                                                  3    A.   I told him what I just said to you.       I told him that Gary

4    Q.    Did the defendant call you back after you left that                  4    had been directed to make cash payments to several players'

5    message?                                                                   5    families.     He was directed to falsify invoices and resubmit

6    A.    He did.    That afternoon.                                           6    them to Nike.     He was directed to receive wire payments and

7    Q.    In substance, what did you say to the defendant on that              7    forward them to players' handlers and do many other things.

8    call?                                                                      8    Q.   In substance, what did the defendant say to you on that

9    A.    I told him a little bit about Gary and what he had endured,          9    call?

10   you know, over the last two years and basically asked him if he            10   A.   He listened and said interesting and he -- wow, very

11   was familiar with the Adidas college basketball scandal and                11   interesting and I'd like to hear more.

12   case and -- yeah.     And that's basically it.                             12   Q.   Based on that call, what was your impression of how

13   Q.    On that call, specifically what did you tell the defendant           13   familiar the defendant was with the case involving Adidas

14   about how Mr. Franklin was treated by the two Nike executives              14   employees?

15   you mentioned earlier?                                                     15   A.   I felt like he knew a little bit about it but wasn't very

16   A.    I told him that Gary had been directed and he was abused             16   well versed.

17   and bullied into carrying out certain acts that he was -- he               17   Q.   How could you tell that?

18   felt like he was going to lose his sponsorship if he didn't do             18   A.   It was just an instinct that he -- I asked him if he knew

19   it.    And he felt really terribly about it.       And was wanting to      19   about it and he said yeah, a little.

20   report it to the authorities, report it to Nike and that he                20   Q.   Approximately how long was that call?

21   wanted to go with them to the authorities and that he also                 21   A.   I would say that call was about 20, 25 minutes.

22   wanted to reestablish his relationship with Nike but he wanted             22   Q.   Who ended that call?

23   justice above all and that to him meant making sure that these             23   A.   He did.

24   two executives at Nike EYBL, Carlton and Jamal, did not hurt               24   Q.   Would you have been willing to continue speaking with the

25   any other coaches and program directors.                                   25   defendant if he had more that he wanted to discuss?


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1    A.    Yes.                                                                 1               MR. QUINON:    Objection, your Honor.

2    Q.    On that call what, if anything, did the defendant mention            2               THE COURT:     Sustained.

3    about holding a press conference?                                          3    Q.   On that call what, if anything, did the defendant mention

4    A.    Nothing.                                                             4    about an internal investigation?

5    Q.    On that call, did you bring up holding a press conference?           5    A.   He never mentioned anything.

6    A.    Never.                                                               6    Q.   On that call did you bring up an internal investigation?

7    Q.    Why did you not bring up holding a press conference?                 7    A.   No.   Never.

8    A.    Well, it would be damaging and detrimental to reaching               8    Q.   On that call why did you not bring up an internal

9    Gary's goals.      It's just not something I would ever entertain.         9    investigation?

10   Q.    What is your understanding of what Mr. Franklin's goals              10   A.   Well, Gary and I -- well, Gary knew what happened and he

11   were at the time you first spoke with the defendant?                       11   didn't need an internal investigation.

12   A.    My understanding was that, again, Gary wanted to advise the          12   Q.   On that call what, if anything, did the defendant mention

13   company what had gone on and rid the company of what we called             13   about asking Nike to make any types of payments to him?

14   the bad operators in Nike EYBL executives, Carlton DeBose and              14   A.   Never.    Nothing.

15   Jamal James, and stop them from doing this with other people.              15   Q.   On that call did you bring up Nike making any payments to

16                He wanted to -- his brand and his program had been            16   the defendant?

17   really damaged and he wanted to be compensated.         But, first and     17   A.   No.   Never.

18   foremost, he wanted to reestablish the relationship with Nike              18   Q.   Why did you not bring up Nike making payments to the

19   and get back on the page.      He had enjoyed a fifteen-year               19   defendant on that call?

20   relationship with them that was really good prior to these two             20   A.   It's just something I didn't -- it didn't even dawn on me,

21   executives overseeing the division.                                        21   I would never do, never OK, never permit.        It's totally

22   Q.    What is your understanding of how, if at all, a press                22   counterintuitive and detrimental to Gary's case and his

23   conference publicizing the information you shared with the                 23   settlement.

24   defendant would have affected Mr. Franklin's goals at that                 24   Q.   How would it be detrimental to Mr. Franklin for

25   time?                                                                      25   Mr. Avenatti to ask Nike or demand money from Nike for himself?


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1    A.   Well it's a total conflict of interest and every dollar or            1    statements made in it but rather for the effect that this

2    moment you're discussing what's good for Mr. Avenatti or taking            2    document had on Mr. Avenatti's state of mind.

3    away from -- you're taking away from the client, Gary.                     3              (Government's Exhibit 301received in evidence)

4                MR. SOBELMAN:    Mr. Hamilton, if you could please show        4    Q.   Mr. Auerbach just so we're clear, what was Mr. Franklin's

5    the witness what's been marked for identification as Government            5    relationship with Nike prior to the end of 2018?

6    Exhibit 301.                                                               6    A.   Mr. Franklin had a great relationship as far as -- for many

7    Q.   Mr. Auerbach, do you recognize this?                                  7    years up until I believe it was the 2017 season or 2016.             I'm

8    A.   Yes.                                                                  8    not sure where they end and where they begin.         But he had -- he

9    Q.   What is it?                                                           9    had one of the most respected clubs in the country in

10   A.   This is an e-mail that I sent Mr. Avenatti on March 1, 2019           10   California Supreme or Cal Supreme.       He had put, I don't know,

11   at 5:53 p.m. Pacific time.                                                 11   110 players in the last ten years into Division I scholarships.

12               MR. SOBELMAN:    The government offers Government              12   And he enjoyed a great relationship with the company.

13   Exhibit 301 not for its truth but for the defendant's state of             13   Q.   Just generally what, if anything, did Nike provide to Cal

14   mind.                                                                      14   Supreme during the time that it was Cal Supreme's sponsor?

15               THE COURT:    Any objection?                                   15   A.   There is a travel team fee which is a club fee which is a

16               MR. QUINON:    No, your Honor, except I believe there's        16   yearly fee.    There is product.     They supply product.     They have

17   an attachment to that exhibit.                                             17   a contract for all kinds of gear and product.         And that's

18               THE COURT:    What's the government's intentions with          18   really what they provide.

19   respect to the attachment?                                                 19   Q.   As of 2017/2018 how much in fee or funding did Nike provide

20               MR. SOBELMAN:    Your Honor, the government offers the         20   to Cal Supreme in that season?

21   full exhibit with the same proviso.                                        21   A.   The contract I think was for about 77,000.        At one point it

22               THE COURT:    Any objection to 301?                            22   was 72.   At one point it was 79.      But in reality it was -- had

23               MR. QUINON:    No, your Honor.                                 23   a value of about 192,000 a year because of all the product and

24               THE COURT:    All right.   Ladies and gentlemen, I'm           24   how that totaled up.

25   receiving 301.     It's being offered not for the truth of the             25   Q.   Looking at --


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1                MR. SOBELMAN:    Your Honor, may we publish if we              1    A.   For your information.

2    haven't already Government Exhibit 301?                                    2    Q.   Please read us the portion of the e-mail, beginning with

3                THE COURT:    Yes.                                             3    "Hi, Michael," and ending right before the links.

4                Could you tell us what you mean by product?                    4    A.   "Hi Michael, great speaking with you today.        Thanks for the

5                THE WITNESS:    Sure.   Sneakers, backpacks, I mean            5    prompt response, greatly appreciated.        As I mentioned, you've

6    there's about probably 19 items, merchandise, clothing,                    6    been a source of much hope for me in a time of much despair.

7    shoeware, gameware, sweatsuits, all kinds of things.          Does         7              "I look forward to further discussing Gary Franklin

8    that --                                                                    8    founder/program director of California Supreme Youth Basketball

9                THE COURT:    Yes.                                             9    v. Nike Elite Youth Basketball and Nike, Inc. on Monday.

10   Q.   Mr. Auerbach, looking at this document?                               10             "In the meantime, I thought I'd send you both a copy

11   A.   Yes.                                                                  11   of my bio (see attached), as well as the links below to

12   Q.   When in comparison to the phonecall you just told us about            12   California Supreme's website."

13   did you send this e-mail?                                                  13   Q.   What are these links to?

14   A.   I sent it out that day.                                               14   A.   These links are to California Supreme's website and gives

15   Q.   After the call or before the call?                                    15   general information, historical about us and lists all the

16   A.   It was after the call.                                                16   phenomenal alumni players.

17               MR. SOBELMAN:    Mr. Hamilton, you could just enlarge          17   Q.   Why did you send this e-mail to the defendant?

18   the text of the e-mail, please.                                            18   A.   I wanted to give him a full sense of Cal Supreme, what

19   Q.   What e-mail address did you send this e-mail to?                      19   he -- what Gary was about, what his organization was about, and

20   A.   I sent it to jr@augustusllp.com.                                      20   also I wanted him to have a copy of my bio so he knew some of

21   Q.   And who were you intending to send this e-mail to?                    21   my background when we were getting into discussions on Gary's

22   A.   Michael Avenatti.                                                     22   behalf.

23   Q.   What is the subject line of this e-mail?                              23   Q.   By the way, what did you mean by, "you've been a source of

24   A.   "FYI, Thanks!"                                                        24   much hope for me in a time of much despair"?

25   Q.   What does if FYI stand for?                                           25   A.   Well at that point for me I was not very happy with the


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1    state of affairs on a human level with the campaign and the                     1    Nike.

2    results and I had admired, you know, some of the way                            2    Q.   Why did you want the defendant to be aware of that?

3    Mr. Avenatti was dealing with the president at the time.                        3    A.   Just so he knew that when I was calling -- that he knew

4    Q.   Let's take a look at the next page of the exhibit.                         4    when I was reaching out to Nike because he had a memo to the

5               Mr. Auerbach, what is this page?                                     5    file that I had written that he knew there was this prior

6    A.   This is page one of my bio.                                                6    relationship.

7    Q.   Just what do you mean by your bio?                                         7    Q.   I'll ask you a little bit about that memo to the file

8    A.   It's a professional history, my professional history.                      8    later.

9    Q.   Why did you send your professional history to the                          9                Why was it important for you -- I'm sorry.       Withdrawn.

10   defendant?                                                                      10               Why did you want the defendant to be aware that you

11   A.   Again, I wanted Mr. Avenatti to get -- to be familiar -- I                 11   had a prior relationship with Mr. Night?

12   knew who he was.     I wanted him to know who I was so that our                 12   A.   I think it was important for him to know that we weren't

13   discussions would be more fruitful.                                             13   coming into this, just it wasn't a blind call to help Gary out.

14   Q.   Could you please read the first sentence of the third                      14   It was -- there was a relationship with John Slusher.          I had

15   paragraph.                                                                      15   decided not to call Phil because Phil would have, knowing Phil,

16   A.   Sure.                                                                      16   would have probably said just call John Slusher.          I just wanted

17              "Auerbach previously served as president, CEO and/or                 17   him to know that.     It was important to know that we were -- we

18   COO of numerous entertainment companies, including Laika                        18   were on a respectful basis and wanted to move this in a

19   Entertainment (Coraline Paranorman) the Academy-Award-winning                   19   respectful way to forging a positive outcome together and

20   animation company owned by Nike cofounder, Phil Knight.              At         20   hopefully reestablish Gary with Nike.        That was our top goal.

21   Laika, Auerbach..." oh, OK.                                                     21   Q.   How important to you are your relationships with Mr. Knight

22   Q.   Why, if any, reason did you include this part of your bio                  22   and Mr. Slusher?

23   in sending it to the defendant?                                                 23   A.   Very important.

24   A.   Well, it was always in my bio.      But I wanted him to                    24   Q.   Why are they important to you?

25   understand that I had this previous relationship with Phil and                  25               MR. QUINON:   Objection, your Honor.


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1               THE COURT:   Overruled.                                              1    Q.   On that call, did you bring up any of those topics?

2               THE WITNESS:    In business, relationships are                       2    A.   No.

3    everything and you want to keep them positive.         And we had               3    Q.   Do you recall specifically what you discussed with the

4    history together.     And just like any relationship or                         4    defendant on March 2?

5    friendship, you treat each other with respect, and they were                    5    A.   Yeah.    We -- I know we continued talking about Gary, the

6    very important to me.                                                           6    Adidas case, and just, again, what Gary endured.          It was just a

7               MR. SOBELMAN:    Mr. Hamilton, could you please go back              7    rehash of the first call but moving it further.

8    to the first page of Government Exhibit 301.                                    8    Q.   Approximately how long was that call?

9    Q.   Mr. Auerbach, did you speak to the defendant again after                   9    A.   It was about 20 minutes.

10   you sent this e-mail on March 1?                                                10   Q.   Who ended the call?

11   A.   Yes, I did.                                                                11   A.   He did.

12   Q.   Approximately when did you next speak to him?                              12   Q.   Would you have been willing to continue speaking with the

13   A.   The next day.                                                              13   defendant if he had more that he wanted to discuss with you?

14   Q.   On that call, did the defendant mention anything about                     14   A.   Absolutely.

15   holding a press conference?                                                     15   Q.   Directing your attention to March 5, 2009, three days

16   A.   No.                                                                        16   later.     What happened that day?

17   Q.   On that call, did the defendant mention anything about                     17   A.   Mr. Avenatti contacted us or contacted me and asked if Gary

18   filing a lawsuit?                                                               18   Franklin and I could come in and meet with him.

19   A.   No.                                                                        19   Q.   Did you meet with him that day?

20   Q.   On that call, did the defendant mention anything about an                  20   A.   Yes.

21   internal investigation?                                                         21   Q.   And approximately when on March 5 did you meet with the

22   A.   No, never.                                                                 22   defendant?

23   Q.   On that call, did the defendant mention anything about                     23   A.   It was around 5 or 5:30 p.m.

24   asking Nike to make any types of payments to him?                               24   Q.   Where was the meeting held?

25   A.   Never.                                                                     25   A.   It took place at Mr. Avenatti's highrise apartment


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1    building.                                                                    1    A.   Yes.    It was a rather large conference room with dark

2    Q.    Where is that located?                                                 2    walls.

3    A.    Ten thousand Santa Monica Boulevard in Los Angeles,                    3    Q.   Could you please describe where you, the defendant, and

4    California.                                                                  4    Mr. Franklin were sitting?

5    Q.    Who suggested that the meeting be held there?                          5    A.   Yes.    Mr. Avenatti was at the head of the table and I was

6    A.    He did.                                                                6    on one side and Gary Franklin was on the other.

7                 MR. SOBELMAN:   Mr. Hamilton, could you please show the         7    Q.   Approximately how long was the meeting?

8    witness what's marked for identification as Government Exhibit               8    A.   I would say the first meeting was about 40 to 45 minutes.

9    602.                                                                         9    Q.   In substance, what did you say to the defendant at that

10   Q.    Mr. Auerbach, do you recognize this?                                   10   meeting?

11   A.    Yes.                                                                   11   A.   Well, I had told him about what Gary had endured at the

12   Q.    What is it?                                                            12   hands of Carlton DeBose and Jamal James at Nike EYBL and we

13   A.    This is the residence where we met and we met in a                     13   reiterated what he participated in and then went down what

14   conference room in his building.                                             14   justice meant to Gary and what he wanted out of this.

15                MR. SOBELMAN:   Your Honor, the government offers               15   Q.   I'll ask you what you said about justice in a moment but

16   Government Exhibit 602.                                                      16   could you please just be a little more specific.          What, if

17                MR. QUINON:   No objection.                                     17   anything, did you tell the defendant about what Mr. Franklin,

18                THE COURT:    602 is received.                                  18   as you put it, endured from Mr. James and Mr. DeBose?

19                MR. SOBELMAN:   May we publish?                                 19   A.   I had told him that he was -- from Gary's point of view he

20                THE COURT:    Yes.                                              20   was coerced and pressured into making payments to players'

21                (Government's Exhibit 602 received in evidence)                 21   families, accepting payments, wire payments from Nike to then

22   Q.    Mr. Auerbach, who was at the meeting at the defendant's                22   pass onto handlers and make payments to the families of the

23   building?                                                                    23   players, resubmitting fake invoices to Nike and things of that

24   A.    It was myself, Gary Franklin and Mr. Avenatti.                         24   nature.

25   Q.    Could you please describe the room that you met in?                    25   Q.   What, if anything, did you tell the defendant at that


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1    meeting about Mr. Franklin losing control of his 17s team?                   1    point, but what others around the league, other coaches, other

2    A.    I got into detail about a plan that was hatched whereby                2    players would suffer because of their actions.         So he wanted to

3    Nike EYBL took away his elite 17 team which is the team that                 3    ensure that the company knew and wouldn't let that happen.

4    features players, the top players no older than 17.                          4                He wanted to report his involvement and the actions to

5    Q.    And what, if anything, did you tell him happened with                  5    the government.    But because of wanting to forge and

6    respect to that team?                                                        6    reestablish the relationship with Nike he wanted to do it with

7    A.    (No response).                                                         7    Nike.    And then he wanted to be financially compensated just

8    Q.    Him being the defendant?                                               8    to, you know, for the damage the club and the brand had

9    A.    I told him that there was a handler and a parent that was              9    suffered.

10   involved with Carlton DeBose and Jamal James and they came to                10   Q.   What, if anything, did you tell the defendant about

11   Gary and took away, for that season, his 17 team, the control                11   Mr. Franklin wanting to continue his relationship with Nike?

12   of the 17 team.     It was still California Supreme, though.                 12   A.   Told him it was very important.

13   Q.    What do you mean by control of the team?                               13   Q.   And what did you mean or tell the defendant -- let me ask

14   A.    Gary was no longer in charge of the decisions that had to              14   it this way.     What did you tell the defendant that continuing a

15   do with the roster.        He was not coaching the team.    They             15   relationship meant?

16   brought in outside coaches that year.         And I think that covers        16   A.   Well, he'd like to -- again, he had a fifteen-year great

17   it.                                                                          17   relationship with them and he wanted to continue that, and that

18   Q.    You mentioned that you told the defendant that Mr. Franklin            18   meant hopefully signing a new contract and moving forward.

19   wanted justice?                                                              19   Q.   By signing a new contract, do you mean a contract for Nike

20   A.    Yes.                                                                   20   to sponsor Cal Supreme in the next season?

21   Q.    What, if anything, did you tell the defendant justice meant            21   A.   Yes, and beyond.

22   for Mr. Franklin?                                                            22   Q.   Aside from those I think there were four things, did you

23   A.    First and foremost, for Gary I think was making sure that              23   tell the defendant that justice meant anything else to

24   Carlton and Jamal were no longer at Nike EYBL.         He was really         24   Mr. Franklin?

25   concerned not so much what had been done to him but -- at that               25   A.   No.


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1    Q.   Were you very specific when you described those four                  1    what's marked for identification as Government Exhibit 312.

2    things?                                                                    2              (Continued on next page)

3    A.   Yes.    And it was in my memo to the file.                            3

4    Q.   Is that a document you gave the defendant at some point?              4

5    A.   Yes.                                                                  5

6    Q.   We'll look at that in a little while.                                 6

7                In that meeting what, if anything, did you tell the            7

8    defendant about Mr. Franklin's loyalty to Nike?                            8

9    A.   How deep it ran.      And actually Gary had mentioned it too.         9

10   I mean fifteen years is a long time.         He's helped a lot of          10

11   people.     And he lived and breathed -- I think we said he lived          11

12   and breathed Nike.       And made it known that he had no problem          12

13   with Nike.     His problem was with the two guys that ran Nike             13

14   EYBL.                                                                      14

15   Q.   Lived and breathed, those are the exact words you used in             15

16   that meeting?                                                              16

17   A.   Yes.                                                                  17

18   Q.   You said Mr. Franklin lived and breathed Nike?                        18

19   A.   I said that, yes.                                                     19

20   Q.   What, if any, documents did you show the defendant at that            20

21   meeting on March 5?                                                        21

22   A.   I showed Mr. Avenatti a 41-page memorandum of actions which           22

23   was the document that I had put together with all the                      23

24   evidentiary documents.                                                     24

25               MR. SOBELMAN:    Mr. Hamilton, please show the witness         25


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     K23dave4a                  Auerbach - direct                                    K23dave4a                  Auerbach - direct

1    Q.   Mr. Auerbach, do you recognize this?                                  1    Basketball-California Supreme Youth Basketball in Connection

2    A.   Yes.                                                                  2    with Nike Elite Players DeAndre Ayton, Bol Bol and Brandon

3    Q.   What is it?                                                           3    McCoy in 2016 and 2017."

4    A.   This is the memorandum of actions, which highlights or                4    Q.   Who are DeAndre Ayton, Bol Bol and Brandon McCoy?

5    itemizes what we believe to be the actions or wrongdoings, if              5    A.   They are all three players that were elite players at Cal

6    you will.                                                                  6    Supreme who were at the height of their game.

7                MR. SOBELMAN:    Your Honor, the government offers             7    Q.   As far as you know, what are they doing now?

8    Government Exhibit 312 not for its truth but for the                       8    A.   DeAndre Ayton was the number one draft pick in the NBA,

9    defendant's state of mind.                                                 9    plays for the Phoenix Suns, and the other two are in the NBA.

10               THE COURT:    Any objection?                                   10   Q.   Could you please read the first paragraph of the documents.

11               MR. QUINON:    No, your Honor.   No objection.                 11   A.   "The actions listed below were initiated, authorized and

12               THE COURT:    Government Exhibit 312 is received.              12   directed by Nike Elite Youth Basketball (Nike EYB) executives

13               Again, ladies and gentlemen, this is received not for          13   Carlton DeBose in 2016, and Carlton DeBose and Jamal James in

14   the truth of any of the statements in the document but rather              14   2017, and carried-out on Nike's behalf by Gary Franklin,

15   for the effect that these statements would have had on                     15   California Supreme Youth Basketball (Cal Supreme)."

16   Mr. Avenatti's state of mind.                                              16   Q.   What does this paragraph mean?

17               (Government's Exhibit 312 received in evidence)                17   A.   It means that both Carlton and Jamal had directed Gary and

18               MR. SOBELMAN:    Your Honor, may we publish?                   18   Gary carried out these actions on -- at their direction on

19               THE COURT:    Yes.                                             19   Nike's behalf.

20               MR. SOBELMAN:    Thank you.                                    20   Q.   How did you learn about those actions, as you put it?

21   BY MR. SOBELMAN:                                                           21   A.   Gary had told me.

22   Q.   Who created this document?                                            22   Q.   To be clear, were you personally involved in any of this?

23   A.   I did.                                                                23   A.   No, I wasn't.

24   Q.   Could you please read the title of the document?                      24   Q.   You have no firsthand knowledge of whether any payments

25   A.   Yes.    "Memorandum of Actions Regarding Nike Elite Youth             25   were actually made?


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1    A.   No.                                                                   1    Bol's handler, who is also DeAndre Ayton's handler.          I had

2    Q.   You have no firsthand knowledge of what Mr. DeBose or                 2    listed a falsified invoice that Cal Supreme submitted to Nike

3    Mr. James ever said to Mr. Franklin?                                       3    for payment for Mel McDonald, and a bank wire payment that Cal

4    A.   No.                                                                   4    Supreme received to and then gave to Mel McDonald.

5    Q.   You've talked to Mr. Franklin about it?                               5    Q.   You've used the word "handler" a few times.

6    A.   I've talked to Mr. Franklin about it, and I've seen the               6    A.   Yes.

7    texts, the emails, and the bank statements.                                7    Q.   What does that mean in this context?

8    Q.   But you learned about all of this, to the extent it                   8    A.   A handler is -- depending on your view of it is either

9    happened, after any of this might have happened?                           9    somebody who latches on to a very, very talented young player

10   A.   Yes.    I had no knowledge of it during.                              10   and convinces the parents, the mother or the player, that they

11   Q.   Underneath that first paragraph, there is an underlined               11   could provide services to them and let them help facilitate and

12   heading that says, "2016 Actions."       Do you see that?                  12   navigate the waters for them, so like a de facto manager/agent

13   A.   Yes.                                                                  13   that they are not supposed to have.

14   Q.   Generally, what did you list under that heading?                      14   Q.   Are there documents attached to this memorandum?

15   A.   Again, I listed the specific bank wire payments, the                  15   A.   Yes, there are.

16   payments that Gary had made to the handler for DeAndre Ayton,              16   Q.   Who organized all those documents?

17   for Bol Bol -- for DeAndre Ayton, payments to DeAndre's mother             17   A.   I did.

18   and cash payments to Shaun Manning, and so there were various              18   Q.   What are some of the types of documents that you attached

19   payments and then, yeah.                                                   19   to this memorandum?

20               MR. SOBELMAN:   Mr. Hamilton, can you please display           20   A.   I had text messages between Gary and a lot of people, Nike

21   page 2 of this exhibit.                                                    21   executives, Carl DeBose, Jamal James, DeAndre Ayton, and

22   Q.   Do you see the underlined heading "2017 Actions"?                     22   others, emails, bank statements for Cal Supreme -- and I'm

23   A.   Yes.                                                                  23   trying to think what else -- and false invoices.

24   Q.   Generally, what did you list under that heading?                      24   Q.   Generally, what types of information do those documents

25   A.   I had listed here bank wire payment to Mel McDonald, Bol              25   show, to your understanding?


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1    A.   Yes.    They were either directives from Nike to Gary to do           1    fly to Phoenix and make the payment.

2    certain things, make certain payments, facilitating him getting            2                And then a text message between Gary Franklin and

3    on planes, not getting on planes, and they just showed the                 3    Andrea Ayton confirming that he arrived there and her address.

4    activity as backup and supported the claims.                               4    Q.   By the way, did Mr. Franklin ever tell you what, if

5    Q.   How did you get all those documents?                                  5    anything, these payments were for?

6    A.   Gary Franklin provided them for me.                                   6    A.   No.

7    Q.   Let's take a look at just a few of the attached documents.            7    Q.   Do you have any personal knowledge why these payments, if

8                                                                               8    they were made, were made?

9                MR. SOBELMAN:   Mr. Hamilton, if you could please              9    A.   No.

10   display page 12 of this exhibit.                                           10   Q.   Let's go to the next page, page 13.       What is this?

11   Q.   Who wrote this?                                                       11   A.   This is a California Supreme bank statement from Bank of

12   A.   I did.                                                                12   America.

13   Q.   What does this page show?                                             13   Q.   And who put the black boxes over part of this statement?

14   A.   This is 2016, and it is a $10,000 cash payment to Andrea              14   A.   I did.

15   Ayton, who is DeAndre Ayton's mother, and the payments were                15   Q.   Why did you do that?

16   made -- or payment was made in Phoenix, Arizona.                           16   A.   Because it was non-related sensitive information, and we

17   Q.   And what's listed under "Exhibits"?                                   17   were trying to focus on telling that other story and

18   A.   It lists bank withdrawals from Cal Supreme's bank that                18   correlating the evidence.

19   then -- totaling 10,000, 5,000 each, that Gary then paid to                19   Q.   To be clear, this is the same as the version that you

20   Andrea Ayton.                                                              20   showed the defendant?

21               It is a text message between Carlton DeBose and Gary           21   A.   Yes.

22   Franklin, with Mr. DeBose directing Gary to fly to Phoenix to              22   Q.   And who put that red rectangle over two of the entries?

23   make such payment.                                                         23   A.   I did.

24               It's an email correspondence from Carlton DeBose to a          24   Q.   Why did you do that?

25   Nike sports marketing assistant requesting travel so Gary could            25   A.   Just to highlight the payments that correlate to the cover


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1    sheet.                                                                     1    Q.   Generally, what does this page show?

2    Q.   Go to the next page, page 14, please.                                 2    A.   This is Carlton finding out if Gary made contact, if he had

3                What is this?                                                  3    talked to Andrea, and he said, yes, she just gave me her

4    A.   These are text messages between Carlton DeBose and Gary               4    address.

5    Franklin.                                                                  5    Q.   Could you please go to the next page, page 17.

6    Q.   Who put the red square on this page?                                  6               What is this?

7    A.   I did.                                                                7    A.   These are texts between Andrea Ayton, DeAndre Ayton's

8    Q.   Generally, what is your understanding of what this page               8    mother, and Gary Franklin.

9    shows?                                                                     9    Q.   Who put the red circle on the page?

10   A.   This is when Carlton DeBose reached out to Gary and said              10   A.   That was Gary.

11   who can get on a flight to Phoenix right away.                             11   Q.   And who put the red rectangle on the page?

12   Q.   Let's go to page 15 of the exhibit.                                   12   A.   I did.

13               What is this?                                                  13   Q.   Generally, what does this page show?

14   A.   This is an interoffice email between Carlton DeBose and               14   A.   This is a correspondence with Gary telling Andrea he just

15   Gabriella Olivares at Nike requesting travel for Gary Franklin             15   landed and what's your zip code and that it was nice seeing her

16   to go to Phoenix and for her to book the flight.                           16   and just a conversation between them.

17   Q.   Who put the red rectangle on this page?                               17   Q.   Did any of documents we just looked at make any mention of

18   A.   I did.                                                                18   why these payments were being made?

19   Q.   Take a look at page 16.     What is this?                             19   A.   No, they did not.

20   A.   This is a text message page of texts from Carlton DeBose --           20   Q.   Anywhere in this memorandum or in the attachments, is there

21   with Carlton DeBose and Gary Franklin.                                     21   any explanation of why these payments are being made?

22   Q.   And who put the red rectangle on this page?                           22   A.   No.

23   A.   I did.                                                                23              MR. SOBELMAN:   Mr. Hamilton, could you please go back

24   Q.   Who put the red ovals on the page?                                    24   to the first page of the exhibit.

25   A.   Gary.                                                                 25   BY MR. SOBELMAN:


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1    Q.   I'm now going to ask you some more questions about your               1    he was doing it to save his business, his club, and his family.

2    meeting with the defendant on March 5th.                                   2    Q.   In substance, what did the defendant say at that meeting,

3                For approximately how long did you show this                   3    aside from "Wow"?

4    memorandum of actions to the defendant?                                    4    A.   He was -- he gave a whole speech about justice and that

5    A.   It was anywhere between five and eight minutes.                       5    we're going to get you justice.       He talked about -- he was

6    Q.   What was the defendant's demeanor as you showed him this              6    very, very adamant that if Gary were approached by the FBI, or

7    memorandum?                                                                7    any official, that he not speak to whoever approaches him and

8    A.   I just remembered him going, "Wow."       Really, that was,           8    tell them to talk to your attorney and that's me.         So that's at

9    "Wow."   He seemed excited about it and surprised that it was              9    the moment we felt he was representing Gary, that he had

10   all there, laid out.                                                       10   decided to.

11   Q.   At that point, what was your expectation regarding the                11              And he was -- he said that 70/75 percent of the people

12   defendant -- whether the defendant would keep the information              12   in prison wouldn't be there if they just said I'm not talking,

13   you provided confidential?                                                 13   talk to your -- talk to my lawyer.       And so he said that we need

14   A.   100 percent.                                                          14   to get you immunity.

15   Q.   Why was that your expectation?                                        15   Q.   When he said "you" immunity, was he referring to you,

16   A.   Well, first and foremost, it is just what attorneys do, and           16   Mr. Auerbach, or Mr. Franklin, or both?

17   I had been very clear, it was an expectation that it was very              17   A.   Gary Franklin.

18   sensitive material.                                                        18   Q.   What did you understand the defendant to mean by

19   Q.   And did Mr. Franklin speak during the meeting?                        19   "immunity"?

20   A.   Yes.                                                                  20   A.   That Gary would not be prosecuted for his involvement in

21   Q.   In substance, what did Mr. Franklin say during that                   21   any of these actions.

22   meeting?                                                                   22   Q.   What, if anything, did you say at that meeting about

23   A.   He reiterated what he had been through and how taxing and             23   recordings?

24   stressful it was and what it had done to his family and his                24   A.   Just that there were some.

25   health and was remorseful for his role even though he knew that            25   Q.   And what specifically did you say?


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1    A.   I said that apparently Gary was feeling very pressured and               1    Nike, YBL and Nike, and some other documents and correspondence

2    was confused on how to handle things, he didn't trust Carlton                 2    and I would send them over.

3    Jamal or Mel McDonald, and he decided to record his meetings                  3    Q.   Did the defendant take any notes during that meeting?

4    and phone calls with those people, those executives, and some                 4    A.   No.

5    others.                                                                       5    Q.   Who ended the meeting?

6    Q.   What, if anything, did you say to the defendant about the                6    A.   He did.

7    contents of those recordings?                                                 7    Q.   Who is "he"?

8    A.   Nothing.                                                                 8    A.   Oh, the defendant, Mr. Avenatti.

9    Q.   What, if anything, did the defendant say in response to you              9    Q.   Would you have been willing to continue speaking with the

10   telling him about those recordings?                                           10   defendant if he had more that he wanted to discuss with you?

11   A.   We didn't get into them.                                                 11   A.   Absolutely.

12   Q.   Did the defendant ask you to provide him with copies of the              12   Q.   In that meeting, what, if anything, did the defendant say

13   recordings?                                                                   13   about the urgency of resolving Mr. Franklin's issue with Nike?

14   A.   No.                                                                      14   A.   Nothing.

15   Q.   At any point, did you provide the defendant with copies of               15   Q.   In that meeting, what, if anything, did you or Mr. Franklin

16   those recordings?                                                             16   say about the urgency of resolving Mr. Franklin's issues with

17   A.   No.                                                                      17   Nike?

18   Q.   What, if anything, did the defendant ask you for during                  18   A.   Nothing.

19   that meeting?                                                                 19   Q.   In that meeting, did the defendant mention anything about a

20   A.   We had talked about some other documents, correspondence                 20   retainer agreement?

21   with John Slusher, the memo to the file.        And then I said that          21   A.   No, there was no mention of it.

22   I would put a cast of characters together which basically would               22   Q.   In that meeting, did the defendant mention anything about

23   talk about who each of the people involved on Nike's behalf                   23   getting paid to represent Mr. Franklin?

24   was, Cal Supreme, and other people like the players, and show                 24   A.   No.

25   the hierarchy of the reporting structure between Cal Supreme,                 25   Q.   In that meeting, did the defendant mention anything about


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1    filing a lawsuit on behalf of Mr. Franklin?                                   1    A.   Gary's relationship with Nike first and foremost.

2    A.   No.                                                                      2    Q.   Why would it damage Gary's relationship with Nike?

3    Q.   In that meeting, did you or Mr. Franklin mention anything                3               MR. QUINON:   Objection.

4    about filing a lawsuit?                                                       4               THE COURT:    Sustained.

5    A.   No.                                                                      5    Q.   Who, if anyone else, were you concerned that a press

6    Q.   Why did you not mention filing a lawsuit in that meeting?                6    conference would damage?

7    A.   Because we -- I had initiated discussions with Nike.            Nike     7               MR. QUINON:   Objection.

8    had asked that we further the discussions with Andrew                         8               THE COURT:    Overruled.

9    Michaelson and Boies Schiller, and at that point there was no                 9    A.   Mostly it was Gary.    It was only Gary.

10   need to let's see how they were responding and this may all                   10   Q.   In that meeting, did the defendant mention anything about

11   just be a discussion at that point and we may need not to file                11   an internal investigation?

12   a lawsuit.                                                                    12   A.   No, never.

13   Q.   In that meeting, did the defendant mention anything about                13   Q.   In that meeting, did you or Mr. Franklin mention anything

14   holding a press conference?                                                   14   about an internal investigation?

15   A.   No.                                                                      15   A.   No, never.

16   Q.   In that meeting, did you or Mr. Franklin mention anything                16   Q.   Why did you not mention an internal investigation in that

17   about holding a press conference?                                             17   meeting?

18   A.   Never.                                                                   18   A.   It was something we never even entertained, we didn't need,

19   Q.   Why did you not mention holding a press conference in that               19   because we know what happened, Gary knows what happened.

20   meeting?                                                                      20   Q.   In that meeting, did the defendant mention anything about

21   A.   Again, it would be detrimental, damaging, and totally                    21   asking Nike to make any types of payments to him?

22   adverse to meeting Gary's objectives.                                         22   A.   No.

23   Q.   Who did you think a press conference would damage?                       23   Q.   In that meeting, did you or Mr. Franklin mention anything

24   A.   Oh, damage the relationship with Nike.                                   24   about Nike making payments to the defendant?

25   Q.   Whose relationship with Nike?                                            25   A.   Never.


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1    Q.   Why did you not mention Nike making payments to the                     1               (At the sidebar)

2    defendant in that meeting?                                                   2               MR. QUINON:    Your Honor, I believe the witness

3    A.   It would be a total --                                                  3    testified that in his view it was illegal, so this is very

4              MR. QUINON:    Objection.                                          4    prejudicial statement.      He doesn't have any knowledge to

5              THE COURT:    Overruled.                                           5    express an opinion.      He is not here has an expert.

6    A.   It would be a total conflict of interest and totally                    6               I had objected to this line of cross before -- I'm

7    detrimental, again, to Gary's goals and Gary.                                7    sorry, of direct before the Court overruled me, and I

8    Q.   Why would it be detrimental to Gary or Gary's goals?                    8    understand that then the witness expanded to say that it is

9              MR. QUINON:    Objection, your Honor.                              9    illegal.    We think it is extremely prejudicial at this point,

10             THE COURT:    Overruled.                                           10   and we would move for a mistrial.

11   A.   It would be such a conflict of interest and it's wrong.                 11              THE COURT:    Yes.   Well, that motion is denied.

12   It's, you know, from my point of view, illegal, and it would be              12              But let me understand why you feel it is prejudicial.

13   harmful because every dollar that he would ask for himself                   13   I mean, the witness has explained on a couple of occasions that

14   could possibly be a dollar taken out of Gary's settlement.                   14   in his view it would have been a conflict for him, that is to

15             MR. QUINON:    Objection, your Honor.                              15   say, Mr. Avenatti, to demand money separate and apart from what

16             May we come to sidebar?                                            16   was requested on behalf of his client.        And he what said is he

17             THE COURT:    Yes.                                                 17   saw it as taking money out of Franklin's pocket to pay

18             (Continued on next page)                                           18   Avenatti.    That's the way he's explained it.       You, of course,

19                                                                                19   are welcome to cross-examine on the point.        But that's what

20                                                                                20   he's used as the justification for why there was never any

21                                                                                21   discussion about payments flowing separately to Mr. Avenatti.

22                                                                                22              MR. QUINON:    Yes, your Honor, but now --

23                                                                                23              THE COURT:    Now, on the illegal point, let me ask you,

24                                                                                24   Mr. Sobelman, would you expect the witness was going to say

25                                                                                25   illegal?


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1              MR. SOBELMAN:    I did not, your Honor.      That being            1    think that striking would be the remedy that we would ask at

2    said, it is not surprising to me that he would say something                 2    this point, because otherwise you are giving the impression

3    like that, because that's what his honest view is.         But he is         3    that Mr. Avenatti committed some type of crime by doing this.

4    not offering his opinion, but the defense has indicated in its               4    That's what "illegal" would mean to a layman or it can be

5    opening statement that they are going to put Mr. Auerbach and                5    certainly interpreted that way.       So we would like for the Court

6    Mr. Franklin's states of mind in those meetings squarely at                  6    to give an instruction that be you are striking that particular

7    issue in this case.     They are highly relevant to Count Three.             7    part of the testimony.

8    And Mr. Auerbach on direct is entitled to explain why he did                 8               THE COURT:    So want me to strike the reference to

9    not or did suggest certain things in the meetings with the                   9    illegal.    Do you want me to also instruct the jury that

10   defendant.                                                                   10   Mr. Auerbach is not here to offer an opinion as to legality or

11             If the defense now is saying they will concede that                11   illegality?

12   Mr. Auerbach and Mr. Franklin did not want the defendant to do               12              MR. QUINON:    Your Honor.

13   certain things, then maybe I can move on, but I'm assuming they              13              THE COURT:    Does the government object?

14   are going to continue to put their states of mind at issue and               14              MR. SOBELMAN:    We do.   We think an instruction is

15   question their credibility repeatedly.        This is highly relevant        15   perfectly appropriate.      Of course, we are not going to argue to

16   testimony, and any unfair prejudice is far outweighed by the                 16   the jury at any point that because Mr. Auerbach thought that

17   probative --                                                                 17   suggesting something to the defendant that he never suggested

18             THE COURT:    Let me ask you this.     Counsel has objected        18   to the defendant might be illegal and, therefore, that's not

19   specifically to the use of the term "illegal."         It sounds like        19   why he suggested it therefore means that the defendant is

20   you are surprised by him using that term?                                    20   guilty, because of Mr. Auerbach's personal view that something

21             MR. QUINON:    Yes.                                                21   like that would be illegal.

22             THE COURT:    Are you seeking some kind of instruction             22              However, the witness is truthfully explaining his

23   from me to the jury that Mr. Auerbach is not here to offer an                23   state of mind and why he did or did not say things to the

24   opinion on the legality of conduct?       Is that what you want?             24   defendant, and a limiting instruction will more than deal with

25             MR. QUINON:    Yes, your Honor.     In all fairness, I             25   any potential prejudice that comes from the testimony, which


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     K23dave4a                  Auerbach - direct                                     K23dave4a                  Auerbach - direct

1    the government thinks is virtually none.                                    1                (In open court)

2                THE COURT:    All right.   So I am going to, first of           2                THE COURT:   Ladies and gentlemen, I'm striking the

3    all, strike the reference to illegal.         I'm also going to             3    reference to "illegal" that you just heard.        That is to be

4    instruct the jury that Mr. Auerbach is not here to offer an                 4    disregarded by you.

5    opinion as to legality or illegality of conduct.                            5                Secondly, I want you to know that Mr. Auerbach is not

6                MR. S. SREBNICK:     Your Honor, he' also not qualified         6    here to testify or to offer an opinion as to the legality or

7    to do so.                                                                   7    illegality of any of the conduct that you are going to hear

8                THE COURT:    Well, I don't know enough about                   8    about at the trial.

9    Mr. Auerbach's background to know whether he is qualified or                9                Go ahead, sir.

10   not, but I am telling the jury that he is not here to testify               10   BY MR. SOBELMAN:

11   about legality or illegality.                                               11   Q.   Mr. Auerbach, at the end of that meeting on March 5th, what

12               (Continued on next page)                                        12   was your understanding of the status of the relationship

13                                                                               13   between the defendant and Mr. Franklin?

14                                                                               14   A.   That Mr. Avenatti was in fact Gary Franklin's attorney.

15                                                                               15   Q.   What was that understanding based on?

16                                                                               16   A.   He strongly said to Gary, Gary, if -- if anybody approaches

17                                                                               17   you, FBI, anybody, you don't say a word, you tell them to talk

18                                                                               18   to your lawyer, and that's me.

19                                                                               19   Q.   Just to be clear, Mr. Avenatti specifically referenced the

20                                                                               20   FBI?

21                                                                               21   A.   Yes.

22                                                                               22   Q.   After the March 5th meeting, did you and the defendant ever

23                                                                               23   exchange text messages?

24                                                                               24   A.   Yes.

25                                                                               25               THE COURT:   Mr. Hamilton, could you please show the


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     K23dave4a                  Auerbach - direct                                     K23dave4a                  Auerbach - direct

1    witness what's been marked for identification as Government                 1    Q.   Mr. Auerbach, on what date were these three messages sent?

2    Exhibit 310R.                                                               2    A.   On 3/10/2019.

3    Q.   Mr. Auerbach, do you recognize this?                                   3    Q.   Could you please read us the phone number that the messages

4    A.   Yes.                                                                   4    on the left, which have a very, very light gray background and

5    Q.   What is it?                                                            5    essentially a white background?

6    A.   This is a text that I sent Mr. Avenatti on March 10th, 2019            6    A.   Yes.    (949) 887-4118.

7    at 6:12 p.m. Pacific Time.                                                  7    Q.   You understood that to be Mr. Avenatti's number?

8    Q.   Just to be clear, is this exhibit a list of text messages              8    A.   Yes.

9    you exchanged with the defendant?                                           9    Q.   Could you please read just the first message that the

10   A.   Yes.                                                                   10   defendant sent you?

11               MR. SOBELMAN:    The government offers Government               11   A.   "Jeff - Michael Avenatti here.      Can you give me a call?"

12   Exhibit 310R.                                                               12   Q.   After you received that message, what did you do next?

13               THE COURT:    Any objection?                                    13   A.   I called Mr. Avenatti.

14               MR. QUINON:    No, your Honor.    No objection.                 14   Q.   In substance, what did the defendant say on that call?

15               THE COURT:    310R is received.                                 15   A.   Just that he was looking forward to talking again and

16               (Government's Exhibit 310R received in evidence)                16   getting together, but in the meantime could I resend him the

17               MR. SOBELMAN:    May we publish?                                17   original email that I had sent because he never received it.

18               THE COURT:    Yes.                                              18   Q.   And did you understand that to mean the email we looked at

19   BY MR. SOBELMAN:                                                            19   earlier from March 1st?

20   Q.   Mr. Auerbach, who sent the messages on the left in gray?               20   A.   Yes, the one with my bio and the links.

21   A.   Avenatti did.                                                          21   Q.   In substance, what you did say on that call?

22   Q.   And who sent the messages on the right in blue?                        22   A.   I said, sure, I'll look forward to getting together as well

23   A.   I did.                                                                 23   and with Gary, and said I'd be happy to resend it.         And he then

24               MR. SOBELMAN:    Mr. Hamilton, can you please enlarge           24   said I want to give you another email address to send it to.

25   the three messages underneath the date March 10, 2019.                      25   Q.   Approximately how long was that call?


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1    A.   It was very short, maybe ten minutes.                                 1                Ladies and gentlemen, don't discuss the case.       Keep an

2    Q.   Who ended the call?                                                   2    open mind because there is more evidence.        We'll be back to you

3    A.   He did.                                                               3    at 2 o'clock.

4    Q.   Would you have been willing to continue speaking with the             4                Thank you all very much.

5    defendant if he had more that he wanted to discuss?                        5                THE CLERK:   All rise.

6    A.   Absolutely.                                                           6                (Continued on next page)

7    Q.   On that call, did the defendant mention anything about                7

8    holding a press conference?                                                8

9    A.   No, never.                                                            9

10   Q.   On that call, did the defendant mention anything about an             10

11   internal investigation?                                                    11

12   A.   No.                                                                   12

13   Q.   On that call, did the defendant mention anything about                13

14   asking Nike to pay any types of payments to him?                           14

15   A.   No.                                                                   15

16   Q.   On that call, did the defendant mention anything about                16

17   asking Nike to hire him?                                                   17

18   A.   No, never.                                                            18

19   Q.   On that call, did you bring up any of those topics?                   19

20   A.   No.                                                                   20

21   Q.   Turning back to Government Exhibit 310R, could you please             21

22   read the second message you received from the defendant on                 22

23   March 10, 2019?                                                            23

24              THE COURT:   Actually, Mr. Sobelman, it is 1 o'clock so         24

25   we are going to take our luncheon recess now.                              25


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1               (Jury not present)                                              1                      A F T E R N O O N    S E S S I O N

2               THE COURT:   You could step down.                               2                                    2:07 p.m.

3               (Witness not present)                                           3                (Jury not present)

4               THE COURT:   Please be seated.                                  4                THE COURT:   Please be seated.

5               Is there anything we need to take up before we recess?          5                Are we prepared to proceed?

6               MR. RICHENTHAL:    Not from the government, your Honor.         6                MR. SOBELMAN:    The government is ready, your Honor.

7               MR. S. SREBNICK:    No, your Honor.                             7                THE COURT:   All right.   Mr. Auerbach, can you please

8               THE COURT:   All right.    We will resume at 2 o'clock.         8    retake the stand.

9               (Luncheon recess)                                               9    JEFFREY AUERBACH,

10                                                                              10         resumed, and testified further as follows:

11                                                                              11               THE CLERK:   All rise.

12                                                                              12               (Jury present)

13                                                                              13               THE COURT:   Please be seated.

14                                                                              14               Ladies and gentlemen, we'll continue with the direct

15                                                                              15   examination of Mr. Auerbach.

16                                                                              16               Mr. Auerbach, you remain under oath.

17                                                                              17               Mr. Sobelman, please proceed.

18                                                                              18               MR. SOBELMAN:    Mr. Hamilton, could you please put back

19                                                                              19   up Government Exhibit 310R, and just zoom in on the top three

20                                                                              20   messages.     Thank you.

21                                                                              21   BY MR. SOBELMAN:

22                                                                              22   Q.   Mr. Auerbach, before the lunch break, you had just told us

23                                                                              23   about a telephone call you had with the defendant on March 10,

24                                                                              24   2019, is that right?

25                                                                              25   A.   Yes.


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     K23dave4b                  Auerbach - direct                                    K23dave4b                  Auerbach - direct

1    Q.   And after you got off the phone, did he send you a text               1                 THE COURT:    Any objection?

2    message?                                                                   2                 MR. QUINON:    No, your Honor.

3    A.   He gave me this -- he gave me this text -- he texted me               3                 THE COURT:    Government Exhibit 302 is received in

4    this email address for me to send him the materials, yes.                  4    evidence, again, to the extent it bears on Mr. Avenatti's state

5    Q.   Can you please read us that email address?                            5    of mind.

6    A.   Yes.    MA@augustusllp.com.                                           6                 (Government's Exhibit 302 received in evidence)

7    Q.   What was your understanding of why the defendant sent you             7                 MR. SOBELMAN:    Your Honor, may we publish?

8    this email address?                                                        8                 THE COURT:    Yes.

9    A.   He said he never received my first email address and that             9    BY MR. SOBELMAN:

10   this was his private email address and to resend the material.             10   Q.    Mr. Auerbach, what email address did you send this email

11   Q.   And could you please read the text message you sent in                11   to?

12   response?                                                                  12   A.    I sent this to ma@augustusllp.com.

13   A.   "Got it.    Thanks."                                                  13   Q.    Who were you intending to send this email to?

14   Q.   What did you do next?                                                 14   A.    Michael Avenatti.

15   A.   I resent him the original email I forwarded to him at this            15   Q.    Can you please read what you wrote in this email, beginning

16   email address.                                                             16   with "FYI"?

17               MR. SOBELMAN:   Mr. Hamilton, could you please show the        17   A.    "FYI.    Here's my email (and attachment) from 3/1/19."

18   witness what's been marked as Government Exhibit 302.                      18   Q.    And is the email below that message the same email you sent

19   Q.   Mr. Auerbach, do you recognize this?                                  19   on March 1st?

20   A.   Yes.                                                                  20   A.    Yes.

21   Q.   What is it?                                                           21   Q.    Is that the one we looked at earlier?

22   A.   This is the email I forwarded -- I sent to Avenatti and               22   A.    Yes.

23   forwarded the original on March 10, 2019, at 6:35 p.m.                     23   Q.    Why did you send this email to the defendant?

24               MR. SOBELMAN:   The government offers Government               24   A.    I originally sent it -- well, I sent this because he asked

25   Exhibit 302 for the defendant's state of mind.                             25   for it, but I originally sent it to him as background


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     K23dave4b                  Auerbach - direct                                    K23dave4b                  Auerbach - direct

1    information on Cal Supreme and myself.                                     1    Q.    Mr. Auerbach, after March 10th, when was your next text

2                MR. SOBELMAN:   Mr. Hamilton, can you please show the          2    message exchange with the defendant?

3    witness what's been marked for identification as Government                3    A.    It was on 3/18/2019 at 10:29 a.m.

4    Exhibit 303.                                                               4                 MR. SOBELMAN:    And, Mr. Hamilton, could you please

5    Q.   Mr. Auerbach, do you recognize this?                                  5    zoom in on the text messages that begin at 10:29 a.m.

6    A.   Yes.                                                                  6    Q.    Between March 10th and March 18th, did you speak with the

7    Q.   What is it?                                                           7    defendant?

8    A.   It's Mr. Avenatti's response to my email on March 10, 2019,           8    A.    Yes.

9    at 6:30 -- I think that's 6:38 p.m. Pacific file.                          9    Q.    How did you speak with the defendant?

10               MR. SOBELMAN:   The government offers Government               10   A.    By phone.

11   Exhibit 303 for the defendant's state of mind.                             11   Q.    Did you speak with him just once or more than once during

12               THE COURT:    Any objection?                                   12   that time period?

13               MR. QUINON:   No, your Honor.    No objection.                 13   A.    I can't recall.

14               THE COURT:    303 is received.                                 14   Q.    So it might have been once, it might have been more than

15               (Government's Exhibit 303 received in evidence)                15   once.

16               MR. SOBELMAN:   May we publish?                                16   A.    Yes.

17               THE COURT:    Yes.                                             17   Q.    On that call or calls, what, if anything, did the defendant

18   BY MR. SOBELMAN:                                                           18   say about the urgency of resolving Mr. Franklin's issues with

19   Q.   Mr. Auerbach, what did the defendant write in his response?           19   Nike?

20   A.   "Thanks!"                                                             20   A.    There was no discussion of urgency.

21   Q.   And is this a response to the email we were just talking              21   Q.    On that call or calls, did the defendant mention anything

22   about, Government Exhibit 302?                                             22   about holding a press conference?

23   A.   Yes.                                                                  23   A.    No.

24               MR. SOBELMAN:   Mr. Hamilton, can you please display           24   Q.    On that call or calls, did the defendant mention anything

25   what's in evidence as Government Exhibit 310R again.                       25   about an internal investigation?


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     K23dave4b                  Auerbach - direct                                    K23dave4b                  Auerbach - direct

1    A.   No.                                                                   1                By the way, sending over materials shortly.       Sorry,

2    Q.   On that call or calls, did the defendant mention anything             2    had to run out unexpectedly yesterday to help my son and

3    about asking Nike to make any types of payments to him?                    3    buddies who were stranded in Hollywood LOL.

4    A.   Never.                                                                4                Yes, please.    You can bring the materials with you if

5    Q.   On that call or calls, did the defendant mention anything             5    that's easier.

6    about asking Nike to hire him?                                             6                Great, see you at 5 p.m.

7    A.   No.                                                                   7    Q.   Did you send materials to the defendant after this text

8    Q.   On that call or calls, did you bring up any of those                  8    message exchange?

9    topics?                                                                    9    A.   Yes, I did.

10   A.   Never.                                                                10   Q.   How did you send those materials to the defendant?

11   Q.   Mr. Auerbach, could you please remind us, whose text                  11   A.   Via email attachments.

12   messages are in blue and whose are with the white background?              12               MR. SOBELMAN:    Mr. Hamilton, can you please show the

13   A.   Mr. Avenatti's is in the white with the grayish background            13   witness what's been marked for identification as Government

14   and mine are in blue.                                                      14   Exhibit 304.

15   Q.   Could you please read us the text exchange that's on the              15   Q.   Mr. Auerbach, do you recognize this?

16   screen, which starts at 10:29 a.m. on March 18th?                          16   A.   Yes.

17   A.   Yes.                                                                  17   Q.   What is it?

18   Q.   And just explain for us, as you read them, who is sending             18   A.   This is the email I sent Mr. Avenatti on March 18th of 2019

19   which messages?                                                            19   at 3:09 p.m. Pacific Time and, yeah.

20   A.   OK.    Mr. Avenatti:    Jeff, can you and Gary and I meet at          20               MR. SOBELMAN:    The government offers Government

21   5 p.m. today?                                                              21   Exhibit 304 for the defendant's state of mind.

22               I replied:   Let me check.   I'm sure we can.                  22               THE COURT:    Any objection?

23               And then he replied:   Great.                                  23               MR. QUINON:    No objection, your Honor.

24               And then I replied:    Confirmed.   See you at 5 p.m.          24               THE COURT:    Government Exhibit 304 is received, again,

25               Your building?                                                 25   for Mr. Avenatti's state of mind.


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     K23dave4b                  Auerbach - direct                                    K23dave4b                  Auerbach - direct

1                (Government's Exhibit 304 received in evidence)                1                MR. SOBELMAN:    Mr. Hamilton, could you please display

2                MR. SOBELMAN:    May we publish?                               2    the second page of this exhibit.

3                THE COURT:   Yes.                                              3    Q.   Mr. Auerbach, just generally, what was attached to the

4    BY MR. SOBELMAN:                                                           4    email?

5    Q.   What is the subject line of this email?                               5    A.   I had attached my email to John Slusher, John Slusher's

6    A.   "John Slusher Auerbach emails, Andrew Michaelson@Boies                6    reply to me, and Andrew Michaelson at Boies Schiller, who is

7    Schiller bio, Auerbach memo to file, Re call with John                     7    the general -- who is the outside counsel to Nike EYBL, his bio

8    Slusher."                                                                  8    and contact info, and then my memo to the file of my --

9    Q.   Mr. Auerbach, could you please remind us, who is John                 9    documenting my conversation with John Slusher on March 6, 2019.

10   Slusher?                                                                   10   Q.   Who wrote the memorandum on this page?

11   A.   John Slusher is the de facto second in command at Nike, and           11   A.   I did.

12   he's the executive vice president of sports marketing at Nike.             12   Q.   Why did you provide this memorandum and these documents to

13   Q.   Is that the person you told you us earlier you had called             13   the defendant?

14   before you reached out to the defendant?                                   14   A.   Because they would inform him of what's transpired and the

15   A.   Yes.                                                                  15   objectives and what Nike had asked us to do, which was to call

16   Q.   And do you know Andrew Michaelson?                                    16   Andrew Michaelson and, really, to prepare him.

17   A.   No.                                                                   17   Q.   The top of the page states, "Privileged & Confidential."

18   Q.   What is your understanding of who Andrew Michaelson is?               18   Who wrote that?

19   A.   Andrew Michaelson, per my conversation with John Slusher              19   A.   I did.

20   and his emails to me, is the Nike EYBL outside counsel at Boies            20   Q.   What is your understanding of what "privileged" means?

21   Schiller.                                                                  21   A.   Usually it's to keep it confidential and not shared between

22   Q.   What did you write in the email we're looking at?                     22   an attorney and his client.

23   A.   "See attached."                                                       23   Q.   What, if anything, did you mean to communicate to the

24   Q.   Was there an attachment to this email?                                24   defendant by using the label "Privileged & Confidential"?

25   A.   Yes.                                                                  25   A.   That this is highly sensitive material and should not be


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1    shared with anyone unless it's agreed upon.                                1    Q.   Why did you write this memo?

2    Q.   Agreed upon by whom?                                                  2    A.   Again, to document and have a specific record of everything

3    A.   The client.                                                           3    I discussed and everything he discussed with me regarding Gary

4    Q.   Who was the client in this case?                                      4    Franklin and Nike.

5    A.   Gary Franklin.                                                        5    Q.   Why did you share this memo with the defendant?

6                MR. SOBELMAN:    Mr. Hamilton, could you please display        6    A.   Because it really states Gary's objectives, and it states

7    the sixth page of this exhibit.                                            7    clearly and it states John Slusher's reaction and what John

8    Q.   Mr. Auerbach, what is this page?                                      8    Slusher said and said, you know, and Nike -- Nike's initial

9    A.   This is a memo to the file that I had written right after             9    reaction.

10   my conversation that day with John Slusher at Nike, the                    10   Q.   Could you please read the first paragraph?

11   executive vice president of sports marketing, who I called on              11   A.   Sure.

12   Gary's behalf and Cal Supreme's behalf.                                    12               "I spoke with John Slusher at Nike today regarding

13   Q.   What do you mean by "memo to the file"?       What is that?           13   Gary Franklin.    I told John I was a good friend and adviser to

14   A.   It's -- traditionally, it's a document, a memorandum that             14   Gary Franklin, one of Nike's EYB's longtime, most respected

15   you want to write to officially state and so you have a future             15   program directors (14 years with Nike Grassroots, 8 with Nike

16   reference, if you need it, and it details what your                        16   EYB), and I was calling him on Gary's behalf to inform him and

17   conversation or meeting you had or discussion with somebody.               17   Phil (Knight) and Nike about the following:"

18   Q.   Are these basically your notes of that call?                          18   Q.   Would you please read the paragraph that's numbered 2?

19   A.   Yes.                                                                  19   A.   "There was ongoing corruption and illicit schemes being

20   Q.   What is the date on this memorandum?                                  20   carried out by DeBose and James and how they brought this

21   A.   February 6, 2019.                                                     21   corruption into California Supreme, directing Gary to submit

22   Q.   When did that call with Mr. Slusher occur?                            22   fake invoices, make cash and bank-wire payments to handlers and

23   A.   That day.                                                             23   family members of top Nike elite players like DeAndre Ayton and

24   Q.   On February 6, 2019?                                                  24   Brandon McCoy, actions similar to those in the recent

25   A.   Yes.                                                                  25   DOJ-Adidas case.


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1    Q.   Could you please read the paragraph numbered six?                     1    been loyal to Nike and wants to help the company clean up EYB,

2                THE COURT:   Before you do that, there's a reference to        2    get rid of the corruption and corrupt execs."

3    something called Nike grassroots.       What does that refer to?           3                At which point, John asked me, John Slusher, "So what

4                THE WITNESS:    Grassroots is the original AAU term for        4    does justice look like for Gary, firing DeBose and James?"

5    youth basketball, grassroots meeting out in the communities.               5                At which I replied, "Yes, for starters."

6    They are used interchangeably with youth basketball.          It's one     6    Q.   What did you mean by "for starters"?

7    of those terms.    It used to be called Nike grassroots because            7    A.   That was one of his goals, one of his objectives.

8    there's a lot of AAU clubs that are grassroots but aren't                  8    Q.   And did you communicate to Mr. Slusher any other of

9    elite.                                                                     9    Mr. Franklin's objectives on that call?

10               THE COURT:   My next question was how does the                 10   A.   Yes.

11   grassroots relate to the elite?                                            11   Q.   What did you say?

12               THE WITNESS:    A lot of elite programs have grassroots        12   A.   I told him that Gary and the brand had been hurt and he

13   programs within the organization where there's different levels            13   sustained a lot of financial burden and loss in the brand and

14   of kids in the community playing but they're not on the Nike               14   he'd like to be compensated.      I said but his real goal here is

15   elite level which is the circuit where all the college coaches             15   he's loyal to Nike and he would love to continue with Nike and

16   come to those tournaments and games.       They're not the top one         16   get his program reestablished.      And that he wants to report

17   hundred players.                                                           17   the -- his involvement in some of these acts to the government

18               THE COURT:   Go ahead, Mr. Sobelman.                           18   and he would like to do it in coordination and go together with

19   Q.   Just to be clear, is grassroots a larger umbrella and the             19   Nike and do it.

20   Nike EYBL is within that larger umbrella?                                  20   Q.   Does this memorandum mention a press conference?

21   A.   That's my understanding but some of these terms are                   21   A.   No.

22   interchangeable sometimes.                                                 22   Q.   Does this memorandum mention an internal investigation?

23   Q.   Could you please read the paragraph numbered six.                     23   A.   Absolutely not.

24   A.   Yes.                                                                  24   Q.   Does this memorandum mention any threats that you made to

25               "Gary now wants justice.    In addition, he's always           25   Mr. Slusher?


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1    A.   No.                                                                      1    Q.   Why specifically did you provide the defendant with

2    Q.   Did you mention a press conference or internal                           2    Mr. Michaelson's bio?

3    investigation in your conversation with Mr. Slusher?                          3    A.   Because that was the directive.       That was what was in the

4    A.   Never.                                                                   4    memo.   That's what we discussed that Andrew Michaelson should

5    Q.   Did you make any threats to Mr. Slusher?                                 5    be contacted.

6    A.   Never.                                                                   6    Q.   At the time you sent this e-mail on March 18 that had this

7    Q.   Why did you not make any threats to Mr. Slusher?                         7    bio attached, what steps did you understand the defendant had

8    A.   It's just not -- that would have been really damaging and                8    already taken on Mr. Franklin's behalf?

9    counterintuitive and detrimental to Gary and his goals.          It's         9    A.   Absolutely nothing.

10   just not what you do.                                                         10   Q.   What was that understanding based on?

11   Q.   A moment ago you referenced AAU when you were talking about              11   A.   Because we only had one meeting and we -- I sent him the

12   grassroots and EYBL.     What is AAU?                                         12   material and during a conversation between the two meetings we

13   A.   It's the amateur aspect of youth basketball:        Amateur              13   said we'd get together again and we'd talk and we'd strategize

14   athletic -- I forget what the U stands for but it's like                      14   and Mr. Avenatti never said he did anything.

15   amateur athletic association.                                                 15   Q.   What do you mean by strategize?

16              MR. SOBELMAN:   Mr. Hamilton, can you please display               16   A.   We would -- Gary, the client, myself, and Mr. Avenatti

17   the fourth page of this exhibit.                                              17   would get together and talk about what next steps and how to

18   Q.   Mr. Auerbach, what is this?                                              18   proceed even though the most obvious one was calling

19   A.   This is Andrew Michaelson at Boies Schiller, Nike's outside              19   Mr. Michaelson.    And we never had that.

20   counsel, Nike EYB's outside counsel that John Slusher                         20   Q.   At the time you sent this e-mail on March 18, what, if

21   specifically said all further communications and discussions                  21   anything, had the defendant told you about whether he had

22   about Gary and Nike should go through.                                        22   already reached out to Nike?

23   Q.   How did you get this document?                                           23   A.   Nothing.

24   A.   He set up -- this was off the internet.       Boies Schiller's           24   Q.   At that time what was your expectation about whether

25   website.                                                                      25   Mr. Avenatti would keep you appraised of any steps he was


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1    taking on behalf of Mr. Franklin?                                             1    witness what's marked for identification as Government Exhibit

2    A.   Oh, fully expected that he would discuss with me and Gary                2    305.

3    what the next steps were and if he had done anything let us                   3    Q.   Mr. Auerbach, do you recognize this?

4    know.                                                                         4    A.   Yes.

5    Q.   Why was that your expectation?                                           5    Q.   What is it?

6    A.   Well, it's normal course of business.       It's what an                 6    A.   This is an e-mail I sent Mr. Avenatti on March 18, 2019 at

7    attorney and a client -- what happens.        But we made it clear            7    3:15 p.m. Pacific Time.

8    that we would strategize and we talked about it.                              8                MR. SOBELMAN:    Your Honor, the government offers

9    Q.   At that time, meaning on March 18 when you sent this                     9    Government Exhibit 305 for the defendant's state of mind.

10   e-mail, who if anyone did you expect the defendant might reach                10               THE COURT:    Any objection?

11   out to on behalf of Nike?                                                     11               MR. QUINON:    None your Honor.

12   A.   No -- wait, the defendant on behalf?                                     12               THE COURT:    Government Exhibit 305 is received for

13   Q.   Sorry.   At Nike on \behalf\behave of -- let me withdraw it.             13   purposes of Mr. Avenatti's state of mind.

14              At the time you sent this e-mail who if anyone did you             14               (Government's Exhibit 305 received in evidence)

15   expect that the defendant would reach out to on behalf of                     15               MR. SOBELMAN:    May we publish?

16   Mr. Franklin?                                                                 16               THE COURT:    Yes.

17   A.   We -- I had no expectation that he would reach out to                    17   Q.   Mr. Auerbach, what was the subject of this e-mail?

18   anyone until we strategized.      But if there was anyone, it would           18   A.   The subject is Nike USA Cal Supreme 2010-2017.

19   have been Andrew Michaelson.                                                  19   Q.   What did you write in this e-mail?

20   Q.   Why did you expect that the defendant might reach out to                 20   A.   "Michael, see attached."

21   Andrew Michaelson?                                                            21               MR. SOBELMAN:    Mr. Hamilton, can you please display

22   A.   Again, it's who John Slusher directed us to not only in my               22   the second page of this exhibit.

23   memo to the file but from John Slusher's own e-mail said feel                 23   Q.   Mr. Auerbach, generally what does this page show?

24   free to contact John -- I mean Andrew Michaelson.                             24   A.   This is a memorandum coversheet that highlights the

25              MR. SOBELMAN:   Mr. Hamilton, can you please show the              25   California Supreme travel contracts with Nike from 2010 to


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1    2018.                                                                      1    A.   This contract is between October 1, 2016 and September 30,

2    Q.   At the top of the page it says privileged and confidential.           2    2017.

3    Do you see that?                                                           3    Q.   In paragraph C, how much was Nike required to pay

4    A.   Yes.                                                                  4    California Supreme each year?

5    Q.   What, if anything, did you mean to communicate to the                 5    A.   72,000.

6    defendant by using that label?                                             6    Q.   In paragraph E, generally what else was Nike required to

7    A.   To keep this strictly confidential and not share it.                  7    give California Supreme each year?

8    Q.   What, if anything, was attached to this memorandum?                   8    A.   This is the Nike product we talked about earlier.         So it

9    A.   The travel team contracts, four of them.                              9    was a lot of different items, a thousand T shirts, 250 pairs of

10   Q.   Where did you get those contracts?                                    10   shoes, coaches shoes, all kinds of backpacks, tops, travel

11   A.   Gary Franklin provided them to me.                                    11   bags.

12   Q.   Why did you send the defendant those contracts?                       12               MR. SOBELMAN:   Mr. Hamilton, could you please show the

13   A.   I wanted him to see what the yearly values were and all the           13   witness what's been marked for identification as Government

14   contracts and agreements and obligations that -- financial                 14   Exhibit 306.

15   obligations that Nike had with -- and the terms with Cal                   15               Give me one moment, your Honor.

16   Supreme.                                                                   16               THE COURT:   Yes.

17   Q.   Let's take a look at one of them.                                     17               MR. SOBELMAN:   Mr. Hamilton, if we could just go back

18               MR. SOBELMAN:    Mr. Hamilton, would you please display        18   to Government Exhibit 305 which is in evidence, page 29,

19   page 21 of this exhibit.                                                   19   please.

20   Q.   Mr. Auerbach, would you please read the title of this                 20               Mr. Hamilton if you could please just zoom in on term.

21   document?                                                                  21   Q.   Mr. Auerbach, what is this document?

22   A.   Travel team contract.                                                 22   A.   This is the key terms offer sheet for a two-year, 2016 to

23   Q.   In the first paragraph who is the contract between?                   23   2018 deal with a second year option.

24   A.   It's between California Supreme and Nike USA, Inc.                    24   Q.   To your understanding, after September 30, 2018 did Nike

25   Q.   In paragraph A, what time period does this contract cover?            25   offer Cal Supreme a new correct?


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1    A.   They did.                                                             1    Q.   Mr. Auerbach what is the subject line of this e-mail?

2    Q.   There was a contract after September 30, 2018?                        2    A.   This is Brian Bowen racketeering suit against Adidas

3    A.   (No response).                                                        3    articles and filing.

4    Q.   Or is this the last time?                                             4    Q.   Who is Brian Bowen?

5    A.   I'm sorry.     This is the last time to the best of my                5    A.   Brian Bowen is a former elite youth basketball player who

6    knowledge.                                                                 6    played in the Adidas league.

7    Q.   This is the last contract?                                            7    Q.   Do you know him personally?

8    A.   Yes.    Yes.                                                          8    A.   No.

9                MR. SOBELMAN:    Mr. Hamilton, now we can take a look          9    Q.   What did you write in this e-mail?

10   and show the witness what has been marked as Government Exhibit            10   A.   "Michael, see attached."

11   306.                                                                       11               MR. SOBELMAN:   Mr. Hamilton, can you please display

12   Q.   Mr. Auerbach, do you recognize this?                                  12   the second page of this exhibit.

13   A.   Yes.                                                                  13   Q.   Mr. Auerbach, what was attached to this e-mail?

14   Q.   What is it?                                                           14   A.   This is the official civil racketeering claim that Brian

15   A.   This is an e-mail I sent Mr. Avenatti on March 18, 2019 at            15   Bowen made against Adidas.

16   3:38 p.m. Pacific Time.                                                    16               MR. SOBELMAN:   Mr. Hamilton, could you please display

17               MR. SOBELMAN:    Your Honor, the government offers             17   the third page of this exhibit.

18   Government Exhibit 306 for the defendant's state of mind.                  18   Q.   Mr. Auerbach, this is the table of contents for that

19               THE COURT:    Any objection.                                   19   complaint?

20               MR. QUINON:    No, your Honor.   No objection.                 20   A.   Yes.

21               THE COURT:    Government Exhibit 306 is received for           21   Q.   Did this lawsuit involve Mr. Franklin?

22   purposes of Mr. Avenatti's state of mind.                                  22   A.   No.

23               MR. SOBELMAN:    May we publish?                               23   Q.   Did this lawsuit involve Nike?

24               THE COURT:    Yes.                                             24   A.   No.

25               (Government's Exhibit 306 received in evidence)                25   Q.   Why did you send this document to the defendant?


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1    A.   Although there were a lot of very different elements, there           1                MR. SOBELMAN:   May we publish?

2    were still some actions that were similar and I sent it as a               2                THE COURT:   Yes.

3    background information for Mr. Avenatti.                                   3    Q.   Mr. Auerbach, what's the subject line of this e-mail?

4    Q.   Do you know whether any of the allegations in the complaint           4    A.   Adidas basketball corruption case and other related

5    we just looked at are true?                                                5    articles.

6    A.   No.                                                                   6    Q.   Could you please read what you wrote to the defendant above

7    Q.   Did you ever tell the defendant that they were true?                  7    the links?

8    A.   No.                                                                   8    A.   "Michael see attached related articles.       Also below are

9    Q.   Did you discuss this complaint with the defendant at any              9    links to the same as well.      I will also bring hard copies to

10   point?                                                                     10   our meeting today."

11   A.   No.    We never had a chance.                                         11   Q.   Did you attach news articles to this e-mail?

12               MR. SOBELMAN:    Mr. Hamilton, would you please show the       12   A.   I did.

13   witness what has been marked for identification as Government              13   Q.   Generally what were those news articles about?

14   Exhibit 307.                                                               14   A.   They were just articles explaining the Adidas case and how

15   Q.   Mr. Auerbach, do you recognize this?                                  15   Adidas youth basketball executives were found guilty and really

16   A.   Yes.                                                                  16   the whole investigation.

17   Q.   What is it?                                                           17   Q.   Did any of those articles reference Mr. Franklin?

18   A.   This is an e-mail I sent Mr. Avenatti on March 18, 2019 at            18   A.   No.

19   3:43 p.m. Pacific Time.                                                    19   Q.   Did you later give the defendant hard copies of these

20               MR. SOBELMAN:    The government offers Government              20   articles?

21   Exhibit 307 for the defendant's state of mind.                             21   A.   I did.    I brought them to the meeting.

22               MR. QUINON:    No objection.                                   22   Q.   Why did you give him hard copies of those articles?

23               THE COURT:    Government Exhibit 307 is received for           23   A.   Just in case -- so he had them in case he didn't receive

24   purposes of Mr. Avenatti's state of mind.                                  24   the e-mail.

25               (Government's Exhibit 307 received in evidence)                25   Q.   Why did you send him links to these articles at all?


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1    A.   So he could familiarize himself with the case and take what           1    3-5-2018.

2    he read and see the similarities for discussion purposes down              2    Q.   Would you please read what you wrote to the defendant?

3    the road.                                                                  3    A.   Yes.

4    Q.   Did you discuss any of these articles with the defendant at           4                "Privileged and confidential.

5    any point?                                                                 5                "Michael, see attached memorandum of actions re Nike

6    A.   No.    We never had the opportunity.                                  6    EYB-California Supreme with exhibits (same as the one we gave

7                MR. SOBELMAN:    Mr. Hamilton, could you please show the       7    you at our initial meeting)."

8    witness what's been marked for identification as Government                8    Q.   Why did you write "privileged and confidential" at the

9    Exhibit 308.                                                               9    beginning of this e-mail?

10   Q.   Mr. Auerbach, do you recognize this?                                  10   A.   Because this had highly sensitive and potentially damaging

11   A.   Yes.                                                                  11   material attached to it and we wanted to make sure that it was

12   Q.   What is it?                                                           12   confidential and not released to anyone.

13   A.   It's an e-mail I sent Mr. Avenatti on March 18, 2019 at               13   Q.   Who, if anyone, were you concerned would be damaged if it

14   4:02 p.m. Pacific Time.                                                    14   would be released?

15               MR. SOBELMAN:    The government offers Government              15   A.   First Nike, then Gary, and then a lot of the kids who were

16   Exhibit 308 for the defendant's state of mind.                             16   playing.

17               THE COURT:    Any objection?                                   17   Q.   Who do you mean by kids?

18               MR. QUINON:    None, Your Honor.                               18   A.   DeAndre Ayton, Bol Bol, Brandon McCoy and some others.

19               THE COURT:    Government Exhibit 308 is received for           19   Q.   Why did you refer to them as kids?

20   purposes of Mr. Avenatti's state of mind.                                  20   A.   Well, they're minors.      They are kids.   They may be big kids

21               (Government's Exhibit 308 received in evidence)                21   but they're kids, so.

22               MR. SOBELMAN:    May we publish?                               22   Q.   What, if anything, was attached to this e-mail?

23               THE COURT:    Yes.                                             23   A.   This was my 41-page memorandum of actions that we put

24   Q.   Mr. Auerbach, what's the subject line of this e-mail?                 24   together with all the individual actions and all the backup

25   A.   Nike EYB Cal Supreme memorandum of actions and exhibits               25   bank statements, texts, falsified invoices and the like.


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1               MR. SOBELMAN:   Mr. Hamilton, could you please display          1    Q.   Who wrote this document?

2    the second page of this exhibit.                                           2    A.   I did.

3    Q.   Mr. Auerbach, who wrote this?                                         3    Q.   Generally what is this document?

4    A.   I did.                                                                4    A.   Again, this document details all the -- what we considered

5    Q.   Who was this memorandum addressed to?                                 5    to be the actions that Gary was directed to facilitate at the

6    A.   Michael Avenatti.                                                     6    forcing or the, you know, at Carlton DeBose and Jamal James'

7    Q.   At the top of the page it says privileged and confidential.           7    direction on behalf of Nike.

8    Why did you write that?                                                    8    Q.   Is this the same document you showed the defendant at your

9    A.   Again, just to ensure that he or anybody knew this was                9    first meeting with him?

10   highly sensitive and potentially damaging material.                        10   A.   Yes.

11   Q.   When you say he, who do you mean?                                     11   Q.   We looked at that earlier?

12   A.   Michael Avenatti.                                                     12   A.   Yes.

13   Q.   Would you please read what you wrote to the defendant?                13               MR. SOBELMAN:    Mr. Hamilton, you can take this down.

14   A.   Sure.                                                                 14   Q.   Mr. Auerbach, after sending all these e-mails to the

15              "Michael, attached is a copy of memorandum of actions           15   defendant on March 18, did you meet with him on that day?

16   document regarding Nike elite youth basketball-Cal Supreme                 16   A.   We did.

17   youth basketball in connection with Nike elite players DeAndre             17   Q.   Approximately what time did you meet with him?

18   Ayton, Bol Bol and Brandon McCoy in 2019 and 2017."                        18   A.   Approximately 5 or 5:30.

19              THE COURT:    Sorry.   What year was that?                      19   Q.   Where did you meet with the defendant?

20              THE WITNESS:    I'm sorry.   "In 2016 and 2017 with             20   A.   We met with him at his highrise apartment building, the

21   exhibits.     This is the one we shared with you at our initial            21   same one we had the original meeting in the conference room.

22   meeting with bank statements, texts, invoices, phone records,              22               MR. SOBELMAN:    Mr. Hamilton, could you please display

23   etc."                                                                      23   what's in evidence as Government Exhibit 602.

24              MR. SOBELMAN:   Mr. Hamilton, could you please display          24   Q.   Mr. Auerbach, who was at that meeting?

25   the third page of this exhibit.                                            25   A.   It was myself, Gary Franklin and Michael Avenatti.


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1    Q.   Where in the defendant's highrise building did you meet?              1                THE WITNESS:    It was absolute shock.

2    A.   In a conference room.     Not the same one as the one before.         2    Q.   Why were you shocked?

3    It was a different one.                                                    3    A.   I thought we were getting together to strategize at that

4    Q.   Could you please tell us where you, Mr. Franklin, and the             4    meeting and I had no indication, Gary had no indication that he

5    defendant were sitting?                                                    5    had done anything on Gary's behalf since our first meeting.

6    A.   Sure.    Mr. Avenatti was on one side of the table.       Gary was    6                So I was just shocked that he was doing that.

7    on the other.     And I was at the head.                                   7    Q.   Just to be clear what, if anything, had the defendant said

8    Q.   Approximately how long was that meeting?                              8    before this meeting about strategizing with you before he

9    A.   It was approximately 20 minutes.                                      9    reached out to Nike?

10   Q.   How did that meeting begin?                                           10   A.   In our phonecall we made it clear that we were going to get

11   A.   With a shock and revelation.       With him coming in and             11   together and strategize and that's why I was sending over

12   saying:    OK, guys, I'm flying to New York on a red eye tonight           12   materials to him.

13   and I'm meeting with Nike's outside counsel at Boies Schiller              13   Q.   That was a phonecall sometime between March 10 and

14   and I'm going to meet with a couple of litigators who are                  14   March 18?

15   flying in from Portland and I'm meeting with them at 12 noon in            15   A.   Yes.

16   New York tomorrow and I'll call you guys after the meeting.                16   Q.   What was the defendant's demeanor like at the meeting on

17   And then he told Gary I'm going to try to get you a million                17   March 18?

18   dollars.                                                                   18   A.   He was extremely rushed and harried and said he had to go

19   Q.   I'll ask you a couple of follow-up questions but first what           19   pack a couple of times and really didn't want to get into

20   is a red eye?                                                              20   anything.

21   A.   Overnight flight.                                                     21               I had questioned him and said:     Did you call Andrew

22   Q.   What was your reaction when the defendant told you he was             22   Michaelson, the one guy John Slusher said to call.

23   flying to New York that evening to meet with Nike's lawyers?               23               And he said:    No, I didn't call Andrew Michaelson.

24              MR. QUINON:    Objection, your Honor.                           24               I said:   Well, who did you call.

25              THE COURT:    Overruled.                                        25               And he said:    I called his boss, Scott Wilson.


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1                I said, OK.    You know, did you bring up Gary Franklin,         1    dollars.     I'm going to try to get you a million dollars.

2    did you mention Gary?       And he said no.                                  2    Q.   At that time did you understand the defendant to mean that

3                I said:   You didn't mention Gary?    He said no.                3    the only thing he would pursue for Mr. Franklin was a million

4                I said:   What did you tell them to get them to meet.            4    dollars?

5                And he said:    I told them you got a big fucking                5    A.   No.

6    problem and you're going to meet with me tomorrow in New York.               6    Q.   Based on your conversations with the defendant and

7    Q.   Are those the words he used?                                            7    Mr. Franklin in that meeting and before that meeting, what else

8    A.   Yes.                                                                    8    did you think the defendant was going to pursue on behalf of

9    Q.   What was his demeanor like as he was answering your                     9    Mr. Franklin at this meeting in New York the next day?

10   questions?                                                                   10   A.   Well, it was brought up that he was going to try to

11   A.   Quick.    Strong.    It was just short and strong.    Wanted to         11   reestablish, get Cal Supreme back in with Nike and reestablish

12   get -- I could tell he really didn't want to get into anything.              12   that relationship.       And then we had talked about and assumed

13   Q.   What was your reaction when the defendant told you he                   13   that he was going to discuss getting Mr. DeBose and Mr. James

14   called Mr. Wilson instead of Mr. Michaelson?                                 14   terminated and that he was going to bring up Gary's desire to

15   A.   I was just shocked because we made it very clear, the whole             15   work with them to go to report some of the incidents and

16   thing had been teed up with a discussion with John Slusher who               16   behavior to the authorities.

17   is telling us to call this guy.       And whenever you go above              17   Q.   Just to be clear, at the March 18 meeting I think you said

18   somebody's head it's not good.                                               18   it was brought up that Mr. Avenatti would try to help

19   Q.   Why did you think that wasn't good?                                     19   Mr. Franklin rejoin Nike's program; is that correct?

20   A.   It's disrespectful and it's not what we had talked about.               20   A.   Yes.

21   We had a clear directive.                                                    21   Q.   That's one of the things that you discussed with the

22   Q.   During that meeting did the defendant say what, if                      22   defendant at that meeting?

23   anything, he would try to accomplish from Mr. Franklin in his                23   A.   Yes.

24   meeting with Nike's lawyers?                                                 24   Q.   And with respect to the other two things you mentioned,

25   A.   Yes.    He quickly said I'm going to get you a million                  25   having Mr. James and Mr. DeBose fired and Mr. Franklin working


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1    with Nike to self-report to the authorities, were those things               1    know, the people involved with Cal Supreme.

2    that you had discussed prior to that meeting with the                        2    Q.   Did you show this document to Mr. Avenatti at the meeting

3    defendant?                                                                   3    on March 18?

4    A.   Yes.                                                                    4    A.   I did.

5    Q.   Was that at that March 5 meeting?                                       5                MR. SOBELMAN:    The government offers Government

6    A.   March 5 meeting and in all the correspondence, the memo to              6    Exhibit 311 for the defendant's state of mind.

7    the file and other documents.                                                7                MR. QUINON:    No objection.

8    Q.   Were those also topics of some of the phonecalls you would              8                THE COURT:    Government Exhibit 311 is received for

9    have with Mr. Avenatti?                                                      9    purposes of Mr. Avenatti's state of mind.

10   A.   Yes.                                                                    10               (Government's Exhibit 311 received in evidence)

11   Q.   At any point did Mr. Avenatti say he wasn't going to pursue             11               MR. SOBELMAN:    May we publish?

12   the things you had asked him to pursue?                                      12               THE COURT:    Yes.

13   A.   No.                                                                     13   Q.   Mr. Auerbach, could you tell us again just generally what

14   Q.   Did you share with the defendant any documents at that                  14   does this document contain?

15   meeting in addition to those that you e-mailed him that we                   15   A.   It details Nike hierarchy and the reporting structure of

16   looked at?                                                                   16   Cal Supreme, Nike EYB and then the Nike EYB executives to Nike,

17   A.   Yes.                                                                    17   Inc.   It also lists the players involved in the material that

18               MR. SOBELMAN:    Mr. Hamilton, could you please display          18   we submitted and talks about the handler, talks about various

19   what's marked for identification as Government Exhibit 311.                  19   people who are involved.

20   Q.   Mr. Auerbach, do you recognize this?                                    20               This was a work-in-progress document, that there are

21   A.   Yes.                                                                    21   to-be-continueds and it was not completed because Mr. Avenatti

22   Q.   What is it?                                                             22   called at that point and I just brought over what was complete

23   A.   This is a document that I had put together.        I call it a          23   at that point.

24   cast of characters.       But it basically is a description of the           24   Q.   To be clear, at the time he called this is what you had

25   Nike reporting hierarchy and all the players involved, you                   25   written so far?


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1    A.   Yes.                                                                   1    were and who was involved.

2    Q.   And you would expect he would not call for some additional             2    Q.   And just for perspective, if Mr. Slusher were to be on this

3    time which is why you had not completed it?                                 3    diagram would he be above or below or in the middle of these

4    A.   No.    I had expected that we would -- he would call.       I          4    Nike employees?

5    would bring over what we had but this was an ongoing -- there               5    A.   By virtue of his seniority I would think he would be above.

6    would be further meetings and we would strategize.         So I didn't      6    Q.   Is that the same with Mr. Knight?

7    think this was going to be the meeting that he was going to go              7    A.   Yes.    And I would think they would be over here.

8    meet with Nike.    So it's what I had.                                      8    Q.   Meaning in a separate group?

9    Q.   At that point, March 18, did you feel any sense of urgency             9    A.   Yeah.    They're not involved in this day-to-day or even

10   with resolving Mr. Franklin's issues with Nike?                             10   probably weekly or monthly.

11   A.   No.                                                                    11               MR. SOBELMAN:   Mr. Hamilton, could you please display

12   Q.   Approximately how long did you spend showing this document             12   the fifth page of the exhibit.

13   to the defendant?                                                           13   Q.   What is on this page?

14   A.   We, you know, it was a 20-minute meeting so we went through            14   A.   These are questions I thought were just good questions for

15   it fairly quickly.     It was probably about six minutes, seven             15   discussion purposes for us to ask.

16   minutes.                                                                    16   Q.   Who wrote these questions?

17               MR. SOBELMAN:   Mr. Hamilton, could you please display          17   A.   I did.

18   the fourth page of this exhibit.                                            18   Q.   Why did you include them in this document?

19   Q.   Mr. Auerbach, generally what does this page show?                      19   A.   Again, I wanted them for discussion purposes and thought

20   A.   Again, this shows the reporting hierarchy.        It shows Cal         20   they were good questions for us to discuss.

21   Supreme and Gary, Carlton DeBose, director of EYB, Jamal James              21   Q.   By us you're referring to?

22   manager of EYB.    And then at Nike, Inc., the two executives who           22   A.   Mr. Avenatti, Mr. Franklin, yes.

23   oversee Nike EYB.                                                           23   Q.   During that meeting did you discuss these questions with

24   Q.   Why did you include this information in this document?                 24   the defendant?

25   A.   I wanted Mr. Avenatti to have a sense of who the players               25   A.   No.


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1    Q.   At any point did you discuss these questions with the                  1    A.   Once again, Gary has no problem with Nike, never had a

2    defendant?                                                                  2    problem with Nike.     He's loyal.    This was his home for fifteen

3    A.   No.                                                                    3    years and he just wanted to try to reestablish that

4    Q.   At any point did you ask the defendant to find out the                 4    relationship and get these two bad operators out of the way.

5    answers to these questions?                                                 5    Q.   But the two bad operators you're referring to Mr. DeBose

6    A.   No.                                                                    6    and Mr. James?

7                MR. SOBELMAN:   Mr. Hamilton, could you please display          7    A.   Mr. James, yes.

8    the eighth page of this exhibit.                                            8                MR. SOBELMAN:   Mr. Hamilton, could you please go to

9    Q.   Mr. Auerbach, what's on this page?                                     9    the ninth page of this exhibit.

10   A.   This is Gary's page to be continued in the document.                   10   Q.   Mr. Auerbach, what does this page show?

11   Q.   It says to be completed?                                               11   A.   This is a page that just highlights the effectiveness of

12   A.   Sorry.    To be completed.   Yes.                                      12   Gary and his program with the boys in the community in South

13   Q.   And again just explain to us why do some of the pages say              13   Central Los Angeles and that he's been able to put these

14   to be completed?                                                            14   players through the program and in the last ten years I believe

15   A.   Because it's a work in progress and there was no time, once            15   he had about 120 scholarship Division I players.

16   I got the call, to meet with him, with Mr. Avenatti.                        16   Q.   Who is depicted in this photograph?

17   Q.   And why did you include this page?                                     17   A.   Shaquille O'Neil, Shareef O'Neil and Gary.        I'm not sure

18   A.   Everybody -- all the major players in this have a page but             18   who the fourth individual is.      I know he's a former player.       It

19   I had included this picture with Gary and Phil Knight.                      19   says Coach Coleman.     But that's a mistake.

20   Q.   Why did you do that?                                                   20               Shareef O'Neal was a player in Gary's program in the

21   A.   I just thought it was a good picture, the two of them                  21   17 elite team at the time.

22   together.                                                                   22               MR. SOBELMAN:   Mr. Hamilton, could you please display

23   Q.   What, if anything, were you trying to communicate to the               23   the tenth page of this exhibit.

24   defendant by including a picture of Mr. Franklin with                       24   Q.   What does this page show?

25   Mr. Knight?                                                                 25   A.   This highlights Nike EYB executives, Carlton DeBose and


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1    Jamal James and gives their titles.                                           1    Q.   Mr. Auerbach, what, if anything, did Mr. Franklin say

2    Q.   In the bottom right corner it says "major offender" for                  2    during the meeting on March 18 with the defendant?

3    each of them.                                                                 3    A.   I think -- I got the impression Gary was as shocked as I

4    A.   Yes.                                                                     4    was.

5    Q.   Who wrote that?                                                          5                MR. QUINON:    Objection.   Nonresponsive.

6    A.   I did.                                                                   6                THE COURT:    Sustained.

7    Q.   What did you mean by major offender?                                     7                THE WITNESS:   Gary said that he -- I think he thought

8    A.   I just wanted to delineate that these were two guys that                 8    that the million dollars was reasonable.        It was a number that

9    Gary said he had the most problems with.                                      9    he and I had talked about.       And he didn't say much during that

10               MR. SOBELMAN:   Mr. Hamilton, could you please display            10   meeting.     I got the -- you know.

11   the 17th page of this exhibit.                                                11   Q.   What was Mr. Franklin's demeanor in that meeting?

12   Q.   Mr. Auerbach, what does this page show?                                  12   A.   Shocked.

13   A.   This shows the three players who were involved in this                   13   Q.   Did you understand the defendant at that point to be

14   whole matter, DeAndre Ayton, Bol Bol, Brandon McCoy and talks                 14   Mr. Franklin's lawyer?

15   about DeAndre going number one overall in the NBA draft in 2018               15   A.   Absolutely.

16   playing at the University of Arizona and Bol Bol projected to                 16   Q.   At that point what was your expectation regarding the

17   be a top ten pick at the time at the 2000 NBA draft and going                 17   defendant keeping the information you provided confidential?

18   to University of Oregon.      And Brandon McCoy.                              18   A.   One hundred percent confidential.

19   Q.   I think you said 2000.     Did you mean the 2019 NBA draft?              19   Q.   At that point, did you expect that the defendant would show

20   A.   2019, yes.                                                               20   some of the documents provided to him to Nike's lawyers?

21   Q.   Why did you include this page in the document?                           21   A.   Yes.

22   A.   Just to give Mr. Avenatti information at a top level of who              22   Q.   Did you expect that he would share the information you

23   these players were.                                                           23   provided to him with anyone else?

24               MR. SOBELMAN:   Mr. Hamilton, could you please take               24   A.   No.

25   down the exhibit.                                                             25   Q.   What steps, if any, did you take to communicate that


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1    expectation to the defendant?                                                 1    Q.   At that meeting did you or Mr. Franklin mention anything

2    A.   Well, I -- lawyer confidentiality, client privilege.            But I    2    about holding a press conference?

3    had put privilege and confidential on every document.          And the        3    A.   Absolutely not.

4    one document I believe it wasn't on, it was on the coversheet                 4    Q.   At that meeting did the defendant mention anything about an

5    of the document and the e-mail.                                               5    internal investigation?

6    Q.   At that time why did you want the defendant to keep                      6    A.   No.

7    Mr. Franklin's information confidential?                                      7    Q.   At that meeting did you or Mr. Franklin mention anything

8    A.   Because it's very sensitive material and could be very                   8    about an internal investigation?

9    damaging to the individuals, to Nike, to the kids, to Gary.                   9    A.   Nothing.

10   Q.   In that meeting did the defendant mention anything about                 10   Q.   At that meeting did the defendant mention anything about

11   filing a lawsuit on behalf of Mr. Franklin?                                   11   asking Nike to make any types of payments to him?

12   A.   No.                                                                      12   A.   Absolutely not.

13   Q.   In that meeting did you or Mr. Franklin mention anything                 13   Q.   At that meeting did you or Mr. Franklin mention anything

14   about filing a lawsuit?                                                       14   about Nike making any types of payments to the defendant?

15   A.   No.                                                                      15   A.   Never.

16   Q.   In that meeting what, if anything, did the defendant say                 16   Q.   At that meeting did you or Mr. Franklin mention anything

17   about the urgency of resolving Mr. Franklin's issues with Nike?               17   about Nike hiring the defendant?

18   A.   Nothing.                                                                 18   A.   No.

19   Q.   In that meeting what, if anything, did you or Mr. Franklin               19   Q.   Did the defendant mention anything about him asking Nike to

20   say about the urgency of resolving Mr. Franklin's issues with                 20   be hired?

21   Nike?                                                                         21   A.   Never.

22   A.   Nothing.                                                                 22   Q.   How did the meeting on March 18 with the defendant end?

23   Q.   At that meeting did the defendant mention anything about                 23   A.   Very abruptly.      Mr. Avenatti said all of a sudden:     OK guys

24   holding a press conference?                                                   24   I got to go pack.     I'll call you after the meeting tomorrow.

25   A.   Never.                                                                   25   Q.   Would you have continued speaking with the defendant if he


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1    had more to discuss with you?                                               1    A.   I did.

2    A.   Yes.                                                                   2    Q.   Would you please read us those text message.

3    Q.   In this meeting or at any other time when you communicated             3    A.   Sure.

4    with the defendant did he mention whether he was working with               4                "Michael, thank you, thank you.     You're the best.     Let

5    any other person on this matter?                                            5    me know if there's anything I can do.         Go get em.   Travel safe.

6    A.   Never.                                                                 6    I know.     Prayer prayer."

7    Q.   Would you have wanted to know if the defendant was working             7    Q.   Why did you send those messages?

8    with any other person?                                                      8    A.   You know, although I was really shocked that he was going

9    A.   Absolutely.                                                            9    and that he had set all this up with no discussion, there's a

10   Q.   Why would you have wanted to know if the defendant was                 10   point where I was happy he's moving fast but at the same time I

11   working with some other person?                                             11   just decided it was better to be positive and hope there for a

12   A.   We were pretty meticulous in our whole approach and whoever            12   positive outcome.

13   he's going to bring in is going to be representing Gary and we              13   Q.   At the time you sent these text messages --

14   wanted to -- we would have wanted to know who that's going to               14   A.   Yes.

15   be and it would reflect on Gary, his case, and the goals.                   15   Q.   -- did you trust the defendant?

16   Q.   Would you have wanted to meet that person?                             16   A.   I had some doubts as to why he acted out on his own and

17   A.   Absolutely.                                                            17   didn't call Andrew Michaelson and didn't tell us what he was

18   Q.   Why would you have wanted to meet that person?                         18   doing before he was doing it.        But at that point, yes, I had

19   A.   Because we'd want to sit face-to-face and have an                      19   trusted that he was going to go to Nike and try to achieve

20   understanding what -- if that person is in sync with what                   20   Gary's goals and partly because I had no choice.

21   Gary's trying to achieve here.                                              21               MR. SOBELMAN:   Mr. Hamilton, could you please display

22               MR. SOBELMAN:   Mr. Hamilton, could you please display          22   the second page of this exhibit.

23   what's in evidence as Government Exhibit 310R.                              23   Q.   Looking at the page under March 19, 2019 12:43 p.m. there's

24   Q.   Mr. Auerbach, looking at the bottom of the page, who wrote             24   a text message.    Who sent that?

25   the text messages underneath March 18, 2019, 9:21 p.m.?                     25   A.   I did.


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1    Q.   Could you please read the message that you sent.                       1    that understanding.

2    A.   "Hi Michael.   Can we do a three-way call at 1 p.m.        I just      2    Q.   Mr. Auerbach, when the defendant told you the meeting went

3    spoke with Gary."                                                           3    great, did you have an understanding of what he meant at that

4    Q.   Why did you send this text message?                                    4    time?

5    A.   Because Gary said that Avenatti reached out to him and                 5    A.   I did.

6    wanted to have a call with the three of us so I was getting                 6                MR. QUINON:   Same objection.

7    back to him and saying let's do it.                                         7                THE COURT:    Yes.   Sustained.

8    Q.   Did you have a three-way call that day?                                8                MR. SOBELMAN:   One moment, your Honor.

9    A.   We did.                                                                9                (Counsel confer)

10   Q.   Who was on that call?                                                  10   Q.   Mr. Auerbach, based on your prior conversations and

11   A.   It was myself, Gary, and Avenatti.                                     11   meetings with the defendant did you have an expectation about

12   Q.   What did you understand the purpose of that call to be?                12   what might happen in the meeting that he was having with Nike's

13   A.   An update.                                                             13   lawyers?

14   Q.   In substance, what did the defendant say on that call?                 14   A.   Yes.

15   A.   He got on the phone and said:       Hi guys, meeting went great.       15   Q.   And did you have an expectation of what a good outcome

16   And Nike wants to meet again on Thursday, which this was a                  16   would be versus a bad outcome for Mr. Franklin?

17   Tuesday.     And I'll call you guys after that meeting.                     17   A.   Yes.

18   Q.   What did you understand "great" to mean?                               18   Q.   And when you heard the defendant describe the meeting as

19   A.   I assumed that he laid out all Gary's --                               19   having gone, quote, great, did you have an understanding of

20               MR. QUINON:   Objection, your Honor.                            20   what great meant in that conversation?

21               THE COURT:    Sustained.                                        21   A.   Yes.

22   Q.   Mr. Auerbach, when the defendant used the word "great,"                22               MR. QUINON:   Same objection, your Honor.

23   what did you understand him to mean?                                        23               THE COURT:    Yes.   Do we need to approach on this?

24               MR. QUINON:   Same objection.                                   24               MR. SOBELMAN:   Yes, your Honor.

25               THE COURT:    Yes.   You've got to lay a foundation for         25               THE COURT:    OK.


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1               (At sidebar)                                                          1    break so I can get organized in my papers and speak to my

2               THE COURT:    There's just no basis for him to have any               2    client?

3    understanding of what Avenatti meant by "great."         None                    3                THE COURT:    How much longer do you have?

4    whatsoever.     So that's why I'm sustaining the objection.                      4                MR. SOBELMAN:    Probably half an hour at most.

5               MR. SOBELMAN:    Your Honor, the defendant has                        5                THE COURT:    So the time now is about three.

6    testified --                                                                     6                MR. QUINON:    No, no, that's all right.

7               THE COURT:    The defendant hasn't testified at all.                  7                THE COURT:    So.    I'll take a break, I think.

8               MR. SOBELMAN:    Sorry.   I apologize, your Honor.        The         8                MR. QUINON:    After he's done?

9    witness has testified that he had discussions, several                           9                THE COURT:    Yes.

10   discussions in person and on the phone with the defendant about                  10               MR. QUINON:    Thank you, Judge, appreciate it.

11   Mr. Franklin's goals and objectives.                                             11               (Continued on next page)

12              THE COURT:    But the problem is we've totally veered                 12

13   off from that.    Avenatti says to them I'm going to try to get                  13

14   you a million.    They don't say I'm sorry we want you to                        14

15   reestablish the relationship with Nike, we're actually not --                    15

16   our primary thing is not really the money, we want to rebuild                    16

17   the relationship with Nike.      In contrast, apparently all                     17

18   Franklin said was a million dollars, yeah, that sounds                           18

19   reasonable.                                                                      19

20              MR. SOBELMAN:    Your Honor, respectfully, the witness                20

21   did say that at the March 18 meeting they also raised                            21

22   reestablishing a relationship with Nike and Mr. Avenatti --                      22

23              THE COURT:    I've ruled.                                             23

24              MR. QUINON:    Judge, one more thing.     After the                   24

25   government is done can -- are you going to take the afternoon                    25


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1               (In open court)                                                       1    Mr. Franklin's best interests?

2    Q.   Mr. Auerbach, in substance what did you say on that call?                   2    A.   Yes.

3    A.   Just -- I listened mostly.      I was -- when he said great, I              3    Q.   Approximately how long was that call?

4    said great.     And he just said I'll talk to you guys after the                 4    A.   I would say four or five minutes.        Five minutes, maybe.

5    Thursday meeting.    I'll call you as soon as it's over.                         5    Q.   Who ended the call?

6    Q.   Did Mr. Franklin say anything on that call?                                 6    A.   He did.

7    A.   No.                                                                         7    Q.   Would you have continued speaking with the defendant if he

8    Q.   How did the call end?                                                       8    had more to discuss with you?

9    A.   Mr. Avenatti, again, said:      All right, guys.    I'll call you           9    A.   Yes.

10   after the Thursday meeting and give you an update.                               10   Q.   During that call did the defendant mention anything about

11   Q.   On that call did the defendant say anything specific about                  11   holding a press conference?

12   what had happened at the meeting with Nike's lawyers that day?                   12   A.   Never.

13   A.   No.                                                                         13   Q.   During that call did the defendant mention anything about

14   Q.   On that call did the defendant explain why there would be                   14   an internal investigation?

15   another meeting?                                                                 15   A.   Never.

16   A.   No.                                                                         16   Q.   During that call did the defendant mention anything about

17   Q.   On that call did you ask any questions?                                     17   asking Nike to make any types of payments to him or hire him?

18   A.   No.                                                                         18   A.   No.

19   Q.   Why did you not ask the defendant any questions on that                     19   Q.   During that call did the defendant mention anything about

20   call?                                                                            20   the NCAA men's basketball tournament?

21   A.   I took his word for it.     He was very emphatic that it                    21   A.   Never.

22   was -- it went great and they want to meet again Thursday which                  22   Q.   During that call did the defendant mention the timing of

23   in my mind is very quick to have a second meeting if it wasn't                   23   Nike's corporate earnings announcement?

24   great.     And so I just took him at his word.                                   24   A.   No.

25   Q.   And at that time did you trust the defendant to act in                      25   Q.   During that call did you or Mr. Franklin bring up any of


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1    those topics?                                                              1    Q.   Approximately how long was that call?

2    A.   Never.                                                                2    A.   It was probably, again, five minutes; four or five minutes.

3    Q.   After your call with the defendant on March 19, when did              3    Q.   Would you have continued speaking with the defendant if he

4    you next have contact with the defendant?                                  4    had more to discuss with you?

5    A.   He called us right after his Thursday meeting.                        5    A.   Yes.

6    Q.   Who was on that call?                                                 6    Q.   After that call on March 21 did you ever speak to the

7    A.   It was myself, Gary Franklin and Avenatti.                            7    defendant again?

8    Q.   In substance what did the defendant say on that call?                 8    A.   No.

9    A.   It was another:      Guys, the meeting went great and Nike just       9    Q.   On that call, did the defendant mention anything about a

10   wants to have one more meeting on Monday to wrap things up and             10   22-and-a-half-million-dollar settlement?

11   I'll call you after that meeting.                                          11   A.   Absolutely not.

12   Q.   Did the defendant describe specifically what happened at              12   Q.   On that call did the defendant mention anything about

13   the meeting that occurred earlier that day?                                13   holding a press conference?

14   A.   No.    No details.                                                    14   A.   No.

15   Q.   What, if anything, did you say on that call?                          15   Q.   On that call did the defendant mention anything about an

16   A.   Again, his -- so emphatic with his "great" and the fact               16   internal investigation?

17   that they wanted to meet again on Monday I just -- I said                  17   A.   No.

18   terrific.     And he said OK.    Have a great weekend guys, I'll           18   Q.   On that call did the defendant mention anything about

19   call you.                                                                  19   Nike -- sorry, asking Nike to make any types of payments to him

20   Q.   What, if anything, did Mr. Franklin say on that call?                 20   or hire him?

21   A.   He said great, it's really good news and that was the end             21   A.   Never.

22   of it.                                                                     22   Q.   On that call did the defendant ask for your or

23   Q.   How did the call end?                                                 23   Mr. Franklin's permission to publicize the information that you

24   A.   Again, Mr. Avenatti said have a great weekend and I'll talk           24   had provided to him?

25   to you after the Monday meeting.                                           25   A.   Never.


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1    Q.   On that call did the defendant mention anything about                 1    others..." and a link to the article.

2    posting on Twitter?                                                        2    Q.   Did you click on that link?

3    A.   No.                                                                   3    A.   I did.

4    Q.   Did you or Mr. Franklin bring up any of those topics on               4    Q.   Did you read the article?

5    that call?                                                                 5    A.   Yes.

6    A.   No.                                                                   6    Q.   Generally what did the article discuss?

7                MR. SOBELMAN:   Mr. Hamilton, can you please display           7    A.   It just discussed the Adidas case and how the jury had

8    what's in evidence as Government Exhibit 106.                              8    found them guilty and they were sentenced to the prison time.

9    Q.   Mr. Auerbach, do you recognize this?                                  9    Q.   At the time you first saw this post, what did you

10   A.   Yes.                                                                  10   understand it to mean?

11   Q.   What is it?                                                           11   A.   Again, shocked and horror.     I thought it was Avenatti

12   A.   This is a post by Mr. Avenatti on his Twitter page on                 12   sending a shot across the bow to warn Nike, don't mess with me.

13   March 21, 2019 at 3:52 p.m.                                                13   And I just couldn't understand why if everything was great.

14   Q.   Approximately when did you first see this post?                       14   Q.   Did the defendant consult with you before posting this

15   A.   I saw it that day, shortly thereafter, Pacific Coast Time.            15   message?

16   Q.   Was that before or after your call with Mr. Avenatti and              16   A.   No.

17   Mr. Franklin that day?                                                     17   Q.   Was this post consistent with what you had communicated to

18   A.   That was after the call with Mr. Avenatti and Gary.                   18   the defendant up to that point?

19   Q.   Can you please read the message on this post?                         19   A.   Absolutely not.

20   A.   It says, "Something tells me that we have not reached the             20   Q.   Why not?

21   end of this scandal.       It is likely far, far broader than              21   A.   It's just, again, it's negative, disrespectful and

22   imagined..."                                                               22   threatening and counterintuitive to everything that we were

23   Q.   What is beneath the message?                                          23   trying to do and accomplish with Nike.

24   A.   There's a link that says:      "College basketball corruption         24   Q.   At that time how did you think this was inconsistent with

25   trial:     Ex Adidas exec sentenced to nine months in prison, two          25   what you were trying to accomplish for Mr. Franklin?


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1    A.   You just don't threaten people you're trying to forge and              1    if the Monday meeting was successful?

2    reestablish a relationship who have said nothing to give you                2                MR. QUINON:    Objection, your Honor.

3    any concern at that point.                                                  3                THE COURT:    Overruled.

4    Q.   After you saw this post did you reach out to the defendant?            4                THE WITNESS:    My understanding was that his objectives

5    A.   No.                                                                    5    that we would have achieved is that Gary was going to receive

6    Q.   Why not?                                                               6    some financial damages or settlement for what he had been

7    A.   Because he had said everything is great.        I wasn't happy         7    through and his brand was harmed.       First and foremost, Nike

8    with it.     I was concerned.    But we were so close to that Monday        8    would commit to getting rid of the bad operators in Carlton

9    meeting I decided not to get into it and let Monday play out.               9    DeBose and Jamal James and that Nike would agree to report with

10   I figured this was his methodology.        I didn't agree with it.          10   Gary some of the activities to the authorities because it was

11   And -- but that's what he's doing.                                          11   very important to Gary.       And Gary and Cal Supreme would be

12   Q.   At that time did you trust the defendant to act in                     12   reinstated at Nike EYBL going forward.

13   Mr. Franklin's best interests?                                              13   Q.   Were you in touch with Mr. Franklin on March 25?

14   A.   I did but I was starting to have concerns building up and I            14   A.   Yes.

15   was hoping I was wrong and we were going to get to the Monday               15   Q.   How were you in touch with Mr. Franklin?

16   finish line in a positive way.                                              16   A.   By phone.

17   Q.   I'm now going to ask you some questions about that Monday,             17   Q.   In substance, what was the first thing that Mr. Franklin

18   March 25, 2019.    What is your understanding of what was                   18   told you that day?

19   supposed to happen that day?                                                19   A.   Mr. Franklin called me in the morning of the 25th to tell

20   A.   My understanding is after two great meetings, the third                20   me that the FBI was on his front lawn and knocking at the door.

21   meeting was going to be the closer and we were going to be                  21   Q.   Who, if anyone, did Mr. Franklin say that he had contacted

22   closer to reaching Gary's objectives.                                       22   about the FBI showing up at his house?

23   Q.   And based on your conversations with the defendant at the              23   A.   I asked him if he had called Mr. Avenatti and he said yes,

24   meetings and calls that we have talked about, what was your                 24   I did.

25   expectation of what was going to be achieved for Mr. Franklin               25               MR. SOBELMAN:    Mr. Hamilton, could you please show the


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1    witness what's marked for identification as Government Exhibit              1    Q.   Pacific Time?

2    107.                                                                        2    A.   Pacific Time.   I'm sorry.

3    Q.   Mr. Auerbach, do you recognize this?                                   3    Q.   On March 25?

4    A.   Yes.                                                                   4    A.   Yes.

5    Q.   What is it?                                                            5    Q.   And Mr. Auerbach just so we're all on the same page what's

6    A.   This is a post on Twitter that Mr. Avenatti posted on                  6    the time difference between Pacific Time in California and

7    March 25, 2019 at 12:16 p.m. Eastern Time.                                  7    Eastern Time here in New York?

8                MR. SOBELMAN:   The government offers Government                8    A.   Three hours later in New York.

9    Exhibit 107.                                                                9    Q.   So if it was 12:16 p.m. in New York it would be 9:16 a.m.

10               THE COURT:    Any objection?                                    10   in California?

11               MR. QUINON:   No objection.                                     11   A.   Yes.

12               THE COURT:    107 is received.                                  12   Q.   And that's where you were?

13               (Government's Exhibit 107 received in evidence)                 13   A.   Yes.

14               MR. SOBELMAN:   May we publish?                                 14   Q.   At any point did you tell the defendant that there was

15               THE COURT:    Yes.                                              15   criminal conduct that reached the highest levels of Nike?

16   Q.   Mr. Auerbach, could you please read the message that the               16   A.   No.

17   defendant posted?                                                           17   Q.   Was this post consistent with what you had communicated to

18   A.   Sure.                                                                  18   the defendant up to that point?

19               "Tomorrow at 11 a.m. Eastern Time we will be holding a          19   A.   No.

20   press conference to disclose a major high school-college                    20   Q.   Why not?

21   basketball scandal perpetrated by Nike that we have uncovered.              21   A.   It's -- we discussed the highest levels of Nike EYB and it

22   This criminal conduct reaches the highest levels of Nike and                22   was just utter shock and horror seeing this.         I just didn't

23   involves some of the biggest names in college basketball."                  23   understand -- if everything is great this seemed like something

24   Q.   Approximately when did you first see this Twitter post?                24   really bad had happened.

25   A.   It was somewhere between 9 -- I would say 9:20 and 9:30.               25   Q.   Was this post consistent with the goals that you and


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1    Mr. Franklin had described to the defendant?                                   1    don't know the basis of his knowledge, Judge.

2    A.   No.    Completely opposite.                                               2              THE COURT:    I'll overrule the objection.

3    Q.   Why?                                                                      3              THE WITNESS:    I was on the phone with Gary and we were

4    A.   Again, it's -- you don't threaten, you don't hold press                   4    talking and he -- this was when he was telling me that the FBI

5    conferences with people you're trying to forge a positive                      5    had been on his lawn and that he reached out to Mr. Avenatti

6    relationship with.                                                             6    and while we were on the phone he -- I guess he had CNN on and

7    Q.   Without telling us the substance of any communication,                    7    he told me turn on the TV quick, look at CNN, you're not going

8    what, if anything, did you do after reading this post on                       8    to believe this, Avenatti's been arrested.

9    March 25?                                                                      9    Q.   What was your reaction to learning that the defendant had

10   A.   I immediately -- this was prior to me talking to Gary and I               10   been arrested?

11   immediately texted Avenatti.                                                   11             MR. QUINON:    Objection.

12   Q.   As far as you know what happened next with respect to the                 12             THE COURT:    Sustained.

13   defendant?                                                                     13   Q.   Without telling us the substance of any communication,

14               MR. QUINON:    I'm sorry.      I didn't hear that.                 14   what, if anything, did you do after learning that the defendant

15   Q.   As far as you know what happened next with respect to the                 15   was arrested?

16   defendant?                                                                     16             MR. QUINON:    Objection.

17   A.   He got arrested.                                                          17             THE COURT:    Overruled.

18   Q.   And what was your reaction -- sorry.          How did you learn           18             THE WITNESS:    I ended up texting Avenatti right away.

19   that he was arrested?                                                          19   Q.   After sending that message did the defendant make any

20               MR. QUINON:    Objection, your Honor.                              20   attempts to contact you?

21               THE COURT:    No.    The question was how did you learn he         21   A.   He did.

22   was arrested.     Are you objecting to that?                                   22   Q.   How did the defendant try to contact you?

23               MR. QUINON:    How did you learn?                                  23   A.   Call and text after he was let go that day later.

24               THE COURT:    Yes.    No objection?                                24             MR. QUINON:    Objection, your Honor, unless he has a

25               MR. QUINON:    Well I don't know the basis for it.       I         25   basis for the -- unless he has personal knowledge.


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1                THE COURT:    Well the question was how did the                    1    provided to him would that have mattered to you?

2    defendant try to contact you.         Is that the question you're              2    A.   Absolutely.

3    objecting to?                                                                  3              MR. QUINON:    Objection, your Honor.

4                MR. QUINON:    No.    I was objecting to the answer.               4              THE COURT:    Sustained.

5                THE COURT:    All right.    So the answer after "call and          5              MR. QUINON:    Move to strike the answer.

6    text," the rest of the answer will be struck.                                  6              MR. SOBELMAN:    Your Honor can we have a brief sidebar.

7    Q.   Did you return the defendant's call?                                      7              THE COURT:    Yes.

8    A.   No, I did not.                                                            8              (Continued on next page)

9    Q.   Why not?                                                                  9

10   A.   At that point I figured --                                                10

11               THE COURT:    Wait.    Wait.                                       11

12               MR. QUINON:    Objection, your Honor.                              12

13               THE COURT:    Grounds.                                             13

14               MR. QUINON:    Relevance.                                          14

15               THE COURT:    Overruled.                                           15

16               THE WITNESS:    At that point I figured, after what he             16

17   was being accused of and what was being said on the TV that                    17

18   there was another attorney involved that we had never heard of                 18

19   and that he was arrested for allegedly extorting Nike for $25                  19

20   million, I just figured there was no way he could walk back                    20

21   what he --                                                                     21

22               THE COURT:    Sustained at this point.                             22

23               THE WITNESS:    OK.                                                23

24   Q.   Mr. Auerbach, if you learned that Mr. Avenatti had                        24

25   threatened Nike with a press conference using information you                  25


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     K239AVE5                   Auerbach - Direct                                         K239AVE5                   Auerbach - Direct

1                (At sidebar)                                                        1                (In open court)

2                THE COURT:    He's not the client so you really don't               2                THE COURT:   We're going to take a break very shortly,

3    care whether it would have mattered to him or not.         I've                 3    ladies and gentlemen.       So you won't have to wait much longer.

4    allowed you to ask the questions about was it consistent with                   4                MR. SOBELMAN:   Just a couple more questions,

5    the instructions because he was essentially a mouthpiece for                    5    Mr. Auerbach.

6    Franklin but now you're getting into would you have wanted to                   6                Mr. Hamilton, could you please put back up Government

7    know this.     He's not the client.     Franklin is the client.      So         7    Exhibit 107.

8    that's why I'm sustaining the objection.                                        8    Q.   Mr. Auerbach, before you saw this post did the defendant

9                MR. SOBELMAN:    Your Honor, would it be permissible in             9    ever consult with you about whether he should hold a press

10   the Court's view for us to ask Mr. Auerbach based on his                        10   conference?

11   conversations with Mr. Franklin whether these are things that                   11   A.   Never.

12   would have mattered to Mr. Franklin as Mr. Auerbach's --                        12   Q.   Did he ask your permission before posting this?

13               THE COURT:    No.   Absolutely not because Franklin has             13   A.   Never.

14   testified already.       So he can -- he's an adult.    He can answer           14   Q.   Was that ever the subject of discussion in any of the

15   that question himself.                                                          15   calls, e-mail, or meetings that you had with him?

16               MR. SOBELMAN:    I understand.                                      16   A.   Never.

17               THE COURT:    So, I'm not going to let you ask.                     17               MR. SOBELMAN:   No further questions, your Honor.

18               MR. SOBELMAN:    Thank you, your Honor.                             18               THE COURT:   All right.   So, ladies and gentlemen,

19               THE COURT:    Do you have much more?                                19   we'll take our midafternoon recess.       Don't discuss the case.

20               MR. SOBELMAN:    We're virtually done.                              20   Keep an open mind because there's more evidence and when you

21               THE COURT:    We'll take a break after that.                        21   return we'll hear the cross-examination of Mr. Auerbach.             Thank

22               MR. SOBELMAN:    Could I speak with them for one moment?            22   you all very much.

23               THE COURT:    Of course.                                            23               You can step down, Mr. Auerbach.

24               (Continued on next page)                                            24               So we'll resume in about ten minutes.

25                                                                                   25               (Recess)


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     K23dave6                   Auerbach - cross                                          K23dave6                   Auerbach - cross

1                (Jury not present)                                                  1    Q.   And that would have been May 16th of 2019?

2                THE COURT:    Are we prepared to proceed?                           2    A.   I'm not sure of the date.

3                MR. QUINON:    Yes, your Honor.                                     3    Q.   Do you recall if it was around the month of May the first

4                THE COURT:    All right.   Mr. Auerbach should retake the           4    time?

5    stand.                                                                          5    A.   It could have been.

6                (Pause)                                                             6    Q.   All right.   And at that time, do you recall where you met

7                THE CLERK:    All rise.                                             7    with them and who was present?

8                (Jury present)                                                      8    A.   Yes.    We met at my attorney's office in downtown Los

9                THE COURT:    Please be seated.                                     9    Angeles, and -- let's see here, I'm trying to think --

10               Ladies and gentlemen, now you will hear the                         10   Mr. Sobelman was there, Mr. Podolsky was there.         Let's see

11   cross-examination of Mr. Auerbach.                                              11   here.   Ms. Penland was there -- oh, and I think that's it,

12               Please proceed.                                                     12   actually.

13   CROSS-EXAMINATION                                                               13   Q.   OK.

14   BY MR. QUINON:                                                                  14   A.   And myself and my attorney, Mark Harrison.

15   Q.   Good afternoon.      Good afternoon, sir.                                  15   Q.   Your attorney was Mark Harris?

16   A.   Good afternoon.                                                            16   A.   Yes.

17   Q.   You and I have never met before, have we?                                  17   Q.   Who you retained for purposes of this matter?

18   A.   No.                                                                        18   A.   Yes.    Initially, yes.

19   Q.   All right.   And in preparation for your testimony here,                   19   Q.   All right.   And how long was that meeting?

20   have you met with the prosecutors and the agents in the case?                   20   A.   Several hours.

21   A.   Yes.                                                                       21   Q.   And when you say "several hours," was the -- roughly, what

22   Q.   OK.    How many times have you met with them?                              22   would it be?

23   A.   I'm not really sure.                                                       23   A.   I can't recall.     Several hours.

24   Q.   All right.   The first time was in Los Angeles?                            24   Q.   Three/four hours?

25   A.   Yes.                                                                       25   A.   It could have been but --


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     K23dave6                   Auerbach - cross                                     K23dave6                   Auerbach - cross

1    Q.   It could have been more?                                              1    Q.   OK.    Roughly, when was that?

2    A.   No, I don't think it was more.                                        2    A.   It was a couple of hours, just with Mr. Sobelman in Los

3    Q.   All right.    And that was not the only meeting that you had          3    Angeles.

4    with them in Los Angeles, correct?                                         4    Q.   All right.   So right here, based on those three meetings

5    A.   No.                                                                   5    alone, we have approximately eight hours a meeting?

6    Q.   All right.    So there was another meeting in Los Angeles?            6    A.   Six to eight hours, yes.

7    A.   Yes.                                                                  7    Q.   All right.   And aside from those meetings, there were

8    Q.   And the first meeting took place where?       Where did you           8    additional meetings that you have had with the agents and the

9    meet?   At the attorney's office, you said?                                9    prosecutors in preparation for your testimony, correct?

10   A.   Yes, in downtown LA.                                                  10   A.   Yes.

11   Q.   All right.    And the second meeting would have been when?            11   Q.   What were the other meetings?

12   November?                                                                  12   A.   I came into New York and met with them here.

13   A.   You know, I'm sorry, I can't remember.                                13   Q.   OK.    And when was that?

14   Q.   All right.    Where was this second meeting when you met with         14   A.   Again, the dates, I can't tell you the dates, but it was

15   the prosecutors and the agents?                                            15   obviously before this trip.

16   A.   I think it was at the same -- the same office.                        16   Q.   Were you here in December of 2019?

17   Q.   At your lawyer's office, Mark Harris?                                 17   A.   I don't -- I really don't recall.

18   A.   Yes.                                                                  18   Q.   Right around Christmastime, December 20?

19   Q.   OK.    How many hours was that meeting?                               19   A.   I don't recall.      I'm sorry.

20   A.   I think it was a couple of hours.                                     20   Q.   Do you recall being here in New York back in January again,

21   Q.   A couple of hours?                                                    21   January 4th, 2020?

22   A.   Yes.                                                                  22   A.   Yes.

23   Q.   All right.    And aside -- any other meetings in Los Angeles          23   Q.   OK.    And who did you meet on that occasion?

24   that I have missed?                                                        24   A.   I met with Mr. Sobelman and Mr. Podolsky.

25   A.   Yes, one other meeting.                                               25   Q.   And where did that meeting take place?


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     K23dave6                   Auerbach - cross                                     K23dave6                   Auerbach - cross

1    A.   The meeting, it took place here at the Department of                  1    A.   Yes.

2    Justice.                                                                   2    Q.   And to be fair to you, you don't recall the number of times

3    Q.   In your office?                                                       3    that you met with them, correct?

4    A.   No.    No.   Here in New York.                                        4    A.   I don't.

5    Q.   New York?                                                             5    Q.   But what we do know, based upon just what you have told us,

6    A.   Yes.                                                                  6    that it had been a number of hours?

7    Q.   But not in their office?                                              7    A.   Yes.

8    A.   At their office.                                                      8    Q.   All right.   And, again, never met with me, never talked to

9    Q.   At their office?                                                      9    me about this matter, correct?

10   A.   Yes.                                                                  10   A.   Never.

11   Q.   And how long was that meeting?                                        11   Q.   All right.   Now, let me bring your attention to Government

12   A.   It was probably a couple of hours.                                    12   Exhibit 310R.

13   Q.   OK.    And after that same month, January, do you recall              13               MR. QUINON:   You can publish that, please, Mr. Lyon.

14   meeting with them on the 26th of January?                                  14   Q.   Do you remember, the prosecutor showed you this particular

15   A.   No.    I said I met with them in January here.                        15   exhibit?

16   Q.   How many times?                                                       16   A.   Yes.

17   A.   I'm not sure.                                                         17   Q.   And this was in relation to the meeting of March 18th of

18   Q.   How about in February?                                                18   2019, correct?

19   A.   I can't recall.                                                       19   A.   Yes.

20   Q.   As far as even yesterday, did you meet with them to discuss           20   Q.   All right.   And this is after the meeting.       This text here

21   matters about your testimony yesterday?                                    21   appears to say, 7:21 p.m.

22   A.   Yes.                                                                  22               MR. QUINON:   Can you enlarge that part?     Thank you.

23   Q.   And how long was that meeting?                                        23   Q.   Do you see that, where it says 7:21 p.m.?

24   A.   Yesterday was about 90 minutes.                                       24   A.   Yes.

25   Q.   90 minutes?                                                           25   Q.   This is you saying thank you to Mr. Avenatti.        You're the


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     K23dave6                   Auerbach - cross                                      K23dave6                   Auerbach - cross

1    best.    Let me know if there's anything I can do.       Go get-em.         1    A.   Yes.

2    Travel safe.                                                                2    Q.   All right.   And you took your obligation to provide

3                Do you see that?                                                3    documents pursuant to a subpoena seriously, did you not?

4    A.   Yes.                                                                   4    A.   Yes.

5    Q.   All right.   That was the only text that you exchanged with            5    Q.   OK.    And this particular text -- you can bring it down.

6    Mr. Avenatti on that particular day, March 18th of 2019?                    6                This particular text, did you in any way, shape or

7    A.   No.    I had -- I believe that was the date I exchanged texts          7    form change it or do anything to it before you produced it to

8    confirming the meeting that we were having.                                 8    the government?

9    Q.   OK.    And insofar as this subject matter of saying goodbye            9    A.   No.

10   to him and good luck and all that, that's the only text that                10   Q.   You didn't touch it?

11   you exchanged with him, correct?                                            11   A.   Nope.

12   A.   After the meeting.                                                     12   Q.   OK.    And this is a text exchange between you and Gary

13   Q.   That's the only one, OK.                                               13   Franklin, is that correct?

14               And you're sure about that?                                     14   A.   Yes.

15   A.   To the best of my knowledge.                                           15   Q.   And to the best of your knowledge, Mr. Franklin also

16   Q.   All right.   Now, did you -- now, this text didn't come here           16   received a subpoena to produce the texts, correct?

17   by accident; this is something you produced as a result of a                17   A.   Yes.

18   subpoena that was served upon you to produce documents, is that             18               (Pause)

19   right?                                                                      19   Q.   I'm sorry.   And so let me show you next -- I apologize.          I

20   A.   Yes.                                                                   20   made a mistake.       I said Franklin.   Let me just go back.

21   Q.   And when was that subpoena served upon you?                            21               This was a text between you and Mr. Avenatti, correct?

22   A.   I can't remember.                                                      22   A.   Yes.

23   Q.   And I take it that you provided -- among the texts that you            23   Q.   OK.    And this is the only text that you exchanged with

24   provided, this was one of them in compliance with that                      24   Mr. Avenatti concerning this subject matter on the 18th of

25   subpoena, is that correct?                                                  25   March, correct?


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     K23dave6                   Auerbach - cross                                      K23dave6                   Auerbach - cross

1    A.   Which subject matter?                                                  1                THE COURT:    Grounds?

2    Q.   In other words, this part says:      "Michael, thank you.              2                MR. SOBELMAN:   Authentication, your Honor.      I don't

3    You're the best.    Let me know if there's anything I can do.         Go    3    believe we have been provided this, and I'm not sure the

4    get-em.     Travel safe."                                                   4    witness just authenticated it.

5                That's the only text that you sent to that address to           5                May we have a moment, your Honor?

6    Mr. Avenatti on that day, correct?                                          6                THE COURT:    Do you want to approach?

7    A.   Yes, the sendoff, yes.                                                 7                MR. SOBELMAN:   May I speak with counsel?

8    Q.   OK.    The sendoff text.                                               8                THE COURT:    Yes, you can have a moment.

9                Now, prior to producing it, again, you didn't change            9                MR. QUINON:   OK.    This is MM.

10   it, you didn't do anything to it, you didn't alter it in any                10               MR. SOBELMAN:   May we approach briefly?

11   way, correct?                                                               11               THE COURT:    Yes.   I'll see you at sidebar.

12   A.   No.                                                                    12               (Continued on next page)

13   Q.   All right.                                                             13

14               MR. QUINON:   Would you show the witness, just the              14

15   witness, not the jury at this point, Defense Exhibit XX.                    15

16   Q.   Now, do you recognize this text?      Does it refresh your             16

17   recollection?                                                               17

18   A.   Yes.                                                                   18

19   Q.   And this is different than the one that we just saw,                   19

20   correct, the Government's 310R?                                             20

21   A.   Yes.                                                                   21

22   Q.   All right.                                                             22

23               MR. QUINON:   Your Honor, I move into evidence Defense          23

24   Exhibit XX?                                                                 24

25               MR. SOBELMAN:   Objection.                                      25


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1              (At the sidebar)                                                    1    it would be something we might have produced to them, but

2              MR. SOBELMAN:    Your Honor --                                      2    seeing it for the first time, I don't know what the source is

3              THE COURT:    Just so the record is clear, defense                  3    or whether it matches up with what we actually did produce to

4    counsel's Defendant's Exhibit XX also reflects text messages                  4    them.

5    from, or between Mr. Avenatti and Mr. Auerbach.         And this              5               THE COURT:    Do you represent that this document was

6    version of the text messages appears to reflect a message back                6    produced to you in discovery?

7    from Mr. Avenatti to Mr. Auerbach, and it's something to the                  7               MR. S. SREBNICK:     Yes, it has a U.S.A.O. Bates number

8    effect of, Appreciate it, we need to take care of Gary.          I'm          8    that was produced to us by the government.        And we had an

9    paraphrasing but I think that's approximately what it says.                   9    understanding before that anything that was produced to us,

10             So, Mr. Sobelman, something you want to say?                        10   especially if it was produced by Mr. Auerbach, that there would

11             MR. SOBELMAN:    Yes, your Honor.     Just for the record,          11   be no authenticity objection to it.

12   we have not been produced a copy of this exhibit, so we are                   12              MR. SOBELMAN:    That's similar to our understanding but

13   looking at it now.     We haven't had a chance to go back and                 13   not exactly what our understanding was.

14   reference -- it has a Bates number -- and reference whether it                14              Our understanding included that you would provide us

15   is in fact something we produced to the defense or not.                       15   in advance with anything that we would stipulate to so we could

16             The witness was asked what it appears to be.         He has         16   confirm its authenticity.       We were not provided that

17   not said that he recalls that text or authenticated it in any                 17   opportunity.

18   way.    There is an authenticity objection.      I think we have a            18              In any event, if the witness can authenticate it, we

19   hearsay objection.     But if he doesn't, then we object on                   19   would not object to it.

20   authenticity grounds.                                                         20              THE COURT:    I think he has already indicated he

21             If the defense wants to enter into a stipulation as to              21   recognized it, because he was asked does that refresh your

22   authenticity, these are things we have to work out before the                 22   recollection and he said yes.

23   testimony.                                                                    23              MR. SOBELMAN:    That's not my reading from the

24             THE COURT:    You said that it has a Bates number?                  24   transcript.

25             MR. SOBELMAN:    It appears from the Bates number that              25              THE COURT:    Well, that's my recollection of what he


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1    said.    So, we'll find out.                                                  1               (In open court)

2              The question was, does that refresh your recollection?              2    BY MR. QUINON:

3    He said yes.                                                                  3    Q.   Mr. Auerbach, the document refreshes your recollection?

4              MR. SOBELMAN:    OK.                                                4    A.   I don't know.   I don't know that I've seen it this way.        I

5              THE COURT:    So we'll take it from there.                          5    only know of my document.

6              MR. SOBELMAN:    OK.   Thank you, your Honor.                       6    Q.   OK.

7              (Continued on next page)                                            7               MR. QUINON:    Excuse me.

8                                                                                  8               (Pause)

9                                                                                  9    Q.   Isn't it a fact that this is a document that Mr. Avenatti

10                                                                                 10   sent to you in response?

11                                                                                 11   A.   I haven't -- I don't know.      I really don't.

12                                                                                 12              MR. QUINON:    Your Honor, I would move this document

13                                                                                 13   into evidence at this point.

14                                                                                 14              MR. SOBELMAN:    Objection?

15                                                                                 15              MR. QUINON:    I request a sidebar.

16                                                                                 16              THE COURT:    OK.   I'll need to see a copy of the

17                                                                                 17   document in hardcopy form.

18                                                                                 18              (Continued on next page)

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     K23dave6                   Auerbach - cross                                          K23dave6                   Auerbach - cross

1              (At the sidebar)                                                      1              MR. SOBELMAN:    Your Honor, we looked at it.       We are

2              MR. QUINON:    I meant to say the texts, Judge.       Instead         2    trying to find the original in our productions to make sure it

3    of documents, I meant texts.                                                    3    matches up before we stipulate to the authenticity of anything.

4              THE COURT:    Do we not have a hardcopy of this?                      4    We are not trying to be difficult.       The witness could not

5              MR. SOBELMAN:    The government didn't because he didn't              5    authenticate it.    We don't know the source.      And, again, I

6    mark it as an exhibit and neither had they.                                     6    doubt the cross-examination will conclude today.         Immediately

7              Your Honor, we can come back to this.        We are not               7    after court, we will take a look and reach a stipulation of

8    trying to be difficult.     If we can trace it back and figure out              8    authenticity with the defense and we can go from there.

9    where it came from and that it is authentic, we can stipulate                   9              THE COURT:    OK.   Just going on a going-forward basis,

10   to that later.                                                                  10   I am going to need to understand why there is a document that

11             THE COURT:    I was just hoping that somebody can show                11   has a U.S. Attorney's Office Bates stamp and there is an issue

12   me the documents with the Bates number on it.         Can no one do             12   about authenticity.

13   that?                                                                           13             MR. SOBELMAN:    Your Honor, a couple of reasons.          One

14             MR. PODOLSKY:    We're trying to find it, your Honor.                 14   is we produced all kinds of things, some of them from some

15             (Pause)                                                               15   sources and not others.       I don't know what source this is from.

16             MR. RICHENTHAL:      Just to be clear, the version on our             16   I assume we got it from Mr. Auerbach.       But obviously the

17   screen appears to have a Bates number.        We are just having                17   version we put in at least we had thought was the full version

18   trouble figuring out what it is from because we weren't told                    18   of their text messages.       Had we been aware of this or it come

19   about it.    We are trying to trace it back.      Our paralegal is              19   to our attention, we would have just put it in ourselves.            So

20   working as hard as he can.       We are going to work as fast as we             20   now it just raises a little bit of an uncomfortable issue just

21   can using as very little time in front of the jury.                             21   to make sure we know what it is and where it is from before we

22             MR. QUINON:    The Bates number is right on the screen.               22   stipulate to its authenticity, which, like I said, we almost

23             THE COURT:    Can you show me the document?                           23   certainly will do.     It is difficult for us to do this on the

24             (Indicating)                                                          24   fly for things that we are not aware of.

25             THE COURT:    Do you want to take a look at this?                     25             MR. S. SREBNICK:     I'm happy to identify it.


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1              First, the government production was on June 4, 2019.                 1    at the end of the day --

2    There was a folder in that production that said documents and                   2              THE COURT:    No.

3    mail, something to that effect.       When you click on that folder,            3              MR. QUINON:    No, OK.

4    it has a Franklin subfolder.       And then underneath the Franklin             4              (Continued on next page)

5    subfolder, it has a whole bunch of pdfs.        Within that pdf is              5

6    this Bates range that has whatever that Bates number is.             We         6

7    got this from the government.       We haven't made this up                     7

8    ourselves.                                                                      8

9              MR. SOBELMAN:    I'm not accusing anyone of anything.                 9

10   What I'm saying is we have an agreement that we are going to                    10

11   stipulate to authenticity.       We can't do that without seeing                11

12   something.      The witness wasn't able to -- we will, but I think              12

13   we should just come back to this.       We are almost done for the              13

14   day, in any event.                                                              14

15             THE COURT:    All right.    This is not going to happen               15

16   again.    OK?    This is a one-time event.                                      16

17             From now on, there is going to be agreement about                     17

18   whether something that has a U.S. Attorney's office Bates                       18

19   number, whether there is a authenticity issue or not.          All              19

20   right?                                                                          20

21             MR. SOBELMAN:    Thank you, your Honor.                               21

22             MR. QUINON:    Judge, this is an important point for us.              22

23             THE COURT:    Well, I'm sorry, sir, but we can't resolve              23

24   it now.                                                                         24

25             MR. QUINON:    No.    I was going to suggest we are almost            25


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     K23dave6                   Auerbach - cross                                     K23dave6                   Auerbach - cross

1                (In open court)                                                1    Q.    OK.    And so I believe, if my memory serves me correctly, he

2    BY MR. QUINON:                                                             2    may have come to your office March 12 of 2019, and that's when

3    Q.   Mr. Auerbach, we are going to leave this subject matter               3    he first gave you a more expansive view of what his problems

4    now.    I'll circle back to it.      I am going to go to something         4    were with Nike?

5    else at this point to make use of our time.                                5    A.    Yes.

6                So you got involved in this matter sometime around             6    Q.    All right.   And he so you learned then in -- sometime in

7    February 2019, correct?                                                    7    March in more detail that not only is he being bullied by

8    A.   Which matter?                                                         8    executives from Nike, in particular or specifically, shall we

9    Q.   The matter that you are testifying about, helping Gary                9    say, Mr. DeBose, Carlton DeBose, as well as this other

10   Franklin.                                                                  10   individual, Jamal James, correct?

11   A.   No.    It was 2018.                                                   11   A.    Yes.

12   Q.   2018.    I'm sorry.                                                   12   Q.    All right.   And you talked to him at that time, but somehow

13   A.   February.                                                             13   after that, for a period of months Mr. Franklin kind of didn't

14   Q.   Yes, you're right, 2018.        OK.                                   14   come back and follow the conversations, he went on with his

15               And so you learned that Mr. Franklin, he tells you he          15   life, and you suspected maybe he had some type of family

16   was having some problems with the executives at Nike, correct?             16   problem or issue, shall we say?

17   A.   Yes.                                                                  17   A.    No.

18   Q.   And he felt that he was being bullied and that they were              18   Q.    No?

19   abusive with him, correct?                                                 19   A.    No.

20   A.   Yes.                                                                  20   Q.    When did he come back and talk to you about the problems

21   Q.   And even though he told you that sometime in March of                 21   with Nike then?

22   2019 -- that's when those conversations took place, correct?               22   A.    We continually talked about it.

23   A.   It was February, and I had heard through the source that              23   Q.    OK.    And the problems got heated up a little bit in the

24   somebody was trying to take away his 2017 -- his '17 team in               24   fall of 2018, did they not?

25   2018.                                                                      25   A.    I can't recall.   I remember continually talking to him


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1    about it.                                                                  1    Q.    Gary Franklin confides in you that he's concerned about his

2    Q.   OK.    Now, you recall that when the Adidas verdict came              2    own criminal exposure, correct?

3    out -- and by that I'm referring to the fact that there had                3    A.    No.

4    been a criminal prosecution of an Adidas' executive who had                4    Q.    Well, you came to that conclusion yourself?

5    been involved in the payment of money to players, correct, you             5    A.    I was concerned -- it didn't even dawn on him at first, and

6    knew that?                                                                 6    I was concerned, and then we went to see somebody to confirm

7    A.   Yes.                                                                  7    it.

8    Q.   And that had been all over the press, correct?                        8    Q.    OK.    And why were you concerned?   What did you see that you

9    A.   Yes.                                                                  9    felt, or you came to the conclusion that maybe Gary Franklin

10   Q.   That not only Adidas' executives but coaches and handlers             10   would have some criminal exposure?

11   had been involved, correct?                                                11   A.    Some of the -- some of the actions taken in the Adidas case

12   A.   Yes.                                                                  12   were similar actions.     Although it was very different, the

13   Q.   And the subject matter of that investigation and that                 13   overall picture, some of these specific actions were similar.

14   prosecution was payments under the table, shall we say, right?             14   Q.    So you saw some similarity between what Mr. Franklin had

15   A.   Yes.                                                                  15   done and what some of the people who got convicted had done; is

16   Q.   And so when that happened in the fall of 2018, Gary                   16   that what you are saying?      There were some similarities?

17   Franklin is concerned that he may have some criminal exposure,             17   A.    There were similarities, but until that time nobody, to our

18   correct?                                                                   18   knowledge, had ever been prosecuted and convicted for those

19               MR. SOBELMAN:    Objection.                                    19   similar actions so we were totally unsure.

20               THE COURT:    Grounds?                                         20   Q.    Right.    And so once the verdict came down, then it kind of

21               MR. SOBELMAN:    Personal knowledge.   This goes to            21   was a game changer, shall we say; now you realized that this

22   another person's state of mind.                                            22   could be more serious, correct?

23               THE COURT:    You need to rephrase the question.               23   A.    Not so much a game changer, but it really informed us on

24               MR. QUINON:    I will, your Honor.                             24   what to do next.

25   BY MR. QUINON:                                                             25   Q.    OK.    And that led to going to see a lawyer, correct?


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1    A.   Yes.                                                                     1    needed to compile.

2    Q.   And that is -- the lawyer's name is Trent Copeland?                      2    Q.   And I take it that in order to compile that document that

3    A.   Yes.                                                                     3    is 41 pages, you must have met with Mr. Franklin throughout

4    Q.   And you went to that meeting yourself?                                   4    this?

5    A.   With Gary.                                                               5    A.   Yes.

6    Q.   With Gary, OK.                                                           6    Q.   OK.    And it required the acquisition of bank records, for

7                And in addition to that that was going on and going to            7    example?

8    see Mr. Copeland about potential criminal liability, you                      8    A.   Yes.

9    decided, around that time, you needed to compile records and                  9    Q.   Texts that had been exchanged?

10   take a look for yourself as to what was happening?                            10   A.   Yes.

11   A.   No.    I already did it.   I brought the same 41-page document           11   Q.   What other type of communications did you look into?

12   with me to Mr. Copeland's meeting.                                            12   A.   Emails, invoices, and all his correspondence with these

13   Q.   OK.    Mr. Copeland's meeting was in January of 2019?                    13   Nike executives.

14   A.   I can't remember the date, I'm sorry.                                    14   Q.   OK.    And when did you get it done?     When did you finish

15   Q.   All right.   When did you start compiling records for your               15   that memorandum of action?

16   memorandum of actions?                                                        16   A.   I believe it was in either October -- it was

17   A.   It was not long after -- I would say March 2018.                         17   October/November/December.        I mean, there were different drafts

18   Q.   OK.                                                                      18   of it.     So I think I had a draft of it in October 2018, and

19   A.   But there were different stages.                                         19   then by mid-December 2018 it was finished.

20   Q.   How is that?   Explain that for us.                                      20   Q.   OK.    Let's take a look at that.     It is Government Exhibit

21   A.   There were discussions about it, and then there were actual              21   312 that has been admitted.

22   compiling.                                                                    22               So this is a memorandum of actions.      And this is a

23   Q.   OK.    And these were discussions that you had with                      23   document that you created, correct?

24   Mr. Franklin as to what you needed to compile?                                24   A.   Yes.

25   A.   As to all the actions and then -- then deciding what we                  25   Q.   All right.   And it starts with an introduction, so to


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1    speak, that tells you what is contained in the document, is                   1    certain payments and things of that nature.

2    that correct?                                                                 2    Q.   All right.   So I misspoke.      He felt pressured to do those

3    A.   Yes.                                                                     3    things, then?

4    Q.   And so as you go further into the document, you go more                  4    A.   Yes.

5    into the details, correct?                                                    5                MR. SOBELMAN:    Objection.

6    A.   Well, I go into, in a chronological way, the actions and                 6                THE COURT:    Grounds?

7    then the detail for the actions.                                              7                MR. SOBELMAN:    It calls for the state of mind of

8    Q.   All right.   And these were the type of actions that were                8    another.

9    kind of Mr. Franklin had been directed to do after he had been                9                THE COURT:    Well, could you frame the questions as

10   directed to do by the Nike executives, correct?                               10   what he said.

11   A.   Yes.                                                                     11               MR. QUINON:    Yes.

12   Q.   And Mr. Franklin, I believe you testified before, felt                   12   BY MR. QUINON:

13   that, you know, it was something that he was to do or otherwise               13   Q.   Did Mr. Franklin tell you that he felt pressure by his --

14   risk the sponsorship with Nike, correct?                                      14   by the executives at Nike to do these things?

15               MR. SOBELMAN:   Objection.                                        15   A.   Yes.

16   A.   I testified --                                                           16   Q.   All right.   Now, some of the things that he was asked to do

17               THE COURT:   Sustained.                                           17   was to take money that was in the bank accounts of the

18   Q.   Did Mr. Franklin tell you why he did what he did?                        18   California Supreme team and wire it to other people, is that

19   A.   Yes.                                                                     19   correct?

20   Q.   And what did he tell you?                                                20               MR. SOBELMAN:    Objection.   Lack of personal knowledge.

21   A.   Well, it depends which time we had the conversation.            There    21               THE COURT:    The same problem.

22   was a great deal of remorse and a great deal of frustration                   22               MR. QUINON:    All right.   Let me rephrase that.

23   because he was -- felt pressured, and his bosses were telling                 23   BY MR. QUINON:

24   him to produce invoices and take some wire transfers into Cal                 24   Q.   Did Mr. Franklin confide in you that he was asked to

25   Supreme and to pass along the money to the handlers and make                  25   transfer money from the bank account of the California Supreme?


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1    A.   Yes.                                                                  1    A.   Melvin McDonald was a handler for DeAndre Ayton and

2    Q.   And that he had done so under the direction of the Nike               2    eventually Bol Bol.

3    executives?                                                                3    Q.   When we say a handler, what exactly does that entail?           What

4    A.   Yes.                                                                  4    did Melvin McDonald do on behalf of those players?

5    Q.   And some of the individuals that -- well, first of all, you           5    A.   I don't know what he did on behalf of them.

6    then detailed -- the information here that appears in this                 6                MR. SOBELMAN:    Objection, your Honor.    Several of the

7    document you got from Mr. Franklin, correct?                               7    questions now have been hearsay.        We thought maybe counsel

8    A.   Yes.                                                                  8    would move on, but the government is going to object at this

9    Q.   Because you had no personal knowledge to be able to write             9    point.

10   it of your own knowledge, correct?                                         10               THE COURT:    Again, we've been over this a number of

11   A.   No.                                                                   11   times.   You are welcome to inquire of the witness what Franklin

12   Q.   All right.   So in here we see that there is a falsified              12   said to him.

13   invoice for $60,000.       Do you see that there?                          13               MR. QUINON:    I will, your Honor.

14   A.   Yes.                                                                  14               THE COURT:    But if you don't frame the question that

15   Q.   And this is something that you learned by talking to                  15   way, then I am going to have to sustain the objections.

16   Mr. Franklin, correct?                                                     16               MR. QUINON:    I will.   I apologize.

17   A.   Yes.                                                                  17               MR. SOBELMAN:    Your Honor, in addition, we do object

18   Q.   Now, that money was meant to be, according to what                    18   to what Mr. Franklin told him as hearsay.

19   Mr. Franklin told you, to make payments to -- $30,000 to Melvin            19               THE COURT:    You object to things that are in this

20   McDonald, do you see that?                                                 20   document that you introduced in evidence?

21   A.   Yes.                                                                  21               MR. SOBELMAN:    No, your Honor, of course not.

22   Q.   And did you learn from Mr. Franklin who Melvin McDonald               22               THE COURT:    All right.   Then I don't understand the

23   was?                                                                       23   basis for your objection.

24   A.   Yes.                                                                  24               MR. SOBELMAN:    Your Honor, may we have a brief

25   Q.   And who was Melvin McDonald?                                          25   sidebar?


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1                THE COURT:    You know, we're at almost 4:25.     Can we go    1    the handler for Brandon McCoy?

2    another five minutes, please, and then I can excuse the jury               2    A.   Yes.

3    and then I will hear as much as you want to say.                           3    Q.   Again, out of the 60,000, $10,000 then goes to Andre Ayton,

4                MR. SOBELMAN:    Of course, your Honor.                        4    who is the mother of DeAndre Ayton, according to what

5                THE COURT:    So ask questions consistent with what I've       5    Mr. Franklin told you, correct?

6    ruled.                                                                     6    A.   Yes.

7                MR. QUINON:    Yes, your Honor.                                7    Q.   And Mr. Franklin told you that he also gave $5,000 for --

8    BY MR. QUINON:                                                             8    that he had $5,000 for travel expenses related to DeAndre

9    Q.   So Mr. Franklin told you that he had made a payment of                9    Ayton's family; that's what Mr. Franklin told you as well,

10   $30,000 to Mr. Melvin McDonald, correct?                                   10   correct?

11   A.   Yes.                                                                  11   A.   Yes.

12   Q.   And Mr. Franklin, did he explain to you who Melvin McDonald           12   Q.   All right.   Now, that is in relation to a falsified

13   was in relation to DeAndre Ayton?                                          13   invoice, as it says there in paragraph 2, of $60,000, correct?

14   A.   Yes.                                                                  14   A.   Yes.

15   Q.   And what did he tell you?                                             15   Q.   All right.   Now, some of the payments, though, were made,

16   A.   He was DeAndre Ayton's handler.                                       16   according to what Mr. Franklin told you, in cash, that is, U.S.

17   Q.   OK.    And did you learn from Mr. Franklin that this                  17   currency, cash, correct?

18   individual, this handler, Melvin McDonald, also was the handler            18   A.   Yes.

19   for another basketball player?                                             19   Q.   So that the mother of DeAndre Ayton, according to what

20   A.   At that time he was not.                                              20   Mr. Franklin told you, received $10,000 in cash, correct?

21   Q.   OK.    Now, in addition to that, we have a $15,000 payment            21   A.   That's what I was told.

22   here to, according to what you wrote in this document, to an               22   Q.   And Mr. Franklin told you that he had given her the cash

23   AAU basketball coach, Shaun Manning.       Do you see that?                23   himself, is that correct?       Did he tell you that?

24   A.   Yes.                                                                  24   A.   At Carlton DeBose's direction, he went ahead and did that.

25   Q.   And the document says that this coach, Shaun Manning, was             25   Q.   Sure.    All of this was done by Coach Franklin at the


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1    direction of the executives of Nike, correct?                                 1              (Jury not present)

2    A.   Yes.                                                                     2              THE COURT:    You can step down.

3                MR. SOBELMAN:   Objection.                                        3              Please be seated.

4    Q.   According to what Mr. Franklin told you, correct?                        4              Are there issues that we need to take up?

5    A.   Yes.                                                                     5              MR. SOBELMAN:    Yes, your Honor.     I just wanted to

6                THE COURT:   All right.   We are at 4:30, ladies and              6    address that objection after the witness leaves the courtroom.

7    gentlemen, so we are going to break for the evening.          Don't           7              THE COURT:    All right.

8    discuss the case with anyone.        Don't research the case.    Don't        8              Mr. Auerbach, can I ask you to vacate the courtroom,

9    do any investigation on your own.                                             9    please

10               Keep an open mind because there is more evidence, and             10             THE WITNESS:    Sure.   I was just looking for my jacket.

11   we'll see you tomorrow morning at 9:30.                                       11             (Witness not present)

12               Thank you all very much.                                          12             MR. SOBELMAN:    Thank you, your Honor.

13               THE CLERK:   All rise.                                            13             Of course, it is more than permissible for defense

14               (Continued on next page)                                          14   counsel to ask questions about the document and why

15                                                                                 15   Mr. Auerbach might have written certain things in it.          However,

16                                                                                 16   the government's concern is that the defense is attempting to

17                                                                                 17   prove the truth of the underlying allegations as some type of

18                                                                                 18   defense and trying to do so through hearsay.

19                                                                                 19             THE COURT:    The document is in evidence.      You put it

20                                                                                 20   in evidence.    He has every right to read the document page

21                                                                                 21   after page after page to the witness, if that's what he wants

22                                                                                 22   to do.

23                                                                                 23             MR. SOBELMAN:    The government completely agrees with

24                                                                                 24   your Honor.    But the questions that were being asked were not

25                                                                                 25   do you see Mel McDonald listed here, do you see that, or just


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1    reading the document.       But asking about facts that were not in           1    objection to spending time on it or reading the document.

2    the document that Mr. Auerbach only learned through                           2              The questions, as the government understood them,

3    conversations with another person that were being offered for                 3    go -- almost all use a term or person or number in the document

4    their truth, none of those facts were shared with the                         4    and then ask Mr. Auerbach to relate information that was not

5    defendant.                                                                    5    contained in the document as related to him by another person

6                THE COURT:   Well, again, this document is in evidence,           6    for the truth of the matter asserted and no other purpose.

7    and most of his questions are focused on the document and are                 7    Those facts stated by Mr. Franklin to Mr. Auerbach, before they

8    based on the document that the government introduced into                     8    met with the defendant, were never relayed to the defendant.

9    evidence, and so I don't understand how you think I can                       9              Of course, if Mr. Quinon wants to elicit from

10   preclude him from asking questions that are premised on the                   10   Mr. Auerbach what he and Mr. Franklin told the defendant as

11   document.     At least 90 percent of the questions he's asked over            11   they went through this document with him, that would be

12   the last 15 minutes have been premised on this document.             They     12   perfectly permissible.     But we think your Honor has two grounds

13   haven't always been framed as "did Franklin tell you," and                    13   to keep out the type of questions to which we are objecting,

14   that's why I've sustained the objections you've made.          But to         14   and that is both hearsay and relevance.        This is, in our view,

15   the extent that defense counsel is asking Auerbach whether                    15   a Jackson issue, where the defense is yet again trying to prove

16   Franklin told him this, I don't see how you expect me to                      16   the truth of the underlying allegations as some type of

17   sustain the objection.       There is nothing that's improper about           17   defense, which it is not, and trying to do so through hearsay

18   that.                                                                         18   that is irrelevant to the defendant's state of mind.

19               MR. SOBELMAN:   Your Honor, we have two issues.      The          19             THE COURT:    We are starting to go around and around.

20   first is the relevance.       None of it was communicated --                  20   I told you that I cannot prevent him from asking questions that

21               THE COURT:   If the document is irrelevant, why did you           21   are premised on the document.      And, you know, if you -- I

22   put it in evidence?                                                           22   disagree with you, as I've already said.        Most of the questions

23               MR. SOBELMAN:   I'm sorry, your Honor.     I'm separating         23   have been premised on the document.       You keep on saying that

24   the content of the document, which of course Mr. Quinon can                   24   he's trying to elicit other information.        That's lost on me.

25   read in full or ask the witness to, if he wishes.         We have no          25             The questions -- he went through four separate


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1    subparagraphs of the document and asked him questions based on                  1    order to handle the matter at hand, and so it is totally

2    those payments.    I don't have the document on the screen                      2    relevant, totally proper.

3    anymore, but I know there was a reference to $5,000, $10,000,                   3               And I agree that on a couple of occasions I asked him

4    $15,000, $30,000.    That's all in the document.                                4    questions, sloppily, not asking whether the information that

5               MR. SOBELMAN:    Yes, your Honor.    But some of the                 5    went into the document had come from Mr. Franklin, but then I

6    questions -- at least some of the questions, and perhaps I'm                    6    did, obviously at the urging of the Court, rightly so, and I

7    off on the number, but at least some of the questions were, for                 7    toed the line.    But this document is in evidence, given to the

8    example:    Mr. Auerbach, do you see $30,000 to Melvin McDonald?                8    client.    I am entitled to cross-examine about it and to find

9    Tell me everything you told -- Mr. Franklin told you about                      9    out whether or not that in fact is the information that

10   Melvin McDonald.                                                                10   Mr. Franklin told him to put there.

11              That second part is hearsay.      It's not relevant to the           11              THE COURT:    Yeah.   The Assistant is saying that you're

12   defendant's state of mind, and it should not be admitted.            In         12   going beyond the information contained in the document.          That's

13   the government's view, it doesn't matter whether Mel McDonald                   13   what he's saying.

14   was mentioned in the document.        They can talk about what the              14              MR. QUINON:    Well, again, the state of mind of -- this

15   documents says and what Mr. Auerbach meant when he wrote it and                 15   is the reason why Mr. Auerbach put this document together.           He

16   what he communicated to the defendant about it.         But asking for          16   was acquiring information from Gary Franklin, and so I need to

17   other information that's irrelevant to the defendant's state of                 17   know what information was gathered from Gary Franklin in order

18   mind simply because there is a reference to the person or an                    18   to put this document together.

19   amount of money in the document that was shown to the defendant                 19              THE COURT:    Well, he's already said that all of the

20   in the government's view is not permissible.                                    20   information in the document came from Gary Franklin.          I think

21              THE COURT:    All right.   What you do say, Mr. Quinon?              21   you elicited that.      So we already know that everything in the

22              MR. QUINON:    Judge, this is a document that was given              22   document came from Mr. Franklin.       You elicited from the witness

23   to Mr. Avenatti.    It's a document that is in evidence, given to               23   that he doesn't have any personal knowledge about anything

24   the lawyers for Avenatti.      Obviously, I need to know how this               24   that's in the document, and he has answered your questions that

25   document got put together, because it's given to my client, in                  25   all the information came from Mr. Franklin.        So, I don't think


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1    the jury is under any confusion about where the information in                  1    depending on how the questioning goes.        I'm aware of what the

2    the document came from.                                                         2    Court is saying, I'm aware of what the prosecutor is saying,

3               MR. QUINON:    If I start asking questions about the                 3    and I'll try to kind of stay in my lane, so to speak.

4    document without framing it in the way that, you know, the                      4               THE COURT:    All right.

5    information comes from Franklin, I am getting an objection from                 5               All right.    I'm going to rule on an issue that's been

6    the government and then you are sustaining it.         So I just want           6    opinion raised about the proffer sessions that Mr. Geragos

7    to make sure, as I go through the document -- I intend to go                    7    gave.

8    through the document because it is in evidence -- that I can                    8               Mike, could you give that to the court reporter.

9    ask questions about it.      As long as I say did you get the                   9               The government has moved in limine to preclude

10   information from Franklin that appears here, then it should be                  10   Defendant Avenatti from introducing certain statements that

11   allowed because the document is in evidence.         I mean, your               11   Mark Geragos made in proffer sessions with the government,

12   Honor already said that.                                                        12   during which Geragos was attempting to persuade the government

13              THE COURT:    Well, the document is in evidence, and its             13   not to indict him.      (citing the government's motion in limine

14   relevance is that it was provided to Mr. Avenatti.         So                   14   brief, docket number 96, at pages 23 to 28.)

15   Mr. Avenatti had access to it, and, therefore, it theoretically                 15              In his proffer sessions, Geragos told the government,

16   could have had an effect on his state of mind.                                  16   among other things, that he had had no intent to threaten or

17              But what the assistant is saying is that to the extent               17   extort Nike.    Defendant argues that Geragos' statements are

18   you go beyond the document to elicit other material that                        18   admissible under Federal Rule of Evidence 807.

19   Mr. Auerbach got from Mr. Franklin, information that was never                  19              Rule 807, in pertinent part, provides as follows, and

20   disclosed to Mr. Avenatti, the Assistant says that's                            20   I quote:

21   irrelevant.                                                                     21              "Under the following conditions, a hearsay statement

22              MR. QUINON:    Well, should I do that, if I do that,                 22   is not excluded by the rule against hearsay even if the

23   then he can object and then we take it up at the time if in                     23   statement is not admissible under a hearsay exception in Rule

24   fact it was not relayed to Mr. Avenatti.        We don't know that              24   803 or 804:

25   yet.   So, I mean, we're just going to have to kind of go                       25              "(1) the statement is supported by sufficient


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1    guarantees of trustworthiness -- after considering the totality            1    after both the complaint and the original indictment were

2    of circumstances under which it was made and evidence, if any,             2    filed -- he would have understood that he faced an extremely

3    corroborating the statement; and                                           3    high risk of being charged.       Although the government had not

4              "(2) it is more probative on the point for which it is           4    identified him by name in the charging instruments, he is

5    offered than any other evidence that the proponent can obtain              5    clearly the "CC-1" referenced in the complaint and in the

6    through reasonable efforts."                                               6    original indictment, and CC-1 is described as a full, active,

7              (Citing Federal Rule of Evidence 807(a))                         7    and significant participant in the charged extortion

8              The Second Circuit has stated that the "'residual                8    conspiracies.    Indeed, Geragos is presented in the charging

9    hearsay exception [set forth in Rule 807] will be used very                9    instruments as Avenatti's partner in the charged extortion

10   rarely, and only in exceptional circumstances.'"         (citing           10   conspiracies.    Geragos made the first calls to Nike; he

11   United States v. Ulbricht, 858 F.3d 71, 123 (2d Cir. 2017)                 11   introduced Avenatti to Nike; and he participated in the

12   (quoting Parsons v. Honeywell, Inc., 929 F.2d 901, 907 (2d Cir.            12   meetings and telephones calls in which the alleged extortionate

13   1991), abrogated on other grounds by United States v. Chambers,            13   threats and demands were made.       As set forth in the criminal

14   751 F. App'x 44 (2d Cir. 2018)).                                           14   complaint and the original indictment, Geragos facilitated and

15             The circumstances of Geragos' proffer were as follows.           15   assisted Avenatti in presenting the latter's extortionate

16   Geragos had been referenced as an unindicted co-conspirator in             16   threats to Nike.

17   both the government's criminal complaint against Avenatti and              17             Given these circumstances, Geragos had an

18   in the original indictment.      As I have stated in the past (see         18   overwhelmingly strong motive to attempt to exculpate himself at

19   January 26, 2020 order, docket number 215, at pages 2-7), in               19   these proffer sessions, and to rebut any suggestion that he and

20   the complaint and original indictment, the government described            20   Avenatti were engaged in criminal conduct.        And given that the

21   Geragos as a full, active, and key participant in the charged              21   proffer agreements that Geragos signed provided that all of

22   extortion conspiracies, and as a potential beneficiary of the              22   Geragos' statements could be used against him, he had an

23   extortion.                                                                 23   overwhelmingly strong motive not to say anything that would

24             Accordingly, when Geragos appeared at the U.S.                   24   incriminate him, or that would tend to support the conspiracy

25   Attorney's Office for his proffers -- proffers that took place             25   charges in the complaint and in the original indictment.


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     K23dave6                                                                        K23dave6

1    Geragos' statements thus have none of the "circumstantial                  1              MR. SOBELMAN:    None from the government, your Honor.

2    guarantees of trustworthiness" which are the prerequisites for             2              (Pause)

3    application of Rule 807.     To the contrary, his statements reek          3              MR. H. SREBNICK:      Judge, may we understand your

4    of self-interest and an understandable desire to escape                    4    Honor's ruling that you just read is excluding then the

5    criminal liability.                                                        5    evidence in our defense case and that will be preserved and we

6              I would also note that Geragos' statements -- which              6    don't need to raise it again?

7    were designed to exculpate Geragos and to rebut the assertions             7              THE COURT:    Yes.    The government has moved to preclude

8    in the complaint and in the original indictment that Geragos               8    any attempt to introduce statements that Mr. Geragos made at

9    had an intent to extort or otherwise harm Nike -- are also not             9    his proffer sessions with the government.        I have granted that

10   relevant here.    Geragos' intent is largely irrelevant here,              10   motion, and I think you have preserved the issue for purposes

11   given that no conspiracy is charged, and that the government is            11   of appeal.

12   not proceeding on an aiding and abetting theory, and given that            12             I received a letter sometime yesterday from the

13   the defendant has not proffered an advice of counsel defense.              13   defense moving to exclude certain evidence about the

14             Finally, as I have stated previously, while Geragos'             14   responsibilities of lawyers in California with respect to

15   statements are exculpatory of Geragos, certain of his                      15   continuing legal education, the Multi-State Professional

16   statements are inculpatory of Avenatti.        (See January 26, 2020       16   Responsibility Exam and so forth.

17   order, docket number 215, at pages 23-24).                                 17             I'm sorry, but did the government respond to that, or

18             In sum, the statements Geragos made at his proffer               18   not?

19   sessions are not admissible under Federal Rule of Evidence 807.            19             MR. RICHENTHAL:      It was filed a little after midnight,

20   To the extent that Avenatti contends that the statements of                20   your Honor.   I actually haven't read it yet, although I think I

21   Geragos' counsel are admissible under Rule 807, the ruling is              21   understand its contours based upon prior conversations between

22   the same.                                                                  22   the parties, and I'm happy to talk about it orally or respond

23             The government's motion in limine is granted.                    23   in writing, whatever would be of greater assistance to the

24             All right.    Are there other issues we should talk              24   Court.

25   about now?                                                                 25             THE COURT:    Could you get me something tomorrow


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     K23dave6

1    morning?                                                                   1                            INDEX OF EXAMINATION

2               MR. RICHENTHAL:    Yes, sir.                                    2    Examination of:                                     Page

3               THE COURT:   OK.   Anything else anyone wants to raise          3    SCOTT WILSON

4    today?                                                                     4    Cross By Mr. H. Srebnick . . . . . . . . . . . 636

5               All right.   Then we'll resume at 9:30.      As always, if      5    Redirect By Mr. Podolsky . . . . . . . . . . . 671

6    something emerges overnight, please let me know and I'll come              6    Recross By Mr. H. Srebnick . . . . . . . . . . 696

7    down sooner than 9:30.     Thank you.                                      7    JEFFREY AUERBACH

8               THE CLERK:   All rise.                                          8    Direct By Mr. Sobelman . . . . . . . . . . . . 705

9               (Adjourned to 9:30 a.m. February 4, 2020)                       9    Cross By Mr. Quinon    . . . . . . . . . . . . . 821

10                                                                              10                           GOVERNMENT EXHIBITS

11                                                                              11   Exhibit No.                                           Received

12                                                                              12    301    . . . . . . . . . . . . . . . . . . . . 720

13                                                                              13    602    . . . . . . . . . . . . . . . . . . . . 727

14                                                                              14    312    . . . . . . . . . . . . . . . . . . . . 733

15                                                                              15    310R     . . . . . . . . . . . . . . . . . . . 753

16                                                                              16    302    . . . . . . . . . . . . . . . . . . . . 760

17                                                                              17    303    . . . . . . . . . . . . . . . . . . . . 761

18                                                                              18    304    . . . . . . . . . . . . . . . . . . . . 765

19                                                                              19    305    . . . . . . . . . . . . . . . . . . . . 774

20                                                                              20    306    . . . . . . . . . . . . . . . . . . . . 777

21                                                                              21    307    . . . . . . . . . . . . . . . . . . . . 779

22                                                                              22   308     . . . . . . . . . . . . . . . . . . . . 781

23                                                                              23   311     . . . . . . . . . . . . . . . . . . . . 790

24                                                                              24   107     . . . . . . . . . . . . . . . . . . . . 813

25                                                                              25                            DEFENDANT EXHIBITS


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1    Exhibit No.                                           Received

2      OO is      . . . . . . . . . . . . . . . . . . 657

3     TT      . . . . . . . . . . . . . . . . . . . . 698

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                        CERTIFICATE OF SERVICE

      I certify that a copy of this Appendix has been served by CM/ECF on
the United States Attorney/S.D.N.Y.; Attention: MATTHEW D.
PODOLSKY, ESQ., Assistant United States Attorney, One St. Andrew’s
Plaza, New York, New York, 10007.

Dated:      New York, New York
            April 4, 2022


                                             Daniel Habib
                                           DANIEL HABIB
                                           Assistant Federal Defender
